                 Case 24-20576-CLC              Doc 29       Filed 10/13/24         Page 1 of 565




                               81,7('67$7(6%$1.5837&<&2857
                                6287+(51',675,&72))/25,'$
                                        0,$0,',9,6,21
                                       ZZZIOVEXVFRXUWVJRY

,QUH
                                                            &KDSWHU&DVHV
0%0*+2/',1*//&et al.
                                                            &DVH1RBBBBBBBBBB
           'HEWRUV
                                                             -RLQW$GPLQLVWUDWLRQ3HQGLQJ 

       '(%7256¶027,21)25(175<2)$125'(5 , $33529,1*
     $66(7385&+$6($*5((0(17$1'$87+25,=,1*7+(35,9$7(
 6$/(2)68%67$17,$//<$//2)7+($66(762)7+('(%72562876,'(
  7+(25',1$5<&2856(2)%86,1(66 ,, $87+25,=,1*7+(6$/(2)
   $66(76)5(($1'&/($52)$///,(16$1',17(5(676(;&(37)25
    3(50,77('/,(16$1'$6680('/,$%,/,7,(6 ,,, $87+25,=,1*
      7+($668037,21$1'$66,*10(172)&(57$,1(;(&8725<
&2175$&76$1'81(;3,5('/($6(6$1' ,9 *5$17,1*5(/$7('5(/,()

           7KHDERYHFDSWLRQHGGHEWRUVDQGGHEWRUVLQSRVVHVVLRQ FROOHFWLYHO\WKH³'HEWRUV´ E\

DQG WKURXJK WKHLU SURSRVHG XQGHUVLJQHG FRXQVHO ILOH WKLV PRWLRQ WKH ³6DOH 0RWLRQ´  VHHNLQJ

WKHHQWU\RIDQRUGHUVXEVWDQWLDOO\LQWKHIRUPDWWDFKHGKHUHWRDV([KLELW$ WKH³6DOH2UGHU´ 

    L  DXWKRUL]LQJ WKH 'HEWRUV WR FRQVXPPDWH WKDW FHUWDLQ Asset Purchase Agreement GDWHG DV RI

2FWREHU DVPD\EHDPHQGHGRURWKHUZLVHPRGLILHGIURPWLPHWRWLPHDQGLQFOXGLQJDOO

UHODWHG LQVWUXPHQWV GRFXPHQWV H[KLELWV VFKHGXOHV DQG DJUHHPHQWV WKHUHWR FROOHFWLYHO\ WKH

³3XUFKDVH $JUHHPHQW´  VXEVWDQWLDOO\ LQ WKH IRUP DWWDFKHG KHUHWR DV ([KLELW % E\ DQG DPRQJ





  7KHDGGUHVVRIWKH'HEWRUVLV6:WK6WUHHW6WH0LDPL)ORULGD7KHODVWIRXUGLJLWVRIWKH
'HEWRUV¶ IHGHUDO WD[ LGHQWLILFDWLRQ QXPEHUV DUH L  &DUH &HQWHU 0HGLFDO *URXS //&   LL  &DUH &HQWHU
1HWZRUN//&   LLL &&0&3K\VLFLDQ+ROGLQJV,QF   LY &OLQLFDO&DUH3KDUPDF\//&   Y 
)ORULGD)DPLO\3ULPDU\&DUH&HQWHU//&   YL )ORULGD)DPLO\3ULPDU\&DUH&HQWHURI3DVFR//&  
 YLL )ORULGD)DPLO\3ULPDU\&DUH&HQWHUVRI2UODQGR//&   YLLL )ORULGD)DPLO\3ULPDU\&DUH&HQWHUVRI
3LQHOODV //&   L[  )ORULGD )DPLO\ 3ULPDU\ &DUH &HQWHUV RI 7DPSD //&   [  0% 0HGLFDO
2SHUDWLRQV //&   [L  0% 0HGLFDO 7UDQVSRUW //&   [LL  0%0* +ROGLQJ //&   [LLL 
0%0* ,QWHUPHGLDWH +ROGLQJ //&   [LY  0LDPL %HDFK 0HGLFDO &HQWHUV ,QF   [Y  0LDPL %HDFK
0HGLFDO&RQVXOWDQWV//&  DQG [YL 0LDPL0HGLFDO :HOOQHVV&HQWHU//&  





                 Case 24-20576-CLC                 Doc 29          Filed 10/13/24         Page 2 of 565




    D   RI WKH 'HEWRUV HDFK D ³6HOOHU´ DQG FROOHFWLYHO\ ³6HOOHUV´  DQG E  &RQYLYD 0HGLFDO

&HQWHU0DQDJHPHQW//&D'HODZDUHOLPLWHGOLDELOLW\FRPSDQ\WKDWLVDFRQWUROOHGDIILOLDWHRI

+XPDQD,QF ³%X\HU´ IRUWKHSULYDWHJRLQJFRQFHUQVDOHRIVXEVWDQWLDOO\DOORIWKHDVVHWVRIWKH

6HOOHUV i.e WKH 3XUFKDVHG $VVHWV  RXWVLGH RI WKH RUGLQDU\ FRXUVH RI EXVLQHVV SXUVXDQW WR WKH

WHUPVRIWKH3XUFKDVH$JUHHPHQWDQGWKH6DOH2UGHU WKH³6DOH´  LL DXWKRUL]LQJWKH6DOHIUHH

DQGFOHDURIDOO/LHQVDQGLQWHUHVWV FROOHFWLYHO\WKH³/LHQVDQG,QWHUHVWV´ RWKHUWKDQ$VVXPHG

/LDELOLWLHVDQG3HUPLWWHG/LHQVWKDWWKH%X\HUKDVDJUHHGWRDVVXPHRUSHUPLWXQGHUWKH3XUFKDVH

$JUHHPHQWRUDVRWKHUZLVHVHWIRUWKLQWKH3XUFKDVH$JUHHPHQW LLL DXWKRUL]LQJWKHDVVXPSWLRQ

DQGDVVLJQPHQWWRWKH%X\HURIFHUWDLQRIWKH6HOOHUV¶H[HFXWRU\FRQWUDFWVDQGXQH[SLUHGOHDVHV

    FROOHFWLYHO\WKH³$VVXPHG&RQWUDFWV´ DQG LY JUDQWLQJUHODWHGUHOLHI,QVXSSRUWRIWKLV6DOH

0RWLRQWKH'HEWRUVUHO\RQWKH L Declaration of Nicholas K. Campbell in Support of Chapter

11 Petitions and First Day Pleadings WKH³)LUVW'D\'HFODUDWLRQ´ DQG LL Declaration of Don

Ritucci in Support of Debtors’ Motion for Entry of an Order (I) Approving Asset Purchase

Agreement and Authorizing the Private Sale of Substantially All Assets of the Debtors Outside

the Ordinary Course of Business, (II) Authorizing the Sale of Assets Free and Clear of All Liens



   7KH 6HOOHUV DUH WKH IROORZLQJ 'HEWRUV L  0% 0HGLFDO 2SHUDWLRQV //& LL  0% 0HGLFDO 7UDQVSRUW //& LLL 
&DUH&HQWHU1HWZRUN//& LY &DUH&HQWHU0HGLFDO*URXS//& Y &OLQLFDO&DUH3KDUPDF\//& YL )ORULGD
)DPLO\ 3ULPDU\ &DUH &HQWHU //& YLL  )ORULGD )DPLO\ 3ULPDU\ &DUH &HQWHUV RI 2UODQGR //& YLLL  )ORULGD
)DPLO\3ULPDU\&DUH&HQWHUVRI7DPSD//& L[ )ORULGD)DPLO\3ULPDU\&DUH&HQWHUVRI3DVFR//& [ )ORULGD
)DPLO\ 3ULPDU\ &DUH &HQWHUV RI 3LQHOODV //& [L  &&0& 3K\VLFLDQ +ROGLQJV ,QF [LL  0LDPL 0HGLFDO 
:HOOQHVV &HQWHU //& [LLL  0LDPL %HDFK 0HGLFDO &HQWHUV ,QF IND 5RGROIR 'XPHQLJR 0' 3$ DQG [LY 
0LDPL%HDFK0HGLFDO&RQVXOWDQWV//&

 &DSLWDOL]HG WHUPV XVHG EXW QRW RWKHUZLVH GHILQHG KHUHLQ VKDOO KDYH WKH PHDQLQJV DVFULEHG WR VXFK WHUPV LQ WKH
3XUFKDVH$JUHHPHQW

  $WWDFKHG KHUHWR DV ([KLELW & LV WKH SURSRVHG IRUPRI WKH QRWLFH DV GHILQHG KHUHLQ WKH $VVXPSWLRQ 1RWLFH  RI
SRWHQWLDO DVVXPSWLRQ DQG DVVLJQPHQW RI WKH 'HVLUHG  &RQWUDFWV i.e WKH  &RQWUDFWV WKDW WKH %X\HU KDV
LQGLFDWHGDQLQWHQWIRUWKH6HOOHUVWRDVVXPHDQGDVVLJQWRWKH%X\HUDVDSDUWRIWKH6DOH 

   7KH 'HEWRUV UHVHUYH WKH ULJKW DV DSSOLFDEOH L  WR ILOH RQH RU PRUH UHYLVHG IRUPV RI WKH SURSRVHG 3XUFKDVH
$JUHHPHQWDQG6DOH2UGHUSULRUWRWKH6DOH+HDULQJDQG LL WRPDNHVXEMHFWWRWKH&RXUW¶VDSSURYDOUHYLVLRQVWR
WKHIRUPVRIWKH3XUFKDVH$JUHHPHQWDQG6DOH2UGHUDWWKH6DOH+HDULQJ



                                                               

               Case 24-20576-CLC           Doc 29        Filed 10/13/24    Page 3 of 565




and Interests Except for Permitted Liens and Assumed Liabilities, (III) Authorizing the

Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, and (IV)

Granting Related Relief WKH³5LWXFFL'HFODUDWLRQ´ HDFKRIZKLFKLVILOHGFRQFXUUHQWO\KHUHZLWK

DQGLQFRUSRUDWHGKHUHLQDQGUHVSHFWIXOO\VWDWHDVIROORZV

                                  -85,6',&7,21$1'9(18(

              7KLV&RXUWKDVMXULVGLFWLRQWRFRQVLGHUWKLV6DOH0RWLRQXQGHU86&

DQG7KLVLVDFRUHSURFHHGLQJXQGHU86& E  DQGWKH&RXUWPD\HQWHUDILQDO

RUGHUFRQVLVWHQWZLWK$UWLFOH,,,RIWKH8QLWHG6WDWHV&RQVWLWXWLRQ

              9HQXHLVSURSHUEHIRUHWKLV&RXUWXQGHU86&DQG

              7KHVWDWXWRU\SUHGLFDWHVIRUWKHUHOLHIUHTXHVWHGKHUHLQDUHVHFWLRQV

  DQG  RI WLWOH  RI WKH 8QLWHG 6WDWHV &RGH DV DPHQGHG WKH ³%DQNUXSWF\ &RGH´ 

UXOHV       DQG  RI WKH )HGHUDO 5XOHV RI %DQNUXSWF\

3URFHGXUH DV DPHQGHG WKH ³%DQNUXSWF\ 5XOHV´  DQG UXOHV  &   DQG  RI WKH

/RFDO%DQNUXSWF\5XOHVIRUWKH6RXWKHUQ'LVWULFWRI)ORULGD WKH³/RFDO5XOHV´ 

                                 352&('85$/%$&.*5281'

              2Q WKH GDWH KHUHRI WKH ³3HWLWLRQ 'DWH´  HDFK RI WKH 'HEWRUV ILOHG D YROXQWDU\

SHWLWLRQ IRU UHOLHI XQGHU FKDSWHU  RI WKH %DQNUXSWF\ &RGH FROOHFWLYHO\ WKH ³&KDSWHU 

&DVHV´ 

              7KH 'HEWRUV FRQWLQXH WR RSHUDWH WKHLU EXVLQHVVHV DQG PDQDJH WKHLU DIIDLUV DV

GHEWRUVLQSRVVHVVLRQSXUVXDQWWRVHFWLRQV D DQGRIWKH%DQNUXSWF\&RGH

              $V RI WKH GDWH RI WKLV 6DOH 0RWLRQ QR WUXVWHH H[DPLQHU RU VWDWXWRU\ FRPPLWWHH

KDVEHHQDSSRLQWHGLQWKH&KDSWHU&DVHV

              )RU D GHWDLOHG GHVFULSWLRQ RI WKH 'HEWRUV WKH FLUFXPVWDQFHV OHDGLQJ WR WKH

FRPPHQFHPHQW RI WKHVH &KDSWHU  &DVHV DQG LQIRUPDWLRQ UHJDUGLQJ WKH 'HEWRUV¶ EXVLQHVVHV

                                                     

               Case 24-20576-CLC           Doc 29        Filed 10/13/24     Page 4 of 565




DQGFDSLWDOVWUXFWXUHWKH'HEWRUVUHVSHFWIXOO\UHIHUWKH&RXUWDQGSDUWLHVLQLQWHUHVWWRWKH)LUVW

'D\'HFODUDWLRQ

        7+('(%7256¶%$&.*5281'$1'35(3(7,7,210$5.(7,1*$1'
            6$/(())2576/($',1*727+(385&+$6($*5((0(17

              $V VHW IRUWK LQ JUHDWHU GHWDLO LQ WKH )LUVW 'D\ 'HFODUDWLRQ WKH 'HEWRUV DUH DQ

LQGHSHQGHQWSULPDU\FDUHDQGLQWHJUDWHGSK\VLFLDQJURXSIRFXVHGRQYDOXHEDVHGPXOWLVSHFLDOW\

VHUYLFHV7KH'HEWRUVGHOLYHUKLJKTXDOLW\KHDOWKDQGZHOOQHVVVHUYLFHVWRDSSUR[LPDWHO\

SDWLHQWV DFURVV  SULPDU\ FDUH FHQWHUV LQ )ORULGD ZLWK KDOI RI WKRVH FHQWHUV EHLQJ LQ 0LDPL

'DGH&RXQW\7KH'HEWRUV¶SDWLHQWSRSXODWLRQFRQVLVWVSULPDULO\RIKLJKULVNXQGHUVHUYHGDQG

GXDOHOLJLEOHSRSXODWLRQV i.e.HOLJLEOHIRUERWK0HGLFDUHDQG0HGLFDLG PDQ\RIZKRPOLYHLQ

HFRQRPLFDOO\GLVDGYDQWDJHGDQGPLQRULW\FRPPXQLWLHV

              7KH'HEWRUVKDYHIDFHGVLJQLILFDQWKXUGOHVUHVXOWLQJIURPLQGXVWU\DQGUHJXODWRU\

KHDGZLQGV LQFOXGLQJ UHLPEXUVHPHQW SUHVVXUHV DQG ULVLQJ KHDOWKFDUH FRVWV  7KH 'HEWRUV¶

UHYHQXH PRGHO²ZKLFK LV WKH PRGHO XWLOL]HG DFURVV WKH 0HGLFDO $GYDQWDJH SULPDU\ FDUH

FDSLWDWHG SURYLGHU LQGXVWU\²ZDV VXEVWDQWLDOO\ LPSDLUHG E\ UHFHQW LQGXVWU\ DQG UHJXODWRU\

FKDQJHV LQFOXGLQJ FKDQJHV WR WKH 0HGLFDUH ULVN DGMXVWPHQW DQG WR 0HGLFDLG GLVHQUROOPHQW

PRGHOV 7KHVH LQGXVWU\ DQG UHJXODWRU\ FKDQJHV FRPELQHG ZLWK WKH 'HEWRUV¶ KLJKO\ OHYHUDJHG

SUHSHWLWLRQ GHEW ORDG KDYH VLJQLILFDQWO\ FKDOOHQJHG WKH 'HEWRUV¶ EXVLQHVV DQG GHSOHWHG WKHLU

OLTXLGLW\

             6LQFHDIILOLDWHVRI6XQ&DSLWDO ³6XQ&DSLWDO´ DFTXLUHGWKH'HEWRUVLQWKH

'HEWRUVKDYHDFFXPXODWHGPRUHWKDQPLOOLRQRIVHFXUHGIXQGHGGHEWIURP  WKHLUVHQLRU

VHFXUHGOHQGHUVDIILOLDWHVRI.RKOEHUJ.UDYLV5REHUWV &R/3 ³..5´ DQG  WKHLUMXQLRU

VHFXUHGOHQGHUV6XQ&DSLWDO7KLVIXQGHGGHEWLVPRUHWKDQGRXEOHWKHGHEWEXUGHQFUHDWHGXSRQ

6XQ&DSLWDO¶VSXUFKDVH&RQVLVWHQWZLWKWKHLUVHFXUHGFUHGLWRUV¶ULJKWVWRWULJJHUDVDOHWKH


                                                     

               Case 24-20576-CLC            Doc 29        Filed 10/13/24      Page 5 of 565




'HEWRUV¶ FRPPHQFHG WKHLU SUHSHWLWLRQ VDOH SURFHVV E\ HQJDJLQJ WKH LQYHVWPHQW EDQN

2SSHQKHLPHU &R,QF ³2SSHQKHLPHU´ RQ6HSWHPEHU

              )RUPRUHWKDQD\HDUWKH'HEWRUVKDYHEHHQHQJDJHGLQDQH[WHQVLYHDQGZLGH

UDQJLQJ PDUNHWLQJ SURFHVV LQ DQ HIIRUW WR VHOO WKH 'HEWRUV¶ EXVLQHVV DQG SURWHFW WKH 'HEWRUV¶

SDWLHQWSRSXODWLRQRIDSSUR[LPDWHO\SULPDULO\HOGHUO\DQGORZLQFRPHSDWLHQWVDVZHOODV

WRPD[LPL]HWKHYDOXHIRUWKHEHQHILWRIDOORIWKH'HEWRUV¶VWDNHKROGHUV

              $V IXUWKHU H[SODLQHG EHORZ WKLV \HDUORQJ SXEOLF PDUNHWLQJ DQG VDOHV SURFHVV

RFFXUUHG LQ WZR VHSDUDWH VWDJHV ,Q WKH ILUVW VWDJH D PRUH WUDGLWLRQDO PDUNHWLQJ HIIRUW GLG QRW

JHQHUDWHVXEVWDQWLDOLQWHUHVW+RZHYHUWKHVHFRQGVWDJHVWUXFWXUHGDVDGLVWUHVVHGEXVLQHVVVDOH

FXOPLQDWHG LQ WKH 3XUFKDVH $JUHHPHQW DWWDFKHG KHUHWR DV ([KLELW % SURYLGLQJ IRU WKH JRLQJ

FRQFHUQ VDOH RI VXEVWDQWLDOO\ DOO WKH 'HEWRUV¶ DVVHWV i.e. WKH 3XUFKDVHG $VVHWV  VXEMHFW WR

H[FOXVLRQV IRU DPRQJ RWKHU WKLQJV FDVK DQG DFFRXQWV UHFHLYDEOH 7KH 6DOH SURYLGHV IRU D

SXUFKDVH SULFH  PLOOLRQ  DQG WHUPV DFFHSWDEOH WR WKH 'HEWRUV¶ VHFXUHG FUHGLWRUV KROGLQJ

QHDUO\WHQWLPHV [ WKDWDPRXQWLQWKHIRUPRIVHFXUHGGHEW)XUWKHUWKH6DOHZLOOHOLPLQDWH

WKHULVNWKDWWHQVRIWKRXVDQGVRIYXOQHUDEOHSDWLHQWVZLOOIDFHGLVUXSWLRQVLQWKHLUKHDOWKFDUH7KH

%X\HU LV D FRQWUROOHG DIILOLDWH RI +XPDQD ,QF DQG +XPDQD ,QF DQG LWV DIILOLDWHV LQFOXGLQJ

&DUH3OXV+HDOWK3ODQVFRYHUDODUJHUSHUFHQWDJHRIWKH'HEWRUV¶SDWLHQWVWKDQDQ\RWKHUSD\RU

              7KH6DOHLVVXSSRUWHGE\WKH'HEWRUV¶SUHSHWLWLRQVHFXUHGOHQGHUV..5DQG6XQ

&DSLWDOHYHQWKRXJKWKH3XUFKDVH3ULFH PLOOLRQ LVRQO\DWHQWKRIWKHLUVHFXUHGGHEW 

PLOOLRQ  ..5 KDV DOVRDJUHHG WR IXQG IURP WKH SURFHHGV RI LWV FROODWHUDO RU RWKHUZLVH EULGJH

FDSLWDO GHEWRULQSRVVHVVLRQ ³',3´  DQG VDOH H[SHQVHV LQFOXGLQJ inter alia NH\ HPSOR\HH

UHWHQWLRQDQGLQFHQWLYHSODQSD\PHQWVDQGFHUWDLQZLQGGRZQDQGSRVWVDOHH[SHQVHVDOOVXEMHFW

WRWKHDJUHHGXSRQUHVSHFWLYHEXGJHWV



                                                      

               Case 24-20576-CLC             Doc 29        Filed 10/13/24     Page 6 of 565




              ,QFRQVLGHUDWLRQRIWKHIRUHJRLQJDQGDVGHVFULEHGLQWKH5LWXFFL'HFODUDWLRQWKH

'HEWRUV ZLWK WKH ILQDQFLDO DQG RWKHU VXSSRUW RI WKHLU VHFXUHGFUHGLWRUV LQ WKH H[HUFLVH RI WKHLU

UHDVRQDEOHEXVLQHVVMXGJPHQWKDYHGHWHUPLQHGWKDWWKHPRVWHIIHFWLYHZD\WRHQVXUHFRQWLQXLW\

RIFDUHWRWKHLUYXOQHUDEOHSDWLHQWSRSXODWLRQDQGPD[LPL]HWKHYDOXHRIWKH'HEWRUV¶HVWDWHVIRU

WKHEHQHILWRIWKHLUVWDNHKROGHUVLVWRVHHNEDQNUXSWF\SURWHFWLRQDQGWRVHOOWKH3XUFKDVHG$VVHWV

WKURXJKWKH6DOHWRWKH%X\HUSXUVXDQWWRVHFWLRQRIWKH%DQNUXSWF\&RGH,QRUGHUWRVDWLVI\

WKH WLPLQJ DQG PLOHVWRQH UHTXLUHPHQWV RI 3XUFKDVH $JUHHPHQW DQG WKH Senior Secured

Superpriority Priming Debtor-in-Possession Credit Agreement WKH ³',3 &UHGLW $JUHHPHQW´ 

ZLWK WKH OHQGHUV SDUW\ WKHUHWR ZKLFK DUH UHIHUUHG WR DV WKH ³',3 /HQGHUV´ WKH 'HEWRUV PXVW

DGYDQFHWKHSULYDWH6DOHH[SHGLWLRXVO\$EVHQWWKH6DOHRQWKHWHUPVSURSRVHGWKH',3/HQGHUV

ZRXOG QRW KDYH EHHQ ZLOOLQJ WR H[WHQG ILQDQFLQJ XQGHU WKH ',3 &UHGLW $JUHHPHQW DQG WKH

'HEWRUVZRXOGOLNHO\KDYHEHHQIRUFHGLQWROLTXLGDWLRQ

              0U 5LWXFFL LV WKH 0DQDJLQJ 'LUHFWRU DQG +HDG RI +HDOWKFDUH 0HUJHUV                 

$FTXLVLWLRQV DW 2SSHQKHLPHU D OHDGLQJ JOREDO IXOOVHUYLFH EURNHUDJH DQG LQYHVWPHQW EDQN DQG

KDV PRUH WKDQ  \HDUV RI LQYHVWPHQW EDQNLQJ H[SHULHQFH IRFXVHG RQ WKH KHDOWKFDUH LQGXVWU\

5LWXFFL 'HFODUDWLRQ,    ,Q WKH 5LWXFFL 'HFODUDWLRQ 0U 5LWXFFL H[SODLQV LQ GHWDLO WKH

H[WHQVLYHSUHSHWLWLRQVWUDWHJLFUHYLHZDQGPDUNHWLQJSURFHVVFRQGXFWHGE\WKH'HEWRUV2YHUD

\HDUDJRRQ6HSWHPEHUWKH'HEWRUVLQLWLDOO\UHWDLQHG2SSHQKHLPHUDVWKHLULQYHVWPHQW

EDQNWRPDQDJHWKHLUVDOHSURFHVVId.DW7KLVLQLWLDOHQJDJHPHQWHQGHGZLWKRXWDVXFFHVVIXO

VDOHSURFHVVDQGWKH'HEWRUVWHUPLQDWHG2SSHQKHLPHU¶VHQJDJHPHQWRQ0DUFKId7KH

'HEWRUV¶UHHQJDJHG2SSHQKHLPHURQ-XQHWRFRQGXFWDGLVWUHVVHGVDOHSURFHVVId.

              'XULQJLWVLQLWLDOHQJDJHPHQW2SSHQKHLPHUFRQWDFWHGSRWHQWLDODFTXLURUVDQG

WKH 'HEWRUV H[HFXWHG FRQILGHQWLDOLW\ DJUHHPHQWV ZLWK  VHSDUDWH SDUWLHV Id. DW  



                                                       

                 Case 24-20576-CLC          Doc 29       Filed 10/13/24    Page 7 of 565




2SSHQKHLPHUDVVLVWHGWKH'HEWRUVLQFUHDWLQJDQH[HFXWLYHVXPPDU\ZKLFKLWGLVVHPLQDWHGWRWKH

SRWHQWLDODFTXLURUVId. DW  'XULQJWKHGLVWUHVVVDOHSURFHVV2SSHQKHLPHUFRQWDFWHGVHYHQ

SRWHQWLDO DFTXLURUV LQFOXGLQJ SDUWLFLSDQWV LQ WKH ILUVW VDOH SURFHVV Id. DW    2YHUDOO

2SSHQKHLPHU KHOG D PXOWLWXGH RI FDOOV ZLWK  SRWHQWLDO DFTXLURUV IURP 6HSWHPEHU 

WKURXJK$XJXVWDQGIDFLOLWDWHGWKH'HEWRUV¶UHVSRQVHWRQXPHURXVGLOLJHQFHUHTXHVWVId.

DW

               2SSHQKHLPHU¶V LQLWLDO HQJDJHPHQW UHVXOWHG LQ WKH 'HEWRUV UHFHLYLQJ ILYH

LQGLFDWLRQV RI LQWHUHVW DOO RI ZKLFK ZHUH GHFOLQHG  DQG WKH VXEVHTXHQW HQJDJHPHQW UHVXOWHG LQ

WKH'HEWRUUHFHLYLQJWZRLQGLFDWLRQVRILQWHUHVWLQFOXGLQJWKHLQGLFDWLRQWKDWOHGWRWKH3XUFKDVH

$JUHHPHQWId.DW

               2SSHQKHLPHU¶V PDUNHWLQJ HIIRUWV RQ WKH 'HEWRUV¶ EHKDOI UHVXOWHG LQ WKH

QHJRWLDWLRQ RI WKH 3XUFKDVH $JUHHPHQW ZLWK WKH%X\HU DQG 0U 5LWXFFL EHOLHYHV WKDW EDVHG RQ

KLV GLUHFW LQYROYHPHQW LQ WKH 'HEWRUV¶ VDOH DQG PDUNHWLQJ SURFHVVHV DQG KLV NQRZOHGJH RI WKH

RWKHU SRWHQWLDO SXUFKDVHUV¶ LQWHUHVW LQ WKH 'HEWRUV¶ DVVHWV WKH WHUPV DQG FRQGLWLRQV LQ WKH

3XUFKDVH$JUHHPHQWUHSUHVHQWWKHKLJKHVWDQGRWKHUZLVHEHVWRIIHUIURPDILQDQFLDOSRLQWRIYLHZ

UHFHLYHGWRGDWHIRUWKH3XUFKDVHG$VVHWVId.DW

               7R GDWH QR RWKHU H[HFXWDEOH ELGV KDYH H[FHHGHG WKH ILQDQFLDO EHQHILWV WR WKH

'HEWRUVWKDWZRXOGUHVXOWXQGHUWKHWUDQVDFWLRQZLWKWKH%X\HUId.DW

               $VUHIOHFWHGLQWKH5LWXFFL'HFODUDWLRQWKH'HEWRUV¶VHQLRUVHFXUHGDQGXQVHFXUHG

OHQGHUV ..5 DQG LWV MXQLRU VHFXUHG OHQGHU 6XQ &DSLWDO VXSSRUW WKH3XUFKDVH $JUHHPHQW DQG

WKHSURSRVHG6DOHQRWZLWKVWDQGLQJWKDWWKH3XUFKDVH3ULFHZLOORQO\VDWLVI\DIUDFWLRQRI..5¶V

VHFXUHGGHEW DQGQRWZLWKVWDQGLQJWKDWWKHVDOHZLOOQRW\LHOGDQ\SURFHHGVIRU6XQ&DSLWDO Id.

DW



                                                     

               Case 24-20576-CLC            Doc 29        Filed 10/13/24     Page 8 of 565




             *LYHQ WKH H[WHQVLYH SUHEDQNUXSWF\ PDUNHWLQJ DQG VDOH HIIRUWV FRQGXFWHG E\

2SSHQKHLPHU ZLWK WKH PRVW OLNHO\ DFTXLURUV IRU RYHU D \HDU WKH 'HEWRUV GR QRW EHOLHYH WKDW

DGGLWLRQDO PDUNHWLQJ RI WKH 'HEWRUV¶ DVVHWV DGGLWLRQDO WLPH VROLFLWLQJ ELGV RU RWKHUZLVH

H[WHQGLQJ WKH VDOH SURFHVV DUH ZRUWKZKLOH RU ZRXOG UHVXOW LQ D KLJKHU RU EHWWHU RIIHU WKDQ WKH

RIIHUIURPWKH%X\HUUHSUHVHQWHGE\WKH3XUFKDVH$JUHHPHQW DQGDOPRVWFHUWDLQO\QRWRQHWKDW

ZRXOGVDWLVI\..5¶VVHQLRUVHFXUHGGHEWLQIXOO $GGLWLRQDOWLPHPDUNHWLQJWKH'HEWRUV¶DVVHWV

FRXOG FDXVH WKH %X\HU WR UHFRQVLGHU LWV LQWHUHVW LQ SXUVXLQJ WKH RQO\ H[HFXWDEOH WUDQVDFWLRQ

VHFXUHG E\ WKH 'HEWRUV DIWHU H[WHQVLYH SUHSHWLWLRQ HIIRUWV DQG UHVXOW LQ WKH GLVFRQWLQXDWLRQ RI

PHGLFDOVHUYLFHVWRWKH'HEWRUV¶VLJQLILFDQWSDWLHQWSRSXODWLRQId.DW

             $FFRUGLQJO\ WKH 'HEWRUV EHOLHYH WKDW WKH SURSRVHG 3XUFKDVH $JUHHPHQW

UHSUHVHQWVWKHKLJKHVWDQGEHVWRIIHUIURPDILQDQFLDOSRLQWRIYLHZDYDLODEOHWRWKH'HEWRUVZLWK

UHVSHFWWRDVDOHRIWKH3XUFKDVHG$VVHWV Id.DW

             *LYHQWKHH[WHQVLYHSUHSHWLWLRQPDUNHWLQJSURFHVVWKH'HEWRUV¶VHFXUHGFUHGLWRUV

VXSSRUW WKLV 6DOH ZLWKRXW IXUWKHU PDUNHWLQJ RU D VFKHGXOHG DXFWLRQ $ WHQIROG LQFUHDVH LQ WKH

6DOH¶V SXUFKDVH SULFH LVQ¶W UHPRWHO\ IHDVLEOH 0RUHRYHU WKH H[SHGLWHG WLPHOLQH DQG PLOHVWRQHV

DJUHHGWRE\WKHSDUWLHVPLQLPL]HERWKWKHH[HFXWLRQULVNRIWKHWUDQVDFWLRQFRQWHPSODWHGE\WKH

3XUFKDVH $JUHHPHQW DQG WKH ',3 IXQGLQJ QHHGV DVVRFLDWHG ZLWK WKH EDQNUXSWF\ SURFHVV 7KH

SURSRVHG 6DOH KDV WKH DGGHG EHQHILW RI HQVXULQJ FRQWLQXRXV KLJKTXDOLW\ FDUH IRU WKH

DSSUR[LPDWHO\  PRVWO\ HOGHUO\ HFRQRPLFDOO\ GLVDGYDQWDJHG DQG WKHUHIRUH YXOQHUDEOH

SDWLHQWV

             ,QIRUPHG E\ WKHLU SUHSHWLWLRQ HIIRUWV WKH 'HEWRUV EHOLHYH WKDW UHVWDUWLQJ WKHLU

PDUNHWLQJSURFHVVDQHZGXULQJWKH&KDSWHU&DVHV IRUDWKLUGWLPHZLWKLQDQDSSUR[LPDWHO\

RQH\HDU SHULRG  FDQQRW \LHOG EHQHILWV WR DQ\ FRQVWLWXHQW WKDW PD\ QRW FRQVHQW WR WKH 6DOH DQG



                                                      

                Case 24-20576-CLC             Doc 29         Filed 10/13/24      Page 9 of 565




WKUHDWHQVWRVDFULILFHWKH6DOHIRUQRGLVFHUQDEOHSXUSRVH6XFKDWKLUGPDUNHWLQJSURFHVVZRXOG

QHFHVVDULO\ EH WLPH FRQVXPLQJ DQG UHTXLUH WKH HVWDWHV WR XQQHFHVVDULO\ LQFXU VXEVWDQWLDO

DGPLQLVWUDWLYH H[SHQVHV H[FHHGLQJ WKH 'HEWRUV¶ DELOLW\ WR SD\ DQG ULVN WKH VXEVWDQWLDO EHQHILWV

WKH6DOHZLOOFUHDWHIRUWKH'HEWRUV¶FRQVWLWXHQWVDOOZLWKRXWDQ\REWDLQDEOHEHQHILWWRDQ\RQHQRW

DOUHDG\DIILUPDWLYHO\FRQVHQWLQJWRWKH6DOH

              :KLOH WKH 'HEWRUV DUH LQ D SUHFDULRXV ILQDQFLDO VWDWH WKHLU SUHSHWLWLRQ HIIRUWV

KDYH FXOPLQDWHG LQ D PDUNHWWHVWHG YDOXHPD[LPL]LQJ WUDQVDFWLRQ WKDW ZLOO SUHVHUYH WKHLU

EXVLQHVVDVDJRLQJFRQFHUQ,IWKH'HEWRUVDUHWRVXFFHHGZLWKWKHVHHIIRUWVLWLVLPSHUDWLYHWKDW

WKH 6DOH PRYH TXLFNO\ WR PDLQWDLQ VWDELOLW\ DQG WR DFKLHYH WKH LQWHQGHG VZLIW DQG RUGHUO\

WUDQVLWLRQ*LYHQWKHYDVWEUHDGWKRIWKHSUHSHWLWLRQPDUNHWLQJDQGVDOHSURFHVVDQGWKDWWKHUH

GRHVQRWDSSHDUWREHDQ\RWKHUSRWHQWLDOSXUFKDVHUWKDWZRXOGEHZLOOLQJRUDEOHWRSXUFKDVHWKH

3XUFKDVHG $VVHWV IRU PRUH WKDQ WKH %X\HU DQG FHUWDLQO\ QRW PRUH WKDQ WKH  PLOOLRQ LQ

VHFXUHG GHEW RZHG WR ..5 DQG 6XQ &DSLWDO  LW LV KLJKO\ XQOLNHO\ WKDW DQ\ FRPSHWLWLYH ELGGHU

ZLOOHPHUJH$VDUHVXOWWKH'HEWRUV¶HVWDWHVZLOOGHULYHDPDWHULDOEHQHILWIURPWKHVSHHGDQG

FHUWDLQW\RIFORVLQJWKH6DOHRIWKH3XUFKDVHG$VVHWVDVSURSRVHG

                                          7+(352326('6$/(

              $VVHWIRUWKLQWKH3XUFKDVH$JUHHPHQWWKHSURSRVHG6DOHLQFOXGHVVXEVWDQWLDOO\

DOORIWKHDVVHWVIRUHDFKRIWKH6HOOHUV i.eWKH3XUFKDVHG$VVHWV H[FHSWIRUWKHDVVHWVZKLFKDUH

H[FOXGHGIURPWKH6DOHE\WKH3XUFKDVH$JUHHPHQW i.eWKH([FOXGHG$VVHWV 7KH3XUFKDVHG
                                    
$VVHWVLQFOXGHDPRQJRWKHUV  L DOODVVHWVSURSHUWLHVDQGULJKWVUHIOHFWHGDQGRUGHVFULEHGRQ

([KLELW$WRWKH3XUFKDVH$JUHHPHQWWRJHWKHUZLWKDOORWKHUDVVHWVRZQHGXVHGRUKHOGIRUXVH


)RUHDVHRIUHDGLQJWKH'HEWRUV¶KDYHOLPLWHGWKHXVHLQWKLVSDUDJUDSKRIWKHGHILQHGWHUPVWKDWDSSHDULQWKH
3XUFKDVH$JUHHPHQW e.gFHUWDLQGHILQHGWHUPVDUHSUHVHQWHGLQWKHORZHUFDVH $FFRUGLQJO\WKHEULHIVXPPDU\LQ
WKLVSDUDJUDSKLVTXDOLILHGLQLWVHQWLUHW\E\WKHH[SOLFLWWHUPVRIWKH3XUFKDVH$JUHHPHQW



                                                         

               Case 24-20576-CLC            Doc 29       Filed 10/13/24       Page 10 of 565




E\ WKH 6HOOHUV LQ FRQQHFWLRQ ZLWK WKH 'HEWRUV¶ EXVLQHVV LL  DOO LQYHQWRULHV DQG VXSSOLHV

LQFOXGLQJ DOO PHGLFDO VXSSOLHV LLL  DOO WDQJLEOH SHUVRQDO SURSHUW\ LQFOXGLQJ DOO PHGLFDO

HTXLSPHQW IXUQLWXUH IL[WXUHV FRPSXWHUV LQFOXGLQJ VRIWZDUH DQG KDUGZDUH  GHYLFHV VXSSOLHV

VSDUHSDUWVDQGRWKHUWDQJLEOHSHUVRQDOSURSHUW\ LY DOOYHKLFOHVRZQHGE\WKH'HEWRUV Y DOO

OHDVHKROGLQWHUHVWVLQSHUVRQDOSURSHUW\LQFOXGLQJDQ\SUHSDLGUHQWVHFXULW\GHSRVLWVDQGRSWLRQV

WR UHQHZ RU SXUFKDVH LQ FRQQHFWLRQ WKHUHZLWK YL  DOO ULJKWV RI WKH6HOOHUV LQ WR DQG XQGHU DOO

FRQWUDFWV WKDW FRQVWLWXWH RQ RU DIWHU WKH &ORVLQJ WKH $VVXPHG &RQWUDFWV YLL  DOO ULJKWV RI WKH

6HOOHUVLQWRDQGXQGHUFRQWUDFWVOLVWHGRQ6FKHGXOH D YLL WRWKH3XUFKDVH$JUHHPHQWDQG

RWKHU QRQ &RQWUDFWV ZKLFK WKH %X\HU WLPHO\ GHVLJQDWHV DV $VVXPHG &RQWUDFWV IROORZLQJ

H[HFXWLRQ RI WKH 3XUFKDVH $JUHHPHQW YLLL  LQWHOOHFWXDO SURSHUW\ XVHG LQ RU UHODWHG WR WKH

'HEWRUV¶EXVLQHVV L[ DOOWKHDOOVRIWZDUHWKDWLVRZQHGE\OLFHQVHGWRRURWKHUZLVHXVHGE\WKH

6HOOHUVLQDQ\PDQQHULQFRQQHFWLRQZLWKWKH'HEWRUV¶EXVLQHVV [ DOOLQIRUPDWLRQWHFKQRORJ\

DVVHWV [L  DOO SHUPLWV WR WKH H[WHQW WUDQVIHUDEOH [LL  DOO GDWD DQG LQIRUPDWLRQ LQFOXGLQJ DOO

SHUVRQDO LQIRUPDWLRQ XVHG RU SURFHVVHG LQ WKH FRQGXFW RI WKH 'HEWRUV¶ EXVLQHVV RU E\ RU RQ

EHKDOI RI WKH 6HOOHUV [LLL  FHUWDLQ FDXVHV RI DFWLRQ DJDLQVW WKLUG SDUWLHV EXW not $YRLGDQFH

$FWLRQVZKLFKLVGHILQHGLQWKH3XUFKDVH$JUHHPHQWWRLQFOXGH³DOOFODLPVDQGFDXVHVRIDFWLRQ

DULVLQJXQGHU6HFWLRQVWKURXJKRIWKH%DQNUXSWF\&RGHRUDQ\DQDORJRXVVWDWHODZ´DQG

WKH%X\HUUHOHDVHVDQGDJUHHVQRWWRVXHWKH6HOOHUV¶GLUHFWRUVDQGRIILFHUVDQGPHPEHUVRIWKH

VSHFLDOFRPPLWWHH ³6SHFLDO&RPPLWWHH´ RIWKH%RDUGRI0DQDJHUV6XQ0%0**3//&WKH

'HEWRUV¶LQGLUHFWSDUHQW  [LY FHUWDLQGHSRVLWVSUHSDLGH[SHQVHVDQGULJKWVWRUHIXQGVUHODWLQJ

WRWKH3XUFKDVHG$VVHWVDVPRUHIXOO\GHVFULEHGLQWKH3XUFKDVH$JUHHPHQW [Y DOOWKH6HOOHUV¶

ULJKW WLWOH DQG LQWHUHVW LQ DQG WR FHUWDLQ OHDVHG UHDO SURSHUW\ DV VHW IRUWK LQ WKH 3XUFKDVH

$JUHHPHQW [YL WKHJRRGZLOOJRLQJFRQFHUQFXVWRPHULQWDQJLEOHVDQGZRUNIRUFHLQSODFHRI



                                                       

               Case 24-20576-CLC               Doc 29       Filed 10/13/24        Page 11 of 565




WKH 'HEWRUV¶ EXVLQHVV [YLL  DOO FODLPV GHPDQGV DQG ULJKWV WR LQGHPQLILFDWLRQ LQVXUDQFH RU

VLPLODU UHFRYHU\ IURP DQ\ WKLUG SDUWLHV WR WKH H[WHQW DSSOLFDEOH WR WKH 3XUFKDVHG $VVHWV RU

$VVXPHG/LDELOLWLHV [YLLL WKHGHYLFHVWKDWKDYHEHHQRUDUHXVHGLQWKH'HEWRUV¶EXVLQHVVDQG

 [L[ DOOSKDUPDFHXWLFDOGUXJVDQG [[ DOORWKHUDVVHWVSURSHUW\DQGULJKWVRZQHGRURWKHUZLVH

XVHGLQRUQHFHVVDU\IRUWKHRSHUDWLRQRIWKH'HEWRUV¶EXVLQHVVRWKHUWKDQWKH([FOXGHG$VVHWV

ZKLFK([FOXGHG$VVHWVLQFOXGHFDVKDFFRXQWVUHFHLYDEOHDQGDYRLGDQFHDFWLRQVSee 3XUFKDVH

$JUHHPHQW D 

               3XUVXDQW WR WKH 3XUFKDVH $JUHHPHQW WKH %X\HU KDV DJUHHG WR SXUFKDVH WKH

3XUFKDVHG$VVHWVIRU)RUW\)LYH0LOOLRQ'ROODUV  VXEMHFWWRDGMXVWPHQWVGHVFULEHG

LQWKH3XUFKDVH$JUHHPHQW WKH³7RWDO&RQVLGHUDWLRQ´ See 3XUFKDVH$JUHHPHQW D 7KH

SRUWLRQRIWKH7RWDO&RQVLGHUDWLRQWKDWWKH%X\HUVKDOOSD\WKH6HOOHUVDWWKH&ORVLQJVKDOOEH L 

WKH7RWDO&RQVLGHUDWLRQless LL WKH'HSRVLW i.e less LLL WKH+ROGEDFN$PRXQW

 i.e  WKH³&ORVLQJ3D\PHQW´ Id.DW D  G 

               7KH 'HEWRUV EHOLHYH WKDW WKH WHUPV RI WKH 3XUFKDVH $JUHHPHQW DUH W\SLFDO

FXVWRPDU\ DQG UHDVRQDEOH XQGHU WKH FLUFXPVWDQFHV DQG DV H[SODLQHG KHUHLQ VKRXOG EH HQWHUHG

LQWRLQWKHH[HUFLVHRIWKH'HEWRUV¶EXVLQHVVMXGJPHQW7KH3XUFKDVH$JUHHPHQWZDVQHJRWLDWHG

LQJRRGIDLWKDQGDWDUPV¶OHQJWKE\WKH'HEWRUVDQGWKH%X\HU7KHIROORZLQJFKDUWVXPPDUL]HV

NH\ SURYLVLRQV RI WKH 3XUFKDVH $JUHHPHQW EXW LV TXDOLILHG LQ LWV HQWLUHW\ E\ UHIHUHQFH WR WKH

3XUFKDVH$JUHHPHQWDWWDFKHGKHUHWRDV([KLELW%




$SRUWLRQRIWKH+ROGEDFN$PRXQWPD\EHUHWDLQHGE\WKH%X\HUPRQWKVDIWHUWKH&ORVLQJ'DWHDVGHWDLOHGLQ
WKH3XUFKDVH$JUHHPHQW G 
$JDLQIRUHDVHRIUHDGLQJWKH'HEWRUV¶KDYHOLPLWHGWKHXVHLQWKLVFKDUWRIWKHGHILQHGWHUPVWKDWDSSHDULQWKH
3XUFKDVH$JUHHPHQW e.gFHUWDLQGHILQHGWHUPVDUHSUHVHQWHGLQWKHORZHUFDVH $FFRUGLQJO\WKHEULHIVXPPDU\LQ
WKLVFKDUWLVTXDOLILHGLQLWVHQWLUHW\E\WKHH[SOLFLWWHUPVRIWKH3XUFKDVH$JUHHPHQW



                                                          

                 Case 24-20576-CLC            Doc 29        Filed 10/13/24           Page 12 of 565




                         0$7(5,$/7(5062)7+(385&+$6($*5((0(17

                 7HUP                                 6XPPDU\'HVFULSWLRQ

      3DUWLHV                    6HOOHUV L 0%0HGLFDO2SHUDWLRQV//& LL 0%0HGLFDO7UDQVSRUW//& LLL 
                                  &DUH&HQWHU1HWZRUN//& LY &DUH&HQWHU0HGLFDO*URXS//& Y &OLQLFDO
       $3$3UHDPEOH              &DUH 3KDUPDF\ //& YL  )ORULGD )DPLO\ 3ULPDU\ &DUH &HQWHU //& YLL 
                                  )ORULGD )DPLO\ 3ULPDU\ &DUH &HQWHUV RI 2UODQGR //& YLLL  )ORULGD )DPLO\
                                  3ULPDU\&DUH&HQWHUVRI7DPSD//& L[ )ORULGD)DPLO\3ULPDU\&DUH&HQWHUV
                                  RI 3DVFR //& [  )ORULGD )DPLO\ 3ULPDU\ &DUH &HQWHUVRI 3LQHOODV //& [L 
                                  &&0&3K\VLFLDQ+ROGLQJV,QF [LL 0LDPL0HGLFDO :HOOQHVV&HQWHU//&
                                   [LLL 0LDPL%HDFK0HGLFDO&HQWHUV,QFIND5RGROIR'XPHQLJR0'3$
                                  DQG [LY 0LDPL%HDFK0HGLFDO&RQVXOWDQWV//&

                                  6HOOHUV¶5HSUHVHQWDWLYH0%0HGLFDO2SHUDWLRQV//& RQHRIWKH'HEWRUV 

                                  %X\HU &RQYLYD0HGLFDO&HQWHU0DQDJHPHQW//&

      6DOHWR,QVLGHU            1R

      3XUFKDVH3ULFH             3XUVXDQW WR WKH 3XUFKDVH $JUHHPHQW WKH %X\HU KDV DJUHHG WR SXUFKDVH WKH
                                  3XUFKDVHG$VVHWVIRU WKH³7RWDO&RQVLGHUDWLRQ´ 
       $3$ D  G 
                                  $W WKH &ORVLQJ WKH %X\HU ZLOO SD\ WKH 6HOOHUV D SRUWLRQ RI WKH 7RWDO
                                  &RQVLGHUDWLRQWRWDOLQJGHWHUPLQHGXVLQJWKHIROORZLQJFDOFXODWLRQV
                                   L  WKH 7RWDO &RQVLGHUDWLRQ i.e   less LL  WKH 'HSRVLW i.e.,
                                   less LLL WKH+ROGEDFN$PRXQW i.e.,  

                                  :LWKLQRQHEXVLQHVVGD\RIWKHH[HFXWLRQRIWKH3XUFKDVH$JUHHPHQWWKH%X\HU
                                  ZLOOSURYLGHWKH'HSRVLW i.e.,  WRWKH6HOOHUVZKLFKZLOOEHGHSRVLWHG
                                  LQWRDQHVFURZDFFRXQW$WWKH&ORVLQJWKH'HSRVLWZLOOEHFUHGLWHGDQGDSSOLHG
                                  WRZDUGV WKH SD\PHQW RI WKH 7RWDO &RQVLGHUDWLRQ  ,I WKH 6HOOHUV WHUPLQDWH WKH
                                  3XUFKDVH$JUHHPHQWSULRUWRWKH&ORVLQJGXHWRDGHIDXOWE\WKH%X\HUSXUVXDQW
                                  WR6HFWLRQ G RIWKH3XUFKDVH$JUHHPHQWWKH'HSRVLWZLOOEHQRQUHIXQGDEOH
                                  DQG SDLG WR WKH 6HOOHUV ,I WKH 3XUFKDVH $JUHHPHQW LV WHUPLQDWHG IRU DQ\ RWKHU
                                  UHDVRQSULRUWRWKH&ORVLQJWKHQWKH'HSRVLWZLOOEHUHWXUQHGWRWKH%X\HU

                                  2QWKHILUVWEXVLQHVVGD\LPPHGLDWHO\IROORZLQJPRQWKVDIWHUWKH&ORVLQJWKH
                                  %X\HU ZLOO SD\ WR WKH 6HOOHUV¶ 5HSUHVHQWDWLYH RU LWV DVVLJQV  WKH +ROGEDFN
                                  $PRXQW i.e.,   less WKH VXP RI WKH IROORZLQJ L  WKH DJJUHJDWH
                                  DPRXQW RI WKH +ROGEDFN $PRXQW UHWDLQHG E\ WKH %X\HU WR VDWLVI\ WKH
                                  LQGHPQLILFDWLRQREOLJDWLRQVRIWKH6HOOHUVXQGHU6HFWLRQRURWKHUZLVHXQGHU
                                  WKH3XUFKDVH$JUHHPHQWDQG LL WKHDJJUHJDWHDPRXQWZKLFKLVVXEMHFWWRFODLPV
                                  IRU LQGHPQLILFDWLRQ PDGH E\ WKH %X\HU LQ DFFRUGDQFH ZLWK WKH SURYLVLRQV RI
                                  6HFWLRQRIRURWKHUZLVHXQGHUWKH3XUFKDVH$JUHHPHQWZKLFKKDYHQRWEHHQ
                                  VDWLVILHG E\ WKH UHWHQWLRQ RI WKH +ROGEDFN $PRXQW E\ WKH %X\HU SHQGLQJ
                                  UHVROXWLRQ RI VXFK FODLPV   7KH 6HOOHUV DQG WKH %X\HU DJUHH WKDW WKH %X\HU LV
                                  HQWLWOHGWRUHWDLQDOORUDSRUWLRQRIWKH+ROGEDFN$PRXQWWRVDWLVI\LQZKROHRU
                                  LQ SDUW DQ\ REOLJDWLRQV RI WKH 6HOOHUV SXUVXDQW 6HFWLRQ  RI RU RWKHUZLVH
                                  SXUVXDQW WR WKH 3XUFKDVH $JUHHPHQW RU WKH LQGHPQLW\ SURYLVLRQV RI WKH
                                  7UDQVLWLRQ6HUYLFHV$JUHHPHQW GHILQHGEHORZ 

      3XUFKDVHG$VVHWV           $VVHWIRUWKLQWKH3XUFKDVH$JUHHPHQWDQGGHVFULEHGKHUHLQWKHSURSRVHG6DOH
                                  LQFOXGHVVXEVWDQWLDOO\DOORI WKHDVVHWVIRUHDFKRI WKH6HOOHUV i.eWKH3XUFKDVHG

                                                          

               Case 24-20576-CLC             Doc 29         Filed 10/13/24            Page 13 of 565



       $3$ D L  [[      $VVHWV H[FHSWIRUWKHDVVHWVZKLFKDUHH[FOXGHGIURPWKH6DOHE\WKH3XUFKDVH
                                 $JUHHPHQW i.eWKH([FOXGHG$VVHWV 

                                 6XFKSXUFKDVHGDVVHWVLQFOXGHDPRQJRWKHUV L DOODVVHWVSURSHUWLHVDQGULJKWV
                                 UHIOHFWHGDQGRUGHVFULEHGRQ([KLELW$WRWKH3XUFKDVH$JUHHPHQWWRJHWKHUZLWK
                                 DOORWKHUDVVHWVRZQHGXVHGRUKHOGIRUXVHE\WKH6HOOHUVLQFRQQHFWLRQZLWKWKH
                                 'HEWRUV¶ EXVLQHVV LL  DOO LQYHQWRULHV DQG VXSSOLHV LQFOXGLQJ DOO PHGLFDO
                                 VXSSOLHV LLL  DOO WDQJLEOH SHUVRQDO SURSHUW\ LQFOXGLQJ DOO PHGLFDO HTXLSPHQW
                                 IXUQLWXUH IL[WXUHV FRPSXWHUV LQFOXGLQJ VRIWZDUH DQG KDUGZDUH  GHYLFHV
                                 VXSSOLHV VSDUH SDUWV DQG RWKHU WDQJLEOH SHUVRQDO SURSHUW\ LY  DOO YHKLFOHV
                                 RZQHGE\WKH'HEWRUV Y DOOOHDVHKROGLQWHUHVWVLQSHUVRQDOSURSHUW\LQFOXGLQJ
                                 DQ\ SUHSDLG UHQW VHFXULW\ GHSRVLWV DQG RSWLRQV WR UHQHZ RU SXUFKDVH LQ
                                 FRQQHFWLRQWKHUHZLWK YL DOOULJKWVRIWKH6HOOHUVLQWRDQGXQGHUDOOFRQWUDFWV
                                 WKDWFRQVWLWXWHRQRUDIWHUWKH&ORVLQJWKH$VVXPHG&RQWUDFWV YLL DOOULJKWVRI
                                 WKH 6HOOHUV LQ WR DQG XQGHU FRQWUDFWV OLVWHG RQ 6FKHGXOH  D YLL  WR WKH
                                 3XUFKDVH $JUHHPHQW DQG RWKHU QRQ &RQWUDFWV ZKLFK WKH %X\HU WLPHO\
                                 GHVLJQDWHV DV $VVXPHG &RQWUDFWV IROORZLQJ H[HFXWLRQ RI WKH 3XUFKDVH
                                 $JUHHPHQW YLLL  DOO LQWHOOHFWXDO SURSHUW\ XVHG LQ RU UHODWHG WR WKH 'HEWRUV¶
                                 EXVLQHVV L[ DOOVRIWZDUHWKDWLVRZQHGE\OLFHQVHGWRRURWKHUZLVHXVHGE\WKH
                                 6HOOHUV LQ DQ\ PDQQHU LQ FRQQHFWLRQ ZLWK WKH 'HEWRUV¶ EXVLQHVV [  DOO
                                 LQIRUPDWLRQWHFKQRORJ\DVVHWV [L DOOSHUPLWVWRWKHH[WHQWWUDQVIHUDEOH [LL DOO
                                 GDWDDQGLQIRUPDWLRQLQFOXGLQJDOOSHUVRQDOLQIRUPDWLRQXVHGRUSURFHVVHGLQWKH
                                 FRQGXFWRIWKH'HEWRUV¶EXVLQHVVRUE\RURQEHKDOIRIWKH6HOOHUV [LL FHUWDLQ
                                 FDXVHV RI DFWLRQ DJDLQVW WKLUG SDUWLHV EXW not DQ\ $YRLGDQFH $FWLRQV ZKLFK LV
                                 GHILQHG LQ WKH 3XUFKDVH $JUHHPHQW WR LQFOXGH ³DOO FODLPV DQG FDXVHV RI DFWLRQ
                                 DULVLQJXQGHUVHFWLRQVWKURXJKRIWKH%DQNUXSWF\&RGHRUDQ\DQDORJRXV
                                 VWDWHODZ DQGWKH%X\HUUHOHDVHVDQGDJUHHVQRWWRVXHWKH6HOOHUV¶GLUHFWRUVDQG
                                 RIILFHUVDQGPHPEHUVRIWKH6SHFLDO&RPPLWWHH  [LY FHUWDLQGHSRVLWVSUHSDLG
                                 H[SHQVHV DQG ULJKWV WR UHIXQGV UHODWLQJ WR WKH 3XUFKDVHG $VVHWV DV PRUH IXOO\
                                 GHVFULEHGLQWKH3XUFKDVH$JUHHPHQW [Y DOOWKH6HOOHUV¶ULJKWWLWOHDQGLQWHUHVW
                                 LQ DQG WR FHUWDLQ OHDVHG UHDO SURSHUW\ DV VHW IRUWK LQ WKH 3XUFKDVH $JUHHPHQW
                                  [YL WKHJRRGZLOOJRLQJFRQFHUQFXVWRPHULQWDQJLEOHVDQGZRUNIRUFHLQSODFH
                                 RI WKH 'HEWRUV¶ EXVLQHVV [YLL  DOO FODLPV GHPDQGV DQG ULJKWV WR
                                 LQGHPQLILFDWLRQ LQVXUDQFH RU VLPLODU UHFRYHU\ IURP DQ\ WKLUG SDUWLHV WR WKH
                                 H[WHQW DSSOLFDEOH WR WKH 3XUFKDVHG $VVHWV RU $VVXPHG /LDELOLWLHV [YLLL  WKH
                                 GHYLFHV WKDW KDYH EHHQ RU DUH XVHG LQ WKH 'HEWRUV¶ EXVLQHVV [L[  DOO
                                 SKDUPDFHXWLFDO GUXJV DQG [[  DOO RWKHU DVVHWV SURSHUW\ DQG ULJKWV RZQHG RU
                                 RWKHUZLVHXVHGLQRUQHFHVVDU\IRUWKHRSHUDWLRQRIWKH'HEWRUV¶EXVLQHVVRWKHU
                                 WKDQ WKH ([FOXGHG $VVHWV ZKLFK ([FOXGHG $VVHWV LQFOXGH FDVK DFFRXQWV
                                 UHFHLYDEOHDQGDYRLGDQFHDFWLRQV

      ([FOXGHG$VVHWV           7KH 3XUFKDVH $JUHHPHQW LQFOXGHV  VHSDUDWH FDWHJRULHV RI H[FOXGHG DVVHWV
                                 LQFOXGLQJ L  DOO FDVK DQG FDVK HTXLYDOHQWV LL  DFFRXQWV UHFHLYDEOH DQG RWKHU
       $3$ E L  [[LY    SD\PHQWV WR EH PDGH E\ DQ\ WKLUG SDUW\ SD\RUV WR WKH 6HOOHUV IRU VHUYLFHV
                                 SURYLGHG SULRU WR WKH &ORVLQJ 'DWH LQFOXGLQJ SXUVXDQW WR $VVXPHG &RQWUDFWV 
                                  LLL  DOO EDQN DFFRXQWV RI WKH 6HOOHUV LY  DOO HTXLW\ LQWHUHVWV LQ DQ\ 6HOOHU RU
                                 HTXLW\ LQWHUHVWV KHOG E\ DQ\ 6HOOHU Y  HDFK 6HOOHU¶V 0HGLFDUH DQG 0HGLFDLG
                                 SURYLGHUQXPEHUVDQGDOODVVRFLDWHG1DWLRQDO3URYLGHU,GHQWLILHU 13, QXPEHUV
                                 UHODWHGWRRZQHUVHPSOR\HHVDQGLQGHSHQGHQWFRQWUDFWRUVRIWKH6HOOHUV YL DOO
                                 LQVXUDQFHSROLFLHVRIWKH6HOOHUV RWKHUWKDQFHUWDLQFODLPVDQGULJKWVGHWDLOHGLQ
                                 WKH 3XUFKDVH $JUHHPHQW  YLL  DOO WD[ UHWXUQV RI WKH 6HOOHUV DQG DQ\ RWKHU WD[
                                 DVVHWVRIWKH6HOOHUVRUUHODWHGWRWKH'HEWRUV¶EXVLQHVVWKH3XUFKDVHG$VVHWVRU
                                 WKH $VVXPHG /LDELOLWLHV IRU WKH 3UH&ORVLQJ 3HULRG RU WKHSRUWLRQ RI D 6WUDGGOH
                                 3HULRGHQGLQJRQWKH&ORVLQJ'DWH YLLL DOOHPSOR\HHUHODWHGEHQHILWSODQVDQG
                                 DQ\WUXVWVRURWKHUDVVHWVUHODWHGWKHUHWR L[ DOOSD\UROOUHFRUGVSHUVRQQHOILOHV
                                 DQGRWKHUSHUVRQDOUHFRUGV [ DOO FRQWUDFWVWKDW L DUHQRW$VVXPHG&RQWUDFWV RU


                                                          

               Case 24-20576-CLC              Doc 29        Filed 10/13/24           Page 14 of 565



                                    LL DUH$VVXPHG&RQWUDFWVEXWDUHQRWDVVXPDEOHDQGDVVLJQDEOHSXUVXDQWWRWKH
                                   WHUPVWKHUHRIRUDVDPDWWHURIDSSOLFDEOHODZ LQFOXGLQJDQ\$VVXPHG&RQWUDFW
                                   ZLWK UHVSHFW WR ZKLFK DQ\ FRQVHQW UHTXLUHPHQW LQ IDYRU RI WKH FRXQWHUSDUW\
                                   WKHUHWRLVQRWVDWLVILHGDQGPD\QRWEHRYHUULGGHQSXUVXDQWWRVHFWLRQRIWKH
                                   %DQNUXSWF\ &RGH  FROOHFWLYHO\ DV GHILQHG LQ WKH 3XUFKDVH $JUHHPHQW WKH
                                   ³([FOXGHG &RQWUDFWV´  [L  HDFK  &RQWUDFW WKDW DV RI WKH &ORVLQJ LV QRW
                                   GHVLJQDWHGDVD'HVLUHG&RQWUDFW [LL IXUQLWXUHDQGOHDVHKROGLPSURYHPHQWV
                                   ORFDWHG DW OHDVHG UHDO SURSHUW\ QRW LQFOXGHG DV $VVXPHG &RQWUDFWV H[FOXGLQJ
                                   FHUWDLQGHYLFHV [LLL DOOYHKLFOHVOHDVHGE\WKH6HOOHUV [LY DOOULJKWVDULVLQJLQ
                                   FRQQHFWLRQ ZLWK DQ\ SURFHHGLQJ WR WKH H[WHQW UHODWHG WR DQ\ ([FOXGHG $VVHW RU
                                   WKDW DUH QRW DSSOLFDEOH WR WKH 3XUFKDVHG $VVHWV [Y  WKH FRUSRUDWH VHDOV
                                   RUJDQL]DWLRQDOGRFXPHQWVPLQXWHERRNVVWRFNERRNVERRNVRIDFFRXQWRURWKHU
                                   UHFRUGVKDYLQJWRGRZLWKWKHFRUSRUDWHRUJDQL]DWLRQRIWKH6HOOHUVDOOHPSOR\HH
                                   UHODWHGRUHPSOR\HHEHQHILWUHODWHGILOHVRUUHFRUGVERRNVDQGUHFRUGVUHODWHGWR
                                   RWKHU ([FOXGHG $VVHWV DQG DQ\ RWKHU ERRNV DQG UHFRUGV ZKLFK WKH 6HOOHUV DUH
                                   SURKLELWHGIURPGLVFORVLQJRUWUDQVIHUULQJWRWKH%X\HUXQGHUDSSOLFDEOHODZDQG
                                   LVUHTXLUHGE\DSSOLFDEOHODZWRUHWDLQ [YL DOOULJKWVZKLFKDFFUXHRUZLOODFFUXH
                                   WR WKH 6HOOHUV XQGHU WKH 3XUFKDVH $JUHHPHQW RU DQ\ RWKHU DQFLOODU\ DJUHHPHQW
                                    [YLL  DOO SULYLOHJHV DQG SURWHFWLRQV SHUWDLQLQJ WR FRPPXQLFDWLRQV EHWZHHQ WKH
                                   6HOOHUVDQGWKHLUSURIHVVLRQDOVLQFOXGLQJDWWRUQH\V [YLLL FHUWDLQSHUPLWV [L[ 
                                   DOOGHSRVLWVSUHSDLGH[SHQVHVDQGULJKWVWRUHIXQGUHODWLQJWRLQVXUDQFH [[ DOO
                                   $YRLGDQFH$FWLRQV [[L DOO&29,')XQGVDQG&+23'$$3V [[LL FHUWDLQ
                                   FODLPV GHVFULEHG RQ 6FKHGXOH  D [LL  RI WKH 3XUFKDVH $JUHHPHQW [[LLL  DOO
                                   GHYLFHVWKDWDUHQRWWUDQVIHUUHGGHYLFHVDQG [[LY FHUWDLQRWKHUDVVHWVOLVWHGRQ
                                   6FKHGXOH E [[LY RIWKH3XUFKDVH$JUHHPHQW

      $VVXPHG&RQWUDFWV           $OOSUHSHWLWLRQH[HFXWRU\FRQWDFWVDQGOHDVHVRIQRQUHVLGHQWLDOUHDOSURSHUW\WKDW
                                   WKH6HOOHUVDVVXPHDQGDVVLJQWRWKH%X\HU
       $3$ D YL  D 
       E $UW, 'HILQLWLRQV    )RUDGGLWLRQDOLQIRUPDWLRQSOHDVHVHH WKHVHFWLRQRIWKLV 0RWLRQGLVFXVVLQJWKH
                                   ³$VVXPSWLRQDQG$VVLJQPHQW3URFHGXUHV´0RWLRQ


      6DOHRI$YRLGDQFH           7KH%X\HULVQRWSXUFKDVLQJ$YRLGDQFH$FWLRQV
      $FWLRQV
                                   $YRLGDQFH$FWLRQVUHSUHVHQW([FOXGHG$VVHWVXQGHU E [[ RIWKH3XUFKDVH
       $3$ E [[             $JUHHPHQW

      6DOHRI2WKHU&DXVHVRI     7KH%X\HUUHOHDVHVDQGDJUHHVQRWWRVXHWKH6HOOHUV¶GLUHFWRUVDQGRIILFHUVDQG
      $FWLRQ                      PHPEHUV RI WKH 6SHFLDO &RPPLWWHH DV PRUH IXOO\ GHVFULEHG LQ WKH 3XUFKDVH
                                   $JUHHPHQW D [LLL DQG
       $3$ D [LLL 
      

      $VVXPHG/LDELOLWLHV         $V IXUWKHU GHVFULEHG LQ GHWDLO LQ WKH 3XUFKDVH $JUHHPHQW WKH $VVXPHG
                                   /LDELOLWLHVLQFOXGHEXWDUHQRWOLPLWHGWRDOOWKHREOLJDWLRQVRIWKH6HOOHUV ZLWK
       $3$ D               UHVSHFWWRWKH'HEWRUV¶EXVLQHVV ZLWKUHVSHFWWR L SDLGWLPHRIIDFFUXHGWKRXJK
                                   &ORVLQJZLWKUHVSHFWWRHPSOR\HHVWKDWDFFHSWHPSOR\PHQWZLWKWKH%X\HURUDQ
                                   DIILOLDWHRIWKH%X\HU DVGHILQHGLQWKH3XUFKDVH$JUHHPHQW³372´ DVOLVWHGRQ
                                   6FKHGXOH  D  RI WKH 3XUFKDVH $JUHHPHQW DQG LL  XQGHU WKH $VVXPHG
                                   &RQWUDFWV EXW RQO\ WR WKH H[WHQW VXFK REOLJDWLRQV D  DUH FXUH FRVWV RZHG LQ
                                   FRQQHFWLRQ ZLWK DVVXPSWLRQ DQG DVVLJQPHQW RI VXFK $VVXPHG &RQWUDFWV DQG
                                   DOORFDWHG WR WKH %X\HU XQGHU 6HFWLRQ  RI WKH 3XUFKDVH $JUHHPHQW E  DUH
                                   DSSOLFDEOHWRDQGDFFUXHZLWKUHVSHFWWRSHULRGVVXEVHTXHQWWRWKH&ORVLQJDQG F 
                                   DUHDFFRPSDQLHGE\DFRUUHODWHGGXW\RISHUIRUPDQFHRUSD\PHQWRQWKHSDUWRI
                                   WKHRWKHUSDUWLHVWKHUHWR


                                                          

                 Case 24-20576-CLC              Doc 29        Filed 10/13/24           Page 15 of 565




      ([FOXGHG/LDELOLWLHV          $OO OLDELOLWLHV RI WKH 6HOOHUV DQG WKH 'HEWRUV¶ EXVLQHVV WKDW DUH QRW $VVXPHG
                                     /LDELOLWLHV
       $3$ E

      6DOH )UHH DQG &OHDU RI 7KH3XUFKDVH$JUHHPHQWFRQWHPSODWHVWKDWWKHVDOHRIWKH3XUFKDVHG$VVHWVIURP
      /LHQVDQGLQWHUHVWV       WKH6HOOHUVWRWKH%X\HUZLOOEHIUHHDQGFOHDURIDOO/LHQV RWKHUWKDQ$VVXPHG
                                  /LDELOLWLHVDQG3HUPLWWHG/LHQV 
       $3$$UW, 'HILQLWLRQV 
      ³6DOH2UGHU´ D 
       D  F LY 

      +HDOWK&DUH0DWWHUV           7KH3XUFKDVH$JUHHPHQWFRQWDLQVUHSUHVHQWDWLRQVDQGZDUUDQWLHVE\WKH6HOOHUV
                                     WKDW WKH &RPSDQ\ DV ZHOO DV WKH &RPSDQ\¶V GLUHFWRUV PHPEHUV HPSOR\HHV
       $3$ D  P            DJHQWV RIILFHUV PDQDJHUV DJHQWV RU WR WKH 6HOOHUV¶ NQRZOHGJH LQGHSHQGHQW
                                     FRQWUDFWRUV L  DUH LQ FRPSOLDQFH ZLWK DSSOLFDEOH IHGHUDO VWDWH DQG ORFDO
                                     KHDOWKFDUHUHODWHGODZVUHJXODWLRQVDQGVWDQGDUGVDVZHOODVDSSOLFDEOHSULYDWH
                                     FRPPHUFLDOKHDOWKFDUHUHODWHGDJUHHPHQWVLQFOXGLQJEXWQRWOLPLWHGWRUHOHYDQW
                                     WKLUG SDUW\ SD\RU DJUHHPHQWV LL  PDLQWDLQ DSSURSULDWH SHUPLWV OLFHQVHV DQG
                                     FHUWLILFDWLRQV DQG LLL  KDYH GLVFORVHG DQ\ SDVW TXL WDP OLWLJDWLRQ JRYHUQPHQW
                                     UHODWHGDXGLWVRULQYHVWLJDWLRQVRUDOOHJDWLRQVRILQDSSURSULDWHKHDOWKFDUHUHODWHG
                                     EHKDYLRU

      &ORVLQJ                       3XUVXDQW WR 6HFWLRQ  G  RI WKH ',3 &UHGLW $JUHHPHQW L  WKH %DQNUXSWF\
                                     &RXUWPXVWHQWHUWKH6DOH2UGHUQRWODWHUWKDQGD\VDIWHUWKH3HWLWLRQ'DWHDQG
       $3$                    LL WKH'HEWRUVPXVWFRQVXPPDWHWKH6DOHZLWKWKH%X\HUQRWODWHUWKDQGD\V
                                     DIWHUWKH3HWLWLRQ'DWH
       ',3 &UHGLW $JUHHPHQW 
       G 

      &RQGLWLRQV3UHFHGHQWWR 7KH 'HEWRUV EHOLHYH WKDW WKH 3XUFKDVH $JUHHPHQW FRQWDLQV VWDQGDUG FRQGLWLRQV
      &ORVLQJWR2EOLJDWLRQVRI SUHFHGHQW WR &ORVLQJ WR WKH REOLJDWLRQV RI WKH %X\HU    DQG WKH 6HOOHUV 
      WKH6HOOHUDQGWKH%X\HU  IRUWUDQVDFWLRQVRIWKLVW\SHVLPLODUVL]HDQGFRPSOH[LW\

       $3$ 

      7HUPLQDWLRQ(YHQWV            8QGHUFHUWDLQFLUFXPVWDQFHVWKH3XUFKDVH$JUHHPHQWPD\EHWHUPLQDWHGE\

       $3$
                                      D PXWXDOZULWWHQFRQVHQWRIWKH6HOOHUV¶5HSUHVHQWDWLYHDQGWKH%X\HU

                                      E  HLWKHU WKH %X\HURUWKH6HOOHUV L LI &ORVLQJKDVQRWRFFXUUHG RQRUEHIRUH
                                     'HFHPEHU   WKH ³2XWVLGH 'DWH´  SURYLGHG LI WKH 6DOH 2UGHU KDV QRW
                                     EHHQ HQWHUHG DV RI WKH LQLWLDO 2XWVLGH 'DWH WKHQ WKH 2XWVLGH 'DWH VKDOO
                                     DXWRPDWLFDOO\EHH[WHQGHGWRWKHHDUOLHURI $ WKUHH%XVLQHVV'D\VDIWHUWKHGDWH
                                     RQ ZKLFK DOO FRQGLWLRQV WR &ORVLQJ RI WKH 3XUFKDVH $JUHHPHQW H[FHSW WKRVH
                                     FRQGLWLRQVWKDWDUHWREHVDWLVILHGDW&ORVLQJ KDYHEHHQVDWLVILHG RUZDLYHGE\
                                     WKH 3DUW\ HQWLWOHG WR WKH EHQHILW RI WKH VDPH  RU %  -DQXDU\   WKH
                                     ³([WHQGHG2XWVLGH'DWH´  LL LIDQ\*RYHUQPHQWDO$XWKRULW\VKDOOKDYHLVVXHG
                                     DQ 2UGHU RU WDNHQ DQ\ RWKHU DFWLRQ SHUPDQHQWO\ HQMRLQLQJ UHVWUDLQLQJ RU
                                     RWKHUZLVH SURKLELWLQJ WKH &ORVLQJ DQG VXFK 2UGHU RU RWKHU DFWLRQ VKDOO KDYH
                                     EHFRPH ILQDO DQG QRQDSSHDODEOH LLL  LI WKH 6HOOHUV HQWHU LQWR D GHILQLWLYH
                                     DJUHHPHQWSURYLGLQJIRUD6XSHULRU3URSRVDOWKDWZRXOGPDNHWKHFRQVXPPDWLRQ
                                     RIWKHWUDQVDFWLRQFRQWHPSODWHGE\WKH3XUFKDVH$JUHHPHQWRUWKHVDWLVIDFWLRQRI
                                     DQ\FRQGLWLRQVWKHUHLQLPSRVVLEOH LY WKH6DOH2UGHUFHDVHVWREHLQ IXOOIRUFH


                                                            

                 Case 24-20576-CLC          Doc 29        Filed 10/13/24            Page 16 of 565



                                DQG HIIHFW Y  LI WKH %DQNUXSWF\ &RXUW GRHV QRW LVVXH WKH 6DOH 2UGHU LQ
                                DFFRUGDQFHZLWKWKH3XUFKDVH$JUHHPHQW

                                 F  E\ WKH %X\HU L  LI WKH &ORVLQJ KDV QRW RFFXUUHG RQ RU EHIRUH ([WHQGHG
                                2XWVLGH'DWH LL LIDQ\RIWKH6HOOHUVUHSUHVHQWDWLRQVRUZDUUDQWLHVDUHQRWWUXH
                                DQGFRUUHFWVXFKWKDWFHUWDLQFRQGLWLRQWR&ORVLQJZRXOGQRWEHVDWLVILHGDQGWKH
                                EUHDFK LV QRW FXUHG LLL  LI FHUWDLQ RWKHU FRQGLWLRQV LQ KDYH EHHQ VDWLVILHG RU
                                ZDLYHG DQG WKH 6HOOHUV IDLO WR FRQVXPPDWH WKRVH WUDQVDFWLRQV E\ WKH GDWH WKH
                                &ORVLQJVKRXOGKDYHRFFXUUHG LY LIWKH%DQNUXSWF\&DVHVKDYHEHHQFRQYHUWHG
                                WR &KDSWHU  RU GLVPLVVHG DQG Y  LI WKH 6DOH 2UGHU KDV QRW EHHQ HQWHUHG E\
                                -DQXDU\ YL LIDQ\FUHGLWRURUWKH6HOOHUV¶$IILOLDWHVREWDLQVVWD\UHOLHI
                                WR IRUHFORVH RQ RU RWKHUZLVH WDNH SRVVHVVLRQ RI D PDWHULDO SRUWLRQ RI WKH
                                3XUFKDVHG$VVHWRU YLL LIRUJUHDWHURIWKHSK\VLFLDQVDQGDGYDQFHSUDFWLFH
                                SURYLGHUV RQ 6FKHGXOH  F YLL  RI WKH 3XUFKDVH $JUHHPHQW KDYH WHUPLQDWHG
                                WKHLU HPSOR\PHQW KDYH EHHQ WHUPLQDWHG IURP HPSOR\PHQW RU KDYH IDLOHG WR
                                HQWHULQWRDQHPSOR\PHQWDJUHHPHQWZLWKWKH%X\HURURQHRILWVDIILOLDWHV

                                 G E\WKH6HOOHUV L LIDQ\%X\HUUHSUHVHQWDWLRQVRUZDUUDQWLHVDUHQRWWUXHDQG
                                FRUUHFW VXFK WKDW FHUWDLQ FRQGLWLRQ WR &ORVLQJ ZRXOG QRW EH VDWLVILHG DQG WKH
                                EUHDFK LV QRW FXUHG RU LL  LI FHUWDLQ RWKHU FRQGLWLRQV KDYH EHHQ VDWLVILHG RU
                                ZDLYHG DQG WKH %X\HU IDLOV WR FRQVXPPDWH WKRVH WUDQVDFWLRQV E\ WKH GDWH WKH
                                &ORVLQJVKRXOGKDYHRFFXUUHG

      5HOHDVHV                 7KH 'HEWRUV DUH QRW UHOHDVLQJ DQ\ SDUWLHV LQ FRQQHFWLRQ ZLWK WKH 3XUFKDVH
                                $JUHHPHQW DQG WKH 6DOH $V RI WKH &ORVLQJ WKH %X\HU LV UHOHDVLQJ FXUUHQW
       $3$             GLUHFWRUVDQGRIILFHUVRIWKH'HEWRUVDQGPHPEHUVRIWKH6SHFLDO&RPPLWWHHDV
                                PRUHIXOO\GHVFULEHGLQWKH3XUFKDVH$JUHHPHQW

      5HOLHIIURP%DQNUXSWF\   $VQRWHGLQWKLV6DOH0RWLRQWKH'HEWRUVDUHUHTXHVWLQJUHOLHIIURPWKHGD\
      5XOHV K DQG        VWD\LPSRVHGE\%DQNUXSWF\5XOHV K DQG G 
       G 

      

      7UDQVLWLRQ6HUYLFHV      ,QFRQQHFWLRQZLWKWKH3XUFKDVH$JUHHPHQWWKH6HOOHUVKDYHDJUHHGWRSURYLGH
      $JUHHPHQW                DWWKH%X\HU¶VVROHH[SHQVHVHUYLFHVUHJDUGLQJWUDQVLWLRQRIWKH6HOOHUV¶EXVLQHVV
                                WRWKH%X\HUIRUDSHULRGRIXSWRGD\VDIWHUWKH&ORVLQJXQGHUWKH3XUFKDVH
       $3$([KLELW%          $JUHHPHQWSXUVXDQWWRD7UDQVLWLRQ6HUYLFHV$JUHHPHQWDWWDFKHGDV([KLELW%WR
                                WKH3XUFKDVH$JUHHPHQW WKH³7UDQVLWLRQ6HUYLFHV$JUHHPHQW´ 


                                         5(/,()5(48(67('

               %\WKLV6DOH0RWLRQWKH'HEWRUVVHHNWKHHQWU\RIWKH6DOH2UGHUVXEVWDQWLDOO\LQ

WKHIRUPDWWDFKHGKHUHWRDV([KLELW$ L DXWKRUL]LQJWKH'HEWRUVWRFRQVXPPDWHWKH3XUFKDVH

$JUHHPHQW DQG DXWKRUL]LQJ WKH SULYDWH 6DOH RXWVLGH WKH RUGLQDU\ FRXUVH RI EXVLQHVV LL 

DXWKRUL]LQJWKH6DOHIUHHDQGFOHDURIDOO/LHQVDQG,QWHUHVWV RWKHUWKDQ$VVXPHG/LDELOLWLHVDQG

3HUPLWWHG /LHQV WKDW WKH %X\HU KDV DJUHHG WR SHUPLW XQGHU WKH 3XUFKDVH $JUHHPHQW RU DV

                                                        

               Case 24-20576-CLC           Doc 29      Filed 10/13/24       Page 17 of 565




RWKHUZLVHVHWIRUWKLQWKH3XUFKDVH$JUHHPHQW  LLL DXWKRUL]LQJWKHDVVXPSWLRQDQGDVVLJQPHQW

RIWKH$VVXPHG&RQWUDFWVRQWKHWHUPVVHWIRUWKLQWKH3XUFKDVH$JUHHPHQWWKH6DOH2UGHUDQG

IXUWKHURUGHUVHQWHUHGE\WKH%DQNUXSWF\&RXUWDQG LY JUDQWLQJRWKHUUHODWHGUHOLHI

                     7+(5(48(67('5(/,()6+28/'%(*5$17('

$       7KH 6DOH RI WKH 3XUFKDVHG $VVHWV LV $SSURSULDWH 8QGHU 6HFWLRQ  E   RI WKH
         %DQNUXSWF\&RGH

             6HFWLRQ E  RIWKH%DQNUXSWF\&RGHDXWKRUL]HVDWUXVWHHWRVHOOSURSHUW\RI

WKHHVWDWH³RXWVLGHRIWKHRUGLQDU\FRXUVHRIEXVLQHVV´VRORQJDVWKHWUXVWHHFDQGHPRQVWUDWHD

VRXQGEXVLQHVVMXVWLILFDWLRQIRUWKHWUDQVDFWLRQSee, e.g., In re Royal Palm 160, LLC, %5

 6')OD  FRXUWVZLOODSSURYHDGHEWRU¶VSURSRVHGVDOHXQGHUVHFWLRQZKHUH

WKH GHEWRU KDV XVHG UHDVRQDEOH EXVLQHVV MXGJPHQW In re Diplomat Const., Inc  %5 

 %DQNU1'*D  FKDSWHU  ³7KHEXVLQHVVMXGJPHQWWHVWLVWKHSUHYDLOLQJUXEULFWR

HYDOXDWHWKHSURSRVHGWUDQVDFWLRQXQGHU E  ´ ,QWKHFRQWH[WRIDSURSRVHGVDOHXQGHU

DGHEWRU¶VH[HUFLVHRILWVEXVLQHVVMXGJPHQWLVHQWLWOHGWR³JUHDWMXGLFLDOGHIHUHQFH´See 160

Royal Palm%5DW FLWDWLRQRPLWWHG 3XUVXDQWWR%DQNUXSWF\5XOH I  VDOHVRI

SURSHUW\PD\EHE\SULYDWHVDOHRUSXEOLFDXFWLRQ

             $GHEWRU¶VVKRZLQJRIDVRXQGEXVLQHVVSXUSRVHQHHGQRWEHXQGXO\H[KDXVWLYH

UDWKHU D GHEWRU LV ³VLPSO\ UHTXLUHG WR MXVWLI\ WKH SURSRVHG GLVSRVLWLRQ ZLWK VRXQG EXVLQHVV

UHDVRQV´In re Baldwin United Corp%5 %DQNU6'2KLR :KHWKHURUQRW

WKHUH DUH VXIILFLHQW EXVLQHVV UHDVRQV WR MXVWLI\ D VHFWLRQ  WUDQVDFWLRQ DOVR GHSHQGV XSRQ WKH

IDFWV DQG FLUFXPVWDQFHV RI HDFK FDVH In re Lionel Corp  )G   G &LU

  In re Montgomery Ward Holding Corp.  %5   ' 'HO   DSSURYLQJ

IXQGLQJ RI HPSOR\HH LQFHQWLYH DQG VHYHUDQFH SURJUDP DQG KROGLQJ WKDW WKH EXVLQHVV SXUSRVH




                                                     

                 Case 24-20576-CLC                   Doc 29         Filed 10/13/24            Page 18 of 565




UHTXLUHPHQWZDVIXOILOOHGEHFDXVHVWDELOL]LQJWXUQRYHUUDWHDQGLQFUHDVLQJPRUDOHZHUHQHFHVVDU\

WRVXFFHVVIXOUHRUJDQL]DWLRQ 

                 2QFHDGHEWRUDUWLFXODWHVDYDOLGEXVLQHVVMXVWLILFDWLRQLWVGHFLVLRQWRVHOOSURSHUW\

RXW RI WKH RUGLQDU\ FRXUVH RI EXVLQHVV HQMR\V D VWURQJ ³SUHVXPSWLRQ WKDW LQ PDNLQJ D EXVLQHVV

GHFLVLRQWKHGLUHFWRUVRIDFRUSRUDWLRQDFWHGRQDQLQIRUPHGEDVLVLQJRRGIDLWKDQGLQDQKRQHVW

EHOLHIWKDWWKHDFWLRQWDNHQZDVLQWKHEHVWLQWHUHVWVRIWKHFRPSDQ\´In re Integrated Res. Inc

 %5   6'1<   TXRWLQJ Smith Y Van Gorkom  $G   'HO

 7KHUHIRUHDQ\SDUW\REMHFWLQJWRDGHEWRU¶VSURSRVHGDVVHWVDOHPXVWPDNHDVKRZLQJRI

³EDG IDLWK VHOILQWHUHVW RU JURVV QHJOLJHQFH´ DV FRXUWV DUH ORDWK WR LQWHUIHUH ZLWK FRUSRUDWH

GHFLVLRQVDEVHQWVXFKDVKRZLQJSee idDW

                 ,WLVZHOOVHWWOHGWKDWWKHVDOHRIDVVHWVRXWVLGHRIWKHRUGLQDU\FRXUVHRIEXVLQHVV

E\ PHDQV RI D SULYDWH VDOH FDQ DQG LQ DSSURSULDWH FDVHV VKRXOG EH DSSURYHG  See, e.g., In re

Royal Palm 160, LLC, %5DW DIILUPLQJEDQNUXSWF\FRXUWRUGHUDXWKRUL]LQJWKHGHEWRU

WRSURFHHGZLWKDSULYDWHVDOHRIUHDOSURSHUW\DQGILQGLQJQRDEXVHRIGLVFUHWLRQLQDOORZLQJWKH

ZLWKGUDZDO RI SXEOLF DXFWLRQ SURFHGXUHV E\ WKH GHEWRU LQ IDYRU RI D SULYDWH VDOH  ,Q re Sound

Shore Med. Ctr. of Westchester 5'' :/DW  %DQNU6'1<

-XO\    ILQGLQJ WKDW D SULYDWH VDOH RI D GHEWRU¶V DVVHWV ZDV DSSURSULDWH ³LQ OLJKW RI WKH

IDFWV DQG FLUFXPVWDQFHV VXUURXQGLQJ WKH 6DOH 7UDQVDFWLRQ DQG WKH 'HEWRUV¶ FKDSWHU  FDVHV

EHFDXVH « WKH 'HEWRUV HQJDJHG LQ H[WHQVLYH SUHSHWLWLRQ PDUNHWLQJ HIIRUWV ZKLFK ZHUH IDLU

SURSHUFRPSOHWHDQGUHDVRQDEO\FDOFXODWHGWRUHVXOWLQWKHEHVWYDOXHUHFHLYHGIRUWKH$FTXLUHG


 2QFH D FRXUW LV VDWLVILHG WKDW WKHUH LV D VRXQG EXVLQHVV MXVWLILFDWLRQ IRU WKH SURSRVHG VDOH WKH FRXUW PXVW WKHQ
GHWHUPLQH ZKHWKHU L  WKH GHEWRU KDV SURYLGHG DGHTXDWH DQG UHDVRQDEOH QRWLFH WR LQWHUHVWHG SHUVRQV LL  WKH VDOH
SULFHLVIDLUDQGUHDVRQDEOHDQG LLL WKHSXUFKDVHULVSURFHHGLQJLQJRRGIDLWKSee, e.g., In re Watertech Holdings,
LLC  %5   %DQNU '6&   In re General Motors Corp.  %5   %DQNU
6'1< see also In re Delaware & Hudson Railway Co.%5 ''HO 



                                                                 

               Case 24-20576-CLC            Doc 29       Filed 10/13/24       Page 19 of 565




$VVHWV´ In re TPOP, LLC %/6 :/DW  %DQNU''HO0DU

  DSSURYLQJDSULYDWHVDOHRIDGHEWRU¶VDVVHWVDQGILQGLQJWKDWWKHGHEWRU³DUWLFXODWHGJRRG

DQGVXIILFLHQWEXVLQHVVUHDVRQVMXVWLI\LQJWKH6DOHLQFOXGLQJ«WKHIDFWWKDWWKH'HEWRU VPRQWKV

ORQJ SUHSHWLWLRQ PDUNHWLQJ SURFHVV WR VHHN D EX\HU IRU WKH DVVHWV GLG QRW \LHOG DQ DOWHUQDWLYH

WUDQVDFWLRQ RWKHU WKDQ WKH SURSRVHG 6DOH GHPRQVWUDWHV WKDW WKH $VVHW 3XUFKDVH $JUHHPHQW

FRQVWLWXWHVWKHKLJKHVWDQGEHVWRIIHUIRUWKH,QFOXGHG$VVHWV´ In re Aberdeen Land II, LLC, 1R

EN-$)  :/  %DQNU 0' )OD 1RY    DSSURYLQJ SULYDWH

VDOHRIUHDOSURSHUW\SXUVXDQWWRVHWWOHPHQWDJUHHPHQW In re Ocean Blue Leasehold Prop. LLC,

1R±±%.&±$-& %DQNU6')OD-XO\ >(&)1R DXWKRUL]LQJSULYDWHVDOH

RI VXEVWDQWLDOO\ DOO RI WKH GHEWRUV¶ UHDO DQG SHUVRQDO SURSHUW\ DV FRQWHPSODWHG E\ &KDSWHU 

SODQ @ Morris Y Puleo (In re Performance Materials, Inc.),  %5  %DQNU 0' )OD

  FRXUW LVVXHG GHFODUDWLRQ RI ULJKWV DULVLQJ IURP SULYDWH VDOH RI FDXVH RI DFWLRQ DQG

VSHFLILFDOO\QRWHGWKDWVDOHVE\EDQNUXSWF\WUXVWHHVPXVWEHDXWKRUL]HGE\WKHFRXUWDQGFDQE\

³SULYDWH VDOH RU DQ DXFWLRQ´  Penn Mut. Life Ins. Co. Y Woodscape Ltd. P’ship (In re

Woodscape Ltd. P’ship),  %5   %DQNU ' 0G   ILQGLQJ WKDW ³>W@KHUH LV QR

SURKLELWLRQ DJDLQVW D SULYDWH VDOH    DQG WKHUH LV QR UHTXLUHPHQW WKDW WKH VDOH EH E\ SXEOLF

DXFWLRQ´ 

              7ZRUHFHQWFDVHVZKHUH'HODZDUHEDQNUXSWF\FRXUWFDVHVDSSURYHGSULYDWHVDOHV

DUHLQVWUXFWLYH,QIn re Sherman/Grayson Hospital, LLC&DVH1R -.6  %DQNU'

'HO $XJ    '(   IROORZLQJ D WKUHH\HDU SUHSHWLWLRQ PDUNHWLQJ HIIRUW E\ WKH

GHEWRU DKRVSLWDO WKHGHEWRUHQWHUHG&KDSWHUDQGILOHGDPRWLRQWRDSSURYHDSULYDWHVDOHRI

VXEVWDQWLDOO\DOORILWVDVVHWVWRWKHRQO\LQWHUHVWHGEX\HULGHQWLILHGLQWKHSUHSHWLWLRQPDUNHWLQJ

HIIRUW*LYHQWKHH[WHQVLYHSUHSHWLWLRQPDUNHWLQJSURFHVVQRSRVWSHWLWLRQPDUNHWLQJRUDXFWLRQ



                                                       

               Case 24-20576-CLC           Doc 29      Filed 10/13/24       Page 20 of 565




ZDV UHTXLUHG RU VFKHGXOHG DQG WKH FRXUW DSSURYHG WKH SULYDWH VDOH IUHH DQG FOHDU RI OLHQV DQG

LQWHUHVWVZLWKRXWUHTXLULQJDSRVWSHWLWLRQPDUNHWLQJSHULRGRUDQDXFWLRQIUHHDQGFOHDURIOLHQV

DQGLQWHUHVWV

               6LPLODUO\ LQIn re Boxed Inc., et al., &DVH 1R  %/6  %DQNU ' 'HO

0D\    '(   IROORZLQJ D IRXUPRQWK SUHSHWLWLRQ PDUNHWLQJ HIIRUW E\ WKH GHEWRUV

ZKLFKUHVXOWHGLQQRRIIHUVWRSXUFKDVHWKHGHEWRUV¶EXVLQHVVWKHGHEWRUVHQWHUHG&KDSWHUDQG

ILOHGDPRWLRQWRDSSURYHDSULYDWHVDOHRILWVSULPDU\OLQHRIEXVLQHVVWRDGHVLJQHHRILWVILUVW

OLHQOHQGHUVYLDDFUHGLWELG*LYHQWKHH[WHQVLYHSUHSHWLWLRQPDUNHWLQJSURFHVVQRSRVWSHWLWLRQ

PDUNHWLQJZDVFRQGXFWHGDQGQRDXFWLRQZDVVHWDQGWKHFRXUWDSSURYHGWKHSULYDWHVDOHRQDQ

DFFHOHUDWHGWLPHIUDPHHQWHULQJDVDOHRUGHUMXVWGD\VDIWHUWKHSHWLWLRQGDWHDQGDXWKRUL]LQJ

WKHSULYDWHVDOHRIWKHGHEWRUV¶DVVHWVIUHHDQGFOHDURIOLHQVDQGLQWHUHVWVDQGDSSURYLQJWKHILUVW

OLHQOHQGHUV¶FUHGLWELG

               $VGHVFULEHGKHUHLQDQGLQWKH)LUVW'D\'HFODUDWLRQDQGWKH5LWXFFL'HFODUDWLRQ

WKH 'HEWRUV FRQGXFWHG DQ H[WHQVLYH \HDUORQJ SXEOLF SUHSHWLWLRQ PDUNHWLQJ DQG VDOH SURFHVV

UHVXOWLQJ LQ D SXUFKDVH SULFH RI  PLOOLRQ DQG WHUPV DFFHSWDEOH WR WKH 'HEWRUV¶ VHFXUHG

FUHGLWRUV7KH6DOHSUHYHQWVWKH'HEWRUV¶WHQVRIWKRXVDQGVRIYXOQHUDEOHSDWLHQWVIURPIDFLQJD

GLVUXSWLRQLQWKHLUFDUH6HQLRUVHFXUHGFUHGLWRU..5KDVDOVRDJUHHGWRIXQGIURPWKHSURFHHGV

RI LWV FROODWHUDO RU RWKHUZLVH EULGJH FDSLWDO ',3 DQG VDOH H[SHQVHV LQFOXGLQJ NH\ HPSOR\HH

UHWHQWLRQDQGLQFHQWLYHSODQSD\PHQWVDQGFHUWDLQZLQGGRZQDQGSRVWVDOHH[SHQVHVDOOVXEMHFW

WR DJUHHG EXGJHWV $FFRUGLQJO\ WKH 'HEWRUV VXEPLW WKDW MXVW OLNH WKH GHEWRUV LQ

Sherman/Grayson Hospital DQG Boxed WKH H[WHQVLYH SUHSHWLWLRQ PDUNHWLQJ HIIRUWV E\ WKH

'HEWRUV DQG WKHLU SURIHVVLRQDOV FRPELQHG ZLWK WKH RSHUDWLRQDO DQG ILQDQFLDO QHHGV WR REWDLQ




                                                     

               Case 24-20576-CLC           Doc 29      Filed 10/13/24       Page 21 of 565




DSSURYDORIWKHVDOHDQGH[SHGLWLRXVO\WUDQVLWLRQWKH'HEWRUV¶EXVLQHVVWRWKH%X\HUMXVWLI\WKH

UHOLHIUHTXHVWHGLQWKLV6DOH0RWLRQ

             ,Q DGGLWLRQ WKH 'HEWRUV KDYH SURYLGHG PRUH WKDQ WKH WZHQW\RQH   GD\V RI

QRWLFH UHTXLUHG E\ %DQNUXSWF\ 5XOH  IRU D VDOH RI DVVHWV SXUVXDQW WR VHFWLRQ  RI WKH

%DQNUXSWF\&RGH7KLV6DOH0RWLRQLVEHLQJILOHGFRQWHPSRUDQHRXVO\ZLWKWKHFRPPHQFHPHQW

RIWKHVH&KDSWHU&DVHVDQGE\VHSDUDWHPRWLRQILOHGFRQFXUUHQWO\KHUHZLWKWKH'HEWRUV DUH

UHTXHVWLQJWKH&RXUWWRHQWHUWKH6FKHGXOLQJ2UGHU GHILQHGKHUHLQ VHHNLQJD6DOH+HDULQJPRUH

WKDQWZHQW\RQH  GD\VDIWHUWKH3HWLWLRQ'DWH$VVXFKWKH'HEWRUVVXEPLWWKDWFRPSOLDQFH

ZLWKWKH%DQNUXSWF\5XOHVLVVDWLVILHGDQGSURSHUQRWLFHRIWKHSURSRVHG6DOHZLOOEHSURYLGHG

             )XUWKHUPRUHVHFWLRQ D RIWKH%DQNUXSWF\&RGHSURYLGHVDEDQNUXSWF\FRXUW

ZLWKFRQVLGHUDEOHGLVFUHWLRQLQWKHDGPLQLVWUDWLRQRIEDQNUXSWF\FDVHVSee In re City of Detroit,

Michigan  %5   %DQN (' 0LFK   6SHFLILFDOO\ VHFWLRQ  D  VWDWHV WKDW

³>W@KHFRXUWPD\LVVXHDQ\RUGHUSURFHVVRUMXGJPHQWWKDWLVQHFHVVDU\RUDSSURSULDWHWRFDUU\

RXW WKH SURYLVLRQV RI >WKH %DQNUXSWF\ &RGH@´ See  86&   D  %DVHG XSRQ D FDUHIXO

UHYLHZ RI LWV WHUPV WKH 'HEWRUV EHOLHYH WKDW WKH SURSRVHG 6DOH ZLOO PD[LPL]H WKH YDOXH RI WKH

3XUFKDVHG$VVHWVIRUWKHEHQHILWDQGLVLQWKHEHVWLQWHUHVWVRIWKH'HEWRUVWKH'HEWRUV¶HVWDWHV

WKHLUFUHGLWRUVDQGRWKHUSDUWLHVLQLQWHUHVW

%       7KH'HEWRUV+DYH'HPRQVWUDWHGD6RXQG%XVLQHVV-XVWLILFDWLRQIRUWKH6DOH

             $ VRXQG EXVLQHVV UHDVRQ IRU WKH VDOH RI D GHEWRU¶V DVVHWV RXWVLGH WKH RUGLQDU\

FRXUVHRIEXVLQHVVH[LVWVZKHUHVXFKVDOHLVQHFHVVDU\WRSUHVHUYHWKHYDOXHRIWKHHVWDWHIRUWKH

EHQHILW RI FUHGLWRUV DQG LQWHUHVW KROGHUV See, e.g. Watertech Holdings  %5 DW  In re

Rovig Minerals, Inc &DVH 1R   :/  DW  %DQNU :' /D 0D\ 

  In re Art and Architecture Books of the 21st Century, EN5.  :/

DW  %DQNU&'&DO0D\ In re THQ Inc1R0)::/

                                                     

               Case 24-20576-CLC            Doc 29      Filed 10/13/24        Page 22 of 565




DW  %DQNU''HO-DQ see also In re Abbotts Dairies of Pa., Inc.)G

 G&LU Lionel Corp.)GDWIn re Food Barn Stores, Inc.)G

± WK &LU   UHFRJQL]LQJ WKDW SDUDPRXQW JRDO RI DQ\ SURSRVHG VDOH RI SURSHUW\ RI

HVWDWHLVWRPD[LPL]HYDOXH In re Lykes Bros. Steamship Co., Inc%5 %DQNU

0')OD  QRWLQJWKDWRQHRIWKH³IXQGDPHQWDOSULQFLSOHV´RI&KDSWHULVWKH³GHVLUHWR

PD[LPL]HWKHYDOXHRIWKHHVWDWHIRUWKHEHQHILWRIDOOFUHGLWRUV´ 

              $V GHVFULEHG KHUHLQ DV ZHOO DV LQ WKH )LUVW 'D\ 'HFODUDWLRQ DQG WKH 5LWXFFL

'HFODUDWLRQDVWURQJEXVLQHVVMXVWLILFDWLRQH[LVWVIRUWKHVDOHRIWKH3XUFKDVHG$VVHWV$QRUGHUO\

EXWH[SHGLWLRXVSULYDWHVDOHRIWKH3XUFKDVHG$VVHWVLVFULWLFDOWRHQVXUHFRQWLQXLW\RIFDUHWRWKH

'HEWRUV¶ DSSUR[LPDWHO\  SDWLHQWV DQG WKH 'HEWRUV DOVR VHHN WR FRQWLQXH WR SURYLGH

HPSOR\PHQWWRWKHLUHPSOR\HHVDQGWRSURYLGHDQHQWHUSULVHZKLFKZLOO EHDWUDGLQJSDUWQHUWR

PDQ\ RI LWV FRQWUDFW FRXQWHUSDUWLHV DQG YHQGRUV DQG RI FRXUVH WR PD[LPL]H WKH YDOXH RI LWV

HQWHUSULVH IRU WKHLU FUHGLWRUV See )LUVW 'D\ 'HFODUDWLRQ   7KH 'HEWRUV¶ VHFXUHG FUHGLWRUV

VXSSRUWWKH6DOHZLWKDPLOOLRQSXUFKDVHSULFH)XUWKHUPRUHWKH6DOHSUHYHQWVWKH'HEWRUV¶

WHQVRIWKRXVDQGVRIYXOQHUDEOHSDWLHQWVIURPIDFLQJDGLVUXSWLRQLQWKHLUFDUH

              $VGHVFULEHGLQGHWDLOLQWKH5LWXFFL'HFODUDWLRQH[WHQVLYHSUHSHWLWLRQPDUNHWLQJ

DQG VDOH HIIRUWV ZHUH XQGHUWDNHQ WR DFKLHYH WKH 3XUFKDVH $JUHHPHQW ZLWK WKH %X\HU 5LWXFFL

'HFODUDWLRQ   7KH SURSRVHG 3XUFKDVH $JUHHPHQW UHSUHVHQWV WKH KLJKHVW DQG EHVW RIIHU

IURP D ILQDQFLDO SRLQW RI YLHZ DYDLODEOH WR WKH 'HEWRUV ZLWK UHVSHFW WR D VDOH RI WKH 3XUFKDVHG

$VVHWV Id. DW   $ SURPSW VDOH LV DOVR UHTXLUHG E\ WKH H[SUHVV WHUPV RI WKH ',3 &UHGLW

$JUHHPHQW DQG WKH 3XUFKDVH $JUHHPHQW DQG WKH 'HEWRUV¶ VFDQW ILQDQFLDO UHVRXUFHV 3XUVXLQJ

HQWU\ LQWR DQG SHUIRUPDQFH RI WKH 3XUFKDVH $JUHHPHQW UHSUHVHQWV D UHDVRQDEOH H[HUFLVH RI WKH

'HEWRUV¶EXVLQHVVMXGJPHQWDQGEHVWDGYDQFHVWKHLQWHUHVWVRIDOOSDUWLHV



                                                      

               Case 24-20576-CLC           Doc 29      Filed 10/13/24      Page 23 of 565




&       7KH 6DOH 5HSUHVHQWV D )DLU DQG 5HDVRQDEOH 3XUFKDVH 3ULFH IRU WKH 3XUFKDVHG
         $VVHWV

             7KH 7RWDO &RQVLGHUDWLRQ SDLG IRU WKH 3XUFKDVHG $VVHWV XQGHU WKH 3XUFKDVH

$JUHHPHQW LV IDLU DQG UHDVRQDEOH 7KH SXUFKDVH RIIHU E\ WKH %X\HU LV DQ RIIHU WR SXUFKDVH WKH

3XUFKDVHG $VVHWV IRU D SULFH WKDW WKH 'HEWRUV ZLWK WKH DGYLFH RI WKHLU DGYLVRUV DOUHDG\ KDYH

GHWHUPLQHGWREHIDLUDQGUHDVRQDEOHDQGWKHKLJKHVWDQGEHVWWKH\ZLOOOLNHO\UHFHLYHJLYHQWKH

H[WHQVLYH SUHSHWLWLRQ PDUNHWLQJ SURFHVV WKH\ FRQGXFWHG DQG DV GHVFULEHG LQ WKH 5LWXFFL

'HFODUDWLRQ 7KH 'HEWRUV¶ VHQLRU DQG MXQLRU VHFXUHG OHQGHUV VXSSRUW WKH 6DOH ,Q DGGLWLRQ WKH

3XUFKDVH $JUHHPHQWSURYLGHVIRUWKH%X\HU¶V DVVXPSWLRQRIWKH$VVXPHG/LDELOLWLHVLQFOXGLQJ

372 IRU 7UDQVIHUUHG (PSOR\HHV  )XUWKHUPRUH WKH 3XUFKDVH $JUHHPHQW LV WKH HQG SURGXFW RI

H[WHQVLYHDUP¶VOHQJWKQHJRWLDWLRQVEHWZHHQWKHSDUWLHV

'       7KH 6DOH 6KRXOG EH $SSURYHG )UHH DQG &OHDU RI /LHQV ,QWHUHVWV DQG
         (QFXPEUDQFHV

             6HFWLRQ I RIWKH%DQNUXSWF\&RGHDXWKRUL]HVDGHEWRUWRVHOODVVHWVIUHHDQG

FOHDURI/LHQVDQG,QWHUHVWVLIDQ\RQHRIWKHIROORZLQJFRQGLWLRQVLVVDWLVILHG

                        DSSOLFDEOH QRQEDQNUXSWF\ ODZ SHUPLWV VDOH RI VXFK SURSHUW\ IUHH
                         DQGFOHDURIVXFKLQWHUHVW

                        VXFKHQWLW\FRQVHQWV

                        VXFKLQWHUHVWLVDOLHQDQGWKHSULFHDWZKLFKVXFKSURSHUW\LVWREH
                         VROG LV JUHDWHU WKDQ WKH DJJUHJDWH YDOXH RI DOO OLHQV RQ VXFK
                         SURSHUW\

                        VXFKLQWHUHVWLVLQERQDILGH GLVSXWHor

                        VXFKHQWLW\FRXOGEHFRPSHOOHGLQDOHJDORUHTXLWDEOHSURFHHGLQJ
                         WRDFFHSWDPRQH\VDWLVIDFWLRQRIVXFKLQWHUHVW

86& I     HPSKDVLVVXSSOLHG In re Gulf States Steel, Inc. of Ala., %5

 %DQNU 1' $OD   QRWLQJ WKDW %DQNUXSWF\ &RGH VHFWLRQ  I  LV ZULWWHQ LQ WKH



                                                     

               Case 24-20576-CLC            Doc 29      Filed 10/13/24        Page 24 of 565




GLVMXQFWLYH WKHUHIRUH D FRXUW PD\ DSSURYH D VDOH ³IUHH DQG FOHDU´ SURYLGHG DW OHDVW RQH RI WKH

VXEVHFWLRQVLVPHW 

                3XUVXDQWWRWKH3XUFKDVH$JUHHPHQWWKH3XUFKDVHG$VVHWVDUHWREHVROGIUHHDQG

FOHDU RI DQ\ DQG DOO /LHQV DQG ,QWHUHVWV LQ DFFRUGDQFH ZLWK VHFWLRQ  I  RI WKH %DQNUXSWF\

&RGH ZLWK DQ\ VXFK /LHQV DQG ,QWHUHVWV WR DWWDFK WR WKH SURFHHGV RI WKH DSSOLFDEOH VDOH

3XUFKDVH$JUHHPHQW7KH6DOHVDWLVILHVWKHFULWHULDVHWIRUWKLQ%DQNUXSWF\&RGHVHFWLRQ

 I  7KH 'HEWRUV EHOLHYH WKDW DW D PLQLPXP LW VDWLVILHV WKH VHFRQG SURQJ RI VHFWLRQ  I 

EHFDXVH WKH SURSRVHG 6DOH RI WKH 3XUFKDVHG $VVHWV IUHH DQG FOHDU RI DOO /LHQV DQG ,QWHUHVWV

 H[FHSWIRU3HUPLWWHG/LHQVDQGWKH$VVXPHG/LDELOLWLHV ZLOOEHFRQVXPPDWHGZLWKWKHFRQVHQW

RIWKH'HEWRUV¶SUHSHWLWLRQOHQGHUVLQFOXGLQJ..5WKHLUVHQLRUVHFXUHGOHQGHUDQG6XQ&DSLWDO

WKHLUMXQLRUVHFXUHGOHQGHUDVFRQWHPSODWHGE\VHFWLRQ I  

(       7KH6DOHLV3URSRVHGLQ*RRG)DLWK

                6HFWLRQ P RIWKH%DQNUXSWF\&RGHSURWHFWVDJRRGIDLWKSXUFKDVHU¶VLQWHUHVW

LQ SURSHUW\ SXUFKDVHG IURP D GHEWRU QRWZLWKVWDQGLQJ WKDW WKH VDOH FRQGXFWHG XQGHU VHFWLRQ

 E  LV ODWHU UHYHUVHG RU PRGLILHG RQ DSSHDO %DQNUXSWF\ &RGH VHFWLRQ  P  SURYLGHV LQ

SHUWLQHQWSDUW

                   7KHUHYHUVDORUPRGLILFDWLRQRQDSSHDORIDQDXWKRUL]DWLRQXQGHU>VHFWLRQ
                    E @ « GRHV QRW DIIHFW WKH YDOLGLW\ RI D VDOH « WR DQ HQWLW\ WKDW
                   SXUFKDVHG«VXFKSURSHUW\LQJRRGIDLWKZKHWKHURUQRWVXFKHQWLW\NQHZ
                   RIWKHSHQGHQF\RIWKHDSSHDOXQOHVVVXFKDXWKRUL]DWLRQDQGVXFKVDOH«
                   ZHUHVWD\HGSHQGLQJDSSHDO

 86&   P  6HFWLRQ  P  ³IRVWHUV WKH µSROLF\ RI QRW RQO\ DFFRUGLQJ ILQDOLW\ WR WKH

MXGJPHQWRIWKHEDQNUXSWF\FRXUWEXWSDUWLFXODUO\WRJLYHILQDOLW\WRWKRVHRUGHUVDQGMXGJPHQWV

XSRQZKLFKWKLUGSDUWLHVUHO\´In re Polaroid Corp1R3-::/DW 

 ''HO)HE 7KXV%DQNUXSWF\&RGHVHFWLRQ P SURWHFWVWKHEX\HURIDVVHWVVROG

SXUVXDQW WR %DQNUXSWF\ &RGH VHFWLRQ  IURP WKH ULVN WKDW LW ZLOO ORVH LWV LQWHUHVW LQ WKH

                                                      

               Case 24-20576-CLC           Doc 29      Filed 10/13/24       Page 25 of 565




SXUFKDVHG DVVHWV LI WKH RUGHU DOORZLQJ WKH VDOH LV UHYHUVHG RQDSSHDO %\ LWV WHUPV %DQNUXSWF\

&RGHVHFWLRQ P DSSOLHVWRVDOHVRILQWHUHVWVLQDVVHWVVXFKDVWKH3XUFKDVHG$VVHWV

             7KH SULYDWH 6DOH KDV EHHQ SURSRVHG LQ JRRG IDLWK  $V VHW IRUWKLQ WKH )LUVW 'D\

'HFODUDWLRQ DQG WKH 5LWXFFL 'HFODUDWLRQ WKH 'HEWRUV DQG WKH %X\HU KDYH HQWHUHG LQWR WKH

3XUFKDVH $JUHHPHQW DIWHU H[WHQVLYH DUPV¶OHQJWK QHJRWLDWLRQV XQGHUWDNHQ LQ JRRG IDLWK

ZLWKRXW FROOXVLRQ RU IUDXG RI DQ\ NLQG 5LWXFFL 'HFODUDWLRQ   7KH 'HEWRUV DQG WKH %X\HU

UHWDLQHGVHSDUDWHFRXQVHODQGRWKHUSURIHVVLRQDODGYLVRUVWRUHSUHVHQWWKHLUUHVSHFWLYHLQWHUHVWVLQ

WKHQHJRWLDWLRQRIWKH3XUFKDVH$JUHHPHQWDVZHOODVWRUHSUHVHQWWKHPWKURXJKRXWWKH6DOHId.

0RUHRYHU WKH 'HEWRUV XQGHUWRRN DQ H[WHQVLYH SUHSHWLWLRQ PDUNHWLQJ SURFHVV DQG LQ

FRQMXQFWLRQZLWKWKHLUDGYLVRUVFRQFOXGHGWKDWWKH7RWDO&RQVLGHUDWLRQEHLQJSURYLGHGZDVWKH

KLJKHVW DQG EHVW UHWXUQ IRU WKH 3XUFKDVHG $VVHWV Id. DW   7R WKH EHVW RI WKH 'HEWRUV¶

NQRZOHGJH LQIRUPDWLRQ DQG EHOLHI QR SDUW\ KDV HQJDJHG LQ DQ\ FRQGXFW WKDW ZRXOG FDXVH RU

SHUPLWWKH3XUFKDVH$JUHHPHQWWREHVHWDVLGHXQGHUVHFWLRQ P RIWKH%DQNUXSWF\&RGH

             7KH 'HEWRUV KDYH SUHVHQWHG WKH SURSRVHG 6DOH WR WKH %X\HU RSHQO\ DQG LQ JRRG

IDLWK7KH%X\HU¶VLGHQWLW\DQGDQ\FRQQHFWLRQZLWKWKH'HEWRUVKDVEHHQIXOO\GLVFORVHGLQWKLV

6DOH 0RWLRQ DQG RWKHU SOHDGLQJV ILOHG ZLWK WKH %DQNUXSWF\ &RXUW 7KH 'HEWRUV KDYH IXOO\

GLVFORVHGDQGUHTXHVWHGWKH%DQNUXSWF\&RXUW¶VDSSURYDORIDOORIWKHWHUPVDQGFRQGLWLRQVRIWKH

SURSRVHG6DOH6XIILFLHQWDQGDGHTXDWHQRWLFHRIWKLV6DOH0RWLRQKDVEHHQSURYLGHGWRLQWHUHVWHG

SDUWLHV$FFRUGLQJO\WKH'HEWRUVVHHNDILQGLQJWKDWWKH%X\HULVDJRRGIDLWKSXUFKDVHUDQGLV

HQWLWOHGWRWKHIXOOSURWHFWLRQVDIIRUGHGE\VHFWLRQ P RIWKH%DQNUXSWF\&RGH

             7KH'HEWRUVUHVHUYHWKHULJKWWRLQWURGXFHHYLGHQFHDWWKH6DOH+HDULQJUHJDUGLQJ

WKH DUP¶VOHQJWK JRRG IDLWK QDWXUH RI WKH QHJRWLDWLRQ RI WKH 3XUFKDVH $JUHHPHQW ,QGHHG WKH

'HEWRUV ZLOO GHPRQVWUDWH DW WKH 6DOH +HDULQJ WKDW WKH 3XUFKDVH $JUHHPHQW ZLWK WKH %X\HU



                                                     

               Case 24-20576-CLC           Doc 29      Filed 10/13/24      Page 26 of 565




UHSUHVHQWV WKH KLJKHVW RU RWKHUZLVH EHVW ELG DYDLODEOH WR WKH 'HEWRUV IRU WKH 3XUFKDVHG $VVHWV

IROORZLQJDUREXVWSUHSHWLWLRQPDUNHWLQJSURFHVV$FFRUGLQJO\WKH6DOHWRWKH%X\HUKDVEHHQ

SURSRVHG DQG IXOO\ GLVFORVHG LQ JRRG IDLWK DQG UHSUHVHQWV WKH VRXQG EXVLQHVV MXGJPHQW RI WKH

'HEWRUV DQG DV VXFK WKH 'HEWRUV UHVSHFWIXOO\ UHTXHVW WKH &RXUW WR DXWKRUL]H WKH 'HEWRUV WR

FRQVXPPDWHWKH3XUFKDVH$JUHHPHQW

)       7KH$VVXPSWLRQDQG$VVLJQPHQWRIWKH$VVXPHG&RQWUDFWV6KRXOGEH$SSURYHG

          L     $VVXPSWLRQDQG$VVLJQPHQWRIWKH$VVXPHG&RQWUDFWVLV:LWKLQWKH
                'HEWRUV¶%XVLQHVV-XGJPHQW

             3XUVXDQW WR WKH 3XUFKDVH $JUHHPHQW WKH 'HEWRUV DUH UHTXLUHG WR DVVXPH DQG

DVVLJQWKH$VVXPHG&RQWUDFWVWRWKH%X\HUSee e.g., 3XUFKDVH$JUHHPHQW6HFWLRQ D 

RI WKH %DQNUXSWF\ &RGH SURYLGHV LQ SHUWLQHQW SDUW WKDW D GHEWRULQSRVVHVVLRQ ³VXEMHFW WR WKH

FRXUW¶VDSSURYDOPD\DVVXPHRUUHMHFWDQ\H[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHRIWKHGHEWRU´

 86&   D  $ EDQNUXSWF\ FRXUW UHYLHZV D GHEWRU¶V GHFLVLRQ WR DVVXPH RU UHMHFW DQ

H[HFXWRU\ FRQWDFW XQGHU WKH GHIHUHQWLDO EXVLQHVV MXGJPHQW VWDQGDUG See, e.g., Mission Product

Holdings, IncYTemponology, LLC86   VWDWLQJWKDWWKHEDQNUXSWF\FRXUW

ZLOOJHQHUDOO\ DSSURYHWKHGHEWRU¶VGHFLVLRQ ZKHWKHUWR DVVXPHRUUHMHFW³XQGHUWKHGHIHUHQWLDO

µEXVLQHVV MXGJPHQW¶ UXOH´  7KLV VWDQGDUG SUHVXSSRVHV WKDW D GHEWRU ZLOO  DVVXPH RU UHMHFW DQ

H[HFXWRU\ FRQWUDFW ZKHUH GRLQJ VR ZLOO EHQHILW WKH GHEWRU¶V HVWDWH See Mission Product

Holdings, 86DWIn re Herrera-Edwards, %5 0')OD In re

Prime Motor Inns%5 %DQNU6')OD 

             7KHDVVXPSWLRQRIWKH$VVXPHG&RQWUDFWVLQFRQQHFWLRQZLWKWKHSURSRVHG6DOH

UHSUHVHQWVDQH[HUFLVHRIWKH'HEWRUV¶VRXQGEXVLQHVVMXGJPHQWEHFDXVHWKH$VVXPHG&RQWUDFWV

DUHQHFHVVDU\WRRSHUDWHWKH'HEWRUV¶EXVLQHVVFRPSULVLQJWKH3XUFKDVHG$VVHWVDQGDVVXFKDUH

HVVHQWLDO WR REWDLQLQJ WKH KLJKHVW RU RWKHUZLVH EHVW RIIHU IRU WKH 3XUFKDVHG $VVHWV *LYHQ WKDW


                                                     

                Case 24-20576-CLC                Doc 29        Filed 10/13/24          Page 27 of 565




FRQVXPPDWLRQ RI WKH JRLQJFRQFHUQ 6DOH LQYROYLQJ WKH 3XUFKDVHG $VVHWV LV FULWLFDO WR WKH

'HEWRUV¶HIIRUWVWRPD[LPL]HYDOXHIRUWKHLUHVWDWHVDQGFUHGLWRUVWRSUHVHUYHFRQWLQXHGFDUHIRU

WKHLUSDWLHQWVWKH'HEWRUV¶DVVXPSWLRQRIWKH$VVXPHG&RQWUDFWVUHSUHVHQWVDQH[HUFLVHRIVRXQG

EXVLQHVVMXGJPHQWDQGVKRXOGEHDSSURYHGE\WKH&RXUW

                7KHFRQVXPPDWLRQRIWKH6DOHZKLFKZLOOLQYROYHWKHDVVLJQPHQWRIWKH$VVXPHG

&RQWUDFWVZLOOEHFRQWLQJHQWXSRQWKH'HEWRUV¶FRPSOLDQFHZLWKWKHDSSOLFDEOHUHTXLUHPHQWVRI

VHFWLRQ  RI WKH %DQNUXSWF\ &RGH 2QFH DQ H[HFXWRU\ FRQWUDFW LV DVVXPHG WKH WUXVWHH RU

GHEWRULQSRVVHVVLRQ PD\ HOHFW WR DVVLJQ VXFK FRQWUDFWSee L.R.S.C. Co. Y Rickel Home Ctrs.,

Inc. (In re Rickel Home Ctrs., Inc.)  )G   G &LU   ³>W@KH &RGH JHQHUDOO\

IDYRUV IUHH DVVLJQDELOLW\ DV D PHDQV WR PD[LPL]H WKH YDOXH RI WKH GHEWRU¶V HVWDWH´  see also

Leonard Y General Motors Corp. (In re Headquarters Dodge, Inc. )G G&LU

  QRWLQJ SXUSRVH RI VHFWLRQ  I  LV WR DVVLVW WUXVWHH LQ UHDOL]LQJ WKH IXOO YDOXH RI WKH

GHEWRU¶VDVVHWV 6HFWLRQ E  RIWKH%DQNUXSWF\&RGHUHTXLUHVWKDWDQ\RXWVWDQGLQJGHIDXOWV

XQGHU WKH $VVXPHG &RQWUDFWV PXVW EH FXUHG RU WKDW DGHTXDWH DVVXUDQFH EH SURYLGHG WKDW VXFK

GHIDXOWVZLOOEHSURPSWO\FXUHG

          LL       7KH$VVXPSWLRQDQG$VVLJQPHQW3URFHGXUHV

                ,QFRQQHFWLRQZLWKWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG&RQWUDFWVWKH

'HEWRUV SURSRVH WKH IROORZLQJ SURFHGXUHV FROOHFWLYHO\ WKH ³$VVXPSWLRQ DQG $VVLJQPHQW

3URFHGXUHV´ 



   7KLV VHFWLRQ UHSUHVHQWV D VXPPDU\ RI FHUWDLQ NH\ DVVXPSWLRQ DQG DVVLJQPHQW SURFHGXUHV VHW IRUWK LQ WKH
3XUFKDVH$JUHHPHQWLQFOXGLQJEXWQRWOLPLWHGWR6HFWLRQ7RWKHH[WHQWRIDQ\FRQIOLFWEHWZHHQWKLVVXPPDU\
DQGWKH3XUFKDVH$JUHHPHQWWKHWHUPVRIWKH3XUFKDVH$JUHHPHQWVKDOOFRQWURO7KH'HEWRUVQRWHWKDWWKH3XUFKDVH
$JUHHPHQW SURYLGHV DW WKH HQG RI   G  ³7KH SURYLVLRQV IRU JLYLQJ QRWLFH GHDGOLQHV IRU QRQGHEWRU
FRXQWHUSDUWLHVDQGRWKHULQWHUHVWHGSDUWLHVWRDVVHUWREMHFWLRQVDQGSURFHVVIRUUHVROXWLRQRIREMHFWLRQVVKDOOEHVHW
IRUWKLQWKH6DOH0RWLRQWKH6DOH2UGHUDQGRUWKH$VVXPSWLRQ1RWLFHDQGWKH3DUWLHVKHUHWRH[SOLFLWO\LQFRUSRUDWH
E\UHIHUHQFHKHUHLQWKHUHOHYDQWSURYLVLRQVRIWKH6DOH0RWLRQ6DOH2UGHUDQG$VVXPSWLRQ1RWLFH´



                                                             

               Case 24-20576-CLC        Doc 29       Filed 10/13/24        Page 28 of 565




                D    3RWHQWLDO $VVXPSWLRQ DQG $VVLJQPHQW  1R ODWHU WKDQ WKUHH   EXVLQHVV
                      GD\VIROORZLQJWKHODWHURIWKHGDWHWKH'HEWRUVILOHWKHLULQLWLDO6FKHGXOHV
                      RI$VVHWVDQG/LDELOLWLHV WKH³%DQNUXSWF\6FKHGXOHV´ DQGWKHHQWU\RIWKH
                      SURSRVHG 6FKHGXOLQJ 2UGHU GHILQHG EHORZ LQ SDUD   E\ WKH &RXUW
                      VFKHGXOLQJ WKH KHDULQJ WR FRQVLGHU DSSURYDO RI WKH 6DOH 0RWLRQ WKH
                      'HEWRUV ZLOO L  ILOH ZLWK WKH &RXUW DQ LQLWLDO QRWLFH ZKLFK VKDOO KDYH
                      DWWDFKHG WR LW WKH LQLWLDO OLVW RI WKH ³'HVLUHG  &RQWUDFWV´ i.e WKH
                      SRWHQWLDO XQLYHUVH RI SUHSHWLWLRQ H[HFXWRU\ FRQWUDFWV DQG OHDVHV RI QRQ
                      UHVLGHQWLDO UHDO SURSHUW\ ZKLFK WKH %X\HU PD\ VHHN WR KDYH WKH 'HEWRUV
                      DVVXPH DQG DVVLJQ WR LW DV D SDUW LI WKH 6DOH ZKLFK UHSUHVHQWV WKH LQLWLDO
                      6FKHGXOH  D  RI WKH 3XUFKDVH $JUHHPHQW  DQG ZKLFK VKDOO LQFOXGHall
                      NQRZQ DJUHHPHQWV DV GHILQHG LQ WKH 3XUFKDVH $JUHHPHQW WKH ³
                      &RQWUDFWV´  DSSHDULQJ RQ WKH LQLWLDO 6FKHGXOH * RI WKH %DQNUXSWF\
                      6FKHGXOHV WKH ³$VVXPSWLRQ 1RWLFH´  VXEVWDQWLDOO\ LQ WKH IRUP DWWDFKHG
                      KHUHWRDV([KLELW&DQG LL VHUYHVXFKLQLWLDO$VVXPSWLRQ1RWLFHYLDILUVW
                      FODVV PDLO RQ HDFK FRXQWHUSDUW\ WR WKH 'HVLUHG  &RQWUDFWV OLVWHG
                      WKHUHRQ  See 3XUFKDVH $JUHHPHQW   G   ,I WKH %X\HU VXEVHTXHQWO\
                      DPHQGV6FKHGXOH D WRDGGDGGLWLRQDO&RQWUDFWVWRLW e.gQHZO\
                      GLVFRYHUHG  &RQWUDFWV  WKH 'HEWRUV ZLOO VHUYH D VXSSOHPHQWDO
                      $VVXPSWLRQ 1RWLFH RQ WKH QRQ'HEWRU FRXQWHUSDUWLHV IRU VXFK QHZO\
                      DGGHG'HVLUHG&RQWUDFWVSee id. 6XEMHFWWRWKHWHUPVRIWKH3XUFKDVH
                      $JUHHPHQW WKH %X\HU VKDOO KDYH WKH ULJKW WR DPHQG 6FKHGXOH  D  XS
                      XQWLOHLWKHUDVDSSOLFDEOHWKH)LQDO'HWHUPLQDWLRQ'DWH i.e., GD\VDIWHU
                      WKH&ORVLQJ'DWH RUWKH([WHQGHG)LQDO'HWHUPLQDWLRQ'DWH LIVRHOHFWHG
                      E\%X\HU  i.e., GD\VDIWHUWKH&ORVLQJ'DWH See id. DW E LL 

                E    2EMHFWLRQ3HULRG(DFK$VVXPSWLRQ1RWLFHVKDOOSURYLGHIRUDPRQJRWKHU
                      WKLQJV L  WKH &XUH &RVWV WKH 'HEWRUV EHOLHYH PXVW EH SDLG WR FXUH DOO
                      GHIDXOWV RXWVWDQGLQJ XQGHU WKH DSSOLFDEOH 'HVLUHG  &RQWUDFWV DQG LL 
                      WKHGHDGOLQHIRUILOLQJDQGVHUYLQJDQ\REMHFWLRQV D³&RQWUDFW2EMHFWLRQ´ 
                      WR WKH SRVVLEOH DVVXPSWLRQ DQG DVVLJQPHQW RI VXFK $VVXPHG &RQWUDFWV
                       LQFOXGLQJWKHSURSRVHGDPRXQWRIWKH&XUH&RVWV DQGWKDWDQ\&RQWUDFW
                      2EMHFWLRQ PXVW EH LQ ZULWLQJ ILOHG ZLWK WKH &RXUW DQG DFWXDOO\ UHFHLYHG
                      E\WKH2EMHFWLRQ1RWLFH3DUWLHV DVVXFKWHUPLVGHILQHGLQWKH$VVXPSWLRQ
                      1RWLFH QRODWHUWKDQWKH6DOH2EMHFWLRQ'HDGOLQH RUVXFKDSSOLFDEOHODWHU
                      GHDGOLQH  DV WR EH QRWHG LQ HDFK $VVXPSWLRQ 1RWLFH  See 3XUFKDVH
                      $JUHHPHQW G DQG$VVXPSWLRQ1RWLFH

                F    2EMHFWLRQ 3URFHGXUHV ,I D 'HVLUHG  &RQWUDFW FRXQWHUSDUW\ ILOHV D
                      &RQWUDFW 2EMHFWLRQ LQ D PDQQHU FRQVLVWHQW ZLWK WKH VWDWHG UHTXLUHPHQWV
                      DQGWKH'HEWRUV DQGWKH FRQWUDFWFRXQWHUSDUW\DUHXQDEOHWRFRQVHQVXDOO\
                      UHVROYHWKHGLVSXWHWKHDPRXQWWREHSDLGRUUHVHUYHGZLWKUHVSHFWWRVXFK
                      REMHFWLRQ ZLOO EH GHWHUPLQHG DW WKH KHDULQJ RQ WKH 6DOH 0RWLRQ RU DW D
                      KHDULQJVFKHGXOHGDIWHUWKHKHDULQJRQWKH6DOH0RWLRQ




                                                   

               Case 24-20576-CLC       Doc 29      Filed 10/13/24       Page 29 of 565




                G    $VVXPHG &RQWUDFWV  1RW ODWHU WKDQ WKUHH   %XVLQHVV 'D\V SULRU WR WKH
                      &ORVLQJ 'DWH WKH ³,QLWLDO 'HWHUPLQDWLRQ 'DWH´  WKH %X\HU VKDOO SURYLGH
                      ZULWWHQ QRWLFH WR WKH 6HOOHUV¶ 5HSUHVHQWDWLYH HDFK D ³,QLWLDO 'HVLJQDWLRQ
                      1RWLFH´ RIWKH%X\HU¶VHOHFWLRQWRGHVLJQDWHWKHLQLWLDOVHWRI'HVLUHG
                      &RQWUDFWV WKDW WKH %X\HU ZLVKHV DV RI WKH &ORVLQJ 'DWH WR EH $VVXPHG
                      &RQWUDFWV $W DQ\ SRLQW XS XQWLO DV DSSOLFDEOH HLWKHU WKH )LQDO
                      'HWHUPLQDWLRQ 'DWH RU WKH ([WHQGHG )LQDO 'HWHUPLQDWLRQ 'DWH LI VR
                      HOHFWHG E\ WKH %X\HU  HDFK D ³6XEVHTXHQW 'HWHUPLQDWLRQ 'DWH´ DQG
                      WRJHWKHU ZLWK WKH ,QLWLDO 'HWHUPLQDWLRQ 'DWH FROOHFWLYHO\ WKH
                      ³'HWHUPLQDWLRQ 'DWHV´  WKH %X\HU PD\ SURYLGH ZULWWHQ QRWLFH WR WKH
                      6HOOHUV¶ 5HSUHVHQWDWLYH HDFK D ³6XEVHTXHQW 'HVLJQDWLRQ 1RWLFH´ DQG
                      WRJHWKHUZLWKWKH,QLWLDO'HVLJQDWLRQ1RWLFHFROOHFWLYHO\WKH³'HVLJQDWLRQ
                      1RWLFHV´  RI WKH %X\HU¶V HOHFWLRQ WR GHVLJQDWH RQH RU PRUH UHPDLQLQJ
                      'HVLUHG&RQWUDFW V WKDWWKH%X\HUZLVKHVDIWHUWKH&ORVLQJ'DWHWR
                      EH$VVXPHG&RQWUDFWVSURYLGHGKRZHYHUWKH%X\HUVKDOOUHLPEXUVHWKH
                      6HOOHUV SXUVXDQW WR WKH WHUPV RI WKH 7UDQVLWLRQ 6HUYLFHV $JUHHPHQW IRU
                      WKH DGPLQLVWUDWLYH H[SHQVH REOLJDWLRQV XQGHU VHFWLRQ  RI WKH
                      %DQNUXSWF\&RGHDULVLQJRQDQGDIWHUWKH&ORVLQJ'DWHZLWKUHVSHFWWRDOO
                      RIWKHUHPDLQLQJ'HVLUHG&RQWUDFWVWKDWZHUHQRWRWKHUZLVH$VVXPHG
                      &RQWUDFWV DV RI WKH &ORVLQJ 'DWH FROOHFWLYHO\ WKH ³%X\HU¶V 'HVLUHG 
                      &RQWUDFW ,QLWLDO 3HULRG 5HLPEXUVHPHQW 2EOLJDWLRQV´  IRU WKH SHULRG
                      FRPPHQFLQJXSRQWKH&ORVLQJ'DWHDQGHQGLQJZLWKUHVSHFWWRHDFKVXFK
                      'HVLUHG  &RQWUDFW ZKHQ LW EHFRPHV DQ $VVXPHG &RQWUDFW RU LV
                      UHPRYHGIURP6FKHGXOH D $WDQ\SRLQWRQRUDIWHUWKH&ORVLQJ'DWH
                       XQWLO DV DSSOLFDEOH HLWKHU WKH )LQDO 'HVLJQDWLRQ 'DWH RU WKH ([WHQGHG
                      )LQDO 'HVLJQDWLRQ 'DWH LI VR HOHFWHG E\ WKH %X\HU  WKH %X\HU PD\
                      SURYLGH ZULWWHQ QRWLFH WR WKH 6HOOHUV¶ 5HSUHVHQWDWLYH WR UHPRYH VXFK
                      UHPRYDOWREHHIIHFWLYHHLWKHUXSRQWKH6HOOHUV¶5HSUHVHQWDWLYH¶VUHFHLSWRI
                      VXFKQRWLFHRUDVRIDIXWXUHGDWHWKDWWKH%X\HUPD\VSHFLI\LQLWVQRWLFH 
                      D'HVLUHG&RQWUDFWIURP6FKHGXOH D DQGWKH%X\HU¶VREOLJDWLRQV
                      WR UHLPEXUVH WKH 6HOOHUV IRU WKH %X\HU¶V 'HVLUHG  &RQWUDFW ,QLWLDO
                      3HULRG 5HLPEXUVHPHQW 2EOLJDWLRQV ZLWK UHVSHFW WR VXFK 'HVLUHG 
                      &RQWUDFWUHPRYHGIURP6FKHGXOH D VKDOOWHUPLQDWHDVSURYLGHGLQWKH
                      %X\HU¶V QRWLFH  2Q DQG DIWHU WKH 'HWHUPLQDWLRQ 'DWH DQ\ 'HVLUHG 
                      &RQWUDFW WKDW LV QRW DQ $VVXPHG &RQWUDFW DXWRPDWLFDOO\ VKDOO EH DQ
                      ([FOXGHG&RQWUDFWDQG([FOXGHG$VVHWSURYLGHGKRZHYHUWKDWLIRQHRU
                      PRUH 'HVLUHG  &RQWUDFW V  DUH VXEMHFW WR GLVSXWH DV WR DVVXPSWLRQ RU
                      DVVLJQPHQW LQFOXGLQJ D &XUH &RVW GLVSXWH  RI VXFK 'HVLUHG 
                      &RQWUDFW V  WKDW KDV QRW EHHQ UHVROYHG WR WKH PXWXDO VDWLVIDFWLRQ RI WKH
                      %X\HU DQG WKH 6HOOHUV SULRU WR DQ\ RI WKH 'HWHUPLQDWLRQ 'DWHV WKHQ WKH
                      UHVSHFWLYH'HWHUPLQDWLRQ'DWHVKDOOEHH[WHQGHG EXWRQO\ZLWKUHVSHFWWR
                      VXFK'HVLUHG&RQWUDFW V WRQRODWHUWKDQWKHHDUOLHVWWRRFFXURI $ 
                      WKHGDWHRQZKLFKVXFKGLVSXWHKDVEHHQUHVROYHGLQZULWLQJWRWKHPXWXDO
                      VDWLVIDFWLRQ RI WKH %X\HU DQG WKH 6HOOHUV %  WKH GDWH RQ ZKLFK VXFK
                      'HVLUHG&RQWUDFWLVGHHPHGUHMHFWHGE\RSHUDWLRQRIVHFWLRQRIWKH
                      %DQNUXSWF\&RGHDQG & WKHGDWHXSRQZKLFKVXFKGLVSXWHLVGHWHUPLQHG


                                                 

               Case 24-20576-CLC         Doc 29      Filed 10/13/24       Page 30 of 565




                        E\DILQDORUGHURIWKH%DQNUXSWF\&RXUW WKH³([WHQGHG&RQWUDFW3HULRG´ 
                        DQG IRU WKH DYRLGDQFH RI GRXEW WKH %X\HU¶V 'HVLUHG  &RQWUDFW ,QLWLDO
                        3HULRG 5HLPEXUVHPHQW 2EOLJDWLRQV DQG WR WKH H[WHQW DSSOLFDEOH LI VR
                        HOHFWHG E\ WKH %X\HU WKH %X\HU¶V REOLJDWLRQ WR SD\ WKH %X\HU¶V 'HVLUHG
                        &RQWUDFW)LQDO3HULRG5HLPEXUVHPHQW2EOLJDWLRQV VKDOODSSO\GXULQJ
                        WKH([WHQGHG&RQWUDFW3HULRGZLWKUHVSHFWWRVXFK'HVLUHG&RQWUDFWV
                        VXEMHFW WR GLVSXWH  7KH %X\HU PD\ GHOLYHU D 6XEVHTXHQW 'HVLJQDWLRQ
                        1RWLFH XSRQ H[SLUDWLRQ RI WKH ([WHQGHG &RQWUDFW 3HULRG RI WKH %X\HU¶V
                        HOHFWLRQWRGHVLJQDWH DQ\'HVLUHG&RQWUDFWV WKDWZHUHVXEMHFWWRWKH
                        ([WHQGHG &RQWUDFW 3HULRG  WKDW WKH %X\HU ZLVKHV WR EH $VVXPHG
                        &RQWUDFWV  ,I D 6XEVHTXHQW 'HVLJQDWLRQ 1RWLFH ZLWK UHVSHFW WR DQ\ VXFK
                        'HVLUHG&RQWUDFW V LVQRWGHOLYHUHGE\WKH%X\HUE\WKHGDWHZKLFKLV
                        WKUHH   %XVLQHVV 'D\V IROORZLQJ WKH H[SLUDWLRQ RI VXFK ([WHQGHG
                        &RQWUDFW 3HULRG VXFK 'HVLUHG  &RQWUDFW V  VKDOO EH DXWRPDWLFDOO\
                        GHHPHG([FOXGHG&RQWUDFW V DQG([FOXGHG$VVHW V 

             $V UHIOHFWHG E\ WKH $VVXPSWLRQ DQG $VVLJQPHQW 3URFHGXUHV DQG DV VHW IRUWK LQ

WKH3XUFKDVH$JUHHPHQWWKH'HEWRUVSURSRVHWRILOHZLWKWKH&RXUWDQGLPPHGLDWHO\VHUYH

RQ HDFK QRQ'HEWRU FRXQWHUSDUW\ RI every single one RI WKH 'HEWRUV¶ SUHSHWLWLRQ H[HFXWRU\

FRQWUDFWV DQG OHDVHV DSSHDULQJ RQ 6FKHGXOH * RI WKH 'HEWRUV¶ %DQNUXSWF\ 6FKHGXOHV VKRUWO\

DIWHUWKH&RXUWHQWHUVWKHSURSRVHG6FKHGXOLQJ2UGHUWKH$VVXPSWLRQ1RWLFHLQVXEVWDQWLDOO\WKH

IRUPDWWDFKHGKHUHWRDV([KLELW&LQGLFDWLQJWKH'HEWRUV¶FDOFXODWLRQRIWKH&XUH&RVWVIRUHDFK

'HVLUHG&RQWUDFW7KHQRQ'HEWRUFRXQWHUSDUWLHVZLOOKDYHWKHRSSRUWXQLW\WRILOHREMHFWLRQV

WRWKHSURSRVHGDVVXPSWLRQDQGDVVLJQPHQWRIWKH'HVLUHG&RQWUDFWVWRWKH%X\HUDVVHWIRUWK

LQWKH$VVXPSWLRQ1RWLFHDQGDQ\VXSSOHPHQWWKHUHWR7KH'HEWRUV¶DVVXPSWLRQDQGDVVLJQPHQW

RI DQ\ 'HVLUHG  &RQWUDFW ZLOO EH FRQWLQJHQW XSRQ SD\PHQW RU UHVHUYH RI &XUH &RVWV DQG

HIIHFWLYH RQO\ XSRQ WKH FORVLQJ RI WKH 6DOH ,I D QRQ'HEWRU FRXQWHUSDUW\ WR D 'HVLUHG 

&RQWUDFWGRHVQRWILOHDQREMHFWLRQRQHRUEHIRUHWKHGHDGOLQHVHWIRUWKLQWKH$VVXPSWLRQ1RWLFH

WKH 'HEWRUV UHTXHVW WKDW VXFK SDUWLHV EH GHHPHG WR KDYH JLYHQ DQ\ UHTXLUHG FRQVHQW WR WKH

DVVXPSWLRQRIWKH'HVLUHG&RQWUDFWE\WKH6HOOHUVDQGDVVLJQPHQWWRWKH%X\HU




                                                   

                Case 24-20576-CLC         Doc 29      Filed 10/13/24      Page 31 of 565




          LLL    7KH%X\HU&DQ'HPRQVWUDWH$GHTXDWH$VVXUDQFHRI)XWXUH3HUIRUPDQFH

              3XUVXDQW WR VHFWLRQ  I   RI WKH %DQNUXSWF\ &RGH D GHEWRU PD\ DVVLJQ DQ

H[HFXWRU\ FRQWUDFW RU XQH[SLUHG OHDVH RI QRQUHVLGHQWLDO UHDO SURSHUW\ LI ³DGHTXDWH DVVXUDQFH RI

IXWXUH SHUIRUPDQFH E\ WKH DVVLJQHH RI VXFK FRQWUDFW RU OHDVH LV SURYLGHG´  86& 

 I  % 7KHPHDQLQJRI³DGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFH´GHSHQGVRQWKHIDFWV

DQGFLUFXPVWDQFHVRIHDFKFDVHEXWVKRXOGEHJLYHQ³SUDFWLFDOSUDJPDWLFFRQVWUXFWLRQ´See In

re Color Spot Holdings, Inc&DVH1R /66 :/DW  ''HO$XJ

   FLWDWLRQ RPLWWHG  $PRQJ RWKHU WKLQJV DGHTXDWH DVVXUDQFH PD\ EH JLYHQ E\

GHPRQVWUDWLQJWKHDVVLJQHH¶VILQDQFLDOKHDOWKDQGH[SHULHQFHLQPDQDJLQJWKHW\SHRIHQWHUSULVH

RU SURSHUW\ DVVLJQHG See, e.g., In re MF Global Inc 1R   :/  DW 

 %DQNU6'1<'HF  DGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHIRXQGZKHUHZKHQ

SURVSHFWLYHDVVLJQHHRIOHDVHZRXOGEHFRQGXFWLQJRSHUDWLRQVDWWKHORFDWLRQDVDJRLQJFRQFHUQ

KLUHGVRPHRIWKHGHEWRUV¶HPSOR\HHVDQGSRVVHVVHGJUHDWHUILQDQFLDOKHDOWKWKDQWKHGHEWRUV 

              %DVHGRQLQIRUPDWLRQUHFHLYHGIURPWKH%X\HUWKH'HEWRUVEHOLHYHWKDWWKH%X\HU

KDVWKHILQDQFLDOFDSDELOLW\WRVDWLVI\DQ\DQGDOOREOLJDWLRQVWKH\ZLOOLQFXULQFRQQHFWLRQZLWK

WKH $VVXPHG &RQWUDFWV $V D SDUW RI WKH 6DOH SURFHVV WKH 'HEWRUV ZLOO SURYLGH DGHTXDWH

DVVXUDQFHLQIRUPDWLRQWRDOOQRQ'HEWRUFRXQWHUSDUWLHVWRDQ\SURSRVHG$VVXPHG&RQWUDFWDQG

XSRQ UHDVRQDEOH UHTXHVW WKH 'HEWRUV ZLOO IXUQLVK DGGLWLRQDO DGHTXDWH DVVXUDQFH LQIRUPDWLRQ WR

QRQ'HEWRUFRXQWHUSDUWLHV,QWXUQWKHQRQ'HEWRUFRXQWHUSDUWLHVZLOOKDYHDQRSSRUWXQLW\WRILOH

ZLWK WKH &RXUW DQG VHUYH RQ WKH 'HEWRUV DQG RWKHU SDUWLHV DQ REMHFWLRQ WR DQ\ SURSRVHG

DVVXPSWLRQDQGDVVLJQPHQWLQDGYDQFHRIWKH6DOH+HDULQJ

              $GGLWLRQDOO\WKH'HEWRUVPD\SUHVHQWDGGLWLRQDOIDFWVDWWKH6DOH+HDULQJWRVKRZ




                                                    

               Case 24-20576-CLC           Doc 29      Filed 10/13/24       Page 32 of 565




WKHILQDQFLDOFUHGLELOLW\RIWKH%X\HU DQDIILOLDWHRI+XPDQD,QFD )RUWXQHFRPSDQ\ LWV

H[SHULHQFH LQ WKH LQGXVWU\ DQG LWV ZLOOLQJQHVV DQG DELOLW\ WR SHUIRUP XQGHU WKH $VVXPHG

&RQWUDFWV%HFDXVHWKH6DOH+HDULQJZLOOSURYLGHWKH&RXUWZLWKDQRSSRUWXQLW\WRHYDOXDWHWKH

DELOLW\RIWKH3XUFKDVHUWRSURYLGHDGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHXQGHUWKH$VVXPHG

&RQWUDFWV DV UHTXLUHG E\ %DQNUXSWF\ &RGH VHFWLRQ  E  &  WKH 'HEWRUV VXEPLW WKDW WKH

&RXUWVKRXOGDXWKRUL]HWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG&RQWUDFWVE\WKH'HEWRUV

HIIHFWLYHXSRQWKH&ORVLQJRIWKH6DOH

             %DVHGRQWKHIRUHJRLQJWKH'HEWRUV¶DVVXPSWLRQDQGDVVLJQPHQWRIWKHSURSRVHG

$VVXPHG &RQWUDFWV VDWLVILHV WKH UHTXLUHPHQWV XQGHU VHFWLRQ  RI WKH %DQNUXSWF\ &RGH DQG

VKRXOGEHDSSURYHG

*       7KH'HEWRUV¶1RWLFLQJ3URFHGXUHV3URYLGH0RUHWKDQ$GHTXDWH1RWLFHRIWKH6DOH
         WKH2EMHFWLRQ'HDGOLQHDQGWKH3RVVLEOH$VVXPSWLRQ$VVLJQPHQWRIWKH$VVXPHG
         &RQWUDFWV

             &RQFXUUHQWO\ ZLWK WKH ILOLQJ RI WKLV 0RWLRQ WKH 'HEWRUV DUH ILOLQJ D VHSDUDWH

PRWLRQ VHHNLQJ WKH HQWU\ RI D SURSRVHG VFKHGXOLQJ RUGHU ZLWK UHVSHFW WR WKH 6DOH WKH

³6FKHGXOLQJ2UGHU´ 7KH'HEWRUVVXEPLWWKDWWKHSURSRVHG6FKHGXOLQJ2UGHUDQGLWVVHUYLFHE\

WKH 'HEWRUV RQ LQWHUHVWHG SDUWLHV ZLOO SURYLGH PRUH WKDQ VXIILFLHQW DQG DGHTXDWH QRWLFH RI WKH

6DOH WKH 6DOH +HDULQJ DQG WKH GHDGOLQH WR ILOH REMHFWLRQV  $V VXFK WKH 'HEWRUV VXEPLW WKDW

VHUYLFH RI WKH 6FKHGXOLQJ 2UGHU DV EXWWUHVVHG E\ WKH VHUYLFH RI WKLV 6DOH 0RWLRQ ZLWK WKH

3XUFKDVH $JUHHPHQW DWWDFKHG WR LW  PHHWV WKH UHTXLUHPHQWV RI WKH %DQNUXSWF\ 5XOHV DQG WKH

/RFDO5XOHV

             $GGLWLRQDOO\WKH'HEWRUVZLOOILOHDQGVHUYHWKH $VVXPSWLRQ1RWLFHRQWKHQRQ

'HEWRUFRXQWHUSDUWLHVWRall RIWKH'HEWRUV¶NQRZQSUHSHWLWLRQH[HFXWRU\FRQWUDFWVDQGOHDVHVRI

QRQUHVLGHQWLDOUHDOSURSHUW\ZLWKLQDIHZGD\VRIWKHHQWU\E\WKH&RXUWRIWKH6FKHGXOLQJ2UGHU

WKHUHE\SURYLGLQJVXFKFRXQWHUSDUWLHVZLWKSURSHUWLPHO\DGHTXDWHDQGVXIILFLHQWQRWLFHRIDQG

                                                     

                 Case 24-20576-CLC                  Doc 29        Filed 10/13/24           Page 33 of 565




D UHDVRQDEOH RSSRUWXQLW\ WR REMHFW RU RWKHUZLVH EH KHDUG UHJDUGLQJ WKLV 6DOH 0RWLRQ WKH

SRWHQWLDO DVVXPSWLRQ DQG DVVLJQPHQW RI WKHLU SUHSHWLWLRQ H[HFXWRU\ FRQWUDFW V  RU XQH[SLUHG

OHDVH V  RI UHDO SURSHUW\ DQG WKH 'HEWRUV¶ SURSRVHG &XUH &RVWV RQ WKH WHUPV VHW IRUWK LQ WKH

3XUFKDVH$JUHHPHQW

+        5HTXHVWIRU:DLYHU8QGHU%DQNUXSWF\5XOHV K DQG G 

                 %DQNUXSWF\ 5XOH  K  SURYLGHV WKDW DQ ³RUGHU DXWKRUL]LQJ WKH XVH VDOH RU

OHDVHRISURSHUW\LVVWD\HGXQWLOWKHH[SLUDWLRQRIGD\VDIWHUHQWU\RIWKHRUGHUXQOHVVWKH

FRXUWRUGHUVRWKHUZLVH´6LPLODUO\%DQNUXSWF\5XOH G SURYLGHVWKDWDQ³RUGHUDXWKRUL]LQJ

WKHWUXVWHHWRDVVLJQDQH[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHLVVWD\HGXQWLOWKHH[SLUDWLRQRI

GD\VDIWHUWKHHQWU\RIWKHRUGHUXQOHVVWKHFRXUWRUGHUVRWKHUZLVH´

                 7RSUHVHUYHWKHYDOXHRIWKH3XUFKDVHG$VVHWVDQGOLPLWWKHFRVWVRIDGPLQLVWHULQJ

DQGSUHVHUYLQJVXFKDVVHWVDQGWRFRPSO\ZLWKPLOHVWRQHVXQGHUWKH',3&UHGLW$JUHHPHQWLWLV

FULWLFDOWKDWWKH'HEWRUVFORVHWKH6DOHDVVRRQDVSRVVLEOHDIWHUDOOFORVLQJFRQGLWLRQVKDYHEHHQ

DFKLHYHG RU ZDLYHG $FFRUGLQJO\ WKH 'HEWRUV UHVSHFWIXOO\ UHTXHVW WKDW WKH 6DOH 2UGHU EH

HIIHFWLYHLPPHGLDWHO\E\WKH&RXUWZDLYLQJWKHIRXUWHHQ  GD\VWD\SHULRGVXQGHU%DQNUXSWF\

5XOHV K DQG G 

                 %DVHG XSRQ WKH IRUHJRLQJ WKH 'HEWRUV VXEPLW WKDW WKH UHOLHI UHTXHVWHG KHUHLQ LV

QHFHVVDU\DQGDSSURSULDWHLVLQWKHEHVWLQWHUHVWVRIWKH'HEWRUVDQGWKHLUHVWDWHVDQGVKRXOGEH

JUDQWHGLQDOOUHVSHFWV


  7KHSULPDU\SXUSRVHRI%DQNUXSWF\5XOHV K DQG G LVWRSURYLGHVXIILFLHQWWLPHIRUDQREMHFWLQJSDUW\
WRDSSHDOEHIRUHDQRUGHUFDQEHLPSOHPHQWHGSee &2//,(521%$1.5837&< $ODQ15HVQLFN
   +HQU\-6RPPHUHGVWKHG  ³&2//,(5´ see also In re Fisherman’s Pier, Inc.)6XSSG
 6' )OD   $OWKRXJK %DQNUXSWF\ 5XOHV  K  DQG  G  DQG WKH $GYLVRU\ &RPPLWWHH 1RWHV DUH
VLOHQWDVWRZKHQDFRXUWVKRXOG³RUGHURWKHUZLVH´DQGHOLPLQDWHRUUHGXFHWKHIRXUWHHQGD\VWD\SHULRG&2//,(5
VXJJHVWV WKDW WKH IRXUWHHQ   GD\ VWD\ SHULRG VKRXOG EH HOLPLQDWHG WR DOORZ D VDOH RU RWKHU WUDQVDFWLRQ WR FORVH
LPPHGLDWHO\ ³ZKHUH WKHUH KDV EHHQ QR REMHFWLRQ WR WKH SURFHGXUH´ See &2//,(5 DW  . )XUWKHUPRUH
&2//,(5SURYLGHVWKDWLIDQREMHFWLRQLVILOHGDQGRYHUUXOHGDQGWKHREMHFWLQJSDUW\LQIRUPVWKH&RXUWRILWVLQWHQW
WRDSSHDOWKHVWD\PD\EHUHGXFHGWRWKHDPRXQWRIWLPHDFWXDOO\QHFHVVDU\WRILOHVXFKDSSHDOSee id.



                                                                

               Case 24-20576-CLC            Doc 29    Filed 10/13/24     Page 34 of 565




          :+(5()25(WKH'HEWRUVUHVSHFWIXOO\UHTXHVWWKH&RXUWWR D JUDQWWKLV6DOH0RWLRQ

    E HQWHUWKH6DOH2UGHU F DSSURYHWKH3XUFKDVH$JUHHPHQWDQGDXWKRUL]HWKHSULYDWH6DOHRI

WKH3XUFKDVHG$VVHWVRXWVLGHWKHRUGLQDU\FRXUVHRIEXVLQHVV G DXWKRUL]HWKHVDOHRIDVVHWVIUHH

DQG FOHDU RI DOO /LHQV DQG ,QWHUHVWV RWKHU WKDQ $VVXPHG /LDELOLWLHV DQG 3HUPLWWHG /LHQV  H 

DXWKRUL]HWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG&RQWUDFWVDQG I JUDQWVXFKRWKHUDQG

IXUWKHUUHOLHIDVWKH&RXUWGHHPVMXVWDQGSURSHU

'DWHG2FWREHU                             5HVSHFWIXOO\VXEPLWWHG

                                                   %(5*(56,1*(50$1//3
                                                          Proposed Counsel for the Debtors and
                                                          Debtors-in-Possession
                                                          %ULFNHOO$YHQXH6WH
                                                   0LDPL)/ 
                                                   7HOHSKRQH  
                                                   )DFVLPLOH  

                                                   %\/s/ Christopher Andrew Jarvinen
                                                           3DXO6WHYHQ6LQJHUPDQ
                                                           )ORULGD%DU1R
                                                           VLQJHUPDQ#EHUJHUVLQJHUPDQFRP
                                                           &KULVWRSKHU$QGUHZ-DUYLQHQ
                                                           )ORULGD%DU1R
                                                           FMDUYLQHQ#EHUJHUVLQJHUPDQFRP
                                                                   6DPXHO-&DSXDQR
                                                           )ORULGD%DU1R
                                                           VFDSXDQR#EHUJHUVLQJHUPDQFRP




                                                     

               Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 35 of 565




                                     (;+,%,7$

                                      6DOH2UGHU 





                Case 24-20576-CLC             Doc 29       Filed 10/13/24        Page 36 of 565






                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                                                 
                               81,7('67$7(6%$1.5837&<&2857
                                6287+(51',675,&72))/25,'$
                                        0,$0,',9,6,21
                                       ZZZIOVEXVFRXUWVJRY

                                                          
     ,QUH
                                                              &KDSWHU&DVHV
     
                                                              
     0%0*+2/',1*//&et al.
                                                              &DVH1RBBBBBBBBBB
     
                                                              
             'HEWRUV
                                                                -RLQW$GPLQLVWUDWLRQ3HQGLQJ 
             

                  25'(5*5$17,1*'(%7256¶027,21)25
             (175<2)$125'(5 , $33529,1*$66(7385&+$6(
     $*5((0(17$1'$87+25,=,1*7+(35,9$7(6$/(2)68%67$17,$//<
     $//2)7+($66(762)7+('(%72562876,'(7+(25',1$5<&2856(
           2)%86,1(66 ,, $87+25,=,1*7+(6$/(2)$66(76)5((
            $1'&/($52)$///,(16$1',17(5(676(;&(37)25
        3(50,77('/,(16$1'$6680('/,$%,/,7,(6 ,,, $87+25,=,1*
         7+($668037,21$1'$66,*10(172)&(57$,1(;(&8725<
    &2175$&76$1'81(;3,5('/($6(6$1' ,9 *5$17,1*5(/$7('5(/,()
                                                          
                                    

 7KHDGGUHVVRIWKH'HEWRUVLV6:WK6WUHHW6WH0LDPL)ORULGD7KHODVWIRXUGLJLWVRIWKH
'HEWRUV¶IHGHUDOWD[LGHQWLILFDWLRQQXPEHUVDUH L &DUH&HQWHU0HGLFDO*URXS//&   LL &DUH&HQWHU1HWZRUN
//&   LLL  &&0& 3K\VLFLDQ +ROGLQJV ,QF   LY  &OLQLFDO &DUH 3KDUPDF\ //&   Y  )ORULGD
)DPLO\3ULPDU\&DUH&HQWHU//&   YL )ORULGD)DPLO\3ULPDU\&DUH&HQWHURI3DVFR//&   YLL )ORULGD
)DPLO\3ULPDU\&DUH&HQWHUVRI2UODQGR//&   YLLL )ORULGD)DPLO\3ULPDU\&DUH&HQWHUVRI3LQHOODV//&
   L[ )ORULGD)DPLO\3ULPDU\&DUH&HQWHUVRI7DPSD//&   [ 0%0HGLFDO2SHUDWLRQV//&  
 [L 0%0HGLFDO7UDQVSRUW//&   [LL 0%0*+ROGLQJ//&   [LLL 0%0*,QWHUPHGLDWH+ROGLQJ
//&   [LY 0LDPL%HDFK0HGLFDO&HQWHUV,QF   [Y 0LDPL%HDFK0HGLFDO&RQVXOWDQWV//&  
DQG [YL 0LDPL0HGLFDO :HOOQHVV&HQWHU//&  

                  Case 24-20576-CLC               Doc 29       Filed 10/13/24         Page 37 of 565



            7+,60$77(5KDYLQJFRPHEHIRUHWKH&RXUWIRUDKHDULQJRQ1RYHPEHU>@DW>@

>DPSP@LQ0LDPL)ORULGD WKH³+HDULQJ´ XSRQWKHDebtors’ Motion for Entry of an Order (I)

Approving Asset Purchase Agreement and Authorizing the Private Sale of Substantially All of the

Assets of the Debtors Outside the Ordinary Course of Business, (II) Authorizing the Sale of Assets

Free and Clear of All Liens and Interests Except for Permitted Liens and Assumed Liabilities, (III)

Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired

Leases, and (IV) Granting Related Relief >(&)1R>@@ WKH³6DOH0RWLRQ´ ILOHGE\WKHDERYH

FDSWLRQHGGHEWRUVDQGGHEWRUVLQSRVVHVVLRQ FROOHFWLYHO\WKH³'HEWRUV´ E\WKHDXWKRULW\JUDQWHG

WRWKH'HEWRUVE\FKDSWHURIWLWOHRIWKH8QLWHG6WDWHV&RGH DVDPHQGHGWKH³%DQNUXSWF\

&RGH´ 7KH6DOH0RWLRQUHTXHVWVWKHHQWU\RIDQRUGHU WKLV³2UGHU´  L DXWKRUL]LQJWKH'HEWRUV

WR FRQVXPPDWH WKDW FHUWDLQ Asset Purchase Agreement GDWHG 2FWREHU   DV PD\ EH

DPHQGHG RU RWKHUZLVH PRGLILHG IURP WLPH WR WLPH DQG LQFOXGLQJ DOO UHODWHG LQVWUXPHQWV

GRFXPHQWVH[KLELWVVFKHGXOHVDQGDJUHHPHQWVWKHUHWRFROOHFWLYHO\WKH³3XUFKDVH$JUHHPHQW´ 

VXEVWDQWLDOO\LQWKHIRUPDWWDFKHGDV([KLELW%WRWKH6DOH0RWLRQEHWZHHQDQGDPRQJ D RI

WKH DERYHFDSWLRQHG GHEWRUV DQG GHEWRUVLQSRVVHVVLRQ HDFK D ³6HOOHU´ DQG FROOHFWLYHO\ WKH

³6HOOHUV´  DQG E  &RQYLYD 0HGLFDO &HQWHU 0DQDJHPHQW //& D 'HODZDUH OLPLWHG OLDELOLW\

FRPSDQ\ WKH³%X\HU´ DQGDXWKRUL]LQJSXUVXDQWWRWKLV2UGHUWKHSULYDWHJRLQJFRQFHUQVDOH

    ³6DOH´ RIVXEVWDQWLDOO\DOORIWKHDVVHWVRIWKH6HOOHUV i.eWKH3XUFKDVHG$VVHWV RXWVLGHRIWKH


                                        

     $Q\FDSLWDOL]HGWHUPQRWH[SOLFLWO\GHILQHGKHUHLQVKDOOKDYHWKHPHDQLQJDVFULEHGWRLWDVDSSOLFDEOHLQ L WKH
       6DOH0RWLRQRU LL WKH3XUFKDVH$JUHHPHQW DVGHILQHGKHUHLQ 

     7KH6HOOHUVDUHWKHIROORZLQJ'HEWRUV L 0%0HGLFDO2SHUDWLRQV//& LL 0%0HGLFDO7UDQVSRUW//& LLL 
       &DUH&HQWHU1HWZRUN//& LY &DUH&HQWHU0HGLFDO*URXS//& Y &OLQLFDO&DUH3KDUPDF\//& YL )ORULGD
       )DPLO\3ULPDU\&DUH&HQWHU//& YLL )ORULGD)DPLO\3ULPDU\&DUH&HQWHUVRI2UODQGR//& YLLL )ORULGD
       )DPLO\ 3ULPDU\ &DUH &HQWHUV RI 7DPSD //& L[  )ORULGD )DPLO\ 3ULPDU\ &DUH &HQWHUV RI 3DVFR //& [ 
       )ORULGD)DPLO\3ULPDU\&DUH&HQWHUVRI3LQHOODV//& [L &&0&3K\VLFLDQ+ROGLQJV,QF [LL 0LDPL0HGLFDO
         :HOOQHVV&HQWHU//& [LLL 0LDPL%HDFK0HGLFDO&HQWHUV,QFIND5RGROIR'XPHQLJR0'3$DQG
        [LY 0LDPL%HDFK0HGLFDO&RQVXOWDQWV//&
                                                              

                Case 24-20576-CLC          Doc 29      Filed 10/13/24      Page 38 of 565



RUGLQDU\ FRXUVH RI EXVLQHVV SXUVXDQW WR WKH WHUPV RI WKH 3XUFKDVH $JUHHPHQW DQG WKH RWKHU

WUDQVDFWLRQV FRQWHPSODWHG E\ WKH 3XUFKDVH $JUHHPHQW FROOHFWLYHO\ WKH ³7UDQVDFWLRQV´  LL 

DXWKRUL]LQJWKH6DOHRIWKH3XUFKDVHG$VVHWVWRWKH%X\HUIUHHDQGFOHDURIDOO/LHQVDQG,QWHUHVWV

 DVGHILQHGLQWKH6DOH0RWLRQ RWKHUWKDQ$VVXPHG/LDELOLWLHVDQG3HUPLWWHG/LHQVWKDWWKH%X\HU

KDV DJUHHG WR DVVXPH RU SHUPLW XQGHU WKH 3XUFKDVH $JUHHPHQW RUDV RWKHUZLVH VHW IRUWK LQ WKH

3XUFKDVH$JUHHPHQW LLL DXWKRUL]LQJWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG&RQWUDFWV

DQG LY JUDQWLQJUHODWHGUHOLHIDOODVPRUHIXOO\VHWIRUWKLQWKH6DOH0RWLRQDQGWKLV&RXUWKDYLQJ

MXULVGLFWLRQ WR FRQVLGHU WKH 6DOH 0RWLRQ DQG WKH UHOLHI UHTXHVWHG WKHUHLQ LQ DFFRUGDQFH ZLWK 

86& E  DQGDQGYHQXHEHLQJSURSHULQWKLV'LVWULFWSXUVXDQWWR86&

DQGDQGWKH6DOH0RWLRQDQGWKHUHOLHIUHTXHVWHGWKHUHLQEHLQJDFRUHSURFHHGLQJLQ

DFFRUGDQFHZLWK86& E DQGWKHDSSHDUDQFHRIDOOLQWHUHVWHGSDUWLHVWRWKH6DOH0RWLRQ

KDYLQJEHHQGXO\QRWHGLQWKHUHFRUGRIWKH6DOH+HDULQJDQGXSRQWKHUHFRUGRIWKH6DOH+HDULQJ

DQGDOORWKHUSOHDGLQJVDQGSURFHHGLQJVLQWKHVH&KDSWHU&DVHVDQGWKLV&RXUWKDYLQJIRXQG

WKDWWKHUHOLHIUHTXHVWHG LQWKH6DOH0RWLRQLVLQWKHEHVWLQWHUHVWVRIWKH'HEWRUV¶HVWDWHVWKHLU

FUHGLWRUVDQGRWKHUSDUWLHVLQLQWHUHVWDQGWKLV&RXUWKDYLQJIRXQGWKDWWKH'HEWRUV¶QRWLFHRIWKH

6DOH DQG WKH 6DOH 0RWLRQ DQG RSSRUWXQLW\ IRU D KHDULQJ RQ WKH 6DOH 0RWLRQ LQFOXGLQJ WKH

6FKHGXOLQJ2UGHUDQGWKH$VVXPSWLRQ1RWLFHZHUHDSSURSULDWHDQGQRRWKHURUIXUWKHUQRWLFHQHHG

EHSURYLGHGDQGWKLV&RXUWKDYLQJUHYLHZHGWKH6DOH0RWLRQDQGDOOUHODWHGSOHDGLQJVDQGKDYLQJ

KHDUGWKHVWDWHPHQWVLQVXSSRUWRIWKHUHOLHIUHTXHVWHGLQWKH6DOH0RWLRQDWWKH6DOH+HDULQJEHIRUH

WKLV&RXUWDQGWKLV&RXUWKDYLQJGHWHUPLQHGWKDWWKHOHJDODQGIDFWXDOEDVHVVHWIRUWKLQWKH6DOH

0RWLRQDQGDWWKH6DOH+HDULQJHVWDEOLVKMXVWFDXVHIRUWKHUHOLHIJUDQWHGKHUHLQDQGXSRQDOORI

WKH SURFHHGLQJV KDG EHIRUH WKLV &RXUW DQG DW WKH 6DOH +HDULQJ LQFOXGLQJ WKH WHVWLPRQ\ RI

>BBBBBBBBBB@DQGWKHH[KLELWVFRQWDLQHGLQWKHExhibit Register >(&)1RBBBB@HDFKRIZKLFK

                                                     

                Case 24-20576-CLC          Doc 29      Filed 10/13/24       Page 39 of 565



ZDV DGPLWWHG LQWR HYLGHQFH ZLWKRXW REMHFWLRQ DQG DIWHU GXH GHOLEHUDWLRQ DQG VXIILFLHQW FDXVH

DSSHDULQJWKHUHIRUGRHVIRUWKHUHDVRQVVWDWHGLQWKH6DOH0RWLRQDQGRQWKHUHFRUGRIWKH6DOH

+HDULQJDOORIZKLFKDUHH[SUHVVO\LQFRUSRUDWHGKHUHLQLQWKHLUHQWLUHW\

,7,6+(5(%<)281''(7(50,1('$1'&21&/8'('7+$7

       $ 7KHILQGLQJVDQGFRQFOXVLRQVVHWIRUWKKHUHLQFRQVWLWXWHWKH&RXUW¶VILQGLQJVRIIDFW

DQGFRQFOXVLRQVRIODZSXUVXDQWWR5XOHRIWKH)HGHUDO5XOHVRI%DQNUXSWF\3URFHGXUH DV

DPHQGHGWKH³%DQNUXSWF\5XOHV´ PDGHDSSOLFDEOHWRWKLVSURFHHGLQJSXUVXDQWWR%DQNUXSWF\

5XOH

          %    7RWKHH[WHQWWKDWDQ\RIWKHIROORZLQJILQGLQJVRIIDFWFRQVWLWXWHFRQFOXVLRQVRI

ODZWKH\DUHDGRSWHGDVVXFK7RWKHH[WHQWDQ\RIWKHIROORZLQJFRQFOXVLRQVRIODZFRQVWLWXWH

ILQGLQJVRIIDFWWKH\DUHDGRSWHGDVVXFK

          &    7KLV&RXUWKDVMXULVGLFWLRQRYHUWKLVPDWWHUDQGRYHUWKHSURSHUW\RIWKH'HEWRUV¶

HVWDWHV LQFOXGLQJ WKH 3XUFKDVHG $VVHWV WR EH VROG WUDQVIHUUHG RU FRQYH\HG SXUVXDQW WR WKH

3XUFKDVH$JUHHPHQWSXUVXDQWWR86&DQG7KLVPDWWHULVD³FRUHSURFHHGLQJ´

SXUVXDQWWR86& E  9HQXHRIWKHVHEDQNUXSWF\FDVHVDQGWKH6DOH0RWLRQLQWKLV

GLVWULFWLVSURSHUSXUVXDQWWR86&DQG

          '    7KLV2UGHUFRQVWLWXWHVDILQDODQGDSSHDODEOHRUGHUZLWKLQWKHPHDQLQJRI86&

 D 7RDQ\H[WHQWQHFHVVDU\XQGHU%DQNUXSWF\5XOHDQG5XOH E RIWKH)HGHUDO

5XOHVRI&LYLO3URFHGXUHDVPDGHDSSOLFDEOHE\%DQNUXSWF\5XOHWKLV&RXUWH[SUHVVO\ILQGV

WKDWWKHUHLVQRMXVWUHDVRQIRUGHOD\LQWKHLPSOHPHQWDWLRQRIWKLV2UGHUDQGH[SUHVVO\GLUHFWV

HQWU\ RI WKLV 2UGHU DV VHW IRUWK KHUHLQ DQG WKH FORVLQJ RI DOO 7UDQVDFWLRQV FRQWHPSODWHG KHUHE\

ZLWKRXWUHJDUGWRDQ\VWD\RUGHOD\LQLWVLPSOHPHQWDWLRQ



                                                      

                Case 24-20576-CLC        Doc 29      Filed 10/13/24      Page 40 of 565



          (    7KHVWDWXWRU\DQGUXOHEDVHGSUHGLFDWHVIRUWKHUHOLHIUHTXHVWHGLQWKH6DOH0RWLRQ

DQGIRUWKHDSSURYDOVDQGDXWKRUL]DWLRQVKHUHLQDUH L VHFWLRQVDQGRI

WKH%DQNUXSWF\&RGH LL %DQNUXSWF\5XOHVDQGDQG

    LLL /RFDO5XOHV &  DQG

          )    3URSHUWLPHO\DGHTXDWHDQGVXIILFLHQWQRWLFHRIDQGDUHDVRQDEOHRSSRUWXQLW\WR

REMHFWRURWKHUZLVHEHKHDUGUHJDUGLQJWKH6DOH0RWLRQWKH6DOH+HDULQJDQGWKH7UDQVDFWLRQV

FRQWHPSODWHGE\WKH3XUFKDVH$JUHHPHQWLQFOXGLQJZLWKRXWOLPLWDWLRQWKH6DOHRIWKH3XUFKDVHG

$VVHWVIUHHDQGFOHDURIWKH/LHQVDQG,QWHUHVWVKDYHEHHQSURYLGHGLQDFFRUGDQFHZLWKVHFWLRQV

  DQG E RIWKH%DQNUXSWF\&RGH%DQNUXSWF\5XOHVDQG

WKH/RFDO5XOHVRIWKH&RXUWWKHSURFHGXUDOGXHSURFHVVUHTXLUHPHQWVRIWKH8QLWHG6WDWHV

&RQVWLWXWLRQDQGLQDFFRUGDQFHZLWKWKH'HEWRUV¶ILGXFLDU\GXWLHV7KH'HEWRUVDOVRJDYHGXHDQG

SURSHUQRWLFHRIWKHSRWHQWLDODVVXPSWLRQDQGDVVLJQPHQWRIHDFK'HVLUHG&RQWUDFWDYDLODEOH

WREHDVVXPHGDQGDVVLJQHGE\WKH'HEWRUVWRWKH%X\HUWRHDFKQRQGHEWRUFRXQWHUSDUW\XQGHU

HDFKVXFK'HVLUHG&RQWUDFW FROOHFWLYHO\WKH³1RQ'HEWRU&RXQWHUSDUWLHV´ DVUHIOHFWHGRQ

WKH Notice of Assumption and Cure Costs with Respect to Executory Contracts or Unexpired

Leases Potentially to be Assumed and Assigned in Connection with the Sale of Debtors’ Assets

ILOHG RQ >BBBBBBBBB@ >(&) 1R >BBB@@ WKH ³$VVXPSWLRQ 1RWLFH´  DQG LQ FRQQHFWLRQ ZLWK DQ\

3UHYLRXVO\ 2PLWWHG &RQWUDFW 1RWLFH WKDW PD\ EH SURYLGHG DV FRQWHPSODWHG E\ WKH 3XUFKDVH

$JUHHPHQW6XFKQRWLFHZDVJRRGVXIILFLHQWDQGDSSURSULDWHXQGHUWKHSDUWLFXODUFLUFXPVWDQFHV

DQGWKHFRXQWHUSDUWLHVWRWKH$VVXPHG&RQWUDFWVDUHKHUHE\GHHPHGWRFRQVHQWWRWKHUHOLHIJUDQWHG

KHUHLQXQOHVVRWKHUZLVHSURYLGHGLQWKLV2UGHU1RRWKHURUIXUWKHUQRWLFHRIRSSRUWXQLW\WRREMHFW

WR RU RWKHU RSSRUWXQLW\ WR EH KHDUG UHJDUGLQJ WKH 6DOH 6DOH 0RWLRQ WKH 6DOH +HDULQJ WKH



                                                    

                Case 24-20576-CLC         Doc 29      Filed 10/13/24       Page 41 of 565



DVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG&RQWUDFWVWKH$VVXPSWLRQ1RWLFHRURIWKHHQWU\RI

WKLV2UGHULVQHFHVVDU\RUVKDOOEHUHTXLUHG

          *    $VHYLGHQFHGE\WKHDIILGDYLWVRIVHUYLFHILOHGZLWKWKH&RXUW>'RFNHW1RVBBBB@

SURSHUWLPHO\DGHTXDWHDQGVXIILFLHQWQRWLFHRIWKH6DOHDQGDUHDVRQDEOHRSSRUWXQLW\WRREMHFW

RU RWKHUZLVH WR EH KHDUG UHJDUGLQJ WKH 6DOH 0RWLRQ WKH 6DOH +HDULQJ DQG WKH 7UDQVDFWLRQV

LQFOXGLQJ WKH 6DOH KDYH EHHQ SURYLGHG LQ DFFRUGDQFH ZLWK VHFWLRQV    DQG  E  RI WKH

%DQNUXSWF\&RGH%DQNUXSWF\5XOHVDQGWKH/RFDO5XOHVRI

WKH&RXUWDQGWKHSURFHGXUDOGXHSURFHVVUHTXLUHPHQWVRIWKH8QLWHG6WDWHV&RQVWLWXWLRQ7KH

'HEWRUVDOVRJDYHGXHDQGSURSHUQRWLFHRIWKHSRWHQWLDODVVXPSWLRQVDOHDQGDVVLJQPHQWRIWKH

$VVXPHG&RQWUDFWVWRHDFKWKHQRQGHEWRUSDUW\XQGHUWKH$VVXPHG&RQWUDFWV6XFKQRWLFHZDV

JRRGDQGVXIILFLHQWDQGDSSURSULDWHXQGHUWKHSDUWLFXODUFLUFXPVWDQFHV

          +    $UHDVRQDEOHRSSRUWXQLW\WRREMHFWRUEHKHDUGUHJDUGLQJWKHUHTXHVWHGUHOLHIKDV

EHHQDIIRUGHGWRDOOLQWHUHVWHGSHUVRQVDQGHQWLWLHVLQFOXGLQJZLWKRXWOLPLWDWLRQ L DOOFUHGLWRUV

RUWKHLUFRXQVHONQRZQWRWKH'HEWRUVWRDVVHUWDOLHQ LQFOXGLQJDQ\VHFXULW\LQWHUHVW FODLPULJKW

LQWHUHVWRUHQFXPEUDQFHRIUHFRUGDJDLQVWDOORUDQ\SRUWLRQRIWKH3XUFKDVHG$VVHWV LL WKH2IILFH

RIWKH8QLWHG6WDWHV7UXVWHHIRUWKH6RXWKHUQ'LVWULFWRI)ORULGD LLL FRXQVHOWRWKH%X\HU LY 

FRXQVHO WR WKH ',3 /HQGHUV Y  DOO SDUWLHV LQ LQWHUHVW ZKR KDYH UHTXHVWHG QRWLFH SXUVXDQW WR

%DQNUXSWF\5XOH YL DOODSSOLFDEOHIHGHUDOVWDWHDQGORFDOWD[LQJDQGUHJXODWRU\DXWKRULWLHV

RI WKH 'HEWRUV RU UHFRUGLQJ RIILFHV RU DQ\ RWKHU JRYHUQPHQWDO DXWKRULWLHV WKDW WR WKH 'HEWRUV¶

NQRZOHGJHDVDUHVXOWRIWKHVDOHRIWKH3XUFKDVHG$VVHWVPD\UHDVRQDEO\KDYHFODLPVFRQWLQJHQW

RURWKHUZLVHLQFRQQHFWLRQZLWKWKH'HEWRUV¶RZQHUVKLSRIWKH3XUFKDVHG$VVHWVRUDQ\NQRZQ

LQWHUHVWLQWKHUHOLHIUHTXHVWHGLQWKH6DOH0RWLRQLQFOXGLQJWKH$WWRUQH\*HQHUDOIRUWKH6WDWHRI

)ORULGD YLL WKH'HEWRUV¶SDWLHQWSRSXODWLRQDQG YLLL DOOFRXQWHUSDUWLHVWRDQ\H[HFXWRU\FRQWUDFW

                                                     

                Case 24-20576-CLC            Doc 29      Filed 10/13/24        Page 42 of 565



RUXQH[SLUHGOHDVHFXUUHQWO\NQRZQWRH[LVWE\WKH'HEWRUVLQFOXGLQJEXWQRWOLPLWHGWRDOO1RQ

'HEWRU&RXQWHUSDUWLHVWR$VVXPHG&RQWUDFWVDVVXPHGDQGDVVLJQHGSXUVXDQWWRWKLV2UGHU1R

RWKHURUIXUWKHUQRWLFHRIRSSRUWXQLW\WRREMHFWWRRURWKHURSSRUWXQLW\WREHKHDUGUHJDUGLQJWKH

6DOHWKH6DOH0RWLRQWKH6DOH+HDULQJWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG&RQWUDFWV

WKH$VVXPSWLRQ1RWLFHRURIWKHHQWU\RIWKLV2UGHULVQHFHVVDU\RUVKDOOEHUHTXLUHG

          ,    7KH3XUFKDVHG$VVHWVDUHSURSHUW\RIWKH'HEWRUV¶HVWDWHVDQGJRRGWLWOHWKHUHWRLV

YHVWHGLQWKH'HEWRUV¶HVWDWHV([FHSWDVPD\EHRWKHUZLVHVHWIRUWKLQWKH3XUFKDVH$JUHHPHQW

WKH'HEWRUVDUHWKHVROHDQGODZIXORZQHUVRIWKH3XUFKDVHG$VVHWVDQGQRRWKHUSHUVRQKDVDQ\

RZQHUVKLSULJKWWLWOHRULQWHUHVWWKHUHLQ

          -    7KH 'HEWRUV¶ SUHEDQNUXSWF\ PDUNHWLQJ DQG VDOH HIIRUWV ZLWK UHVSHFW WR WKH

3XUFKDVHG $VVHWV DV GHVFULEHG LQ WKH 5LWXFFL 'HFODUDWLRQ ZHUH H[WHQVLYH UHDVRQDEOH DQG

DSSURSULDWHDQGUHVXOWHGLQWKHH[HFXWLRQRIWKH3XUFKDVH$JUHHPHQWZLWKWKH%X\HU)XUWKHUSRVW

EDQNUXSWF\PDUNHWLQJDQGVDOHHIIRUWVDUHQRWQHFHVVDU\RUUHDVRQDEOHXQGHUWKHFLUFXPVWDQFHV

          .    7KH 'HEWRUV LQ D UHDVRQDEOH H[HUFLVH RI WKHLU EXVLQHVV MXGJPHQW KDYH

GHPRQVWUDWHG D VXIILFLHQW EDVLV DQG WKH H[LVWHQFH RI UHDVRQDEOH DSSURSULDWH DQG FRPSHOOLQJ

FLUFXPVWDQFHV UHTXLULQJ WKHP WR HQWHU LQWR WKH 3XUFKDVH $JUHHPHQW WR WUDQVIHU WKH 3XUFKDVHG

$VVHWVDQGWRDVVXPHDQGWRDVVLJQWKH$VVXPHG&RQWUDFWVWRWKH%X\HUXQGHUVHFWLRQVDQG

RIWKH%DQNUXSWF\&RGHDQGVXFKDFWLRQVDUHHQWLUHO\IDLUDQGDSSURSULDWHH[HUFLVHVRIWKH

'HEWRUV¶UHDVRQDEOHEXVLQHVVMXGJPHQWDQGLQWKHEHVWLQWHUHVWVRIWKH'HEWRUVWKHLUHVWDWHVDQG

WKHLUVWDNHKROGHUV7KH6SHFLDO&RPPLWWHHRIWKHERDUGRIPDQDJHUVRI6XQ0%0**3//&

ZKLFKLVWKHJHQHUDOSDUWQHURIWKHSDUHQWFRPSDQ\RIWKH'HEWRUV0%0*8OWLPDWH+ROGLQJ/3


                                   

$VVXFKWHUPLVGHILQHGLQWKHDeclaration of Nicholas K. Campbell in Support of Chapter 11 Petitions and First
Day Pleadings >(&)1RBBB@ WKH³)LUVW'D\'HFODUDWLRQ´ See)LUVW'D\'HFODUDWLRQBBBB
                                                        

                Case 24-20576-CLC          Doc 29      Filed 10/13/24       Page 43 of 565



KDV EHHQ GHOHJDWHG DOO VDOHUHODWHG DQG UHVWUXFWXULQJ WUDQVDFWLRQ PDWWHUV UHODWLQJ WR HDFK RI WKH

'HEWRUV7KH6SHFLDO&RPPLWWHHKDVDSSURYHGWKH6DOHDQGWKH3XUFKDVH$JUHHPHQW7KH6SHFLDO

&RPPLWWHH LQFOXGHV LQGHSHQGHQW GLUHFWRU (OL]DEHWK $EUDPV ZKR KDV FRPSOLHG ZLWK DOO RI KHU

ILGXFLDU\GXWLHVDQGDSSURYDORIWKH6DOHWRWKH%X\HULVDSURSHUH[HUFLVHRIWKH'HEWRUV¶ILGXFLDU\

GXWLHV

          /    7KH'HEWRUVWKH%X\HUDQGWKHLUUHVSHFWLYHSURIHVVLRQDOVKDYHDFWHGLQJRRGIDLWK

LQ DOO UHVSHFWV LQ FRQQHFWLRQ ZLWK WKH SUHEDQNUXSWF\ VDOH DQG PDUNHWLQJ HIIRUWV DQG WKH SRVW

EDQNUXSWF\VDOHSURFHVVDQGVXFKSURFHVVHVZHUHIUHHRIDQ\IUDXGFROOXVLRQRUXQIDLUGHDOLQJ

$V GHPRQVWUDWHG E\ L  WKH WHVWLPRQ\ DQGRU RWKHU HYLGHQFH SURIIHUHG RU DGGXFHG DW WKH 6DOH

+HDULQJ RU VXEPLWWHG E\ DIILGDYLW RU GHFODUDWLRQ DW RU SULRU WR WKH 6DOH +HDULQJ DQG LL  WKH

UHSUHVHQWDWLRQVRIFRXQVHOPDGHRQWKHUHFRUGDWWKH6DOH+HDULQJWKURXJKH[WHQVLYHSUHSHWLWLRQ

PDUNHWLQJ HIIRUWV WKH 'HEWRUV D  DIIRUGHG DOO SRWHQWLDOO\ LQWHUHVWHG EX\HUV D IXOO IDLU DQG

UHDVRQDEOHRSSRUWXQLW\WRVXEPLWWKHLUKLJKHVWRURWKHUZLVHEHVWRIIHUWRSXUFKDVHWKH3XUFKDVHG

$VVHWV E SURYLGHGDOOLQWHUHVWHGEX\HUVXSRQUHTXHVWVXIILFLHQWLQIRUPDWLRQWRHQDEOHWKHPWR

PDNHDQLQIRUPHGMXGJPHQWRQZKHWKHUWRVXEPLWDQRIIHUWREX\WKH3XUFKDVHG$VVHWVDQG F 

FRQVLGHUHGDOOLQGLFDWLRQVRILQWHUHVW

          0    7KH 3XUFKDVH $JUHHPHQW ZDV QRW HQWHUHG LQWR DQG WKH 6DOH LV QRW EHLQJ

FRQVXPPDWHGIRUWKHSXUSRVHRIKLQGHULQJGHOD\LQJRUGHIUDXGLQJSUHVHQWRUIXWXUHFUHGLWRUVRI

WKH 'HEWRUV  7KH 'HEWRUV DQG WKH %X\HU ZHUH HDFK UHSUHVHQWHG E\ VHSDUDWH DQG LQGHSHQGHQW

DGYLVRUVWKURXJKRXWWKHQHJRWLDWLRQRIWKHWHUPVRIWKH3XUFKDVH$JUHHPHQW$OOSD\PHQWVDQG

RWKHU FRQVLGHUDWLRQ WR EH PDGH E\ WKH %X\HU LQ FRQQHFWLRQ ZLWK WKH 7UDQVDFWLRQV KDYH EHHQ

GLVFORVHG1HLWKHUWKH'HEWRUVQRUWKH%X\HUDUHSURSRVLQJWRFRQVXPPDWHWKH6DOHIUDXGXOHQWO\

IRUWKHSXUSRVHRIVWDWXWRU\RUFRPPRQODZIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHUFODLPV

                                                      

                Case 24-20576-CLC          Doc 29       Filed 10/13/24       Page 44 of 565



ZKHWKHU XQGHU WKH %DQNUXSWF\ &RGH XQGHU WKH ODZV RI WKH 8QLWHG 6WDWHV DQ\ VWDWH WHUULWRU\

SRVVHVVLRQWKHUHRIWKH'LVWULFWRI&RORPELDRURWKHUZLVH

          1     L 7KH'HEWRUVDQGWKHLUDGYLVRUVFRQGXFWHGDIDLUDQGH[WHQVLYHSUHEDQNUXSWF\

VDOHDQGPDUNHWLQJSURFHVVWKDWZDV D QRQFROOXVLYH E VXEVWDQWLYHO\DQGSURFHGXUDOO\IDLUWR

DOO SDUWLHV LQ LQWHUHVW F  SURYLGHG D IXOO IDLU DQG UHDVRQDEOH RSSRUWXQLW\ IRU DQ\ SRWHQWLDOO\

LQWHUHVWHG SDUW\ WR PDNH DQ RIIHU WR SXUFKDVH WKH 3XUFKDVHG $VVHWV DQG G  UHVXOWHG LQ D IDLU

SURFHVV LL WKHSUHEDQNUXSWF\VDOHDQGPDUNHWLQJSURFHVVFRQGXFWHGE\WKH'HEWRUVREWDLQHGWKH

KLJKHVW RU RWKHUZLVH EHVW YDOXH IRU WKH 3XUFKDVHG $VVHWV IRU WKH 'HEWRUV DQG WKHLU HVWDWHV DV

UHIOHFWHGLQWKH3XUFKDVH$JUHHPHQWDQGDQ\RWKHUWUDQVDFWLRQZRXOGQRWKDYH\LHOGHGDVIDYRUDEOH

DQ HFRQRPLF UHVXOW LLL  WKH %X\HU KDV SXW IRUWK WKH KLJKHVW RU RWKHUZLVH EHVW RIIHU IRU WKH

3XUFKDVHG$VVHWV LY WKH3XUFKDVH3ULFHUHFHLYHGE\WKH'HEWRUVIRUWKH3XUFKDVHG$VVHWVDIWHU

FRQVLGHULQJDOORIWKHUHOHYDQWIDFWVDQGFLUFXPVWDQFHVRIWKH6DOHDVDZKROHLVIDLUDQG Y WKH

SUHEDQNUXSWF\VDOHDQGPDUNHWLQJSURFHVVREWDLQHGWKHKLJKHVWRUEHVWYDOXHIRUWKH3XUFKDVHG

$VVHWVIRUWKH'HEWRUVDQGWKHLUHVWDWHV

          2    7KH RIIHU RI WKH %X\HU XSRQ WKH WHUPV DQG FRQGLWLRQV VHW IRUWK LQ WKH 3XUFKDVH

$JUHHPHQWLQFOXGLQJWKHIRUPDQGWRWDOFRQVLGHUDWLRQWREHUHDOL]HGE\WKH'HEWRUVSXUVXDQWWR

WKH3XUFKDVH$JUHHPHQW L LVWKHKLJKHVWRUEHVWRIIHUUHFHLYHGE\WKH'HEWRUVDQGWKHLUHVWDWHV

 LL LVIDLUDQGUHDVRQDEOH LLL LVLQWKHEHVWLQWHUHVWVRIWKH'HEWRUV¶VWDNHKROGHUVDQGHVWDWHV LY 

FRQVWLWXWHVIXOODQGIDLUFRQVLGHUDWLRQDQGUHDVRQDEO\HTXLYDOHQWYDOXHIRUWKH3XUFKDVHG$VVHWV

DQG Y ZLOOSURYLGHDJUHDWHUUHFRYHU\IRUWKH'HEWRUV¶FUHGLWRUVDQGRWKHULQWHUHVWHGSDUWLHVWKDQ

ZRXOGEHSURYLGHGE\DQ\RWKHUSUDFWLFDOO\DYDLODEOHDOWHUQDWLYH 8QOHVVWKH6DOHLVFRQFOXGHG

H[SHGLWLRXVO\ DV SURYLGHG IRU LQ WKH 6DOH 0RWLRQ DQG SXUVXDQW WR WKH 3XUFKDVH $JUHHPHQW

UHFRYHULHVRIFUHGLWRUVZLOOEHGLPLQLVKHG

                                                      

                Case 24-20576-CLC          Doc 29      Filed 10/13/24       Page 45 of 565



          3    7KH%X\HULVQRWDQ³LQVLGHU´RU³DIILOLDWH´RIWKH'HEWRUVDVWKRVHWHUPVDUHGHILQHG

LQWKH%DQNUXSWF\&RGHDQGGHFLVLRQVWKHUHXQGHU7KH%X\HULVDEX\HULQ³JRRGIDLWK´DVWKDW

WHUPLVXVHGLQWKH%DQNUXSWF\&RGHDQGUHOHYDQWGHFLVLRQVDQGLVHQWLWOHGWRWKHSURWHFWLRQVRI

VHFWLRQ P DQG Q RIWKH%DQNUXSWF\&RGHZLWKUHVSHFWWRWKH3XUFKDVHG$VVHWV7KHSUH

EDQNUXSWF\VDOHDQGPDUNHWLQJSURFHVVDQGWKHSRVWEDQNUXSWF\VDOHSURFHVVHQJDJHGLQE\WKH

'HEWRUVDQGWKH%X\HULQFOXGLQJZLWKRXWOLPLWDWLRQWKHQHJRWLDWLRQDQGH[HFXWLRQRIWKH3XUFKDVH

$JUHHPHQWZDVLQJRRGIDLWKEDVHGXSRQDUP¶VOHQJWKEDUJDLQLQJZLWKRXWFROOXVLRQRUIUDXGRI

DQ\NLQGDQGZDVVXEVWDQWLYHO\DQGSURFHGXUDOO\IDLUWRDOOSDUWLHVLQLQWHUHVWLQDOOUHVSHFWV1HLWKHU

WKH'HEWRUVQRUWKH%X\HUKDVHQJDJHGLQDQ\FRQGXFWWKDWZRXOGSUHYHQWWKHDSSOLFDWLRQRIVHFWLRQ

 P RIWKH%DQNUXSWF\&RGHRUFDXVHWKHDSSOLFDWLRQRIRULPSOLFDWHVHFWLRQ Q RIWKH

%DQNUXSWF\&RGHWRWKH3XUFKDVH$JUHHPHQWRUWRWKHFRQVXPPDWLRQRIWKH6DOHDQGWUDQVIHURI

WKH 3XUFKDVHG $VVHWV DQG WKH $VVXPHG &RQWUDFWV WR WKH %X\HU  7KH %X\HU LV SXUFKDVLQJ WKH

3XUFKDVHG$VVHWV LQFOXGLQJWKH$VVXPHG&RQWUDFWV LQJRRGIDLWKDQGLVDJRRGIDLWKSXUFKDVHU

ZLWKLQWKHPHDQLQJRIVHFWLRQ P RIWKH%DQNUXSWF\&RGHDQGLVWKHUHIRUH HQWLWOHGWRWKH

SURWHFWLRQRIWKDWSURYLVLRQDQGRWKHUZLVHKDVSURFHHGHGLQJRRGIDLWKLQDOOUHVSHFWVLQFRQQHFWLRQ

ZLWKWKLVSURFHHGLQJLQWKDW L WKH%X\HUUHFRJQL]HGWKDWWKH'HEWRUVZHUHIUHHWRGHDOZLWKDQ\

RWKHUSDUW\LQWHUHVWHGLQDFTXLULQJWKH3XUFKDVHG$VVHWV LL WKH%X\HUIXOO\FRPSOLHGZLWKDOORI

WKH SURYLVLRQV RI WKH %DQNUXSWF\ &RGH LLL  WKHUH ZDV QR IUDXG FROOXVLRQ RU XQIDLU GHDOLQJ LQ

FRQQHFWLRQ ZLWK WKH SUHEDQNUXSWF\ VDOH DQG PDUNHWLQJ SURFHVV DQG WKH VDOH RI WKH 3XUFKDVHG

$VVHWV LY  WKH %X\HU KDV IXOO\ GLVFORVHG DOO RI LWV FRQQHFWLRQV ZLWK WKH 'HEWRUV Y  DOO

FRQVLGHUDWLRQ WR EH SDLG RU SURYLGHG WR WKH 'HEWRUV E\ WKH %X\HU DQG RWKHU DJUHHPHQWV RU

DUUDQJHPHQWVHQWHUHGLQWRE\WKH%X\HULQFRQQHFWLRQZLWKWKH6DOHKDYHEHHQGLVFORVHG YL WKH

%X\HUKDVQRWYLRODWHGVHFWLRQ Q RIWKH%DQNUXSWF\&RGHE\DQ\DFWLRQRULQDFWLRQDQG YLL 

                                                     

                Case 24-20576-CLC          Doc 29      Filed 10/13/24       Page 46 of 565



WKHQHJRWLDWLRQVDQGH[HFXWLRQRIWKH3XUFKDVH$JUHHPHQWDQGDQ\RWKHUDJUHHPHQWVRULQVWUXPHQWV

UHODWHG WKHUHWR ZHUH LQ JRRG IDLWK DQG IUHH IURP DQ\ FROOXVLRQ IUDXG RU XQIDLU GHDOLQJ  7KH

SURWHFWLRQVDIIRUGHGE\%DQNUXSWF\&RGHVHFWLRQ P DUHLQWHJUDOWRWKH6DOHDQGWKH%X\HU

ZRXOGQRWFRQVXPPDWHWKH6DOHZLWKRXWVXFKSURWHFWLRQV

          4    7KH 'HEWRUV KDYH IXOO FRUSRUDWH SRZHU DQG DXWKRULW\ WR H[HFXWH WKH 3XUFKDVH

$JUHHPHQW DQGDOORWKHUGRFXPHQWVFRQWHPSODWHGWKHUHE\ DQGWRFRQVXPPDWHWKH7UDQVDFWLRQV

FRQWHPSODWHGWKHUHLQDQGWKHVDOHRUWUDQVIHURIWKH3XUFKDVHG$VVHWVKDVEHHQGXO\DQGYDOLGO\

DXWKRUL]HGE\DOOQHFHVVDU\FRUSRUDWHDFWLRQVRQWKHSDUWRIWKH'HEWRUV¶HVWDWHV1RFRQVHQWVRU

DSSURYDOVRWKHUWKDQWKLV2UGHUDQGDVPD\EHH[SUHVVO\SURYLGHGIRULQWKH3XUFKDVH$JUHHPHQW

DUHUHTXLUHGE\WKH'HEWRUV¶HVWDWHVWRFRQVXPPDWHVXFK7UDQVDFWLRQV

          5    7KH'HEWRUVKDYHDGYDQFHGVRXQGEXVLQHVVUHDVRQVIRUHQWHULQJLQWRWKH3XUFKDVH

$JUHHPHQWDQGWUDQVIHUULQJRUDVVXPLQJDQGDVVLJQLQJ ZLWKUHVSHFWWRWKH$VVXPHG&RQWUDFWV 

WKH3XUFKDVHG$VVHWVDVPRUHIXOO\VHWIRUWKLQWKH6DOH0RWLRQDQGWKH3XUFKDVH$JUHHPHQWDQG

DVGHPRQVWUDWHGDWWKH6DOH+HDULQJDQGLWLVHQWLUHO\IDLUWRDOOSDUWLHVLQLQWHUHVWDQGDUHDVRQDEOH

H[HUFLVHE\WKH'HEWRUVRIWKH'HEWRUV¶EXVLQHVVMXGJPHQWWRWUDQVIHURUDVVXPHDQGDVVLJQ ZLWK

UHVSHFW WR WKH $VVXPHG &RQWUDFWV  WKH 3XUFKDVHG $VVHWV WR WKH %X\HU DQG WR FRQVXPPDWH WKH

7UDQVDFWLRQVFRQWHPSODWHGE\WKH3XUFKDVH$JUHHPHQWZLWKWKH%X\HU7KH6DOHDQGWKH3XUFKDVH

3ULFHZHUHQHJRWLDWHGLQJRRGIDLWKDQGDUHHQWLUHO\IDLUDQGWKHSURGXFWRIJRRGIDLWKQHJRWLDWLRQV

DPRQJWKHSDUWLHV1RWZLWKVWDQGLQJDQ\UHTXLUHPHQWIRUDSSURYDORUFRQVHQWE\DQ\SHUVRQWKH

WUDQVIHURIWKH3XUFKDVHG$VVHWVWRWKH%X\HUXQGHUWKLV3XUFKDVH$JUHHPHQWDQGWKLV2UGHUDQG

WKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG&RQWUDFWVUHSUHVHQWDOHJDOYDOLGDQGHIIHFWLYH

WUDQVIHURIWKH3XUFKDVHG$VVHWVWRWKH%X\HUZLWKDOOULJKWWLWOHDQGLQWHUHVWRIWKH'HEWRUVWRWKH

3XUFKDVHG$VVHWVIUHHDQGFOHDURIDQ\/LHQVDQG,QWHUHVWV7KH%X\HUVKDOOQRWDVVXPHRUEHFRPH

                                                     

                Case 24-20576-CLC          Doc 29      Filed 10/13/24      Page 47 of 565



OLDEOHIRUDQ\/LHQVDQG,QWHUHVWVUHODWLQJWRWKH3XUFKDVHG$VVHWVEHLQJVROGE\WKH'HEWRUVRWKHU

WKDQIRU$VVXPHG/LDELOLWLHVDQG3HUPLWWHG/LHQVDQGH[FHSWDVRWKHUZLVHSURYLGHGKHUHLQ

          6    ([FHSWZLWKUHVSHFWWR$VVXPHG/LDELOLWLHVDQGWKH3HUPLWWHG/LHQVWKDWWKH%X\HU

KDV DJUHHG WR SHUPLW WR VXUYLYH WKH &ORVLQJ SXUVXDQW WR WKH H[SUHVV WHUPV RI WKH 3XUFKDVH

$JUHHPHQWWKH/LHQVVKDOODWWDFKWRWKHFRQVLGHUDWLRQWREHUHFHLYHGE\WKH'HEWRUV LIDQ\ LQWKH

VDPHSULRULW\DQGVXEMHFWWRWKHVDPHGHIHQVHVDQGDYRLGDELOLW\LIDQ\DVEHIRUHWKHFORVLQJRIWKH

7UDQVDFWLRQV WKH ³&ORVLQJ´  DQG WKH %X\HU ZRXOG QRW HQWHU LQWR WKH 3XUFKDVH $JUHHPHQW WR

SXUFKDVHWKH3XUFKDVHG$VVHWVRUSURFHHGWRWKH&ORVLQJRWKHUWKDQIUHHDQGFOHDURI/LHQVDQG

,QWHUHVWV

          7    7KHWUDQVIHURIWKH3XUFKDVHG$VVHWVWRWKH%X\HUIUHHDQGFOHDURIDQ\/LHQVDQG

,QWHUHVWVUHODWLQJWRWKH3XUFKDVHG$VVHWVZLOOQRWUHVXOWLQDQ\XQGXHEXUGHQRUSUHMXGLFHWRDQ\

KROGHUVRIDQ\/LHQVEHFDXVHDOOVXFK/LHQVRU,QWHUHVWVRIDQ\NLQGRUQDWXUHZKDWVRHYHUVKDOO

DWWDFKWRWKHQHWSURFHHGV LIDQ\ RIWKHVDOHRIWKH3XUFKDVHG$VVHWVUHFHLYHGE\WKH'HEWRUVLQ

WKHRUGHURIWKHLUSULRULW\ZLWKWKHVDPHYDOLGLW\IRUFHDQGHIIHFWDVH[LVWHGSULRUWR&ORVLQJDV

DJDLQVWWKH3XUFKDVHG$VVHWVDQGVXEMHFWWRDQ\FODLPVDQGGHIHQVHVWKH'HEWRUVRURWKHUSDUWLHV

PD\ SRVVHVV ZLWK UHVSHFW WKHUHWR $OO SHUVRQV KDYLQJ /LHQV RU ,QWHUHVWV RI DQ\ NLQG RU QDWXUH

ZKDWVRHYHUDJDLQVWRULQDQ\RIWKH'HEWRUVDQGRUWKH3XUFKDVHG$VVHWVVKDOOEHIRUHYHUEDUUHG

HVWRSSHGDQGSHUPDQHQWO\HQMRLQHGIURPSXUVXLQJRUDVVHUWLQJVXFK/LHQV VXEMHFWWR$VVXPHG

/LDELOLWLHV DQG WKH 3HUPLWWHG /LHQV WKDW WKH %X\HU KDV DJUHHG WR SHUPLW WR VXUYLYH WKH &ORVLQJ

SXUVXDQWWRWKHH[SUHVVWHUPVRIWKH3XUFKDVH$JUHHPHQW DJDLQVWWKH%X\HU3DUWLHV DVGHILQHG

EHORZ DQ\RIWKHLUUHVSHFWLYHDVVHWVSURSHUW\VXFFHVVRUVRUDVVLJQVRUWKH3XUFKDVHG$VVHWV

          8    7KH'HEWRUVPD\VHOOWKH3XUFKDVHG$VVHWVIUHHDQGFOHDURIDQ\/LHQVDQG,QWHUHVWV

RIDQ\NLQGRUQDWXUHZKDWVRHYHUEHFDXVHLQHDFKFDVHRQHRUPRUHRIWKHVWDQGDUGVVHWIRUWKLQ

                                                     

                Case 24-20576-CLC          Doc 29      Filed 10/13/24      Page 48 of 565



VHFWLRQ I RIWKH%DQNUXSWF\&RGHKDVEHHQVDWLVILHG7KH L KROGHUVRI/LHQVDQG LL WKH

1RQ'HEWRU &RXQWHUSDUWLHV WR WKH  &RQWUDFWV ZKR GLG QRW REMHFW RU ZKR ZLWKGUHZ WKHLU

REMHFWLRQVWRWKHVDOHRIWKH3XUFKDVHG$VVHWV LQFOXGLQJ$VVXPHG&RQWUDFWV DQGWKH6DOH0RWLRQ

DUHGHHPHGWRKDYHFRQVHQWHGSXUVXDQWWRVHFWLRQ I  RIWKH%DQNUXSWF\&RGH([FHSWDV

VHW IRUWK EHORZ DQ\ REMHFWLRQV WR WKH 6DOH 0RWLRQ LQFOXGLQJ REMHFWLRQV E\ WKH QRQ'HEWRU

&RXQWHUSDUWLHVWRWKH'HVLUHG&RQWUDFWVKDYHEHHQRYHUUXOHGRUUHVROYHG7KRVHKROGHUVRI

/LHQVZKRGLGREMHFWLIDQ\IDOOZLWKLQRQHRUPRUHRIWKHRWKHUVXEVHFWLRQVRIVHFWLRQ I RI

WKH %DQNUXSWF\ &RGH DQG DUH DGHTXDWHO\ SURWHFWHG E\ KDYLQJ WKHLU /LHQV LI DQ\ DWWDFK WR WKH

SURFHHGVLIDQ\RIWKH6DOHRIWKH3XUFKDVHG$VVHWVXOWLPDWHO\DWWULEXWDEOHWRWKHSURSHUW\DJDLQVW

RU LQ ZKLFK WKH\ FODLP RU PD\ FODLP DQ\ /LHQV ZLWK VXFK /LHQV EHLQJ VXEMHFW WR WUHDWPHQW DV

SUHVFULEHGLQDQRUGHURIWKLV&RXUWLQFOXGLQJDQRUGHUFRQILUPLQJDQ\FKDSWHUSODQ

          9    7KH %X\HU ZRXOG QRW KDYH HQWHUHG LQWR WKH 3XUFKDVH $JUHHPHQW DQG ZRXOG QRW

FRQVXPPDWHWKH7UDQVDFWLRQVFRQWHPSODWHGWKHUHE\WKXVDGYHUVHO\DIIHFWLQJWKH'HEWRUVDQGWKHLU

HVWDWHVDQGWKHLUFUHGLWRUV L LIWKHVDOHRIWKH3XUFKDVHG$VVHWVZDVQRWIUHHDQGFOHDURIDOO/LHQV

DQG,QWHUHVWVLQFOXGLQJZLWKRXWOLPLWDWLRQDQ\ULJKWV/LHQVRUFODLPVEDVHGRQDQ\VXFFHVVRURU

WUDQVIHUHHOLDELOLW\RU LL LIWKH%X\HUZRXOGRULQWKHIXWXUHFRXOGEHOLDEOHIRUDQ\/LHQVDQG

,QWHUHVWV LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DQ\ ULJKWV /LHQV RU &ODLPV EDVHG RQ DQ\ VXFFHVVRU RU

WUDQVIHUHHOLDELOLW\7KH%X\HUZLOOQRWFRQVXPPDWHWKH7UDQVDFWLRQVXQOHVVWKLV&RXUWH[SUHVVO\

RUGHUVWKDWQRQHRIWKH%X\HULWVDIILOLDWHVRUWKHLUUHVSHFWLYHOHQGHUVRUILQDQFLQJVRXUFHVDQG

HDFKRIWKHLUUHVSHFWLYHSUHVHQWRUFRQWHPSODWHGPHPEHUVRUVKDUHKROGHUV WKH³%X\HU3DUWLHV´ 

ZLOOKDYHDQ\OLDELOLW\ZKDWVRHYHUZLWKUHVSHFWWRRUEHUHTXLUHGWRVDWLVI\LQDQ\PDQQHUZKHWKHU

DWODZRUHTXLW\RUE\SD\PHQWVHWRIIRURWKHUZLVHGLUHFWO\RULQGLUHFWO\DQ\/LHQVDQG,QWHUHVWV



                                                     

                  Case 24-20576-CLC          Doc 29      Filed 10/13/24       Page 49 of 565



    RWKHU WKDQ $VVXPHG /LDELOLWLHV DQG 3HUPLWWHG /LHQV  LQFOXGLQJ ULJKWV RU FODLPV EDVHG RQ DQ\

VXFFHVVRURUWUDQVIHUHHOLDELOLW\

           :     1RW VHOOLQJ WKH 3XUFKDVHG $VVHWV IUHH DQG FOHDU RI DOO /LHQV DQG ,QWHUHVWV ZRXOG

DGYHUVHO\LPSDFWWKH'HEWRUV¶HVWDWHVDQGWKHVDOHRI3XUFKDVHG$VVHWVRWKHUWKDQRQHIUHHDQG

FOHDURIDOO/LHQVDQG,QWHUHVWVZRXOGEHRIVXEVWDQWLDOO\OHVVYDOXHWRWKH'HEWRUV¶HVWDWHV

           ;     7KHVDOHRIWKH3XUFKDVHG$VVHWVRXWVLGHRIDSODQRIUHRUJDQL]DWLRQSXUVXDQWWRWKH

3XUFKDVH $JUHHPHQW QHLWKHU LPSHUPLVVLEO\ UHVWUXFWXUHV WKH ULJKWV RI WKH 'HEWRUV¶ FUHGLWRUV QRU

LPSHUPLVVLEO\GLFWDWHVWKHWHUPVRIDOLTXLGDWLQJSODQRUUHRUJDQL]DWLRQRIWKH'HEWRUV7KH6DOH

GRHVQRWFRQVWLWXWHDsub rosaFKDSWHUSODQ

           <     7KH'HEWRUVDQGWKH%X\HUKDYHWRWKHH[WHQWQHFHVVDU\VDWLVILHGWKHUHTXLUHPHQWV

RI VHFWLRQ  RI WKH %DQNUXSWF\ &RGH LQFOXGLQJ VXEVHFWLRQV  E  $  %  DQG  I  LQ

FRQQHFWLRQZLWKWKH6DOHDQGWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG&RQWUDFWV7KH%X\HU

KDVGHPRQVWUDWHGDGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHZLWKUHVSHFWWRWKH$VVXPHG&RQWUDFWV

SXUVXDQWWRVHFWLRQ E  & RIWKH%DQNUXSWF\&RGH

           =     7KHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG&RQWUDFWVSXUVXDQWWRWKHWHUPVRI

WKLV2UGHULVLQWHJUDOWRWKH3XUFKDVH$JUHHPHQWDQGLVLQWKHEHVWLQWHUHVWVRIWKH'HEWRUVWKHLU

HVWDWHVWKHLUVWDNHKROGHUVDQGRWKHUSDUWLHVLQLQWHUHVWDQGUHSUHVHQWVWKHH[HUFLVHE\WKH'HEWRUV

RIWKHLUVRXQGDQGSUXGHQWEXVLQHVVMXGJPHQWRQEHKDOIRIWKH'HEWRUV¶HVWDWHV

           $$    7KH$VVXPHG&RQWUDFWVDUHDVVLJQDEOHWRWKH%X\HUQRWZLWKVWDQGLQJDQ\SURYLVLRQV

FRQWDLQHGWKHUHLQWRWKHFRQWUDU\

           %%    7KHQRWLFHDQGRSSRUWXQLW\WRREMHFWSURYLGHGWRDOOSDUWLHVLQLQWHUHVWDVGHVFULEHG

KHUHLQIDLUO\DQGUHDVRQDEO\SURWHFWVWKHULJKWVRIDOOSDUWLHVLQLQWHUHVW



                                                       

                 Case 24-20576-CLC          Doc 29       Filed 10/13/24       Page 50 of 565



          &&    7KH'HEWRUVDQGWKH%X\HUZLOOEHDFWLQJLQJRRGIDLWKSXUVXDQWWRVHFWLRQ P 

RIWKH%DQNUXSWF\&RGHLQFORVLQJWKH7UDQVDFWLRQVFRQWHPSODWHGE\WKH3XUFKDVH$JUHHPHQWDW

DQ\WLPHRQRUDIWHUWKHHQWU\RIWKLV2UGHUDQGFDXVHKDVEHHQVKRZQDVWRZK\WKLV2UGHUVKRXOG

QRWEHVXEMHFWWRDQ\VWD\LQFOXGLQJZLWKRXWOLPLWDWLRQDVSURYLGHGE\%DQNUXSWF\5XOHV K 

DQG G DQGDQ\DSSOLFDEOH/RFDO5XOH

          ''    7KH7UDQVDFWLRQVFRQWHPSODWHGXQGHUWKH3XUFKDVH$JUHHPHQWGRQRWDPRXQWWRD

FRQVROLGDWLRQPHUJHURUde factoPHUJHURIWKH%X\HURQWKHRQHKDQGDQGWKH'HEWRUVDQGRU

WKH'HEWRUV¶HVWDWHVRQWKHRWKHUWKHUHLVQRWVXEVWDQWLDOFRQWLQXLW\EHWZHHQWKH%X\HURUWKH%X\HU

3DUWLHV RQ WKH RQH KDQG DQG WKH 'HEWRUV DQGRU WKH 'HEWRUV¶ HVWDWHV RQ WKH RWKHU WKHUH LV QR

FRQWLQXLW\RIHQWHUSULVHEHWZHHQWKH'HEWRUVDQGRUWKH'HEWRUV¶HVWDWHVDQGWKH%X\HURUWKH%X\HU

3DUWLHVQHLWKHUDUHWKH%X\HURUWKH%X\HU3DUWLHVDQDOWHUHJRRUDPHUHFRQWLQXDWLRQRIWKH'HEWRUV

RUWKH'HEWRUV¶HVWDWHVDQGWKH%X\HUDQGWKH%X\HU3DUWLHVDUHQRWVXFFHVVRUVWRWKH'HEWRUVRU

WKH'HEWRUV¶HVWDWHV

          ((    7KHWRWDOFRQVLGHUDWLRQSURYLGHGE\WKH%X\HUIRUWKH3XUFKDVHG$VVHWVFRQVWLWXWHV

    D UHDVRQDEO\HTXLYDOHQWYDOXHXQGHUWKH%DQNUXSWF\&RGHDQGWKH8QLIRUP)UDXGXOHQW7UDQVIHU

$FW E  HQWLUHO\ IDLU FRQVLGHUDWLRQ XQGHU WKH 8QLIRUP )UDXGXOHQW &RQYH\DQFH $FW DQG F 

UHDVRQDEO\HTXLYDOHQWYDOXHHQWLUHO\IDLUFRQVLGHUDWLRQDQGIDLUYDOXHXQGHUDQ\RWKHUDSSOLFDEOH

ODZVLQFOXGLQJWKHODZVRIWKH8QLWHG6WDWHVDQ\VWDWHWHUULWRU\RUSRVVHVVLRQRUWKH'LVWULFWRI

&ROXPELDIRUWKH3XUFKDVHG$VVHWV

          ))    7LPHLVRIWKHHVVHQFHLQFRQVXPPDWLQJWKH6DOH,QRUGHUWRPD[LPL]HWKHYDOXH

RIWKH3XUFKDVHG$VVHWVLWLVHVVHQWLDOWKDWWKHVDOHRIWKH3XUFKDVHG$VVHWVRFFXUZLWKLQWKHWLPH

FRQVWUDLQWVVHWIRUWKLQWKH3XUFKDVH$JUHHPHQWDQGWKH',3&UHGLW$JUHHPHQW$FFRUGLQJO\WKHUH

LVFDXVHWROLIWWKHVWD\VFRQWHPSODWHGE\%DQNUXSWF\5XOHVDQG

                                                       

                 Case 24-20576-CLC         Doc 29      Filed 10/13/24      Page 51 of 565



          **    $WDQGHIIHFWLYHDVRIWKH&ORVLQJWKH%X\HUVKDOODVVXPHVROHUHVSRQVLELOLW\IRU

SD\LQJDQGVDWLVI\LQJWKH$VVXPHG/LDELOLWLHVLQFOXGLQJDOOOLDELOLWLHVDQGREOLJDWLRQVRIWKH6HOOHUV

UHODWHGWRRUDULVLQJDIWHUWKH&ORVLQJXQGHUWKH$VVXPHG&RQWUDFWV)RUWKHDYRLGDQFHRIGRXEW

QRWKLQJLQWKLV2UGHU LQFOXGLQJZLWKRXWOLPLWDWLRQDQ\SURYLVLRQVLQWKLV2UGHUUHJDUGLQJWKHVDOH

WUDQVIHURUFRQYH\DQFHRIWKH3XUFKDVHG$VVHWVIUHHDQGFOHDURI/LHQVH[FHSWIRU3HUPLWWHG/LHQV

DQG$VVXPHG/LDELOLWLHV QRULQWKH3XUFKDVH$JUHHPHQWVKDOOEHFRQVWUXHGWRPHDQWKDWWKH%X\HU

LV QRW DVVXPLQJ IURP WKH 'HEWRUV DQG WKHUHDIWHU EHFRPLQJ VROHO\ UHVSRQVLEOH IRU WKH SD\PHQW

SHUIRUPDQFHDQGGLVFKDUJHRIWKH$VVXPHG/LDELOLWLHV

          ++    $IWHUWKH&ORVLQJWKH'HEWRUVVKDOOKDYHQROLDELOLW\ZKDWVRHYHUZLWKUHVSHFWWRWKH

$VVXPHG/LDELOLWLHV7KH%X\HUDQGWKH%X\HU3DUWLHVVKDOOKDYHQRREOLJDWLRQVZLWKUHVSHFWWR

DQ\/LHQVDQG,QWHUHVWVRIWKH'HEWRUV

    12:7+(5()25(%$6('8321$//2)7+()25(*2,1*,7,6+(5(%<
25'(5('$'-8'*('$1''(&5(('7+$7
               7KHUHOLHIUHTXHVWHGLQWKH6DOH0RWLRQLV*5$17('DVVHWIRUWKKHUHLQDQGWKH

3XUFKDVH$JUHHPHQWLVDSSURYHGVXEMHFWWRWKHWHUPVDQGFRQGLWLRQVFRQWDLQHGKHUHLQ7KHUHOLHI

UHTXHVWHGLQWKH6DOH0RWLRQLVJUDQWHGDVVHWIRUWKKHUHLQDQGWKH3XUFKDVH$JUHHPHQWLVDSSURYHG

VXEMHFWWRWKHWHUPVDQGFRQGLWLRQVFRQWDLQHGKHUHLQ7KH6DOH0RWLRQFRPSOLHVZLWKDOODVSHFWV

RI%DQNUXSWF\5XOHVDQGDQG/RFDO5XOHV &  DQG

               ([FHSW DV RWKHUZLVH VHW IRUWK KHUHLQ DOO REMHFWLRQV UHVSRQVHV UHVHUYDWLRQV RI

ULJKWVDQGUHTXHVWVIRUFRQWLQXDQFHFRQFHUQLQJWKH6DOH0RWLRQDUHUHVROYHGLQDFFRUGDQFHZLWK

WKHWHUPVRIWKLV2UGHUDQGDVVHWIRUWKLQWKHUHFRUGRIWKH6DOH+HDULQJ7RWKHH[WHQWDQ\VXFK

REMHFWLRQUHVSRQVHUHVHUYDWLRQRIULJKWVRUUHTXHVWIRUFRQWLQXDQFHZDVQRWRWKHUZLVHZLWKGUDZQ

ZDLYHGRUVHWWOHGVXFKDUHKHUHE\RYHUUXOHGDQGGHQLHGRQWKHPHULWVZLWKSUHMXGLFH


                                                     

                Case 24-20576-CLC          Doc 29      Filed 10/13/24       Page 52 of 565



              7KH VDOH RI WKH 3XUFKDVHG $VVHWV WKH WHUPV DQG FRQGLWLRQV RI WKH 3XUFKDVH

$JUHHPHQW LQFOXGLQJ DOO VFKHGXOHV DQG H[KLELWV DIIL[HG WKHUHWR  DQG WKH 7UDQVDFWLRQV

FRQWHPSODWHGWKHUHE\EHDQGKHUHE\DUHDXWKRUL]HGDQGDSSURYHG

              7KHVDOHRIWKH3XUFKDVHG$VVHWVDQGWKHFRQVLGHUDWLRQSURYLGHGXQGHUWKH3XUFKDVH

$JUHHPHQWDUHIDLUDQGUHDVRQDEOHDQGVKDOOEHGHHPHGIRUDOOSXUSRVHVWRFRQVWLWXWHDWUDQVIHUIRU

UHDVRQDEO\ HTXLYDOHQW YDOXH DQG IDLU FRQVLGHUDWLRQ XQGHU WKH %DQNUXSWF\ &RGH DQG DQ\ RWKHU

DSSOLFDEOHODZ

              1RWLFH RI WKH 6DOH +HDULQJ ZDV IDLU HTXLWDEOH SURSHU DQG VXIILFLHQW XQGHU WKH

FLUFXPVWDQFHV DQG FRPSOLHG LQ DOO UHVSHFWV ZLWK VHFWLRQ    RI WKH %DQNUXSWF\ &RGH

%DQNUXSWF\5XOHVDQGWKH/RFDO5XOHVDQGQRRWKHURUIXUWKHUQRWLFHLV

UHTXLUHG

              7KH'HEWRUVLQWUDQVIHUULQJWKH3XUFKDVHG$VVHWVSXUVXDQWWRWKLV2UGHUDQGVHFWLRQ

RIWKH%DQNUXSWF\&RGHDUHGHHPHGXQGHUVHFWLRQ D RIWKH%DQNUXSWF\&RGHWRKDYH

DOOULJKWVDQGSRZHUVWRSHUIRUPDOOWKHIXQFWLRQVDQGGXWLHVRIDWUXVWHHVHUYLQJLQDEDQNUXSWF\

FDVHDQGZLOOWUDQVIHUWKH3XUFKDVHG$VVHWVSXUVXDQWWRWKLV2UGHU

              6XEMHFWWRWKHWHUPVRIWKLV2UGHUWKHSULYDWHVDOHRIWKH3XUFKDVHG$VVHWVWKHWHUPV

DQGFRQGLWLRQVRIWKH3XUFKDVH$JUHHPHQW LQFOXGLQJDOOVFKHGXOHVDQGH[KLELWVDIIL[HGWKHUHWR 

DQGWKH7UDQVDFWLRQVFRQWHPSODWHGWKHUHE\VKDOOEHDQGKHUHE\DUHDXWKRUL]HGDQGDSSURYHGLQ

DOOUHVSHFWVDQGVKDOOEHHQIRUFHDEOHDJDLQVWHDFKRIWKH3DUWLHVWKHUHWR

              7KH IDLOXUH VSHFLILFDOO\ WR LQFOXGH DQ\ SDUWLFXODU SURYLVLRQV RI WKH 3XUFKDVH

$JUHHPHQW RU DQ\ RI WKH UHODWHG GRFXPHQWV DQFLOODU\ GRFXPHQWV RU LQVWUXPHQWV H[HFXWHG LQ

FRQQHFWLRQWKHUHZLWKLQWKLV2UGHUVKDOOQRWGLPLQLVKRULPSDLUWKHHIIHFWLYHQHVVDQGIRUFHRIVXFK

SURYLVLRQ GRFXPHQW 3XUFKDVH $JUHHPHQW RU LQVWUXPHQW LW EHLQJ WKH LQWHQW RI WKH &RXUW WKH

                                                     

                 Case 24-20576-CLC         Doc 29      Filed 10/13/24      Page 53 of 565



'HEWRUV DQG WKH %X\HU WKDW WKH 3XUFKDVH $JUHHPHQW DQG HDFK UHODWHG GRFXPHQW DQFLOODU\

GRFXPHQW RU LQVWUXPHQW EH DXWKRUL]HG DQG DSSURYHG LQ LWV HQWLUHW\ ZLWK VXFK DPHQGPHQWV

VXSSOHPHQWV DQG DQFLOODU\ GRFXPHQWV ZLWK UHVSHFW WKHUHWR DV PD\ EH PDGH E\ WKH SDUWLHV LQ

DFFRUGDQFHZLWKWKH3XUFKDVH$JUHHPHQWDQGWKLV2UGHUSULRUWRWKH&ORVLQJ'DWHDQGHDFKVXFK

SURYLVLRQRIWKH3XUFKDVH$JUHHPHQWVKDOOEHHQIRUFHDEOHE\RUDJDLQVWHDFKRIWKH3DUWLHVWKHUHWR

               7KH 3XUFKDVH $JUHHPHQW DQG DQ\ UHODWHG DQFLOODU\ GRFXPHQW V  RU RWKHU

LQVWUXPHQWVPD\EHPRGLILHGDPHQGHGRUVXSSOHPHQWHGE\WKHSDUWLHVWKHUHWRLQDFFRUGDQFHZLWK

WKH WHUPV WKHUHRI ZLWKRXW IXUWKHU RUGHU RI WKH &RXUW SURYLGHG WKDW DQ\ VXFK PRGLILFDWLRQ

DPHQGPHQW RU VXSSOHPHQW LV QRW PDWHULDO DQG VXEVWDQWLDOO\ FRQIRUPV WR DQG HIIHFWXDWHV WKH

3XUFKDVH$JUHHPHQWDQGDQ\UHODWHGDQFLOODU\GRFXPHQWV

              7KH SULYDWH VDOH RI WKH 3XUFKDVHG $VVHWV DQG WKH FRQVLGHUDWLRQ SURYLGHG E\ WKH

%X\HU XQGHU WKH 3XUFKDVH $JUHHPHQW DUH HQWLUHO\ IDLU DQG UHDVRQDEOH UHSUHVHQW WKH KLJKHVW RU

RWKHUZLVHEHVWRIIHUIRUWKH3XUFKDVHG$VVHWVDQGVKDOOEHGHHPHGIRUDOOSXUSRVHVWRFRQVWLWXWHD

WUDQVIHUIRUUHDVRQDEO\HTXLYDOHQWYDOXHDQGIDLUFRQVLGHUDWLRQXQGHUWKH%DQNUXSWF\&RGHDQGDQ\

RWKHUDSSOLFDEOHODZDVWKHUHVXOWRIDIDLUDQGH[WHQVLYHPDUNHWLQJDQGVDOHSURFHVV7KH6DOHRI

WKH3XUFKDVHG$VVHWVWRWKH%X\HULVDOHJDOYDOLGDQGHIIHFWLYHWUDQVIHURIWKH3XUFKDVHG$VVHWV

QRWZLWKVWDQGLQJDQ\UHTXLUHPHQWIRUDSSURYDORUFRQVHQWRIDQ\HQWLW\

              7KH%X\HULVKHUHE\JUDQWHGDQGLVHQWLWOHGWRDOOWKHSURWHFWLRQVSURYLGHGWRDJRRG

IDLWKSXUFKDVHUXQGHUVHFWLRQ P RIWKH%DQNUXSWF\&RGHLQFOXGLQJZLWKUHVSHFWWRWKHWUDQVIHU

RIWKH$VVXPHG&RQWUDFWVDVSDUWRIWKHVDOHRIWKH3XUFKDVHG$VVHWVSXUVXDQWWRVHFWLRQRIWKH

%DQNUXSWF\&RGHDQGWKLV2UGHU

              7KH'HEWRUVDQGWKHLUHPSOR\HHVSURIHVVLRQDODGYLVRUVDQGDJHQWVVKDOOEHDQG

KHUHE\DUHDXWKRUL]HGDQGGLUHFWHGWRIXOO\DVVXPHSHUIRUPXQGHUFRQVXPPDWHDQGLPSOHPHQW

                                                     

                 Case 24-20576-CLC         Doc 29      Filed 10/13/24       Page 54 of 565



WKH WHUPV RI WKH 3XUFKDVH $JUHHPHQW WRJHWKHU ZLWK DQ\ DQG DOO DGGLWLRQDO LQVWUXPHQWV DQG

GRFXPHQWVWKDWPD\EHQHFHVVDU\RUGHVLUDEOHLQFRQQHFWLRQZLWKLPSOHPHQWLQJDQGHIIHFWXDWLQJ

WKH WHUPV RI WKH 3XUFKDVH $JUHHPHQW WKLV 2UGHU DQGRU WKH VDOH RI WKH 3XUFKDVHG $VVHWV

LQFOXGLQJ ZLWKRXW OLPLWDWLRQ WKH FHUWLILFDWHV GHHGV DVVLJQPHQWV DQG RWKHU LQVWUXPHQWV RI

WUDQVIHUDQGWRWDNHDOOIXUWKHUDFWLRQVDVPD\UHDVRQDEO\EHUHTXHVWHGE\WKH%X\HUIRUWKHSXUSRVH

RI DVVLJQLQJ WUDQVIHUULQJ JUDQWLQJ FRQYH\LQJ DQG FRQIHUULQJ WR WKH %X\HU RU UHGXFLQJ WR

SRVVHVVLRQ DQ\ RU DOO RI WKH 3XUFKDVHG $VVHWV RU $VVXPHG /LDELOLWLHV DV PD\ EH QHFHVVDU\ RU

DSSURSULDWHWRWKHSHUIRUPDQFHRIWKHREOLJDWLRQVRIWKH'HEWRUV¶HVWDWHVLQDFFRUGDQFHZLWKRUDV

FRQWHPSODWHGE\WKH3XUFKDVH$JUHHPHQWZLWKRXWDQ\IXUWKHUFRUSRUDWHDFWLRQRURUGHUVRIWKLV

&RXUW

              7KH'HEWRUVDQGHDFKRWKHUSHUVRQRUHQWLW\KDYLQJGXWLHVRUUHVSRQVLELOLWLHVXQGHU

WKH3XUFKDVH$JUHHPHQWDQ\DJUHHPHQWVRULQVWUXPHQWVUHODWHGWKHUHWRRUWKLV2UGHUDQGWKHLU

UHVSHFWLYHGLUHFWRUVRIILFHUVPDQDJHUVHPSOR\HHVPHPEHUVDJHQWVUHSUHVHQWDWLYHVDWWRUQH\V

DQGRWKHUUHWDLQHGSURIHVVLRQDOVDUHDXWKRUL]HGDQGHPSRZHUHGVXEMHFWWRWKHWHUPVDQGFRQGLWLRQV

FRQWDLQHG LQ WKH 3XUFKDVH $JUHHPHQW DQG WKLV 2UGHU WR FDUU\ RXW DOO RI WKH SURYLVLRQV RI WKH

3XUFKDVH$JUHHPHQW DQGDQ\UHODWHG DJUHHPHQWVRULQVWUXPHQWVWRLVVXHH[HFXWHGHOLYHUILOH

DQGUHFRUGDVDSSURSULDWHWKHGRFXPHQWVHYLGHQFLQJDQGFRQVXPPDWLQJWKH3XUFKDVH$JUHHPHQW

DQG DQ\ UHODWHG DJUHHPHQWV RU LQVWUXPHQWV WR WDNH DQ\ DQG DOO DFWLRQV FRQWHPSODWHG E\ WKH

3XUFKDVH$JUHHPHQWDQ\UHODWHGDJUHHPHQWVRULQVWUXPHQWVRUWKLV2UGHUDQGWRLVVXHH[HFXWH

GHOLYHU ILOH DQG UHFRUG DV DSSURSULDWH VXFK RWKHU FRQWUDFWV LQVWUXPHQWV UHOHDVHV LQGHQWXUHV

PRUWJDJHVGHHGVELOOVRIVDOHDVVLJQPHQWVOHDVHVRURWKHUDJUHHPHQWV RUGRFXPHQWVHDFK DV

DSSOLFDEOHDQGWRSHUIRUPVXFKRWKHUDFWVDQGH[HFXWHDQGGHOLYHUVXFKRWKHUGRFXPHQWVDVDUH

FRQVLVWHQWZLWKDQGQHFHVVDU\GHVLUDEOHRUDSSURSULDWHWRLPSOHPHQWHIIHFWXDWHDQGFRQVXPPDWH

                                                     

                Case 24-20576-CLC          Doc 29       Filed 10/13/24       Page 55 of 565



WKH 3XUFKDVH $JUHHPHQW DQ\ UHODWHG DJUHHPHQWV RU LQVWUXPHQWV DQG WKLV 2UGHU DQG WKH

7UDQVDFWLRQVFRQWHPSODWHGWKHUHE\DQGKHUHE\DOOZLWKRXWIXUWKHUDSSOLFDWLRQWRRURUGHURIWKH

&RXUW RU IXUWKHU DFWLRQ E\ WKHLU UHVSHFWLYH GLUHFWRUV RIILFHUV PDQDJHUV HPSOR\HHV PHPEHUV

DJHQWVUHSUHVHQWDWLYHVDQGDWWRUQH\VDQGZLWKOLNHHIIHFWDVLIVXFKDFWLRQVKDGEHHQWDNHQE\

XQDQLPRXV DFWLRQ RI WKH UHVSHFWLYH GLUHFWRUV RIILFHUV PDQDJHUV HPSOR\HHV PHPEHUV DJHQWV

UHSUHVHQWDWLYHVDQGDWWRUQH\VRIVXFKHQWLWLHV7KH'HEWRUV¶VHFUHWDU\RUDQ\DVVLVWDQWVHFUHWDU\

RU&KLHI5HVWUXFWXULQJ2IILFHURUDQ\RWKHUDXWKRUL]HGLQGLYLGXDORQEHKDOIRIWKH'HEWRUVVKDOO

EH DQG KHUHE\ LV DXWKRUL]HG WR FHUWLI\ RU DWWHVW WR DQ\ RI WKH IRUHJRLQJ DFWLRQV EXW QR VXFK

FHUWLILFDWLRQ RU DWWHVWDWLRQ VKDOO EH UHTXLUHG WR PDNH DQ\ VXFK DFWLRQ YDOLG ELQGLQJ DQG

HQIRUFHDEOH 7KH'HEWRUVDQGWKH%X\HUDUHIXUWKHUDXWKRUL]HGDQGHPSRZHUHGWRFDXVHWREH

ILOHG ZLWK WKH VHFUHWDU\ RI VWDWH RI DQ\ VWDWH RU RWKHU DSSOLFDEOH RIILFLDOV RI DQ\ DSSOLFDEOH

*RYHUQPHQWDO(QWLW\DQ\DQGDOOFHUWLILFDWHVDJUHHPHQWVRUDPHQGPHQWVQHFHVVDU\RUDSSURSULDWH

WRHIIHFWXDWHWKH7UDQVDFWLRQVFRQWHPSODWHGE\WKH3XUFKDVH$JUHHPHQWDQ\UHODWHGDJUHHPHQWV

DQG WKLV 2UGHU DQG DOO VXFK RWKHU DFWLRQV ILOLQJV RU UHFRUGLQJV DV PD\ EH UHTXLUHG XQGHU

DSSURSULDWH SURYLVLRQV RI WKH DSSOLFDEOH ODZV RI DOO DSSOLFDEOH *RYHUQPHQWDO (QWLWLHV RU DV WKH

'HEWRUVPD\GHWHUPLQHDUHQHFHVVDU\RUDSSURSULDWH7KHH[HFXWLRQRIDQ\VXFKGRFXPHQWRUWKH

WDNLQJRIDQ\VXFKDFWLRQVKDOOEHDQGKHUHE\LVGHHPHGFRQFOXVLYHHYLGHQFHRIWKHDXWKRULW\RI

VXFKSHUVRQWRVRDFW:LWKRXWOLPLWLQJWKHJHQHUDOLW\RIWKHIRUHJRLQJWKLV2UGHUVKDOOFRQVWLWXWH

DOODSSURYDOVDQGFRQVHQWVLIDQ\UHTXLUHGE\WKHFRUSRUDWHODZVRIWKHVWDWHVRIIRUPDWLRQRIHDFK

FRUSRUDWH 'HEWRU DQG DOO RWKHU DSSOLFDEOH EXVLQHVV FRUSRUDWLRQ WUXVW DQG RWKHU ODZV RI WKH

DSSOLFDEOH *RYHUQPHQWDO (QWLWLHV WR WKH IXOOHVW H[WHQW SHUPLWWHG E\ ODZ ZLWK UHVSHFW WR WKH

LPSOHPHQWDWLRQ DQG FRQVXPPDWLRQ RI WKH 3XUFKDVH $JUHHPHQW DQ\ UHODWHG DJUHHPHQWV RU

LQVWUXPHQWVDQGWKLV2UGHUDQGWKH7UDQVDFWLRQVFRQWHPSODWHGWKHUHE\DQGKHUHE\

                                                      

                 Case 24-20576-CLC           Doc 29      Filed 10/13/24        Page 56 of 565



              7RWKHIXOOHVWH[WHQWSHUPLWWHGE\ODZHIIHFWLYHDVRIWKH&ORVLQJ D WKHWUDQVIHU

RIWKH3XUFKDVHG$VVHWVWRWKH%X\HUVKDOOFRQVWLWXWHDOHJDOYDOLGDQGHIIHFWLYHWUDQVIHURIWKH

3XUFKDVHG$VVHWVQRWZLWKVWDQGLQJDQ\UHTXLUHPHQWIRUDSSURYDORUFRQVHQWE\DQ\3HUVRQDQGVKDOO

YHVW WKH %X\HU ZLWK DOO ULJKW WLWOH DQG LQWHUHVW RI WKH 'HEWRUV LQ DQG WR WKH 3XUFKDVHG $VVHWV

LQFOXGLQJ ZLWKRXW OLPLWDWLRQ ZLWK UHVSHFW WR LQWHOOHFWXDO SURSHUW\ LGHQWLILHG LQ WKH 3XUFKDVH

$JUHHPHQWDQGDOOWDQJLEOHDQGLQWDQJLEOHDVVHWVSHUVRQDOSURSHUW\JRRGZLOOEUDQGDQGUHODWHG

OLNHQHVVHV FRQVWLWXWLQJ 3XUFKDVHG $VVHWV IUHH DQG FOHDU RI DQ\ /LHQV DQG ,QWHUHVWV SXUVXDQW WR

VHFWLRQ I RIWKH%DQNUXSWF\&RGHDQG E WKHDVVXPSWLRQRIWKH$VVXPHG/LDELOLWLHVVKDOO

FRQVWLWXWHDOHJDOYDOLGDQGHIIHFWLYHDVVXPSWLRQE\WKH%X\HURIDOO$VVXPHG/LDELOLWLHV

              7KH VDOH RI WKH 3XUFKDVHG $VVHWV LV QRW VXEMHFW WR DYRLGDQFH SXUVXDQW WR DQ\

VWDWXWRU\RUFRPPRQODZIUDXGXOHQWFRQYH\DQFHRUIUDXGXOHQWWUDQVIHUWKHRULHVZKHWKHUXQGHUWKH

%DQNUXSWF\&RGHLQFOXGLQJZLWKRXWOLPLWDWLRQVHFWLRQ Q RUXQGHUWKHODZVRIWKH8QLWHG

6WDWHVDQ\VWDWHWHUULWRU\RUSRVVHVVLRQWKHUHRIRUWKH'LVWULFWRI&ROXPELDRUDQ\RWKHUDSSOLFDEOH

MXULVGLFWLRQZLWKODZVVXEVWDQWLDOO\VLPLODUWRWKHIRUHJRLQJ

              $WWKH&ORVLQJWKH'HEWRUVVKDOOEHDQGKHUHE\DUHDXWKRUL]HGHPSRZHUHGDQG

GLUHFWHGSXUVXDQWWRVHFWLRQV E DQGRIWKH%DQNUXSWF\&RGHWRWUDQVIHUDQ\DQGDOO

VXFK3XUFKDVHG$VVHWVWRWKH%X\HU7KHWUDQVIHURIWKH3XUFKDVHG$VVHWVVKDOOYHVWWKH%X\HU

ZLWKDOOULJKWWLWOHDQGLQWHUHVWRIWKH'HEWRUVWRWKH3XUFKDVHG$VVHWVLQHDFKLQVWDQFHIUHHDQG

FOHDURIDQ\/LHQVDQG,QWHUHVWVZLWKDOOVXFK/LHQVWRDWWDFKRQO\WRWKHSURFHHGVRIWKHVDOH LI

DQ\ ZLWKWKHVDPHSULRULW\YDOLGLW\IRUFHDQGHIIHFWLIDQ\DVWKH\KDGSULRUWRWKH&ORVLQJ'DWH

LQRUDJDLQVWWKH3XUFKDVHG$VVHWVVXEMHFWWRDOOFODLPVDQGGHIHQVHVWKH'HEWRUVPD\SRVVHVVZLWK

UHVSHFWWKHUHWR)ROORZLQJWKH&ORVLQJ'DWHQRKROGHURIDQ\/LHQVRU,QWHUHVWVLQWKH3XUFKDVHG

$VVHWVVKDOOLQWHUIHUHZLWKWKH%X\HU¶VHQMR\PHQWRIWKH3XUFKDVHG$VVHWVEDVHGRQRUUHODWHGWR

                                                       

                 Case 24-20576-CLC        Doc 29      Filed 10/13/24       Page 57 of 565



VXFK/LHQVRUDQ\DFWLRQVRURPLVVLRQVWKDWWKH'HEWRUVPD\WDNHLQWKH'HEWRUV¶EDQNUXSWF\FDVHV

DQGQRSHUVRQVKDOOWDNHDQ\DFWLRQWRSUHYHQWLQWHUIHUHZLWKRURWKHUZLVHHQMRLQFRQVXPPDWLRQ

RI WKH 7UDQVDFWLRQV FRQWHPSODWHG LQ RU E\ WKH 3XUFKDVH $JUHHPHQW RU WKLV 2UGHU DQG DQ\ VXFK

DFWLRQLVKHUHE\IRUHYHUEDUUHGHVWRSSHGDQGSHUPDQHQWO\HQMRLQHGE\WKLV2UGHU$OO3HUVRQVWKDW

DUHFXUUHQWO\LQSRVVHVVLRQRIVRPHRUDOORIWKH3XUFKDVHG$VVHWVDUHKHUHE\GLUHFWHGWRVXUUHQGHU

SRVVHVVLRQRIVXFK3XUFKDVHG$VVHWVWR%X\HUXSRQWKH&ORVLQJ'DWHRUDWVXFKODWHUWLPHDV%X\HU

UHDVRQDEO\UHTXHVWV

              7KHSURYLVLRQVRIWKLV2UGHUDXWKRUL]LQJWKHVDOHRIWKH3XUFKDVHG$VVHWVIUHHDQG

FOHDURIDQ\/LHQVDQG,QWHUHVWVVKDOOEHVHOIH[HFXWLQJDQGQHLWKHUWKH'HEWRUVQRUWKH%X\HUVKDOO

EH UHTXLUHG WR H[HFXWH RU ILOH UHOHDVHV WHUPLQDWLRQ VWDWHPHQWV DVVLJQPHQWV FRQVHQWV RU RWKHU

LQVWUXPHQWVWRHIIHFWXDWHFRQVXPPDWHDQGLPSOHPHQWWKHSURYLVLRQVRIWKLV2UGHU+RZHYHUWKH

'HEWRUV WKH %X\HU DQG HDFK RI WKHLU UHVSHFWLYH RIILFHUV HPSOR\HHV DWWRUQH\V RWKHU UHWDLQHG

SURIHVVLRQDOVDQGDJHQWVDUHKHUHE\DXWKRUL]HGDQGHPSRZHUHGWRWDNHDOODFWLRQVDQGH[HFXWHDQG

GHOLYHUDQ\DQGDOOGRFXPHQWVDQGLQVWUXPHQWVWKDWHLWKHUWKH'HEWRUVRUWKH%X\HUGHHPQHFHVVDU\

GHVLUDEOHRUDSSURSULDWHWRLPSOHPHQWDQGHIIHFWXDWHWKHWHUPVRIWKH3XUFKDVH$JUHHPHQWDQGWKLV

2UGHULQFOXGLQJDPHQGPHQWVWRWKH3XUFKDVH$JUHHPHQW

              2QRUEHIRUHWKH&ORVLQJ'DWHHDFKRIWKH'HEWRUVDQGWKH'HEWRUV¶FUHGLWRUVDV

WKHFDVHPD\EHDUHDXWKRUL]HGWRH[HFXWHVXFKGRFXPHQWVDQGWRWDNHDOORWKHUDFWLRQVDVPD\EH

QHFHVVDU\WRUHOHDVHHIIHFWLYHDVRIWKH&ORVLQJDQ\/LHQVDQG,QWHUHVWV VXEMHFWWRWKH3HUPLWWHG

/LHQV  RI DQ\ NLQG DJDLQVW WKH 3XUFKDVHG $VVHWV LI DQ\ DV PD\ KDYH EHHQ UHFRUGHG RU PD\

RWKHUZLVHH[LVW,IDQ\3HUVRQWKDWKDVILOHGILQDQFLQJVWDWHPHQWVRURWKHUGRFXPHQWVRUDJUHHPHQWV

HYLGHQFLQJDQ\/LHQVLQRUDJDLQVWWKH3XUFKDVHG$VVHWV VXEMHFWWRWKH3HUPLWWHG/LHQVWKDWWKH

%X\HUKDVDJUHHGWRSHUPLWWRVXUYLYHWKH&ORVLQJSXUVXDQWWRWKHH[SUHVVWHUPVRIWKH3XUFKDVH

                                                    

                 Case 24-20576-CLC        Doc 29      Filed 10/13/24      Page 58 of 565



$JUHHPHQW VKDOOQRWKDYHGHOLYHUHGWRWKH'HEWRUVSULRUWRWKH&ORVLQJDIWHUUHTXHVWWKHUHIRULQ

SURSHUIRUPIRUILOLQJDQGH[HFXWHGE\WKHDSSURSULDWHSDUWLHVWHUPLQDWLRQVWDWHPHQWVLQVWUXPHQWV

RIVDWLVIDFWLRQUHOHDVHVRUDJUHHPHQWVRIVLPLODULPSRUWRIDOOVXFK/LHQVWKDWWKH3HUVRQKDVZLWK

UHVSHFWWRWKH3XUFKDVHG$VVHWVHIIHFWLYHDVRIWKH&ORVLQJWKH'HEWRUVDQGWKH%X\HUDUHKHUHE\

DXWKRUL]HG WR H[HFXWH VXFK VWDWHPHQWV LQVWUXPHQWV UHOHDVHV DQG RWKHU GRFXPHQWV RQ EHKDOI RI

VXFK3HUVRQZLWKUHVSHFWWRVXFK3XUFKDVHG$VVHWVSULRUWRWKH&ORVLQJDQGWKH'HEWRUVDQGWKH

%X\HUDUHDXWKRUL]HGWRILOHVXFKGRFXPHQWVDIWHU&ORVLQJ7KH'HEWRUVDQGWKH%X\HUDUHKHUHE\

DXWKRUL]HGEXWQRWUHTXLUHGWR L ILOHUHJLVWHURURWKHUZLVHUHFRUGDFHUWLILHGFRS\RIWKLV2UGHU

LQWKHDSSOLFDEOHMXULVGLFWLRQZKLFKRQFHILOHGUHJLVWHUHGRURWKHUZLVHUHFRUGHGVKDOOFRQVWLWXWH

FRQFOXVLYHHYLGHQFHRIWKHUHOHDVHRIDOOVXFK/LHQVDQG,QWHUHVWV VXEMHFWWRWKH3HUPLWWHG/LHQV 

DJDLQVWWKH%X\HUDQGWKHDSSOLFDEOH3XUFKDVHG$VVHWVDQG LL VHHNLQWKLV&RXUWRUDQ\RWKHUFRXUW

WRFRPSHODSSURSULDWHSDUWLHVWRH[HFXWHWHUPLQDWLRQVWDWHPHQWVLQVWUXFWLRQVRIVDWLVIDFWLRQDQG

UHOHDVHVRIDOOVXFK/LHQVDQG,QWHUHVWV RWKHUWKDQ3HUPLWWHG/LHQV ZLWKUHVSHFWWRWKH3XUFKDVHG

$VVHWV  1RWZLWKVWDQGLQJ WKH IRUHJRLQJ WKH SURYLVLRQV RI WKLV 2UGHU DXWKRUL]LQJ WKH VDOH DQG

DVVLJQPHQW RI WKH 3XUFKDVHG $VVHWV IUHH DQG FOHDU RI /LHQV DQG ,QWHUHVWV RWKHU WKDQ 3HUPLWWHG

/LHQV VKDOOEHVHOIH[HFXWLQJDQGQRQHRIWKH'HEWRUV'HEWRUV¶IRUPHURUFXUUHQWFUHGLWRUVRUWKH

%X\HUVKDOOEHUHTXLUHGWRH[HFXWHRUILOHUHOHDVHVWHUPLQDWLRQVWDWHPHQWVDVVLJQPHQWVFRQVHQWV

RU RWKHU LQVWUXPHQWV LQ RUGHU WR HIIHFWXDWH FRQVXPPDWH DQG LPSOHPHQW WKH SURYLVLRQV RI WKLV

2UGHU

              7KH%X\HUVKDOOEHDXWKRUL]HGDVRIWKH&ORVLQJ'DWHWRRSHUDWHXQGHUDQ\OLFHQVH

SHUPLWDSSURYDOFHUWLILFDWHRIRFFXSDQF\DXWKRUL]DWLRQRSHUDWLQJSHUPLWUHJLVWUDWLRQSODQDQG

WKH OLNH RI DQ\ *RYHUQPHQWDO (QWLW\ UHODWLQJ WR WKH 3XUFKDVHG $VVHWV RU KHOG E\ WKH 'HEWRUV¶

HVWDWHVEXWVROHO\ZLWKUHVSHFWWRWKRVHWKDWDUHDEOHWREHWUDQVIHUUHGSULRUWRWKH&ORVLQJ'DWHDQG

                                                    

                Case 24-20576-CLC          Doc 29       Filed 10/13/24       Page 59 of 565



GRQRWUHTXLUHIXUWKHUFRQVHQWRUDXWKRUL]DWLRQE\D*RYHUQPHQW(QWLW\WRHIIHFWVXFKWUDQVIHUDQG

PDLQWDLQWKHUHODWHGDXWKRUL]DWLRQ7RWKHJUHDWHVWH[WHQWDYDLODEOHXQGHUDSSOLFDEOHODZDOOVXFK

OLFHQVHV SHUPLWV DSSURYDOV FHUWLILFDWHV RI RFFXSDQF\ DXWKRUL]DWLRQV RSHUDWLQJ SHUPLWV

UHJLVWUDWLRQVSODQVDQGWKHOLNHRIDQ\*RYHUQPHQWDO(QWLW\DUHGHHPHGWRKDYHEHHQDQGKHUHE\

DUH GHHPHG WR EH WUDQVIHUUHG WR WKH %X\HU DV RI WKH &ORVLQJ 'DWH  )XUWKHUPRUH IRU OLFHQVHV

SHUPLWVDQGDXWKRUL]DWLRQVXQDEOHWREHWUDQVIHUUHGSULRUWRWKH&ORVLQJ'DWHDQGRUWKDWGRUHTXLUH

IXUWKHUFRQVHQWRUDXWKRUL]DWLRQE\D*RYHUQPHQW(QWLW\WKHEXVLQHVVFRYHUHGE\WKH3XUFKDVHG

$VVHWVVKDOOFRQWLQXHRSHUDWLQJXQGHUDOOVXFKH[LVWLQJOLFHQVHVSHUPLWVDQGDXWKRUL]DWLRQVRIWKH

'HEWRUV LQ DFFRUGDQFH ZLWK DQ\ DJUHHPHQWV RU DUUDQJHPHQWV ZKLFK PD\ LQFOXGH EXW QRW EH

OLPLWHG WR D WUDQVLWLRQ VHUYLFHV DJUHHPHQW EHWZHHQ WKH SDUWLHV DV PD\ EH SHUPLWWHG E\ WKH

DSSOLFDEOH DQGDSSURSULDWHUHJXODWRU\DXWKRULW\ DQGPXWXDOO\DFFHSWDEOHWRWKH'HEWRUVDQGWKH

%X\HUZLWKWKHDGYLFHRIUHJXODWRU\FRXQVHOXQWLOVXFKOLFHQVHVSHUPLWVDQGDXWKRUL]DWLRQVKDYH

EHHQ WUDQVIHUUHG DQG FKDQJHG WR WKH QDPH RI WKH %X\HU E\ WKH DSSURSULDWH *RYHUQPHQW (QWLW\

LQFOXGLQJEXWQRWOLPLWHGWRORFDORFFXSDWLRQDOOLFHQVHVDQGDQ\RWKHUOLFHQVHVQHHGHGWRRSHUDWH

VXFK EXVLQHVV XQLQWHUUXSWHG  7R WKH H[WHQW WKH %X\HU FDQQRW RSHUDWH XQGHU DQ\ VXFK OLFHQVH

SHUPLWDSSURYDOFHUWLILFDWHRIRFFXSDQF\DXWKRUL]DWLRQRSHUDWLQJSHUPLWUHJLVWUDWLRQSODQDQG

WKH OLNH RI DQ\ *RYHUQPHQWDO (QWLW\ UHODWLQJ WR WKH 3XUFKDVHG $VVHWV LQ DFFRUGDQFH ZLWK WKH

SUHFHGLQJVHQWHQFHDQGWKRVHWKDWDUHQRWDEOHWREHWUDQVIHUUHGVXFKVKDOOUHPDLQLQHIIHFWDQG

ZLWKWKH'HEWRUVZKLOHWKH%X\HUZLWKWKHDVVLVWDQFHIURPWKH'HEWRUVLQDFFRUGDQFHZLWKDQ\

DJUHHPHQWV RU DUUDQJHPHQWV ZKLFK PD\ LQFOXGH EXW QRW EH OLPLWHG WR D WUDQVLWLRQ VHUYLFHV

DJUHHPHQWEHWZHHQWKHSDUWLHVDVPD\EHSHUPLWWHGE\WKHDSSOLFDEOHDQGDSSURSULDWHUHJXODWRU\

DXWKRULW\ DQG PXWXDOO\ DFFHSWDEOH WR WKH 'HEWRUV DQG WKH %X\HU ZLWK WKH DGYLFH RI UHJXODWRU\



                                                      

                 Case 24-20576-CLC        Doc 29      Filed 10/13/24      Page 60 of 565



FRXQVHO ZRUNV SURPSWO\ DQG GLOLJHQWO\ WR DSSO\ IRU DQG VHFXUH DOO QHFHVVDU\ JRYHUQPHQWDO

DSSURYDOVIRUQHZLVVXDQFHVRIVXFKDQGDSSURYDOWRWKH%X\HU

              7KH3XUFKDVHG$VVHWVWREHDFTXLUHGE\WKH%X\HUXQGHUWKH3XUFKDVH$JUHHPHQW

VKDOOEHDVRIWKH&ORVLQJ'DWHDQGXSRQWKHRFFXUUHQFHRIWKH&ORVLQJWUDQVIHUUHGWRDQGYHVWHG

LQ WKH %X\HU  8SRQ WKH RFFXUUHQFH RI WKH &ORVLQJ WKLV 2UGHU VKDOO EH FRQVLGHUHG DQG VKDOO

FRQVWLWXWH IRU DQ\ DQG DOO SXUSRVHV D IXOO DQG FRPSOHWH JHQHUDO DVVLJQPHQW FRQYH\DQFH DQG

WUDQVIHU RI WKH 'HEWRUV¶ LQWHUHVW LQ DQG WR WKH 3XUFKDVHG $VVHWV XQGHU WKH 3XUFKDVH $JUHHPHQW

DQGRUDELOORIVDOHRUDVVLJQPHQWWUDQVIHUULQJJRRGDQGPDUNHWDEOHLQGHIHDVLEOHWLWOHDQGLQWHUHVW

LQDQGWRWKH3XUFKDVHG$VVHWVWRWKH%X\HU

              2WKHUWKDQWKH$VVXPHG/LDELOLWLHVDQG3HUPLWWHG/LHQVRUDVRWKHUZLVHVHWIRUWKLQ

WKH3XUFKDVH$JUHHPHQWWKH%X\HULVQRWDVVXPLQJQRUVKDOOLWRUDQ\DIILOLDWHRIWKH%X\HUEHLQ

DQ\ZD\OLDEOHRUUHVSRQVLEOHDVDVXFFHVVRURURWKHUZLVHIRUDQ\/LDELOLWLHVRIWKH'HEWRUVLQDQ\

ZD\ZKDWVRHYHULQFOXGLQJDQ\/LDELOLWLHVUHODWLQJWRRUDULVLQJIURPWKH'HEWRUV¶RZQHUVKLSRU

XVHRIWKH3XUFKDVHG$VVHWVSULRUWRWKH&ORVLQJ'DWHRUDQ\/LDELOLWLHVFDOFXODEOHE\UHIHUHQFHWR

WKH 'HEWRUV RU WKHLU RSHUDWLRQV RU WKH 3XUFKDVHG $VVHWV RU UHODWLQJ WR FRQWLQXLQJ RU RWKHU

FRQGLWLRQV H[LVWLQJ RQ RU SULRU WR WKH &ORVLQJ 'DWH ZKLFK /LDELOLWLHV DUH KHUHE\ H[WLQJXLVKHG

LQVRIDUDVWKH\PD\JLYHULVHWROLDELOLW\VXFFHVVRURURWKHUZLVHDJDLQVWWKH%X\HURUDQ\DIILOLDWH

RIWKH%X\HU

              ([FHSW DV RWKHUZLVH H[SUHVVO\ SURYLGHG LQ WKH 3XUFKDVH $JUHHPHQW DOO SHUVRQV

SUHVHQWO\RURQRUDIWHUWKH&ORVLQJ'DWHLQSRVVHVVLRQRIVRPHRUDOORIWKH3XUFKDVHG$VVHWVDUH

GLUHFWHGWRVXUUHQGHUSRVVHVVLRQRIWKH3XUFKDVHG$VVHWVWRWKH%X\HUDVDSSOLFDEOHRQWKH&ORVLQJ

'DWHRUDWVXFKWLPHWKHUHDIWHUDVWKH%X\HUPD\UHTXHVW



                                                    

                 Case 24-20576-CLC         Doc 29      Filed 10/13/24       Page 61 of 565



              6XEMHFWWRWKHWHUPVRIWKH3XUFKDVH$JUHHPHQWDQGWKHRFFXUUHQFHRIWKH&ORVLQJ

'DWHWKHDVVXPSWLRQE\WKH'HEWRUVRIWKH$VVXPHG&RQWUDFWVDVSURYLGHGIRURUFRQWHPSODWHG

E\WKH3XUFKDVH$JUHHPHQWWKH$VVXPSWLRQ1RWLFH V DQGWKH'HVLJQDWLRQ1RWLFH V VKDOOEH

DQGKHUHE\LVDXWKRUL]HGDQGDSSURYHGSXUVXDQWWRVHFWLRQVDQGRIWKH%DQNUXSWF\&RGH

DQG DQG WKH $VVXPHG &RQWUDFWV VKDOO EH DVVLJQHG WR WKH %X\HU IUHH DQG FOHDU RI DOO /LHQV DQG

,QWHUHVWV DQG WKH 'HEWRUV VKDOO H[HFXWH DQG GHOLYHU WR WKH %X\HU VXFK GRFXPHQWV RU RWKHU

LQVWUXPHQWV DV PD\ EH UHDVRQDEO\ UHTXHVWHG E\ WKH %X\HU WR DVVLJQ DQG WUDQVIHU WKH $VVXPHG

&RQWUDFWVWRWKH%X\HU

              $Q\SDUW\WRDSHUVRQDOVHUYLFHVFRQWUDFWWKDWKDVQRWREMHFWHGWRWKHDVVLJQPHQW

WKHUHRILVGHHPHGWRFRQVHQWWRVXFKDVVLJQPHQWSXUVXDQWWRVHFWLRQ F RIWKH%DQNUXSWF\&RGH

WRWKHH[WHQWWKDWVXFKFRQWUDFWLVDQ$VVXPHG&RQWUDFW)XUWKHUPRUHDOOSDUWLHVWRWKH$VVXPHG

&RQWUDFWVVKDOOFRRSHUDWHDQGH[SHGLWLRXVO\H[HFXWHDQGGHOLYHUXSRQWKHUHDVRQDEOHUHTXHVWVRI

WKH %X\HU DQG VKDOO QRW FKDUJH WKH 'HEWRUV RU WKH %X\HU IRU DQ\ LQVWUXPHQWV DSSOLFDWLRQV

FRQVHQWVRURWKHUGRFXPHQWVZKLFKPD\EHUHTXLUHGRUUHTXHVWHGE\DQ\SXEOLFRUTXDVLSXEOLF

DXWKRULW\RURWKHUSDUW\RUHQWLW\WRHIIHFWXDWHWKHDSSOLFDEOHWUDQVIHUVLQFRQQHFWLRQZLWKWKHVDOH

RIWKH3XUFKDVHG$VVHWV

              7KH$VVXPHG&RQWUDFWVVKDOOEHGHHPHGYDOLGDQGELQGLQJDQGLQIXOOIRUFHDQG

HIIHFWDQGDVVXPHGE\WKH'HEWRUVDQGDVVLJQHGWRWKH%X\HUDWWKH&ORVLQJSXUVXDQWWRVHFWLRQV

DQGRIWKH%DQNUXSWF\&RGHVXEMHFWRQO\WRWKHSD\PHQWRIWKH&XUH&RVWV LIDQ\ VROHO\

WRWKHH[WHQWVHWIRUWKLQWKH$VVXPSWLRQ1RWLFH

              8SRQWKH&ORVLQJ'DWHLQDFFRUGDQFHZLWKVHFWLRQVDQGRIWKH%DQNUXSWF\

&RGHWKH%X\HUVKDOOEHIXOO\DQGLUUHYRFDEO\YHVWHGZLWKDOOULJKWWLWOHDQGLQWHUHVWLQDQGWR



                                                     

                 Case 24-20576-CLC        Doc 29      Filed 10/13/24       Page 62 of 565



HDFK $VVXPHG &RQWUDFW  7KH 'HEWRUV VKDOO UHDVRQDEO\ FRRSHUDWH ZLWK DQG WDNH DOO DFWLRQV

UHDVRQDEO\UHTXHVWHGE\WKH%X\HUWRHIIHFWXDWHWKHIRUHJRLQJ

              3XUVXDQWWRVHFWLRQV E O $ DQG % RIWKH%DQNUXSWF\&RGHDQGH[FHSWDV

RWKHUZLVHSURYLGHGLQWKLV2UGHURQDQGDIWHUWKH&ORVLQJ'DWHWKH'HEWRUVVKDOOSD\RUFDXVHWR

EHSDLGWRWKH1RQ'HEWRU&RXQWHUSDUWLHVRI$VVXPHG&RQWUDFWVWKHUHTXLVLWH&XUH&RVWVLIDQ\

VHWIRUWKRQWKH$VVXPSWLRQ1RWLFHH[FHSWWRWKHH[WHQWWKDW L WKH1RQ'HEWRU&RXQWHUSDUW\LV

OLVWHGRQ([KLELW$KHUHWR LL D&XUH&RVWZDVDPHQGHGRQWKHUHFRUGRIWKH6DOH+HDULQJZLWK

WKHPXWXDOFRQVHQWRIWKH6HOOHUVDQGWKH%X\HU LLL DGLIIHUHQWFXUHDPRXQWLVDJUHHGDVEHWZHHQ

DQGDPRQJWKH1RQ'HEWRU&RXQWHUSDUWLHVWKH6HOOHUVDQGWKH%X\HURU LY DVWREHGHWHUPLQHG

E\&RXUWRUGHUSURYLGHGKRZHYHUWKH'HEWRUV¶REOLJDWLRQWRSD\WKHLUVKDUHRIDQ\VXFKDPRXQW

GHWHUPLQHG E\ &RXUW RUGHU ZLOO EH OLPLWHG WR WKH DPRXQW RI WKH &XUH &RVWV VHW IRUWK RQ WKH

$VVXPSWLRQ1RWLFH7KH&XUH&RVWV LIDQ\ DUHELQGLQJRQDOO1RQ'HEWRU&RXQWHUSDUWLHVDQG

DUHKHUHE\IL[HGDWWKHDPRXQWV LQFOXGLQJDQ\DPRXQWOLVWHGDV VHWIRUWKRQWKH$VVXPSWLRQ

1RWLFHDVVHWIRUWKRQWKHUHFRUGRIWKH6DOH+HDULQJDVRWKHUZLVHDJUHHGLQZULWLQJEHWZHHQWKH

1RQ'HEWRU&RXQWHUSDUWLHVWKH6HOOHUVDQGWKH%X\HURUDVGHWHUPLQHGE\&RXUWRUGHU SURYLGHG

KRZHYHUWKH'HEWRUV¶REOLJDWLRQWRSD\WKHLUVKDUHRIDQ\VXFKDPRXQWGHWHUPLQHGE\&RXUWRUGHU

ZLOOEHOLPLWHGWRWKHDPRXQWRIWKH&XUH&RVWVVHWIRUWKRQWKH$VVXPSWLRQ1RWLFH DVWKHFDVH

PD\EHDQGWKH1RQ'HEWRU&RXQWHUSDUWLHVDUHIRUHYHUEDUUHGIURPDVVHUWLQJDQ\RWKHUFODLPV

LQFOXGLQJEXWQRWOLPLWHGWRWKHSURSULHW\RUHIIHFWLYHQHVVRIWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH

$VVXPHG&RQWUDFWDJDLQVWWKH'HEWRUVWKH%X\HURUWKHSURSHUW\RIDQ\RIWKHPLQUHVSHFWRIWKH

$VVXPHG&RQWUDFW

              $OO GHIDXOWV RU RWKHU REOLJDWLRQV XQGHU WKH $VVXPHG &RQWUDFWV PRQHWDU\ RU

RWKHUZLVH  DULVLQJ SULRU WR WKH &ORVLQJ 'DWH ZLWKRXW JLYLQJ HIIHFW WR DQ\ DFFHOHUDWLRQ FODXVHV

                                                    

                 Case 24-20576-CLC         Doc 29      Filed 10/13/24      Page 63 of 565



DVVLJQPHQWIHHVLQFUHDVHVDGYHUWLVLQJUDWHVRUDQ\RWKHUGHIDXOWSURYLVLRQVRIWKHNLQGVSHFLILHG

LQVHFWLRQ E  RIWKH%DQNUXSWF\&RGH VKDOOEHGHHPHGFXUHGE\SD\PHQWRIWKH&XUH&RVWV

 LI DQ\  RQ WKH $VVXPSWLRQ 1RWLFH RU DV RWKHUZLVH GHWHUPLQHG DV SURYLGHG KHUHLQ DQG WKH

FRXQWHUSDUWLHVWRWKH$VVXPHG&RQWUDFWVVKDOOEHIRUHYHUEDUUHGDQGHVWRSSHGIURPDVVHUWLQJRU

FODLPLQJDJDLQVWWKH'HEWRUVRUWKH%X\HUWKDWDQ\DPRXQWVDUHGXHRURWKHUGHIDXOWVH[LVWXQGHU

VXFK$VVXPHG&RQWUDFWDVRIWKHGDWHRIWKHDVVLJQPHQWRIVXFK$VVXPHG&RQWUDFW

              $Q\SURYLVLRQLQDQ\$VVXPHG&RQWUDFWWKDWSXUSRUWVWRGHFODUHDEUHDFKGHIDXOW

RUSD\PHQWULJKWDVDUHVXOWRIDQDVVLJQPHQWRUDFKDQJHRIFRQWUROLQUHVSHFWRIWKH'HEWRUVLV

XQHQIRUFHDEOH DQG DOO $VVXPHG &RQWUDFWV VKDOO UHPDLQ LQ IXOO IRUFH DQG HIIHFW VXEMHFW RQO\ WR

SD\PHQWRIWKHDSSURSULDWH&XUH&RVWVLIDQ\1RVHFWLRQVRUSURYLVLRQVRIDQ\$VVXPHG&RQWUDFW

WKDW SXUSRUW WR SURYLGH IRU DGGLWLRQDO SD\PHQWV SHQDOWLHV FKDUJHV RU RWKHU ILQDQFLDO

DFFRPPRGDWLRQVLQIDYRURIWKH1RQ'HEWRU&RXQWHUSDUWLHVVKDOOKDYHDQ\IRUFHDQGHIIHFWZLWK

UHVSHFW WR WKH 6DOH DQG DVVLJQPHQWV DXWKRUL]HG E\ WKLV 2UGHU DQG VXFK SURYLVLRQV FRQVWLWXWH

XQHQIRUFHDEOHDQWLDVVLJQPHQWSURYLVLRQVXQGHUVHFWLRQ I RIWKH%DQNUXSWF\&RGHDQGRUDUH

RWKHUZLVHXQHQIRUFHDEOHXQGHUVHFWLRQ H RIWKH%DQNUXSWF\&RGHDQGQRDVVLJQPHQWRIDQ\

$VVXPHG&RQWUDFWSXUVXDQWWRWKHWHUPVRIWKH3XUFKDVH$JUHHPHQWVKDOOLQDQ\UHVSHFWFRQVWLWXWH

DGHIDXOWXQGHUDQ\$VVXPHG&RQWUDFW7KH1RQ'HEWRU&RXQWHUSDUW\VKDOOEHGHHPHGWRKDYH

FRQVHQWHGWRVXFKDVVLJQPHQWXQGHUVHFWLRQ F  % RIWKH%DQNUXSWF\&RGHDQGWKH%X\HU

VKDOOHQMR\DOORIWKH'HEWRUV¶ULJKWVDQGEHQHILWVXQGHUHDFKVXFK $VVXPHG&RQWUDFWDVRIWKH

DSSOLFDEOHGDWHRIDVVXPSWLRQZLWKRXWWKHQHFHVVLW\RIREWDLQLQJVXFK1RQ'HEWRU&RXQWHUSDUW\¶V

ZULWWHQFRQVHQWWRWKHDVVXPSWLRQRUDVVLJQPHQWWKHUHRI




                                                     

                 Case 24-20576-CLC         Doc 29       Filed 10/13/24       Page 64 of 565



              7KH'HEWRUVDQGWKH%X\HUKDYHVDWLVILHGDOOUHTXLUHPHQWVXQGHUVHFWLRQV E  

DQG I  RIWKH%DQNUXSWF\&RGHWRSURYLGHDGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHXQGHU

DOORIWKH$VVXPHG&RQWUDFWV

              7KH'HEWRUVDQGWKHLUHVWDWHVVKDOOKDYHQROLDELOLW\IRUDQ\FODLPVDFFUXLQJIURP

DQGDIWHUWKH&ORVLQJXQGHUDQ\RIWKH $VVXPHG &RQWUDFWVSXUVXDQWWRDQGLQDFFRUGDQFH ZLWK

VHFWLRQ N RIWKH%DQNUXSWF\&RGH

              3XUVXDQW WR VHFWLRQV  D   DQG  RI WKH %DQNUXSWF\ &RGH DOO

FRXQWHUSDUWLHVWRWKH$VVXPHG&RQWUDFWVDUHIRUHYHUEDUUHGHVWRSSHGDQGSHUPDQHQWO\HQMRLQHG

IURPUDLVLQJRUDVVHUWLQJDJDLQVWWKH'HEWRUVRUWKH%X\HUDQ\FODLPRUFDXVHRIDFWLRQRIDQ\NLQG

RUQDWXUHUHODWLQJWRDQ\DVVLJQPHQWIHH&XUH&RVWVGHIDXOWEUHDFKRUFODLPRUSHFXQLDU\ORVVRU

FRQGLWLRQ WR DVVLJQPHQW DULVLQJ XQGHU RU UHODWHG WR WKH $VVXPHG &RQWUDFWV H[LVWLQJ DV RI WKH

&ORVLQJ'DWHRUDULVLQJE\UHDVRQRIWKH&ORVLQJ'DWHH[FHSWIRUDQ\DPRXQWVWKDWDUH$VVXPHG

/LDELOLWLHV

              1RW ODWHU WKDQ WKUHH   %XVLQHVV 'D\V SULRU WR WKH &ORVLQJ 'DWH WKH ³,QLWLDO

'HWHUPLQDWLRQ'DWH´ WKH%X\HUVKDOOSURYLGHZULWWHQQRWLFHWR6HOOHUV¶5HSUHVHQWDWLYH HDFKD

³,QLWLDO 'HVLJQDWLRQ 1RWLFH´  RI WKH %X\HU¶V HOHFWLRQ WR GHVLJQDWH WKH LQLWLDO VHW RI 'HVLUHG 

&RQWUDFWVWKDWWKH%X\HUZLVKHVDVRIWKH&ORVLQJ'DWHWREH$VVXPHG&RQWUDFWV1RWZLWKVWDQGLQJ

DQ\WKLQJWRWKHFRQWUDU\KHUHLQDWDQ\SRLQWXSXQWLODVDSSOLFDEOHHLWKHUWKH)LQDO'HWHUPLQDWLRQ

'DWHRUWKH([WHQGHG)LQDO'HWHUPLQDWLRQ'DWH LIVRHOHFWHGE\WKH%X\HU  HDFKD³6XEVHTXHQW

'HWHUPLQDWLRQ 'DWH´ DQG WRJHWKHU ZLWK WKH ,QLWLDO 'HWHUPLQDWLRQ 'DWH FROOHFWLYHO\ WKH

³'HWHUPLQDWLRQ'DWHV´ WKH%X\HUPD\SURYLGHZULWWHQQRWLFHWRWKH6HOOHUV¶5HSUHVHQWDWLYH HDFK

D³6XEVHTXHQW'HVLJQDWLRQ1RWLFH´DQGWRJHWKHUZLWKWKH,QLWLDO'HVLJQDWLRQ1RWLFHFROOHFWLYHO\

WKH³'HVLJQDWLRQ1RWLFHV´ RIWKH%X\HU¶VHOHFWLRQWRGHVLJQDWHRQHRUPRUHUHPDLQLQJ'HVLUHG

                                                      

                Case 24-20576-CLC          Doc 29      Filed 10/13/24      Page 65 of 565



&RQWUDFW V DSSHDULQJRQ([KLELW%KHUHWRWKDWWKH%X\HUZLVKHVDIWHUWKH&ORVLQJ'DWHWR

EH$VVXPHG&RQWUDFWVSURYLGHGKRZHYHUWKH%X\HUVKDOOUHLPEXUVHWKH'HEWRUVSXUVXDQWWRWKH

WHUPV RI WKH 7UDQVLWLRQ 6HUYLFHV $JUHHPHQW IRU WKH DGPLQLVWUDWLYH H[SHQVH REOLJDWLRQV XQGHU

VHFWLRQRIWKH%DQNUXSWF\&RGHDULVLQJRQDQGDIWHUWKH&ORVLQJ'DWHZLWKUHVSHFWWRDOORIWKH

UHPDLQLQJ'HVLUHG&RQWUDFWVWKDWZHUHQRWRWKHUZLVH$VVXPHG&RQWUDFWVDVRIWKH&ORVLQJ

'DWH FROOHFWLYHO\WKH³%X\HU¶V'HVLUHG&RQWUDFW,QLWLDO3HULRG5HLPEXUVHPHQW2EOLJDWLRQV´ 

IRUWKHSHULRGFRPPHQFLQJXSRQWKH&ORVLQJ'DWHDQGHQGLQJZLWKUHVSHFWWRHDFKVXFK'HVLUHG

&RQWUDFWZKHQLWEHFRPHVDQ$VVXPHG&RQWUDFWRULVUHPRYHGIURP([KLELW%KHUHWR$WDQ\

SRLQWRQRUDIWHUWKH&ORVLQJ'DWH XQWLODVDSSOLFDEOHHLWKHUWKH)LQDO'HVLJQDWLRQ'DWHRUWKH

([WHQGHG )LQDO 'HVLJQDWLRQ 'DWH LI VR HOHFWHG E\ WKH %X\HU WKH %X\HU PD\ SURYLGH ZULWWHQ

QRWLFHWRWKH'HEWRUVWRUHPRYH VXFKUHPRYDOWREHHIIHFWLYHHLWKHUXSRQ6HOOHUV¶5HSUHVHQWDWLYH¶V

UHFHLSWRIVXFKQRWLFHRUDVRIDIXWXUHGDWHWKDWWKH%X\HUPD\VSHFLI\LQLWVQRWLFH D'HVLUHG

&RQWUDFW IURP ([KLELW % KHUHWR DQG WKH %X\HU¶V REOLJDWLRQV WR UHLPEXUVH WKH 'HEWRUV IRU WKH

%X\HU¶V 'HVLUHG  &RQWUDFW ,QLWLDO 3HULRG 5HLPEXUVHPHQW 2EOLJDWLRQV ZLWK UHVSHFW WR VXFK

'HVLUHG&RQWUDFWUHPRYHGIURP([KLELW%KHUHWRVKDOOWHUPLQDWHDVSURYLGHGLQWKH%X\HU¶V

QRWLFH2QDQGDIWHUWKH 'HWHUPLQDWLRQ'DWHDQ\'HVLUHG&RQWUDFWWKDWLVQRWDQ$VVXPHG

&RQWUDFWDXWRPDWLFDOO\VKDOOEHDQ([FOXGHG&RQWUDFWDQGDQ([FOXGHG$VVHWSURYLGHGKRZHYHU

WKDWLIRQHRUPRUH'HVLUHG&RQWUDFW V DUHVXEMHFWWRGLVSXWHDVWRDVVXPSWLRQRUDVVLJQPHQW

 LQFOXGLQJD&XUH&RVWGLVSXWH RIVXFK'HVLUHG&RQWUDFW V WKDWKDVQRWEHHQUHVROYHGWRWKH

PXWXDO VDWLVIDFWLRQ RI WKH %X\HU DQG 6HOOHUV SULRU WR DQ\ RI WKH 'HWHUPLQDWLRQ 'DWHV WKHQ WKH

UHVSHFWLYH 'HWHUPLQDWLRQ 'DWH VKDOO EH H[WHQGHG EXW RQO\ ZLWK UHVSHFW WR VXFK 'HVLUHG 

&RQWUDFW V WRQRODWHUWKDQWKHHDUOLHVWWRRFFXURI $ WKHGDWHRQZKLFKVXFKGLVSXWHKDVEHHQ

UHVROYHGLQZULWLQJWRWKHPXWXDOVDWLVIDFWLRQRIWKH%X\HUDQG6HOOHUV % WKHGDWHRQZKLFKVXFK

                                                     

                 Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 66 of 565



'HVLUHG&RQWUDFWLVGHHPHGUHMHFWHGE\RSHUDWLRQRIVHFWLRQRIWKH%DQNUXSWF\&RGHDQG

 & WKHGDWHXSRQZKLFKVXFKGLVSXWHLVGHWHUPLQHGE\DILQDORUGHURIWKLV&RXUW WKH³([WHQGHG

&RQWUDFW3HULRG´ DQGIRUWKHDYRLGDQFHRIGRXEWWKH%X\HU¶V'HVLUHG&RQWUDFW,QLWLDO3HULRG

5HLPEXUVHPHQW2EOLJDWLRQV DQGWRWKHH[WHQWDSSOLFDEOHLIVRHOHFWHGE\WKH%X\HUWKH%X\HU¶V

REOLJDWLRQWRSD\WKH%X\HU¶V'HVLUHG&RQWUDFW)LQDO3HULRG5HLPEXUVHPHQW2EOLJDWLRQV VKDOO

DSSO\GXULQJWKH([WHQGHG&RQWUDFW3HULRGZLWKUHVSHFWWRVXFK'HVLUHG&RQWUDFWVVXEMHFWWR

GLVSXWH7KH%X\HUPD\GHOLYHUD6XEVHTXHQW'HVLJQDWLRQ1RWLFHXSRQH[SLUDWLRQRIWKH([WHQGHG

&RQWUDFW3HULRGRIWKH%X\HU¶VHOHFWLRQWRGHVLJQDWHDQ\'HVLUHG&RQWUDFWV WKDWZHUHVXEMHFW

WRWKH([WHQGHG&RQWUDFW3HULRG WKDWWKH%X\HUZLVKHVWREH$VVXPHG&RQWUDFWV,ID6XEVHTXHQW

'HVLJQDWLRQ1RWLFHZLWKUHVSHFWWRDQ\VXFK'HVLUHG&RQWUDFW V LVQRWGHOLYHUHGE\WKH%X\HU

E\WKHGDWHZKLFKLVWKUHH  %XVLQHVV'D\VIROORZLQJWKHH[SLUDWLRQRIVXFK([WHQGHG&RQWUDFW

3HULRG VXFK 'HVLUHG  &RQWUDFW V  VKDOO EH DXWRPDWLFDOO\ GHHPHG ([FOXGHG &RQWUDFW V  DQG

([FOXGHG$VVHW V 

              ,QWKHHYHQWWKDWWKH6DOHGRHVQRWFORVHQRQHRIWKH$VVXPHG&RQWUDFWVVKDOOEH

DVVXPHGE\YLUWXHRIWKLV2UGHUDQGVKDOOUHPDLQVXEMHFWWRIXUWKHUDGPLQLVWUDWLRQLQWKH'HEWRUV¶

EDQNUXSWF\FDVHV

              7KHIDLOXUHRIWKH%X\HUWRHQIRUFHDWDQ\WLPHRQHRUPRUHWHUPVRUSURYLVLRQVRI

DQ\RIWKH$VVXPHG&RQWUDFWVVKDOOQRWEHDZDLYHURIVXFKWHUPVRUSURYLVLRQVRURIWKH%X\HU¶V

ULJKWVWRHQIRUFHHYHU\WHUPDQGFRQGLWLRQRIWKH$VVXPHG&RQWUDFWV

              (DFK DQG HYHU\ IHGHUDO VWDWH DQG ORFDO JRYHUQPHQWDO DJHQF\ RU GHSDUWPHQW LV

KHUHE\ GLUHFWHG WR DFFHSW DQ\ DQG DOO GRFXPHQWV DQG LQVWUXPHQWV QHFHVVDU\ DQG DSSURSULDWH WR

FRQVXPPDWH WKH 7UDQVDFWLRQV FRQWHPSODWHG E\ WKH 3XUFKDVH $JUHHPHQW DQG WKLV 2UGHU  7KLV

2UGHUDQGWKH3XUFKDVH$JUHHPHQWVKDOOEHELQGLQJXSRQDQGJRYHUQWKHDFWVRIDOOVXFKIHGHUDO

                                                    

                 Case 24-20576-CLC           Doc 29       Filed 10/13/24        Page 67 of 565



VWDWHDQGORFDOJRYHUQPHQWDODJHQFLHVDQGGHSDUWPHQWVLQFOXGLQJDQ\ILOLQJDJHQWVILOLQJRIILFHUV

WLWOHDJHQWVUHFRUGLQJDJHQFLHVVHFUHWDULHVRIVWDWHDQGDOORWKHUSHUVRQVDQGHQWLWLHVZKRPD\EH

UHTXLUHG E\ RSHUDWLRQ RI ODZ WKH GXWLHV RI WKHLU RIILFH RU FRQWUDFW WR DFFHSW ILOH UHJLVWHU RU

RWKHUZLVHUHFRUGRUUHOHDVHDQ\GRFXPHQWVRULQVWUXPHQWVRUZKRPD\EHUHTXLUHGWRUHSRUWRU

LQVXUHDQ\WLWOHLQRUWRWKH3XUFKDVHG$VVHWV

              7RWKHH[WHQWSHUPLWWHGE\VHFWLRQRIWKH%DQNUXSWF\&RGHQR*RYHUQPHQWDO

(QWLW\ PD\ UHYRNH RU VXVSHQG DQ\ SHUPLW RU OLFHQVH UHODWLQJ WR WKH RSHUDWLRQ RI WKH 3XUFKDVHG

$VVHWV VROG WUDQVIHUUHG RU FRQYH\HG WR WKH %X\HU RQ DFFRXQW RI WKH ILOLQJ RU SHQGHQF\ RI WKH

'HEWRUV¶EDQNUXSWF\FDVHVRUWKHFRQVXPPDWLRQRIWKH7UDQVDFWLRQVFRQWHPSODWHGE\WKH3XUFKDVH

$JUHHPHQW

              2WKHUWKDQWKH$VVXPHG/LDELOLWLHVWKH%X\HUKDVQRWDVVXPHGDQGLVRWKHUZLVHQRW

REOLJDWHGIRUDQ\RIWKH'HEWRUV¶OLDELOLWLHVDQGWKH%X\HUKDVQRWSXUFKDVHGDQ\RIWKH'HEWRUV¶

DVVHWV H[SUHVVO\ H[FOXGHG IURP WKH 3XUFKDVHG $VVHWV DV SURYLGHG IRU LQ VHFWLRQ  E  RI WKH

3XUFKDVH$JUHHPHQW&RQVHTXHQWO\DOOSHUVRQV*RYHUQPHQWDO(QWLWLHVDQG8QLWV DVGHILQHGLQ

VHFWLRQV  DQG  RIWKH%DQNUXSWF\&RGH DQGDOOKROGHUVRI/LHQV RWKHUWKDQVXEMHFW

WRWKH3HUPLWWHG/LHQV EDVHGXSRQRUDULVLQJRXWRIOLDELOLWLHVUHWDLQHGE\WKH'HEWRUVPD\QRWWDNH

DQ\DFWLRQDJDLQVWDQ\RIWKH%X\HU3DUWLHVRUWKH3XUFKDVHG$VVHWVWRUHFRYHURQDFFRXQWRIDQ\

OLDELOLWLHVRIWKH'HEWRUV RWKHUWKDQRQDFFRXQWRIWKH$VVXPHG/LDELOLWLHV $OOSHUVRQVKROGLQJ

RUDVVHUWLQJDQ\/LHQVLQWKH([FOXGHG$VVHWVPD\QRWDVVHUWRUSURVHFXWHVXFK/LHQVRUDQ\FDXVH

RIDFWLRQDJDLQVWWKH%X\HURUWKH3XUFKDVHG$VVHWVIRUDQ\OLDELOLW\DVVRFLDWHGZLWKWKH([FOXGHG

$VVHWVRUDQ\RWKHU([FOXGHG/LDELOLW\ DVGHILQHGLQWKH3XUFKDVH$JUHHPHQW 

              7KH %X\HU LV QRW D ³VXFFHVVRU´ WR WKH 'HEWRUV RU WKHLU HVWDWHV E\ UHDVRQ RI DQ\

WKHRU\RIODZRUHTXLW\DQGWKH%X\HUVKDOOQRWDVVXPHRUEHGHHPHGWRDVVXPHRULQDQ\ZD\EH

                                                        

                 Case 24-20576-CLC         Doc 29       Filed 10/13/24       Page 68 of 565



UHVSRQVLEOHIRUDQ\OLDELOLW\RUREOLJDWLRQRIDQ\RIWKH'HEWRUVDQGRUWKHLUHVWDWHVLQFOXGLQJEXW

QRWOLPLWHGWRDQ\EXONVDOHVODZVXFFHVVRUOLDELOLW\RUVLPLODUOLDELOLW\1HLWKHUWKHWUDQVIHURI

WKH3XUFKDVHG$VVHWVWRWKH%X\HUQRUWKHIDFWWKDWWKH%X\HULVXVLQJDQ\RIWKH3XUFKDVHG$VVHWV

SUHYLRXVO\ RZQHG E\ WKH 'HEWRUV ZLOO FDXVH WKH %X\HU 3DUWLHV RU DQ\ RI WKHLU DIILOLDWHV WR EH

GHHPHGDVXFFHVVRULQDQ\UHVSHFWWRWKH'HEWRUV¶EXVLQHVVZLWKLQWKHPHDQLQJRIDQ\IRUHLJQ

IHGHUDOVWDWHRUORFDOUHYHQXHSHQVLRQ(5,6$WD[ODERUHPSOR\PHQWHQYLURQPHQWDORURWKHU

ODZ UXOH RU UHJXODWLRQ LQFOXGLQJ ZLWKRXW OLPLWDWLRQ ILOLQJ UHTXLUHPHQWV XQGHU DQ\ VXFK ODZV

UXOHVRUUHJXODWLRQV RUXQGHUDQ\SURGXFWVOLDELOLW\ODZRUGRFWULQHZLWKUHVSHFWWRWKH'HEWRUV¶

OLDELOLW\XQGHUVXFKODZUXOHRUUHJXODWLRQRUGRFWULQH

              )XUWKHUH[FHSWDVRWKHUZLVHSURYLGHGLQWKH3XUFKDVH$JUHHPHQWWKHWUDQVIHURI

WLWOH DQG SRVVHVVLRQ RI WKH 3XUFKDVHG $VVHWV VKDOO EH IUHH DQG FOHDU RI DQ\ /LHQV DQG ,QWHUHVWV

SXUVXDQWWRDQ\VXFFHVVRURUVXFFHVVRULQLQWHUHVWOLDELOLW\WKHRU\DQGIRUWKHDYRLGDQFHRIGRXEW

WKH%X\HUDQGWKH%X\HU3DUWLHVDQGHDFKRIWKHLUDIILOLDWHVWUDQVIHUHHVVXFFHVVRUVDQGDVVLJQV

DQG HDFK RI WKHLU UHVSHFWLYH PHPEHUV SDUWQHUV RIILFHUV GLUHFWRUV SULQFLSDOV DGYLVRUV DQG

VKDUHKROGHUV VKDOO KDYH QR OLDELOLW\ ZKDWVRHYHU IRU DQ\ /LHQV DQG ,QWHUHVWV ZKHWKHU NQRZQ RU

XQNQRZQDVRIWKH&ORVLQJQRZH[LVWLQJRUKHUHDIWHUDULVLQJZKHWKHUIL[HGRUFRQWLQJHQWZKHWKHU

OLTXLGDWHGRUXQOLTXLGDWHGZKHWKHUDVVHUWHGGHULYDWLYHO\RUYLFDULRXVO\ZKHWKHUDVVHUWHGEDVHGRQ

WKH %X\HU¶V VWDWXV DV D WUDQVIHUHH VXFFHVVRU RU RWKHUZLVH RI DQ\ NLQG QDWXUH RU FKDUDFWHU

ZKDWVRHYHU LQFOXGLQJ /LHQV DQG ,QWHUHVWV EDVHG RQ UHODWLQJ WR DQGRU DULVLQJ XQGHU ZLWKRXW

OLPLWDWLRQ L  DQ\ HPSOR\PHQW RU ODERU DJUHHPHQW LL  DQ\ SHQVLRQ ZHOIDUH FRPSHQVDWLRQ RU

RWKHU HPSOR\HH SODQ DJUHHPHQWV SUDFWLFHV DQG SURJUDPV LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DQ\

SHQVLRQ RU HPSOR\HH SODQ RI RU UHODWHG WR DQ\ RI WKH 'HEWRUV RU DQ\ 'HEWRUV¶ DIILOLDWHV RU

SUHGHFHVVRUVRUDQ\FXUUHQWRUIRUPHUHPSOR\HHVRIDQ\RIWKHIRUHJRLQJ LLL WKH'HEWRUV¶EXVLQHVV

                                                      

                Case 24-20576-CLC           Doc 29      Filed 10/13/24        Page 69 of 565



RSHUDWLRQVRUWKHFHVVDWLRQWKHUHRI LY DQ\OLWLJDWLRQLQYROYLQJRQHRUPRUHRIWKH'HEWRUV Y 

DQ\ HPSOR\HH ZRUNHUV¶ FRPSHQVDWLRQ RFFXSDWLRQDO GLVHDVH RU XQHPSOR\PHQW RU WHPSRUDU\

GLVDELOLW\ UHODWHG ODZ LQFOXGLQJ ZLWKRXW OLPLWDWLRQ DQ\ FODLPV ULJKWV RU FDXVHV RI DFWLRQ WKDW

PLJKWDULVHXQGHURUSXUVXDQWWR D WKH(PSOR\HH5HWLUHPHQW,QFRPH6HFXULW\$FWRIDV

DPHQGHG E WKH)DLU/DERU6WDQGDUGV$FW F 7LWOH9,,RIWKH&LYLO5LJKWV$FWRI G WKH

)HGHUDO 5HKDELOLWDWLRQ $FW RI  H  WKH 1DWLRQDO /DERU 5HODWLRQV $FW I  WKH :RUNHU

$GMXVWPHQWDQG5HWUDLQLQJ1RWLILFDWLRQ$FWRI J WKH$JH'LVFULPLQDWLRQDQG(PSOR\HH

$FWRI DQG$JH'LVFULPLQDWLRQLQ(PSOR\PHQW$FWDV DPHQGHG K WKH$PHULFDQVZLWK

'LVDELOLWLHV $FW RI  L  WKH &RQVROLGDWHG 2PQLEXV %XGJHW 5HFRQFLOLDWLRQ $FW RI 

 ³&2%5$´  LQFOXGLQJEXWQRWOLPLWHGWR L FODLPVDVVHUWHGE\DQ\LQGLYLGXDOZKRLVQRWRUZDV

QRW RUZKRVHDOOHJHG&2%5$³TXDOLI\LQJHYHQW´LVQRWRUZDVQRWLQFRQQHFWLRQZLWK DFRYHUHG

HPSOR\HH ZKRVH ODVW HPSOR\PHQW SULRU WR KLV RU KHU DOOHJHG &2%5$ ³TXDOLI\LQJ HYHQW´ ZDV

DVVRFLDWHGZLWKWKH3XUFKDVHG$VVHWV DVGHILQHGLQWKH3XUFKDVH$JUHHPHQW DQGRU LL H[FLVH

WD[HVSHQDOWLHVDQGIHHVZLWKUHVSHFWWRVXFKLQGLYLGXDOVIRUSHULRGVRQRUDIWHU&ORVLQJ  M WKH

0XOWLHPSOR\HU3HQVLRQ3ODQ$PHQGPHQWV$FWRI N VWDWHDQGORFDOGLVFULPLQDWLRQODZV O 

VWDWHDQGORFDOXQHPSOR\PHQWFRPSHQVDWLRQODZVRUDQ\RWKHUVLPLODUVWDWHDQGORFDOODZV P 

VWDWHZRUNHUV¶FRPSHQVDWLRQODZVDQGRU Q DQ\RWKHUVWDWHORFDORUIHGHUDOHPSOR\HHEHQHILW

ODZVUHJXODWLRQVRUUXOHVRURWKHUVWDWHORFDORUIHGHUDOODZVUHJXODWLRQVRUUXOHVUHODWLQJWRZDJHV

EHQHILWV HPSOR\PHQW RU WHUPLQDWLRQ RI HPSOR\PHQW ZLWK DQ\ RU DOO 'HEWRUV RU DQ\ RI WKHLU

SUHGHFHVVRUV YL  DQ\ DQWLWUXVW ODZV YLL  DQ\ SURGXFW OLDELOLW\ RU VLPLODU ODZV ZKHWKHU VWDWH

IHGHUDO RU RWKHUZLVH YLLL  DQ\ HQYLURQPHQWDO ODZV UXOHV RU UHJXODWLRQV LQFOXGLQJ ZLWKRXW

OLPLWDWLRQXQGHUWKH&RPSUHKHQVLYH(QYLURQPHQWDO5HVSRQVH&RPSHQVDWLRQDQG/LDELOLW\$FW

86&HWVHTRUVLPLODUVWDWHVWDWXWHV L[ 3HULVKDEOH$JULFXOWXUDO&RPPRGLWLHV$FW

                                                      

                  Case 24-20576-CLC          Doc 29      Filed 10/13/24       Page 70 of 565



    [ DQ\EXONVDOHVRUVLPLODUODZV [L DQ\IHGHUDOVWDWHRUORFDOWD[VWDWXWHVUXOHVUHJXODWLRQVRU

RUGLQDQFHVLQFOXGLQJZLWKRXWOLPLWDWLRQWKH,QWHUQDO5HYHQXH&RGHRIDVDPHQGHGDQG

    [LL  DQ\ FRPPRQ ODZ GRFWULQH RI de facto PHUJHU VXFFHVVRU WUDQVIHUHH RU YLFDULRXV OLDELOLW\

VXEVWDQWLDOFRQWLQXLW\OLDELOLW\VXFFHVVRULQLQWHUHVWOLDELOLW\WKHRU\DQGRUDQ\RWKHUWKHRU\RIRU

UHODWHGWRVXFFHVVRUOLDELOLW\

               ([FHSWDVRWKHUZLVHSURYLGHGLQWKH3XUFKDVH$JUHHPHQWSXUVXDQWWRVHFWLRQV

DQGRIWKH%DQNUXSWF\&RGHDOOSHUVRQVLQFOXGLQJEXWQRWOLPLWHGWRWKH'HEWRUVDOOGHEW

KROGHUV HTXLW\ VHFXULW\ KROGHUV WKH 'HEWRUV¶ HPSOR\HHV RU IRUPHU HPSOR\HHV *RYHUQPHQWDO

(QWLWLHV OHQGHUV SDUWLHV WR RU EHQHILFLDULHV XQGHU DQ\ EHQHILW SODQ WUDGH DQG RWKHU FUHGLWRUV

DVVHUWLQJRUKROGLQJD/LHQDQG,QWHUHVWRIDQ\NLQGRUQDWXUHZKDWVRHYHUDJDLQVWLQRUZLWKUHVSHFW

WRDQ\RIWKH'HEWRUVRUWKH3XUFKDVHG$VVHWVDULVLQJXQGHURURXWRILQFRQQHFWLRQZLWKRULQ

DQ\ZD\UHODWLQJWRWKH'HEWRUVWKH3XUFKDVHG$VVHWVWKHRSHUDWLRQRIWKH'HEWRUV¶EXVLQHVVHV

SULRUWRWKH&ORVLQJ'DWHRUWKHWUDQVIHURIWKH3XUFKDVHG$VVHWVWRWKH%X\HULQDFFRUGDQFHZLWK

WKH 3XUFKDVH $JUHHPHQW DQG WKLV 2UGHU VKDOO EH IRUHYHU EDUUHG HVWRSSHG DQG SHUPDQHQWO\

HQMRLQHG IURP DVVHUWLQJ SURVHFXWLQJ RU RWKHUZLVH SXUVXLQJ VXFK /LHQ DQG ,QWHUHVW LQFOXGLQJ

DVVHUWLRQ RI DQ\ ULJKW RI VHWRII RU VXEURJDWLRQ UHFRXSPHQW RI DQ\ NLQG DQG HQIRUFHPHQW

DWWDFKPHQWRUFROOHFWLRQRIDQ\MXGJPHQWDZDUGGHFUHHRURUGHUDJDLQVWWKH%X\HU3DUWLHVRU

DQ\ RI WKHLU UHVSHFWLYH DIILOLDWHV WUDQVIHUHHV VXFFHVVRUV RU DVVLJQV WKHUHRI DQG HDFK RI WKHLU

UHVSHFWLYH FXUUHQW DQG IRUPHU PHPEHUV RIILFHUV GLUHFWRUV DWWRUQH\V HPSOR\HHV SDUWQHUV

DIILOLDWHV ILQDQFLDO DGYLVRUV DQG UHSUHVHQWDWLYHV HDFK RI WKH IRUHJRLQJ LQ WKHLU LQGLYLGXDO

FDSDFLW\ ZLWKUHVSHFWWRWKH3XUFKDVHG$VVHWV1R3HUVRQVKDOODVVHUWRUSXUVXHDJDLQVW%X\HURU

LWV$IILOLDWHVVXFFHVVRUVRUDVVLJQVDQ\VXFK&ODLP



                                                       

                 Case 24-20576-CLC        Doc 29      Filed 10/13/24       Page 71 of 565



              :LWKRXWOLPLWLQJWKHJHQHUDOLW\RIWKHIRUHJRLQJWKH%X\HUVKDOOQRWDVVXPHRUEH

REOLJDWHG WR SD\ SHUIRUP RU RWKHUZLVH GLVFKDUJH DQ\ ZRUNHUV¶ FRPSHQVDWLRQ /LDELOLWLHV RI WKH

'HEWRUVDULVLQJSXUVXDQWWRVWDWHODZRURWKHUZLVHDQGWKLV2UGHULVLQWHQGHGWREHDOOLQFOXVLYH

DQGVKDOOHQFRPSDVVEXWQRWEHOLPLWHGWRZRUNHUV¶FRPSHQVDWLRQ&ODLPVRUVXLWVRIDQ\W\SH

ZKHWKHUQRZNQRZQRUXQNQRZQZKHQHYHULQFXUUHGRUILOHGZKLFKKDYHRFFXUUHGRUZKLFKDULVH

IURPZRUNUHODWHGLQMXULHVGLVHDVHVGHDWKH[SRVXUHVLQWHQWLRQDOWRUWVDFWVRIGLVFULPLQDWLRQRU

RWKHULQFLGHQWVDFWVRULQMXULHVSULRUWRWKH&ORVLQJ'DWHLQFOXGLQJEXWQRWOLPLWHGWRDQ\DQGDOO

ZRUNHUV¶ FRPSHQVDWLRQ &ODLPV ILOHG RU WR EH ILOHG RU DQ\ UHRSHQLQJ RI VXFK &ODLPV E\ RU RQ

EHKDOIRIDQ\RIWKH'HEWRUV¶FXUUHQWRUIRUPHUHPSOR\HHVSHUVRQVRQODLGRIILQDFWLYHRUUHWLUHG

VWDWXV RU WKHLU UHVSHFWLYH GHSHQGHQWV KHLUV RU DVVLJQV DV ZHOO DV DQ\ DQG DOO SUHPLXPV

DVVHVVPHQWVRURWKHUREOLJDWLRQVRIDQ\QDWXUHZKDWVRHYHURIWKH'HEWRUVUHODWLQJLQDQ\ZD\WR

ZRUNHUV¶FRPSHQVDWLRQOLDELOLW\

              6XEMHFWWRWKHWHUPVRIWKH3XUFKDVH$JUHHPHQWWKH3XUFKDVH$JUHHPHQWDQGDQ\

UHODWHGDJUHHPHQWVDQGRULQVWUXPHQWVPD\EHZDLYHGPRGLILHGDPHQGHGRUVXSSOHPHQWHGE\

DJUHHPHQWRIWKH'HEWRUVDQGWKH%X\HUZLWKRXWIXUWKHUDFWLRQRURUGHURIWKH&RXUWSURYLGHG

KRZHYHUWKDWDQ\VXFKZDLYHUPRGLILFDWLRQDPHQGPHQWRUVXSSOHPHQWLVQRWPDWHULDOO\DGYHUVH

WRWKH'HEWRUV¶HVWDWHVDQGVXEVWDQWLDOO\FRQIRUPVWRDQGHIIHFWXDWHVWKH3XUFKDVH$JUHHPHQWDQG

DQ\UHODWHGDJUHHPHQWVDQGRULQVWUXPHQWVDQGWKLV2UGHU

              8SRQ WKH FRPPHQFHPHQW RI WKH 'HEWRUV¶ EDQNUXSWF\ FDVHV DQG WR WKH H[WHQW

QHFHVVDU\DQGDSSOLFDEOHWKH'HEWRUV¶&KLHI5HVWUXFWXULQJ2IILFHUQRWLQKLVLQGLYLGXDOFDSDFLW\

EXW VROHO\ LQ KLV FDSDFLW\ DV WKH &KLHI 5HVWUXFWXULQJ 2IILFHU RI WKH 'HEWRUV VKDOO EH GHHPHG

DGPLWWHG DV D PHPEHU RI DQG HQWLWOHG WR PDQDJHHDFK RI WKH /LPLWHG /LDELOLW\ &RPSDQ\ VXFK

HQWLWLHVFROOHFWLYHO\WKH³'HEWRU//&V´ 7RWKHH[WHQWWKDWWKHFRPPHQFHPHQWRIWKH'HEWRUV¶

                                                    

                 Case 24-20576-CLC           Doc 29      Filed 10/13/24        Page 72 of 565



EDQNUXSWF\FDVHVFDXVHGDQ\'HEWRU//&VWRGLVVROYHXQGHUDSSOLFDEOHQRQEDQNUXSWF\ODZVXFK

GLVVROXWLRQLVKHUHE\UHYRNHGDVLILWQHYHURFFXUUHGDQGWKH&KLHI5HVWUXFWXULQJ2IILFHUQRWLQ

KLVLQGLYLGXDOFDSDFLW\EXWVROHO\LQKLVFDSDFLW\DVWKH&KLHI5HVWUXFWXULQJ2IILFHURIWKH'HEWRUV

DQGRQEHKDOIRIWKH'HEWRUVVKDOOEHGHHPHGDPHPEHURIWKH'HEWRU//&VZLWKWKHSRZHUDQG

DXWKRULW\WRWUDQVIHUWKH3XUFKDVHG$VVHWVWRWKH%X\HU7KH&KLHI5HVWUXFWXULQJ2IILFHUVKDOOQRW

EHDU DQ\ SHUVRQDO OLDELOLW\ LQFOXGLQJ EXW QRW OLPLWHG WR ZLWK UHVSHFW WR OHJDO ILQDQFLDO RU WD[

PDWWHUVZLWKUHVSHFWWRDFWLQJLQWKHOLPLWHGFDSDFLW\DVVHWIRUWKLQWKLVSDUDJUDSK

              1REXONVDOHODZRUDQ\VLPLODUODZRIDQ\VWDWHRURWKHUMXULVGLFWLRQVKDOODSSO\LQ

DQ\ZD\WRWKHVDOHDQGWKH7UDQVDFWLRQVFRQWHPSODWHGE\WKH3XUFKDVH$JUHHPHQW

              7KH 'HEWRUV DUH DXWKRUL]HG WR WUDQVIHU SHUVRQDOO\ LGHQWLILDEOH LQIRUPDWLRQ DV

GHILQHGLQVHFWLRQ  $ RIWKH%DQNUXSWF\&RGHDVDSDUWRIWKH6DOH

              7KLV2UGHUDQGWKH3XUFKDVH$JUHHPHQWVKDOOEHELQGLQJXSRQHQIRUFHDEOHDJDLQVW

DQGJRYHUQWKHDFWVRIDOOSHUVRQVLQFOXGLQJZLWKRXWOLPLWDWLRQWKH'HEWRUVDQGWKHLUHVWDWHVWKH

%X\HU3DUWLHVWKHLUUHVSHFWLYHDIILOLDWHVWUDQVIHUHHVVXFFHVVRUVDQGSHUPLWWHGDVVLJQVLQFOXGLQJ

ZLWKRXW OLPLWDWLRQ DQ\ &KDSWHU  WUXVWHH KHUHLQDIWHU DSSRLQWHG IRU WKH 'HEWRUV¶ HVWDWHV DQ\

VWDWXWRU\ FRPPLWWHH DSSRLQWHG LQ WKH 'HEWRUV¶ EDQNUXSWF\ FDVHV RU DQ\ WUXVWHH DSSRLQWHG LQ D

&KDSWHUFDVHLIWKHFDVHVRIWKH'HEWRUVDUHFRQYHUWHGIURP&KDSWHUWRDFDVHXQGHU&KDSWHU

RIWKH%DQNUXSWF\&RGHDOOFUHGLWRUVDQGSDWLHQWVRIDQ\'HEWRU ZKHWKHUNQRZQRUXQNQRZQ 

ILOLQJ DJHQWV ILOLQJ RIILFHUV WLWOH DJHQWV UHFRUGLQJ DJHQFLHV VHFUHWDULHV RI VWDWH DQG DOO RWKHU

3HUVRQVZKRPD\EHUHTXLUHGE\RSHUDWLRQRIODZWKHGXWLHVRIWKHLURIILFHRUFRQWUDFWWRDFFHSW

ILOHUHJLVWHURURWKHUZLVHUHFRUGRUUHOHDVHDQ\GRFXPHQWVRULQVWUXPHQWVRUZKRPD\EHUHTXLUHG

WRUHSRUWRULQVXUHDQ\WLWOHLQRUWRWKH3XUFKDVHG$VVHWV,IDQ\RUGHUXQGHUVHFWLRQRIWKH

%DQNUXSWF\&RGHLVHQWHUHGVXFKRUGHUVKDOOSURYLGH LQDFFRUGDQFHZLWKVHFWLRQVDQGRI

                                                       

                 Case 24-20576-CLC           Doc 29       Filed 10/13/24        Page 73 of 565



WKH%DQNUXSWF\&RGH WKDWWKLV2UGHUDQGWKHULJKWVJUDQWHGWRWKH%X\HUKHUHXQGHUVKDOOUHPDLQ

HIIHFWLYHDQGQRWZLWKVWDQGLQJVXFKFRQYHUVLRQRUGLVPLVVDOVKDOOUHPDLQELQGLQJRQDOOSDUWLHVLQ

LQWHUHVW )RU WKH DYRLGDQFH RI GRXEW WKH 'HEWRUV¶ LQDELOLW\ WR VDWLVI\ LQ IXOO DOO DGPLQLVWUDWLYH

H[SHQVHFODLPVRIWKH'HEWRUV¶HVWDWHVVKDOOQRWEHDEDVLVIRUWHUPLQDWLRQUHMHFWLRQRUDYRLGDQFH

 DVDSSOLFDEOH RIWKH3XUFKDVH$JUHHPHQWRUWKH6DOH

              7KLV 2UGHU L  VKDOO EH HIIHFWLYH DV D GHWHUPLQDWLRQ WKDW DV RI WKH &ORVLQJ DOO

&ODLPVH[FHSWDVDVVXPHGDV$VVXPHG/LDELOLW\RUSHUPLWWHGDVD3HUPLWWHG/LHQE\WKH%X\HU

XQGHUWKH3XUFKDVH$JUHHPHQWKDYHEHHQXQFRQGLWLRQDOO\UHOHDVHGGLVFKDUJHGDQGWHUPLQDWHGDV

WRWKH%X\HU3DUWLHVDQGWKH3XUFKDVHG$VVHWVDQGWKHFRQYH\DQFHVDQGWUDQVIHUVGHVFULEHGKHUHLQ

KDYH EHHQ HIIHFWHG DQG LL  LV DQG VKDOO EH ELQGLQJ XSRQ DQG JRYHUQ WKH DFWV RI DOO SHUVRQV

LQFOXGLQJ DOO ILOLQJ DJHQWV ILOLQJ RIILFHUV WLWOH DJHQWV WLWOH FRPSDQLHV UHFRUGHUV RI PRUWJDJHV

UHFRUGHUV RI GHHGV UHJLVWUDUV RI GHHGV DGPLQLVWUDWLYH DJHQFLHV JRYHUQPHQWDO GHSDUWPHQWV

VHFUHWDULHV RI VWDWH IHGHUDO VWDWH FRXQW\ DQG ORFDO RIILFLDOV DQG DOO RWKHU 3HUVRQV ZKR PD\ EH

UHTXLUHG E\ RSHUDWLRQ RI ODZ WKH GXWLHV RI WKHLU RIILFH RU FRQWUDFW WR DFFHSW ILOH UHJLVWHU RU

RWKHUZLVHUHFRUGRUUHOHDVHDQ\GRFXPHQWVRULQVWUXPHQWVWKDWUHIOHFWWKDWWKH%X\HULVWKHDVVLJQHH

DQGRZQHURIWKH3XUFKDVHG$VVHWVDQGRZQHUVKLSRIWKH3XUFKDVHG$VVHWVLVIUHHDQGFOHDURIDQ\

/LHQVDQG,QWHUHVWVRUDQ\3HUVRQZKRPD\EHUHTXLUHGWRUHSRUWRULQVXUHDQ\WLWOHRUVWDWHRIWLWOH

LQ RU WR DQ\ OHDVH DOO VXFK HQWLWLHV EHLQJ UHIHUUHG WR DV ³5HFRUGLQJ 2IILFHUV´   $OO 5HFRUGLQJ

2IILFHUVDUHDXWKRUL]HGWRVWULNHUHFRUGHGHQFXPEUDQFHVFODLPVOLHQVDQGRWKHULQWHUHVWVDJDLQVW

WKH3XUFKDVHG$VVHWVRZQHGE\WKH'HEWRUVUHFRUGHGSULRUWRWKHGDWHRIWKLV2UGHU$FHUWLILHG

FRS\RIWKLV2UGHUPD\EHILOHGZLWKWKHDSSURSULDWH5HFRUGLQJ2IILFHUVWRHYLGHQFHFDQFHOODWLRQ

RIDQ\UHFRUGHGHQFXPEUDQFHV&ODLPV/LHQVSOHGJHVDQGRWKHULQWHUHVWVDJDLQVWWKH3XUFKDVHG

$VVHWVRZQHGE\WKH'HEWRUVUHFRUGHGSULRUWRWKHGDWHRIWKLV2UGHU$OO5HFRUGLQJ2IILFHUVDUH

                                                        

                 Case 24-20576-CLC         Doc 29     Filed 10/13/24       Page 74 of 565



KHUHE\ DXWKRUL]HG WR DFFHSW IRU ILOLQJ DQ\ DQG DOO RI WKH GRFXPHQWV DQG LQVWUXPHQWV QHFHVVDU\

DGYLVDEOH RU DSSURSULDWH DQG DSSURSULDWH WR FRQVXPPDWH WKH WUDQVDFWLRQV FRQWHPSODWHG E\ WKH

3XUFKDVH$JUHHPHQW

              6XEMHFWWRWKH',32UGHU DVGHILQHGEHORZ QRWKLQJLQDQ\RWKHURUGHURIWKLV&RXUW

RUFRQWDLQHGLQDQ\SODQRIUHRUJDQL]DWLRQRUOLTXLGDWLRQWKDWPD\EHFRQILUPHGLQWKHFDVHVRIWKH

'HEWRUVRULQDQ\VXEVHTXHQWRUFRQYHUWHGFDVHVRIWKH'HEWRUVWRFDVHVXQGHU&KDSWHURIWKH

%DQNUXSWF\&RGHVKDOOFRQIOLFWZLWKRUGHURJDWHIURPWKHSURYLVLRQVRIWKH3XUFKDVH$JUHHPHQW

RUWKHWHUPVRIWKLV2UGHU

              1RWZLWKVWDQGLQJ %DQNUXSWF\ 5XOHV   DQG  WKLV 2UGHU VKDOO EH

HIIHFWLYHDQG HQIRUFHDEOHLPPHGLDWHO\XSRQLWVHQWU\DQGLWVSURYLVLRQVVKDOOEHVHOIH[HFXWLQJ

7KH'HEWRUVDQGWKH%X\HUDUHIUHHWRFORVHXQGHUWKH3XUFKDVH$JUHHPHQWDWDQ\WLPHVXEMHFWWR

WKH H[SUHVV WHUPV RI WKH 3XUFKDVH $JUHHPHQW  ,I WKH 'HEWRUV DQG WKH %X\HU FORVH XQGHU WKH

3XUFKDVH$JUHHPHQWWKH'HEWRUVDQGWKH%X\HUVKDOOEHGHHPHGWREHDFWLQJLQ³JRRGIDLWK´DQG

WKH%X\HUVKDOOEHHQWLWOHGWRWKHSURWHFWLRQVRIVHFWLRQ P RIWKH%DQNUXSWF\&RGHDVWRDOO

DVSHFWVRIWKH7UDQVDFWLRQVXQGHUDQGSXUVXDQWWRWKH3XUFKDVH$JUHHPHQW

              7KHDXWRPDWLFVWD\SURYLVLRQVRIVHFWLRQRIWKH%DQNUXSWF\&RGHDUHYDFDWHG

DQG PRGLILHG WR WKH H[WHQW QHFHVVDU\ WR LPSOHPHQW WKH WHUPV DQG FRQGLWLRQV RI WKH 3XUFKDVH

$JUHHPHQWDQGWKHSURYLVLRQVRIWKLV2UGHU

              1RWZLWKVWDQGLQJ DQ\ SURYLVLRQ LQ WKLV 2UGHU WKH GHWHUPLQDWLRQ RI DQ\ GLVSXWHG

&XUH&RVWV XQOHVVVXFK &XUH&RVWVZHUH UHVROYHGDWRUSULRUWRWKH6DOH +HDULQJ RUDGHTXDWH

DVVXUDQFHRIIXWXUHSHUIRUPDQFHDVWRRQO\WKRVHSDUWLHVOLVWHGRQ([KLELW$KHUHWR FROOHFWLYHO\

WKH ³2EMHFWLQJ 3DUWLHV´  VKDOO EH UHVHUYHG IRU IXUWKHU SURFHHGLQJV SURYLGHG KRZHYHU QRWKLQJ

KHUHLQVKDOODOWHURUDPHQGDQ\VFKHGXOHGKHDULQJRQ&XUH&RVWVDOWKRXJKDQ\VXFKKHDULQJPD\

                                                    

                 Case 24-20576-CLC            Doc 29      Filed 10/13/24       Page 75 of 565



EHFRQWLQXHGZLWKWKHFRQVHQWRIWKH'HEWRUVRUWKH%X\HUSURYLGHGIXUWKHUWKDWXQOHVVD1RQ

'HEWRU &RXQWHUSDUW\ LV DQ 2EMHFWLQJ 3DUW\ OLVWHG RQ ([KLELW $ KHUHWR DOO WKH 1RQ'HEWRU

&RXQWHUSDUWLHVVKDOOEHIXOO\DQGILQDOO\ERXQGE\WKH&XUH&RVWOLVWHGRQWKH$VVXPSWLRQ1RWLFH

DQG DQ\ FKDOOHQJH WR VXFK &XUH &RVW LV GHHPHG ZDLYHG DQG UHOHDVHG  3HQGLQJ VXFK IXUWKHU

GHWHUPLQDWLRQV QR DVVHWV DVVRFLDWHG ZLWK WKH 2EMHFWLQJ 3DUWLHV¶ FRQWUDFWV DQG OHDVHV VKDOO EH

GHHPHGVROGRUDVVLJQHGWRWKH%X\HU8QWLOVXFKWLPHDVDFRQWUDFWRUOHDVHRIDQ2EMHFWLQJ3DUW\

LVDVVXPHGDQGDVVLJQHGWRWKH%X\HUVXFK2EMHFWLQJ3DUW\¶VFRQWUDFWRUOHDVHPD\EHUHMHFWHG

LQFOXGLQJ ZLWKRXW OLPLWDWLRQ IROORZLQJ WKH &RXUW¶V GHWHUPLQDWLRQ RI WKH &XUH &RVWV UHODWLQJ

WKHUHWR)XUWKHUPRUHQRWKLQJLQWKLV2UGHUVKDOOSUHMXGLFHWKHULJKWRIDQ\SDUW\WRREMHFWWRWKH

DVVXPSWLRQDQGDVVLJQPHQWRIDQ\&RQWUDFWLQWKHHYHQWWKDWWKH'HEWRUVEUHDFKWKHLUREOLJDWLRQV

XQGHUWKH&RQWUDFWDIWHUWKHGDWHKHUHRIDQGSULRUWRWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKH$VVXPHG

&RQWUDFW SURYLGHG KRZHYHU WKDW WKH FRXQWHU SDUW\ WR DQ\ VXFK &RQWUDFW PXVW JLYH QRWLFH LQ

ZULWLQJ E\ HPDLO WR FRXQVHO WR WKH 'HEWRUV 3DXO 6WHYHQ 6LQJHUPDQ (VT

VLQJHUPDQ#EHUJHUVLQJHUPDQFRP -RUGL *XVR (VT MJXVR#EHUJHUVLQJHUPDQFRP &KULVWRSKHU

$QGUHZ -DUYLQHQ (VT FMDUYLQHQ#EHUJHUVLQJHUPDQFRP DQG 6DPXHO - &DSXDQR (VT

VFDSXDQR#EHUJHUVLQJHUPDQFRP  DQG FRXQVHO WR WKH %X\HU /DXUHQFH )UD]HQ (VT

 ODUU\IUD]HQ#EFOSODZFRP  DQG 0LFKDHO *ROGEHUJ (VT PLFKDHOJROGEHUJ#DNHUPDQFRP  RI

WKHEUHDFKZLWKLQWKUHH  EXVLQHVVGD\VRIVXFKFRXQWHUSDUW\KDYLQJNQRZOHGJHRIWKHRFFXUUHQFH

RIWKHEUHDFK

               7KH SURYLVLRQV RI WKLV 2UGHU VKDOO EH ELQGLQJ RQ DQG LQXUH WR WKH EHQHILW RI DOO

VXFFHVVRUVDQGDVVLJQHHVRIWKH'HEWRUVDQGWKH%X\HU

               7KH 'HEWRUV DUH DXWKRUL]HG WR HQIRUFH WKHLU ULJKWV XQGHU DQ\ FRQILGHQWLDOLW\

DJUHHPHQWVWKH\HQWHUHGLQWRZLWK L RWKHUSRWHQWLDOLQWHUHVWHGEX\HUVZLWKUHVSHFWWRWKH3XUFKDVHG

                                                        

                 Case 24-20576-CLC          Doc 29      Filed 10/13/24       Page 76 of 565



$VVHWV IRU WKH EHQHILW RI WKH %X\HU RU LL  DQ\ RWKHU LQWHUHVWHG SDUWLHV ZLWK UHVSHFW WR WKHVH

EDQNUXSWF\FDVHVRUSUHSHWLWLRQLQIRUPDWLRQWKDWLVRWKHUZLVHFRQILGHQWLDOIRUWKHEHQHILWRIRWKHU

SURWHFWHGSDUWLHVLQLQWHUHVWLQHDFKFDVHIRUWKHWHUPRIHDFKUHVSHFWLYHFRQILGHQWLDOLW\DJUHHPHQW

               1RWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\FRQWDLQHGKHUHLQ L DQ\SD\PHQWPDGH

RUWREHPDGHRUDXWKRUL]DWLRQFRQWDLQHGKHUHXQGHUVKDOOEHVXEMHFWWRWKHUHTXLUHPHQWVLPSRVHG

RQWKH'HEWRUVXQGHUDQ\SRVWSHWLWLRQILQDQFLQJIDFLOLW\DSSURYHGE\RUDQ\RUGHUUHJDUGLQJWKH

XVHRIFDVKFROODWHUDOHQWHUHGE\WKH&RXUWLQWKHVHFKDSWHUFDVHVLQFOXGLQJZLWKRXWOLPLWDWLRQ

WKHInterim Order (I) Authorizing the Debtors to Obtain Postpetition Financing, (II) Authorizing

the Debtors to Use Cash Collateral, (III) Granting Liens and Providing Superpriority

Administrative Expense Status, (IV) Granting Adequate Protection, (V) Modifying the Automatic

Stay, (VI) Scheduling a Final Hearing, and (VII) Granting Related Relief DQG DQ\ ILQDO RUGHU

HQWHUHGZLWKUHVSHFWWKHUHWR DVDSSOLFDEOHWKH³',32UGHU´ DQG LL WRWKHH[WHQWWKHUHLVDQ\

LQFRQVLVWHQF\EHWZHHQWKHWHUPVRIWKH',32UGHUDQGDQ\DFWLRQWDNHQRUSURSRVHGWREHWDNHQ

KHUHXQGHUWKH',32UGHUDQGWKH$SSURYHG%XGJHW DVGHILQHGLQWKH',32UGHU VKDOOFRQWURO

)RU WKH DYRLGDQFH RI GRXEW WKH 'HEWRUV DUH QRW DXWKRUL]HG WR PDNH SD\PHQWV SXUVXDQW WR WKLV

2UGHUH[FHSWDVSHUPLWWHGE\WKH$SSURYHG%XGJHW DVGHILQHGLQWKH',32UGHU 

               1RWZLWKVWDQGLQJ DQ\WKLQJ WR WKH FRQWUDU\ LQ WKLV 2UGHU RU LQ WKH 3XUFKDVH

$JUHHPHQW RULQDQ\GRFXPHQWFRQWHPSODWHGWKHUHE\ 

                D RQWKHILUVW)ULGD\IROORZLQJFORVLQJRIWKH6DOHDQGRQWKH)ULGD\RIHYHU\ZHHN

                   WKHUHDIWHU WKH 3UHSHWLWLRQ )LUVW /LHQ $JHQW DV GHILQHG LQ WKH ',3 2UGHU  VKDOO

                   UHFHLYHDVDGHTXDWHSURWHFWLRQSD\PHQWRIWKHJURVVSURFHHGVRIDFFRXQWVUHFHLYDEOH

                   FROOHFWHGE\WKH'HEWRUVZLWKRXWGHGXFWLRQRUVHWRIIE\DQ\DFFRXQWGHEWRUZKLFK



                                                      

                 Case 24-20576-CLC          Doc 29      Filed 10/13/24      Page 77 of 565



                   WKH 'HEWRUV VKDOO XVH FRPPHUFLDOO\ UHDVRQDEOH JRRG IDLWK HIIRUWV WR SXUVXH DQG

                   FROOHFWRQDWLPHO\EDVLV

                E SURPSWO\IROORZLQJWKHHQWU\RIWKLV2UGHUWKH'HEWRUVVKDOOFROODWHUDOO\DVVLJQDQG

                   JUDQWWRWKH3UHSHWLWLRQ)LUVW/LHQ$JHQWDOORIWKH'HEWRUV¶ULJKWVWLWOHLQWHUHVW

                   UHPHGLHV SULYLOHJHV DQG FODLPV LQ DQG WR EXW IRU WKH DYRLGDQFH RI GRXEW

                   H[FOXGLQJDQ\DQGDOOREOLJDWLRQVDQGOLDELOLWLHVXQGHU WKH3XUFKDVH$JUHHPHQWDQG

                   DOORWKHUDJUHHPHQWVLQVWUXPHQWVDQGRWKHUGRFXPHQWVUHODWHGWKHUHWRRUH[HFXWHG

                   LQFRQQHFWLRQWKHUHZLWKLQFOXGLQJZLWKRXWOLPLWDWLRQDOOULJKWVWRUHFHLYHSD\PHQW

                   RIWKH+ROGEDFN$PRXQWDQG'HSRVLW HDFKDVGHILQHGLQWKH3XUFKDVH$JUHHPHQW 

                   DVZHOODVDOORWKHUSD\PHQWVIURPWKH%X\HUZKLFKFROODWHUDODVVLJQPHQWDQGJUDQW

                   VKDOOEHLQIRUPDQGVXEVWDQFHDFFHSWDEOHWRWKH3UHSHWLWLRQ)LUVW/LHQ$JHQWDQG

                F XSRQFORVLQJRIWKH6DOHDQGVXEMHFWRQO\WRSD\PHQWLQIXOOLQFDVKRIWKH',3

                   2EOLJDWLRQV DVGHILQHGLQWKH',32UGHU  DQGWKHIXQGLQJRIWKH&DUYH2XWDQG

                   3RVW6DOH5HVHUYHV HDFKDVGHILQHGLQWKH',32UGHU LQDFFRUGDQFHZLWKWKH',3

                   2UGHUWKH'HEWRUVVKDOOSD\DOOFDVKSURFHHGVRIWKH6DOHWRWKH3UHSHWLWLRQ)LUVW

                   /LHQ$JHQWIRUDSSOLFDWLRQWRWKH3UHSHWLWLRQ)LUVW/LHQ2EOLJDWLRQV DVGHILQHGLQ

                   WKH',32UGHU 

               ,QWKHHYHQWWKHUHLVDQ\LQFRQVLVWHQF\EHWZHHQWKH6DOH0RWLRQRUWKLV2UGHUWKLV

2UGHUVKDOOJRYHUQ,QWKHHYHQWWKHUHLVDQ\LQFRQVLVWHQF\EHWZHHQWKHWHUPVRIWKLV2UGHUDQGWKH

WHUPVRIWKH3XUFKDVH$JUHHPHQWWKHWHUPVRIWKLV2UGHUVKDOOJRYHUQ

               7KLV&RXUWVKDOOUHWDLQH[FOXVLYHMXULVGLFWLRQWRHQIRUFHWKHWHUPVDQGSURYLVLRQVRI

WKLV2UGHUDQGWKH3XUFKDVH$JUHHPHQWLQDOOUHVSHFWVDQGWRGHFLGHDQ\GLVSXWHVFRQFHUQLQJWKLV

2UGHUWKH3XUFKDVH$JUHHPHQWRUWKHULJKWVDQGGXWLHVRIWKHSDUWLHVKHUHXQGHURUWKHUHXQGHURU

                                                      

                 Case 24-20576-CLC          Doc 29       Filed 10/13/24      Page 78 of 565



DQ\LVVXHV UHODWLQJWRWKH3XUFKDVH $JUHHPHQW DQGWKLV2UGHULQFOXGLQJ EXWQRWOLPLWHGWRWKH

LQWHUSUHWDWLRQ RI WKH WHUPV FRQGLWLRQV DQG SURYLVLRQV KHUHRI DQG WKHUHRI WKH VWDWXV QDWXUH DQG

H[WHQWRIWKH3XUFKDVHG$VVHWVDQGDQ\$VVXPHG&RQWUDFWVDQGDOOLVVXHVDQGGLVSXWHVDULVLQJLQ

FRQQHFWLRQ ZLWK WKH UHOLHI DXWKRUL]HG KHUHLQ LQFOXVLYH RI WKRVH FRQFHUQLQJ WKH WUDQVIHU RI WKH

3XUFKDVHG$VVHWVIUHHDQGFOHDURIDQ\/LHQVDQG,QWHUHVWVDQGDQ\DFWLRQVHIIRUWVDQGRUFRQGXFW

GHVLJQHG WR GHSULYH WKH %X\HU RI WKH 3XUFKDVHG $VVHWV LQFOXGLQJ DQ\ DQG DOO WDQJLEOH DQG

LQWDQJLEOH DVVHWV SHUVRQDO SURSHUW\ JRRGZLOO EUDQG DQG UHODWHG OLNHQHVVHV DFTXLUHG XQGHU WKH

3XUFKDVH$JUHHPHQWSURYLGHGKRZHYHUWKDWLQWKHHYHQWWKH&RXUWDEVWDLQVIURPH[HUFLVLQJRU

GHFOLQHVWRH[HUFLVHVXFKMXULVGLFWLRQZLWKUHVSHFWWRWKH3XUFKDVH$JUHHPHQWRUWKLV2UGHUVXFK

DEVWHQWLRQUHIXVDORUODFNRIMXULVGLFWLRQVKDOOKDYHQRHIIHFWXSRQDQGVKDOOQRWFRQWUROSURKLELW

RUOLPLWWKHH[HUFLVHRIMXULVGLFWLRQRIDQ\RWKHUFRXUWKDYLQJFRPSHWHQWMXULVGLFWLRQZLWKUHVSHFW

WRDQ\VXFKPDWWHU

              $OO WLPH SHULRGV VHW IRUWK LQ WKLV 2UGHU VKDOO EH FDOFXODWHG LQ DFFRUGDQFH ZLWK

%DQNUXSWF\5XOH D 

              7KHSURYLVLRQVRIWKLV2UGHUDUHQRQVHYHUDEOHDQGPXWXDOO\GHSHQGHQW

              1RWZLWKVWDQGLQJWKHSURYLVLRQVRI%DQNUXSWF\5XOHV K  G RURU

DQ\DSSOLFDEOHSURYLVLRQVRIWKH/RFDO5XOHVWKLV2UGHUZLOOQRWEHVWD\HGDIWHUWKHHQWU\KHUHRI

EXW ZLOO EH HIIHFWLYH DQG HQIRUFHDEOH LPPHGLDWHO\ XSRQ HQWU\ DQG WKH IRXUWHHQ   GD\ VWD\

SURYLGHGLQ%DQNUXSWF\5XOHV K DQG G LVKHUHE\H[SUHVVO\ZDLYHGDQGZLOOQRWDSSO\

                                                  
                                 




                                                      

                Case 24-20576-CLC    Doc 29     Filed 10/13/24    Page 79 of 565



6XEPLWWHGE\
&KULVWRSKHU$QGUHZ-DUYLQHQ(VT
%HUJHU6LQJHUPDQ//3
%ULFNHOO$YHQXH6XLWH
0LDPL)/
7HO  
)D[  
(PDLOFMDUYLQHQ#EHUJHUVLQJHUPDQFRP

(Attorney Jarvinen is directed to serve this order upon all non-registered users who have yet to
appear electronically in this case and file a conforming certificate of service.)




                                              

               Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 80 of 565






                                      (;+,%,7%

                                   3XUFKDVH$JUHHPHQW 

         





                 Case 24-20576-CLC     Doc 29    Filed 10/13/24   Page 81 of 565

                                                                       Execution Copy




                                   ASSET PURCHASE AGREEMENT

                                          by and among

                                 MB MEDICAL OPERATIONS, LLC,

                                  MB MEDICAL TRANSPORT, LLC,

                                  CARE CENTER NETWORK, LLC,

                               CARE CENTER MEDICAL GROUP, LLC,

                                 CLINICAL CARE PHARMACY, LLC,

                           FLORIDA FAMILY PRIMARY CARE CENTER, LLC,

                     FLORIDA FAMILY PRIMARY CARE CENTERS OF ORLANDO, LLC,

                      FLORIDA FAMILY PRIMARY CARE CENTERS OF TAMPA, LLC,

                      FLORIDA FAMILY PRIMARY CARE CENTERS OF PASCO, LLC,

                     FLORIDA FAMILY PRIMARY CARE CENTERS OF PINELLAS, LLC,

                                 CCMC PHYSICIAN HOLDINGS, INC.,

                             MIAMI MEDICAL & WELLNESS CENTER LLC,

              MIAMI BEACH MEDICAL CENTERS, INC. F/K/A RODOLFO DUMENIGO, M.D., P.A.,

                            MIAMI BEACH MEDICAL CONSULTANTS, LLC,

                  MB MEDICAL OPERATIONS, LLC, AS THE SELLERS’ REPRESENTATIVE,

                                                and

                           CONVIVA MEDICAL CENTER MANAGEMENT, LLC

                                   Dated as of October 12, 2024




13208185-55
13208185-58
                   Case 24-20576-CLC                          Doc 29               Filed 10/13/24               Page 82 of 565




                                                               Table of Contents

ARTICLE I. DEFINITIONS .......................................................................................................................... 2

ARTICLE II. PURCHASE AND SALE ...................................................................................................18

           2.1        Transfer of Assets; Retained Assets ................................................................................ 18
           2.2        Assumption of Liabilities................................................................................................... 22
           2.3        Desired 365 Contracts ........................................................................................................ 24
           2.4        Consideration ....................................................................................................................... 28
           2.5        Closing ................................................................................................................................... 29
           2.6        Deliveries of Sellers at Closing ........................................................................................ 30
           2.7        Deliveries of Buyer at Closing ......................................................................................... 31
           2.8        Withholding .......................................................................................................................... 31
           2.9        Allocation .............................................................................................................................. 31

ARTICLE III. REPRESENTATIONS AND WARRANTIES REGARDING THE
              SELLERS ..........................................................................................................................32

           3.1        Status; Power and Authority ............................................................................................. 32
           3.2        Enforceability ....................................................................................................................... 33
           3.3        No Violation; Consents and Approvals .......................................................................... 33
           3.4        Financial Statements; Records .......................................................................................... 34
           3.5        Absence of Certain Developments .................................................................................. 34
           3.6        Litigation ............................................................................................................................... 36
           3.7        Environmental Matters ....................................................................................................... 36
           3.8        Title to Purchased Assets; Real Property ....................................................................... 37
           3.9        Compliance with Laws ....................................................................................................... 38
           3.10       Health Care Matters ............................................................................................................ 38
           3.11       Labor and Employment Matters ....................................................................................... 44
           3.12       Employee Benefit Plans ..................................................................................................... 45
           3.13       Tax Matters ........................................................................................................................... 46
           3.14       Insurance ............................................................................................................................... 48
           3.15       Related Party Transactions and Interests ........................................................................ 48
           3.16       Material Contracts ............................................................................................................... 48
           3.17       Intellectual Property ............................................................................................................ 51
           3.18       Privacy and Security Compliance .................................................................................... 53
           3.19       No Brokers ............................................................................................................................ 54
           3.20       Certain Business Relationships ........................................................................................ 54
           3.21       Absence of Unlawful Payments ....................................................................................... 54
           3.22       Devices .................................................................................................................................. 55
           3.23       PPP Loan ............................................................................................................................... 55
           3.24       COVID-19............................................................................................................................. 55
           3.25       CHOPD Incident.................................................................................................................. 55


                                                                               i
13208185-55
13208185-58
                Case 24-20576-CLC                         Doc 29             Filed 10/13/24                   Page 83 of 565




ARTICLE IV. REPRESENTATIONS AND WARRANTIES OF BUYER .....................................55

         4.1      Status ...................................................................................................................................... 56
         4.2      Power and Authority ........................................................................................................... 56
         4.3      Enforceability ....................................................................................................................... 56
         4.4      No Violation; Consents and Approvals .......................................................................... 56
         4.5      Brokers................................................................................................................................... 56
         4.6      Litigation ............................................................................................................................... 56
         4.7      Sufficient Funds; Adequate Assurances ......................................................................... 56
         4.8      Acknowledgements; “As Is” “Where Is” Transaction................................................. 57

ARTICLE V. PRE-CLOSING COVENANTS ........................................................................................57

         5.1      Conduct of Business ........................................................................................................... 58
         5.2      Access to Information......................................................................................................... 59
         5.3      Pending Audits and Appeals Pre-Closing Access to Information ............................. 60
         5.4      Notification ........................................................................................................................... 61
         5.5      Efforts to Close .................................................................................................................... 61
         5.6      Bankruptcy Court Approval .............................................................................................. 62
         5.7      Bankruptcy Matters ............................................................................................................. 62
         5.8      Desired 365 Contracts ........................................................................................................ 63
         5.9      Employee Census ................................................................................................................ 63

ARTICLE VI. RESTRICTIVE COVENANTS .......................................................................................63

         6.1      Non-Competition, Non-Solicitation and Confidentiality Covenants........................ 63
         6.2      Confidentiality ..................................................................................................................... 64

ARTICLE VII. ADDITIONAL COVENANTS OF THE PARTIES ..................................................65

         7.1      Public Announcements; Confidentiality ......................................................................... 65
         7.2      Taxes. ..................................................................................................................................... 66
         7.3      Further Assurances .............................................................................................................. 67
         7.4      Assumed Contracts ............................................................................................................. 67
         7.5      Cure Costs; Accrued Liabilities........................................................................................ 68
         7.6      Obligations with Respect to Employees ......................................................................... 68
         7.7      Use of Names ....................................................................................................................... 70
         7.8      Certain Payments ................................................................................................................. 70
         7.9      Insurance ............................................................................................................................... 71
         7.10     Enrollment Termination; Preservation of Records; Treatment of Medical
                  Records .................................................................................................................................. 71
         7.11     Post-Closing ACO Participation ...................................................................................... 72
         7.12     Third Party Payor Deficits ................................................................................................. 72
         7.13     Accounts Receivable; Payments Received. ................................................................... 72
         7.14     Personally Identifiable Information ................................................................................. 73

                                                                           ii
13208185-55
13208185-58
                  Case 24-20576-CLC                          Doc 29            Filed 10/13/24                  Page 84 of 565




ARTICLE VIII. INDEMNIFICATION .....................................................................................................73

          8.1        Indemnification by Sellers ................................................................................................. 73
          8.2        Indemnification by Buyer .................................................................................................. 74
          8.3        Notice of Claim .................................................................................................................... 74
          8.4        Claims of Third Persons ..................................................................................................... 74
          8.5        Limitations on Indemnity................................................................................................... 76
          8.6        Set-Off Rights ...................................................................................................................... 77
          8.7        Exclusive Remedy ............................................................................................................... 77

ARTICLE IX. CONDITIONS TO CLOSING .........................................................................................78

          9.1        Conditions to Obligation of Buyer................................................................................... 78
          9.2        Conditions to Obligation of Seller ................................................................................... 79
          9.3        Frustration of Closing Conditions .................................................................................... 80
          9.4        Waiver of Conditions.......................................................................................................... 80

ARTICLE X. TERMINATION ...................................................................................................................80

          10.1       Termination........................................................................................................................... 80
          10.2       Effect of Termination ......................................................................................................... 82

ARTICLE XI. MISCELLANEOUS PROVISIONS ...............................................................................82

          11.1       Notices ................................................................................................................................... 82
          11.2       Entire Agreement................................................................................................................. 84
          11.3       Amendment and Modification .......................................................................................... 84
          11.4       Assignment; Binding Agreement ..................................................................................... 84
          11.5       Counterparts ......................................................................................................................... 85
          11.6       Section Headings; Interpretation ...................................................................................... 85
          11.7       Expenses ................................................................................................................................ 85
          11.8       Disclosure Schedules .......................................................................................................... 85
          11.9       Remedies Cumulative ......................................................................................................... 86
          11.10      Governing Law; Submission to Jurisdiction and Venue; WAIVER OF JURY
                     TRIAL.................................................................................................................................... 86
          11.11      No Third Party Beneficiaries or Other Rights ............................................................... 86
          11.12      Severability ........................................................................................................................... 87
          11.13      No Waiver ............................................................................................................................. 87
          11.14      Appointment of Sellers’ Representative ......................................................................... 87
          11.15      No Requirement to Refer ................................................................................................... 88
          11.16      Releases ................................................................................................................................. 88




                                                                             iii
13208185-55
13208185-58
              Case 24-20576-CLC      Doc 29    Filed 10/13/24   Page 85 of 565




EXHIBITS

Exhibit A      Tangible Asset List
Exhibit B      Form of Transition Services Agreement
Exhibit C      Forms of Intellectual Property Assignments
Exhibit D      Form of Physician Employment Agreement




                                              iv
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 86 of 565




                              ASSET PURCHASE AGREEMENT

        THIS ASSET PURCHASE AGREEMENT (this “Agreement”) is entered into as of
October 12, 2024, by and among MB Medical Operations, LLC, a Delaware limited liability
company (“MBMO”), MB Medical Transport, LLC, a Delaware limited liability company
(“MBMT”), Care Center Network, LLC, a Florida limited liability company (“CCN”), Clinical
Care Pharmacy, LLC, a Florida limited liability company (“CCP”), Care Center Medical Group,
LLC, a Florida limited liability company (“CCMG”), Florida Family Primary Care Center, LLC,
a Florida limited liability company (“FFPCC”), Florida Family Primary Care Centers of Tampa,
LLC, a Florida limited liability company (“FFPCCT”), Florida Family Primary Care Centers of
Pasco, LLC, a Florida limited liability company (“FFPCCP”), Florida Family Primary Care
Centers of Pinellas, LLC, a Florida limited liability company (“FFPCCPL”), Florida Family
Primary Care Centers of Orlando, LLC, a Florida limited liability company (“FFPCCO”), CCMC
Physician Holdings, Inc., a Florida limited liability company (“CCMC Holdings”), Miami Medical
& Wellness Center LLC, a Florida limited liability company (“MMWC”), Miami Beach Medical
Centers, Inc., a Florida corporation f/k/a Rodolfo Dumenigo, M.D., P.A., a Florida professional
association (“RD”), Miami Beach Medical Consultants, LLC d/b/a Clinical Care Medical Centers,
a Florida limited liability company (“MBMC” and collectively with MBMO, MBMT, CCN, CCP,
CCMG, FFPCC, FFPCCT, FFPCCP, FFPCCPL, FFPCCO, CCMC Holdings, MMWC, and RD,
the “Sellers”, and each, a “Seller”), MB Medical Operations, LLC, a Delaware limited liability
company, as the representative of the Sellers (the “Sellers’ Representative”), and Conviva Medical
Center Management, LLC, a Delaware limited liability company (“Buyer”). Sellers, Sellers’
Representative, and Buyer are hereinafter collectively referred to as the “Parties” and each,
individually, as a “Party.” Capitalized terms not otherwise defined in this Agreement are defined
in Article I.

                                            RECITALS

        WHEREAS, the Sellers are engaged, in a clinic setting, in the performance of professional
medical services, diagnostic, therapeutic and ancillary services, nursing and other clinical services,
outpatient managed care and fee-for-service healthcare services, dental services, optometry
services, chiropractic services, psychiatry services, podiatry services, pharmacy services,
acupuncture services, neurology services, wellness (hair, nail, and food) services, transportation
services, dermatology services, radiology services, massage therapy and PRP injection services,
home services, pediatric services, and all other services incidental to the operation of a primary
care medicine, family medicine, urgent care, specialty medicine, and/or internal medicine medical
practice (the “Business”);

       WHEREAS, the Sellers intend to file a voluntary petition in the United States Bankruptcy
Court for the Southern District of Florida (the “Bankruptcy Court”) not later than October 13,
2024;

        WHEREAS, on and subject to the terms of this Agreement, Buyer desires to, among other
things, acquire the Purchased Assets (as defined herein) and assume the Assumed Liabilities (as
defined herein) from the Sellers, and the Sellers desire to, among other things, sell or assign to
Buyer the Purchased Assets and the Assumed Liabilities, all pursuant to Section 363(f) of the
Bankruptcy Code (as defined herein) and with the approval of the Bankruptcy Court;
                                                1
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 87 of 565




       WHEREAS, the Persons identified on Schedule 2.6(a)(ix), each of whom will receive
substantial benefit from the consummation of the transactions contemplated by this Agreement,
are expected to enter into Employment Agreements (as defined herein); and

       NOW, THEREFORE, in consideration of the recitals and the mutual covenants,
representations, warranties, conditions, and agreements hereinafter contained and for other good
and valuable consideration, the receipt and sufficiency of which are hereby acknowledged, and
intending to be legally bound, the Parties agree as follows:

                                           ARTICLE I.
                                          DEFINITIONS

         The following words shall have the meaning given them in this Article I.

        “365 Contracts” means the executory Contracts and Real Property Leases, appearing on
the Bankruptcy schedules, to which one or more Sellers is a party, in each case, within the meaning
of Section 365 of the Bankruptcy Code pertaining to the Purchased Assets or Assumed Liabilities.

       “ACO” means an accountable care organization participating in any accountable care
organization program developed by CMMI, including any accountable care organization under the
MSSP, any accountable care organization participating in ACO Reach, or any Next Gen ACO.

       “ACO Reach” means the CMMI developed accountable care organization innovation
model Realizing Equity, Access, and Community Health, renamed from the former CMMI
accountable care organization Global and Professional Direct Contracting Model.

         “Advance Receivables” has the meaning set forth in Section 7.13(a).

        “Affiliate” means with respect to any Person, any other Person which is controlling,
controlled by, or under common control with, directly or indirectly through any Person, the Person
referred to, and, if the Person referred to is a natural person, such Person’s spouse and children
(including those by adoption). The term “control” (including, with correlative meaning, the terms
“controlled by” and “under common control with”) as used with respect to any Person, means the
possession, directly or indirectly, of the power to direct or cause the direction of the management
and policies of such Person, whether through the ownership of voting securities, by Contract or
otherwise; provided that the term “Affiliate” shall not, for the avoidance of doubt, include KKR &
Co. Inc., or Sun Capital Partners, Inc. or their respective affiliates (other than MBMO and its
subsidiaries), or any of their respective affiliates’ predecessors, successors, assigns, subsidiaries,
managed accounts or funds, including the managed accounts or funds of subsidiaries, current or
former officers, directors, managers, principals, shareholders, members, partners, employees,
agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
consultants, representatives, management companies, fund advisors or other professionals.

      “Agreement” means this Agreement as executed on the date hereof and as amended or
supplemented in accordance with the terms hereof, including all Schedules and Exhibits hereto.



                                                  2
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24    Page 88 of 565




       “AI” means any artificial or augmented intelligence, machine learning, deep learning, or
self-improving, platform, engine, or system; predictive analytics; or any other software, algorithm,
hardware, or other tool that makes decisions based on rules or statistics learned from example data.

       “Ancillary Agreements” means each of the Transition Services Agreement and each of the
other agreements and certificates to be delivered hereunder or thereunder by any Party or other
party thereto. For the avoidance of doubt, the Employment Agreements are not Ancillary
Agreements.

         “Assumed Contracts” has the meaning set forth in Section 2.1(a)(vi).

         “Assumed Liabilities” has the meaning set forth in Section 2.2(a).

         “Assumption Notice” has the meaning set forth in Section 2.3(d).

       “Avoidance Actions” means all claims and causes of action arising under Sections 542
through 553 of the Bankruptcy Code or any analogous state law.

       “Bankruptcy and Equity Exceptions” means applicable bankruptcy, insolvency,
reorganization, moratorium, or similar Laws affecting or relating to creditors’ rights generally and
general equitable principles.

      “Bankruptcy Cases” means the chapter 11 proceedings to be filed by Sellers in the
Bankruptcy Court.

      “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101-1532, as
amended from time to time.

         “Bankruptcy Court” has the meaning set forth in the Recitals.

       “Bankruptcy Schedules” mean the Schedules of Assets and Liabilities, as may be amended
from time to time, filed by the Sellers with the Bankruptcy Court.

         “Business” has the meaning set forth in the Recitals.

       “Business Day” means any day which is not a Saturday, Sunday or federal legal holiday in
the United States of America.

         “Buyer” has the meaning set forth in the preamble.

         “Buyer Closing Certificate” has the meaning set forth in Section 9.2(c).

         “Buyer Closing Notice” has the meaning set forth in Section 10.1(c)(iii).

         “Buyer Indemnified Persons” has the meaning set forth in Section 8.1.

         “Buyer Releasing Parties” has the meaning set forth in Section 11.16.


                                                  3
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29    Filed 10/13/24     Page 89 of 565




        “Buyer’s Desired 365 Contract Initial Period Reimbursement Obligations” has the meaning
set forth in Section 2.3(b)(iii).

        “Buyer’s Desired 365 Contract Final Period Reimbursement Obligations” has the meaning
set forth in Section 2.3(b)(i).

         “Buyer’s Prorated Responsibilities” has the meaning set forth in Section 7.8(b).

         "Cap” has the meaning set forth in Section 8.5(c).

       “CARES Act” means the Coronavirus Aid, Relief, and Economic Security Act of 2020, as
signed into law by the President of the United States on March 27, 2020, together with all rules
and regulations and guidance issued by any Governmental Authority with respect thereto and all
amendments thereto.

         “CCMC Holdings” has the meaning set forth in the preamble.

         “CCMG” has the meaning set forth in the preamble.

       “CHOPD Incident” means the Change Healthcare / Optum cyber incident, which began on
February 21, 2024, and resulted in delays in the submission or processing of Medicare claims
payments by certain providers and suppliers.

        “CHOPD AAPs” means any accelerated or advance payments related to the CHOPD
Incident issued by CMS, including any applications, certifications or acknowledgments related
thereto, received or made by any Seller.

        “CHOPD Relief Program” means the CHOPD AAPs made available by CMS on March 9,
2024, to certain eligible Part A providers and Part B suppliers experiencing claims disruptions as
a result of the CHOPD Incident, including any current or future guidance and rules published by
CMS or any other Governmental Authority administering the same.

         “Claim Notice” has the meaning set forth in Section 8.3.

         “Closing” has the meaning set forth in Section 2.5.

         “Closing Date” has the meaning set forth in Section 2.5.

         “Closing Payment” has the meaning set forth in Section 2.4(b).

         “CMMI” means the Center for Medicare & Medicaid Innovation at CMS.

      “CMS” means the Centers for Medicare and Medicaid Services, or any successor
Governmental Authority exercising similar authority.

      “COBRA” means the Consolidated Omnibus Budget Reconciliation Act of 1985, as
amended.


                                                 4
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 90 of 565




         “Code” means the U.S. Internal Revenue Code of 1986, as amended.

         “Confidential Information” has the meaning set forth in Section 6.2(a).

         “Contingent Workers” has the meaning set forth in Section 3.11(a).

        “Contract” means any contract, agreement, understanding, lease, sublease or sub-sublease
of any tier, license, indenture, mortgage, deed of trust, Lien, franchise, evidence of Indebtedness,
binding commitment, instrument, open purchase order or offer, written or oral, express or implied.

         “Compensation Payments” has the meaning set forth in Section 7.6(a).

         “Coverage Period” has the meaning set forth in Section 7.9.

      “COVID-19” means the novel coronavirus disease, COVID-19 virus (SARS-COV-2) (or
any mutation or variation thereof or related health condition, or any related or associated
epidemics, pandemics or disease outbreaks).

        “COVID-19 Funds” means any loan, exclusion, forgiveness, advance, grant, subsidy, or
other payment or application for assistance or stimulus, received or made by any Seller under or
pursuant to any COVID-19 Relief Program, including any PPP Loan, Economic Stabilization Fund
loan, or other U.S. Small Business Administration loan, as well as any funds received in connection
with any Accelerated Payment Program or Advance Payment Program administered by CMS or
from the Public Health and Social Services Emergency Fund established under the CARES Act.

         “COVID-19 Relief Program” means any program authorized or promulgated by a
Governmental Authority in response to or in connection with COVID-19, including the CARES
Act and subsequent or related legislation or amendments, any current or future regulations or
official interpretations thereof, and any current or future guidance and rules published by the U.S.
Small Business Administration or any other Governmental Authority administering the same.

        “Cure Costs” means all monetary Liabilities, including pre-petition monetary Liabilities,
of Sellers that must be paid or otherwise satisfied to cure all of Sellers’ monetary and other defaults
under the Assumed Contracts pursuant to Section 365 of the Bankruptcy Code at the time of a
Seller’s assumption thereof and assignment of the Assumed Contracts to Buyer as determined by
the Bankruptcy Court or as agreed upon between Buyer and the non-Seller counter-party to any
such Assumed Contract as provided hereunder.

         “Defense Notice” has the meaning set forth in Section 8.4(a).

         “Deficit Settlement Amount” has the meaning set forth in Section 7.12.

         “Deposit” has the meaning set forth in Section 2.4(c).

         “Deposit Agreement” has the meaning set forth in Section 2.4(c).

         “Designation Notices” has the meaning set forth in Section 2.3(b)(iii).

                                                  5
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24       Page 91 of 565




         “Desired 365 Contract” has the meaning set forth in Section 2.3(a).

         “Determination Dates” has the meaning set forth in Section 2.3(b)(iii).

        “Devices” means cellphones, tablets, iPads, laptop computers, desktop computers, printers,
fax machines, copy machines, and any other electronic device that may process or store “protected
health information” (as defined in 45 C.F.R. § 160.103) possessed by the Sellers in connection
with the Business or that have otherwise been used at any time and in any manner in connection
with the Business by the Sellers’ personnel.

         “DIP Facility” has the meaning set forth in Section 5.7(c).

       “Direct Compensation” shall mean annualized gross cash compensation paid by Sellers to
or on behalf of an employee, excluding the value of fringe benefits and Plan premiums but
including cash bonuses and Plan contributions.

         “Disclosing Party” has the meaning set forth in Section 5.4.

        “Disclosure Schedules” means the disclosure schedules delivered by the Sellers to Buyer
on the date hereof regarding certain exceptions to the representations and warranties in Article III
hereof.

         “Employee Withholding Documents” has the meaning set forth in Section 7.6(c).

         “Employment Agreements” has the meaning set forth in Section 2.6(a)(ix).

        “Environmental Law” means all Laws relating to the use, refinement, handling,
management, presence, treatment, removal, storage, production, manufacture, transportation or
disposal, emissions, discharges, releases, or threatened releases of Hazardous Substances, or
otherwise relating to pollution or protection of human health (including occupational health and
safety) or the environment (including ambient air, surface water, ground water, land surface, or
subsurface strata).

         “Equity Interests” means (a) any partnership interests, (b) any membership or limited
liability company interests or units, (c) any shares of capital stock, (d) any other interest or
participation that confers on a Person the right to receive a share of the profits and losses of, or
distribution of assets of, the issuing entity, (e) any subscriptions, calls, warrants, options, or
commitments of any kind or character relating to, or entitling any Person or entity to purchase or
otherwise acquire membership or limited liability company interests or units, capital stock, or any
other equity securities, (f) any securities convertible into or exercisable or exchangeable for
partnership interests, membership or limited liability company interests or units, capital stock, or
any other equity securities and (g) any other interest classified as an equity security of a Person.

         “ERISA” means the Employee Retirement Income Security Act of 1974, as amended.

       “ERISA Affiliate” means any entity that would have ever been considered a single
employer with any Seller under Section 414 of the Code or Section 4001(b) of ERISA or part of
the same “controlled group” as such Seller for purposes of Section 302(d)(3) of ERISA.
                                                6
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 92 of 565




         “Escrow Agent” means JP Morgan Chase Bank, N.A.

         “Excluded Assets” has the meaning set forth in Section 2.1(b).

         “Excluded Contracts” has the meaning set forth in Section 2.1(b)(x).

         “Excluded Devices” has the meaning set forth in Section 2.1(b)(xxiii).

         “Excluded Liabilities” has the meaning set forth in Section 2.2(b).

         “Express Representations” has the meaning set forth in Section 4.8(b).

         “Extended Contract Period” has the meaning set forth in Section 2.3(b)(iii).

         “Extended Final Determination Date” means the date ninety (90) days after the Closing
Date.

         “Extended Outside Date” has the meaning set forth in Section 10.1(b)(i).

         “Extension Budget” has the meaning set forth in Section 2.3(b)(i).

         “Extension Notice” has the meaning provided in Section 2.3(b)(i)

         “Extension Option” has the meaning provided in Section 2.3(b)(i).

         “Extension Period” has the meaning set forth in Section 2.3(b)(i).

         “FFPCC” has the meaning set forth in the preamble.

         “FFPCCO” has the meaning set forth in the preamble.

         “FFPCCP” has the meaning set forth in the preamble.

         “FFPCCPL” has the meaning set forth in the preamble.

         “Final Determination Date” means the date sixty (60) days after the Closing Date.

         “Financial Statements” has the meaning set forth in Section 3.4(a).

        “Fraud” means actual and intentional common law fraud as defined under the Law of the
State of Delaware (which, for the avoidance of doubt, does not include constructive fraud or other
claims based on constructive knowledge, negligent misrepresentation, recklessness or similar
theories) with respect to the representations and warranties set forth in this Agreement.

         “Funds Flow” has the meaning set forth in Section 2.7(a).

       “GAAP” means United States generally accepted accounting principles, applied in a
consistent manner.

                                                  7
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 93 of 565




         “Governmental Consents” has the meaning set forth in Section 2.6(a)(ii).

        “Government Program” is any Medicare, Medicaid or TRICARE program, any other
federal or state health program (as defined in 42 U.S.C. § 1320a-7b(f)) or other similar federal,
state or local reimbursement or governmental program for which the federal, state or local
government pays, in whole or in part, directly or indirectly, for the provision of healthcare services
or goods.

       “Governmental Authority” means any foreign, federal, state, provincial or local
governmental or regulatory commission, board, bureau, agency, court or regulatory or
administrative body or other similar body exercising governmental power or authority, or the agent
of any Governmental Authority including those entities who contract with a Governmental
Authority to administer federal health care programs such as Medicare, Medicaid and Tricare.

       “Hazardous Substances” means any pollutants, contaminants, hazardous substances,
hazardous wastes, hazardous materials, toxic substances, radioactive substances or materials, or
any terms of similar import or effect under any Environmental Law, or substances or materials for
which standards of care are imposed by any Environmental Law, including medical or infectious
wastes, lead-based paint or asbestos containing materials or substances, urea formaldehyde, or
petroleum or petroleum-based or petroleum-derived substances.

        “Health Care Fraud Laws” means the Federal Anti-Kickback Statute (42 U.S.C. § 1320a-
7b), the Stark Law (42 U.S.C. § 1395nn), the Federal False Claims Act (31 U.S.C. §§ 3729, et
seq.), the Federal Civil Monetary Penalties Law (42 U.S.C. § 1320a-7a), the Federal Program
Fraud Civil Remedies Act (31 U.S.C. § 3801 et seq.), the Federal Health Care Fraud Law (18
U.S.C. § 1347), the Beneficiary Inducement Statute, 42 U.S.C. § 1320a-7a(a)(5), the Civil False
Claims Act, as amended, 31 U.S.C. §§ 3729 et seq.; the Criminal False Claims Act, 18 U.S.C. §
287; the False Statements Relating to Health Care Matters Act, 18 U.S.C. § 1035; the Health Care
Fraud Act, 18 U.S.C. § 1347, the Program Fraud Civil Remedies Act, 31 U.S.C. §§ 3801-3812;
the Anti-Kickback Act of 1986, 41 U.S.C. §§ 51-58; the Civil Monetary Penalties Law, 42 U.S.C.
§§ 1320a-7a and 1320a-7b; and any similar state fraud and abuse, self-referral, false claims or
false statement Laws, and each of their respective implementing regulations.

         “Health Care Laws” means all Laws that govern, regulate, restrict or relate to the practice
of medicine, osteopathy, nursing, laboratory services, dental services, optometric services,
institutional and professional licensure, permitting, prescribing, dispensing or administration of
devices, medicines or controlled substances, medical waste, medical documentation, medical
record retention, accountable care organizations, risk-bearing entities, including managed care
organizations, management services organizations, independent practice associations, and
provider network organizations, telehealth, clinical trials, unprofessional conduct, fee-splitting,
referrals, billing, coding and submission of claims, managed care or value-based care, payment or
reimbursement for healthcare items or services, healthcare information, fraudulent, abusive or
unlawful practices connected in any way with the provision of healthcare items or services or the
billing for or claims for reimbursement for such items or services, claims processing, “incident-
to” billing, quality of care, standards of care, safety, mandated reporting, advertising and
marketing, medical necessity, medical privacy and security, patient confidentiality, confidentiality
of health records or Personal Information, informed consent, hiring of employees or acquisition of
                                                  8
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 94 of 565




services or supplies from Persons or entities excluded from participation in any Government
Program, or other healthcare related matters, including HIPAA and state Privacy Laws, the Health
Care Fraud Laws, the Information Blocking Rules, 45 C.F.R. Part 171, Laws governing Third
Party Payors, Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395-1395hhh (the Medicare
statute); Title XIX of the Social Security Act, 42 U.S.C. §§ 1396-1396v (the Medicaid statute);
Title XXI of the Social Security Act; Patient Protection and Affordable Care Act, Public Law 111-
148 and 111-152; the Exclusion Laws, 42 U.S.C. § 1320a-7; Laws governing the use, dispensing,
and disposal of controlled substances and other pharmaceuticals, including the Federal Controlled
Substances Act, 21 U.S.C. § 801 et seq.; the Physician Payment Sunshine Act, 42 U.S.C. § 1320a-
7h; the Clinical Laboratory Improvements Amendments; the Federal Food, Drug and Cosmetic
Act, 21 U.S.C. § 301 et seq. and the regulations promulgated thereunder; Medical Waste Tracking
Act of 1988; state Laws concerning matters similar to those above; state laws regarding the
corporate practice of a licensed profession and interpretations, 42 U.S.C. § 6992, et seq., all
applicable regulations promulgated thereunder, rules, ordinances, and orders, and any similar state
and local statutes, regulations, rules, ordinances, orders or other Laws that address the subject
matter of the foregoing; provided that Health Care Laws shall not include Environmental Laws.

        “Healthcare Providers” means those persons required to be licensed, registered or certified
under the Law to render, and who are providing, professional services on behalf of any of the
Sellers in connection with the Business, whether employed or contracted.

       “HIPAA” means the Health Insurance Portability and Accountability Act of 1996, Public
Law 104-191 as amended by the Health Information Technology for Economic and Clinical Health
Act of 2009 and their implementing regulations at 45 C.F.R. Parts 160 through 164.

         “Holdback Amount” has the meaning set forth in Section 2.4(d).

        “Indebtedness” means, without duplication: (a) all indebtedness for borrowed money,
including, without limitation, all amounts, if any, payable under or pursuant to each of the
instruments listed on Schedule 1.1; (b) any obligation evidenced by a note, bond (excluding any
surety bonds), debenture, mortgage, indenture, deed of trust or similar instrument; (c) that portion
of obligations with respect to capital leases that is properly classified as a Liability on a balance
sheet in conformity with GAAP; (d) notes payable and drafts accepted representing extensions of
credit whether or not representing obligations for borrowed money (for the avoidance of doubt,
excluding any trade accounts payable to any Person); (e) guaranties securing indebtedness for
borrowed money; (f) all amounts under outstanding letters of credit (to the extent drawn); (g) any
amounts owed or payable to any Seller, any Affiliate of any Seller or Shareholder (including Sun
Capital Partners, Inc. and its affiliates); (h) all obligations issued or assumed as the deferred
purchase price of property or services, all conditional sale obligations and all obligations under
any title retention agreement, including all obligations resulting from any holdback, earn-out,
performance bonus or other contingent payment arrangement related to or arising out of any prior
acquisition, business combination or similar transaction, together with the employer’s share of
employment Taxes with respect thereto including such amounts as are set forth on Schedule 1.1;
(i) any unpaid dividends (whether or not declared) to which any equityholder is entitled; (j) any
obligation in the nature of a guarantee, indemnity, or grant of a Lien with respect to any of the
foregoing; (k) any loan or advance under, guaranteed, amended, or made available in connection
with any COVID-19 Relief Program, including the total outstanding amount of any accelerated or
                                                  9
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 95 of 565




advance payments under any Accelerated Payment Program or Advance Payment Program
administered by CMS or from the Public Health and Social Services Emergency Fund established
under the CARES Act; (l) any amounts owed as a deficit or similar obligation to any Third Party
Payor; (m) any amounts owed as a deficit or similar obligation to any Affiliate of Buyer; (n) all
amounts payable with respect to any accrued and unpaid sick, vacation and personal leave in
respect of any employees of Sellers as of the Closing, and (o) all interest, any premiums payable
or any other costs or charges (including any prepayment penalties, termination fees, breakage
costs, make-whole and expense reimbursements) on any instruments or obligations described in
clauses (a) through (n) hereof, all as the same may be payable upon the complete and final payoff
thereof, regardless of whether such payoff occurs prior to, simultaneous with or following the
Closing.

         “Indemnified Losses” has the meaning set forth in Section 8.1.

         “Indemnified Party” has the meaning set forth in Section 8.3.

         “Indemnifying Party” has the meaning set forth in Section 8.3.

         “Information Requirements” has the meaning set forth in Section 3.18(a).

         “Initial Designation Notices” has the meaning set forth in Section 2.3(b)(iii).

         “Initial Determination Date” has the meaning set forth in Section 2.3(b)(iii).

         “Insurance Policies” has the meaning set forth in Section 3.14.

        “Intellectual Property” means any and all of the following in any jurisdiction throughout
the world: (a) Names (as defined herein), trademarks, service marks, domain names, social media
account usernames, collective marks, certification marks, trade dress, trade names, logos, slogans
and corporate names, including all registrations and applications for registration thereof, and the
goodwill connected with the use of and symbolized by the foregoing (collectively, “Trademarks”);
(b) copyrights, copyright-protectable works and copyright-protected works, including all
registrations and applications for registration thereof, and works of authorship, whether or not
copyrightable, and moral rights (collectively. “Copyrights”), including all such rights relating to
Software, code, websites, source code, object code, data, data bases and documentation thereof;
(c) trade secrets, confidential know-how and other confidential information (including ideas,
formulas, compositions, inventions (whether patentable or unpatentable and whether or not
reduced to practice), data, databases, processes and techniques, drawings, specifications, designs,
plans, proposals, financial and marketing plans and customer and supplier lists and information)
(collectively, “Trade Secrets”); (d) patents, patent applications, patent disclosures and inventions,
including any continuations, divisionals, continuations-in-part, renewals and reissues for any of
the foregoing (collectively, “Patents”); (e) all other intellectual property rights similar to the
foregoing; and (f) all copies of, drafts of, derivative works therefrom, and tangible embodiments
thereof (all in whatever form or medium).

         “Financial Statements” has the meaning set forth in Section 3.4(a).


                                                  10
13208185-55
13208185-58
              Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 96 of 565




         “IRS” means the United States Internal Revenue Service.

         “IT Assets” has the meaning set forth in Section 3.17(g).

       “Key Personnel” means any officer of any Seller or any employee or Contingent Worker
of any Seller whose Direct Compensation for services to the Sellers and the Business taken as a
whole exceeds $125,000.

        “Labor Laws” means, collectively, to the extent applicable to any Seller, any federal,
national, state, local, and foreign Laws governing labor and/or employment and employment-
related matters, including all such Laws relating to wages, employee classification, other
compensation and benefits (including any applicable federal, state or local laws concerning
COVID-19 related paid sick leave or other benefits), family and medical leave and other leaves of
absence, the provision of meal and rest periods/breaks, hours, vacation, severance, restrictive
covenants, background checks and screening, immigration, the WARN Act, collective bargaining,
discrimination, harassment, retaliation, civil rights, safety and health (including the federal
Occupational Safety and Health Act and any applicable state or local laws concerning COVID-19-
related health and safety issues), and workers’ compensation.

        “Law” or “Laws” means any international, federal, state, local, municipal or foreign, Order,
constitution, law, ordinance, rule, regulation, statute, or treaty, including, Health Care Laws, Labor
Laws and/or Privacy Laws

         “Leased Real Property” has the meaning set forth in Section 3.8(c).

        “Liability” or “Liabilities” means any liability, debt, obligation, deficiency, penalty,
assessment, fine, claim, cause of action or other loss, fee, cost or expense of any kind or nature
whatsoever, whether asserted or unasserted, absolute or contingent, known or unknown, accrued
or unaccrued, liquidated or unliquidated, and whether due or to become due and regardless of when
asserted, including service fund liabilities, deficits, and any reversals, challenges, nullifications or
other negations of any payments or items (including medical risk adjustment, HEDIS bonus,
surpluses or similar payments or items) that were or are made to the Sellers in respect of the
Business, the Purchased Assets or otherwise for any periods prior to the Closing.

         “Lien” means any lien, charge, mortgage, deed of trust, pledge, security interest, negative
pledge, easement, encroachment, bailment (in the nature of a pledge or for purposes of security),
claim, option, right of first refusal or first offer, right of way, license, deed of restriction, lease,
restriction on transfer of any asset or other encumbrance of any kind or nature whatsoever in or on
any asset, property or property interest.

         “Losses” has the meaning set forth in Section 8.1.

       “Made Available” means, with respect to any document or material, a copy of such
document or material has been posted in the online data room labeled “Condor” located on Datasite
as of October 11, 2024.



                                                  11
13208185-55
13208185-58
              Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 97 of 565




        “Material Adverse Effect” means any change, effect, development or event that (i) has or
would reasonably be expected to have a material adverse effect on the Business, assets, Liabilities,
employee relationships, earnings or results of operations, or condition (financial or otherwise) of
the Business or (ii) prevents or impedes Sellers from effecting the transactions contemplated
hereby; provided, however, that no change, effect, development or event caused by or resulting
from any of the following, either alone or in combination, shall constitute or be taken into account
in determining whether there has been or will be a Material Adverse Effect: (a) any change, effect,
development or event affecting the economy of the United States generally, including changes in
the credit, debt, capital or financial markets (including changes in interest or exchange rates) or
the economy of any region or country in which any of the Sellers conducts the Business; (b) any
change, effect, development or event affecting the industries in which the any of the Sellers
conducts the Business; (c) any change, effect, development or event arising in connection with
acts of God, disasters, emergencies, calamities, epidemics, pandemics, disease outbreaks or similar
events, or global, national or regional political or social actions or conditions, including hostilities,
military actions, political instability, acts of terrorism or war or any escalation or material
worsening of any such hostilities, military actions, political instability, acts of terrorism or war;
(d) any failure of the Sellers to meet any internal or published projections, forecasts or revenue or
earnings predictions for any period (it being understood that the facts or occurrences giving rise to
such failure may be taken into account in determining whether there has been or will be, a Material
Adverse Effect); (e) any action expressly required to be taken by any of the Sellers under the terms
of this Agreement; (f) any change, effect, development or event that results from any action taken
at the express written request of Buyer or with Buyer’s written consent; (g) any change in Law or
GAAP or interpretation thereof, unless, in the cases of clauses (a), (b), (c) or (g) above, such
changes have or would reasonably be expected to have a disproportionate impact on the Sellers
with respect to the Business relative to other Persons who operate in the same industries (in which
case, only the incremental disproportionate impact shall be taken into account in determining
whether there has been a Material Adverse Effect).

         “Material Consents” has the meaning set forth in Section 2.6(a)(iii).

         “Material Third Party Payor” has the meaning set forth in Section 3.20.

         “Member Transfer” has the meaning set forth in Section 7.12.

         “Members” has the meaning set forth in Section 3.10(j).

       “MSSP” means the CMMI Medicare Shared Savings Program accountable care
organization.

      “Names” means all of any Seller’s right, title, and interest in and to the names set forth in
Schedule 1.2 and any derivative or variation thereof.

         “Next Gen ACO” means the CMMI model Next Generation ACO.

         “OIG” has the meaning set forth in Section 3.10(f).



                                                   12
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 98 of 565




       “Order” means any order, judgment, injunction, decree, ruling, decision, binding
determination, verdict, sentence, subpoena, writ, or award issued, made, entered, rendered, or
otherwise put into effect by or under the authority of any Governmental Authority or arbitrator
(whether public or private).

        “Ordinary Course of Business” means, with respect to the Business, the ordinary course of
commercial operations customarily engaged in by the Sellers consistent with the past customs and
practices of the Sellers or as may be considered ordinary course in light of the Bankruptcy Cases
and specifically does not include (unless any such matter is as a result of the Bankruptcy Cases in
ordinary course) (a) any activity (i) involving the purchase or sale of the material assets of Sellers,
the Business, any of their material assets or of any business unit thereof, (ii) involving assumption,
adoption, or material modification of any Plan other than the adoption of any amendments required
by applicable Law, or (iii) that requires approval by the directors or managers, or stockholders or
members, of Sellers, or (b) the incurrence of any Liability for any tort or any breach or violation
of or default under any Contract or Law.

        “Organizational Documents” means (a) with respect to a corporation, the certificate or
articles of incorporation and bylaws; (b) with respect to any other entity, any charter or similar
document adopted or filed in connection with the creation, formation or organization of such entity
and any operating agreement, partnership agreement or similar governing agreement; and (c) any
amendment to any of the foregoing.

         “Outside Date” has the meaning set forth in Section 10.1(b)(i).

         “Party” or “Parties” has the meaning set forth in the preamble.

       “Patient Records” means all records including “health information” as defined under 45
C.F.R. §160.103 (such as medical records, patient billing records, and other patient-related
documentation maintained by Seller).

        “Permits” means all licenses, certificates, accreditations, clearances, permits, franchises,
approvals, authorizations, registrations, certificates of need, consents or Orders of, or filings with,
or notifications to, any Governmental Authority.

        “Permitted Lien” means (a) Liens for Taxes or other governmental charges (i) not yet due
and payable or (ii) the amount or validity of which is being contested in good faith by appropriate
proceedings by the Sellers and, in each case, for which appropriate reserves have been established
in accordance with GAAP; (b) mechanics’, carriers’, workers’, repairers’ and similar statutory
Liens arising or incurred in the Ordinary Course of Business, which are not delinquent and which
would not and do not, individually or in the aggregate, materially impair the marketability, value
or use and enjoyment of the asset subject to such Lien; (c) zoning, entitlement, building and other
land use regulations imposed by any Governmental Authority having jurisdiction over Leased Real
Property which are not violated by the current use and operation of the Leased Real Property, and
which do not have or would not reasonably be expected to have a Material Adverse Effect; (d)
covenants, conditions, restrictions, easements and other similar matters of record affecting title to
the Leased Real Property which do not materially impair or interfere with the occupancy or use of
the Leased Real Property for the purposes for which it is currently used or proposed to be used in
                                                  13
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 99 of 565




connection with the Business, and which do not have or would not reasonably be expected to have
a Material Adverse Effect; and (e) Liens arising under worker’s compensation, unemployment
insurance, social security, retirement and similar legislation in the Ordinary Course of Business.

       “Person” means any individual, partnership, limited partnership, limited liability company,
corporation, trust, business trust, joint venture, employee stock ownership trust, real estate
investment trust, estate, association, or other legal entity, including any Governmental Authority.

        “Personal Information” means any data or information defined as personal information,
personal data, personally identifiable information, individually identifiable health information,
protected health information, sensitive information, or under other similar or analogous terms
under any Information Requirements or any Health Care Laws, Privacy Laws or any other
applicable Laws including but not limited to Section 101(41A) of the Bankruptcy Code (11 U.S.C.
§101(41A)).

        “Plan” means each “employee benefit plan” within the meaning of Section 3(3) of ERISA
and each other employee benefit, welfare, supplemental unemployment benefit, bonus, pension,
profit sharing, executive compensation, deferred compensation, incentive compensation, stock or
equity compensation, stock or equity purchase, stock or equity option, stock or equity appreciation,
phantom stock or equity option, employment, consulting, severance, retention, Code Section 125
cafeteria, fringe, health or other medical, dental, life, disability or other insurance plan, program,
agreement or arrangement, in each case whether or not reduced to writing and whether funded or
unfunded, whether or not tax-qualified and whether or not subject to ERISA, which is or has been
sponsored, maintained or contributed to or required to be contributed to by each Seller for the
benefit of its employees or former employees, officers, directors, managers, independent
contractor, or consultants and their dependents or beneficiaries or under which any Seller or any
of its ERISA Affiliates has or may have any Liability, contingent or otherwise.

         “Policies” has the meaning set forth in Section 7.9.

       “Post-Closing Period” means any taxable period beginning after the Closing Date and the
portion of any Straddle Period beginning after the Closing Date.

         “Pre-Closing Period” means any taxable period ending on or before the Closing Date.

         “Pre-Closing Receivables” has the meaning set forth in Section 7.13(a).

         “Pre-Closing Restructuring” has the meaning set forth in Section 3.1(b).

         “Previously Omitted Contract” has the meaning set forth in Section 2.3(j)(i).

         “Previously Omitted Contract Notice” has the meaning set forth in Section 2.3(j)(ii).

        “Privacy Laws” means, to the extent applicable, any Laws governing, regulating or
protecting the privacy, security, use, disclosure, maintenance, transmission, Processing, or breach
of Personal Information, including: (a) HIPAA, (b) the Information Blocking Rules at 45 CFR Part
171, (c) state data breach notification laws, state health information privacy laws, state laws

                                                 14
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24       Page 100 of 565




governing the use of electronic communications, (e.g., email, text messaging, telephone, paging
and faxing), state laws governing the use of information collected online, state laws requiring
privacy disclosures to consumers, state laws vesting individuals with rights in or regarding data
about such individuals and the use of such data, and state laws regarding the privacy, safeguarding
or security of data, including encryption, (d) the Federal Trade Commission Act, (e) the
Controlling the Assault of Non-Solicited Pornography and Marketing Act (CAN SPAM Act),
(f) the Telephone Consumer Protection Act (TCPA), (g) the Telecommunications Act of 1996, as
amended, (h) the Children’s Online Privacy Protection Act (COPPA), (i) the General Data
Protection Regulation (EU) 2016/679, (j) the Personal Information Protection and Electronic
Documents Act (PIPEDA), (k) Canada’s Anti-Spam Legislation (CASL), (l) the California
Consumer Privacy Act of 2018, as amended by the California Privacy Rights Act (CCPA), (m) the
Florida Digital Bill of Rights; and (n) the Payment Card Industry Data Security Standards (PCI
DSS).

       “Proceeding” means any claim, action, suit, charge, complaint, litigation, arbitration or
mediation, appeal, hearing, inquiry, investigation, audit, proceeding (including any civil, criminal
administrative or appellate proceeding) prosecution or hearing.

        “Process” means collect, process, use, analyze, disclose, distribute, make available,
transfer, transmit, store, retain, host, manage, control, secure, dispose of, or otherwise handle.
“Processing” and “Processed” shall have analogous meanings.

       “Property Tax” or “Property Taxes” means all real estate, ad valorem, personal property
and any other similar Taxes imposed by any Tax Authority with respect to the Purchased Assets.

         “Prorated Expenses” has the meaning set forth in Section 7.8(b).

         “Purchase Price Allocation” has the meaning set forth in Section 2.9.

         “Purchased Assets” has the meaning set forth in Section 2.1(a).

         “Real Property Leases” has the meaning set forth in Section 3.8(c).

         “Release Party” has the meaning set forth in Section 11.16.

         “Related Party” has the meaning set forth in Section 3.15.

         “Restricted Period” has the meaning set forth in Section 6.1(b).

         “Sale Motion” has the meaning set forth in Section 5.7.

       “Sale Order” means an Order entered by the Bankruptcy Court which contains usual and
customary findings of fact and conclusions of law by the Bankruptcy Court, is in form and
substance acceptable to Buyer and Sellers, and that, among other things: (a) approves, pursuant to
Sections 105, 363 and 365 of the Bankruptcy Code, (i) the execution, delivery and performance
by Sellers of this Agreement and the Transition Services Agreement, (ii) the sale of the Purchased
Assets to Buyer on the terms set forth herein and free and clear of all Liens and interests (other
than the Assumed Liabilities and Permitted Liens), and (iii) the performance by Sellers of their
                                                15
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 101 of 565




obligations under this Agreement, (b) authorizes and empowers Sellers to assume and assign to
Buyer the Desired 365 Contracts, and determine all related Cure Cost, if any, (c) finds that Buyer
is a “good faith” buyer within the meaning of Section 363(m) of the Bankruptcy Code and grant
Buyer the protections of Section 363(m) of the Bankruptcy Code, (d) finds that Buyer is not a
successor of each Seller, (e) enjoins all Persons holding Liens, claims, and other interests,
including rights or claims based on any successor or transferee liability from asserting them against
Buyer, (f) finds that this Agreement was negotiated, proposed and entered into without collusion,
in good faith and from arm’s length bargaining positions, (g) finds that Sellers and Buyer have not
engaged in any conduct that would cause or permit this Agreement to be avoided under Section
363(n) of the Bankruptcy Code, (h) finds that this Agreement and the transactions contemplated
hereby, are binding upon, and are not subject to rejection or avoidance by, any chapter 7 or chapter
11 trustee of any Seller, (i) finds that fair and reasonably equivalent value was received in
connection with this Agreement, (j) authorizes each of Buyer and each Seller to execute and file
termination statements, instruments of satisfaction, releases and similar documents with respect to
all Liens that any Person has with respect to the assets transferred pursuant to this Agreement, (k)
orders that Buyer is receiving good and marketable title to all Purchased Assets and (l) finds that
notice was properly given to all holders of any Lien or interest, and to all counterparties to Desired
365 Contracts.

      “Schedules” means all of the schedules attached hereto, dated as of the date of this
Agreement, delivered in connection with this Agreement, including the Disclosure Schedules.

         “Security Incident” has the meaning set forth in Section 3.18(c).

         “Seller” or “Sellers” has the meaning set forth in the preamble.

         “Seller Closing Certificate” has the meaning set forth in Section 9.1(d).

         “Seller Closing Notice” has the meaning set forth in Section 10.1(d)(ii).

         “Seller Indemnified Persons” has the meaning set forth in Section 8.2.

       “Seller Information” means all data and information, including all Personal Information,
used or processed in the conduct of the Business or by or on behalf of the Sellers.

         “Seller Intellectual Property” has the meaning set forth in Section 3.17(c).

        “Seller Software” means all Software that is owned by, licensed to, or otherwise used by
Sellers in any manner in connection with the Business.

        “Sellers’ Knowledge” or “Knowledge of the Sellers” means the actual knowledge of Paul
McBride, Claudio Kapusta, or Doug Johnson after reasonable due inquiry of their respective direct
reports, or, if such reasonable due inquiry has not been made, such knowledge that each such
Person would be expected to have after such reasonable due inquiry. The words “know,”
“knowing” and “known” shall be construed accordingly.

         “Sellers’ Prorated Responsibilities” has the meaning set forth in Section 7.8(b).

                                                  16
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 102 of 565




         “Sellers’ Representative” has the meaning set forth in the preamble.

         “Shareholder” means any former or current equityholder of a Seller.

        “Software” means all computer software, firmware, programs, data libraries and databases,
in any form, including source code, object code, apps, extensions including make files, Gerber
files, user interfaces, development tools, library functions, compilers, Internet websites, web
content and links, all versions, updates, corrections, enhancements, replacements, and
modifications thereof, and all documentation related thereto.

    “Special Committee” means the special committee of the Board of Managers of Sun
MBMG GP, LLC, of which Elizabeth Abrams is presently the sole member.

         “Standard Procedure” has the meaning set forth in Section 7.6(c).

       “Straddle Period” means any Tax year or period beginning on or before the Closing Date
and ending after the Closing Date.

         “Subsequent Designation Notices” has the meaning set forth in Section 2.3(b)(iii).

         “Subsequent Determination Date” has the meaning set forth in Section 2.3(b)(iii).

         “Subsidiary” or “Subsidiaries” of any Person means any corporation, partnership, limited
liability company or other legal entity in which such Person (either alone or through or together
with any other Subsidiary), owns, directly or indirectly, any portion of the Equity Interests.

        “Superior Proposal” means any bona fide proposal or offer to or from a Person other than
Buyer or its representatives with respect to (a) any plan of reorganization or liquidation, proposal,
offer, dissolution, winding up, liquidation, reorganization, merger, consolidation, business
combination, joint venture, partnership, sale of assets or equity interests or restructuring involving
the Purchased Assets, or (b) any other direct or indirect acquisition involving any of the Purchased
Assets, that, in each case, Sellers determine in their business judgment would, if consummated,
result in a transaction superior to the transactions contemplated hereunder.

        “Tax Authority” means any Governmental Authority responsible for the administration,
collection or imposition of any Tax.

        “Tax Returns” means all returns, reports, estimates, claims for refund, information
statements, elections, statements of foreign bank and financial accounts, and other returns relating
to or filed in connection with any Taxes, including any schedule or attachment thereto, and
including any amendment thereof. Any one of the foregoing Tax Returns shall be referred to
sometimes as a “Tax Return.”

        “Taxes” means all taxes, charges, fees, levies, or other like assessments, including all
federal, possession, province, state, city, county, and foreign (or governmental unit, agency, or
political subdivision of any of the foregoing) corporate, income, license, withholding, profits,
employment (including Social Security, unemployment insurance, employment insurance,
employer health and employee income tax withholding), franchise, gross receipts, sales,
                                                 17
13208185-55
13208185-58
               Case 24-20576-CLC       Doc 29     Filed 10/13/24       Page 103 of 565




harmonized sales, goods and services, use, transfer, stamp, environmental, alternative minimum,
occupation, real or personal property, escheat, abandoned or unclaimed property, net worth, capital
gains, severance, premium, windfall profits, customs, duties, ad valorem, value added, and excise
taxes, any Pension Benefit Guaranty Corporation premiums, government pension plan premiums
and contributions, or compensation premiums and contributions, and any other governmental
charges of the same or similar nature to any of the foregoing; including any interest, penalty, or
addition to any of the foregoing, whether disputed or not, and including any obligations to
indemnify or otherwise assume or succeed to the Tax Liability of any other Person whether by
Contract or otherwise. Any one of the foregoing Taxes shall be referred to sometimes as a “Tax.”

        “Third Party Payor” means a Government Program, non-governmental insurance program,
managed care organization, preferred provider organization, health maintenance organization, or
other third-party payor, including any other organization contracting with commercial payors on
behalf of any Seller, that arranges and/ or pays for the provision of healthcare items or services.

         “Third Person” has the meaning set forth in Section 8.4(a).

         “Third Person Claim” has the meaning set forth in Section 8.4.

         “Total Consideration” has the meaning set forth in Section 2.4(a).

        “Transfer Date” means the date upon which a Transferred Employee becomes an employee
of Buyer or an Affiliate of Buyer, pursuant to an Employment Agreement or pursuant to the terms
of the Transition Services Agreement.

         “Transfer Taxes” has the meaning set forth in Section 7.2(a).

         “Transferred Devices” has the meaning set forth in Section 3.22.

        “Transferred Employee” means any employee of any Seller who accepts an offer of
employment from Buyer or an Affiliate of Buyer and commences employment with Buyer or an
Affiliate of Buyer, pursuant to an Employment Agreement or pursuant to the terms of the
Transition Services Agreement.

      “Transition Services Agreement” means that certain Transition Services Agreement by and
among Buyer and the Sellers, in substantially the form attached hereto as Exhibit B.

       “WARN Act” means the federal Worker Adjustment and Retraining Notification Act and
any similar applicable state, local or foreign law or regulation.

                                         ARTICLE II.
                                     PURCHASE AND SALE

         2.1     Transfer of Assets; Retained Assets.

               (a)      Purchased Assets. Upon the terms and subject to the satisfaction or, if
permissible, waiver, of the conditions of this Agreement, at and as of the Closing, Sellers shall
sell, convey, assign, transfer and deliver to Buyer, and Buyer shall purchase, acquire and accept
                                                18
13208185-55
13208185-58
              Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 104 of 565




from Sellers, free and clear of any Liens (other than Permitted Liens), all right, title and interest in
and to all the assets, properties and rights, real, personal or mixed, tangible or intangible, wherever
located, which are owned, and, to the extent of Sellers’ transferable rights therein, used or held for
use by the Sellers or the Business as of the Closing (the “Purchased Assets”), including the
following (in each case other than the Excluded Assets):

                      (i)       all assets, properties and rights reflected and/or described on the
         Exhibit A, together with all other assets owned, used or held for use by Sellers in
         connection with the Business, whether or not fully depreciated, written off or never
         reflected on Exhibit A and all other assets acquired by Sellers and used or held for use by
         Sellers in connection with the Business since the date of Exhibit A up to the Closing Date
         (except to the extent disposed of since the date thereof);

                      (ii)       all inventories and supplies of any kind, including all medical
         supplies, packaging supplies, spare parts, whether stored at any Seller’s location or stored
         at a third party location associated with or necessary to use the assets listed on Exhibit A;

                      (iii)      all tangible personal property, including all medical equipment,
         furniture, fixtures, computers (including Software and hardware), Devices, supplies, spare
         parts, and other tangible personal property, together with any express or implied warranty
         by the manufacturers, sellers or lessors of any item or component part thereof and all
         maintenance records and other documents relating thereto, including those items set forth
         on Schedule 2.1(a)(iii);

                     (iv)       all vehicles owned by Sellers;

                      (v)        all leasehold interests in personal property, including any prepaid
         rent, security deposits and options to renew or purchase in connection therewith, including
         those items set forth on Schedule 2.1(a)(v);

                      (vi)      all rights of Sellers in, to, and under all Contracts that constitute, on
         or after the Closing, Desired 365 Contracts that are subject to the Designation Notices and
         assumed and assigned to Buyer (the “Assumed Contracts”);

                     (vii)      all rights of Sellers in, to, and under the Contracts listed on Schedule
         2.1(a)(vii) and any other non-365 Contracts which Buyer timely designates as Assumed
         Contracts following the date hereof;

                    (viii)       all Intellectual Property used in or related to the Business, including
         all Seller Intellectual Property, including the Names, along with all income, royalties,
         damages and payments due or payable as of the Closing Date or thereafter with respect
         thereto (including damages and payments for past, present or future infringements or
         misappropriations thereof, the right to sue and recover for past, present or future
         infringements or misappropriations thereof and any and all corresponding rights that now
         or hereafter may be secured throughout the world, and all copies and tangible embodiments
         thereof); and Intellectual Property application and prosecution files, including such files
         owned by Sellers in the custody of Sellers’ outside counsel;
                                                   19
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 105 of 565




                    (ix)        all Seller Software;

                     (x)        all IT Assets used or held for use in the conduct of the Business or
         by or on behalf of any Seller;

                    (xi)        all Permits, to the extent transferable;

                   (xii)       all Seller Information, and all databases and other repositories
         containing such data and information, and all records, including all Patient Records, data,
         know-how, Software, and media content;

                    (xiii)       except for the Avoidance Actions, all claims, causes of action,
         choses in action, judgments, and demands against third parties, whether known or
         unknown; provided Buyer covenants not to commence or maintain any proceedings or
         otherwise assert or enforce any claim described on Schedule 2.1(a)(xiii) hereto; provided,
         further, that this provision shall not affect Buyer’s rights to enforce claims not acquired
         from Sellers, to the extent such claims are excluded from the release provided for in Section
         11.16 hereto;

                    (xiv)       all deposits, prepaid expenses and rights to refunds relating to the
         Purchased Assets, including those listed on Schedule 2.1(a)(xiv); provided that the
         aggregate value thereof with respect to Assumed Contracts for which Buyer will receive
         benefit after Closing shall be added to the Total Consideration and paid to Sellers (to the
         extent then determinable) at Closing or thereafter when the benefit thereof to Buyer
         becomes determinable (e.g., when a Desired 365 Contract becomes an Assumed Contract);

                   (xv)       all Sellers’ right, title and interest in and to the Leased Real Property
         that becomes included as among the Assumed Contracts;

                    (xvi)       the goodwill, going concern, customer intangibles, and workforce in
         place of the Business;

                   (xvii)      all claims, demands and rights to indemnification, insurance, or
         similar recovery from any third parties to the extent applicable to the Purchased Assets or
         Assumed Liabilities;

                  (xviii)       the Transferred Devices;

                   (xix)        all pharmaceutical drugs; and

                    (xx)       all other assets, property and rights owned or otherwise used in or
         necessary for the operation of the Business, other than the Excluded Assets.

                (b)    Excluded Assets. Buyer acknowledges and agrees that it is not purchasing
or acquiring, and Sellers are not selling or assigning, the following assets, properties and rights of
the Sellers (the “Excluded Assets”) and in no event shall such assets be deemed to be Purchased
Assets:

                                                  20
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24         Page 106 of 565




                               (i)     all cash and cash equivalents,

                            (ii)       accounts receivable, and other payments to be made by any
                Third Party Payors to Sellers for services provided prior to Closing Date (including
                pursuant to Assumed Contracts);

                              (iii)    all bank accounts of Sellers;

                              (iv)     all Equity Interests in any Seller or Equity Interests held by
                any Seller;

                            (v)      each Seller’s Medicare and Medicaid provider numbers and
                all associated National Provider Identifier (NPI) numbers related to owners,
                employees and independent contractors of Sellers;

                            (vi)      all insurance policies of Sellers (other than those claims and
                rights conferred pursuant to Section 2.1(a)(xvi));

                            (vii)       all Tax Returns of the Sellers and any other Tax assets of the
                Sellers or related to the Business, the Purchased Assets or the Assumed Liabilities
                for Pre-Closing Periods or the portion of a Straddle Period ending on the Closing
                Date (determined in accordance with Section 7.2(b)), including all rights to refunds
                or credits of Taxes attributable to Pre-Closing Periods or the portion of a Straddle
                Period ending on the Closing Date (determined in accordance with Section 7.2(b))
                to the extent such Taxes were paid by, on behalf of, or for the benefit of Sellers;

                           (viii)      all Plans and any trusts or other assets related thereto;

                              (ix)     all payroll records, personnel files and other personnel
                records;

                             (x)       all Contracts that (i) are not Assumed Contracts or (ii) are
                Assumed Contracts but are not assumable and assignable pursuant to the terms
                thereof or as a matter of applicable Law (including any Assumed Contract with
                respect to which any consent requirement in favor of the counter-party thereto is
                not satisfied and may not be overridden pursuant to Section 365 of the Bankruptcy
                Code) (collectively, “Excluded Contracts”);

                           (xi)       each 365 Contract that, as of the Closing, is not designated
                as a Desired 365 Contract;

                          (xii)       all furniture and leasehold improvements located at the
                Leased Real Property not included as Assumed Contracts (excluding, for the
                avoidance of doubt, any Devices located at such Leased Real Property);

                           (xiii)      all vehicles leased by Sellers;


                                                 21
13208185-55
13208185-58
               Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 107 of 565




                           (xiv)       all rights arising in connection with any Proceeding to the
                 extent related to any Excluded Asset or that are not applicable to the Purchased
                 Assets;

                             (xv)       the corporate seals, organizational documents, minute
                 books, stock books, books of account or other records having to do with the
                 corporate organization of Sellers, all employee-related or employee benefit-related
                 files or records, books and records related to other Excluded Assets and any other
                 books and records which Sellers are prohibited from disclosing or transferring to
                 Buyer under applicable Law and is required by applicable Law to retain;

                         (xvi)        all rights which accrue or will accrue to Sellers under this
                 Agreement or any other Ancillary Agreement;

                         (xvii)        all privileges and protections pertaining to communications
                 between Sellers and their professionals, including attorneys;

                          (xviii)       except as provided in Section 2.1(a)(xi), any other Permits;

                           (xix)       all deposits, prepaid expenses and rights to refund relating to
                 insurance, including captive insurance;

                            (xx)        all Avoidance Actions;

                           (xxi)        all COVID-19 Funds and CHOPD AAPs;

                          (xxii)        all claims described on Schedule 2.1(a)(xiii);

                         (xxiii)       all Devices that are not Transferred Devices (the “Excluded
                 Devices”), which shall include, but not be limited to, the Excluded Devices set forth
                 on Schedule 2.1(b)(xxiii).; and

                          (xxiv)        all other assets listed on Schedule 2.1(b)(xxiv).

         2.2     Assumption of Liabilities.

               (a)    Upon the terms and subject to the conditions of this Agreement, at and as
of the Closing, Buyer shall assume and be responsible for only the following Liabilities (the
“Assumed Liabilities”): the obligations of Sellers (with respect to the Business) with respect to (i)
paid time off accrued through and following Closing by any of Sellers’ employees who become
Transferred Employees (“PTO”) and (ii) under the Assumed Contracts, but only to the extent such
obligations (A) are Cure Costs owed in connection with assumption and assignment of such
Assumed Contracts and allocated to Buyer under Section 7.5, (B) are applicable to and accrue with
respect to periods subsequent to the Closing and (C) are accompanied by a correlated duty of
performance or payment on the part of the other parties thereto.

              (b)    Except as expressly provided in Section 2.2(a), Buyer does not hereby and
will not assume or become liable for and shall not be obligated to pay or satisfy any obligation,
                                              22
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 108 of 565




debt or Liability whatsoever, whether fixed, contingent or otherwise, of the Business or Sellers or
any other person or entity, including any Indebtedness or other claim, Liability, obligation or Tax
arising out of the ownership or use of the Purchased Assets prior to the Closing or circumstances
or occurrences or the operations of the Business or transactions contemplated by this Agreement
prior to the Closing and whether or not disclosed on the Schedules attached hereto, and regardless
of when or by whom asserted (collectively, the “Excluded Liabilities”). The Excluded Liabilities
shall remain the responsibility and obligation of Sellers after Closing, and Sellers shall be
responsible for treatment of such Liabilities as provided by the Bankruptcy Code.

                (c)     In the event that the legal interest in any of the Purchased Assets or
Assumed Liabilities to be sold, assigned, transferred or conveyed pursuant to this Agreement, or
any claim, right or benefit arising thereunder or resulting therefrom cannot be sold, assigned,
transferred or conveyed hereunder as of the Closing Date because any waiting or notice period has
not expired or any consents or approvals required for such transfer have not been obtained or
waived, then the legal interest in such Purchased Assets or Assumed Liabilities, as the case may
be, shall not be sold, assigned, transferred or conveyed unless and until such waiting or notice
period shall have expired or until approval, consent or waiver thereof is obtained. Sellers, at their
expense, and Buyer shall use commercially reasonable efforts to cooperate in obtaining such
consents or approvals as may be necessary to complete such transfers as soon as practicable.
Sellers hereby acknowledge that the failure of Sellers to obtain any required consents or approvals
prior to Closing shall (i) not have any effect for purposes of Buyer’s right to indemnification, and
(ii) not in any way limit Buyer’s exercise of its rights hereunder. Nothing in this Agreement shall
be construed as an attempt to assign to Buyer any legal interest in any of the Purchased Assets or
Assumed Liabilities which, as a matter of Law or by the terms of any legally binding Contract,
engagement or commitment to which any Seller is subject, is not assignable without the consent
of any other party, unless such consent shall have been given. Pending the assignments,
conveyances and transfers referred to in this paragraph, Sellers shall hold, to the extent Sellers are
reasonably able to do so and subject to the procedures related to the Bankruptcy Cases, any such
non-assigned Purchased Assets or Assumed Liabilities for the benefit and at the risk of Buyer and
shall cooperate with Buyer, without the payment of any additional consideration by Buyer or
incurrence of any direct expense by Sellers, in any lawful and reasonable arrangements designed
to provide the benefits of ownership thereof to Buyer. For the avoidance of doubt, the benefits
(including any surplus or HEDIS bonus amount earned post-Closing) of any Contract (including
those included as Purchased Assets) during the period post-Closing until such time as such
Contract is assigned to Buyer as a Desired 365 Contract designated to be an Assumed Contract or,
in the case of an Desired 365 Contract that is covered by the term of the Transition Services
Agreement until the same becomes an Excluded Contract, shall be Buyer’s, and Sellers’ shall
cause or direct all such benefits to be transferred to Buyer promptly following payment thereof by
Buyer to Sellers.

               (d)     As part of the Sale Motion (or, as necessary in one or more separate
motions), Sellers shall request that by providing twenty-one (21) days’ notice of its intent to
assume and assign any Desired 365 Contract, the Bankruptcy Court shall deem any non-debtor
party to such Desired 365 Contract that does not file an objection with the Bankruptcy Court during
the applicable notice period to have given any required consent to the assumption of the Desired
365 Contract by Sellers and assignment to Buyer if, and to the extent that, pursuant to the Sale

                                                 23
13208185-55
13208185-58
               Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 109 of 565




Order or other order of the Bankruptcy Court, Sellers are authorized to assume and assign the
Desired 365 Contract to Buyer and Buyer is authorized to accept such Desired 365 Contract
pursuant to Section 365 of the Bankruptcy Code.

         2.3     Desired 365 Contracts; Extension Date.

                (a)     Schedule 2.3(a) sets forth a complete list of all 365 Contracts that Buyer
presently intends to assume at the Closing (the “Desired 365 Contracts”). Upon or after Closing,
and subject to the terms and conditions hereof and the Sale Order, Sellers will assume and assign
the Assumed Contracts to Buyer, and Buyer will assume only those Assumed Liabilities pursuant
thereto as specifically provided in this Agreement.

                 (b)    Desired 365 Contracts and Assumed Contracts:

                           (i) Buyer shall have the right and option to extend the Final
                 Determination Date for a period of up to an additional thirty (30) days but not longer
                 than the Extended Final Determination Date (the “Extension Option”). Within ten
                 (10) days after the Closing Date, Sellers shall notify Buyer in writing of Sellers’
                 good faith and reasonably accurate estimate of the Buyer’s Desired 365 Contract
                 Final Period Reimbursement Obligations (as defined below), which amounts shall
                 be subject to Buyer’s good faith review and reasonable approval, which if Buyer
                 exercises the Extension Option, would cover the entire period between sixty-one
                 (61) days and ninety (90) days after the Closing Date (the “Extension Budget”),
                 including Sellers’ incremental obligations under such remaining Desired 365
                 Contracts, related overhead, together with all other incremental expenses (including
                 professional fees and disbursements) related to, or arising from, maintaining the
                 Sellers’ bankruptcy estates during the Extension Period (as defined below). Within
                 fifteen (15) Business Days after receiving the Extension Budget, Buyer may
                 exercise the Extension Option by giving written notice (the “Extension Notice”) to
                 Sellers’ Representative, which notice, among other things, shall specify the number
                 of days Buyer has chosen to be covered by the Extension Option (the “Extension
                 Period”). By giving the Extension Notice to the Sellers’ Representative, Buyer is
                 obligated to reimburse the Sellers (with respect to all amounts billed monthly and
                 for amounts not billed monthly, the pro rata amount of any expenses accruing and
                 attributable to the number of days Buyer specifies in the Extension Notice) for the
                 amounts reflected in the Extension Budget (the “Buyer’s Desired 365 Contract
                 Final Period Reimbursement Obligations”).

                            (ii)        Desired 365 Contracts. At any time after the date of this
                 Agreement up until, as applicable, either the Final Determination Date or the
                 Extended Final Determination Date (if so elected by Buyer), Buyer shall have the
                 right to update Schedule 2.3(a) by providing written notice to Sellers’
                 Representative either: (a) designating a 365 Contract as a Desired 365 Contract, or
                 (b) removing a Desired 365 Contract from Schedule 2.3(a); and

                             (iii)     Assumed Contracts. Not later than three (3) Business Days
                 prior to the Closing Date (the “Initial Determination Date”), Buyer shall provide
                                                  24
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 110 of 565




                written notice to Sellers’ Representative (each, a “Initial Designation Notice”) of
                Buyer’s election to designate the initial set of Desired 365 Contracts that Buyer
                wishes, as of the Closing Date, to be Assumed Contracts. At any point up until, as
                applicable, either the Final Determination Date or the Extended Final
                Determination Date (if so elected by Buyer) (each, a “Subsequent Determination
                Date” and together with the Initial Determination Date, collectively, the
                “Determination Dates”), Buyer may provide written notice to Sellers’
                Representative (each, a “Subsequent Designation Notice” and together with the
                Initial Designation Notice, collectively, the “Designation Notices”) of Buyer’s
                election to designate one or more remaining Desired 365 Contract(s) that Buyer
                wishes, after the Closing Date, to be Assumed Contracts; provided, however, Buyer
                shall reimburse the Sellers, pursuant to the terms of the Transition Services
                Agreement, for the administrative expense obligations under section 503 of the
                Bankruptcy Code arising on and after the Closing Date with respect to all of the
                remaining Desired 365 Contracts that were not otherwise Assumed Contracts as of
                the Closing Date (collectively, the “Buyer’s Desired 365 Contract Initial Period
                Reimbursement Obligations”), for the period commencing upon the Closing Date
                and ending with respect to each such Desired 365 Contract when it becomes an
                Assumed Contract or is removed from Schedule 2.3(a). At any point on or after the
                Closing Date (until, as applicable, either the Final Designation Date or the Extended
                Final Designation Date (if so elected by Buyer)), Buyer may provide written notice
                to Sellers’ Representative to remove (such removal to be effective either upon
                Sellers’ Representative’s receipt of such notice, or as of a future date that Buyer
                may specify in its notice) a Desired 365 Contract from Schedule 2.3(a), and Buyer’s
                obligations to reimburse the Sellers for Buyer’s Desired 365 Contract Initial Period
                Reimbursement Obligations with respect to such Desired 365 Contract removed
                from Schedule 2.3(a) shall terminate as provided in Buyer’s notice. On and after
                the Determination Date, any Desired 365 Contract that is not an Assumed Contract
                automatically shall be an Excluded Contract and Excluded Asset; provided,
                however, that if one or more Desired 365 Contract(s) are subject to dispute as to
                assumption or assignment (including a Cure Cost dispute) of such Desired 365
                Contract(s) that has not been resolved to the mutual satisfaction of Buyer and
                Sellers prior to any of the Determination Dates, then the respective Determination
                Date shall be extended (but only with respect to such Desired 365 Contract(s)) to
                no later than the earliest to occur of: (A) the date on which such dispute has been
                resolved in writing to the mutual satisfaction of Buyer and Sellers, (B) the date on
                which such Desired 365 Contract is deemed rejected by operation of section 365 of
                the Bankruptcy Code, and (C) the date upon which such dispute is determined by a
                final order of the Bankruptcy Court (the “Extended Contract Period”), and for the
                avoidance of doubt, the Buyer’s Desired 365 Contract Initial Period
                Reimbursement Obligations (and to the extent applicable if so elected bv Buyer,
                Buyer’s obligation to pay the Buyer’s Desired 365 Contract Final Period
                Reimbursement Obligations) shall apply during the Extended Contract Period with
                respect to such Desired 365 Contracts subject to dispute. Buyer may deliver a
                Subsequent Designation Notice upon expiration of the Extended Contract Period of
                Buyer’s election to designate any Desired 365 Contracts (that were subject to the
                                                 25
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 111 of 565




                Extended Contract Period) that Buyer wishes to be Assumed Contracts. If a
                Subsequent Designation Notice with respect to any such Desired 365 Contract(s) is
                not delivered by Buyer by the date which is three (3) Business Days following the
                expiration of such Extended Contract Period, such Desired 365 Contract(s) shall be
                automatically deemed Excluded Contract(s) and Excluded Asset(s).

                (c)     To the extent that Buyer makes a designation with respect to any 365
Contracts pursuant to Section 2.3(b)(i) or Section 2.3(b)(iii), the applicable Exhibits and Schedules
to this Agreement will be deemed to have automatically been updated (without action of any Party
or Person) to reflect such designation.

                (d)     Promptly following the execution of this Agreement (and in no event later
than three (3) Business Days after the later of the filing of the initial Bankruptcy Schedules or the
entry of the order by the Bankruptcy Court scheduling the hearing to consider approval of the Sale
Motion), Sellers shall (i) file an initial list of the Desired 365 Contracts which shall include all
known 365 Contracts appearing on the initial Schedule G of Bankruptcy Schedules (the
“Assumption Notice”) with the Bankruptcy Court and (ii) serve such initial Assumption Notice
via first class mail on each counterparty to a Desired 365 Contract listed thereon. To the extent
available, the data for each Desired 365 Contract included in the Assumption Notice will be
derived from the Bankruptcy Schedules. If and when Buyer designates additional 365 Contracts
(e.g., Previously Omitted Contracts) as Desired 365 Contracts pursuant to the terms of Section
2.3(b)(i) or 2.3(j) hereof by written notice to Sellers’ Representative, then Sellers shall supplement
the Assumption Notice and serve such supplemental Assumption Notice via first class mail on
each counterparty to such additional Desired 365 Contract listed thereon. The original Assumption
Notice, and any supplemental Assumption Notice, shall identify the Desired 365 Contracts, the
Seller party/ies thereto, the mailing address for serving the Assumption Notice on each
counterparty, and set forth a good faith estimate of the amount of the Cure Costs, if any, applicable
to each such Desired 365 Contract. Not later than one (1) Business Days following each of the
Initial Determination Date and any Subsequent Determination Date, Sellers shall file with the
Bankruptcy Court an amended and restated Assumption Notice, which notice shall set forth only
the Assumed Contracts (and exclude all other 365 Contracts and Desired 365 Contacts). The
provisions for giving notice, deadlines for non-debtor counterparties and other interested parties
to assert objections, and process for resolution of objections, shall be set forth in the Sale Motion,
the Sale Order and/or the Assumption Notice, and the Parties hereto explicitly incorporate by
reference herein the relevant provisions of the Sale Motion, Sale Order and Assumption Notice.

                (e)    At the Closing, the Sellers shall, pursuant to the Sale Order, assign, or cause
to be assigned, to Buyer, each of the Assumed Contracts that is capable of being assumed and
assigned (and as to which all Cure Costs have been resolved) as of such date and are listed on the
Initial Designation Notice. After the Closing, the Sellers shall, pursuant to the Sale Order, assign,
or cause to be assigned, to Buyer, each of the Assumed Contracts that is capable of being assumed
and assigned (and as to which all Cure Costs have been resolved) as of such date and listed on a
Subsequent Designation Notice. After the Closing, and with respect to Desired 365 Contracts that
are subject to an Extended Contract Period as to which Buyer has provided the required
Designation Notice pursuant to Section 2.3(b)(iii), and the dispute regarding the assumption and
assignment of such Desired 365 Contract shall have been resolved pursuant to Section

                                                 26
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29      Filed 10/13/24     Page 112 of 565




2.3(b)(iii)(A) or (C) or otherwise, the Sellers shall assign, or cause to be assigned, to Buyer, each
such Desired 365 Contract, provided that such assumption and assignment has been approved by
the Bankruptcy Court, and therefore, such Desired 365 Contract may qualify to become an
Assumed Contract capable of being assumed and assigned as of such date.

              (f)    Subject to the designation rights in Section 2.3(b), all 365 Contracts and
Desired 365 Contracts which are not Assumed Contracts shall automatically be deemed Excluded
Contracts and Excluded Assets.

                (g)     The Parties acknowledge and agree that Buyer’s exercise of its rights in
Section 2.3(b) will not increase or reduce the Total Consideration as a result of the exercise of such
rights, nor will there be any delay to the Closing, and Buyer shall have no claim against Sellers in
respect of any unassigned 365 Contract; provided that Buyer’s exercise of its rights in Section
2.3(b) may increase or decrease (as applicable) the Total Consideration solely to the extent of the
Assumed Liabilities.

               (h)     Buyer will cooperate with the Sellers in communicating with third parties
to Desired 365 Contracts as may be reasonably necessary to assist the Sellers in establishing that
Buyer has satisfied the requirement of adequate assurance of future performance contained in
sections 365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the applicable Desired
365 Contracts. With respect to Cure Costs that are disputed, the Parties shall cooperate and
diligently pursue resolution of such disputes.

                (i)    Upon payment of the aforesaid Cure Costs, all defaults under the Assumed
Contracts (monetary or otherwise) and all actual or pecuniary losses that have or may have resulted
from such defaults shall be deemed cured, including without limitation any Tax, rental obligation,
common area maintenance, percentage rent, base rent or utility payments, whether or not such
obligation became due, or accrued, after the effective date of the assignment of such Assumed
Contracts, as the case may be.

                (j)    Previously Omitted Contracts.

                               If prior to or following the date (but no later than, as applicable, the
Determination Date or the Extended Final Determination Date (if so elected by Buyer)) which is
thirty (30) days following the date of this Agreement, it is discovered by any Party that a 365
Contract should have been a Desired 363 Contract listed on Schedule 2.3(a), but was not listed on
Schedule 2.3(a), and has not been rejected by the Sellers (any such 365 Contract, a “Previously
Omitted Contract”), the discovering Party shall, promptly following the discovery thereof (but in
no event later than two (2) Business Days following the discovery thereof), notify the other Parties
in writing of such Previously Omitted Contract and then the Sellers shall, promptly following such
notification (but in no event later than two (2) Business Days following such notification), notify
Buyer of Sellers’ good faith estimate of all Cure Costs (if any) for such Previously Omitted
Contract. Subject to the terms hereof, Buyer may thereafter (a) designate in writing to Sellers the
365 Contract as a Desired 365 Contract and (b) deliver a Designation Notice to Sellers, no later
than the earlier of (x) the Determination Date or the expiration of the Extended Contract Period,
as applicable, and (y) five (5) Business Days following notification of such Previously Omitted
Contract by the Seller, and if authorized by either the Sale Order or other Bankruptcy Court order
                                                  27
13208185-55
13208185-58
               Case 24-20576-CLC       Doc 29     Filed 10/13/24     Page 113 of 565




applicable thereto, such contract shall be an Assumed Contract under this Agreement. All
Previously Omitted Contracts with respect to which Buyer fails timely to deliver a Designation
Notice, shall be an Excluded Contract and Excluded Asset.

                               If Buyer delivers a Designation Notice to Sellers, the Sellers shall
serve a notice (the “Previously Omitted Contract Notice”) on the counterparties to such Previously
Omitted Contract notifying such counterparties of the Cure Costs with respect to such Previously
Omitted Contract and the Sellers’ intention to assume and assign such Previously Omitted Contract
in accordance with this Section 2.3(j)(ii). The Previously Omitted Contract Notice shall provide
the counterparties to such Previously Omitted Contract with ten (10) Business Days to object, in
writing to the Sellers and Buyer, to the Cure Costs or the assumption and assignment of its 365
Contract. The Previously Omitted Contract Notice shall, to the extent relevant, be in the form of
the Assumption Notice and revised as per the terms of this Section 2.3(j)(ii). If the counterparties,
the Sellers and Buyer are unable to reach a consensual resolution with respect to the objection, the
Sellers shall seek an expedited hearing before the Bankruptcy Court to determine the Cure Costs
and approve the assumption and an assignment, or assignment, of such Previously Omitted
Contract. If no objection is served on the Sellers and Buyer, the Sellers shall seek to obtain an
order of the Bankruptcy Court fixing the Cure Costs and approving the assumption and assignment,
or assignment, of the Previously Omitted Contract. Subject to the terms of this Agreement, as
applicable, Buyer and Sellers shall be responsible for all Cure Costs relating to such Previously
Omitted Contracts and for any obligations or Liabilities relating to such Previously Omitted
Contracts arising during the Extended Contract Period.

         2.4     Consideration.

               (a)      The consideration that Buyer shall pay Sellers for the Purchased Assets, the
obligations of Sellers under Article VI, and the other rights of Buyer hereunder shall be Forty-Five
Million Dollars ($45,000,000), subject to adjustment solely as expressly provided in this
Agreement (the “Total Consideration”).

                 (b)    The portion of the Total Consideration that Buyer shall pay Sellers at the
Closing (in accordance with Section 2.7) shall be (i) the Total Consideration, less (ii) the Deposit,
less (iii) the Holdback Amount (the “Closing Payment”). The Closing Payment shall be paid to the
Sellers’ Representative by Buyer, and the Sellers’ Representative shall promptly thereafter
distribute such payment to the applicable Sellers.

                (c)    Within one (1) Business Day of the execution and delivery of this
Agreement, Buyer will deposit with the Escrow Agent an amount equal to Two Million Two
Hundred Fifty Thousand Dollars ($2,250,000) (the “Deposit”) by wire transfer of immediately
available funds, which the Escrow Agent shall hold subject to the terms of an escrow agreement
in a form mutually agreed to by the Parties (“Deposit Agreement”). Subject to the terms of this
Section 2.4(c) at the Closing, the Deposit shall be credited and applied toward payment of the
Total Consideration. If Sellers terminate this Agreement prior to Closing pursuant to Section
10.1(d) (a “Buyer Default Termination”), then the Deposit shall become nonrefundable and paid
to Sellers. If this Agreement is terminated prior to Closing for any reason other than a Buyer
Default Termination, then the Deposit shall be returned to Buyer. When the Deposit becomes
payable to Buyer or Sellers’ Representative pursuant to this Agreement, Buyer and Sellers’
                                               28
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 114 of 565




Representative shall deliver to the Escrow Agent joint written instructions directing the Escrow
Agent to release the Deposit to Buyer or Sellers’ Representative, as applicable, in accordance with
the terms of the Deposit Agreement. The Parties agree that the payment of the Deposit to Sellers
as a result of a Buyer Default Termination is not a penalty but is liquidated damages in a reasonable
amount that will compensate Sellers for a Buyer Default Termination, which amount would
otherwise be impossible to calculate with precision, and that the receipt and retention of Deposit
shall be Sellers’ sole and exclusive remedy with respect to a Buyer Default Termination.

                (d)    On the Business Day immediately following the date that is eighteen (18)
months after the Closing Date, Buyer shall pay to Sellers’ Representative, by wire transfer of
immediately available funds in accordance with the wire transfer instructions set forth in the Funds
Flow, an amount equal to (A) Five Million Six Hundred Twenty Five Thousand Dollars
($5,625,000) (the “Holdback Amount”), less (B) the sum of (I) the aggregate amount of the
Holdback Amount retained by Buyer to satisfy the resolved indemnification obligations of the
Sellers under Section 8.1 or otherwise pursuant to this Agreement and (II) the aggregate amount
which is subject to claims for indemnification made by Buyer in accordance with the provisions
of Section 8.1 which are pending resolution and have not been satisfied by the retention of the
Holdback Amount by Buyer, it being agreed that Buyer is and shall be entitled to retain all or a
portion of the Holdback Amount to satisfy, in whole or in part, any obligations of the Sellers
pursuant to and in accordance with Section 8.1 or otherwise pursuant to this Agreement that
become resolved in accordance herewith. In the event that the amount paid by Buyer pursuant to
the previous sentence shall be reduced pursuant to subsection (B)(II) thereof with respect to a claim
for indemnification made by Buyer, promptly (and in any event within five (5) Business Days)
following the final resolution of such claim, Buyer shall pay to Sellers’ Representative an amount
(if greater than zero) equal to (x) the Holdback Amount, less (y) the sum of (I) the aggregate
amount previously paid to Sellers’ Representative pursuant to this Section 2.4(d), (II) the aggregate
amount of the Holdback Amount retained by Buyer to satisfy the indemnification obligations of
Sellers under Section 8.1 or otherwise pursuant to this Agreement, and (III) the aggregate amount
which is subject to claims for indemnification made by Buyer in accordance with the provisions
of Section 8.1 or otherwise pursuant to this Agreement which have not been satisfied by the
retention of the Holdback Amount by Buyer.

                (e)    The parties agree that the Total Consideration represents the fair market
value of the Purchased Assets in an arm’s length transaction and has not been determined in a
manner that takes into account the volume or value of any referrals or business otherwise generated
or anticipated to be generated between the parties or any of their Affiliates.

        2.5     Closing. Unless this Agreement shall have been terminated in accordance with
Section 10.1 or if the Parties agree otherwise, the Parties shall consummate the transactions
contemplated by this Agreement (the “Closing”), as promptly as practicable but in no event later
than three Business Days after the date on which all conditions set forth in Article IX (except those
conditions that are to be satisfied at Closing) have been satisfied (or waived by the Party entitled
to the benefit of the same), provided that Closing shall not occur later than December 12, 2024 if,
at least three (3) Business Days prior to such date, all conditions set forth in Article IX (except
those conditions that are to be satisfied at Closing) have been satisfied (or waived by the Party
entitled to the benefit of the same). Closing shall occur by electronic deliveries, or at such other

                                                 29
13208185-55
13208185-58
               Case 24-20576-CLC         Doc 29      Filed 10/13/24    Page 115 of 565




place, date and time as Buyer and the Sellers’ Representative shall mutually agree in writing (the
date on which the Closing occurs, the “Closing Date”); provided, that the Parties agree that the
Closing may be effected by mail or overnight delivery or electronic means.

         2.6     Deliveries of Sellers at Closing.

                 (a)      At the Closing, Sellers shall deliver or cause to be delivered to Buyer:

                     (i)       Intellectual Property assignments, substantially in the forms of
         Exhibit C hereto, with respect to the Intellectual Property constituting Purchased Assets;

                      (ii)        to the extent not obviated by the Sale Order, all waivers, consents,
         Governmental Authority authorizations or approvals or other documents to effectively
         transfer the Purchased Assets and all waivers, consents, authorizations and approvals
         relating to Sellers required to be obtained from any Governmental Authority as a result of
         the transactions that are the subject of this Agreement, as listed and described on Schedule
         2.6(a)(ii) (collectively, the “Governmental Consents”);

                    (iii)       to the extent not obviated by the Sale Order, all waivers, consents,
         authorizations and approvals relating to Sellers required to be obtained from third parties
         as a result of the transactions that are the subject of this Agreement under Assumed
         Contracts, as listed and described on Schedule 2.6(a)(iii) (collectively, the “Third Party
         Consents”, and together with the Governmental Consents, the “Material Consents”);

                       (iv)      the Transition Services Agreement, duly executed by the Sellers;

                      (v)      a copy, certified by the Secretary or other officer of each Seller to
         be true, complete and correct as of the Closing Date, of the Organizational Documents of
         each Seller and copies of resolutions of the shareholders or members (as may be required
         by applicable Law and the Organizational Documents) and board of directors or managers
         of each Seller authorizing and approving this Agreement, the Ancillary Agreements and
         the transactions contemplated hereby and thereby;

                     (vi)        a certificate of good standing, or equivalent certificate, for each
         Seller, dated within five (5) Business Days of the Closing Date, issued by the appropriate
         Governmental Authority;

                   (vii)       all business records and books of account of Sellers related to the
         Business or the Purchased Assets;

                   (viii)        a properly executed and completed IRS Form W-9 from each Seller;
         and

                      (ix)     employment agreements in substantially in the form attached as
         Exhibit D (for physicians) or otherwise in form and substance reasonably acceptable to
         Buyer (for non-physicians), duly executed by at each of the individuals listed on Schedule
         2.6(a)(ix) (the “Employment Agreements”);

                                                     30
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 116 of 565




                     (x)       an amendment to that certain Master Services Agreement, dated as
         of June 12, 2017, by and between MBMO and Clearwater Compliance LLC, in form and
         substance reasonably acceptable to Buyer;

                     (xi)       evidence reasonably satisfactory to Buyer that the optometry,
         chiropractic, nail and hair care services and other similar spa and wellness type services
         offered at Sellers’ wellness centers, massage therapy and platlet-rich-plasma injection
         services have ceased to be provided by Sellers and were terminated in compliance with
         applicable law; and

                   (xii)       evidence reasonably satisfactory to Buyer that Sellers have ceased
         any practice of providing gift cards exceeding Fifteen Dollars ($15.00) per gift card or
         Seventy Five Dollars ($75.00) worth of gift cards, in the aggregate, to prospective patients.

        2.7     Deliveries of Buyer at Closing. At the Closing, Buyer shall deliver or cause to be
delivered:

               (a)     to the Sellers’ Representative (for subsequent distribution to the applicable
Sellers) by wire transfer of immediately available funds an aggregate of the Closing Payment to
the account designated by the Sellers’ Representative not less than five (5) Business Days prior to
the Closing Date and as set forth on the funds flow statement prepared by Buyer (the “Funds
Flow”); and

                (b)     to Sellers, the Transition Services Agreement, duly executed by Buyer.

        2.8     Withholding. Notwithstanding any provision hereof to the contrary, Buyer shall be
entitled to deduct and withhold from any consideration or other amounts otherwise payable under
the terms of this Agreement such amounts as it is permitted to deduct and withhold pursuant to
any provision of Law, including those related to or regarding Taxes. To the extent that amounts
are so withheld by Buyer under any provision of this Agreement, such withheld amounts (i) shall
be remitted by Buyer to the applicable Governmental Authority in accordance with applicable Law
and (ii) shall be treated for all purposes of this Agreement as having been paid to the recipient in
respect of which such deduction and withholding was made. Buyer shall use commercially
reasonable efforts to provide at least five (5) days written notice to Sellers’ Representative prior to
withholding any Taxes from any payment hereunder.

        2.9     Allocation. Within sixty (60) days after the Closing Date, Buyer shall prepare and
deliver to the Sellers’ Representative an allocation of the Total Consideration and Assumed
Liabilities (and any other amounts properly included in consideration for Tax purposes,
collectively, the “Tax Consideration”) among (1) first, each Seller as applicable, (2) second,
among the asset classes attributable to each Seller in accordance with Code Section 1060, the
Treasury Regulations promulgated thereunder, and any comparable Laws in other jurisdictions, in
a commercially reasonable methodology (the “Purchase Price Allocation”). Sellers’
Representative shall have ten (10) Business Days to review and comment. If Sellers’
Representative does not notify Buyer in writing of any objections within ten (10) Business Days
or if Sellers’ Representative and Buyer resolve all such objections, each Party agrees that it will
(i) be bound by the Purchase Price Allocation, (ii) report for Tax purposes the transactions
                                                  31
13208185-55
13208185-58
               Case 24-20576-CLC       Doc 29     Filed 10/13/24      Page 117 of 565




consummated pursuant to this Agreement in a manner consistent with the Purchase Price
Allocation (including the filing of IRS Form 8594), and (iii) not take a position for Tax purposes
that is inconsistent with the Purchase Price Allocation on any Tax Return or in any proceeding
before any Tax Authority except with the prior written consent of the other Parties. Sellers’
Representative shall timely and properly prepare, execute, file and deliver all such documents,
forms and other information as Buyer may reasonably request to prepare the Purchase Price
Allocation. If the Sellers’ Representative timely objects in writing to Buyer’s draft Purchase Price
Allocation and the Parties are unable to timely resolve Sellers’ Representative’s comments thereto,
then each Party may file separate allocations of the Tax Consideration among the Purchased Assets
and neither Party shall be bound by the other Party’s allocation of the Tax Consideration. In the
event that the Purchase Price Allocation is disputed by any Tax Authority in writing, the Party
receiving notice of such dispute will promptly notify the other Parties, provided that the failure of
the Party receiving such notice of dispute to promptly notify the other Parties shall not constitute
a breach of this provision unless any such other Party is actually prejudiced by such failure.

                              ARTICLE III.
         REPRESENTATIONS AND WARRANTIES REGARDING THE SELLERS

         Each Seller hereby represents and warrants to Buyer as follows:

         3.1     Status; Power and Authority.

                (a)    Status. Section 3.1(a) of the Disclosure Schedules sets forth a true,
complete and correct list of each Seller and other Person that owns or holds any assets used or held
for use in connection with the Business (including any Purchased Assets). Each Seller is duly
organized, validly existing, and in good standing under the Laws of the state in which it was
organized or incorporated, as applicable. Each Seller has all requisite corporate or limited liability
company power and authority, as applicable, to conduct the Business as it is now being conducted.
No Seller is required to be registered, licensed or qualified to do business in any other jurisdiction
in order to conduct the Business. Each Seller has Made Available to Buyer true, complete and
correct copies of the Organizational Documents for each Seller. No Seller is or has been in breach
or violation of or default under any provision of their Organizational Documents.

               (b)    Pre-Closing Restructuring. Prior to the date hereof, Jose D. Suarez, M.D.
transferred 100% of the ownership of CCMC Holdings to MBMO such that CCMC Holdings is a
direct subsidiary of MBMO and is wholly owned by MBMO (the “Pre-Closing Restructuring”).
The Pre-Closing Restructuring has been properly effected in all respects in accordance with all
applicable Law and the Organizational Documents of the applicable Sellers. All required filings
to be made with respect to the transactions undertaken in connection with the Pre-Closing
Restructuring have in all respects been duly and properly completed and timely filed with the
applicable Governmental Authority. Buyer has been provided or made available copies of all
documents entered into in connection with the Pre-Closing Restructuring, including any filings
with any Governmental Authority effecting or governing the Pre-Closing Restructuring, and no
such documents have been amended, revoked, or otherwise altered since so provided or made
available, and no provision of any Restructuring Document has been breached or waived.


                                                 32
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29      Filed 10/13/24      Page 118 of 565




                (c)    Power and Authority. Subject to entry of the Sale Order, each Seller has
full legal capacity and all requisite corporate or limited liability company power and authority to
execute and deliver this Agreement and the Ancillary Agreements to which any of them is a party,
to perform its obligations hereunder and thereunder, and to consummate the transactions
contemplated hereby and thereby. All corporate or limited liability company acts or proceedings
and approvals or consents required to be taken or obtained by each Seller to authorize the execution
and delivery of this Agreement and the Ancillary Agreements to which it is a party and the
performance of such Seller’s obligations hereunder and thereunder have been properly taken or
obtained, including the approval of this Agreement and the Ancillary Agreements, and the
transactions contemplated hereby and thereby, by the board of managers or board of directors, as
applicable, and the shareholders or members, as applicable, of each Seller in accordance with
applicable Laws. There is no equityholder agreement, voting trust or other agreement,
arrangement, or understanding that may affect the exercise of voting or any other rights or
obligations with respect to the Equity Interests, assets, or the Business, including any rights of first
refusal, preemptive rights, or other purchase rights. No Seller was ever a party to the Primary Care
Provider Agreement between Simply Healthcare Plans, Inc. and Viva Health, as this Contract was
not assumed by any Seller in connection with Asset Purchase Agreement, effective March 1, 2017,
whereby MB Medical Operations purchased substantially all of the assets of Viva Health LLC.
The right of first refusal contained in the Primary Care Provider Agreement between Simply
Healthcare Plans, Inc. and Viva Health is not applicable to the transactions contemplated by this
Agreement.

        3.2    Enforceability. This Agreement and each of the Ancillary Agreements to which
any of them is a party has been duly authorized, executed and delivered by each Seller. Upon
entry of the Sale Order, assuming the due and valid authorization, execution, and delivery of this
Agreement and the Ancillary Agreements to which any of them is a party by Buyer, this Agreement
and such Ancillary Agreements constitute the legal, valid, and binding obligation of each Seller,
enforceable against such Seller in accordance with its terms, except as enforceability may be
limited by the Bankruptcy and Equity Exceptions.

        3.3      No Violation; Consents and Approvals. Subject to entry of the Sale Order, except
as set forth on Section 3.3 of the Disclosure Schedules, the execution and delivery of this
Agreement and the Ancillary Agreements to which any of them is a party by each Seller, and the
consummation by such Seller of the transactions contemplated hereby and thereby will not (a)
violate any Law applicable to, binding upon or enforceable against such Seller, (b) violate, conflict
with or result in a breach of any provision of the Organizational Documents of any Seller, (c) result
in any breach of, or constitute a default (or an event which would, with the passage of time or the
giving of notice or both, constitute a default) under, or give rise to a right of payment under or the
right to terminate, amend, modify, abandon or accelerate, any Contract to which such Seller is a
party or by which it or its assets is bound, or (d) result in the creation or imposition of any Lien
upon any of the Purchased Assets. Except (x) to the extent excused or made unenforceable as a
result of the filing of the Bankruptcy Cases, (y) for the entry and effectiveness of the Sale Order
in respect of the Sellers, or (z) as set forth in Section 3.3 of the Disclosure Schedules, the execution,
delivery and performance by each Seller of this Agreement and the Ancillary Agreements to which
any of them is a party by each Seller, and the consummation by such Seller of the transactions
contemplated hereby and thereby, do not require any consents, notices, waivers, authorizations or

                                                   33
13208185-55
13208185-58
               Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 119 of 565




approvals of, or filings with, any (i) Governmental Authorities or (ii) other third Persons, except
with respect to this clause (ii) as would not reasonably be expected to have a material impact on
the Business.

         3.4     Financial Statements; Records.

                (a)    Attached hereto as Section 3.4(a) of the Disclosure Schedules are (a) the
audited consolidated balance sheet of the Sellers as of December 31, 2021, and December 31, 2022
and the related consolidated statements of income, partners’ equity and cash flows of the Sellers
for each twelve (12) month periods then ended, and the unaudited consolidated balance sheet of
the Sellers as of December 31, 2023 and the related consolidated statement of income, partners’
equity and cash flows of the Sellers for the twelve (12) month period then ended (collectively, the
“Financial Statements”), and (b) the unaudited consolidated balance sheet of the Sellers as of
August 31, 2024 and the related consolidated statements of profit and loss, cash flows and
shareholders’ equity of the Sellers for the eight (8) month period then ended (the “Interim Financial
Statements”). The Financial Statements and the Interim Financial Statements (i) are derived from
and consistent with the information contained in each Seller’s books and records, and are true,
correct, and complete in all material respects, (ii) present fairly in all material respects the financial
condition of each Seller as of such dates and the results of operations, cash flows and shareholders’
equity of each Seller for such periods, (iii) have been prepared in accordance with GAAP applied
on a consistent basis, subject in the case of the Interim Financial Statements to normal year-end
adjustments and the absence of footnotes (none of which will be material individually or in the
aggregate), and (iv) do not include any untrue statement of a material fact required to be stated or
reflected therein or omit to state or reflect any material fact necessary to make any statements
therein not misleading.

              (b)    True, correct, and complete copies of the books of account, minute books,
bank accounts, and other corporate records of Sellers have been Made Available to Buyer, and
such books and records have been maintained in accordance with the Ordinary Course of Business.

        3.5     Absence of Certain Developments. Except as otherwise set forth on Section 3.5 of
the Disclosure Schedules, Since December 31, 2023, (a) the Business has been conducted in the
Ordinary Course of Business and the Sellers have not entered into any transaction related to the
Purchased Assets (including any transfer or sale of assets) out of the Ordinary Course of Business,
(b) the Sellers have owned and operated the Purchased Assets in the Ordinary Course of Business,
and (c) there has been no fact, event, or development that would, individually or in the aggregate,
reasonably be expected to have a Material Adverse Effect on any of the Sellers. Except as
otherwise set forth on Section 3.5 of the Disclosure Schedules, since December 31, 2023, there
has not been:

                (a)     any Lien granted on any portion of a Seller’s properties or assets, or any
portion of its properties or assets suffered to be subject to any Lien, except for Permitted Liens;

                (b)    the incurrence of any Indebtedness or of any other material Liabilities of the
Sellers, other than Liabilities (other than any Indebtedness) incurred in the Ordinary Course of
Business;

                                                   34
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 120 of 565




               (c)    any loans or advances by a Seller to, or guarantees for the benefit of, any
Persons (except to employees in the Ordinary Course of Business and in an amount not to exceed
$50,000 in the aggregate);

               (d)     any cancellation of any Indebtedness or claim held by a Seller (other than
any inter-Seller Indebtedness as set forth Section 3.5(d) of the Disclosure Schedules);

                (e)    (i) any change in the Direct Compensation payable, or to become payable,
to any Key Personnel, (ii) any change in the Direct Compensation payable, or to become payable,
to any employee who is not Key Personnel, other than normal increases in the Ordinary Course of
Business that do not exceed a total of five percent (5%) for such employee when combined with
all increases to such employee in 2024, or (iii) any material modification of any bonus payment or
arrangement made to or with any Key Personnel or any establishment or creation of any
employment, deferred compensation, or severance arrangement or Plan with respect to any Key
Personnel or the material amendment of any of the foregoing;

                (f)    any (i) voluntary or involuntary separation from employment of any Key
Personnel, (ii) material loss of personnel of a Seller, or (iii) material change in the terms and
conditions of the employment or retention of any Key Personnel;

                 (g)   any (i) material change in accounting methods or practices of the Business
or the Sellers taken as a whole or (ii) any change to any collection, pricing, discount, rebate,
payment or cash management policy or practice of the Business or any of the Sellers, including
any failure to timely pay accounts and trade payables when due in the ordinary course of business
consistent with past practice (except for any such change required by reason of a change in Law);

               (h)    any material loss of, or any material change in relationship with, any
significant group of Healthcare Professionals, Third-Party Payor, or supplier of the Business or
the Sellers;

              (i)     any amendment or modification to, waiver of rights under, or termination
of any Material Contract;

              (j)     any material Contract, agreement or arrangement entered into by a Seller or
the Business relating to any royalty or similar payment based on the revenues, profits or sales
volume of such Seller or the Business;

                 (k)     any (i) filing of any Tax Returns required to be filed inconsistent with its
past practices, (ii) making, changing or rescission of any material Tax election, (iii) settlement or
compromise of any material Tax liability, (D) entry into any closing agreement within the meaning
of Code Section 7121 (or any similar provision of state, local, or foreign Law), (iv) amendment of
any material Tax Return, (v) filing related to a voluntary Tax disclosure, Tax amnesty, or other
similar filing, (vi) surrender or abandonment any right to claim a material Tax refund, offset, or
other reduction in Tax Liability, or (vii) consent to any extension or waiver of the limitation period
applicable to any claim or assessment in respect of Taxes;



                                                 35
13208185-55
13208185-58
               Case 24-20576-CLC        Doc 29      Filed 10/13/24      Page 121 of 565




               (l)     any notice received by a Seller from any Governmental Authority with
respect to any material violations or alleged material violations of applicable Laws or any violation
of Health Care Fraud Laws by such Seller, or any of its respective officers, directors, partners,
employees or Contingent Workers;

             (m)     any notice received from any Third Party Payor of any audit or investigation
or any demand for repayment from any Third Party Payor;

               (n)   any settlement agreement with respect to third party disputes or Proceedings
or any waiver or compromise of any rights of Sellers or the Business with respect thereto;

              (o)     any plan or agreement of complete or partial liquidation, dissolution,
merger, consolidation, restructuring, recapitalization or other material reorganization of any Seller;
or

                 (p)    any commitment (contingent or otherwise) to do any of the foregoing.

        3.6      Litigation. Except as set forth on Section 3.6 of the Disclosure Schedules, since
January 1, 2021 (a) there are and have been no Proceedings pending or, to Sellers’ Knowledge,
threatened, against any Seller or the Business at law or in equity, including, without limitation, any
Proceeding challenging, enjoining, or preventing this Agreement or the consummation of the
transactions contemplated hereby, and (b) no Seller (with respect to the Business) is or has been
subject to any outstanding Order that relates to such Seller or the Business. Section 3.6 of the
Disclosure Schedules sets forth a list of all Proceedings involving any of the Sellers, the Business
or any Purchased Assets since January 1, 2021. Since January 1, 2021, no officer, director, or
manager of any Seller or the Business has been: (i) subject to voluntary or involuntary petition
under the federal bankruptcy laws or any state insolvency law or the appointment of a receiver,
fiscal agent or similar officer by a court for his or her business or property or that of any partnership
of which he or she was a general partner or any corporation or business association of which he or
she was an executive officer; (ii) charged in, convicted in, or the subject of a criminal Proceeding
(excluding traffic violations and other minor offenses) or been otherwise accused of any act of
moral turpitude; (iii) the subject of any Order (not subsequently reversed, suspended or vacated)
of any court of competent jurisdiction permanently or temporarily enjoining him or her from, or
otherwise imposing limits or conditions on his or her ability to engage in any securities, investment
advisory, banking, insurance or other type of business or acting as an officer or director of a public
Seller; or (iv) found by a court of competent jurisdiction in a civil Proceeding or by the Securities
and Exchange Commission to have violated any federal or state commodities, securities or unfair
trade practices law, which judgment or finding has not been subsequently reversed, suspended, or
vacated.

         3.7     Environmental Matters.

               (a)   To Sellers’ Knowledge, the Sellers are, and during the past three (3) years
have been, in compliance with all Environmental Laws in all material respects.

                (b)    Sellers have provided to Buyer true, accurate and complete copies of all
reports or assessments in its possession, custody or control relating to the environmental condition
                                                   36
13208185-55
13208185-58
               Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 122 of 565




of the Leased Real Property or improvements thereon or compliance by Sellers with applicable
Environmental Laws.

         3.8     Title to Purchased Assets; Real Property.

                (a)      Sellers have, and subject to the entry and effectiveness of the Sale Order in
respect of the Purchased Assets of the Sellers, at the Closing, Buyer will have, good and valid title
to each of the Purchased Assets (except for those Purchased Assets that are leased or licensed to
any Seller, as to which any Seller has, and at the Closing, Buyer will have, valid licensed or
leasehold interests), free and clear of all Liens, other than (i) Permitted Liens and (ii) Liens granted
thereon by Buyer.

                (b)     Other than the Excluded Assets, the Purchased Assets constitute all of the
assets used in or held for use in the Business and are sufficient for Buyer to conduct the Business
from and after the Closing Date without interruption and in the Ordinary Course of Business as it
has been conducted by the Sellers prior to the Closing Date.

               (c)     No Seller owns or has ever owned any real property. The real property
leased by each Seller (the “Leased Real Property”) pursuant to the leases described on
Section 3.8(c) of the Disclosure Schedules (the “Real Property Leases”) constitutes all of the real
property leased by the Sellers, and all the real property utilized by Sellers in the conduct of the
Business. Except as set forth on Section 3.8(c) of the Disclosure Schedules:

                              (i)       Each Real Property Lease is in full force and effect and is a
                 legal, binding and enforceable obligation of the Seller party thereto, and, to Sellers’
                 Knowledge, each of the other parties thereto.

                            (ii)       The Sellers have Made Available to Buyer true, complete
                 and accurate copies of each Real Property Lease (together with all amendments,
                 modifications, annexes, exhibits and schedules thereto).

                            (iii)      No Seller has assigned any Real Property Lease nor
                 subleased nor licensed any or all of the Leased Real Property.

                             (iv)        Each Seller’s interest in and to the Leased Real Properties is
                 free and clear of all Liens other than Permitted Liens, and none of the Sellers has
                 mortgaged, assigned, pledged or encumbered any of the Real Property Leases.

                             (v)       No notices of termination or cancellation of any Real
                 Property Lease have been given or received by any Seller, and no notices of breach
                 of any of the Real Property Leases have been given or received by any Seller that
                 remains uncured.

                             (vi)      No Seller is in default under any Real Property Lease, and,
                 to Sellers’ Knowledge, no other party to any Real Property Lease is in default
                 thereunder and there exists no condition that, with notice or the passage of time or
                 both, would be reasonably likely to constitute a default of any party thereunder.

                                                   37
13208185-55
13208185-58
               Case 24-20576-CLC       Doc 29     Filed 10/13/24     Page 123 of 565




                            (vii)       To the Knowledge of the Sellers, none of the Leased Real
                 Property is subject to any current or proposed governmental condemnation,
                 expropriation or taking.

                          (viii)      There are no brokerage or leasing commissions due or
                 payable to any party with respect to or on account of any of the Real Property
                 Leases.

         3.9     Compliance with Laws.

               (a)     Each Seller and the Business is and has been in compliance with all
applicable Laws in all material respects. During the past four (4) years, no Seller has been cited,
fined, or otherwise notified in writing by any Governmental Authority of any failure to comply
with any Laws that has not been paid or cured. Neither the execution of this Agreement nor the
Closing does or will constitute or result in any default, breach or violation by any Seller under any
applicable Law.

                (b)    Each Seller, and each of their respective directors, managers, officers,
employees and, to the Sellers’ Knowledge, Healthcare Providers, holds all Permits necessary for
the ownership, lease, operations and use of the Purchased Assets or required to conduct the
Business, and each such Permit, and any pending or applied for Permits, is listed on Section 3.9(b)
of the Disclosure Schedules. Each Seller, and its directors, managers, officers, employees and
Healthcare Providers, is in compliance in all material respects with all such Permits, all of which
are valid and in full force and effect. During the past four (4) years, no Seller nor any director,
manager, or officer has received (i) any written or, to the Sellers’ Knowledge, verbal notice from
any Governmental Authority alleging the violation of, or failure to comply with, any term or
requirement of any of such Permits, or regarding the revocation, withdrawal, suspension,
cancellation, termination or modification of any of such Permits; or (ii) any written or, to the
Sellers’ Knowledge, verbal notice of any event, inquiry, investigation or action before any
Governmental Authority threatening the validity of any such Permit. No such event, inquiry,
investigation or action before any Governmental Authority is pending or, to the Sellers’
Knowledge, threatened against any Seller. The Sellers have Made Available to Buyer true and
complete copies of all material Permits.

               (c)     Except as set forth in Section 3.9(b)of the Disclosure Schedules, neither the
execution of this Agreement nor the Closing does or will constitute or result in a default under or
violation of any such Permit.

      3.10       Health Care Matters. Except as set forth on Section 3.10 of the Disclosure
Schedules:

                (a)     Except as set forth on Section 3.10(a) of the Disclosure Schedules, each
Seller, in connection with the conduct and operation of the Business, is, and at all times during the
past four (4) years has been, in compliance in all material respects with all Health Care Laws and
in compliance with all Health Care Fraud Laws that are applicable to the conduct and operation of
the Business by it or to which any Purchased Asset is subject and with all of its respective Permits
that are related to the Business, and, except as set forth on Section 3.10(a) of the Disclosure
                                                 38
13208185-55
13208185-58
              Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 124 of 565




Schedules, no Seller nor any of Sellers’ employees or contractors has received during the past four
(4) years any notice or communication from any Governmental Authority or Government Program,
or any contractors or agents acting on behalf of any Third Party Payor that alleges noncompliance
with any Health Care Laws in any material respect by any Seller or its employees or contractors
in connection with the conduct or operation of the Business. There is no pending or, to Sellers’
Knowledge, threatened Proceeding by or before any Governmental Authority or Third Party Payor
alleging a violation of Health Care Laws in any material respect or any violation of any Health
Care Fraud Laws by any Seller or Sellers’ current or former directors, members, employees,
agents, officers, managers, agents, or to Sellers’ Knowledge, independent contractors, in
connection with the conduct or operation of the Business. Without limiting the generality of the
foregoing, during the past four (4) years, with respect to the Business: (i) no Seller nor, to Sellers’
Knowledge, any of Sellers’ directors, managers, members, officers, employees or agents have
engaged in any activity or entered into any Contracts or other arrangements in connection with the
conduct or operation of the Business which are prohibited under the Federal Anti-Kickback
Statute, 42 U.S.C. § 1320a-7b, and/or the regulations promulgated thereunder, or applicable state
or local fraud and abuse statutes or regulations; (ii) no Seller nor, to Sellers’ Knowledge, any of
Sellers’ directors, managers, members, officers, employees, or agents acting on its behalf in
connection with the conduct or operation of the Business has a “financial relationship,” as that
term is defined by the Stark Law or applicable state or local Stark-type statutes or regulations, with
a physician or an immediate family member of a physician if such physician refers patients to any
Seller unless such financial relationship meets an exception to the Stark Law and applicable state
or local self-referral statutes or regulations; and (iii) each Seller has at all times materially complied
with and satisfied all applicable Laws regarding protecting the privacy and security of Personal
Information, including all applicable requirements under HIPAA and state Privacy Laws, except
as set forth on Section 3.10(a) of the Disclosure Schedules. Each of the services and items provided
to patients by any Seller (including its employees and contractors) in connection with the Business
have at all times been provided in compliance in all material respects with Laws and in a competent
manner, consistent with applicable professional standards, including all applicable quality
standards and regulatory requirements of the Drug Enforcement Administration, state medical and
other professional boards and other applicable Governmental Authorities.

                (b)    During the past four (4) years, all claims submitted to any Third Party Payor
by (or on behalf of), and the coding and billing practices of (or on behalf of), each Seller in
connection with the conduct or operation of the Business have been timely, materially accurate
and filed in material compliance with all Health Care Laws, applicable Third-Party Payor
Contracts and published Third Party Payor billing guidelines. Except for refunds to carriers and
patients in the Ordinary Course of Business that, individually or in the aggregate, are not material
to the Business, Sellers and their agents have not billed or received any payment in excess of
amounts allowed by any applicable Health Care Law, contract or published billing guideline in
connection with the conduct or operation of the Business. Sellers and their agents have paid or
caused to be paid all known and undisputed refunds, penalties, overpayments, fees or other
financial assessments which have become due to any Third Party Payor or patient in connection
with the Business within the timeframes set forth and in accordance with applicable Laws. Except
as set forth on Section 3.10(b) of the Disclosure Schedules, there is no pending or, to Sellers’
Knowledge, threatened Proceeding by any Person with respect to any billing practices or
reimbursement claims by any Seller in connection with the conduct or operation of the Business,
                                                   39
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29      Filed 10/13/24     Page 125 of 565




nor any facts, events, circumstances or conditions that could reasonably be expected to give rise
to such Proceeding in connection with the conduct or operation of the Business. Except as set forth
on Section 3.10(b) of the Disclosure Schedules, Sellers and their agents are not and during the past
four (4) years have not been, in each case in connection with the Business, the subject of any
focused reviews, Recovery Audit Contractor or other Medicare Program Integrity contractor
audits, or Medicaid Integrity Program audits. In the past four (4) years, no Seller has been audited
or otherwise examined by any Third Party Payor in connection with the Business or otherwise
received any notice or request for repayment or refund from any Government Program or Third
Party Payor program in connection with the Business other than in the Ordinary Course of
Business.

                 (c)    Each Seller is qualified for participation in the Medicare, Medicaid and
TRICARE programs and other Government Programs and Third Party Payors from which it
receives reimbursement in connection with the Business and has, and, at all times for the past four
(4) years has held, a current and valid provider or supplier contract with such programs. Except as
set forth on Section 3.10(c) of the Disclosure Schedules, with respect to each contract with a Third
Party Payor to which each Seller is a party in connection with the Business, either directly or
indirectly (e.g., through participation of such Seller in a physician hospital organization party to a
contract with a Third Party Payor), such Seller and its agents are, and, for the past four (4) years
have been, in compliance in all material respects with all applicable Laws, including conditions of
payment and participation, rules, regulations, program memoranda and applicable manuals of
Third Party Payors, instructions, FAQs and guidance, and are not in breach of or default under any
such Contract. Except as set forth on Section 3.10(c) of the Disclosure Schedules, no event has
occurred, is pending or, to Sellers’ Knowledge, has been threatened, which, after the giving of
notice, lapse of time or otherwise, would constitute a breach or default by any Seller under any
such contract. All such contracts are in compliance in all material respects with all applicable
Health Care Laws and Laws, including federal and state antitrust Laws. Except as set forth on
Section 3.10(c) of the Disclosure Schedules, none of the Sellers or any of their respective agents
have received any written or oral notice that there is any investigation, audit, claim, review, inquiry
or proceeding pending or threatened against any of them that would reasonably be expected to
result in a revocation, suspension, termination, probation, restriction, limitation or non-renewal of
any participation in any Third Party Payor program in connection with the Business. Sellers have
Made Available to Buyer complete and correct copies of (i) all audit or inspection reports received
by Sellers or their agents from any Governmental Authority or Third Party Payor in connection
with the Business during the past four (4) years and all written responses thereto and (ii) all
correspondence and documents relating to any audits, investigations, inquiries, requests, reviews,
or overpayment demands provided to Sellers or their agents in connection with the Business in the
past four (4) years by any Governmental Authority or Third Party Payor. Except as set forth on
Section 3.10(c) of the Disclosure Schedules, for the past four (4) years, no Third Party Payor has
imposed an individual fine, penalty or other sanction on any Seller or terminated its relationship
with any Seller in connection with the Business. The current provider numbers of each Seller with
each Third Party Payor (to the extent related to the Business) are set forth on Section 3.10(c) of
the Disclosure Schedules.

              (d)    Except as set forth on Section 3.10(d) of the Disclosure Schedules, the
Business as currently conducted by the Sellers does not require any insurance license, clinic

                                                  40
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 126 of 565




license, laboratory license, pharmacy, radiology, facility license, or other professional license
under any Health Care Laws or Law.

                (e)     Each Healthcare Provider is and at all times during the past four (4) years
has been duly licensed, certified, and/or registered as required by applicable Health Care Laws to
practice his or her profession in each state in which he or she practices in connection with the
Business, and is validly registered (to the extent required) with the United States Drug
Enforcement Administration under Title II of the Comprehensive Drug Abuse Prevention and
Control Act of 1970, 21 U.S.C. § 801, et seq. (commonly known as the Controlled Substances
Act) and with any comparable state controlled substances registration requirements, to the extent
that any such registration is required or used in connection with the Business. To Sellers’
Knowledge, no event has occurred, and no fact, circumstance or condition exists, that has resulted
or reasonably may result in the denial, loss, restriction, revocation or rescission of any such
professional license or registration of any Healthcare Provider. No Healthcare Provider is subject
to a pending disciplinary proceeding, inquiry, monitoring or investigation under the bylaws or
rules of procedure of any Seller, the Drug Enforcement Administration, or any other federal or
state professional board or agency charged with regulating the professional activities of such
Healthcare Provider or under any other Health Care Laws or Laws related to such Healthcare
Provider’s role with Sellers. All disciplinary Proceedings, imposition of restrictions or conditions,
revocation or non-renewal of rights and privileges for reasons requiring reporting by any Seller to
local, state, federal or quasi-public authorities have been effected or will be timely effected as
required. There is no Proceeding pending or, to Sellers’ Knowledge, threatened with respect to
denial, suspension or revocation of medical staff privileges or licensure of any Healthcare
Provider.

                (f)     Except as set forth on Section 3.10(f) of the Disclosure Schedules, no Seller
or any of their directors, officers, owners, equityholders, employees, contractors, shareholders,
members, managers or agents (in each case in connection with the Business) have at any time in
the past four (4) years been convicted of, charged with or, to Sellers’ Knowledge, investigated for
a Government Program or Third Party Payor program related offense, or convicted of, charged
with or investigated for a violation of any Health Care Law or Laws related to fraud, theft,
embezzlement, breach of fiduciary responsibility, financial misconduct, obstruction of an
investigation of controlled substances, or has been debarred, excluded, suspended, or otherwise
prohibited from or deemed ineligible for participation in Medicare, Medicaid, TRICARE, or other
Government Program, been subject to any order or consent decree of, or criminal or civil fine or
penalty relating to any Government Program imposed by, any Governmental Authority, been
subject to any sanction pursuant to 42 U.S.C. § 1320a-7a or § 1320a-8, been convicted of a crime
described in 42 U.S.C. § 1320a-7b, or been listed on the General Services Administration’s
published list of parties excluded from federal procurement programs and non-procurement
programs or the Office of the Inspector General of the U.S. Department of Health and Human
Services (“OIG”) List of Excluded Individuals/Entities. No Seller has arranged or contracted with
(by employment or otherwise) any individual or entity that is excluded, debarred, or otherwise
prohibited from participation in a Government Program for the provision of items or services for
which payment may be made under such Government Program, including the General Services
Administration’s published list of parties excluded from federal procurement programs and non-
procurement programs or the OIG List of Excluded Individuals/Entities. No exclusion, suspension,

                                                 41
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 127 of 565




or debarment actions relating to the Business are pending or, to Sellers’ Knowledge, threatened
against any Seller or any of Sellers’ directors, officers, owners, employees, contractors,
shareholders, members, managers or agents. Except as set forth on Section 3.10(f) of the
Disclosure Schedules, no Seller or any of Sellers’ directors, officers, owners, equityholders,
employees, contractors, shareholders, members, managers, or agents have at any time (i) engaged
in any activities that are prohibited by or are cause for civil or criminal penalties or mandatory or
permissive exclusion under any Health Care Laws or Laws pertaining to billing, coding, fee-
splitting, kickbacks, false claims, claims processing, marketing, or referrals; or (ii) adopted any
board resolution at the request of any Governmental Authority that restricts the conduct of the
Business or that impacts the management or operation of the Business in any adverse manner, in
each case, pursuant to Health Care Laws.

                (g)      Except as disclosed on Section 3.10(g) of the Disclosure Schedules, no
Seller is, and in the past four (4) years no Seller has, in connection with the Business (i) been the
subject of any investigation by a Governmental Authority; (ii) been a defendant in any qui tam,
False Claims Act proceeding or similar Proceeding; (iii) been served with or received any search
warrant, subpoena, civil investigative demand or other written or oral contact or notice from any
Governmental Authority regarding any alleged or actual violation of or noncompliance with any
Health Care Laws; (iv) received any written (or to Sellers’ Knowledge, oral) complaints from any
employee, independent contractor, vendor, physician, patient or other Person alleging that such
Seller has violated, or is currently in violation of, any Health Care Laws; or (v) made any voluntary
disclosure to OIG, CMS, or any Medicare Administrative Contractor, Medicaid program or other
Governmental Authority relating to any Government Program. Except as disclosed on Section
3.10(g) of the Disclosure Schedules, in the past four (4) years, no Seller nor any Healthcare
Provider employed or contracted thereby (a) has entered into any written agreement or settlement
with any Governmental Authority with respect to noncompliance with or violation of any Health
Care Laws, has been charged with, convicted of, or entered a plea of guilty or nolo contendere to
any criminal or civil offense relating to the delivery of any item or service by a Governmental
Authority or Third Party Payor program or any other violation of Health Care Laws; (b) is or has
been a party to a corporate integrity agreement with OIG, monitoring agreement, consent decree,
order or any similar agreement with any Governmental Authority; (c) has been subject to ongoing
reporting obligations pursuant to any settlement agreement or compliance programs, plans, or
agreements entered into with OIG or any Governmental Authority; or (d) has been assessed a civil
money penalty under Section 1128A of the Social Security Act or any regulations promulgated
thereunder or any other fine or penalty by any other Governmental Authority in connection with
the violation of any Health Care Laws. Except as disclosed on Section 3.10(g) of the Disclosure
Schedules, for the past four (4) years, each Seller has at all times maintained and conducted the
Business in compliance in all material respects with a Compliance Program. Sellers have Made
Available to Buyer a correct and complete copy of each Seller’s current Compliance Program
related to the Business. For the purposes of this Section 3.10(g), the term “Compliance Program”
refers to programs that are in compliance in all material respects with applicable compliance
program guidance issued by OIG. Each Seller has provided at-hire and annual training to staff to
oversee the functioning of its Compliance Program.

              (h)    Each Seller has, and at all times during the past four (4) years has, obligated
by Contract all Persons whose relationship with such Seller in connection with the Business

                                                 42
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29      Filed 10/13/24      Page 128 of 565




involves the processing of Personal Information on behalf of such Seller to comply with all
applicable Privacy Laws and to restrict the use of Personal Information to those authorized or
required under the applicable servicing, outsourcing or similar arrangement and entered into a
business associate agreement with each Person who is or was a “business associate” or a
“subcontractor” (as defined in 45 C.F.R. § 160.103) in connection with the conduct and operation
of the Business. All such business associate agreements comply with 45 C.F.R. §§ 164.314(a)(2)
and 164.504(e)(2); and to Sellers’ Knowledge, no such Persons are in breach of such contractual
obligations.

                (i)     Each Seller has been duly granted and possesses, and during the past four
(4) years has held, all Permits under all Health Care Laws and Laws necessary for the conduct and
operation of the Business except where such failure to hold a Permit would not reasonably be
expected to be adverse to the operations of the Business in any material respect. Section 3.10(i)
of the Disclosure Schedules sets forth a complete and accurate list of each Permit held by any
Seller that is related to the Business, together with the license number, issuance and expiration
dates, and Governmental Authority or other Person responsible for issuing such Permit. Except as
disclosed on Section 3.10(i) of the Disclosure Schedules, (i) all such Permits are valid, in good
standing and in full force and effect, (ii) no Seller is in breach or violation of, or default under, any
such Permit, and (iii) no basis exists that, with notice or lapse of time or both, would constitute
any such breach, violation or default. No Seller has engaged in any activity that would be
reasonably likely to cause a future loss, limitation, restriction, revocation or suspension of any
Permit that affects or is otherwise related to the Business. No Proceeding by any Governmental
Authority is pending or, to Sellers’ Knowledge, threatened seeking to revoke, terminate, suspend,
cancel, limit, or otherwise adversely modify any Permit that affects or is otherwise related to the
Business. Except as set forth on Section 3.10(i) of the Disclosure Schedules, for the past four (4)
years, no Seller has been in default or violation of any Permit that affects or is otherwise related to
the Business in any material respect. For the avoidance of doubt, only the transferrable Permits
included in Section 3.10(i) of the Disclosure Schedules are included in the Purchased Assets.

                (j)     Section 3.10(j) of the Disclosure Schedules sets forth the true, correct and
complete list of each Third Party Payor of the Business and the approximate number of patients
related to such Third Party Payors who have been attributed to any Seller or any employee of any
Seller as of the first date of the calendar month during which Closing occurs (as to each Third
Party Payor, the “Members”).

              (k)    Except as set forth on Section 3.10(k) of the Disclosure Schedules, to
Sellers’ Knowledge, no amounts are owed by any Seller as a deficit or similar obligation to any
Third Party Payor.

                (l)    The Sellers have maintained the confidentiality of all Patient Records as
required by and in conformance, in all material respects, with all applicable state and federal Laws.
No Seller has transferred any Patient Records to any individual or entity against the request of any
patient prohibiting Seller from transferring his/her patient information or records. Each Seller has
maintained applicable Patient Records in a complete, accurate, and organized manner in material
accordance with applicable Law and the conditions for participation, rules and regulations, billing
policies and guidelines of any Third Party Payor. Each Seller shall, concurrently with the Closing,

                                                   43
13208185-55
13208185-58
                Case 24-20576-CLC     Doc 29      Filed 10/13/24    Page 129 of 565




transfer custody of all Patient Records to Buyer’s designee, in accordance with applicable state
and federal Laws.

               (m)     No Seller provides, or has ever provided, laser, weight loss, medical
cannabis, or other similar services.

         3.11     Labor and Employment Matters.

                (a)      Section 3.11(a) of the Disclosure Schedules sets forth a complete and
accurate list of (i) all employees of each Seller as of the date hereof identifying for each such
employee: his/her name, position/title, date of hire, rate of compensation, any target bonus amounts
for 2024, any bonus amounts paid in 2024, accrued and unpaid sick, vacation and personal leave,
whether classified as exempt or non-exempt for wage and hour purposes, average scheduled hours
per week, the Seller by which he/she is employed, work location, any visa or work permit status
and the date of expiration, if applicable, and status (active or on-leave), and (ii) all individual
persons who are independent contractors, consultants, leased employees or other service providers
or agents engaged by a Seller with respect to the operation of the Business and classified and
treated as other than an employee of such Seller or compensated other than through wages paid by
such Seller through its payroll and reported on a form W-2 (“Contingent Workers”), identifying
for each the Seller by which he/she is so engaged, his/her role or services for such Seller and
fee/compensation arrangement.

                (b)    Each Seller currently classifies, and, during the past five (5) years has
properly classified, each of its employees as exempt or non-exempt for the purposes of the Fair
Labor Standards Act and state, local and foreign wage and hour Laws, and is, and, during the past
five (5) years has been, otherwise in compliance with such Laws in all material respects. To the
extent that any Contingent Workers are engaged by such Seller, such Seller currently classifies
and treats, and, during the past five (5) years has properly classified and treated, them as
Contingent Workers (as distinguished from Form W-2 employees) in accordance with applicable
Law and for the purpose of all employee benefit plans and perquisites.

                (c)    Neither the Business nor any Seller is a party to or bound by any collective
bargaining agreement or other Contract, or any duty to bargain, with a trade union, works council
or other labor organization. To Sellers’ Knowledge, there is currently no (and since January 1,
2021, there has been no) union organizing effort, or demand for recognition as collective
bargaining representative, by or on behalf of any labor organization in respect of any employees
of the Business or any Seller. Neither the Business nor any Seller has experienced any strike,
lockout, work stoppage, slowdown, picketing, handbilling, material grievance, claim of unfair
labor practices, or other labor dispute since January 1, 2021, and none are pending or, to Sellers’
Knowledge, threatened. Neither the Business nor any Seller has committed any material unfair
labor practice since January 1, 2021.

              (d)     Except as set forth on Section 3.11(d) of the Disclosure Schedules, each
employee of each Seller is employed on an at-will basis and may be terminated by such Seller at
any time, without cause or prior notice, and without payment of severance or other penalty.


                                                44
13208185-55
13208185-58
                Case 24-20576-CLC      Doc 29     Filed 10/13/24      Page 130 of 565




                (e)     No Seller has experienced a “plant closing,” “business closing,” or “mass
layoff” or similar group employment loss or event as defined in the WARN Act. Except as set
forth on Section 3.11(e) of the Disclosure Schedules, no Key Personnel have announced an
intention to terminate their employment with a Seller or their service to the Business other than to
accept employment with Buyer.

         3.12     Employee Benefit Plans.

                (a)     Section 3.12(a) of the Disclosure Schedules sets forth a list of all Plans
(collectively, the “Plans”). No Plan or other benefit arrangement covers any employee or former
employee outside of the United States, and the Sellers have never been obligated to contribute to
any such plan. The Sellers have Made Available to Buyer true and complete copies of (i) plan
documents, summaries, amendments and related trust agreements, (ii) all material correspondence
with all Governmental Authorities with respect to each Plan since January 1, 2021, (iii) the latest
financial statements for the Plans, (iv) a copy of the most recent determination, opinion, or advisory
letter for each plan intended to be qualified under Section 401(a) of the Code, and (v) Form 5500
for the three (3) most recent plan years, including all schedules thereto, all financial statements
with attached opinions of independent accountants, and all actuarial reports.

                (b)    No Seller nor any entity that would have ever been considered an ERISA
Affiliate currently maintains or has ever maintained, or is required currently or has ever been
required to contribute to or otherwise participate in, (i) any defined benefit pension plan or any
plan, program or arrangement subject to the funding requirements of Section 412 of the Code or
Section 302 or Title IV of ERISA, (ii) any Multiemployer Plan (as defined in Section 3(37) of
ERISA), (iii) any “multiple employer welfare arrangement” (as defined in Section 3(40) of
ERISA), or (iv) any “multiple employer plan” (within the meaning of Section 413 of the Code or
Section 201(a) of ERISA). No Plan provides health care or other benefits to any employees of the
Business or any Seller after their employment is terminated (other than as required by COBRA or
similar state law).

                (c)     Except as provided in the Seller’s KERP and KEIP plan letter agreements,
neither the execution and delivery of this Agreement, nor the consummation of the transactions
contemplated hereby, could (either alone or in conjunction with any other event): (i) entitle any
current or former director, officer, employee, independent contractor or consultant of the Sellers
to severance pay or any other payment; (ii) accelerate the time of payment, funding or vesting, or
increase the amount of compensation (including stock-based compensation) due to any such
individual; (iii) increase the amount payable under or result in any other material obligation
pursuant to any Plan; or (iv) result in any “parachute payment” as defined in Section 280G(b)(2)
of the Code.

                (d)    Each Plan that constitutes in any part a nonqualified deferred compensation
plan within the meaning of Section 409A of the Code has been operated and maintained in all
material respects in operational and documentary compliance with Section 409A of the Code and
applicable guidance thereunder. No payment to be made under any Plan is, or to Sellers’
Knowledge, will be, subject to the penalties of Section 409A(a)(1) of the Code. No Seller has any
obligation to gross up, indemnify or otherwise reimburse any individual for any Taxes, interest or
penalties incurred pursuant to Sections 409A or 4999 of the Code. With respect to any outstanding
                                                45
13208185-55
13208185-58
                Case 24-20576-CLC       Doc 29      Filed 10/13/24      Page 131 of 565




equity interest in any Seller that is or was intended to be treated as a “profits interest” within the
meaning of IRS Revenue Procedures 93-27 and 2001-43, (A) such equity interest has been treated
as a “profits interest” from the date such equity interest was issued and has been outstanding for
more than two (2) years, and (B) such Seller issued the holder of such equity interest an IRS
Schedule K-1 for all periods from the date of issuance treating such equity interest as fully vested.
Sellers have received, from each service provider or former service provider who holds an equity
interest that is subject to a substantial risk of forfeiture as of the date hereof, if any, a copy of the
election(s) made under Section 83(b) of the Code with respect to all such equity interests, and, to
the Sellers’ Knowledge, such elections were validly made and filed with the IRS in a timely
fashion.

         3.13     Tax Matters. Except as set forth on Section 3.13 of the Disclosure Schedules:

               (a)      Each Seller has filed all material Tax Returns that are required to be filed
by such Seller and all such Tax Returns are correct and complete. Without limiting the foregoing,
none of such Tax Returns contains any position that is, or would be, subject to penalties under
Section 6662 of the Code (or any corresponding provisions of state, local or non-U.S. Law).

              (b)     All material Taxes owed by any Seller (whether or not shown on any Tax
Returns) have been fully paid.

                (c)     Each Seller has complied, in all material respects, with all applicable Laws,
rules and regulations relating to the payment and withholding of Taxes (including withholding of
Taxes pursuant to Sections 1441, 1442, 1445, 1446, 1471 and 3402 of the Code or similar
provisions of state, local or non-U.S. Law) and has duly withheld and has paid over to the
appropriate Tax Authority all material amounts required to be so withheld and paid over on or
prior to the due date thereof under all applicable Laws.

                  (d)    There are no Liens for Taxes (other than Permitted Liens) on any Purchased
Asset.

                (e)     No Tax audits or administrative or judicial Tax proceedings are pending or
being conducted with respect to any Seller or the Purchased Assets. No Seller has received from
any Tax Authority (including jurisdictions where such Seller has not filed a Tax Return) any
written (or, to Sellers’ Knowledge, other) (i) notice indicating an intent to open an audit or other
review; (ii) request for information related to Tax matters; or (iii) notice of deficiency or proposed
adjustment for any amount of Tax proposed, asserted, or assessed by any Tax Authority against
such Seller.

               (f)     No Seller has waived any statute of limitations in respect of Taxes or agreed
to any extension of time with respect to a Tax assessment or deficiency.

               (g)     No written (or, to Sellers’ Knowledge, other) claim has been made by any
Tax Authority in a jurisdiction where any Seller does not file Tax Returns that any Seller is or may
be subject to the payment, collection or remittance of any material Tax of that jurisdiction or is
otherwise subject to taxation by that jurisdiction in respect of material Taxes.

                                                   46
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 132 of 565




               (h)    No Seller is currently a party to or bound by any Tax allocation, Tax
sharing, Tax reimbursement, Tax indemnity or similar agreement or arrangement, other than under
any arrangement entered into in the Ordinary Course of Business and not primarily related to
Taxes. None of the Purchased Assets or Assumed Liabilities is bound by any closing agreement
within the meaning of Code Section 7121 (or any similar provision of state, local, or foreign Law).

               (i)   None of the Purchased Assets is an interest in any joint venture, partnership
or other arrangement or contract that could be treated as a fiscally transparent entity for income
Tax purposes.

                (j)    Buyer will not be required to include any item of material income in, or
exclude any item of material deduction from, taxable income for any Post-Closing Period as a
result of any prepaid amount or advanced payment received, or deferred revenue accrued, on or
prior to the Closing Date.

              (k)     None of the Purchased Assets is a “United States real property interest”
within the meaning of Section 897(c)(1) of the Code.

               (l)     The tax classification for federal income Tax purposes for each Seller is set
forth on Section 3.13(l) of the Disclosure Schedules.

               (m)    The provisions of Section 197(f)(9) of the Code and the Treasury
Regulations will not prevent any intangible assets of the Sellers from qualifying as “amortizable
section 197 intangibles” within the meaning of Section 197 of the Code in the hands of Buyer.

               (n)    None of the Sellers has claimed any employee retention Tax credits
pursuant to any provision of the CARES Act or other similar provision of applicable Law.

                (o)    Each Seller has properly (i) collected and remitted all material sales, use,
value added, goods and services, and similar material Taxes with respect to material sales made or
services provided to its customers, or with respect to material purchases of goods or services from
its vendors and other third parties, and (ii) for all material sales or services that are exempt from
sales, use, value added, goods and services, or similar Taxes, or that were made without charging
or remitting any such Taxes, received and retained all Tax exemption certificates and other
documentation required by Law for purposes of qualifying such material sale or service as exempt.

               (p)      None of the Assumed Liabilities is an obligation under an agreement,
Contract, arrangement or plan that has resulted or would result, in a payment that would not be
fully deductible as a result of a change in control of any of the Sellers.

                (q)    None of the Sellers has ever (i) had a permanent establishment in any
country other than the country under the Law of which it is organized, as defined in any applicable
treaty or convention between such country and the jurisdiction of the entity’s incorporation or
formation or (ii) engaged in activities in any jurisdiction other than the jurisdiction under the Law
of which it is organized that would subject it to Tax.



                                                 47
13208185-55
13208185-58
                Case 24-20576-CLC       Doc 29    Filed 10/13/24     Page 133 of 565




              (r)     Section 3.13(r) of the Disclosure Schedules lists all Tax holidays,
abatements, incentives and similar grants made or awarded to any Seller by any Governmental
Authority. All Contracts, memoranda and other documentation related to such items have been
provided to Buyer.

              (s)    No Seller has ever owned an interest in any entity that is a “controlled
foreign corporation” within the meaning of Section 957(a) of the Code or a “passive foreign
investment company” within the meaning of Section 1297 of the Code.

               (t)     No Seller (i) is or ever has been a member of an “affiliated group” within
the meaning of Section 1504 of the Code (or any similar provision of state, local, or foreign Law),
and (ii) has any current or potential Liability for the Taxes of any Person pursuant to Treasury
Regulations Section 1.1502-6 (or any similar provision of state, local, foreign Law), as a transferee
or successor, by contract or otherwise.

        3.14 Insurance. Section 3.14 of the Disclosure Schedules lists each material insurance
policy or program providing coverage to or for the benefit of the Sellers or with respect to the
properties, assets, Liabilities or business of the Sellers (the “Insurance Policies”), including the
name of the insurer and policy number and remaining policy limits for the past year. The Sellers
have provided true, correct, and complete copies of the Insurance Policies, together with all
applicable endorsements, amendments, declarations and certifications thereto, to Buyer. The
Insurance Policies are in full force and effect, all premiums and other amounts due and payable
thereunder have been timely paid, and, to Sellers’ Knowledge, no Seller is in breach or default
thereunder nor has any Seller failed to give any notice or present any claim under any Insurance
Policy in due and timely fashion. The Insurance Policies are in amounts and provide coverages as
required by applicable Governmental Authorities, applicable Laws and any Contract to which a
Seller is a party or by which any of their assets or properties is bound, and are of the type and in
amounts customarily carried by Persons conducting businesses similar to the business of the
Sellers, as currently conducted.

        3.15 Related Party Transactions and Interests. Except as set forth on Section 3.15 of the
Disclosure Schedules, none of the Sellers is a party to any Contract with any Related Party, and
no Related Party has any financial interest in any property (including any Purchased Assets) used,
or Liabilities (including any Assumed Liabilities) owed, in connection with the Business or by the
Sellers. For purposes of this Agreement, “Related Party” means (i) any Affiliate of any Seller; (ii)
any shareholder, member, director, manager, officer, or employee of any Seller (including Sun
Capital Partners, Inc. or its affiliates); or (iii) any Affiliate or family member of any Person
identified in the preceding clause (ii). Except as set forth on Section 3.15 of the Disclosure
Schedules, no Related Party owns any direct or indirect interest in or subleases any property (real,
personal or mixed), tangible or intangible, used in the Business, or owns any direct or indirect
interest in any business or entity that competes, directly or indirectly, with the Business or that
serves or seeks to serve, a similar client base to that of the Business. All current arrangements
between or among the Sellers and any Related Parties have been conducted in compliance with
applicable Law in all material respects.

         3.16     Material Contracts.

                                                 48
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29      Filed 10/13/24     Page 134 of 565




                (a)     Section 3.16(a) of the Disclosure Schedules sets forth a list of all Contracts,
including all amendments and supplements thereto, to which any Seller is a party or by which the
Business, such Seller or any of the Purchased Assets, or Assumed Liabilities is bound, or that
provides for a material benefit or obligation to the Business or the Sellers (whether or not any
Seller is a party) and that meets any of the descriptions set forth below (all Contracts required to
be listed on Section 3.16(a) of the Disclosure Schedules, whether or not so listed, collectively
referred to herein as the “Material Contracts”):

                             (i)       all Contracts relating to any business acquisition (A) by a
                Seller within the last four (4) years or (B) with respect to which any earn out,
                contingent payment Liability or other deferred purchase price obligation of the
                Business or any Seller remains outstanding;

                             (ii)       all Contracts with Key Personnel and Healthcare Providers
                that are paid in excess of $100,000 in the aggregate per year;

                            (iii)      all Contracts providing for remuneration to a physician (or
                such physician’s immediate family member, each as defined the by Stark Law) who
                refers designated health services (as defined by the Stark Law) to any of the Sellers;

                             (iv)     all Contracts for the employment of any employee of any
                Seller, or the engagement of any non-employee service provider of any Seller that
                cannot be terminated by such Seller at will at any time, without cause or prior
                notice, and without payment of severance or other penalty;

                            (v)       all Contracts with a dollar amount in excess of $50,000 per
                year providing for guaranty of any obligation (including any commitment
                (contingent or otherwise) to grant any such guaranties);

                            (vi)       all Contracts under which any Seller is lessee of, or holds or
                operates, any personal property (including medical equipment) owned by any other
                party, for which the annual rental payments exceed $50,000 (including any
                commitment (contingent or otherwise) to make any such payments);

                          (vii)        all Contracts with any Governmental Authority or any Third
                Party Payor;

                          (viii)       all Software licenses that Sellers pay in excess of $50,000
                per year to use and is material to the operation of the Business, taken as a whole
                (other than “off the shelf” Software);

                            (ix)        all Contracts relating to the incurrence of any Indebtedness
                exceeding $50,000 (including any commitment (contingent or otherwise) to incur
                any such Indebtedness) or granting or suffering any Lien (including any
                commitment (contingent or otherwise) to grant or suffer any such Lien), including
                borrowing of money or to mortgaging, pledging or otherwise placing a Lien on any
                of the assets of a Seller or guaranty of any obligation for Indebtedness;
                                                  49
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 135 of 565




                            (x)         all Contracts containing covenants limiting the freedom of
                any Seller or its Affiliates to acquire or compete with any Person, engage in any
                line of business, or compete in any geographic region or with any third party, or
                pursuant to which any Seller has granted a right of first refusal, right of first
                negotiation, most favored nation pricing or other similar terms, preferred pricing,
                exclusive sales, distribution, marketing or other exclusive rights;

                            (xi)      all Contracts evidencing loans or, advances to or from, or
                investments in, any Person other than a Seller (including (A) loans or advances to
                employees and (B) any commitment (contingent or otherwise) to make any such
                loan or investment);

                          (xii)       all Contracts granting any Lien or restricting the granting of
                any Lien or other disposition;

                           (xiii)      all Contracts which involve (A) a sharing of profits with a
                third party in which the profit shared exceeds $50,000 (other than direct payments
                for goods or services), or (B) any joint venture, partnership or similar Contract;

                          (xiv)        all Contracts relating to (A) during the twenty-four (24)
                months prior to Closing offering of patient incentives other than for meals and
                transportation, services offered at Sellers’ wellness center locations (other than for
                meals and entertainment), or patient discount programs, or (B) offering of
                transportation or meals in excess of $50,000 per year;

                           (xv)         any Contract (A) providing for the payment of any cash or
                other benefits upon, or (B) which requires the consent of the other party thereto or
                may be terminated as a result of, the sale or change of control of a Seller or a
                substantial portion of its assets;

                          (xvi)      all Contracts under which any Seller is obligated to
                indemnify or hold harmless, or is entitled to indemnification from, any other
                Person, other than Contracts entered into in the Ordinary Course of Business the
                primary purposes of which is not to provide such indemnity;

                         (xvii)        any Contract not made in the Ordinary Course of Business;

                         (xviii)        any Contract with any employee leasing or staffing company
                pursuant to which such employee leasing or staffing company’s employees provide
                services to any Seller;

                          (xix)      any Contract with an employee or other service provider that
                (A) provides for annual cash compensation (including incentive compensation
                opportunities) in excess of $100,000, or (B) provides for severance benefits,
                change-in-control payments, retention bonuses, or other similar payments; and



                                                 50
13208185-55
13208185-58
                Case 24-20576-CLC          Doc 29   Filed 10/13/24    Page 136 of 565




                             (xx)       all Contracts not otherwise identified above that involve
                  consideration in excess of $50,000 in the 2023 or 2024 fiscal year.

                (b)    Except to the extent excused or made unenforceable as a result of the filing
of the Bankruptcy Cases, and except as set forth on Section 3.16(b) of the Disclosure Schedules,
to the Knowledge of the Sellers, (i) each Assumed Contract is a legal, valid and binding obligation
of the Seller that is a party to such Assumed Contract, is enforceable against such Seller in
accordance with its terms, is a legal, valid and binding obligation of each other party to such
Assumed Contract and is enforceable against such other party thereto in accordance with its terms,
subject to bankruptcy laws and general equitable principles, (ii) other than a monetary default
curable upon payment of any Cure Cost, no Seller that is a party to any Assumed Contract or, to
the Knowledge of the Sellers, any other party to an Assumed Contract is in default or breach of an
Assumed Contract, (iii) no Seller that is a party to any Assumed Contract has received any written
notice of termination or cancellation with respect to any Assumed Contract and (iv) with respect
to the Assumed Contracts, upon entry of the Sale Order and payment of all Cure Costs, each Seller
will not be in breach or default of its obligations thereunder.

                  (c)    Section 3.16(c) of the Disclosure Schedules lists all Cure Costs.

         3.17     Intellectual Property.

                 (a)     Section 3.17(a) of the Disclosure Schedules contains a list of all (i) Patents
owned by any Seller, (ii) registrations for Trademarks and applications therefor owned by any
Seller, (iii) unregistered Trademarks used by any Seller which are material to the operation of the
Business, (iv) Internet domain name registrations owned by any Seller, and (v) registrations for
Copyrights and applications therefor owned by any Seller, setting forth as to each such item, as
applicable, the item or title, the application or registration number and the jurisdiction in which
such item is registered or pending. Each item of Intellectual Property that is registered, issued, or
applied-for is valid, subsisting, and enforceable under applicable Laws.

                (b)     The Sellers collectively own and possess all right, title and interest in and
to, or possess the valid and enforceable license or other right to use, all Intellectual Property which
is or has ever been Seller Intellectual Property. All such Seller Intellectual Property is included in
the Purchased Assets.

                (c)     Each item of Intellectual Property owned or purported to be owned by the
Sellers, licensed to Sellers, or used or held for use in the Business as conducted or as proposed to
be conducted by the Sellers (“Seller Intellectual Property”) will be owned, licensed, and/or
available for use by Buyer on identical terms following the Closing as such items were owned,
licensed and available for use to Sellers prior to the Closing. All licenses and other Contracts under
which any Seller obtains rights in or to any Seller Intellectual Property not owned or purported to
be owned by the Sellers (other than “off the shelf” Software), are listed in Section 3.17(c) of the
Disclosure Schedules.

                (d)     One or more of the Sellers owns the entire and unencumbered right, title
and interest in and to, or has obtained the perpetual and irrevocable right to use in the Business,
all Intellectual Property at any time invented, made, developed, authored, or created by any
                                                    51
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 137 of 565




employee, contractor, or consultant of each Seller in the course of his or her employment or
services for such Seller.

               (e)      To Sellers’ Knowledge, no third party is infringing, misappropriating or
violating, or has infringed, misappropriated or violated, any Intellectual Property owned or
purported to be owned by Sellers. Sellers have not made or threatened to make any claim or
allegation concerning the foregoing against any Person regarding such Intellectual Property. The
Sellers, the Business, the Intellectual Property owned or purported to be owned by Sellers, and the
products, services, and other offerings of the Sellers, do not infringe, misappropriate or violate,
and have not infringed, misappropriated or violated, any other Person’s Intellectual Property. The
Sellers have not received any written claim or allegation with respect to any such infringement,
misappropriation, or violation. The Sellers have not received any written or, to Sellers’
Knowledge, oral notice or claim setting forth any challenge to the ownership, use, validity or
enforceability of any the Sellers’ rights in any Intellectual Property.

                (f)    Sellers have taken reasonable security measures to protect the secrecy,
confidentiality and value of all material Trade Secrets of the Sellers. Without limitation of the
foregoing, no Trade Secret of the Sellers has been disclosed by the Sellers to a third party other
than pursuant to a written non-disclosure agreement consistent with customary practices in the
industry. To the Knowledge of the Sellers, there has not been any breach by any third party of any
confidentiality obligation to any Seller.

                (g)      The computers, devices, equipment, networks, systems, and other
information technology infrastructure used in, enabling, or relating to the Processing of data or
information, including all Software operating on or in connection with such systems, devices, or
equipment, used or held for use in the conduct of the Business or by or on behalf of Sellers,
including all computers, servers, storage devices, workstations, routers, hubs, switches, sensors,
and other devices, equipment, networks, or systems (collectively, the “IT Assets”) used by the
Sellers are sufficient in all material respects for current needs of the Sellers in the operation of the
Business. There have been no failures, crashes, security breaches or other adverse events affecting
the IT Assets in a manner that materially impacts the Business. The IT Assets and Seller Software
do not contain any material defects, bugs or errors or any Software designed to disable any other
Software or any computer or system automatically, with the passage of time, under the positive
control of any Person or otherwise, or any Software enabling unauthorized access to or operation
of or other disruption, impairment, modification, recordation, misuse, transmission, disablement
or destruction of any other Software or any computer or system, including any Trojan horses,
spyware, adware, malware, or other malicious code and is free from any such viruses, disabling
codes, and devices. The Sellers provide for the back-up and recovery of material data, and have
implemented commercially reasonable disaster recovery plans, procedures and facilities and, as
applicable, have taken all steps to implement such plans and procedures. The Sellers have at all
times obtained and maintained all licenses (in sufficient quantities and under sufficient terms)
necessary or required for the Sellers to make valid and non-infringing use of all Software or other
Intellectual Property owned by any other Person used or held for use by the Sellers or in connection
with the Business. The Sellers own or have the right to exploit, and after Closing, Buyer will
continue to own or have the right to exploit, each item of the Seller Software in the same manner
and to the same extent as it was used immediately prior to the Closing. The Sellers have taken

                                                  52
13208185-55
13208185-58
                Case 24-20576-CLC       Doc 29     Filed 10/13/24      Page 138 of 565




reasonable security measures to protect the integrity and security of the IT Assets and the
information stored therein from unauthorized use, access, or modification by third parties.

                (h)    Except as set forth on Section 3.17(h) of the Disclosure Schedules, the
Sellers do not access, procure, obtain, generate, use, or rely on any AI in connection with the
Business, and no Seller Intellectual Property or IT Assets or Seller Software incorporates, is based
upon, or is derived from any AI systems. No confidential Seller Intellectual Property or
confidential information of the Business has been provided or made available to any AI system of
any third party, and no Seller Intellectual Property was generated using any AI.

         3.18     Privacy and Security Compliance.

                (a)    The Sellers are and at all times have been in compliance in all material
respects with the applicable requirements of all Health Care Laws and other Laws, all policies of
the Sellers, all permissions, consents and authorizations, and all obligations of any Contract
(including under any HIPAA “business associate” agreement), in each case applicable to the
privacy and security of Seller Information and the Processing thereof by or on behalf of the Sellers
(“Information Requirements”).Without limiting the foregoing, the Sellers have at all times
obligated by Contract all Persons whose relationship with such any Seller involves the processing
of Seller Information on behalf of such Seller to comply with all applicable Information
Requirements.

               (b)      The Sellers maintain and have maintained in place (i) a written security
program including reasonable and appropriate security measures covering all Seller Information
and IT Assets that are intended to protect the security, confidentiality, integrity, and availability of
all Seller Information, and (ii) written policies regarding the privacy of Seller Information,
including all Personal Information, each in accordance with all Information Requirements. The
Sellers have made available to Buyer complete and current copies of all such programs and policies
and any other policies and procedures regarding data privacy or security or the Processing of Seller
Information.

                (c)     The Sellers have maintained commercially reasonable administrative,
technical and physical safeguards to protect Seller Information from unauthorized access or
disclosure that comply with all applicable Information Requirements. Without limiting the
foregoing, the Sellers have taken commercially reasonable actions to protect against the occurrence
of any Breach of Unsecured Protected Health Information (as such term is defined at 45 C.F.R. §
164.402) or any suspected or actual breach of security, violation of any security policy, or
unauthorized access, acquisition, use, loss, denial or loss of use, destruction, compromise, or
disclosure of any Seller Information or IT Assets (“Security Incident”). The Sellers have not
experienced any such Security Incident. No Seller or any third party acting at the direction or
authorization of the Sellers has paid any form of compensation to any perpetrator of any actual or
threatened security incident or cyber-attack, including a ransomware attack or denial-of-service
attack. The Sellers have not notified and there have been no facts or circumstances that would
require the Sellers to notify, any other Person of any actual or perceived Security Incident or any
violation of any Information Requirements, and no Seller is currently planning to conduct any such
notification or investigating whether any such notification is required.

                                                  53
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 139 of 565




                (d)    The Sellers have obtained and maintained all consents, permissions, and
authorizations required under all Information Requirements with respect to the Processing of all
Seller Information by or on behalf of any Seller. The Sellers have and have maintained the valid
right (including pursuant to the Information Requirements) to Process all Seller Information for
the purpose such Seller Information is and has been used or otherwise Processed in the conduct of
the Business or by or on behalf of the Sellers. No Seller has sold, rented, or otherwise made
available to any Person any Personal Information collected or maintained in connection with the
conduct and operation of the Business for remuneration or other consideration. The consummation
of the transactions will not (i) violate or cause Sellers to violate any Information Requirements or
require the Sellers to provide any notice to, or seek any consents, permissions, or authorizations
from, any other Person pursuant to any Information Requirement, or (ii) require or obligate Buyer
to provide any notice to, or seek or obtain any consents, permissions, or authorizations from, any
Person to continue the Processing of the Seller Information in the same manner as the Sellers used
and processed all Seller Information prior to such transactions.

                (e)     None of the Sellers has received any notice or complaint (written or
otherwise), nor, to Sellers’ Knowledge, has any notice or complaint (written or otherwise) been
made by any other Person, regarding the improper Processing of Seller Information by or on behalf
of any of the Sellers. None of the Sellers has received any written (or, to Sellers’ Knowledge, oral)
notice or communication from any Governmental Authority or other Person with respect to any
allegation that any of the Sellers is not in compliance with any applicable Information
Requirement.

        3.19 No Brokers. Except as set forth in Section 3.19 of the Disclosure Schedules, None
of the Sellers has incurred or will incur any obligation for any finder’s or broker’s or agent’s fees
or commissions or similar compensation in connection with the transactions contemplated by this
Agreement and the Ancillary Agreements to which he, she or it is a party for which the Business,
such Seller may be liable.

        3.20 Certain Business Relationships. Section 3.20 of the Disclosure Schedules lists the
ten (10) largest Third Party Payor of the Business taken as a whole by revenue for each of the
twelve (12) month periods ended December 31, 2022 and December 31, 2023 and the eight (8)-
month period ended August 31, 2024 (each, a “Material Third Party Payor”). Within the past
twelve (12) months, no Material Third Party Payor (i) has canceled or terminated in writing, or, to
Sellers’ Knowledge, threatened to cancel or terminate, its relationship with any Seller, or (ii)
materially reduced the rates paid under its Contract with any Seller. Except as set forth on Section
3.20 of the Disclosure Schedules, no Seller is involved in any material dispute or controversy with
any of its Material Third Party Payors.

        3.21 Absence of Unlawful Payments. To the Knowledge of the Sellers, no Seller, nor
any of its directors, officers or, employees or other representative of any Seller or any authorized
Person acting directly or indirectly on behalf of any Seller, has (a) made, paid or received any
unlawful bribes, kickbacks or other similar payments to or from any Person (including any
customer or supplier) or Governmental Authority, or (b) made or paid any unlawful contributions,
directly or indirectly, to a domestic or foreign political party or candidate.


                                                 54
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 140 of 565




         3.22 Devices. Section 3.22 of the Disclosure Schedules contains an accurate and
complete list of all of the Devices that have been used at any time and in any manner in connection
with the Business that are, as of the Closing, operational and in use or were operational or in use
at any point during the twelve (12) month period prior to the Closing. Those Devised listed on
Section 3.22 of the Disclosure Schedules that remain operational and are currently in use as of the
Closing shall be referred to as “Transferred Devices”. Prior to the Closing, ownership of all
Transferred Devices will be duly and properly transferred to Sellers, and all such Transferred
Devices are “Devices” and “Purchased Assets” as defined in this Agreement. With respect to any
other Devices, all such Devices were previously decommissioned and any “protected health
information” (as defined in 45 C.F.R. § 160.103) stored on such Devices was permanently and
irretrievably deleted or destroyed in accordance with applicable Laws, including Healthcare Laws.

       3.23 PPP Loan. Except as set forth in Section 3.23 of the Disclosure Schedules, no Seller
has received any PPP Loan from any person or entity. Each PPP Loan set forth in Section 3.23 of
the Disclosure Schedules has been forgiven in full in accordance with the terms of the CARES
Act.

         3.24 COVID-19 . Section 3.24(a) of the Disclosure Schedules sets forth a list of all
COVID-19 Funds that any Seller has received or for which any Seller has applied pursuant to any
COVID-19 Relief Programs, as well as the aggregate amount of repayments and outstanding
liabilities with respect to each such loan, application or other payment. To the Knowledge of the
Sellers, each Seller, as applicable, has met all applicable conditions and was eligible to participate
in, has complied with, and is not in violation of, all such COVID-19 Relief Programs. Each Seller,
as applicable, has utilized any COVID-19 Funds in accordance with all applicable Laws and
maintains appropriate accounting records associated with such funds. Each Seller, as applicable,
has made true, correct, and complete certifications with respect to all such COVID-19 Relief
Programs and all documents ancillary thereto and has complied with all Laws, including all Laws
relating to the COVID-19 Relief Programs. Each Seller, as applicable, has provided Buyer with
true, correct, and complete copies of all documents relating to such COVID-19 Relief Programs,
including such Seller’s applications therefor and any certifications delivered in connection
therewith.

        3.25 CHOPD Incident. Section 3.25 of the Disclosure Schedules sets forth a list of all
CHOPD AAPs that any Seller has received or for which any Seller has applied pursuant to any
CHOPD Relief Program, as well as the aggregate amount of repayments and outstanding liabilities
with respect to each such loan, application or other payment. Each Seller, as applicable, has met
all applicable conditions and was eligible to participate in, has complied with, and is not in
violation of, any CHOPD Relief Program. Each Seller, as applicable, has utilized any CHOPD
AAPs in accordance with all applicable Laws and maintains appropriate accounting records
associated with such funds. Each Seller, as applicable, has made true, correct, and complete
certifications with respect to all such CHOPD AAP Relief Programs and has complied with all
Laws related thereto.

                                 ARTICLE IV.
                   REPRESENTATIONS AND WARRANTIES OF BUYER

         Buyer represents and warrants to each Seller as follows:
                                                55
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29      Filed 10/13/24     Page 141 of 565




       4.1     Status. Buyer is a limited liability company duly organized, validly existing, and
in good standing under the Laws of the State of Delaware.

        4.2    Power and Authority. Buyer has all requisite limited liability company power and
authority to execute and deliver this Agreement and the Ancillary Agreements to which it is a
party, to perform its obligations hereunder and thereunder, and to consummate the transactions
contemplated hereby and thereby. All limited liability company acts or proceedings required to
be taken by Buyer to authorize the execution and delivery of this Agreement and the Ancillary
Agreements to which it is a party and the performance of Buyer’s obligations hereunder and
thereunder have been properly taken.

       4.3     Enforceability. This Agreement has been duly authorized, executed, and delivered
by Buyer and, assuming the due and valid authorization, execution, and delivery of this Agreement
by each Seller, this Agreement constitutes the legal, valid, and binding obligation of Buyer,
enforceable against it in accordance with its terms, except as the same may be limited by applicable
Bankruptcy and Equity Exceptions.

        4.4      No Violation; Consents and Approvals. The execution and delivery of this
Agreement and the Ancillary Agreements to which it is a party by Buyer and the consummation
by it of the transactions contemplated hereby and thereby will not, except as set forth in the
Schedule listing Assumed Contracts, (a) violate any provision of the Organizational Documents
of Buyer, (b) violate any material Law applicable to, binding upon, or enforceable against Buyer,
(c) result in any material breach of, or constitute a material default (or an event which would, with
the passage of time or the giving of notice or both, constitute a material default) under, or give rise
to a right of payment under or the right to terminate, amend, modify, abandon, or accelerate, any
Contract to which Buyer is a party or bound, (d) result in the creation or imposition of any Lien
upon any of the material property or material assets of Buyer, or (e) require the consent or approval
of any Governmental Authority or any other Person. The current policies of Buyer or its Affiliates
with respect to the treatment of “Personally Identifiable Information”, as such term is defined in
Section 101(41A) of the Bankruptcy Code (11 U.S.C. §101(41A)), comply, in all material respects,
with applicable Law.

         4.5   Brokers. Except as set forth on Schedule 4.5, Buyer has not incurred any obligation
for any finder’s or broker’s or agent’s fees or commissions or similar compensation in connection
with the transactions contemplated by this Agreement and the Ancillary Agreements to which it is
a party.

        4.6     Litigation. There are no Proceedings pending or, to the knowledge of Buyer,
expressly threatened in writing against either of Buyer or any of its Affiliates, at Law or in equity,
or before or by any Governmental Authority which reasonably would be expected to affect the
legality, validity, or enforceability of this Agreement or the consummation of the transactions
contemplated by this Agreement.

       4.7    Sufficient Funds; Adequate Assurances. Buyer has and will have at the Closing
immediately available funds sufficient for the satisfaction of all of Buyer’s obligations under this
Agreement, including all fees, expenses of, and other amounts required to be paid by, Buyer in
connection with the transactions contemplated hereby. There is no financing or similar
                                                  56
13208185-55
13208185-58
               Case 24-20576-CLC      Doc 29   Filed 10/13/24    Page 142 of 565




contingency upon Buyer’s obligations hereunder. As of the Closing, Buyer shall be capable of
satisfying the conditions contained in sections 365(b)(1)(C) and 365(f)(2)(B) of the Bankruptcy
Code with respect to the Assumed Contracts and the related Assumed Liabilities.

         4.8     Acknowledgements; “As Is” “Where Is” Transaction .

     (a)  BUYER ACKNOWLEDGES THAT IT HAS RECEIVED FROM SELLERS
CERTAIN PROJECTIONS, FORECASTS, AND PROSPECTIVE OR THIRD-PARTY
INFORMATION RELATING TO SELLERS, THE PURCHASED ASSETS AND THE
ASSUMED LIABILITIES. BUYER ACKNOWLEDGES THAT (I) THERE ARE
UNCERTAINTIES INHERENT IN ATTEMPTING TO MAKE SUCH PROJECTIONS AND
FORECASTS AND IN SUCH INFORMATION; (II) BUYER IS FAMILIAR WITH SUCH
UNCERTAINTIES AND IS TAKING RESPONSIBILITY FOR MAKING ITS OWN
EVALUATION OF THE ADEQUACY AND ACCURACY OF SUCH PROJECTIONS,
FORECASTS, AND INFORMATION SO FURNISHED; AND (III) NONE OF THE SELLERS
NOR ANY OTHER PERSON MAKES ANY REPRESENTATIONS OR WARRANTIES WITH
RESPECT TO SUCH PROJECTIONS AND FORECASTS. THE FOREGOING
REPRESENTATIONS ASSUME THE ABSENCE OF FRAUD.

      (b)  BUYER FURTHER ACKNOWLEDGES AND AGREES THAT THE
REPRESENTATIONS AND WARRANTIES MADE BY SELLERS TO BUYER IN ARTICLE
IV (AS QUALIFIED BY THE DISCLOSURE SCHEDULES) OR IN THE DOCUMENTS
DELIVERED BY SELLERS TO BUYER IN ACCORDANCE WITH SECTION 3.1(b) AT THE
CLOSING (COLLECTIVELY, THE “EXPRESS REPRESENTATIONS”) ARE THE SOLE
AND EXCLUSIVE REPRESENTATIONS, WARRANTIES AND STATEMENTS OF ANY
KIND MADE TO BUYER IN CONNECTION WITH THE TRANSACTIONS
CONTEMPLATED BY THIS AGREEMENT AND THAT ALL OTHER REPRESENTATIONS
OR WARRANTIES OF ANY KIND OR NATURE EXPRESSED OR IMPLIED, WHETHER IN
WRITTEN, ELECTRONIC OR ORAL FORM, ARE EXPRESSLY DISCLAIMED,
INCLUDING WITH RESPECT TO (I) ANY WARRANTY, EXPRESS OR IMPLIED, OF
MERCHANTABILITY OR FITNESS FOR ANY PARTICULAR PURPOSE AS TO ANY
PORTION OF THE PURCHASED ASSETS, AND (II) WITH RESPECT TO THE BUSINESS,
FINANCIAL CONDITION, RESULTS OF OPERATIONS, ASSETS, LIABILITIES, AND
PROSPECTS OF SELLERS OR THE BUSINESS OF THE SELLERS, THE
MERCHANTABILITY OR FITNESS OF THE PERSONAL PROPERTY OR ANY OTHER
PORTION OF THE PURCHASED ASSETS FOR ANY PARTICULAR PURPOSE, OR ANY
OTHER MATTER RELATING TO THE PURCHASED ASSETS OR ANY PORTION
THEREOF. THE FOREGOING REPRESENTATIONS ASSUME THE ABSENCE OF FRAUD.

     (c) UPON THE CLOSING DATE, SUBJECT TO THE EXPRESS
REPRESENTATIONS, BUYER WILL ACCEPT THE PURCHASED ASSETS “AS IS,”
“WHERE IS,” AND “WITH ALL FAULTS.” THE FOREGOING REPRESENTATIONS
ASSUME THE ABSENCE OF FRAUD.

                                      ARTICLE V.
                                PRE-CLOSING COVENANTS

                                               57
13208185-55
13208185-58
              Case 24-20576-CLC               Doc 29   Filed 10/13/24        Page 143 of 565




        5.1    Conduct of Business. Except as set forth on Schedule 5.1, as contemplated by this
Agreement, as required by Law, as prohibited or restricted by the Bankruptcy Code, to the extent
Sellers do not have adequate funding therefor in the Bankruptcy Cases, as prohibited by any
debtor-in-possession financing in the Bankruptcy Cases, or as Buyer may otherwise consent to in
writing (which consent shall be in Buyer’s sole discretion), from the date hereof through the
Closing:

                (a)          Sellers shall:

                     (i)      use commercially reasonable efforts to conduct its Business only in
         the Ordinary Course of Business;

                       (ii)          preserve and maintain all of its Permits;

                    (iii)     maintain the items of tangible personal property related to the
         Business and the Leased Real Property in the same condition as they were on October 8,
         2024 and make all necessary repairs to restore all such tangible personal property and
         Leased Real Property to the same condition as existed on October 8, 2024, subject in all
         cases to reasonable wear and tear and disposal consistent with the Ordinary Course of
         Business;

                      (iv)       use commercially reasonable efforts to maintain relationships with
         its current payors, lenders, lessors, vendors and employees;

                    (v)        reasonably defend and protect its properties and assets from
         infringement or usurpation;

                      (vi)           perform all of its material obligations under all Assumed Contracts;

                      (vii)          maintain its books and records in accordance with past practice;

                   (viii)            comply in all material respects with all applicable Laws;

                      (ix)           reduce any service or Healthcare Professional service offering; or

                       (x)           agree to do any of the foregoing; and

                (b)          Sellers shall not:

                      (i)       sell, lease, transfer, or assign any of its material Purchased Assets,
         other than in the Ordinary Course of Business;

                     (ii)      make any material increase to the base compensation of any of its
         directors, managers, Employees, or officers, except in the Ordinary Course of Business,
         except as disclosed on Schedule 5.1(b)(ii), or except as may be required by any Law or
         Contract or the Company’s KERP and KEIP plan letter agreements;


                                                       58
13208185-55
13208185-58
               Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 144 of 565




                            (iii)        enter into or adopt any agreement, arrangement, plan or policy
                 that would constitute a Plan except as disclosed on Schedule 5.1(b)(iii);

                    (iv)        enter into any employment Contract (except as disclosed on
         Schedule 5.1(b)(iv)) that (A) provides for annual cash compensation (including incentive
         compensation opportunities) or (B) provides for severance benefits, change in control
         payments, retention bonuses, or other similar payments; and

                     (v)       enter into any collective bargaining agreement or other Contract
         with any trade union, works council or other labor organization or recognize any trade
         union, works council or other labor organization as the collective bargaining representative
         of any employees;

                    (vi)      terminate any Assumed Contract (other than upon any expiration of
         the term of any Assumed Contract), amend any Assumed Contract or enter into any
         Contract that would be an Assumed Contract if such Contract was in effect on the date
         hereof;

                   (vii)        subject any of the Purchased Assets to any Liens, except for
         Permitted Liens;

                   (viii)     commence, settle or propose to settle any Proceedings (except as
         disclosed on Schedule 5.1(b)(viii) and other than the Bankruptcy Cases that will be filed);

                      (ix)        (A) file any material Tax Returns required to be filed inconsistent
         with its past practices, (B) make, change or rescind any material Tax election, (C) settle or
         compromise any material Tax liability, (D) enter into any closing agreement within the
         meaning of Code Section 7121 (or any similar provision of state, local, or foreign Law),
         (E) amend any material Tax Return, (F) make any voluntary Tax disclosure, Tax amnesty,
         or other similar filing, (G) surrender or abandon any right to claim a material Tax refund,
         offset, or other reduction in Tax Liability, or (H) consent to any extension or waiver of the
         limitation period applicable to any claim or assessment in respect of Taxes;

                     (x)        take any other actions that would require disclosure pursuant to
         Section 3.5; or

                     (xi)       agree to do any of the foregoing.

               (c)      The provisions of this Section 5.1 are not intended to be, nor will they be
construed as, an endeavor on the part of Sellers or Buyer to implement the transactions
contemplated hereunder prior to the Closing (and satisfaction of the conditions in Article IX), and
the Parties agree that Buyer will not prior to the Closing be entitled to exercise any control over
the business or affairs of Sellers.

         5.2     Access to Information.



                                                  59
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 145 of 565




        (a) From and after the date hereof until the earlier of the Closing Date or the termination
of this Agreement in accordance with its terms, upon reasonable notice, and subject to restrictions
contained in any confidentiality agreements to which Sellers are subject, Sellers shall provide to
Buyer and its authorized representatives during regular business hours reasonable access to all
books and records of and documents and other information regarding Sellers (in a manner so as to
not unreasonably interfere with the normal business operations of Sellers); provided, however,
notwithstanding the foregoing or any other provision of this Agreement, during the Pre-Closing
Period no Seller shall be required to provide access or disclose information where such access or
disclosure would, on the advice of Sellers’ outside counsel, reasonably be expected to, (i) violate
or jeopardize the attorney-client privilege or attorney work-product privilege or (ii) violate any
applicable Laws; provided, further, in the case of both clauses (i) and (ii), Sellers shall provide to
Buyer such access and information to the maximum extent reasonably possible so that no such
violation or waiver shall occur, including by providing redacted copies or entering into joint
defense agreements (to the extent related to a pending or threatened Action) or by obtaining the
consent of the applicable third parties to permit disclosure. For the avoidance of all doubt, nothing
in this Section 5.1(a) shall be deemed to give rise to a contingency, condition or similar right
regarding Buyer’s satisfaction with any information of any kind to which Buyer is given access
prior to the Closing Date.

        (b)     From the Closing Date until the three (3) year anniversary of the Closing Date,
Buyer shall give the Sellers and the Sellers’ Representative (and their designees) reasonable access
during normal business hours to the books and records exclusively pertaining to the Purchased
Assets and Assumed Liabilities (in a manner so as to not unreasonably interfere with the normal
business operations of Sellers), and shall make available to the Sellers and the Sellers’
Representative the employees of Buyer or its Affiliates whose assistance Buyer reasonably
determines is necessary to assist the Sellers or the Sellers’ Representative in connection with the
Sellers’ or such Sellers’ Representatives’ inquiries for the sole purposes of (i) the preparation or
amendment of Tax Returns, or (ii) as is necessary to administer, or satisfy their obligations in
connection with, the Bankruptcy Cases. Buyer shall, and shall cause each of its controlled
Affiliates to, cooperate with the Sellers as may reasonably be requested by the Sellers for such
purposes. For the avoidance of doubt, nothing in this Section 5.2(b) shall require Buyer to take any
such action if (i) such action may result in a waiver or breach of any attorney/client privilege or
attorney work-product privilege, (ii) such action could reasonably be expected to result in violation
of applicable Law or Order, (iii) providing such access or information would be reasonably
expected to be disruptive to its normal business operations; or (iv) such action is in connection
with a conversion of the Bankruptcy Cases or to assist a Chapter 7 trustee.

        5.3    Pending Audits and Appeals Pre-Closing Access to Information. During the Pre-
Closing Period, no Seller shall enter into any settlement or repayment agreement or otherwise
agree in principle with the U.S. Department of Justice, OIG or CMS regarding a resolution of any
material negative findings resulting from audits by any Governmental Authority, in each case
without providing Buyer a copy of the proposed settlement agreement and/or notice of such
discussions and an opportunity to communicate with the Sellers or their counsel regarding and
prior to entering into such settlement agreement and/or such discussions. The Sellers must
promptly notify Buyer of any correspondence with the U.S. Department of Justice, OIG or CMS


                                                 60
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29      Filed 10/13/24     Page 146 of 565




regarding any material negative findings or the resolution of any material negative findings
resulting from audits of the Sellers by any Governmental Authority.

        5.4     Notification. During the Pre-Closing Period, the Sellers or Buyer, as the case may
be (either such Party(ies), the “Disclosing Party”), shall promptly notify the other Parties in writing
if the Disclosing Party becomes aware of (i) any fact or condition that causes or constitutes a
breach of any of the representations and warranties of the Disclosing Party made as of the date of
this Agreement, or (ii) the occurrence after the date of this Agreement of any fact or condition that
would or be reasonably likely to cause or constitute a breach of any such representation or warranty
had that representation or warranty been made as of the time of the occurrence of, or the Disclosing
Party’s discovery of, such fact or condition. If any such fact or condition requires any change to
the schedules prepared by a Disclosing Party, such Disclosing Party shall promptly deliver to the
other Parties a supplement to such schedules specifying such change. In addition, between the date
of this Agreement and the Closing, the Sellers or Buyer, as the case may be, shall promptly notify
the other Parties of the occurrence of any breach of any covenant by such party in this Agreement
or of the occurrence of any event that may make the satisfaction of any conditions in Article IX
impossible or unlikely. No disclosure pursuant to this Section 5.4 will prevent or cure any breach
of any representation or warranty or covenant set forth in this Agreement.

        5.5    Efforts to Close. From and after the date hereof until the earlier of the Closing Date
or the termination of this Agreement

                (a)     Subject to the terms of this Agreement, each of Buyer and each Seller shall
use their respective commercially reasonable efforts to cause the conditions to Closing to be
satisfied and for the Closing to occur as promptly as practicable.

                (b)    In the event any Proceeding by any Governmental Authority or other Person
is commenced which challenges the validity or legality of the transactions contemplated hereby or
seeks damages in connection therewith, the Parties agree to cooperate and use reasonable efforts
to defend against such Proceeding and, if an injunction or other order is issued in any such action,
suit or other proceeding, the Parties agree to take reasonable actions to have such injunction or
other order lifted, in order to expeditiously consummate the consummation of the transactions
contemplated by this Agreement prior to the Outside Date; provided, however, nothing in this
Section 5.5(b) shall be deemed to extend or otherwise affect the Outside Date or the Parties’ rights
in connection therewith.

               (c)     The Parties acknowledge that certain consents to and notices in respect of
the transactions contemplated by this Agreement may be required from or to parties to contracts,
leases, licenses or other agreements to which any Seller is a party (including the Assumed
Contracts set forth on Section 3.3 of the Disclosure Schedules). During the period between the
date hereof and the Closing Date, Sellers will use their commercially reasonable efforts, and Buyer
will reasonably cooperate with Sellers, to obtain such consents.

              (d)    Throughout the term of the Transition Services Agreement, the Sellers shall
cooperate with Buyer and render to Buyer such assistance as Buyer may reasonably request in
obtaining any such consents and approvals to transfer or submit a change of ownership of any
Permit.
                                                  61
13208185-55
13208185-58
               Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 147 of 565




         5.6     Bankruptcy Court Approval.

               (a)     Sellers and Buyer each acknowledges that this Agreement and the sale of
the Purchased Assets to Buyer and the assumption of the Assumed Liabilities by Buyer are subject
to Bankruptcy Court approval. Buyer acknowledges that (i) to obtain such approval, Sellers must
demonstrate that they have taken reasonable steps to obtain the highest and otherwise best offer
possible for the Purchased Assets, and that such demonstration will include giving notice of the
transactions contemplated by this Agreement to creditors and other interested parties as ordered
by the Bankruptcy Court, and (ii) Buyer must provide adequate assurance of future performance
as required under the Bankruptcy Code with respect to each Assumed Contract.

                (b)      Buyer agrees that it will take such actions as are reasonably requested by
Sellers to assist in obtaining entry of the Sale Order and a finding of adequate assurance of future
performance by Buyer of the Assumed Contracts, including furnishing affidavits or other
documents or information for filing with the Bankruptcy Court for the purposes, among others, of
providing necessary assurances of performance by Buyer under this Agreement and demonstrating
that Buyer is a “good faith” purchaser under Section 363(m) of the Bankruptcy Code.

               (c)     Sellers will give Buyer reasonable advance notice and proposed drafts of all
pleadings, motions, Orders, notices, other papers, hearings, and other Proceedings related to this
Agreement and the transactions contemplated hereby, and will provide Buyer and its counsel with
a reasonable opportunity to review such papers prior to filing with the Bankruptcy Court unless
such advance notice is impossible or impracticable under the circumstances, in which case the
Sellers will deliver copies of such papers substantially simultaneously with the filing with the
Bankruptcy Court.

         5.7     Bankruptcy Matters.

                (a)     Promptly following the execution of this Agreement (and in no event later
than two Business Days thereafter), Sellers will make a motion (the “Sale Motion”) for a Sale
Order from the Bankruptcy Court. The Sellers shall give notice under the Bankruptcy Code of the
request for the relief specified in the Sale Motion to all creditors and parties in interest entitled to
notice thereof pursuant to the Bankruptcy Code, the Bankruptcy Rules, the local rules of the
Bankruptcy Court, and any applicable orders of the Bankruptcy Court, including all Persons that
have asserted Liens on any of Sellers’ assets, and all non-debtor parties to the Desired 365
Contracts of the Sellers and other appropriate notice, including such additional notice as the
Bankruptcy Court shall direct or as Buyer may reasonably request, and provide appropriate
opportunity for hearing, to all parties entitled thereto, of all motions, orders, hearings, or other
proceedings in the Bankruptcy Court relating to this Agreement, the transactions and the Sale
Motion.

                (b)     If requested by Sellers or the Bankruptcy Court, Buyer shall provide
adequate assurance of future performance (satisfactory to the Bankruptcy Court) to the
counterparties to the Assumed Contracts and, if Buyer fails to provide such adequate assurances
to the satisfaction of the Bankruptcy Court, resulting in the exclusion of any one or more 365
Contracts from the Purchased Assets, such exclusion shall not result in any reduction of the Total
Consideration or give rise to any right of Buyer to terminate this Agreement pursuant to Section
                                                  62
13208185-55
13208185-58
               Case 24-20576-CLC       Doc 29      Filed 10/13/24     Page 148 of 565




10.1 or otherwise. Following the filing of the Sale Motion, Sellers shall use commercially
reasonable efforts to obtain approval of the Sale Order. As provided in Section 9.1(g) and Section
9.2(e), both Buyer’s and Sellers’ obligations to consummate the transactions contemplated in this
Agreement are conditioned upon the Bankruptcy Court’s entry of the Sale Order.

                (c)     Sellers shall make a motion for approval of a debtor-in-possession loan
facility from KKR Loan Administration Services, LLC (as agent) upon the terms and conditions
set forth in the Senior Secured Superpriority Priming Debtor-in-Possession Credit Agreement of
even date herewith (the “DIP Facility”). Upon approval of the DIP Facility by the Bankruptcy
Court, Sellers shall comply with the terms and conditions of the DIP Facility.

        5.8    Desired 365 Contracts. Sellers acknowledge that prior to the date hereof, the parties
were not able to finalize Schedule 2.3(a) and Section 3.16(c) of the Disclosure Schedules setting
forth a complete and accurate list of the Desired 365 Contracts, including certain Desired 365
Contracts Buyer presently intends to assume as of the Closing, and all Cure Costs (subject to
adjustments as permitted by this Agreement). As such, Sellers hereby agree that they will work in
good faith with Buyer to update Schedule 2.3(a) and Section 3.16(c) of the Disclosure Schedules
as promptly as practicable (and in no event more than five (5) Business Days) following the date
of this Agreement.

       5.9     Employee Census. Sellers hereby agree that they will work in good faith with Buyer
to update Section 3.11(a) of the Disclosure Schedules as promptly as practicable (and in no event
more than five (5) Business Days) following the date of this Agreement and periodically thereafter
through the Closing Date to ensure that Section 3.11(a) of the Disclosure Schedules reflects an
accurate employee census as of the date of this Agreement, the Closing Date, and any other date
on which such Disclosure Schedule is delivered to Buyer.

                                       ARTICLE VI.
                                 RESTRICTIVE COVENANTS

      In consideration of the Total Consideration and the consummation of the transactions
contemplated hereby, each Seller hereby agrees:

         6.1     Non-Competition, Non-Solicitation and Confidentiality Covenants.

               (a)      Each Seller hereby expressly acknowledges (i) Buyer’s substantial
investment in the Purchased Assets, and (ii) that each of them will receive substantial benefit from
the consummation of the transactions hereunder. Each Seller further acknowledges and agrees that
the covenants, restrictions, and obligations contained in this Section 6.1 are a material inducement
to Buyer to enter into this Agreement, and Buyer is doing so in reliance upon Sellers agreeing to
be bound by such covenants, restrictions, and obligations. Accordingly, Sellers hereby covenant
and agree to be bound and abide by the restrictions set forth in this this Section 6.1.

                (b)    From the Closing Date through the date that is two (2) years thereafter (the
“Restricted Period”), no Seller will (and each will cause its subsidiaries not to), directly or
indirectly (including via financial interests held by Sellers or their respective subsidiaries), either
as an employer, consultant, agent, employee, independent contractor, principal, partner, member,
                                                  63
13208185-55
13208185-58
               Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 149 of 565




stockholder, or in any other capacity, engage or participate in, consult with, or provide financial
assistance to any person or entity (including, for the avoidance of doubt, any management services
organization, ACO or similar organization) engaged in the Business or any other services or
activities that are in competition with the Business.

                (c)      During the Restricted Period, no Seller will (and each will cause its
subsidiaries not to), either for its own account or for or in association with any other person, firm,
corporation, or other entity, either directly or indirectly, as an employer, consultant, agent,
employee, independent contractor, principal, partner, member, stockholder, or in any other
capacity: (i) call on or solicit, or attempt to call on or solicit, or provide Business services to, any
of the patients, customers, providers, vendors, payors, or other business relationships of the
Business (as operated by Sellers prior to the Closing, and as operated by Buyer and Buyer’s
Affiliates following the Closing, regardless of where the assets of the Business are held or the
operations of the Business are conducted), or cause, induce, or encourage (or attempt to cause,
induce, or encourage) any such person or entity to reduce or cease doing business with Sellers
prior to the Closing or with Buyer or Buyer’s Affiliates following the Closing, regardless of where
the assets of the Business are held or the operations of the Business are conducted); or (ii) induce,
or attempt to induce, any employee or independent contractor of Buyer or any Affiliate of Buyer,
who was employed or engaged by any Seller prior to the Closing, to terminate his or her
employment or engagement or hire away, attempt to hire away, or otherwise employ or engage
any employee or independent contractor of Buyer or any Affiliate of Buyer, who was employed or
engaged by any Seller prior to the Closing.

        For the avoidance of doubt, each Seller’s performance of its obligations under the
Transition Services Agreement shall not be deemed to be a breach (or contribute to a breach) of
the covenants set forth in this Section 6.1 or Section 6.2, below.

         6.2     Confidentiality.

                (a)     Each Seller expressly acknowledges that each has knowledge of certain
business methods, Trade Secrets, and other proprietary information relating to the Business
(“Confidential Information”), which Confidential Information constitutes a Purchased Asset which
Buyer is purchasing hereunder. Each Seller expressly acknowledges and agrees that the
Confidential Information is proprietary and confidential, and if any of the Confidential Information
was imparted to, or became known by, any persons or entities engaging in a business in any way
competitive with that of Buyer or any Affiliate of Buyer, or was otherwise disclosed to any person
other than Buyer or its Affiliates, such disclosure would result in hardship, loss, irreparable injury
and damage to Buyer or such Affiliate of Buyer, the measurement of which would be difficult, if
not impossible, to determine. Accordingly, each Seller expressly agrees that Buyer has a legitimate
interest in protecting the Confidential Information and its business goodwill, that it is necessary
for Buyer to protect its businesses and the businesses of its Affiliates from such hardship, loss,
irreparable injury, and damage, that the following covenants are a reasonable means by which to
accomplish those purposes and that violation of any of the protective covenants contained herein
shall constitute a breach of trust (in addition to a breach of this Agreement) and is grounds for
appropriate legal action for damages, enforcement, and/or injunction. Notwithstanding the
foregoing, the non-disclosure obligations set forth in this Section 6.2 shall not apply to any
information that becomes publicly available through no fault of a Seller (other than if such
                                                  64
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 150 of 565




availability results from a breach by a Seller of this Agreement or any other relevant agreement or
obligation of confidentiality).

                 (b)     The Confidential Information includes: (i) lists containing the names of
patients, customers, employees, Healthcare Providers, principals, and suppliers of the Business;
(ii) the past, present, and prospective methods, procedures, and techniques utilized in identifying
prospective referral sources, patients, customers, and suppliers and in soliciting the business
thereof; (iii) the methods, procedures, and techniques used in the operation of the Business,
including the methods, procedures, and techniques utilized in marketing, pricing, applying, and
delivering occupational health and urgent care products and services; and (iv) compilations of
information, records, and processes which are used in the operation of the Business.

                 (c)    Each Seller acknowledges that the Confidential Information gives Buyer
and the Business an advantage over their competitors and that the same is not available to, or
known by, Buyer’s competitors or the general public. Each Seller acknowledges that they and
their predecessors have devoted, and Buyer will devote, substantial time, money, and effort in the
development of the Confidential Information and in maintaining the proprietary and confidential
nature thereof. Each Seller agrees to use their best efforts and to exercise utmost diligence to
protect and safeguard (and to cause their Affiliates to protect and safeguard) any of the
Confidential Information that is known to any Seller or any of Sellers’ Affiliates that at any time
is in a Seller’s or any Sellers’ Affiliates’ possession. Except as required by law or a court order,
each Seller agrees that it will not (and each will cause their Affiliates not to) disclose, disseminate,
or distribute, or induce any other person to disclose, disseminate, or distribute, any Confidential
Information, directly or indirectly, either for any Seller’s or any of Sellers’ Affiliates’ own benefit
or for the benefit of any other person or entity, whether or not acquired, learned, obtained, or
developed by any Seller or any of Sellers’ Affiliates alone or in conjunction with others, and no
Seller will use or cause to be used (and each Seller will cause their Affiliates not to use or cause
to be used) any Confidential Information in any way. Each Seller acknowledges and agrees that
all Confidential Information, whether prepared by a Seller or otherwise, shall remain the exclusive
property of Buyer after the Closing.

                (d)      Each Seller agrees that the breach or attempted breach of any Seller’s
obligations under this Section 6.2 would cause irreparable injury to Buyer and that any remedy at
law would be inadequate. Each Seller therefore agrees, in addition to any other relief, that Buyer
and its Affiliates will be entitled to injunctive and other equitable relief in case of any such breach
or attempted breach. Each Seller expressly waives any requirement that such Person could assert
for the securing or posting of any bond in connection with the obtaining of such injunctive or other
equitable relief.

              (e)      Each of the covenants in Section 6.1 and this Section 6.2 may be enforced
by Buyer’s successors and permitted assignees.

                                   ARTICLE VII.
                       ADDITIONAL COVENANTS OF THE PARTIES

       7.1    Public Announcements; Confidentiality. Buyer and the Sellers’ Representative
shall consult with each other and shall mutually agree in writing (such agreement not to be
                                                  65
13208185-55
13208185-58
               Case 24-20576-CLC       Doc 29     Filed 10/13/24     Page 151 of 565




unreasonably withheld or delayed) upon the content and timing of any press release or other public
statements with respect to the transactions contemplated by this Agreement and none of the Parties
shall issue any such press release or make any public statement with respect to the transactions
contemplated by this Agreement prior to such consultation and agreement, except as may be
required by any applicable Law, any Governmental Authority or the rules or regulations of any
stock exchange; provided, however, that, to the extent practicable and permitted by applicable
Law, each Party shall give reasonable prior notice to the other Parties of the content and timing of
any such press release or other public statement required by applicable Law, any Governmental
Authority or the rules or regulations of any stock exchange; provided further, however, that the
foregoing restrictions on press releases and public statements shall not apply to any disclosure
made in the Bankruptcy Cases that are required in connection with the filing of the Bankruptcy
Cases or appropriate in the furtherance of such filing, of filings thereafter made in the Bankruptcy
Cases, or of the transactions contemplated herein (including the Sale Motion). Notwithstanding
the foregoing, except as may be required by any applicable Law, any Governmental Authority or
the rules or regulations of any stock exchange, any press release or public statements with respect
to the transactions contemplated by this Agreement may not contain any information concerning
the Total Consideration or any component thereof or any of the other terms of this Agreement.

         7.2     Taxes.

                (a)     All transfer, documentary, sales, use, stamp, registration, and other similar
Taxes and all conveyance fees, recording charges and other fees and charges (including any
penalties and interest) incurred in connection with consummation of the transactions contemplated
by this Agreement (“Transfer Taxes”) shall be paid by equally by Sellers (on one hand) and Buyer
(on the other hand) when due, and Sellers will, at their own expense, file, or cause to be filed, all
necessary Tax Returns and other documentation with respect to all such Transfer Taxes, and if
required by applicable Law, Buyer will, and will cause its Affiliates to, join in the execution of
any such Tax Returns and other documentation. Buyer and Sellers further agree, upon request, to
use their best efforts to obtain any certificate or other document from any Tax Authority or any
other Person as may be necessary to mitigate, reduce or eliminate any Tax that could be imposed
(with respect to the transactions contemplated hereby).

                (b)     All Taxes with respect to any Pre-Closing Period are the responsibility of
and shall be paid by Sellers. Property Taxes relating to any Straddle Period shall be pro-rated
between Sellers (on the one hand) and Buyer (on the other hand). Sellers shall be responsible for
that portion of the Straddle Period ending on the Closing Date and Buyer shall be responsible for
that portion of the Straddle Period beginning on the day immediately after the Closing Date.
Sellers shall pay to Buyer its allocable portion of the Straddle Period Property Tax no later than
seven (7) Business Days prior to the date such Taxes are paid and, at least five (5) days prior to
the commencement of such seven (7) Business Day period, Buyer shall provide Sellers with
written notice of the amount of such aforementioned Taxes. For purposes of this Section 7.2(b),
the Property Taxes allocable to the portion of a Straddle Period ending on the Closing Date shall
be the amount of such Tax for the entire Tax period multiplied by a fraction, the numerator of
which is the number of days in the Tax period ending on and including the Closing Date and the
denominator of which is the number of days in the entire Tax period. All other Taxes relating to


                                                 66
13208185-55
13208185-58
               Case 24-20576-CLC       Doc 29     Filed 10/13/24     Page 152 of 565




a Straddle Period (if any) shall be paid by Sellers as if the applicable taxable period ended on and
including the Closing Date.

                (c)    From and after the Closing Date, to the extent reasonably requested by the
other party, and at such party’s expense, Sellers and Buyer shall assist and cooperate with each
other in the preparation and filing of any Tax Return and shall assist and cooperate with the other
party in preparing for any disputes, audits or other litigation relating to Taxes for which the other
party is responsible pursuant to this Agreement. Any Tax audit or other Tax proceeding shall be
deemed to be a Third Person Claim subject to the procedures set forth in Section 7.4 of this
Agreement.

                (d)    After the Closing Date, no Seller shall settle or resolve a proposed Tax
adjustment that relates to a Pre-Closing Period or the portion of any Straddle Period ending on the
Closing Date if it would increase the Tax Liability of Buyer in any Post-Closing Period without
the prior written consent of Buyer, which consent shall not be unreasonably withheld or delayed.

        7.3      Further Assurances. From and after the Closing and with respect to Sellers, until
the effective date of their Bankruptcy Court confirmed Plan of Liquidation, the Parties shall do
such acts and execute such documents and instruments as may be reasonably required to make
effective the transactions contemplated hereby. Without limiting the foregoing, Sellers shall, to the
extent Sellers are reasonably able to do so in light of the Bankruptcy Cases: (i) to the extent not
included in the Purchased Assets, provide Buyer with all passwords, login information, and other
credentials (x) necessary for Buyer to access any of the Patient Records, Confidential Information,
Seller Information or other Purchased Assets, wherever the same may be stored, or (y) for any
Purchased Assets, (ii) cooperate with and take all actions requested by Buyer with respect to the
removal of the same from systems or devices that are not Purchased Assets hereunder, and (iii)
take all actions requested by Buyer to effectuate and document the transfer to Buyer (or its
designee) of domain name registrations and social media accounts included in the Purchased
Assets. Following the Closing, and with respect to Sellers, until the effective date of their
Bankruptcy Court confirmed Plan of Liquidation in the event that through inadvertence, mistake
or otherwise, Buyer or any Seller discovers that any Purchased Asset was retained by any Seller
or any of any Seller’s Affiliates, and, as a result, was not transferred, assigned, conveyed and
delivered to Buyer at Closing as provided in this Agreement, Sellers shall, and shall cause their
applicable Affiliates to, transfer, assign, convey and deliver such Purchased Asset to Buyer for no
additional consideration (and at Sellers’ sole but reasonable cost and expense), and shall execute
such further documents and instruments necessary to give effect to and evidence such transfer,
assignment, conveyance and delivery to Buyer. For income tax purposes, the parties shall treat any
such transfer as having occurred at the Closing, except to the extent otherwise required by Law.
Further, Sellers will, at the reasonable request of Buyer, from and after the date of this Agreement
and until the effective Date of their Bankruptcy Court confirmed Plan of Liquidation, take all
actions necessary to enforce their rights, and fulfill their obligations, under any settlement
agreement with respect to third party disputes or Proceedings, including any settlement agreement
referenced or otherwise identified in Sections 3.5 and 3.6 of the Disclosure Schedules.

         7.4     Assumed Contracts.


                                                 67
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 153 of 565




                (a)    With respect to each Assumed Contract, Buyer will deliver information it
believes to be sufficient to demonstrate Buyer’s adequate assurance of the future performance by
Buyer of each such Assumed Contract as required under Section 365 of the Bankruptcy Code,
which information Sellers will be permitted to disseminate to any third party that is a party to any
365 Contract. Buyer will cooperate with the Sellers in communicating with third parties to
Assumed Contracts as may be reasonably necessary to assist the Sellers in establishing that Buyer
has satisfied the requirement of adequate assurance of future performance contained in Sections
365(b)(1)(C) and 365(f) of the Bankruptcy Code with respect to the applicable Assumed Contracts.
In the event Buyer cannot demonstrate adequate assurance of future performance with respect to
an Assumed Contract, at Buyer’s election, such Assumed Contract shall become an Excluded
Contract.

               (b)    Without limiting the provisions of Section 7.4(a), Buyer acknowledges that
no Seller nor any Subsidiary of any Seller will have any duty to maintain any bonds, letters of
credit, guarantees, cash deposits or insurance to secure performance or payment under any
Assumed Contracts after the Closing or otherwise with respect to the Business.

        7.5     Cure Costs; Accrued Liabilities. On the Closing Date, with respect to Cure Costs
not disputed as of the Closing Date, and as and when finally agreed to by Buyer, Buyer shall pay
all Cure Costs for the current billing period (no longer than one month) relating to the Assumed
Contracts, and Sellers pay all Cure Costs for past due (or more than one month) amounts. With
respect to Cure Costs relating to Assumed Contracts that are disputed as of the Closing Date, the
Parties shall cooperate and diligently pursue resolution of such disputes. Upon the resolution of
any disputed Cure Costs relating to Assumed Contracts following the Closing, Buyer shall pay
such Cure Costs as soon as reasonably practicable following such resolution. Upon payment of the
Cure Costs, all defaults under the Assumed Contracts (monetary or otherwise) and all actual or
pecuniary losses that have or may have resulted from such defaults shall be deemed cured.
Notwithstanding anything herein to the contrary, if there is a dispute as to the amount of Cure
Costs with respect to an Assumed Contract that is not resolved to the reasonable satisfaction of
Buyer, Buyer shall have the right to redesignate such contract as an Excluded Contract.

        7.6    Obligations with Respect to Employees. Except as otherwise provided in the
Transition Services Agreement, Sellers and Buyer agree as follows with respect to employee and
employee benefit matters relating to employees of Sellers:

                (a)    Compensation Payments. The Sellers shall continue to provide all employee
benefits and fringe benefits including continued participation in the Plans to all Transferred
Employees through the Transfer Date for the applicable Transferred Employee and shall cause to
be taken whatever steps are necessary to pay to Transferred Employees, at Sellers’ sole expense,
all accrued compensation and benefits arising and payable under the Plans or any employment or
consulting Contract, or relating to payroll, compensation, vacation, sick leave, workers’
compensation, unemployment benefits, retirement or pension benefits, profit sharing plans,
healthcare plans or benefits, bonus or commission arrangements, severance or other termination
pay or benefits, and any other employer plans or benefits or similar Liabilities of any Seller to any
current or former employee, contractor or other similar Person, in each case to the extent allocable
to services performed on or prior to the Transfer Date for the applicable Transferred Employee in
accordance with the applicable Laws, and Sellers, at their sole expense, shall timely pay all
                                                68
13208185-55
13208185-58
              Case 24-20576-CLC       Doc 29     Filed 10/13/24     Page 154 of 565




employment or other withholding Taxes with respect to such payments to the appropriate taxing
authority (collectively, the “Compensation Payments”). Such Compensation Payments shall be
made, for each Transferred Employee, on the Transfer Date or the next regularly scheduled payroll
following the Transfer Date, in each case, in accordance with applicable Laws. The Sellers shall
take all steps required to fully vest any Transferred Employee in any accounts under a Plan
intended to qualify under Section 401(a) of the Code. The intent of this Section 7.6(a) is to ensure
that Buyer and its Affiliates will have no Liability, responsibility or obligation whatsoever at any
time in the future with respect to any of Sellers’ employees, consultants or other similar Persons
with respect to periods up to and including the applicable Transfer Date, including under any Plan
and with respect to the Compensation Payments, and any such Liability shall be an Excluded
Liability.

                (b)     COBRA. Sellers shall be responsible for the continuation of health plan
coverage, in accordance with the requirements of COBRA and Sections 601 through 608 of ERISA
or any similar state law, for any (i) Transferred Employee or qualified beneficiary thereof under a
Business health plan who (A) is already receiving COBRA benefits as of the Closing Date, (B)
does not become a Transferred Employee, or (C) loses health coverage prior to the Closing Date
or in connection with the transactions contemplated in this Agreement.

               (c)     Buyer and each Seller agree to comply with the Standard Procedure
described in Section 4 of Revenue Procedure 2004-53, 2004-2 C.B. 320 (the “Standard
Procedure”). With respect to Transferred Employees, Sellers shall, in accordance with the
Standard Procedure, retain all responsibility for preparing and filing Forms W-2, Wage and Tax
Statement; Forms W-3, Transmittal of Income and Tax Statements; Forms 940, Employer's Annual
Federal Unemployment (FUTA) Tax Return, Forms 941, Employer’s Quarterly Federal Tax
Return; and Forms W-4, Employee’s Withholding Allowance Certificate including any state and
local equivalents (collectively, the “Employee Withholding Documents”) with regard to wages
paid through the day before the applicable Transfer Date. Buyer shall assume all responsibility for
preparing and filing the Employee Withholding Documents with regard to wages paid to
Transferred Employees on and after the applicable Transfer Date. Buyer and the Sellers shall
cooperate in good faith to the extent necessary to permit each Party to comply with the Standard
Procedure.

                 (d)      Nothing in this Agreement, whether express or implied, is intended to, or
shall, (i) constitute the establishment or adoption of or an amendment to any employee benefit plan
for purposes of ERISA or otherwise be treated as an amendment or modification of any Plan or
other benefit plan, agreement or arrangement of Buyer, (ii) limit the right of Buyer, its Affiliates
or the Sellers to amend, terminate or otherwise modify any Plan or other benefit plan, agreement
or arrangement of Buyer following the Closing Date, or (iii) create any third party beneficiary or
other right (x) in any Person, including any current or former employee of the Sellers or their
Affiliates, any participant in any Plan or other benefit plan, agreement or arrangement (or any
dependent or beneficiary thereof) of Buyer or (y) to continued employment with Buyer or the
Sellers. Nothing in this Agreement shall be deemed to prevent or restrict in any way the right of
Buyer or their Affiliates to terminate, reassign, promote or demote any of the Transferred
Employees after the applicable Transfer Date or to change adversely or favorably the title, powers,


                                                69
13208185-55
13208185-58
               Case 24-20576-CLC       Doc 29     Filed 10/13/24     Page 155 of 565




duties, responsibilities, functions, locations, or terms or conditions of employment of such
employees.

              (e)      Sellers shall timely provide all notices required by the WARN Act in
connection with the termination of Sellers’ employees resulting from or relating to the transactions
contemplated by this Agreement.

               (f)     Buyer agrees that it will promptly pay all Employees who will not be
Transferred Employees a lump sum payment equal to sixty (60) days of each such Employee’s
base salary, with such payment to be computed and paid upon the effective date of termination of
employment of each such Employee.

       7.7     Use of Names. Immediately after the Closing Date, Sellers, in such manner as is
reasonably requested by Buyer, shall change their names to some names other than “MB Medical
Operations”, “MB Medical Transport”, “Care Center Network, LLC”, “Clinical Care Pharmacy”,
“Care Center Medical Group”, “Florida Family Primary Care Center”, Florida Family Primary
Care Centers of Tampa”, “Florida Family Primary Care Centers of Pasco”, “Florida Family
Primary Care Centers of Pinellas, LLC”, “Florida Family Primary Care Centers of Orlando”,
“CCMC Physician Holdings”, “Miami Medical & Wellness Center LLC”, “Miami Beach Medical
Consultants”, “Clinical Care Medical Centers”, or any variations or abbreviations thereof and file
appropriate notification of its change of name in all jurisdictions where such notification is
required. Sellers will take all steps as may be appropriate to insure to Buyer the continued right to
use the names ““MB Medical Operations”, “MB Medical Transport”, “Care Center Network,
LLC”, “Clinical Care Pharmacy”, “Care Center Medical Group”, “Florida Family Primary Care
Center”, Florida Family Primary Care Centers of Tampa”, “Florida Family Primary Care Centers
of Pasco”, “Florida Family Primary Care Centers of Pinellas, LLC”, “Florida Family Primary Care
Centers of Orlando”, “CCMC Physician Holdings”, “Miami Medical & Wellness Center LLC”,
“Miami Beach Medical Consultants”, “Clinical Care Medical Centers”, and all variants thereof in
connection with Buyer’s operation of the Business.

         7.8     Certain Payments.

                (a)     The Parties acknowledge that Sellers’ bank accounts and all amounts
deposited therein or being transferred into or out of the same as payments, collections, or
otherwise, will be Excluded Assets and will be retained by Sellers after Closing; provided that any
amounts deposited into Sellers’ bank accounts that relate to a Post-Closing Period shall be
transferred to Buyer pursuant to the following sentence. In the event any Seller or Buyer receives
any payment after Closing that constitute Purchased Assets (in the case of Sellers’ receipt) or
Excluded Assets (in the case of Buyer’s receipt), such Party shall hold such amounts in trust for
the Party entitled thereto and promptly (and in any event within thirty (30) days of receipt thereof)
transfer or deliver to such Party entitled thereto any cash, checks, electronic funds transfers or
other such forms of payment received with respect to such Purchased Assets or Excluded Assets,
as the case may be.

               (b)      Except as otherwise expressly provided herein, (i) the Sellers shall be
responsible for all Prorated Expenses incurred in the operation of the Business prior to the Closing
(the “Sellers’ Prorated Responsibilities”), and (ii) Buyer shall be responsible for
                                                 70
13208185-55
13208185-58
                Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 156 of 565




all Prorated Expenses incurred in the operation of the Business after the Closing (the “Buyer’s
Prorated Responsibilities”); provided that in no event shall Buyer’s Prorated Responsibilities
include any Excluded Liabilities. “Prorated Expenses” shall mean expenses arising from the
conduct of the business and operations of the Purchased Assets and the Business (other than Taxes
subject to proration pursuant to Section 7.2 hereof), water charges, sewer, rents, real estate, fuel
and utility charges, license fees, assessments and other fees, prepaid and deferred expenses, and
other expenses relating to the Purchased Assets, Transferred Employees and/or the Business. In
the event Buyer and the Sellers are prohibited by a vendor from paying a partial invoice for the
Prorated Expenses, Buyer shall submit payment in full for such invoice to the vendor, and the
Sellers agree to reimburse Buyer for the Sellers’ pro rata share of the invoice within seven (7)
Business Days of Seller’s receipt of notice and proof of payment from Buyer that such invoice has
been paid by Buyer. In the event that either Buyer or a Seller pays any Prorated Expenses that are
Sellers’ Prorated Responsibilities or Buyer’s Prorated Responsibilities, respectively, the other
party shall promptly reimburse such amount within seven (7) Business Days of receipt of notice
and proof of payment from Buyer or such Seller that such invoice has been paid by Buyer or such
Seller, as applicable.

        7.9     Insurance. Prior to the Closing, each Seller has, at the Sellers’ expense, obtained,
maintained, and fully paid for irrevocable, fully-earned “tail” insurance policies for the
professional liability policies listed in Section 3.14 of the Disclosure Schedules with a coverage
period of not less than the lesser of the current statute of limitation in the State of Florida applicable
thereto or two (2) years from the Closing Date (the “Coverage Period”) from an insurance carrier
or carriers with the same or better credit rating as such Seller’s current insurance carrier or carriers
with respect to professional liability insurance and shall cause Buyer to be made an additional
insured in respect of such policies (the “Policies”). Following the Closing, each Seller shall
maintain such Policies in effect for the duration of their respective policy periods and shall not
(nor shall they allow any Seller to) cancel, terminate, modify or waive such Policies or the rights
of any insured thereunder without the prior written consent of Buyer and shall provide Buyer on
an annual basis evidence that such insurance is maintained in full force. Sellers shall provide
Buyer and all Buyer Indemnified Parties with the right to access the benefit of insurance policies
(including the Insurance Policies and the tail policy procured pursuant to Section 7.9) of Sellers
and its Affiliates which provide insurance coverage with respect to any Purchased Assets or
Assumed Liabilities for claims arising out of occurrences or wrongful acts occurring prior to the
Closing Date, including medical malpractice, and in all such events, Sellers shall, jointly and
severally, be responsible for any deductible payment and shall promptly assign the proceeds under
such Policies to the applicable Buyer Indemnified Party(ies) to the extent of the Losses incurred
by Buyer Indemnified Party(ies). Following the Closing Date until the expiration of such insurance
policies, Sellers shall, and shall cause their Affiliates to cooperate with and assist Buyer in issuing
notices of claims under such insurance policies, presenting such claims for payment, and collecting
insurance proceeds related thereto. Each Seller shall take all action necessary or desirable to be in
full compliance with the terms and conditions of the Policies at all times, including reporting any
claims for events that could reasonably be determined to be a “covered event” in accordance with
the reporting requirements of the Policies.

         7.10     Enrollment Termination; Preservation of Records; Treatment of Medical Records.


                                                   71
13208185-55
13208185-58
                Case 24-20576-CLC      Doc 29      Filed 10/13/24     Page 157 of 565




                (a)     Each Seller shall make available to Buyer a copy of (i) all books and records
relating to the Business as conducted and the Purchased Assets owned prior to the Closing Date,
and (ii) all Contracts and books and records relating thereto entered into prior to the Closing Date.

                (b)     Upon Closing, Buyer shall assume possession and custody of the Patient
Records. Thereafter, upon any Seller’s request and subject to any requirements or restrictions
related to disclosure of medical records under applicable Law, Buyer will permit the Sellers or
their representatives to have access to the Patient Records where such access is required in
connection with a governmental audit or investigation, medical staff or credentialing matter,
quality assurance review or investigation, or in connection with any Seller’s defense of a medical
malpractice claim. Buyer shall provide access to the Patient Records during normal business hours
and as soon as practicable after request, and the Sellers and their representatives shall have the
right to inspect and copy the Patient Records at the Sellers’ sole expense. Sellers shall (and shall
cause their representatives to) comply with all applicable Laws in connection with its access to
such Patient Records. To the extent that any further authorization or activity is required from any
Seller in relation to the transfer of ownership of medical records subject to this Section 7.10(b),
such Seller will cooperate with Buyer in providing such necessary authorization or activity. Except
as expressly set forth in this Section 7.10(b), Buyer shall bear no costs and provide no
administrative or other support to the Sellers with respect to the Sellers’ access to such records,
nor shall Buyer have any obligation to assist in any response to a request for the disclosure of the
Patient Records.

       7.11 Post-Closing ACO Participation. During the period beginning on the Closing Date
and ending two (2) years thereafter, Sellers will not apply to participate or participate in any
capacity (including use of Seller’s taxpayer identification number), in any ACO, including any
MSSP, Next Gen ACO, or ACO Reach model.

        7.12 Third Party Payor Deficits. Following the Closing, in the event that any Seller has
a deficit or similar obligation to any Third Party Payor and such Third Party Payor requires that
such deficit or obligation be satisfied in order to permit the Members associated with such Third
Party Payor to be moved to a contract of Buyer’s (or one of its Affiliates) with such Third Party
Payor (a “Member Transfer”), Sellers agree that the contractual reserve under accounts receivable
for such amounts can be utilized at Buyer’s request to pay for all such Deficit Settlement Amounts,
and Buyer (or one of its Affiliates) shall be entitled to settle any amounts necessary to permit such
Member Transfer.

         7.13     Accounts Receivable; Payments Received.

                (a)     Sellers shall retain sole ownership and right to collect and retain all amounts
outstanding as of Closing, including amounts attributable to services, goods or materials rendered,
sold or provided by Sellers to the patients or other recipients of goods or services of the Company,
in each case with respect to service dates prior to Closing, whether or not under Assumed
Contracts, or otherwise relating to the Business (the “Pre-Closing Receivables”). For the avoidance
of doubt, Pre-Closing Receivables include, but are not limited to capitation, surplus, rebate, and
quality payments provided with respect to service dates prior to Closing. The Parties further
acknowledge and agree that the Pre-Closing Receivables remain encumbered by liens securing
Sellers’ institutional debt. To the extent that any Pre-Closing Receivables constitute retainer
                                                   72
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 158 of 565




amounts, payment for ongoing services, advance payments, or deposits (“Advance Receivables”)
that may not yet be due and payable at Closing, Sellers shall remain entitled to the sole ownership
of and payment for all such Advance Receivables, to the extent the same relate solely to services
rendered, sold or provided by Sellers prior to the Closing.

                (b)      After the Closing, all collections realized by Buyer in respect to Pre-Closing
Receivables shall be allocated to Sellers. Sellers and Buyer each agree that after the Closing they
will hold in trust for the other, and will promptly (and in any event within thirty (30) days of receipt
thereof) transfer and deliver to the other party from time to time, as and when received by them
and in the exact form received by them, any cash, checks (with appropriate endorsement where
necessary to permit collection), or other property that they may receive on or after the Closing
which properly belongs to the other party (as determined in accordance with the provisions of this
Agreement).

                (c)    For the avoidance of doubt, nothing herein shall require Buyer to take any
actions, other than those expressly set forth in this Section 7.13, with respect to the Pre-Closing
Receivables.

                (d)    The provision of this Section 7.13 shall survive the Closing.

        7.14 Personally Identifiable Information. The privacy policies of the Buyer and/or its
Affiliates as of the date hereof are at least as protective, in all material respects, as the privacy
policies of the Sellers as of the date hereof.

                                         ARTICLE VIII.
                                       INDEMNIFICATION

        8.1     Indemnification by Sellers. Subject to the limitations set forth in Section 8.5 below,
each Seller, jointly and severally, shall hold Buyer and its Affiliates and the members,
shareholders, directors, officers, partners, employees, successors, assigns, representatives and
agents of each of them in their capacities as such (collectively, the “Buyer Indemnified Persons”),
harmless and indemnify and keep indemnified (and shall pay and compensate for, regardless of
whether such matters arise from Third Person Claims or direct claims) each of them from and
against, and each Seller waives any claim for contribution or indemnity from any of the Buyer
Indemnified Persons, with respect to, any and all claims, losses, damages, Liabilities, fines, fees,
penalties, expenses or costs (“Losses”), including reasonable attorneys’ fees and expenses incurred
in connection with Losses and/or enforcement of this Agreement (in all, “Indemnified Losses”)
suffered, incurred or to be incurred by any of them resulting from or arising out of or in respect of:

                (a)    any Fraud;

              (b)     the non-fulfillment, non-performance, violation or breach of any agreement,
covenant or other obligation of Sellers made or incurred under or pursuant to this Agreement or
any document delivered pursuant hereto (including the Ancillary Agreements);

                (c)    the ownership, use or possession of the Excluded Assets;


                                                  73
13208185-55
13208185-58
               Case 24-20576-CLC        Doc 29      Filed 10/13/24      Page 159 of 565




                 (d)    any Excluded Liabilities;

                (e)     (i) Sellers’ Taxes or its Liability, if any (for example, by reason of transferee
Liability or application of Treasury regulation Section 1.1502-6) for Taxes of others, including
any Affiliate of Sellers and all Indemnified Losses payable with respect to such Taxes for any Tax
period, and (ii) Taxes and all Indemnified Losses payable with respect to such Taxes claimed or
assessed against the Business, the Purchased Assets, or Buyer (A) for any Pre-Closing Period and
the portion of the Straddle Period ending on the Closing Date determined in accordance with
Section 7.2(b), and (B) as a result of the transactions contemplated by this Agreement (other than
Taxes required to be paid by Buyer with respect to a Post-Closing Period as a result of its
ownership of the Purchased Assets or operation of the Business); and

                 (f)    any matters identified on Schedule 8.1(f).

        8.2     Indemnification by Buyer. Subject to the limitations set forth in Section 8.5 below,
Buyer shall, jointly and severally, hold Sellers and their Affiliates, successors, legal
representatives, assigns and agents of each of them in their capacities as such (collectively, the
“Seller Indemnified Persons”) harmless and indemnify each of them from and against any and all
Indemnified Losses incurred or to be incurred by any of them, resulting from or arising out of or
in respect of (a) Fraud and (b) the non-fulfillment, non-performance, violation or breach of any
agreement, covenant or other obligation of Buyer made or incurred under this Agreement or any
Ancillary Agreement to which Buyer is a party.

        8.3      Notice of Claim. In the event that Buyer seeks indemnification on behalf of a Buyer
Indemnified Person, or a Seller or Sellers’ Representative seeks indemnification on behalf of a
Seller Indemnified Person, such Party seeking indemnification (the “Indemnified Party”) shall give
reasonably prompt written notice to the indemnifying Party (the “Indemnifying Party”) specifying
the facts constituting the basis for such claim, to the extent then known, and the amount, to the
extent known, of the claim asserted; provided, however, that the right of a Person to be indemnified
hereunder shall not be adversely affected by a failure to give such notice unless, and then only to
the extent that, an Indemnifying Party is actually and materially prejudiced thereby. Subject to the
terms hereof, (a) if a Seller is the Indemnifying Party, then, within thirty (30) days of receipt of a
notice pursuant to this Section 8.3 (a “Claim Notice”), it shall pay the amount of any valid claim
from the Holdback Amount or deliver written notice to the Indemnified Party disputing such claim
in whole or in part, (b) if Buyer is the Indemnifying Party, then within thirty (30) days of receipt
of a Claim Notice it shall either pay the amount of any valid claim or deliver written notice to the
Indemnified Party disputing such claim in whole or in part. In cases where the Indemnifying Party
disputes a claim hereunder, the Indemnified Party shall promptly consult with the Indemnifying
Party in an effort to resolve the dispute. If any such dispute cannot be resolved by the Indemnified
Party and the Indemnifying Party within thirty (30) days, the Indemnified Party may seek to
enforce its rights under this Article VIII as set forth in this Agreement.

         8.4     Claims of Third Persons.

               (a)    If an Indemnified Party is entitled to indemnification hereunder because of
a claim asserted by any claimant other than a Buyer Indemnified Person or a Seller Indemnified
Person hereunder (a “Third Person”), the Indemnified Party shall give the Indemnifying Party
                                                   74
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29      Filed 10/13/24     Page 160 of 565




reasonably prompt notice thereof after such assertion is actually known to the Indemnified Party;
provided, however, that the right of a Person to be indemnified hereunder in respect of claims
made by a Third Person shall not be adversely affected by a failure to give such notice unless, and
then only to the extent that, an Indemnifying Party is actually and materially prejudiced thereby.
Except as otherwise provided in this Section 8.4, the Indemnifying Party shall then have the right,
upon written notice to the Indemnified Party (a “Defense Notice”) within fifteen (15) days after
receipt from the Indemnified Party of notice of such claim, and using counsel reasonably
satisfactory to the Indemnified Party, to control, investigate, contest, or settle the claim alleged by
such Third Person (a “Third Person Claim”); provided that such written notice shall only be
deemed to be a “Defense Notice” hereunder, and the Indemnifying Party shall only be entitled to
control, investigate, contest or settle such Third Person Claim, if, in such written notice, the
Indemnifying Party has unconditionally acknowledged to the Indemnified Party in writing its
obligation to indemnify and to keep indemnified in full the Persons to be indemnified hereunder
with respect to such Third Person Claim and to discharge in full any reasonable cost or expense
arising out of such investigation, contest or settlement (including, if Sellers are the Indemnifying
Party, by agreed offset against the Holdback Amount). The Indemnified Party may thereafter
participate in (but not control) the defense of any such Third Person Claim with its own counsel at
its own expense, unless separate representation is necessary to avoid a conflict of interest, in which
case such representation shall be at the expense of the Indemnifying Party. Unless and until the
Indemnifying Party provides the Defense Notice, the Indemnified Party shall have the right, at its
option, to assume and control defense of the matter and to look to the Indemnifying Party for the
full amount of the reasonable costs of defense. In the event that the Indemnifying Party shall fail
to give the Defense Notice within said fifteen (15) day period, (i) the Indemnified Party shall be
entitled to have the control over said defense and settlement of the subject claim and shall conduct
the defense of the Third Party Claim in a commercially reasonable manner, (ii) the Indemnifying
Party will cooperate with and make available to the Indemnified Party such assistance and
materials as the Indemnified Party may reasonably request, (iii) the Indemnifying Party shall have
the right, at its expense, to participate in the defense assisted by counsel of its own choosing, and
(iv) the Indemnifying Party, if it is required to provide indemnification under this Agreement, will
be liable for all costs and settlement amounts paid or incurred in connection therewith. If the
Indemnifying Party thereafter seeks to question the manner in which the Indemnified Party
defended such Third Person Claim or the amount or nature of any such settlement, the
Indemnifying Party shall have the burden to prove by clear and convincing evidence that conduct
of the Indemnified Party in the defense and/or settlement of such Third Person Claim constituted
gross negligence or willful misconduct. The Parties shall use commercially reasonable efforts to
make available to each other the relevant information in their possession relating to any such Third
Person Claim and shall cooperate in the defense thereof.

                 (b)   In the event that the Indemnifying Party delivers a Defense Notice with
respect to such Third Person Claim within fifteen (15) days after receipt thereof and thereby elects
to control the defense of the subject claim, (i) the Indemnifying Party shall be entitled to have
control over said defense and, subject to the provisions set forth below, settlement of the subject
claim, (ii) the Indemnified Party will cooperate with and make available to the Indemnifying Party
such assistance and materials as the Indemnifying Party may reasonably request, (iii) the
Indemnified Party shall have the right, at its expense, to participate in the defense assisted by
counsel of its own choosing and (iv) the Indemnifying Party must conduct the defense of the Third
                                                  75
13208185-55
13208185-58
               Case 24-20576-CLC       Doc 29      Filed 10/13/24     Page 161 of 565




Person Claim actively and diligently after assuming control of the defense in order to be allowed
to maintain control of the defense. Further, the Indemnifying Party will not settle the subject claim
or consent to the entry of any judgment without the prior written consent of the Indemnified Party
unless (x) there is no finding of responsibility or Liability on the party of the Indemnified Party,
or obligation of the Indemnified Party for any damages or other amount, or any Lien on any
property of the Indemnified Party, or any sanction or injunction of, restriction upon the conduct of
any business by, or other equitable relief upon the Indemnified Party and (y) the sole relief
provided is monetary damages that are paid in full by the Indemnifying Party, in which cases the
consent of the Indemnified Party shall not be required. The Indemnified Party shall have no
Liability with respect to any compromise or settlement of such Third Person Claims effected
without its consent when such consent is required hereunder.

                 (c)     Notwithstanding anything to the contrary contained in this Section 8.4, the
Indemnifying Party shall not be entitled to control, but may participate in, and the Indemnified
Party shall be entitled to have sole control, including the right to select defense counsel, over the
defense or settlement of any claim (i) that seeks a temporary restraining order, a preliminary or
permanent injunction or specific performance against the Indemnified Party, (ii) that involves
criminal allegations against the Indemnified Party, (iii) that, if unsuccessful, would set a precedent
that would materially interfere with, or have a material and adverse impact on the business or
financial condition of the Indemnified Party, (iv) that involves any Material Supplier, or Material
Third Party Payor, or (v) that imposes Liability on the part of the Indemnified Party for which the
Indemnified Party is not entitled to indemnification hereunder. In such event, the Indemnifying
Party will still be subject to its obligations hereunder, and the Indemnified Party will not settle the
subject claim without the prior written consent of the Indemnifying Party, which consent will not
be unreasonably withheld, conditioned or delayed.

         8.5     Limitations on Indemnity.

              (a)    The representations and warranties of the Parties contained in this
Agreement and in any certificate delivered pursuant to this Agreement shall terminate upon the
Closing, and neither Party shall assert a claim thereunder for indemnity or otherwise. Each
covenant and agreement of any of the Parties set forth in this Agreement shall survive until such
covenant and agreement has been fully performed. Claims for Fraud shall not expire.

               (b)    Except with respect to any claim based on Fraud, the only recourse for
claims by any Buyer Indemnified Person is the Holdback Amount. In no event shall Sellers have
any obligation to indemnify the Buyer Indemnified Persons in respect of Indemnified Losses in an
aggregate amount in excess of the Holdback Amount.

               (c)     The aggregate liability for any and all Indemnified Parties applicable to
Buyer, on the one hand, or Sellers, on the other hand, under Section 8.1 or Section 8.2 shall not
exceed the aggregate amount equal to the Holdback Amount (the “Cap”); provided, that the Cap
shall not apply to any claim based on Fraud.

              (d)     In no event shall Buyer have any obligation to indemnify the Seller
Indemnified Persons in respect of Indemnified Losses pursuant to Section 8.2(b) in an aggregate
amount in excess of the Holdback Amount.
                                                  76
13208185-55
13208185-58
              Case 24-20576-CLC       Doc 29     Filed 10/13/24     Page 162 of 565




              (e)      None of the Sellers shall have any claim for contribution from or against
Buyer as a result of any indemnification or other payments made by Sellers to any of the Buyer
Indemnified Persons pursuant to this Agreement.

               (f)     Except for Section 8.5(b), none of the limitations in this Article VIII shall
apply to any claim for indemnification that arises or is delayed as a result of Fraud.

               (g)      For all Tax and other purposes, all indemnification payments under this
Article VIII shall be treated by the Parties as adjustments to the Total Consideration to the extent
permitted by applicable Law.

                (h)    The amount of any Indemnified Losses for which indemnification is
provided under this Article VIII shall be net of any amounts actually recovered under Sellers’ tail
policies and applicable to such Indemnified Losses, net of reasonable expenses incurred by the
Indemnified Party in obtaining such recovery (including any premium increases or other costs
associated with any such claim). Buyer will use its commercially reasonably efforts to promptly
seek full recovery under the insurance policies referenced in the foregoing sentence; provided,
however, that the Indemnified Party shall have no obligation to first submit or to collect upon any
applicable insurance coverage as a precondition to making a claim for indemnification hereunder
or obtaining indemnification for Indemnified Losses therefor, and the Parties hereto agree, without
limiting any other rights any Indemnifying Party may have against Buyer, not to delay in any
manner the payment to Buyer or any Buyer Indemnified Person of such indemnification based on
Buyer’s non-fulfillment of the foregoing obligation at the time any such claim is made. To the
extent that any insurance payment is actually recovered by an Indemnified Party after the related
indemnification payment has been made pursuant to this Agreement; the Indemnified Party will
pay over to the Indemnifying Party the amounts of such insurance payments promptly after they
are actually recovered.

        8.6    Set-Off Rights. Without prejudice or limitation to any other remedies available to
Buyer, in the event that Buyer or any Buyer Indemnified Person is entitled to any amounts
hereunder or indemnification pursuant to this Agreement, Buyer may set-off such amount solely
against the Holdback Amount. In the event any Buyer Indemnified Party has made a good faith
claim for indemnification hereunder and any Seller disputes its obligation to make such
indemnification, Buyer may nonetheless withhold the amount of such Buyer Indemnified Person
claimed indemnification from the Holdback Amount until such dispute is resolved and such
withholding shall not be deemed a default by Buyer hereunder.

         8.7    Exclusive Remedy. Except for claims based on Fraud and the rights of the Parties
to seek injunctive relief or specific performance as provided in this Agreement, the Parties
acknowledge and agree that following the Closing the indemnities provided for in this Article VIII
are the sole and exclusive remedies of the Indemnified Parties for any breach of this Agreement or
with respect only to the Sellers’ obligations under any Ancillary Agreements or any other
agreements or documents relating to this Agreement (other with respect to any Employment
Agreement; provided, however, Buyer may recover indemnity claims under the Transition
Services Agreement exclusively from the Holdback Amount), regardless of the legal theory under
which the claim, Losses or Liability may be sought to be imposed, whether sounding in contract
or tort, or whether at law or in equity, or otherwise. In furtherance of the foregoing, each Party
                                                 77
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29      Filed 10/13/24     Page 163 of 565




hereby waives, to the fullest extent permitted under Law, any and all rights, claims and causes of
action for any breach of any representation, warranty, covenant, agreement or obligation set forth
herein or otherwise relating to the transactions contemplated by this Agreement it may have against
the other Parties hereto and their Affiliates and each of their respective Representatives arising
under or based upon any Law, except pursuant to the indemnification provisions set forth in this
Article VIII. For the avoidance of doubt, nothing contained in this Agreement shall limit or restrict
any Person who is a party to any other Ancillary Agreement from obtaining damages or any other
legal or equitable relief in connection with any breach of such Ancillary Agreement pursuant to
the terms thereof.

                                       ARTICLE IX.
                                  CONDITIONS TO CLOSING

         9.1     Conditions to Obligation of Buyer. The obligation of Buyer to consummate the
transactions contemplated by this Agreement is subject to the satisfaction (or waiver by Buyer in
its sole discretion) of the following conditions:

                (a)    Each of the representations and warranties of the Sellers in Article III of this
Agreement that does not contain an express materiality or “Material Adverse Effect” qualification
must have been true, complete and correct in all respects as of the date of this Agreement, and
must be true, complete and correct in all material respects as of the Closing, as if made at the
Closing. Each of the representations and warranties of the Sellers in Article III of this Agreement
that does contain an express materiality or “Material Adverse Effect” qualification must have been
true, correct, and complete in all respects as of the date of this Agreement and as if made at the
Closing.

                (b)    Sellers shall have performed or complied in all material respects with all
obligations and covenants required by this Agreement to be performed or complied with by Sellers,
on or prior to the Closing Date.

             (c)     There must not have been any Material Adverse Effect since the date of this
Agreement (for the avoidance of doubt, the Bankruptcy Cases, and any actions resulting from the
Bankruptcy Cases, shall not be considered as, or as contributing to, a Material Adverse Effect).

               (d)      Buyer shall have received a certificate of each Seller, dated as of the Closing
Date and signed by an authorized officer of such Seller, to the effect that the conditions set forth
in Sections 9.1(a), 9.1(b), and 9.1(c) have been satisfied (the “Seller Closing Certificate”).

               (e)     All Material Consents shall have been obtained (including, in the case of
consents to assignment of Assumed Contracts, by virtue of the effect of the Sale Order rendering
certain consents to be unnecessary) or made, as applicable.

               (f)     No Proceeding or Order of any Governmental Authority restraining,
enjoining or otherwise preventing or delaying the consummation of this Agreement or the
transactions contemplated hereby shall be outstanding, and no Proceeding, whether at law or in
equity, or before or by any Governmental Authority, shall be pending or threatened, wherein an
unfavorable outcome would (i) prevent the performance of this Agreement or the consummation
                                                  78
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 164 of 565




of the transactions contemplated hereby or declare unlawful any of the transactions contemplated
hereby, or (ii) cause any of the transactions contemplated hereby to be rescinded following
consummation.

               (g)    The Bankruptcy Court shall have entered the Sale Order in accordance with
Section 5.7, and the Sale Order shall be unstayed and in full force and effect as of the Closing
Date.

              (h)     Sellers have made or are prepared to immediately make all of the deliveries
required by Section 2.6.

        9.2    Conditions to Obligation of Seller. The obligation of Sellers to consummate the
transactions contemplated by this Agreement is subject to the satisfaction (or waiver by Sellers’
Representative, in its sole discretion) of the following conditions:

                (a)     Each of the representations and warranties of Buyer in Article IV that does
not contain an express materiality or “Material Adverse Effect” qualification must have been true,
complete and correct in all respects as of the date of this Agreement, and must be true, complete
and correct in all material respects as of the Closing, as if made at the Closing. Each of the
representations and warranties of Buyer in Article IV that does contain an express materiality or
“Material Adverse Effect” qualification must have been true, complete and correct in all respects
as of the date of this Agreement and as if made at the Closing.

                (b)    Buyer shall have performed or complied in all material respects with all
obligations and covenants required by this Agreement to be performed or complied with by Buyer
on or prior to the Closing Date.

               (c)     Sellers’ Representative shall have received a certificate dated as of the
Closing Date by an authorized officer of Buyer to the effect that the conditions set forth in Sections
9.2(a) and 9.2(b) have been satisfied (the “Buyer Closing Certificate”).

                (d)    No Proceeding or Order of any Governmental Authority restraining,
enjoining or otherwise preventing or delaying the consummation of this Agreement or the
transactions contemplated hereby shall be outstanding, and no Action, whether at law or in equity,
or before or by any Governmental Authority, shall be pending or threatened, wherein an
unfavorable outcome would (i) prevent the performance of this Agreement or the consummation
of the transactions contemplated hereby or declare unlawful any of the transactions contemplated
hereby, or (ii) cause any of the transactions contemplated hereby to be rescinded following
consummation.

               (e)    The Bankruptcy Court shall have entered the Sale Order in accordance with
Section 5.7, and the Sale Order shall be unstayed and in full force and effect as of the Closing
Date.

              (f)     Buyer has made or is prepared to immediately make all of the deliveries
required by Sections 2.7.


                                                 79
13208185-55
13208185-58
              Case 24-20576-CLC          Doc 29      Filed 10/13/24      Page 165 of 565




       9.3      Frustration of Closing Conditions. No Party may rely on or assert the failure of any
condition set forth in this Article IX, as the case may be, if such failure results from or was caused
primarily by such Party’s failure to comply with any provision of this Agreement.

       9.4     Waiver of Conditions. All conditions set forth in this Article IX will be deemed to
have been satisfied or waived from and after the Closing.

                                            ARTICLE X.
                                           TERMINATION

       10.1 Termination. This Agreement may be terminated, and the transactions
contemplated herein may be abandoned, prior to the Closing solely as follows; provided that any
Party desiring to terminate this Agreement pursuant to this Section 10.1 shall give written notice
of such termination to the other Parties to this Agreement:

                (a)      by the mutual written consent of Sellers’ Representative and Buyer;

                (b)      by either Buyer or Sellers:

                      (i) if the Closing shall not have occurred on or before December 27, 2024
         (the “Outside Date”); provided, if the Sale Order has not been entered as of the initial
         Outside Date, then the Outside Date shall automatically be extended to the earlier of (A)
         three Business Days after the date on which all conditions set forth in Article IX (except
         those conditions that are to be satisfied at Closing) have been satisfied (or waived by the
         Party entitled to the benefit of the same), or (B) January 26, 2025 (the “Extended Outside
         Date”); provided, further, that a Party may not terminate this Agreement pursuant to this
         Section 10.1(b)(i) if such Party is in material breach of any of its representations,
         warranties, covenants or agreements contained herein and such material breach is the
         primary cause that the Closing has not occurred by the Outside Date or Extended Outside
         Date (as the case may be);

                     (ii) if any Governmental Authority shall have issued an Order or taken any
         other action permanently enjoining, restraining or otherwise prohibiting the Closing and
         such Order or other action shall have become final and nonappealable; provided, that the
         Party seeking to terminate this Agreement pursuant to Section 10.1(b)(i) shall have used
         reasonable efforts to remove such Order, injunction, restraint or prohibition, and such
         Order, injunction, restraint or prohibition shall not have been principally caused by the
         breach by such Party of its covenants or agreements under this Agreement;

                   (iii) if Sellers enter into a definitive agreement providing for a Superior
         Proposal or other transaction that would make the consummation of the transaction
         contemplated by this Agreement or the satisfaction of any conditions herein impossible; or

                      (iv)   if, after its entry, the Sale Order ceases to be in full force and effect;

                    (v)   subject to and in accordance with the terms of Section 5.7, if the
         Bankruptcy Court does not issue the Sale Order in accordance with Section 5.7;

                                                    80
13208185-55
13208185-58
              Case 24-20576-CLC            Doc 29     Filed 10/13/24     Page 166 of 565




                 (c)         by Buyer:

                       (i)      if the Closing shall not have occurred on or before Extended Outside
         Date;

                       (ii) if any of the representations or warranties of Sellers set forth in Article
         III shall not be true and correct such that the condition to Closing set forth in Section 9.1(a)
         would not be satisfied and the breach or breaches causing such representations or
         warranties not to be true and correct is not cured within 30 days after written notice thereof
         is delivered from Buyer to Sellers’ Representative; provided, that Buyer shall not have the
         right to terminate this Agreement pursuant to this Section 10.1(c)(ii) if Buyer is then in
         material violation or breach of any of its covenants, obligations, representations or
         warranties set forth in this Agreement and such violation or breach would give rise to the
         failure of a condition set forth in Section 9.2(a) or Section 9.2(b);

                    (iii) if all of the conditions set forth in Section 9.2 (not including conditions
         which are to be satisfied by actions taken at the Closing; provided that such conditions shall
         have been capable of being satisfied as of the date of termination of this Agreement) have
         been satisfied or validly waived by Sellers’ Representative, Buyer has given notice to
         Sellers’ Representative in writing that Buyer is prepared to consummate the transactions
         contemplated by this Agreement (a “Buyer Closing Notice”), and Sellers fail to
         consummate the transactions contemplated by this Agreement on the date the Closing
         should have occurred pursuant to Section 2.5, or, if later, on the Business Day immediately
         following the date of delivery of such Buyer Closing Notice;

                   (iv) if the Bankruptcy Cases are converted to cases under chapter 7 of the
         Bankruptcy Code, a trustee or examiner with expanded powers is appointed pursuant to the
         Bankruptcy Code, or the Bankruptcy Court enters an order dismissing the Bankruptcy
         Cases;

                       (v)      if the Sale Order is not entered by January 23, 2025;

                    (vi) if any creditor of any Seller or any of Sellers’ Affiliates obtains relief
         from the stay to foreclose on, or otherwise take possession of, a material portion of the
         Purchased Assets;

                     (vii) if, at any time prior to or at Closing, twenty percent (20%) or greater of
         the physicians and advanced practice providers set forth on Schedule 10.1(c)(vii) have
         terminated their employment, have been terminated from employment, or have failed to
         enter into an employment agreement with Buyer or one of its Affiliates; or

                 (d)         by Sellers:

                      (i) if any of the representations or warranties of Buyer set forth in Article
         IV shall not be true and correct such that the condition to Closing set forth in Section 9.2(a)
         would not be satisfied and the breach or breaches causing such representations or
         warranties not to be true and correct is not cured within 30 days after written notice thereof
                                                     81
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29      Filed 10/13/24     Page 167 of 565




         is delivered from Sellers to Buyer; provided, that Sellers shall not have the right to
         terminate this Agreement pursuant to this Section 10.1(d) if Sellers are then in material
         violation or breach of any of its covenants, obligations, representations or warranties set
         forth in this Agreement; or

                        (ii) if all of the conditions set forth in Section 9.1 (not including conditions
         which are to be satisfied by actions taken at the Closing; provided that such conditions shall
         have been capable of being satisfied as of the date of termination of this Agreement) have
         been satisfied or validly waived by Buyer, Sellers have given notice to Buyer in writing
         that Sellers are prepared to consummate the transactions contemplated by this Agreement
         (a “Seller Closing Notice”), and Buyer fails to consummate the transactions contemplated
         by this Agreement on the date the Closing should have occurred pursuant to Section 2.5,
         or, if later, on the Business Day immediately following the date of delivery of such Seller
         Closing Notice.

        10.2 Effect of Termination. In the event of the termination of this Agreement pursuant
to Section 10.1, this entire Agreement shall forthwith become void (and there shall be no liability
or obligation on the part of Buyer, Sellers or their officers, directors or equityholders) with the
exception of (i) the provisions of Section 2.4(c), Section 10.1, this Section 10.2 and Article XI,
together with all applicable defined terms set forth in Article I, each of which provisions shall
survive such termination and remain valid and binding obligations of the Parties and (ii) any
Liability of any Party for any willful and material breach of this Agreement prior to such
termination. For the avoidance of doubt, the Confidentiality Agreement shall survive any
termination of this Agreement in accordance with its terms, and nothing in this Article X shall be
construed to discharge or relieve any party to the Confidentiality Agreement of its obligations
thereunder. In the event of termination pursuant to Section 10.1, the terminating Party must give
written notice thereof, specifying the provision pursuant to which the Agreement is being
terminated, to the other Party, and this Agreement will terminate (subject to this Section 10.2) and
the purchase of the Purchased Assets hereunder will be abandoned without further action by Buyer
or Seller.

                                       ARTICLE XI.
                                MISCELLANEOUS PROVISIONS

         11.1 Notices. All notices, requests, demands, and other communications required or
permitted under this Agreement shall be in writing and shall be deemed to have been duly given
and made upon being delivered by international overnight courier, or electronic mail (with
confirmation of receipt by non-automated reply e-mail from the recipient) to the Party for whom
it is intended, provided that if notice is given by electronic mail, a copy thereof is deposited,
postage prepaid, certified or registered mail, return receipt requested, bearing the address shown
in this Section 11.1 for, or such other address as may be designated in writing hereafter by, such
Party:




                                                   82
13208185-55
13208185-58
              Case 24-20576-CLC       Doc 29    Filed 10/13/24    Page 168 of 565




                If to Buyer:

                Conviva Medical Center Management, LLC
                c/o Humana Inc.
                500 West Main Street
                Louisville, Kentucky 40202
                Attention:    Joseph M. Ruschell, Associate Vice President, Assistant
                               General Counsel and Corporate Secretary
                Email:        jruschell1@humana.com

                With a copy to:

                Bryan Cave Leighton Paisner LLP
                One Metropolitan Square, Suite 3600
                211 North Broadway
                St. Louis, Missouri 63102
                Attention: Kristin M. Yemm and Joel N. Lander
                E-mail: kristin.yemm@bclplaw.com
                       Joel.lander@bclplaw.com


                If to Sellers:

                Nicholas Campbell
                1175 Peachtree St NE
                Suite 1000
                Atlanta, GA 30361
                Email Address: nick@wearemeru.com


                With a copy to:




                                               83
13208185-55
13208185-58
              Case 24-20576-CLC        Doc 29        Filed 10/13/24   Page 169 of 565




                Berger Singerman LLP
                1450 Brickell Avenue
                Suite 1900
                Miami, FL 33131
                Attention: Paul Singerman
                Email Address: Singerman@bergersingerman.com

                If to the Sellers’ Representative:

                MB Medical Operations, LLC
                1175 Peachtree St NE
                Suite 1000
                Atlanta, GA 30361
                Attention: Nicholas Campbell
                Email Address: nick@wearemeru.com

                With a copy to:

                Berger Singerman LLP
                1450 Brickell Avenue
                Suite 1900
                Miami, FL 33131
                Attention: Paul Singerman
                Email Address: Singerman@bergersingerman.com

        11.2 Entire Agreement. This Agreement and the Schedules and Exhibits hereto, together
with the Ancillary Agreements, embody the entire agreement and understanding of the Parties with
respect to the subject matter hereof, and supersede all prior and contemporaneous agreements and
understandings relative to such subject matter. No representation, promise, inducement, or
statement of intention has been made by any party hereto which is not embodied in this Agreement,
or in the Exhibits or Schedules attached hereto or the written statements, certificates, or other
documents delivered pursuant hereto.

       11.3 Amendment and Modification. To the extent permitted by applicable Law, this
Agreement shall be amended, modified or supplemented only by a written agreement executed by
Buyer and the Sellers’ Representative.

         11.4 Assignment; Binding Agreement. This Agreement and the various rights and
obligations arising hereunder shall inure to the benefit of and be binding upon the Parties and their
respective successors and permitted assigns. Neither this Agreement nor any of the rights, shares,
or obligations hereunder shall be transferred, delegated, or assigned (by operation of Law or
otherwise) by any Buyer without the prior written consent of the Sellers’ Representative or any
Seller without the prior written consent of Buyer; provided, however, that (i) Buyer shall have the
right to transfer and assign its rights hereunder to any entity which is controlled directly or
indirectly by Humana Inc. and (ii) concurrently with or after the Closing, Buyer may assign any
or all of its rights hereunder without any consent or approval of any other party to this Agreement.

                                                     84
13208185-55
13208185-58
                Case 24-20576-CLC         Doc 29   Filed 10/13/24     Page 170 of 565




        11.5 Counterparts. This Agreement may be executed simultaneously in multiple
counterparts (including by PDF or similar method), each of which shall be deemed an original, but
all of which taken together shall constitute one and the same instrument.

        11.6 Section Headings; Interpretation. The Article and Section headings contained in
this Agreement are inserted for convenience only and shall not affect in any way the meaning or
interpretation of the Agreement. Each reference in this Agreement to an Article, Section, Schedule
or Exhibit, unless otherwise indicated, shall mean an Article or a Section of this Agreement, an
Exhibit attached to this Agreement, or a schedule contained in the Schedules, as the case may be.
References herein to “days,” unless otherwise indicated, are to consecutive calendar days. Words
in the singular shall be held to include the plural and vice versa. Words of one gender shall be
held to include both genders. The word “including” and words of similar import shall mean
“including without limitation” unless otherwise specified. The word “or” shall not be exclusive
unless otherwise specified. Provisions shall apply, when appropriate, to successive events and
transactions. Each Party hereto has participated substantially in the negotiation and drafting of this
Agreement and each Party agrees that any ambiguity herein should not be construed against the
draftsman.

        11.7 Expenses. Buyer shall pay the fees and expenses of their counsel, accountants,
experts, other representatives and all other expenses incurred by any of them incident or relating
to the negotiation, preparation and execution of this Agreement and the transactions contemplated
hereby, and the performance by them of their obligations hereunder. Sellers, and not Buyer, shall
be responsible for all fees and expenses of Sellers incurred by any of them incident or relating to
the negotiation, preparation and execution of this Agreement and the transactions contemplated
hereby, and the performance by them of their obligations hereunder (including their fees and
expenses of counsel, accountants, experts and other representatives).

         11.8     Disclosure Schedules.

               (a)     Disclosure of any item in any Section of the Disclosure Schedules
referenced by a particular section in this Agreement shall be deemed to have been disclosed with
respect to any other Section in this Agreement only if the relevance of such disclosure to such
other Section(s) is apparent on its face, including by way of a reference or cross-reference thereto.

                (b)    From time to time up to the Closing Date, Sellers may supplement or amend
the Disclosure Schedules with respect to any matter (i) first existing or occurring after the date
hereof which, if existing or occurring at or prior to such date, would have been required to be set
forth in the Schedules, or (ii) that is necessary to correct any information in such Schedule that is
inaccurate on account of the occurrence of an event described in subsection (i). No supplement or
amendment to the Schedules shall (i) have any effect for purposes of the Buyer’s right to
indemnification or in determining satisfaction of the conditions set forth in Section 9.1(a) of this
Agreement, or (ii) in any way limit the Buyer’s exercise of its rights hereunder.

             (c)     The Parties acknowledge and agree that Buyer shall have the right to update
and amend in all respects Section 3.22 of the Disclosure Schedules regarding Devices prior to
Closing.

                                                   85
13208185-55
13208185-58
              Case 24-20576-CLC       Doc 29     Filed 10/13/24     Page 171 of 565




        11.9 Remedies Cumulative. Except as otherwise provided herein, all rights and
remedies of the Parties under this Agreement are cumulative and without prejudice to any other
rights or remedies under Law.

     11.10 Governing Law; Submission to Jurisdiction and Venue; WAIVER OF JURY
TRIAL.

                (a)     This Agreement, and all suits, actions and Proceedings that may be based
upon, arise out of, or relate to this Agreement or the negotiation, execution or performance of this
Agreement (including any claim or cause of action based upon, arising out of or related to any
representation or warranty made in or in connection with this Agreement or as an inducement to
enter into this Agreement), shall be governed solely by and construed in accordance with the
internal laws of the State of Delaware, without regard to its choice of law rules or conflict-of-law
principles; provided, however, that the provisions of Section 6.1 of this Agreement shall be
governed solely by and construed in accordance with the internal laws of the State of Florida,
without regard to its choice of law rules or conflict-of-law principles.

           (b)  ANY SUIT, ACTION OR PROCEEDING RELATING TO, ARISING
OUT OF OR BASED UPON THIS AGREEMENT, THE ANCILLARY AGREEMENTS OR
THE TRANSACTIONS CONTEMPLATED HEREBY OR THEREBY SHALL BE BROUGHT
OR OTHERWISE COMMENCED IN THE BANKRUPTCY COURT PROVIDED THAT THE
BANKRUPTCY CASES REMAIN PENDING OR THE BANKRUPTCY COURT HAS
RETAINED JURISDICTION, AND OTHERWISE IN THE STATE COURT OF THE STATE
OF DELAWARE LOCATED IN THE CITY OF WILMINGTON AND COUNTY OF NEW
CASTLE. EACH PARTY EXPRESSLY AND IRREVOCABLY SUBMITS TO THE
EXCLUSIVE JURISDICTION OF SUCH COURT IN CONNECTION WITH ANY SUCH
SUIT, ACTION OR PROCEEDING. SERVICE OF PROCESS, SUMMONS, NOTICE OR
OTHER DOCUMENT BY MAIL TO SUCH PARTY’S ADDRESS SET FORTH HEREIN
SHALL BE EFFECTIVE SERVICE OF PROCESS FOR ANY SUIT, ACTION OR OTHER
PROCEEDING BROUGHT UNDER THIS SECTION. THE PARTIES IRREVOCABLY AND
UNCONDITIONALLY WAIVE ANY OBJECTION TO PERSONAL JURISDICTION AND
THE LAYING OF VENUE OF ANY SUIT, ACTION OR ANY PROCEEDING IN SUCH
COURT AND IRREVOCABLY WAIVE AND AGREE NOT TO PLEAD OR CLAIM THAT
ANY SUCH SUIT, ACTION OR PROCEEDING BROUGHT IN ANY SUCH COURT HAS
BEEN BROUGHT IN AN INCONVENIENT FORUM.

          (c)  EACH PARTY HEREBY WAIVES, TO THE MAXIMUM EXTENT
PERMITTED BY APPLICABLE LAW, TRIAL BY JURY IN ANY PROCEEDING IN ANY
COURT WITH RESPECT TO, IN CONNECTION WITH OR ARISING OUT OF THIS
AGREEMENT, OR THE VALIDITY, PROTECTION, INTERPRETATION, COLLECTION OR
ENFORCEMENT.

        11.11 No Third Party Beneficiaries or Other Rights. Nothing herein shall grant to or
create in any person not a party hereto, or any such person’s dependents or heirs, any right to any
benefits hereunder, and no such party shall be entitled to sue any Party to this Agreement with
respect thereto. The representations and warranties contained in this Agreement are made for
purposes of this Agreement only and shall not be construed to confer any additional rights on the
                                                 86
13208185-55
13208185-58
              Case 24-20576-CLC       Doc 29     Filed 10/13/24     Page 172 of 565




Parties under applicable securities Laws. The Parties agree that no provision of this Agreement
shall create any third party beneficiary rights in any person or organization (including employees
or former employees of the Sellers, unions or other representatives of such employees or former
employees, or trustees, administrators, participants, or beneficiaries of any Plan) with respect to
any benefits that may be provided, directly or indirectly, under any Plan.

        11.12 Severability. If any other provision of this Agreement shall be determined to be
contrary to Law and unenforceable by any court of law, all other conditions and provisions of this
Agreement shall nevertheless remain in full force and effect so long as the economic or legal
substance of the transactions contemplated hereby are not affected in any manner materially
adverse to any Party. Upon such determination that any term or other provision is invalid, illegal
or incapable of being enforced, the Parties shall negotiate in good faith to modify this Agreement
so as to effect the original intent of the Parties as closely as possible in an acceptable manner to
the end that the transactions contemplated hereby are fulfilled to the extent possible.

        11.13 No Waiver. Any failure by any of the Parties hereto to comply with any of the
obligations, agreements or conditions set forth herein may be waived by the other Party or Parties;
provided, however, that any such waiver shall not be deemed a waiver of any other obligation,
agreement or condition.

         11.14 Appointment of Sellers’ Representative.

               (a)     The Sellers hereby agree and acknowledge that MB Medical Operations,
LLC, a Delaware limited liability company, shall act as an agent of the Sellers and is granted such
powers as are delegated under this Agreement, which shall include the power (i) to act as the
attorney-in-fact for each Seller and in connection with any right or obligation of the Sellers in
general pursuant to this Agreement or the Ancillary Agreements, all as deemed necessary and
appropriate with the advice of counsel, (ii) to give and receive notices and communications on
behalf of the Sellers under this Agreement or any other Ancillary Agreement, (iii) to waive
provisions of any such agreements and to amend any such agreements, (iv) to resolve any dispute
arising hereunder on behalf of each Seller, (v) to conduct, control and cooperate with respect to
the defense of the litigation on behalf of each Seller, (vi) to agree to, negotiate, enter into
settlements and compromises of, and demand arbitration and comply with orders of courts and
awards of arbitrators with respect to such claims on behalf of each Seller, (vii) to collect and
disburse funds, and (viii) to take all actions on behalf of each Seller necessary or appropriate in
the judgment of the Sellers’ Representative for the accomplishment of the foregoing and to
otherwise act on behalf of each of the Sellers with respect to any Ancillary Agreement and the
transactions contemplated hereby and thereby, each of which the Sellers has received, reviewed
and approved in their execution form.

                (b)    A decision, act, consent or instruction of the Sellers’ Representative in
accordance with Section 11.14(a) shall constitute a decision of all Sellers shall be final, binding
and conclusive upon each Seller, and Buyer may rely upon any decision, act, consent or instruction
of the Sellers’ Representative as being the decision, act, consent or instruction of each and every
Seller.


                                                87
13208185-55
13208185-58
              Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 173 of 565




               (c)     The Sellers’ Representative shall not be liable to the Sellers for any act done
or omitted as the Sellers’ Representative while acting in accordance with this Agreement and in
good faith and in the exercise of reasonable judgment, and any act done or omitted pursuant to the
written advice of counsel shall be conclusive evidence of such good faith.

                (d)    The Sellers’ Representative may resign by delivering written notice to the
Sellers with a copy to Buyer, at least thirty (30) days prior to the effective date of such resignation.
A majority of the Sellers may terminate the appointment of the Sellers’ Representative, by
delivering written notice thereto, with a copy to Buyer, which notice shall designate the effective
date of such termination not earlier than five (5) Business Days after Buyer’s receipt of such notice.
In the event of such resignation or termination, a successor Sellers’ Representative shall be
appointed by a majority of the Sellers and written notice of such appointment shall be delivered to
Buyer. After the appointment (or deemed appointment) of a Person as a successor Sellers’
Representative, all references to such Sellers’ Representative shall be deemed to include such
successor.

         11.15 No Requirement to Refer. Nothing in this Agreement will be construed to induce,
encourage, solicit, or reimburse the referral or anticipated referral of any patients or business,
including any patients or business funded in whole or part by a Government Program, or to limit
the freedom of any patient of Sellers or any of their Affiliates to choose the hospital, healthcare
facility, or physician from whom such patient will receive medical services. No payment made
under this Agreement will be in return for the referral or anticipated referral of patients or business,
including those paid in whole or part by a Government Program. The parties acknowledge that
none of the benefits granted to Sellers hereunder are conditioned on any requirement that any such
person or entity make referrals to, be in a position to make or influence referrals to, or otherwise
generate business for Buyer or any of its Affiliates.

        11.16 Releases. Subject to and effective as of the Closing, Buyer, on behalf of itself and
its Affiliates, administrators, successors, assigns, and representatives (the “Buyer Releasing
Parties”), hereby fully releases, discharges, and covenants not to sue any current director or officer
of any Seller or the members of the Special Committee, in each case, solely with respect to such
individual’s role as a director, officer, or member of the Special Committee (each, a “Release
Party”), as applicable, from any and all disputes, claims, controversies, demands, damages, rights,
obligations, judgments, causes of action, and liabilities, whether or not known, suspected or
claimed, arising directly or indirectly from (a) the operation of the Business prior to Closing, or
(b) the transactions contemplated by this Agreement; provided, that nothing contained in this
Agreement shall release, waive, discharge, relinquish or otherwise affect the rights or obligations
of any Buyer Releasing Party, with respect to (i) claims involving Fraud; (ii) any other claims that
Buyer Releasing Party ever had, now has, or may have against any Release Party arising out of
any commercial business activities or relationships unrelated to the transactions contemplated by
this Agreement; and (iii) any claims that any Buyer Releasing Party may have against any officer
of the Company for any loss or damage a Buyer Releasing Party may incur after Closing by reason
of continuing conduct that commenced during his or her role as an employee of any Seller.



               [Remainder of page left intentionally blank; signature page follows]
                                                88
13208185-55
13208185-58
           Case 24-20576-CLC       Doc 29      Filed 10/13/24       Page 174 of 565




               IN WITNESS WHEREOF, each of the Parties hereto has caused this Agreement
to be executed as of the date first above written.


BUYER:                             CONVIVA MEDICAL CENTER MANAGEMENT,
                                    LC
                                   LLC

                                    y
                                    y:
                                   By:

                                   Name: Renee J. Buckingham

                                   Title: President




                         [Signature Page to Asset Purchase Agreement]
   
                           Case     
                                24-20576-CLC         Doc 29   Filed 10/13/24    Page 175 of 565




                                                   SELLERS:

                                                   MB MEDICAL OPERATIONS, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   MB MEDICAL TRANSPORT, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   CARE CENTER NETWORK, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   CLINICAL CARE PHARMACY, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   CLINICAL CARE MEDICAL GROUP, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   FLORIDA FAMILY PRIMARY CARE CENTER, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer




             13312744-1
   
                           Case     
                                24-20576-CLC         Doc 29   Filed 10/13/24    Page 176 of 565




                                                   FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                                   PASCO, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                                   TAMPA, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                                   PINELLAS, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer


                                                   FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                                   ORLANDO, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   CCMC PHYSICIAN HOLDINGS, INC.


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   MIAMI MEDICAL & WELLNESS CENTER LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer



             13312744-1
   
                           Case     
                                24-20576-CLC         Doc 29   Filed 10/13/24    Page 177 of 565




                                                   MIAMI BEACH MEDICAL CENTERS, INC. F/K/A
                                                   RODOLFO DUMENIGO, M.D., P.A.


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer

                                                   MIAMI BEACH MEDICAL CONSULTANTS, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer


                                                   SELLERS’ REPRESENTATIVE:

                                                   MB MEDICAL OPERATIONS, LLC


                                                   By:
                                                   Name: Paul McBride
                                                   Title: President and Chief Executive Officer




             13312744-1
              Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 178 of 565




                                      Exhibit A

                                  Tangible Asset List




13208185-58
     Exhibit A | Tangible Asset List

     Category             Site / Location            Asset                                                            Purchase Price    Accumulated Depreciation        NBV             Purchase Date Approx*        Valuation Method   Debtor Name
     Autos                7500 SW 8TH ST             IN Motion Mobility- Chairlifts                                             $1,401                         -$1,401             $0                     3/31/2016 Straight-line       MB Medical Transport, LLC
     Autos                151 NW 11TH ST.            IN Motion Mobility- Chairlifts                                              $1,327                         -$1,327            $0                       4/1/2016 Straight-line      MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes Van 2020 - VIN 24000                                             $66,808                        -$53,190        $13,618                     8/24/2020 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes Van 2020 - VIN 23469                                             $66,808                        -$53,190        $13,618                     8/24/2020 Straight-line       MB Medical Transport, LLC
     Autos                                           Miami Banners, In Motion Mobility (wrapping, lift)                        $34,421                        -$19,505        $14,916                    11/30/2021 Straight-line       MB Medical Transport, LLC
     Autos                                           Miami Banners & Signs                                                     $14,392                         -$7,915         $6,476                    12/31/2021 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes - VIN 075761 --Maintenance Van                                   $57,840                        -$31,812        $26,028                    12/31/2021 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             2020 Ford Transit - VIN 08733 - Huntington                                $55,967                        -$30,782        $25,185                    12/31/2021 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             2019 Ford Transit - VIN 74047 - Huntington                                $50,417                        -$27,730        $22,688                    12/31/2021 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes Vin T080583                                                      $88,227                        -$47,055        $41,173                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes Vin T081229                                                      $88,259                        -$47,072        $41,188                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes Vin T077729                                                      $88,213                        -$47,047        $41,166                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes Vin T079666                                                      $88,227                        -$47,055        $41,173                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes Vin T080183                                                      $88,227                        -$47,055        $41,173                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes Vin T080182                                                      $88,227                        -$47,055        $41,173                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             Mercedes Vin T079355                                                      $88,213                        -$47,047        $41,166                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                                           MIAMI BANNERS & SIGNS - VIN 4047 and VIN 8733                              $4,494                         -$2,322         $2,172                     2/10/2022 Straight-line       MB Medical Transport, LLC
     Autos                                           In Motion Mobility - wheel chair installations (received Jun 202          $10,165                         -$5,421         $4,744                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                                           In Motion Mobility - wheel chair installations                            $10,165                         -$4,574         $5,591                      6/1/2022 Straight-line       MB Medical Transport, LLC
     Autos                                           WDZPE8DC2FP121938 - 2015 Mercedes                                          $8,267                         -$8,267             $0                     9/11/2020 Straight-line       MB Medical Transport, LLC
     Autos                                           1GTW7AFF7H1907518 - 2017 GMC                                              $11,840                        -$11,840             $0                     9/11/2020 Straight-line       MB Medical Transport, LLC
     Autos                                           3N1AB7AP4HY331042 - 2017 Nissan                                            $5,630                         -$5,630             $0                     9/11/2020 Straight-line       MB Medical Transport, LLC
     Autos                                           In Motion Mobility - Lifts                                                $20,330                        -$11,520         $8,810                    11/30/2021 Straight-line       MB Medical Transport, LLC
     Autos                                           South Dade Kia VIN 22126 - KIA Soul for Pharmacy                          $24,836                        -$12,832        $12,004                     2/11/2022 Straight-line       MB Medical Transport, LLC
     Autos                                           VIN 1GAWGFFGXJ1205259 2018 Chevy Express 2500 Passenge                    $19,450                        -$19,450             $0                      6/1/2021 Straight-line       MB Medical Transport, LLC
     Autos                                           MIAMI BANNERS & SIGNS                                                      $4,173                         -$7,915        -$3,742                      2/1/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST             William Lehman RV                                                        $131,459                      -$131,459              $0                    10/31/2017 Straight-line       MB Medical Transport, LLC
     Autos                1200 ALTON RD              LEXUS TRUCK                                                                     $0                              $0            $0                     11/5/2011 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              TOYOTA TRUCK                                                                    $0                              $0            $0                     11/9/2011 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              TOYOTA TRUCK                                                                    $0                              $0            $0                     4/30/2012 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              TOYOTA TRUCK                                                                    $0                              $0            $0                    12/19/2012 Straight-line       Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                                                          Case 24-20576-CLC




     Autos                1200 ALTON RD              TOYOTA VAN                                                                      $0                              $0            $0                     2/21/2013 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              TOYOTA VAN                                                                      $0                              $0            $0                     8/22/2013 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              TOYOTA VAN -removed Dec 23                                                      $0                              $0            $0                     9/20/2013 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              TOYOTA TRUCK - removed Dec 23                                                   $0                              $0            $0                      2/6/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              TOYOTA TRUCK - removed Dec 23                                                   $0                              $0            $0                     2/10/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              TOYOTA TRUCK                                                                    $0                              $0            $0                     3/10/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              TOYOTA TRUCK                                                                    $0                              $0            $0                     3/10/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              WILLISM LEHMAN                                                                  $0                              $0            $0                      5/6/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD              mobility works                                                                  $0                              $0            $0                     6/18/2015 Straight-line       Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                                                          Doc 29




     Autos                1200 ALTON RD              mobility works                                                                  $0                              $0            $0                     7/31/2015 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                7500 SW 8TH ST             2013 FORD E-350 VAN VIN-1DDA34298                                               $0                              $0            $0                      4/16/2014 Straight-line      Miami Medical & Wellness Center, LLC
     Autos                551 E 49TH ST.             2013 FORD E-350 VAN VIN-2DDA00855                                               $0                              $0            $0                      4/16/2014 Straight-line      Miami Medical & Wellness Center, LLC
     Computer Equipment   351 NW 42ND AVE            LEJUENE CAMERS                                                             $2,844                         -$2,844             $0                     7/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION - PCs                                                        $7,074                         -$6,308          $766                      2/28/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment                              SHI INTERNATIONAL CORP - Laptops                                           $7,551                         -$6,475         $1,077                     4/24/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION - COMPUTERS FOR UPGRADE & EXPANSION                         $12,567                        -$10,376         $2,191                     6/15/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             INSIGHT & PC CONNECTION - WESTCHESTER                                     $26,286                        -$20,928         $5,358                     8/26/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7291 West Atlantic Blvd.   PC CONNECTION - 20 COMP FOR DELRAY                                        $16,767                        -$13,349         $3,418                     8/24/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   2417 Hwy 98 N              PC CONNECTION - PCs THINKCENTRE FOR LAKELAND                              $16,265                        -$12,503         $3,762                    10/20/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment                              INSIGHT DIRECT USA, INC. - 10 LENOVO THINKCENTRE                          $10,544                         -$8,103         $2,441                     11/6/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment                              CC ACQUISITION                                                            $15,748                        -$13,000         $2,747                     9/11/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION SALES CORP - PCs for CC                                      $8,635                         -$6,332         $2,303                     1/21/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment                              PC CONN, INSIGHT, CORP AMEX FEB 2-28, 2020                                $14,080                        -$10,091         $3,989                     2/28/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             INSIGHT DIRECT & PC CONNECTION - MARCH PURCHASES                          $98,043                        -$68,630        $29,413                     3/25/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION SALES CORP                                                  $25,674                        -$17,544         $8,130                     4/19/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION & INSIGHT DIRECT USA                                         $5,582                         -$3,815         $1,768                     4/30/2021 Straight-line       MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                          Filed 10/13/24




     Computer Equipment   7500 SW 8th St             PC CONNECTION SALES CORP - Computers for CCN and Phar                     $27,371                        -$18,247         $9,124                     5/20/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION & INSIGHT DIRECT USA, DIVVY - (Jun Total)                   $48,174                        -$31,313        $16,861                     6/23/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment                              INSIGHT DIRECT USA, INC. AND DIVVY                                        $16,577                        -$10,499         $6,078                     7/24/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION, DIVVY, IPOWER, INSIGHT DIRECT (AUG Total)                  $84,453                        -$52,079        $32,374                     8/31/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION SALES CORP                                                  $32,778                        -$19,667        $13,111                     9/22/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment                              HP SWITCHES FFPCC LAPTOPS AND WIFI EQUIPMENT                              $20,501                        -$12,301         $8,200                     9/30/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             INSIGHT DIRECT, DIVVY, DELL, PC CONNECTIONS (Total Octobe                 $79,295                        -$46,256        $33,040                    10/29/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             INSIGHT DIRECT, DIVVY, PC CONNECTIONS (Total November)                    $83,479                        -$47,305        $36,174                    11/22/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION SALES CORP, DIVVY                                           $43,145                        -$23,730        $19,415                    12/30/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION SALES CORP                                                  $29,800                               $0       $29,800                     4/19/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   1200 ALTON RD              TELESPHERE SOLUTIONS-SECURITY CAMERAS ALTON RD                                $241                           -$241            $0                     2/27/2017 Straight-line       MB Medical Operations, LLC
     Computer Equipment   12550 Biscayne Blvd        NORTH MIAMI ACTIVITY CENTER TECH EQUIPMENT                                 $1,505                         -$1,505             $0                     1/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   12550 Biscayne Blvd        NORTH MIAMI CENTER TECH EQUIPMENT                                          $6,573                         -$6,573             $0                     1/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             INSIGHT DIRECT USA, INC. - LENOVO THINKCENTRE - DORAL                     $10,337                         -$7,581         $2,757                     1/20/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             QA DEPARTMENT COMPUTERS                                                    $1,922                         -$1,922             $0                    12/31/2017 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DORAL PHONES                                                               $1,247                         -$1,247             $0                     3/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DORAL EQUIPMENT                                                            $4,774                         -$4,774             $0                     3/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             LAPTOPS FOR NEW ADMINISTRATION                                             $1,833                         -$1,833             $0                     3/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             INSIGHT DIRECT USA; DIVVY, DELL BUSINESS                                  $58,986                        -$30,476        $28,510                     2/13/2022 Straight-line       MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                          Page 179 of 565




     Computer Equipment   7500 SW 8th St             INSIGHT DIRECT USA; DELL BUSINESS; PC CONNECTION                          $29,479                        -$14,740        $14,740                     3/15/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             INSIGHT DIRECT USA; DELL BUSINESS                                         $84,626                        -$40,903        $43,723                     4/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL, INSIGHT DIRECT, DIVVY                                               $51,963                        -$24,250        $27,714                     5/31/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             INSIGHT DIRECT USA, INC; PC CONNECTION SALES CORP; DELL                   $58,767                        -$26,445        $32,322                     6/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             PC CONNECTION, DELL, IPOWER                                               $37,242                        -$16,138        $21,104                     7/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS, PC CONNECTION                                             $103,195                        -$42,998        $60,197                     8/18/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS                                                              $3,020                         -$1,208         $1,812                     9/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS                                                              $3,083                         -$1,182         $1,901                    10/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS, PC CONNECTION                                              $15,341                         -$5,625         $9,716                    11/15/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS                                                              $2,934                         -$1,027         $1,907                    12/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS                                                              $3,002                         -$1,001         $2,001                     1/13/2023 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS, PC CONNECTION                                              $38,880                        -$12,312        $26,568                     2/13/2023 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS, PC CONNECTION                                              $13,291                         -$3,987         $9,304                     3/13/2023 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS, PC CONNECTION, INSIGHT                                     $26,138                         -$7,406        $18,732                     4/13/2023 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St             DELL BUSINESS                                                              $2,994                            -$798        $2,196                     5/13/2023 Straight-line       MB Medical Operations, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                      Page 1                                                                                                                                                        11.10.24
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,624       -$656    $1,968    6/13/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS, PC CONNECTION, INSIGHT                                  $48,600    -$11,340   $37,260    7/13/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS; JONAY ENTERPRISES (CONFERENCE ROOM IT UP                $33,217     -$7,197   $26,020    8/31/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS, INSIGHT, DIVVY                                          $20,595     -$4,119   $16,476    9/30/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS, INSIGHT                                                 $18,963     -$3,477   $15,486   10/13/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,614       -$436    $2,178   11/21/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              PC CONNECTION                                                          $33,061     -$4,959   $28,102   12/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,581       -$344    $2,237    1/13/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,603       -$217    $2,386    4/13/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,550        -$85    $2,465    9/13/2022 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,612        -$44    $2,568   10/13/2022 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              pc connection                                                               $0          $0        $0   12/20/2023 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   2459 HIGHWAY 98 N                           LAKELAND COMPUTER EQUIP                                                 $4,772     -$4,772        $0    3/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Equipment   2459 HIGHWAY 98 N                           LAKELAND COMPUTER EQUIP                                                 $4,858     -$4,858        $0    3/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Equipment   2459 HIGHWAY 98 N                           LAKELAND TV'S                                                           $2,188     -$2,188        $0    3/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Equipment   351 NW 42ND AVE                             LEJUENE ACTIVITY CENTER EQUIPMENT                                       $1,823     -$1,823        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   201 1st St S.                               WINTERHAVEN START UP COMPUTER EQUIP                                     $4,864     -$4,864        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   201 1st St S.                               WINTERHAVEN SECURITY CAMERAS                                            $1,480     -$1,480        $0   11/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   201 1st St S.                               PC CONNECTION - WINTERHAVEN - live in AUG                              $39,464    -$24,336   $15,128    7/26/2021 Straight-line    MB Medical Operations, LLC
     Computer Equipment   201 1st St S.                               INSIGHT DIRECT USA, INC. - WINTERHAVEN LIVE IN AUG                     $26,526    -$16,358   $10,168    7/29/2021 Straight-line    MB Medical Operations, LLC
     Computer Equipment   551 E 49TH ST.                              TELESPHERE SOLUTIONS- SECURITY CAMERAS HIALEAH                           $722        -$722        $0    2/21/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7291 West Atlantic Blvd.                    DELRAY STARTUP TECHNOLOGY EQUIPMENT                                     $4,895     -$4,895        $0   11/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7444 E. Palm River Rd., Tampa, FL., 33619   INSIGHT DIRECT USA, INC; PC CONNECTION SALES CORP                      $95,711    -$51,046   $44,665    1/24/2022 Straight-line    MB Medical Operations, LLC
     Computer Equipment   750 SOUTH FEDERAL HWY.                      HOLLYWOOD SECURITY CAMERAS                                              $1,718     -$1,718        $0   11/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   750 SOUTH FEDERAL HWY.                      HOLLYWOOD STARTUP TECHNOLOGY EQUIPMENT                                  $3,906     -$3,906        $0   12/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   750 SOUTH FEDERAL HWY.                      MT.SINAI                                                                $7,790     -$7,790        $0     4/1/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              WESTCHESTER SUITE 306 COMPUTER EQUIP                                    $3,362     -$3,362        $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              WESTCHESTER SUITE 201 COMPUTER EQUIP                                    $1,537     -$1,537        $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              SUITE 101 WESTCHESTER THERAPY COMPUTERS                                  $975        -$975        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              ARUBA ACCESS POINTS FOR ALL LOCATIONS                                   $1,431     -$1,431        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              COMPUTERS FOR ROOM 207 WESTCHESTER                                      $1,383     -$1,383        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              IT STAFF LAPTOPS                                                        $3,182     -$3,182        $0    11/8/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              ULTRASOUND DEPARTMENT COMPUTERS                                         $1,453     -$1,453        $0   12/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              INSIGHT DIRECT USA, INC. - LENOVO THINKCENTRE - WESTCTR                $10,233     -$7,505    $2,729     1/5/2021 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              PC CONNECTION - POWER EDGE SERVERS                                     $12,520    -$11,630     $891    12/15/2019 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                           Case 24-20576-CLC




     Computer Equipment   701 NW 27th Ave                             TRANSFER FROM WIP MIAMI 27TH PC CONNECTION                             $24,216    -$10,090   $14,126    8/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Equipment   9611 BIRD RD                                TELESPHERE SOLUTIONS-SECURITY CAMERAS BIRD RD                            $481        -$481        $0    2/27/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   9611 BIRD RD                                NEW BIRD ROAD ACTIVITY CENTER COMPUTER EQUIPMENT                        $2,140     -$2,140        $0    11/7/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   9611 BIRD RD                                BIRD RD SECURITY CAMERAS                                                $3,143     -$3,143        $0    3/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Equipment   FFPCC Locations (Tampa)                     JE - GULF TRUE UP - 06/30/21                                           $78,913    -$51,293   $27,620    8/31/2021 Straight-line    MB Medical Operations, LLC
     Computer Equipment                                               Desktop, server, monitors                                               $8,406     -$6,623    $1,783    9/11/2020 Straight-line    Clinical Care Pharmacy, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS; DIVVY (IPADS)                                            $7,871       -$787    $7,084    3/31/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS; DIVVY (IPADS)                                            $9,247       -$616    $8,630    5/31/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS; DIVVY (IPADS)                                           $11,958       -$598   $11,361    6/30/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   1200 ALTON RD                               MEDICAL SOFTWARE                                                        $7,132          $0        $0   10/18/2006 Straight-line    Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                           Doc 29




     Computer Equipment   1200 ALTON RD                               MEDICAL SOFTWARE                                                       $16,842          $0        $0    6/30/2008 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                           $5,558          $0        $0   12/31/2010 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                           $1,277          $0        $0    3/17/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                           $4,630          $0        $0    7/28/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                           $3,855          $0        $0    9/16/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                            $578           $0        $0   11/30/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               COMPUTER EQUIPMENT                                                                      $0        $0     7/1/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               COMPUTER EQUIPMENT(TIGERDIRECT)                                         $1,434          $0        $0    2/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               COMPUTER EQUIPMENT(TIGERDIRECT)                                          $654           $0        $0    7/17/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   151 NW 11TH ST.                             PATTERSON DENTAL SOFTWARE                                               $2,410          $0        $0    10/3/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   151 NW 11TH ST.                             AUTOMATED BUSINESS MACHINES                                              $740           $0        $0   10/31/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL                                                                    $1,038          $0        $0    1/24/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               SATURN WIRELESS                                                         $1,296          $0        $0     3/3/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               PAYCHEX(4 BIOMETRICS)                                                  $11,792          $0        $0    5/16/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               STAPLES                                                                 $1,043          $0        $0    6/13/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               STAPLES                                                                 $1,131          $0        $0    11/4/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               staPLES                                                                 $2,193          $0        $0     3/2/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                           Filed 10/13/24




     Computer Equipment   1200 ALTON RD                               Jose Sanchez Computer                                                    $490        -$490        $0    9/15/2016 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   7500 SW 8TH ST                              TELESPHERE                                                                  $0          $0        $0     2/21/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   551 E 49TH ST.                              TELESPHERE                                                                  $0          $0        $0     2/21/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   551 E 49TH ST.                              STAPLES                                                                     $0          $0        $0      5/1/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   551 E 49TH ST.                              TELESPHERE                                                                  $0          $0        $0      5/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   7500 SW 8TH ST                              TELESPHERE                                                                  $0          $0        $0      5/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   7500 SW 8TH ST                              TELESPHERE                                                                  $0          $0        $0     11/1/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   551 E 49TH ST.                              TELESPHERE                                                                  $0          $0        $0     9/18/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Software    7500 SW 8th St                              McKesson -Westchester Key Holter IQMark                                $16,453    -$16,453        $0    9/11/2020 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              PC CONNECTION SALES CORP (added to schedule in Aprl)                    $5,122     -$5,122        $0     1/1/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              Tranfer Nextgen from WIP to Software, system went live in April       $569,815   -$569,815        $0    4/30/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              IPOWER TECHNOLOGIES - Connectwise Downpymt (LIVE IN JU                $141,294   -$141,294        $0    4/23/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              IPOWER TECHNOLOGIES - May Total - (LIVE IN JUN)                        $39,428    -$39,428        $0     5/4/2021 Straight-line    MB Medical Operations, LLC
     Computer Software                                                PROPHECY AMERICAS INC                                                  $10,668    -$10,668        $0    5/13/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC (total June)                                   $869,036   -$869,036        $0     6/1/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              NEXTGEN HEALTHCARE INC and I POWER (total AUG)                        $405,199   -$405,199        $0    8/31/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              CareOptimize                                                          $729,589   -$689,056   $40,533   11/30/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              CareOptimize                                                           $38,203    -$35,019    $3,184   11/30/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                           Page 180 of 565




     Computer Software    7500 SW 8th St                              PC CONNECTION SALES CORP                                               $37,268     -$3,106   $34,162    4/19/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              PC CONNECTION SALES CORP                                               $23,220     -$1,290   $21,930    4/19/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              CALL CENTER CALL SOFTWARE                                               $1,040     -$1,040        $0    1/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              RSA Security Licensing                                                 $19,058    -$19,058        $0    1/13/2020 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                 $78,751    -$78,751        $0     8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                  $1,833     -$1,833        $0     8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                 $86,693    -$84,284    $2,408     8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              Intersoft                                                             $495,485   -$495,485        $0    1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              Intersoft                                                              $43,200    -$43,200        $0    1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              CareOptimize; PC CONNECTION SALES CORP                                 $91,132    -$81,006   $10,126    1/25/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                      $0          $0        $0     8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              INTERSOFT                                                             $123,200   -$123,200        $0    1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              INTERSOFT                                                              $40,000    -$40,000        $0    1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                      $0          $0        $0     8/2/2022 Straight-line    MB Medical Operations, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                        Page 2                                                                                                       11.10.24
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $87,360    -$87,360         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $85,200    -$85,200         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $87,360    -$87,360         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $91,520    -$91,520         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            AANEEL APR 2022 CONSULTING                                               $70,932    -$57,140    $13,792      6/1/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            AANEEL MAY 2022 CONSULTING                                               $56,254    -$45,003    $11,251      6/1/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC, IPOWER                                           $77,983    -$56,321    $21,662     7/24/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $87,360    -$87,360         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            AANEEL JUNE 2022 CONSULTING                                              $68,805    -$52,616    $16,189      7/1/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$20,833     $9,167      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $91,520    -$91,520         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                 $5,280          $0     $5,280     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$20,000    $10,000      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                 $4,560          $0     $4,560     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$19,167    $10,833      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$18,333    $11,667      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                 $5,040          $0     $5,040     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$17,500    $12,500      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                 $5,280          $0     $5,280     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            AANEEL                                                                   $98,649    -$54,805    $43,844    12/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TECKPERT                                                                  $7,975     -$4,209     $3,766     2/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $50,500    -$25,250    $25,250      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TECKPERT                                                                  $3,816     -$1,590     $2,226     2/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TECKPERT                                                                 $17,819     -$5,445    $12,374     2/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TECKPERT                                                                  $6,500     -$1,806     $4,694     2/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TRANSFER FROM WIP AANEEL AND DATABRIDGE                                  $43,630    -$14,543    $29,087     9/30/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8TH ST                            01/14/2020 Core Licensing                                                $15,917    -$15,917         $0      2/1/2020 Straight-line    MB Medical Operations, LLC
     Computer Software      9611 BIRD RD                              AANEEL CARE IMPLEMENTATION - ONE TIME                                    $50,000    -$40,278     $9,722      6/1/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th ST                            Lightbeam                                                                $63,740          $0    $63,740                Straight-line   MB Medical Operations, LLC
     Computer Software      1200 ALTON RD                             goverlain                                                                     $0          $0         $0     3/15/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Software      9611 BIRD RD,                             scoPE                                                                      $963           $0         $0    10/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Software      9611 BIRD RD,                             scOPE                                                                      $963           $0         $0     11/1/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Fitness Equipment      2459 HIGHWAY 98 N                         MASSAGE CHAIRS FOR LAKELAND                                               $2,056     -$2,056         $0     3/31/2018 Straight-line    MB Medical Operations, LLC
     Fitness equipment      1200 ALTON RD                             DEKOGARLEY GROUP(FITNESS EQUIPMENT)                                       $1,800          $0         $0      9/3/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Fitness Equipment      7500 SW 8TH ST                            FITNESS EQUIPMENT                                                             $0          $0         $0       3/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
                                                                                                                                                                                                                                                               Case 24-20576-CLC




     Fitness Equipment      7500 SW 8TH ST                            FITNESS EQUIPMENT                                                             $0          $0         $0      6/23/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                         $0          $0         $0      2/10/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                         $0          $0         $0      2/10/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            SCOPE                                                                         $0          $0         $0      2/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            SCOPE                                                                         $0          $0         $0      2/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                         $0          $0         $0      2/18/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            SCOPE                                                                         $0          $0         $0      2/28/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            OPTHALMIC EQUIPMENT                                                           $0          $0         $0       3/3/2014 Straight-line   Miami Medical & Wellness Center, LLC
                                                                                                                                                                                                                                                               Doc 29




     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                          $0          $0         $0      3/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            SCOPE                                                                          $0          $0         $0     3/10/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            OPTIMETRICS                                                                    $0          $0         $0     3/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           2005 TXR325 XRAY SYSTEM                                                        $0          $0         $0     3/18/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                          $0          $0         $0     4/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            PATTERSON                                                                      $0          $0         $0     4/23/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            DENTAL EQUIPMENT                                                               $0          $0         $0      5/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            TQ SOLO LASER                                                                  $0          $0         $0     8/28/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            MEDICAL EQUIPMENT                                                          $1,926          $0         $0     7/28/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            MEDICAL EQUIPMENT                                                          $1,386          $0         $0     8/26/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            McKesson Medical                                                             $185       -$185         $0      7/1/2016 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            Scope Group                                                                $1,907     -$1,907         $0     1/23/2017 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            Medline - holter digital recorder                                          $4,808     -$4,808         $0     9/18/2019 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            Exam Table                                                                 $2,122     -$1,892       $230     2/25/2020 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            Samuell Medical (exam table, medical recliner,wall otoscp/ophtal)          $9,675     -$7,988     $1,687     6/19/2020 Straight-line   Miami Medical & Wellness Center, LLC
                                                                                                                                                                                                                                                               Filed 10/13/24




     Furniture & Fixtures                                             FURNITURE FOR ALL CENTERS                                                 $10,395    -$9,655       $739    12/31/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures                                             WATER FOUNTAINS FOR ALL NEW CENTER                                         $1,631    -$1,515       $116    12/31/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures                                             CC ACQUISITION                                                            $35,831   -$20,718     $15,113    9/11/2020 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   1214 ALTON RD                             ALTON RD CONFERENCE ROOM                                                   $2,736    -$2,651         $84   10/31/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            EXECUTIVES DESK (GLADYS, IRENE, JOSE)                                      $2,063    -$1,999         $63   10/31/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            CUBICULES FOR CALL CENTER                                                  $2,493    -$2,315       $178      1/4/2018 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            DIVVY - FURNITURE & FIXYURES FOR NEW PHARMACY                             $21,646          $0    $21,646    7/15/2021 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            OFFICE FURNITURE WAREHOUSE OF MIAMI (DORAL)                               $23,071    -$9,613     $13,458   10/21/2021 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            OFFICE FURNITURE WAREHOUSE OF MIAMI (DORAL)                               $13,871    -$5,614      $8,256   11/17/2021 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   2459 HIGHWAY 98 N                         FURNITURE FOR POLK COUNTY                                                  $5,615    -$4,909       $706     3/31/2018 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   201 1st St S.                             ACTIVITY CENTER CHAIRS FOR WINTERHAVEN                                     $1,464    -$1,419         $45    11/4/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   551 E 49TH ST.                            DIVVY - EXECUTIVE CHAIRS EAST HIALEAH, TRANSFER FROM WIP                  $28,388    -$8,787     $19,602    7/31/2022 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   6726-6726A Hanley Rd., Tampa FL., 33634   DIVVY - EXECUTIVE CHAIRS, DESKS                                           $15,134    -$4,865     $10,270    6/30/2022 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8TH ST                            WESTCHESTER WORKSTATION CABINETS                                           $2,986    -$2,986          $0    3/16/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8TH ST                            DES MEDICAL EQUIPMENT AND SERVICES-                                        $1,977    -$1,977          $0    3/16/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8TH ST                            HAYNEEDLE- CHAIRS FOR WESTCHESTER SUITE 201                                $1,262    -$1,262          $0    7/10/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8TH ST                            CHAIRS FOR WESTCHESTER LOBBY                                               $1,667    -$1,667          $0    9/10/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   9611 BIRD RD                              BIRD ROAD ACTIVITY CENER CHAIRS                                            $2,051    -$1,946       $105    11/16/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   FFPCC LOCATIONS                           JE - GULF TRUE UP - 06/30/21                                              $44,241   -$20,540     $23,701    8/31/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                               Page 181 of 565




     Furniture & Fixtures                                             To record disposal of pharmacy F&F sold Aug 22                           -$21,646          $0   -$21,646               Straight-line   MB Medical Operations, LLC
     Furniture & Fixtures   1200 ALTON RD                             GALLERY INTERIORS                                                          $1,479          $0         $0    7/21/2010 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             DRAWINGS PAINTINGS                                                                         $0         $0   12/31/2010 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             UAS OFFICE FURNITURE                                                       $187            $0         $0     8/2/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             PATIO AND THINGS                                                          $4,206           $0         $0    8/22/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             PATIO AND THINGS                                                          $4,205           $0         $0    9/28/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             WALL UNIT                                                                  $637            $0         $0    6/18/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             USA OFFICE FURNITURE                                                      $1,804           $0         $0    9/19/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             2 DESKS AND 2 FILED CABINETS                                              $4,395           $0         $0    10/5/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             USA OFFICE FURNITURE                                                      $3,144           $0         $0   12/24/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             OFFICE DEPOT METAL CABINET                                                 $633            $0         $0     3/8/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             Y&T PLUMBING                                                              $3,120           $0         $0    3/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             OPTOMETRY RACKS                                                            $815            $0         $0     4/8/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             FDI SALON(FURNITURE FOR MED CENTER SALON)                                 $1,224           $0         $0    4/11/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                           Page 3                                                                                                        11.10.24
     Furniture & Fixtures 1200 ALTON RD               belson outdoors                                                          $159        -$159         $0    3/27/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 7500 SW 8TH ST              fuRNITURE & FIXTURES                                                     $170        -$170         $0    9/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 1200 ALTON RD               fuRNITURE & FIXTURES                                                     $245        -$245         $0    9/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 7500 SW 8TH ST              fuRNITURE & FIXTURES                                                     $245        -$245         $0    9/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 7500 SW 8TH ST              fuRNITURE & FIXTURES                                                     $186        -$186         $0   10/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 9611 BIRD RD,               fuRNITURE & FIXTURES                                                     $370        -$370         $0   10/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 1200 ALTON RD               SIGN                                                                    $4,500          $0         $0    3/17/2010 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 7500 SW 8TH ST              REFACE EXPERTS                                                            $227       -$227         $0     4/20/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Furniture & Fixtures 7500 SW 8TH ST              REFACE EXPERTS                                                            $232       -$232         $0      5/8/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Furniture & Fixtures 7500 SW 8TH ST              REFACE EXPERTS                                                            $235       -$235         $0    12/14/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Furniture & Fixtures 7500 SW 8TH ST              REFACE EXPERTS                                                            $189       -$189         $0     1/15/2016 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvemen 151 NW 11th St.             PURE AIR - THERAPY AREA RELOCATE EXSITING A/C                           $3,653     -$1,494     $2,159     2/4/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              PRONTO WASTE - WESTCTR 3RD FL RENOVATION                                $1,674       -$666     $1,007    4/28/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           FERGUSON ENTERPRISES (05/06/20)                                          $561        -$219      $341     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           FERGUSON ENTERPRISES (05/06/20)                                          $332        -$130      $202     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           H&M KITCHEN (05/06/20)                                                 $16,658     -$6,515    $10,144    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           PRONTO WASTE SERVICES (05/13/20)                                         $426        -$167      $259     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           FOREVER SIGNS (for bird rd Sculpture) - Cr in Sept 2020 - $1690         $7,649     -$3,019     $4,630    5/15/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           L&W SUPPLY #32181 (05/20/20)                                             $932        -$364      $567     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           BANNER SUPPLY #32181 (05/20/20)                                         $2,541       -$994     $1,547    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           F.P.G HOME DESIGN CENTER #32181 (05/20/20)                               $232         -$91      $141     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           Home Depot Tck#32181 (from April 20)                                    $1,049       -$410      $639     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           Kilowatts & Contractor Electrical Tck#32181 (05/21/20)                  $3,079     -$1,204     $1,875    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           LEAD ENTERPRISES #32181 (05/20/20)                                      $1,784       -$698     $1,087    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           KITCHENSBATHS/ MASTER REN/ L&W/ MAIRATA/ ABOVE INT TCK#                 $9,409     -$3,680     $5,729    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7921 West Atlantic Ave      CMG PRODUCTIONS - SIGNAGE DELRAY                                        $7,079     -$2,720     $4,359    9/10/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.              FOREVERSIGNS - CHANNEL LETTERS HIALEAH & BIRD                          $14,232     -$5,268     $8,558    9/15/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd.        H&M KITCHEN - CABINETS FOR N. MIAMI WORKORDER 1132                      $8,329     -$3,173     $5,155    10/7/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 SW 40th St.            FOREVER SIGNS - MONUMENT SIGN FOR BIRD                                  $9,204     -$3,477     $5,726   10/20/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th ST              CC ACQUISITION                                                        $331,077   -$135,495   $195,583    9/11/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           DRAGUISA LLC - MiaBeach front entrance renovation                      $11,337     -$4,580     $6,758    8/31/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 11200 West Flagler St.      H&M KITCHEN - ORDER 1526 FOR CC SWEETWATER                             $17,100     -$6,270    $10,830    1/18/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 11200 West Flagler St.      RICKY'S ELECTRICAL SYSTEMS, INC. - 14 CAMERA CATSE SWEETW               $5,902     -$2,164     $3,738    1/21/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 11200 West Flagler St.      GEK TIMBER & H&M KITCHEN - NM and Sweetwater                            $9,579     -$3,353     $6,226    3/22/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                            Case 24-20576-CLC




     Leasehold Improvemen 1200 ALTON RD               1214 ALTON RD CLINICAL SUITES                                          $47,052    -$26,554    $20,498    7/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1200 ALTON RD               PURE AIR & TWO BRO SECURITY SOLUTIONS (Total June)                     $38,479    -$12,506    $25,973    6/22/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               1214 ALTON RD SUITE 205 A/C UNIT                                        $8,880     -$4,948     $3,932    8/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               ALTON CONFERENCE ROOM                                                   $9,287     -$5,049     $4,238   10/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               H&M KITCHEN                                                             $1,500       -$213     $1,288    4/19/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               TRANSFER FROM WIP MIAMI BEACH - ALTON ROAD APTS                        $75,075    -$10,636    $64,439    4/30/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               MOWREY ELEVATOR - ALTON (TRANSFER FROM WIP)                            $10,340     -$1,120     $9,220    8/31/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               H&M KITCHEN                                                             $6,450       -$430     $6,020     1/3/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               ASAP FIRE SPRINKLER PROTECTION LLC and H&M KITCHEN                     $11,692       -$487    $11,205    4/24/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               INSTALL STRUCTURAL STEEL REINFORCED-DRAGUISA LLC                        $2,869     -$1,279     $1,590     5/7/2019 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                            Doc 29




     Leasehold Improvemen 1214 ALTON RD               ALTON SALON                                                             $2,263       -$970     $1,293    8/31/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              HERNANDEZ NATIONAL PAINTING, INC. - EXTERIOR PAINT                     $24,325    -$10,327    $13,998    10/7/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               ALTON SALON - FROM WIP 10/31/19                                         $1,035       -$444      $592     8/31/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               HERNANDEZ NATIONAL PAINTING, INC. - EXTERIOR PAINT                     $15,721     -$6,550     $9,170   11/28/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         BISCAYNE CENTER SECOND FLOOR                                           $70,041    -$42,777    $27,264    1/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         NORTH MIAMI BUILDOUT                                                  $540,234   -$325,483   $214,751    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         NORHT MIAMI PARKING LOT                                                 $4,545     -$2,738     $1,807    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         PURE AIR, RICKY'S ELECTRICAL SYSTEMS, INC, H&M KITCHEN                 $46,300    -$13,118    $33,182   11/22/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         PURE AIR SERVICES INC - dental office TCK#22140                         $2,906     -$1,270     $1,636     7/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         PURE AIR SERVICES INC - activity center TCK#28241                       $3,248     -$1,420     $1,829     7/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         CONTRACTORS ELECTRICAL - TCK#22140                                      $1,368       -$592      $776     7/19/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         CONTRACTORS ELECTRICAL - TCK#28241                                      $1,368       -$592      $776     7/19/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12615/12625 W. Dixie Hwy.   PURE AIR, RICKY'S ELECTRICAL SYSTEMS, VICO CONTRACTORS,               $365,531   -$100,521   $265,010   12/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1303 S SEMORAN BLVD         TRANSFER FROM WIP ORLANDO                                             $283,903    -$63,878   $220,024    6/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1303 S SEMORAN BLVD         TRANSFER FROM WIP ORLANDO                                              $78,941    -$16,446    $62,495    6/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1303 S SEMORAN BLVD         TRANSFER FROM WIP ORLANDO                                              $15,200     -$3,800    $11,400    6/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1303 S SEMORAN BLVD         TRANSFER FROM WIP ORLANDO                                             $135,354    -$28,199   $107,155    6/30/2022 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                            Filed 10/13/24




     Leasehold Improvemen 7500 SW 8th St              DORAL- 4TH FLOOR                                                       $30,183    -$15,468    $14,716    3/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              DORAL 5TH FLOOR EXECUTIVES & BACKOFFICE STRUCTURING                    $79,161    -$40,106    $39,056    4/30/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              RICKY'S ELECTRICAL; HUGO AWNINGS, HANLEY MED CENTER EX                 $37,773     -$7,869    $29,904    8/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              PURE AIR SERVICING                                                     $18,050     -$2,858    $15,192    2/25/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              PURE AIR SERVICING                                                      $9,800     -$1,307     $8,493    2/25/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              TRANSFER FROM WIP GATE AT CORPORATE VISITOR LOT                         $6,417     -$1,390     $5,027    7/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              UNIFIED AUTOMATION - CONFERENCE ROOM                                   $10,482     -$4,450     $6,032    10/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              UNIFIED AUTOMATION - CONFERENCE ROOM                                     $461        -$192      $269     10/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42nd Ave.            GARCES METRO ZOO X-RAY ROOM BUILDOUT                                    $2,266     -$1,295      $971     6/30/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42nd Ave.            GARCES METRO ZOO X-RAY ROOM WALL PANELS                                 $2,357     -$1,347     $1,010    6/30/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42nd Ave.            GARCES METRO ZOO CEILING & LIGHTING FOR RECEPTION AR                    $2,543     -$1,435     $1,108    7/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 151 NW 11TH ST.             TWO BRO SECURITY & IT SOLUTIONS LLC                                     $5,390     -$1,842     $3,549    4/22/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 151 NW 11TH ST.             RICKY'S ELECTRICAL, TWO BRO SECURITY, HOME DEPOT, DIVVY                $26,840     -$7,157    $19,683    1/27/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 151 NW 11TH ST.             TRANSFER FROM WIP HOMESTEAD TILES                                      $27,545     -$1,377    $26,168    3/31/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 18590 NW 67TH AVE # 101     2BRO SECURITY & RICKY'S ELECTRICAL, PURE AIR, DIVVY, H&M K             $40,777    -$11,893    $28,884    10/8/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 18590 NW 67TH AVE # 101     TRANSFER FROM WIP MIAMI LAKES DENTAL                                   $27,676     -$4,382    $23,294    2/28/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               TRANSFER FROM WIP VICO STE 401 COMPLETED AUG 2021                       $7,608     -$2,346     $5,262    8/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               TRANSFER FROM WIP MAROCEF STE 420 COMPLETED OCT 2021                   $21,275     -$6,205    $15,070   10/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               RECLASSES FROM R&M TO LH IMPROVEMENTS (PHARMACY, WI                    $22,470     -$6,928    $15,541    8/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               TRANSFER FROM WIP WINTERHAVEN SUITE 102 BUILDOUT                       $75,493    -$20,761    $54,732   12/17/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                            Page 182 of 565




     Leasehold Improvemen 2417 Hwy 98 N               OLIVERA CONSTRUCTION INC - PREP sub lease                              $40,733    -$17,802    $22,931     7/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 2417 Hwy 98 N               OLIVERA CONSTRUCTION INC - PREP sub lease                              $17,746     -$7,756     $9,991     7/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 2455 N ROAD 98              ACTIVITY CENTER LAKELAND - FROM WIP 10/31/19                            $4,468     -$1,934     $2,534    7/31/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 2459 Hwy 98 N               LAKELAND                                                              $213,084   -$126,646    $86,438    3/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 2459 Hwy 98 N               SIGNAGE FOR LAKELAND BUILDING                                           $7,840     -$4,539     $3,300    5/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42ND AVE             GARCES LEJUENE X-RAY ROOM BUILDOUT/ WALL PANELS                         $3,889     -$2,194     $1,695    7/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42ND AVE             ACTIVITY CENTER LEJUENE SUITE 315                                      $61,266    -$33,305    $27,961   10/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42ND AVE             LEJUENE SUITE 503 BUILDOUT                                             $50,769    -$29,019    $21,750    6/30/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               WINTERHAVEN FACILITY UPDATES                                            $5,149     -$3,102     $2,047    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               WINTERHAVEN DENTAL ROOM STRUCTURE                                       $5,882     -$3,544     $2,338    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               CYPRESS SIGNS- CENTER SIGNAGE                                           $7,258     -$4,373     $2,885    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.              2BRO SECURITY & IT - CAMERA INSTALLATION                                $5,798     -$2,534     $3,264    6/25/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.              H & M KITCHEN - CABINETS ACTIVITY CENTER TCK#28149                      $6,407     -$2,773     $3,634    7/22/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49 st                 ABC AWNINGS - FOR HIALEAH                                              $12,805     -$5,543     $7,263    7/26/2019 Straight-line    MB Medical Operations, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                        Page 4                                                                                                        11.10.24
     Leasehold Improvemen 551 E 49 st                               New Elevator Cab @ Hialeah                                            $4,514     -$1,935        $2,579    8/20/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49 st                               ACTIVITY CENTER HIALEAH - FROM WIP 10/31/19                           $6,934     -$2,944        $3,990    9/30/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.                            CONTRACTORS ELECTRICAL SERVICES INC - CAMERAS                         $2,112        -$888       $1,223   10/15/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49 st                               CONTRACTORS ELECTRICAL SERVICES INC - CAMERAS                          $845         -$355        $489    10/15/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.                            H&M KITCHEN                                                           $5,110     -$2,129        $2,981   12/13/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49 st                               H&M KITCHEN                                                           $3,300           $0       $3,300   12/13/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49TH ST.                            HIALESH SUITE 9,10,11                                                $25,972    -$13,785       $12,187   12/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49TH ST.                            HIALEAH ELEVATOR                                                      $3,204     -$1,701        $1,503   12/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49TH ST.                            AIR UNIT HIALEAH                                                      $2,881     -$1,647        $1,235     7/1/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49TH ST.                            MOWREY ELEVATOR - HIALEAH DOOR OPERATOR                               $2,783     -$1,204        $1,578    7/29/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   TWO BROS SECURITY; HUGO AWNINGS; LILESMAR, YOTTA SKY; R            $299,449     -$77,358     $222,092     2/28/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   PURE AIR                                                              $6,800     -$1,587        $5,213     5/6/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   RICKY'S ELECTRICAL SYSTEMS, PURE AIR, LILESMAR, TRANSFER FR        $572,011    -$123,936     $448,075     7/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   PURE AIR                                                             $12,600     -$2,205       $10,395     5/6/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   PURE AIR                                                              $6,480        -$486       $5,994     5/6/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   PURE AIR SERVICING, INC.                                              $5,400        -$180       $5,220     5/2/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7291 West Atlantic Blvd.                  DELRAY DENTAL ROOM STRUCTURING FOR EQUIPMENT                          $4,720     -$2,769        $1,951    4/30/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7291 West Atlantic Blvd.                  DL WALKER CONSTRUCTION GROUP INC - DELRAY RENOVATIO                   $9,255     -$3,471        $5,785   12/28/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7453, 7455, 7495 N. University Dr.        RECLASSES FROM R&M TO LH IMPROVEMENTS (TAMARAC)                      $19,610     -$5,556       $14,054   11/30/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7453, 7455, 7495 N. University Dr.        TRANSFER FROM WIP TAMARAC DENTAL/OPTICAL BUILDOUT                  $120,117     -$35,034       $85,083   10/21/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7463 State Road 52, Hudson, FL 34667      TRANSFER FROM WIP TO LH HUDSON DENTAL PROJECT                      $225,539     -$43,228     $182,311    10/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7463 State Road 52, Hudson, FL 34667      TRANSFER FROM WIP HUDSON MEDICAID                                    $20,708     -$2,416       $18,292    7/31/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7495 N. UNIVERSITY DR                     TWO BRO SECURITY & IT SOLUTIONS LLC                                  $15,869     -$5,025       $10,844    7/22/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7495 N. UNIVERSITY DR                     RICKY'S ELECTRICAL; TWO BROS SECURITY                                $18,410     -$4,602       $13,807    3/11/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7495 N. UNIVERSITY DR                     TRANSFER FROM WIP TAMARAC RENOVATIONS                                $13,495     -$1,912       $11,583    4/30/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 750 SOUTH FEDERAL HWY.                    HOLLYWOOD BUILDOUT                                                   $59,297    -$34,334       $24,963    5/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 750 SOUTH FEDERAL HWY.                    HOLLYWOOD MONUMENTAL SIGN                                            $12,157     -$6,861        $5,296    7/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 750 SOUTH FEDERAL HWY.                    RICKY'S ELECTRICAL SYSTEMS; LILESMAR, HOME DEPOT, DIVVY,          $1,746,895   -$393,051    $1,353,844    6/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            MIAMI FLOORING & DESIGN INC                                           $3,085     -$1,859        $1,226    2/27/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            DORAL TILES                                                           $3,951     -$2,349        $1,602    3/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER QA OFFICE                                                 $5,666     -$3,370        $2,296     4/1/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER HR OFFICE                                                 $7,465     -$4,322        $3,143    5/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER SUITE 201, ORTHOPEDIC, CARDIOLOGY, ULTRASO               $29,268    -$16,726       $12,541    6/30/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER SUITE 304 CALL CENTER & TELEMARKETING                    $24,559    -$13,685       $10,875    8/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESCHESTER SUITE 306-308 CLINICAL SPACE                              $91,408    -$50,305       $41,104    9/30/2017 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                 Case 24-20576-CLC




     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER PENTHOUSE                                              $144,393     -$88,187       $56,206    1/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER SUITE 303                                                $40,044    -$24,457       $15,588    1/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            TILING FOR ALL OF WESTCHESTER                                         $8,206     -$4,944        $3,262    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER FRONT DESK INSTALLATION                                   $2,664     -$1,584        $1,081    3/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER SUITE 206+208 DOUGLAD MOVE CLINCAL                     $109,914     -$64,479       $45,435    4/30/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            OTC BUILD                                                             $4,764     -$2,688        $2,075    7/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            ASAP FIRE SPRINKLER PROTECTION LLC - NEW PUMP -WESTR/ PA             $25,879     -$9,489       $16,390    1/19/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            2 BRO, PURE AIR, VICO (Total Sept)                                   $39,161    -$11,748       $27,413    9/28/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            ASAP FIRE SPRINKLER PROTECTION LLC - NEW PUMP -WESTR/ PA              $6,265     -$1,149        $5,116    1/19/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            TRANSFER FROM WIP WESTCHESTER FIRE SPRINKLER PROJECT                 $36,031     -$6,005       $30,025    1/31/2023 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                 Doc 29




     Leasehold Improvemen 7500 SW 8TH ST                            TRANSFER FROM WIP WESTCHESTER DENTAL                               $193,884     -$14,541     $179,342    12/31/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            CONTRACTORS ELECTRICAL                                                $2,540     -$1,110        $1,430    6/19/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            AC Unit #1 for Hialeah Activity Center                                $2,969     -$1,285        $1,684     8/2/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            AC Unit #2 for Hialeah Activity Center                                $4,022     -$1,741        $2,282     8/2/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                                         Weschester Awning                                                     $3,233     -$1,386        $1,847    8/23/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            H&M KITCHEN - CABINETS ACTIVITY CENTER                                $7,479     -$3,175        $4,304    10/3/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            HERNANDEZ NATIONAL PAINTING, INC. - INTERIOR STAIRWELLS               $7,816     -$3,257        $4,559   11/28/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            FOREVER SIGNS - SCULPTURE                                            $23,028     -$9,684       $13,344    11/1/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.                            2 BRO SECURITY - CAMERAS                                              $1,674        -$697        $977     12/2/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            2 BRO SECURITY - CAMERAS                                              $1,674        -$697        $977     12/2/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 701 NW 27th Ave                           TRANSFER FROM WIP MIAMI 27TH                                       $989,494    -$206,145     $783,349     8/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              BIRD ROAD 40 YR CERTIFICATION                                         $1,907     -$1,104         $803     5/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              BIRD RD ACTIVITY CENTER                                              $49,082    -$29,976       $19,106    1/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              BIRD RD CAMERA INSTALLATION                                           $3,315     -$1,970        $1,344    3/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              DIVVY,PURE AIR, H&M KITCHEN, WIP (Total Aug)                      $1,555,615   -$479,654    $1,075,961    8/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              FOREVER SIGNS TRANSFER FROM WIP, LILESMAR                          $222,806     -$44,561     $178,245     9/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9855,9861,9863 E Fern St.                 RICKY'S ELECTRICAL SYSTEMS, INC. - CAMERAS CC CORALWY &              $11,113     -$3,986        $7,127    2/23/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                 Filed 10/13/24




     Leasehold Improvemen 9855,9861,9863 E Fern St.                 EASTERN AIR CONDITIONING - PALMETO BAY                                $6,603     -$2,091        $4,512     7/1/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen CCN locations                             2BRO SECURITY & IT SOLUTIONS LLC - CAMERAS FOR CC                    $29,300    -$10,975       $18,325    12/1/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements CCN locations                           Eagle Wireless - 32 Cameras CCN                                      $15,616      -$5,856       $9,760    12/18/2020 Straight-line   MB Medical Transport, LLC
     Leasehold Improvements CCN locations                           VIDAR CUSTOMS LLC - 31 Cameras                                       $14,799      -$5,426       $9,373     1/14/2021 Straight-line   MB Medical Transport, LLC
     Leasehold Improvements CCN locations                           Eagle Wireless and Vidar Customs (total June)                        $13,944      -$4,532       $9,412     6/25/2021 Straight-line   MB Medical Transport, LLC
     Leasehold Improvemen FFPCC locations                           JE - GULF TRUE UP - 06/30/21                                       $257,413     -$83,659     $173,754     8/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42nd Ave.                          INSTALL 3 TON BRYANT SYSTEM - PURE AIR SERVICES INC                   $3,301     -$1,457        $1,844    6/11/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                                         Transfer from WIP to LH from 2023 All Purpose Solutions               $8,566         -$71       $8,495    8/31/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                                         360 DEGREES                                                           $1,541           $0       $1,541               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         360 Degrees Design Corp                                               $3,154           $0       $3,154               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         All Purpose Solutions LLC                                             $8,566           $0       $8,566               Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 12615 West Dixie Hwy                      ALLSTATE GENERAL CONTRACTORS                                       $979,895            $0    $979,895                Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         BRUCE & BRUCE INC                                                    $21,202           $0      $21,202               Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd.                      CITY OF NORTH MIAMI                                                  $15,377           $0      $15,377               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         CORP AMERICAN EXPRESS-21005                                          $30,050           $0      $30,050               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         DIVVY                                                                $34,211           $0      $34,211               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         Flood Risk America, Inc                                              $34,492           $0      $34,492               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         FOREVER SIGNS                                                        $31,298           $0      $31,298               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         Globe Engineering, Inc                                                $7,000           $0       $7,000               Straight-line   MB Medical Operations, LLC
                                                                                                                                                                                                                                                 Page 183 of 565




     Leasehold Improvements                                         GOLD STANDARD BUILDER - PERMIT                                         $101            $0        $101                Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         GOLD STANDARD BUILDER SERVICES LLC                                    $4,714           $0       $4,714               Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 6704 Hanley Rd.                           Hillsborough County FL                                                 $437            $0        $437                Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         KEVIN A BURNS                                                        $27,100           $0      $27,100               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         New Air systems                                                       $2,099           $0       $2,099               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         RED BEAM CONSTRUCTION GROUP                                           $1,957           $0       $1,957               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         RICKY'S ELECTRICAL SYSTEMS, INC.                                     $24,380           $0      $24,380               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         Royal Point Land Surveyors, Inc                                        $900            $0        $900                Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 12615 West Dixie Hwy                      THE ARCHITECTS GROUP                                                 $81,188           $0      $81,188               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         THE ARCHITECTS GROUP, GOLD STANDARD                                  $27,031           $0      $27,031               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         To reverse WIP allocated to Douglas Rd architect                    -$17,033           $0     -$17,033               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         Yotta Sky Group, Inc                                                  $3,371           $0       $3,371               Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 1200 ALTON RD                             IN Motion Mobility- Chairlifts                                        $5,497     -$3,063        $2,434    7/31/2015 Straight-line    MB Medical Transport, LLC
     Leasehold Improvemen 551 E 49TH ST.                            IN Motion Mobility- Chairlifts                                        $6,718     -$3,652        $3,066    3/31/2016 Straight-line    MB Medical Transport, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                  Page 5                                                                                                   11.10.24
     Leasehold Improvemen 201 1st St S.                                                              IN Motion Mobility- Chairlifts                                    $15,814     -$8,493     $7,321     4/1/2016 Straight-line    MB Medical Transport, LLC
     Leasehold Improvements                                                                          Eagle Wireless - Cameras - in service until May                   $25,638    -$23,154     $2,484    2/12/2020 Straight-line    MB Medical Transport, LLC
     Leasehold Improvements                                                                          Vidar Customs (Installation) - in service until May               $22,541    -$19,564     $2,978     4/1/2020 Straight-line    MB Medical Transport, LLC
     Leasehold Improvements                                                                          Vidar Customs (Installation) - in service until May                $1,922    -$19,564   -$17,641    5/22/2020 Straight-line    MB Medical Transport, LLC
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS                                              $1,208     -$1,208         $0    7/31/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS                                              $2,029     -$2,029         $0     7/1/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(ANCHOR FENCE)                                 $686        -$686         $0    3/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(SOUTHERN TECH)                                  $80        -$80         $0     6/5/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(SOUTHERN TECH)                                $558        -$558         $0     6/5/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(EDUARDO VAZQUEZ DRAWING)                      $382        -$382         $0     7/8/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(SOUTHERN TECH)                               $1,922     -$1,922         $0    8/23/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              CONRADO LEASEHOLD                                                  $1,215     -$1,215         $0    9/30/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 151 NW 11TH ST.                                                            LEASEHOLD IMPROVMENTS(ALVARO MARR)                                  $294        -$294         $0   10/14/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 151 NW 11TH ST.                                                            LEASEHOLD IMPROVMENTS(ALVARO MARR)                                  $294        -$294         $0   10/15/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(AMO)                                         $5,597     -$5,597         $0   10/15/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 12550 Biscayne Blvd                                                        LEASEHOLD IMPROVMENTS(DORAL TILE)                                   $559        -$559         $0   10/21/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 12550 Biscayne Blvd                                                        LEASEHOLD IMPROVMENTS(DORAL TILE)                                   $270        -$270         $0   10/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 12550 Biscayne Blvd                                                        LEASEHOLD IMPROVMENTS(YENER AGUILAR)                                $325        -$325         $0   10/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(AMO)                                         $8,645     -$8,645         $0    11/5/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(AMO)                                         $8,895     -$8,895         $0   12/20/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              AMO RESTORATION                                                    $8,038     -$8,038         $0    3/10/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              AMO RESTORATION                                                   $10,555    -$10,555         $0    4/18/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              AMO RESTORATION                                                   $11,088    -$11,088         $0     6/5/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              BUSINESS ISLAND                                                   $11,395    -$11,045      $350    10/24/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              leASEHOLD IMPROVMENTS                                              $1,897     -$1,727      $171     1/16/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              leASEHOLD IMPROVMENTS                                              $8,430     -$7,515      $915     3/13/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              leASEHOLD IMPROVMENTS                                               $838        -$719      $120     4/15/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              leASEHOLD IMPROVMENTS                                              $4,632     -$3,754      $878      8/5/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 9611 BIRD RD,                                                              leASEHOLD IMPROVMENTS                                              $4,798     -$3,689     $1,110   10/15/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 9611 BIRD RD,                                                              LH Imp- Bosch Home Improve                                         $5,189     -$3,855     $1,334    1/12/2016 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 7500 SW 8TH ST                                                             LH Imp- Caymares Martin                                           $10,263     -$7,500     $2,764     2/1/2016 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LH Imp- Andom Renovation                                           $8,118     -$5,244     $2,873   10/11/2016 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvements 551 E 49TH ST.                                                           SCOPE                                                                 $87        -$87         $0      3/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 7500 SW 8TH ST                                                           SCOPE                                                                 $87        -$87         $0      3/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
                                                                                                                                                                                                                                                                                      Case 24-20576-CLC




     Leasehold Improvements 551 E 49TH ST.                                                           ULTIMATE SHUTTERS                                                    $325       -$325         $0      4/2/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 551 E 49TH ST.                                                           ULTIMATE SHUTTERS                                                    $333       -$333         $0     5/15/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 7500 SW 8TH ST                                                           ULTIMATE SHUTTERS                                                    $693       -$693         $0     6/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 7500 SW 8TH ST                                                           ULTIMATE SHUTTERS                                                    $733       -$733         $0     7/30/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 7500 SW 8TH ST                                                           LEASEHOLD IMPROVEMENTS                                               $930       -$813       $117     3/24/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Medical Equipment                                                                                                                                                 $17,212    -$17,212         $0     1/0/1900 Straight-line    MB Medical Operations, LLC
     Medical Equipment                                                                                                                                                 $18,083    -$18,083         $0     1/0/1900 Straight-line    MB Medical Operations, LLC
     Medical Equipment      12550 Biscayne Blvd.                                                     PATTERSON DENTAL MACHINE - NORTH MIA                              $54,183    -$48,303     $5,880     3/9/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           PATTERSON DENTAL MACHINE - WESTCHESTER                            $53,112    -$47,360     $5,751    2/17/2020 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                      Doc 29




     Medical Equipment      12550 Biscayne Blvd.                                                     ALPINION USA - ECUBE ULTRASOUND MACHINE - N MIAMI                 $38,348    -$31,079     $7,269    7/17/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      12615 W Dixie Hwy & 1303 South Semoran Blvd                              ALPINION ECUBE - 2 PORTABLE ULTRASOUNDS                           $69,380    -$56,229    $13,151     8/5/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           MCKESSON WESTCHESTER - HOLTER                                     $24,688    -$19,651     $5,037    9/11/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7921 West Atlantic Ave                                                   SCOPE GRP - DELRAY - GENERATOR & FLAT PANNEL                      $30,876    -$24,151     $6,725    9/22/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           FOR A CARE INC - WEIGHT SCALE, PULSE OXIMETER, CELL               $52,027    -$40,695    $11,332    9/23/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7921 West Atlantic Ave                                                   PATTERSON DENTAL SUPPLY 967 - DELRAY                              $16,254    -$12,711     $3,543    10/9/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment                                                                               ALPINION USA, INC - E-CUBE I7 - CLINICAL CARE                     $29,548    -$22,714     $6,834   10/30/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7921 West Atlantic Ave                                                   ALPINION USA, INC - E CUBE 17 - DELRAY                            $30,062    -$22,717     $7,345   11/17/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           DIVVY - PHARMACY PILL COUNTER BY CAPSA HEALTHCARE                  $6,978     -$5,273     $1,705   11/17/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           FORA CARE INC - GATEWAY                                            $9,920     -$7,496     $2,424   11/19/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th ST                                                           PHILIPS HEALTHCARE-3579 - BILL RECVD 12/31/20                     $50,932    -$42,377     $8,555    9/18/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th ST                                                           JE - GULF TRUE UP - 06/30/21                                     $354,847   -$230,651   $124,196    8/31/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      1200 ALTON RD                                                            ULTRASOUND MACHINE                                                $22,782    -$22,782         $0    1/31/2018 Straight-line    MB Medical Operations, LLC
     Medical equipment      1200 ALTON RD                                                            MMI LLC                                                            $4,971     -$4,971         $0    11/1/2021 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment      1200 ALTON RD                                                            ALPINION USA - NEW ULTRASOUND MACHINE                             $25,210    -$23,417     $1,793   12/31/2019 Straight-line    MB Medical Operations, LLC
     Medical Equipment      1214 ALTON RD                                                            ALTON DENTAL EQUIPMENT TRANSFER FROM WIP (in Service sinc         $80,464    -$37,550    $42,914    6/27/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      12550 Biscayne Blvd & 351 NW 42 Ave                                      GENERAL RADIOGRAPHIC & MEDICAL SUPPLY (NM & LEJEUNE)              $41,800    -$27,867    $13,933    4/16/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      12615 W Dixie Hwy & 1303 South Semoran Blvd                              GENERAL RADIOGRAPHIC; RXWORKZ; GOLD COAST OPTHALM                 $31,174     -$7,061    $24,113    3/18/2022 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                      Filed 10/13/24




     Medical Equipment      1303 S SEMORAN BLVD                                                      SAUMELL, ALPINION, MCKESSON, transfer from WIP                   $162,064    -$72,929    $89,135    6/30/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      1303 South Semoran Blvd. & 9855 E Fern St                                GENERAL RADIOGRAPHIC & MEDICAL SUPPLY (Total June)                $91,662    -$59,580    $32,082    6/22/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           Parata Max 2F - Pharmacy (new Pharmacy August)                   $201,438   -$124,220    $77,218    8/31/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           ERCHONIA CORPORATION                                              $61,507    -$28,703    $32,804    5/18/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           HENRY SCHEIN; PATTERSON; ALPINION (Dental chairs, compress       $301,654    -$80,441   $221,213    5/31/2023 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6245 66th St N. (Pinellas) and 7500 SW 8th St (New Corp HQ)              GENERAL RADIOGRAPHIC & MEDICAL SUPPLY, PARATA                     $68,798    -$40,132    $28,666   10/18/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42nd Ave.                                                         GARCES METRO ZOO X-RAY MACHINE                                     $3,745     -$3,745         $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42nd Ave.                                                         Garces-Metro Zoo-EXAM ROOM EQUIPMENT & SUPPLIES                     $385        -$385         $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42nd Ave.                                                         Garces-Metro Zoo-EXAM ROOM EQUIPMENT & SUPPLIES                    $1,285     -$1,285         $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      18590 NW 67TH AVE # 101                                                  TRANSFER FROM WIP MIAMI LAKES                                     $73,066    -$15,831    $57,235    8/31/2023 Straight-line    MB Medical Operations, LLC
     Medical Equipment      201 1st St S.                                                            GOLD COAST OPHTHALMIC INSTRUMENT SERV - Winterhaven liv           $29,410    -$18,136    $11,274    7/16/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      201 1st St S.                                                            PATTERSON DENTAL SUPPLY, INC (Total Aug)                          $90,353    -$55,717    $34,635    8/13/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      2459 HIGHWAY 98 N                                                        MEDICAL EQUIPMENT FOR LAKELAND                                    $12,017     -$5,524         $0    4/30/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      2459 HIGHWAY 98 N                                                        DENTAL CHAIR FOR LAKELAND                                         $19,295    -$19,295         $0    5/31/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      2459 HIGHWAY 98 N                                                        ULTRASOUND EQUIPMENT LAKELAND                                     $15,230    -$15,230         $0    7/31/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42ND AVE                                                          GARCES LEJUENE X-RAY MACHINE                                       $9,089     -$9,089         $0    7/31/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42ND AVE                                                          MEDICAL ELECTRONICS LEJUEN START UP THERAPY TABLES                 $3,419     -$1,287         $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42ND AVE                                                          SPIROMETER FOR LEJUENE                                             $1,001     -$1,001         $0   12/19/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42ND AVE                                                          LEJUENE TRACTION SYSTEM                                            $3,099     -$3,099         $0    4/30/2018 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                      Page 184 of 565




     Medical Equipment      201 1st St S.                                                            WINTERHAVEN X RAY MACHINE                                         $12,384    -$12,384         $0    1/31/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      201 1st St S.                                                            WINTERHAVEN TRACTION SYSTEM                                        $3,099     -$3,099         $0    4/30/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      551 E 49TH ST.                                                           SPIROMETER FOR HIALEAH                                             $1,001     -$1,001         $0   12/19/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      551 E 49TH ST.                                                           PATTERSON DENTAL MACHINE HIALEAH                                  $15,068    -$15,068         $0    8/31/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6245 66th Street North, Pinellas Park, FL., 33781                        GENERAL RADIOGRAPHIC & MEDICAL; MCKESSON MEDICAL S                 $7,007     -$3,737     $3,270    1/20/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  GENERAL RADIOGRAPHIC                                               $2,446       -$815     $1,631    10/4/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  MCKESSON MEDICAL SURGICAL                                         $26,749     -$9,808    $16,941   11/17/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  SAUMELL MEDICAL SUPPLIES                                          $15,515     -$5,430    $10,085    12/2/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  MCKESSON MEDICAL SURGICAL                                          $5,137     -$1,541     $3,596    3/22/2023 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  GENERAL RADIOGRAPHIC                                              $17,616       -$587    $17,029    10/4/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634, 7453 N University Dr            GENERAL RADIOGRAPHIC                                               $4,266       -$356     $3,911    4/23/2024 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634, 7500 SW 8th St, 2417 Hwy 98 N   GENERAL RADIOGRAPHIC                                             $130,988    -$15,282   $115,706    1/18/2024 Straight-line    MB Medical Operations, LLC
     Medical equipment      7291 West Atlantic Blvd.                                                 MEDICAL ELECTRONICS INC.                                           $8,248     -$5,773     $2,474     2/4/2021 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment      7291 West Atlantic Blvd.                                                 OPTHAMOLOGY EQUIPMENT FOR DELRAY                                   $3,411     -$3,411         $0    2/28/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7291 West Atlantic Blvd.                                                 DELRAY XRAY EQUIPMENT & ROOM                                      $14,273    -$14,273         $0    2/28/2018 Straight-line    MB Medical Operations, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                                                  Page 6                                                                                                        11.10.24
     Medical Equipment   7291 West Atlantic Blvd.                                    DELRAY DTRACTION SYSTEM                                            $3,099     -$3,099         $0    4/30/2018 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7455 -7463 SR-52; 7455 N University Dr, 18590 NW 67th Ave   GENERAL RADIOGRAPHIC                                             $130,993     -$8,733   $122,260     5/6/2024 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7463 State Road 52, Hudson, FL 34667                        MCKESSON                                                           $2,557       -$725     $1,833     4/3/2023 Straight-line   MB Medical Operations, LLC
     Medical equipment   7463 State Road 52, Hudson, FL 34667                        mckesson                                                           $2,557          $0         $0     4/3/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                $8,661     -$2,454     $6,207    4/12/2023 Straight-line   MB Medical Operations, LLC
     Medical equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       medICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       meDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       meDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       medICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7291 West Atlantic Blvd.                                    MEDICAL ELECTRONICS                                                $1,887     -$1,887         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   750 SOUTH FEDERAL HWY.                                      MEDICAL ELECTRONICS                                                $1,427     -$1,427         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         MEDICAL ELECTRONICS                                                $2,365     -$2,365         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             MEDICAL ELECTRONICS                                                $1,733     -$1,733         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               MEDICAL ELECTRONICS                                                $1,733     -$1,733         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         MEDICAL ELECTRONICS                                                $1,774     -$1,774         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      OPTOMETR EQUIPMENT FOR HOLLYWOOD                                   $2,868     -$2,868         $0    1/31/2018 Straight-line   MB Medical Operations, LLC
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      HOLLYWOOD DENTAL EQUIPMENT                                         $8,474     -$8,474         $0    3/31/2018 Straight-line   MB Medical Operations, LLC
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      HOLLYWOOD TRACTION SYSTEM                                          $3,099     -$3,099         $0    4/30/2018 Straight-line   MB Medical Operations, LLC
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      BACHELLI ENTRIES                                                   $9,742     -$9,742         $0   10/17/2017 Straight-line   MB Medical Operations, LLC
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      BACHELLI ENTRIES                                                   $1,798     -$1,798         $0   10/17/2017 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              DES MEDICAL EQUIPMENT AND SERVICES-EXAM TABLE WEST                 $2,331     -$2,331         $0     8/7/2017 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              ALPINION USA, INC                                                 $15,410     -$9,760     $5,650     7/9/2021 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              ALPINION USA, INC                                                 $44,687    -$23,088    $21,599     2/2/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              GOLD COAST OPHTHALMIC INSTRUMENT SERV                             $11,347     -$4,917     $6,430     7/1/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              ALPINION USA, INC                                                 $45,223    -$20,351    $24,873   12/31/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              TRANSFER FROM WIP WESTCHESTER                                      $8,470     -$2,965     $5,506   11/30/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              ALPINION USA, INC                                                 $44,687          $0    $44,687     2/2/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST & 7453 N University Drive                    GENERAL RADIOGRAPHIC -DR'S TOY STORE MEDICAL - GOLD C             $26,503    -$15,902    $10,601    9/27/2021 Straight-line   MB Medical Operations, LLC
     Medical Equipment   701 NW 27th Ave                                             TRANSFER FROM WIP MIAMI 27TH                                     $106,620    -$44,425    $62,195    8/31/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              PATTERSON DENTAL, ALPINION, BALBOA                               $253,424   -$143,607   $109,817   11/30/2021 Straight-line   MB Medical Operations, LLC
     Medical Equipment   ALL CENTERS                                                 MCKESSON MEDICAL SURGICAL, DIVVY                                 $135,946    -$74,770    $61,176   12/23/2021 Straight-line   MB Medical Operations, LLC
                                                                                                                                                                                                                                                            Case 24-20576-CLC




     Medical equipment   Various                                                     MCKESSON MEDICAL SURGICAL (from July)                             $12,233     -$7,543     $4,689    8/31/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   Various                                                     MEDICAL ELECTRONICS, INC                                           $7,146     -$4,168     $2,977   10/20/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   Winterhaven                                                 MCKESSON MEDICAL SURGICAL - in service Aug                        $25,932    -$15,559    $10,373    7/26/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment   151 NW 11TH ST.                                             OneView Finance                                                  $127,140     -$2,119   $125,021    7/31/2024 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8th ST                                              Patterson Dental                                                  $81,490          $0    $81,490              Straight-line   MB Medical Operations, LLC
     Medical equipment   7500 SW 8th ST                                              Choice Health - Dental Equipment                                  $67,872    -$59,321     $8,552    9/11/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment                                                               MEDICAL ELECTRONICS, INC - DENTAL LASER TQ TABLE                   $5,659     -$4,350     $1,309   10/27/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7500 SW 8th ST                                              Opening Balance Sheet - CC Aquisition                            $262,364   -$216,591    $45,773    9/11/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment                                                               Medical electronics, Inc - New TheraphY Equip                     $11,469     -$8,602     $2,867   12/28/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   551 E 49th St.                                              McKesson for Hialeah CC & Sweetwater CC- holters                  $18,615    -$13,961     $4,654   12/31/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                            Doc 29




     Medical equipment                                                               MEDICAL ELECTRONICS, INC                                          $11,275     -$7,516     $3,758    5/24/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment                                                               MEDICAL ELECTRONICS, INC - for Theraphy dept                      $16,936    -$10,726     $6,210    7/21/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               EQUIMEDIX                                                          $1,498          $0         $0    3/17/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               DENTAL PATTERSON                                                  $20,108          $0         $0    6/24/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               DOCTORS TOY STORE                                                  $1,704          $0         $0     7/2/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               EQUIMEDIX                                                          $4,674          $0         $0    8/30/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               OPTIVISION                                                         $8,025          $0         $0    9/14/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               OPTIVISION                                                         $8,662          $0         $0    9/19/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               TRANSPHOTON                                                        $3,424          $0         $0   10/20/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               MEDICAL EQUIPMENT                                                $118,353          $0         $0     7/1/2012 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               GE HEALTHCARE                                                      $2,545          $0         $0    1/13/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               US OPHTHALMIC                                                      $3,826          $0         $0    5/28/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             OPTIVISION                                                         $9,578          $0         $0    8/29/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             PATTERSON DENTAL                                                  $36,175          $0         $0    8/31/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             OPTIMETRICS                                                         $977           $0         $0    9/10/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             US OPHTHALMIC                                                      $3,826          $0         $0    9/12/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               CONRADO EQUIPMENT                                                 $17,375          $0         $0    9/30/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                            Filed 10/13/24




     Medical equipment   151 NW 11TH ST.                                             PATTERSON DENTAL                                                   $2,991          $0         $0    10/4/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               HENRY SCHEIN INC                                                   $2,033          $0         $0   10/15/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               HENRY SCHEIN INC                                                   $2,233          $0         $0   12/30/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         AMERICAN MEDICAL SUPPLY                                            $1,055          $0         $0     2/7/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         SCOPE                                                             $10,990          $0         $0     5/8/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         SCOPE                                                              $4,240          $0         $0     5/8/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         SCOPE                                                              $4,240          $0         $0    5/30/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         SCOPE                                                             $10,990          $0         $0    5/30/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               HENRY SCHEIN INC                                                  $11,128          $0         $0    5/30/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               henRY SCHEIN INC                                                   $2,271          $0         $0     6/2/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               OFFICE EQUIPMENT(choy)                                             $1,306          $0         $0     8/1/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               scOPE                                                              $2,400          $0         $0   10/10/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $5,083          $0         $0   10/10/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $9,110          $0         $0   10/10/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $2,400          $0         $0    11/1/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $5,083          $0         $0    11/1/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $9,110          $0         $0    11/1/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               MEDICAL EQUIPMENT                                                   $749           $0         $0   12/31/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               PATTERSON DENTAL                                                  $29,441          $0         $0   12/31/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                            Page 185 of 565




     Medical equipment   1200 ALTON RD                                               PHILLIPS                                                          $38,296          $0         $0   12/31/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               Med Equip- Medical Electronics                                        $35        -$35         $0    1/13/2016 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               Med Equip- Patterson 205359                                        $1,553     -$1,553         $0    5/16/2016 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               PHILIPS - ULTRASOUND                                              $11,255    -$11,255         $0     2/1/2017 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               ROOT CANAL                                                         $1,076     -$1,076         $0    4/30/2017 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               NEUROTRONIZ                                                         $680        -$680         $0     5/8/2017 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7291 West Atlantic Blvd.                                    DOCTORS EQUIPMENT SPECIALISTS                                      $1,118     -$1,118         $0   10/17/2017 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         OPTIMETRICS                                                        $1,768     -$1,609      $160     2/10/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               CHAIR WITH FOOT CONTROL                                            $1,061       -$965        $96    2/12/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             DOCTOR'S EQUIPMENT SPECIALIST (2 EXAM TABLES)                      $1,472     -$1,262      $210     4/22/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         DOCTOR'S EQUIPMENT SPECIALIST (2 EXAM TABLES)                      $1,500     -$1,286      $214      5/6/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         DOCTOR'S EQUIPMENT SPECIALIST (45 wall transformers Otosco         $1,125       -$965      $161      5/6/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   351 NW 42nd Ave #503                                        PATTERSON DENTAL SUPPLY                                            $5,130     -$3,854     $1,276   11/11/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Office Equipment    7500 SW 8th St                                              pc connection                                                          $0          $0         $0   12/20/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                                  Page 7                                                                                              11.10.24
     Office Equipment   750 SOUTH FEDERAL HWY.   BACHELLI ENTRIES                          $913   -$913   $0   10/17/2017 Straight-line    MB Medical Operations, LLC
     Office Equipment   1200 ALTON RD            EXIMPORT INC                                $0      $0   $0    4/11/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            EXIMPORT INC                                $0      $0   $0    4/13/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TIMECLOCK                                   $0      $0   $0    7/28/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            BELL APPLIANCE                              $0      $0   $0    10/3/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            SECURITY CAMERAS                            $0      $0   $0   10/31/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            SECURITY CAMERAS                            $0      $0   $0    11/3/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TWO LASER PRINTER                           $0      $0   $0    4/12/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TV FOR ALTON ROAD CONF ROOM                 $0      $0   $0    10/1/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0    10/4/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   FLAGLER                  ADVANCED SECURITY SYSTEM                    $0      $0   $0     3/4/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            FLORIDA BUILDER APPLICANCES                 $0      $0   $0    3/19/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            CAMERA                                      $0      $0   $0    6/30/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            HI TECH SECURITY SYSTEMS                    $0      $0   $0    6/30/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0    8/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   151 NW 11TH ST.          HI TECH SECURITY SYSTEMS                    $0      $0   $0    9/10/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0    9/17/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   FLAGLER                  TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0   10/29/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   151 NW 11TH ST.          TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0   12/10/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   151 NW 11TH ST.          TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0   12/31/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            HI TECH SECURITY SYSTEMS                    $0      $0   $0     3/7/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            SEARS                                       $0      $0   $0    4/11/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   151 NW 11TH ST.          MONICA VEGA                                 $0      $0   $0    7/29/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            home depot                                  $0      $0   $0   11/30/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   7500 SW 8TH ST           PBX PHONE SYSTEM                            $0      $0   $0      3/3/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Transport          1200 ALTON RD            ULTIMATE HOME                               $0      $0   $0    1/14/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            FERNANDO IZAGUIRRE                          $0      $0   $0     2/6/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            FERNANDO IZAGUIRRE                          $0      $0   $0    2/13/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            GENESIS                                     $0      $0   $0    2/25/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          12550 Biscayne Blvd      SOUTHERN TECH                             $174   -$174   $0     5/6/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            ULTIMATE HOME                             $191   -$191   $0     5/9/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            IN MOTION MOBILITY(MBMT)                    $2      $0   $2    8/20/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            IN MOTION MOBILITY(MBMT)                    $0      $0   $0    9/15/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            TELESPHEREM(MBMT)                           $8      $0   $8    9/17/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            TELESPHERE(MBMT)                            $1      $0   $1    9/18/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                             Case 24-20576-CLC
                                                                                                                                                                                             Doc 29
                                                                                                                                                                                             Filed 10/13/24
                                                                                                                                                                                             Page 186 of 565




USA.615773492.7/MYQ
2.1 (a) (i)                                                                       Page 8                                                                                          11.10.24
              Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 187 of 565




                                      Exhibit B

                            Transition Services Agreement




13208185-58
            Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 188 of 565

                                                                               Execution Version


                                Transition Services Agreement

        This Transition Services Agreement (this “Agreement”), dated as of >Ɣ@, 2024 (“Effective
Date”), is by and among MB Medical Operations, LLC, a Delaware limited liability company
(“MBMO”), MB Medical Transport, LLC, a Delaware limited liability company (“MBMT”),
Care Center Network, LLC, a Florida limited liability company (“CCN”), Clinical Care Pharmacy,
LLC, a Florida limited liability company (“CCP”), Care Center Medical Group, LLC, a Florida
limited liability company (“CCMG”), Florida Family Primary Care Center, LLC, a Florida
limited liability company (“FFPCC”), Florida Family Primary Care Centers of Tampa, LLC, a
Florida limited liability company (“FFPCCT”), Florida Family Primary Care Centers of Pasco,
LLC, a Florida limited liability company (“FFPCCP”), Florida Family Primary Care Centers of
Pinellas, LLC, a Florida limited liability company (“FFPCCPL”), Florida Family Primary Care
Centers of Orlando, LLC, a Florida limited liability company (“FFPCCO”), CCMC Physician
Holdings, Inc., a Florida limited liability company (“CCMC Holdings”), Miami Medical &
Wellness Center LLC, a Florida limited liability company (“MMWC”), Miami Beach Medical
Centers, Inc., a Florida corporation f/k/a Rodolfo Dumenigo, M.D., P.A., a Florida professional
association (“RD”), Miami Beach Medical Consultants, LLC d/b/a Clinical Care Medical Centers,
a Florida limited liability company (“MBMC” and collectively with MBMO, MBMT, CCN, CCP,
CCMG. FFPCC, FFCCT, FFPCCP, FFPCCPL, FFPCCO, CCMC Holdings, MMWC, and RD, the
“Service Providers”, and each, a “Service Provider”), and Conviva Medical Center
Management, LLC, a Delaware limited liability company (“Conviva” and together with Service
Providers, the “Parties”).

        WHEREAS, on the Effective Date, Conviva and Service Providers, together with the other
parties signatories thereto, have consummated the transactions contemplated by that certain Asset
Purchase Agreement (as amended, restated, modified, or supplemented from time to time, the
“Purchase Agreement”); and

       WHEREAS, it is a condition precedent to the closing of the transactions contemplated by
the Purchase Agreement that the Parties hereto execute and deliver this Agreement, pursuant to
which Service Providers shall provide to Conviva the Services, as more fully described in this
Agreement and in accordance with the terms and subject to the conditions set forth herein.

       In consideration of the mutual covenants and agreements hereinafter set forth, the Parties
agree as follows:

                                          ARTICLE I
                                         DEFINITIONS

       Section 1.01 Unless otherwise defined herein, all capitalized terms used herein shall have
the same meanings as set forth in the Purchase Agreement.

      Section 1.02 The following capitalized terms used in this Agreement shall have the
meanings:

       “Conviva Data” means all data or information of any of Conviva, its Affiliates or the
Business that is collected, generated, calculated, derived, stored by, transmitted to, or otherwise
Processed, by or on behalf of Service Providers, any of their Affiliates, or any other person or
            Case 24-20576-CLC          Doc 29     Filed 10/13/24     Page 189 of 565




entity on Conviva’s behalf in connection with this Agreement (including in the receipt or use of
any Service) or that is in a Service Provider’s or any of Service Providers’ Affiliates’ possession
as of the Effective Date, including any such data or information (a) in a tangible form, regardless
of the form or method by which such information is created, stored, maintained, or communicated,
(b) maintained or generated by a Service Provider for Conviva, or (c) that constitutes Personal
Information.

         “Confidential Information” means, with respect to a Party, any information that is treated
as confidential by that Party, including, without limitation, trade secrets, technology, information
pertaining to business operations and strategies, and information (including Personal Information)
pertaining to customers, patients, pricing and marketing, including, with respect to Conviva, all
Conviva Data; provided that Confidential Information shall not include information that: (a) is, or
subsequently becomes, generally known by the Receiving Party or the public other than by breach
of this Agreement by, or other wrongful act of, the Receiving Party; (b) is in the possession of the
Receiving Party prior to being delivered to the Receiving Party by the Disclosing Party (it being
agreed that this exception is not applicable to any Confidential Information of the Disclosing Party
that is in the possession of the Receiving Party by virtue of consummation of (or diligence and
discussions relating to) the transactions contemplated by the Purchase Agreement); (c) is
developed by the Receiving Party independently of, and without reference to, any Confidential
Information of the Disclosing Party; or (d) is received by the Receiving Party from a third party
who is not under any obligation to the Disclosing Party to maintain the confidentiality of such
information.

      “Disclosing Party” means a Party that discloses Confidential Information under this
Agreement.

        “Fraud” means actual and intentional common law fraud as defined under the Law of the
State of Delaware (which, for the avoidance of doubt, does not include constructive fraud or other
claims based on constructive knowledge, negligent misrepresentation, recklessness or similar
theories).

       “Hard Stop Date” means the date that is ninety (90) days after the Effective Date.

        “Losses” means all damages, losses, liabilities, Taxes, costs, penalties, fines and expenses
(including interest, reasonable attorney’s fees, reasonable costs of collection and all reasonable
amounts paid in investigation, defense or settlement of any of the foregoing), in each case, whether
or not arising out of a third party claim.

       “Personal Information” means all information in any form or media that identifies, could
be used to identify or is otherwise related to an individual person (including any current,
prospective, or former customer, patient, end user or employee), in addition to any definition for
“personal information” or any similar term provided by applicable Law or by a Service Provider
in any of its privacy policies, notices or contracts (e.g., “personal data,” “personally identifiable
information” or “PII”). Personal Information shall include all Protected Health Information, as
defined by HIPAA.




                                                 2
            Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 190 of 565




        “Receiving Party” means a Party that receives or acquires Confidential Information
directly or indirectly under this Agreement.

       “Service Provider Personnel” means all employees and independent contractors engaged
by any Service Provider to perform the Services.

        “Severance Pay” means a lump sum payment to be made by Conviva to fund Service
Providers’ payments to Transitional Employees equal to the value of the base salary or wage of
the respective employee, plus the employer-provided benefits to which such employee would be
entitled if not terminated, for a sixty (60) day time period, inclusive of the employer’s share of any
payroll taxes payable by the employer in connection with such sum (for the avoidance of doubt,
taking into account all wages paid by the employer to the applicable Transitional Employee during
the applicable calendar year), and with such payment to be computed using the base salary or wage
of such employee in effect as of the effective date of termination of employment of such employee.
Any Severance Pay becoming due pursuant to this Agreement shall be paid as part of the next
occurring usual payroll date for the affected employee (or as soon as practicable after the date of
termination).

        “Transferred Patient Records” means all Patient Records (a) that constitute Purchased
Assets, (b) that are subject to a transfer of custodianship to Conviva or its designee pursuant to the
Purchase Agreement, or (b) that are collected, generated, calculated, derived, stored by,
transmitted to, or otherwise Processed by or on behalf of Service Providers, any of their Affiliates,
or any other person or entity on Conviva’s behalf on or after the Effective Date during the Term
of this Agreement.

       “Transition Date” means the earlier of (a) the Hard Stop Date, and (b) the date upon which
Conviva has successfully integrated the Business and effectively terminated all Services as
confirmed in writing by Conviva to Service Providers.

                                           ARTICLE II
                                           SERVICES

        Section 2.01 Provision of Services. During the Term, Service Providers shall use
reasonable best efforts to provide to Conviva the following services (each, a “Service”, and
collectively, the “Services”) (a) the services set forth in Schedule A (the “Service Schedule”), (b)
any Additional Services (included in accordance with Section 2.02), and (c) any Omitted Services
(included in accordance with Section 2.02). Services shall be provided hereunder to the extent
Service Providers are able to provide or procure such services based on the existing resources and
capabilities of Service Providers at the time the applicable Services are to be performed after giving
effect to (a) the closing of the transactions set forth in the Purchase Agreement, and (b) the
transition of Purchased Assets and Transitional Employees to Conviva as contemplated by this
Agreement and by the Purchase Agreement (collectively, “Service Providers’ Limitations”);
provided, however, Service Providers’ Limitation shall not apply, and the Service Providers shall
continue to be obligated to provide Services, to the extent that the Service Providers are capable
of providing any such Services with their remaining resources. All the Services shall be for the
sole use and benefit of Conviva and its Affiliates. Service Providers shall not be required to provide
any Service that is prohibited or restricted by applicable Law, provided that if Service Providers

                                                  3
            Case 24-20576-CLC          Doc 29      Filed 10/13/24     Page 191 of 565




are not able to provide any such Service that is so prohibited or restricted, Service Providers shall
(subject to the Service Providers’ Limitations) use commercially reasonable efforts to implement
an appropriate alternative arrangement or activity to enable Conviva to receive the benefit of the
Service.

       Section 2.02 Additional and Omitted Services.

                (a)     If, during the Term of this Agreement, Conviva determines that it requires
access to additional services that are not set forth on the Service Schedule and that are not Omitted
Services (addressed in Section 2.02(b) below) (such additional services, the “Additional
Services”), then, at the written request of Conviva, Service Providers shall use reasonable best
efforts (subject to the Service Providers’ Limitations) to provide or procure the provision of the
Additional Services for a duration reasonably requested by Conviva (but in no event past the Hard
Stop Date).

               (b)     If, during the Term of this Agreement, Conviva identifies a service that is
not included on the Service Schedule and that was provided by or on behalf of the Service
Providers to the Business at any time on or within the twelve (12) months preceding the Closing
Date (the “Baseline Period”) (the “Omitted Services”), then, at the written request of Conviva,
Service Providers shall (subject to the Service Providers’ Limitations) use reasonable best efforts
to provide or procure the provision of the Omitted Services, on the same terms and conditions that
such Omitted Service was provided during the twelve (12) month period preceding the Closing
Date, for a duration reasonably requested by Conviva (but in no event past the Hard Stop Date).

                (c)     Any Additional Service or Omitted Service provided by Service Providers
shall be set forth in the Service Schedule and shall constitute Services under the Agreement and
be subject in all respects to the provisions of this Agreement. Service Providers shall invoice (or
provide in its Budget) Conviva in accordance with Section 5.01 for the fees for providing any such
Additional Services or Omitted Services, which fees shall be mutually agreed upon by the Parties
and shall be equal to the direct and indirect costs and expenses, without markup, incurred by
Service Providers to provide such Services.

        Section 2.03 Delegation of Services. Service Providers shall not delegate or subcontract
to any person or entity (other than their Affiliates), or utilize any service provider, contractor,
consultant, or other person or entity, in connection with their performance of any Service without
Conviva’s prior written consent (which consent shall not be unreasonably withheld, conditioned
or delayed); provided that, Service Providers may continue to delegate or subcontract to a person
or entity, or continue to utilize any service provider, contractor, consultant, or other person or
entity in connection with, their performance of a Service to the extent such Service was delegated
or subcontracted to such person or entity, or such service provider, contractor, consultant, or other
person or entity was utilized to provide such Service, to the Business during the Baseline Period.
Service Providers acknowledge that notwithstanding any delegation or subcontracting to any
person or entity of, or utilization of any service provider, contractor, consultant, or other person or
entity in connection with, any of their performance under this Agreement, (i) Service Providers
shall remain fully responsible and liable (subject to the limitations set forth in this Agreement) for
the provision of the Services and any such person or entity’s compliance with the terms and
conditions of this Agreement (including the standards of performance set forth herein), and (ii)

                                                  4
            Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 192 of 565




any act or omission (including any breach of this Agreement) by any such person or entity (as if
they were a Service Provider hereunder) shall constitute an act or omission (or breach, if
applicable) under this Agreement by Service Providers.

        Section 2.04 Termination of Services. Subject to Section 5.03 and Article X, the
obligations of Service Providers under this Agreement to provide Services shall terminate with
respect to each Service on the Hard Stop Date. Notwithstanding the foregoing, the Parties
acknowledge and agree that Conviva may determine from time to time that it does not require all
or any portion of the Services set out on the Service Schedule or that it does not require such
Services for the entire period up to the Hard Stop Date. Accordingly, subject to Section 5.03 and
Article X, Conviva may terminate any Service, upon at least fifteen (15) days’ notice to Service
Providers in writing, in which case the only fees for which Conviva shall be liable with respect to
the terminated Service(s) shall be any costs or expenses incurred by Service Providers for
provision of such Service(s) prior to the effective date of termination, as well as sixty (60) days’
Severance Pay which shall be paid by Service Provider to any Transitional Employee whose
employment is terminated as a result of such termination of Service and who do not become
Transferred Employees. This provision shall apply so that Transitional Employees who do not
become Transferred Employees upon termination of the Term of this Agreement shall also receive
60 days’ Severance Pay, and this provision and obligation shall survive any termination of this
Agreement.

         Section 2.05 Transition Representatives; Transition Plan. Service Providers and
Conviva shall each appoint a transition representative (a “Transition Representative”) to
facilitate communications and performance under this Agreement. Service Providers may treat an
act of a Transition Representative of Conviva as being authorized by Conviva without inquiring
behind such act or ascertaining whether such Transition Representative had authority to so act, and
Conviva may treat an act of a Transition Representative of Service Providers as being authorized
by Service Providers without inquiring behind such act or ascertaining whether such Transition
Representative had authority to so act. Service Providers and Conviva shall have the right at any
time and from time to time to replace their or its respective Transition Representative by giving
notice in writing to the other Party, setting forth the name of (a) the Transition Representative to
be replaced and (b) the replacement, and certifying that the replacement Transition Representative
is authorized to act for the Party giving the notice in all matters relating to this Agreement.

       Section 2.06 Non-Exclusivity. Nothing herein shall prevent Conviva from obtaining any
of the Services, or any other service, from any other person or entity or from providing any
Services, or any other service, to itself or its Affiliates using its own facilities, employees, or
contractors.

                                 ARTICLE III
                  SERVICE PROVIDERS’ RIGHTS AND OBLIGATIONS

       Section 3.01 Service Providers Covenants. Service Providers, in the provision of
Services hereunder, shall (subject to the Service Providers’ Limitations):

               (a)     reasonably cooperate with Conviva in all matters relating to the provision
of the Services;

                                                 5
            Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 193 of 565




                (b)     provide the Services in accordance with applicable Law and in all cases at
a level of quality, with at least the same (and not less than a reasonable) degree of care, skill,
performance, and diligence with which, and in the same manner and nature as (if practicable), such
Services were provided by Service Providers to the Business during the Baseline Period, including
with respect to the volume, quality, timeliness, efficacy, availability, and reliability of such
Services (or, if not so previously provided, then no less than the quality, care, skill, performance,
and diligence as would be commercially reasonable);

                (c)    maintain (subject to Conviva’s obligations to pay the Funding Amounts
hereunder) (i) sufficient resources and use reasonable best efforts to maintain qualified personnel
as are reasonably required to perform its obligations under this Agreement, and (ii) such licenses,
permissions, and waivers as are currently held by Service Providers with respect to the Services
and comply with all relevant Laws applicable with respect to the provision of the Services to
Conviva;

              (d)    use good faith efforts to comply with the reasonable direction of Conviva
concerning any modification to the manner in which the Services are performed;

                (e)     in the event of any breach of this Agreement by Service Providers with
respect to any error or defect in the provision of any individual Service, Service Providers shall, at
Conviva’s request, and at no additional cost to Conviva, correct such error or defect or re-perform
such Service in a timely manner as promptly as Conviva reasonably requests;

                (f)    during the Term and until the effective date of Service Provider’s confirmed
bankruptcy liquidation plan (the “Survival Period”), maintain books, accounts, and records relating
to the provision of the Services under this Agreement in accordance with its standard historical
practices and as otherwise required by Law. During the Term and the Survival Period, upon
Conviva’s written notice, Service Providers shall allow Conviva or any of its representatives
(including independent auditors), during normal business hours and in a manner that shall not
materially interfere with Service Providers’ operations or the duties of Service Providers’
personnel, reasonable access to, or, at Conviva’s expense, copies of all such books, accounts, and
records, as well as access to Service Providers’ personnel performing Services. For the avoidance
of doubt, the foregoing includes the right for Conviva and its representatives (including
independent auditors) to inspect and audit Service Providers’ books and records concerning the
fees and other amounts charged under this Agreement and to otherwise confirm Service Providers’
compliance with its obligations under this Agreement; and

               (g)       not, directly or indirectly, except as part of Service Providers’ existing
insolvency planning/proceedings and/or permitted under the Purchase Agreement, (i) sell, transfer,
dispose of, redeem, acquire or issue any Equity Interests of any Service Provider (or permit any of
the foregoing), or (ii) commence or settle any litigation or similar proceeding, or make any claim,
against any person or entity in connection with the Services provided after the Effective Date
hereunder.

       Section 3.02 Compliance with Conviva Policies; Service Provider Personnel.
Following receipt of Conviva’s customary training with respect to its policies generally, Service
Providers shall comply with all policies of Conviva and its Affiliates to the extent applicable to

                                                  6
            Case 24-20576-CLC          Doc 29     Filed 10/13/24     Page 194 of 565




the Services. Subject to Conviva’s payment obligations in Section 5.01 and as provided in Section
2.2(a) of the Purchase Agreement regarding PTO applicable to Transferred Employees, Service
Providers are responsible for all Service Provider Personnel and for the payment of their
compensation, including, if applicable, withholding of all Taxes, including but not limited to
income Taxes, and the payment and withholding of the employer’s and employee’s share of social
security and other payroll Taxes, unemployment insurance, workers’ compensation insurance
payments, and disability benefits.

         Section 3.03 Consents. Service Providers, with assistance from Conviva and subject to
the Service Providers’ Limitations, shall use commercially reasonable efforts to obtain all
consents, authorizations, waivers, and approvals from any third person that are necessary for
Service Providers to perform the Services or Conviva to receive the Services. Without limiting the
foregoing, if Service Providers are not able to obtain any such consent, authorization, waiver, or
approval, Service Providers shall promptly notify Conviva and use commercially reasonable
efforts to arrange as soon as possible an alternative means of providing such Service that is similar
to the benefit provided under or by the relevant Service for which the consent, authorization,
waiver, or approval was required and that is reasonably satisfactory to Conviva, at no incremental
cost to Conviva. If Service Providers are unable to arrange such an alternative means within ten
(10) days after the Effective Date, Conviva may in its sole discretion terminate this Agreement in
whole or with respect to any affected Service.

        Section 3.04 Transition of Services. Service Providers shall, upon Conviva’s request (a)
provide to Conviva assistance and available documentation reasonably necessary to facilitate an
orderly transition and migration of the Services to Conviva (or its designees) so as to allow
Conviva to receive the benefit of the Services (or equivalents thereof) without assistance or
involvement by Service Providers; and (b) deliver to Conviva copies of such available documents,
policies, procedures, records and information that are reasonably necessary for Conviva and/or its
Affiliates to reproduce the Services independently and to achieve such transition.

                                    ARTICLE IV
                          CONVIVA RIGHTS AND OBLIGATIONS

       Section 4.01 Conviva Covenants. Conviva shall:

               (a)     reasonably cooperate with Service Providers in all matters relating to the
provision of the Services;

               (b)    respond promptly to any Service Providers request to provide direction,
information, approvals, authorizations, or decisions that are reasonably necessary for Service
Providers to perform Services in accordance with the requirements of this Agreement; and

              (c)    provide such materials, records, reports, and documents as Service
Providers may reasonably request, in order to carry out the Services, in a timely manner.




                                                 7
             Case 24-20576-CLC          Doc 29      Filed 10/13/24      Page 195 of 565




                                  ARTICLE V
                    COST REIMBURSEMENTS AND PAYMENT TERMS

         Section 5.01 Invoices, Budgets and Payment. Conviva hereby agrees to, on a monthly
basis (or as otherwise designated by the Parties) and in accordance with this Section 5.01, deposit
amounts into an account designed by Service Providers (the “TSA Account”) in order to fund, in
advance, the provision of Services (the “Monthly Pre-Fund”). At least twenty (20) days prior to the
Closing Date, Service Providers shall provide Conviva with an invoice or budget statement (in
substantially the form attached hereto as part of Schedule A) designating the total funding required
for the first month of the Term (such a statement, a “Funding Statement”, and such amount, the
“Funding Amount”), and within twenty (20) days after receipt thereof, and in all events on the
Effective Date, Conviva shall deposit the initial month’s Funding Amount into the TSA Account.
Thereafter, by the tenth (10th) day of each month, Service Providers will provide Conviva with a
Funding Statement specifying the Funding Amount required for the following month, and prior to the
start of such month, Conviva shall deposit the corresponding Funding Amount into the TSA Account.
Each Funding Statement shall reflect (as applicable): (a) the total of service fees (each as set forth on
the Schedule A) due to Service Providers for such upcoming month, (b) any rent (including without
limitation any “base,” “fixed” or “minimum” rent and any other amounts called “additional rent” due
with respect to the applicable Facility Terms) that Service Providers expect to incur for the Facilities,
as well as the costs of utilities, as contemplated under Article VII, in each case for the upcoming
month, (c) the amount of Third Party Costs owed by Conviva with respect to the prior month (as
determined in accordance with Section 5.03), (d) a credit for any revenue received by Service
Providers or their Affiliates on behalf Conviva or its Affiliates, and (e) a credit for any roll-over of
amounts remaining in the TSA Account from the Funding Amount of the prior month (taking into
account any amounts owed under (a), (b), and (c)). In addition, twenty (20) days prior to expiration
of the Term, the Parties shall in good faith finalize any required reconciliation, and promptly remit
payment to the appropriate Party prior to expiration of the Term. The Parties acknowledge that the
first (1st) and second (2nd) Funding Statements shall be based in part on Service Providers’ good
faith estimates. Each Party shall promptly notify the other Party of any identified overpayment or
underpayment with respect to any Funding Amount, and such amounts shall be remitted to the
appropriate Party (or adjusted into the next Funding Amount) within ten (10) Business days following
receipt of notice thereof. The Parties shall seek to resolve all disputes concerning Funding Statements
expeditiously and in good faith. Within ten (10) Business Days following termination of this
Agreement, the Parties shall in good faith finalize any required reconciliation, and promptly (and in
any event within thirty (30) days after the effective date of such termination of this Agreement) remit
payment to the appropriate Party. Without limiting the foregoing, if at any time after the end of the
Term, Service Providers receive any revenues or other amounts that would otherwise be due to
Conviva had they been received by Service Providers during the Term, Service Providers shall
reasonably promptly remit those amounts to Conviva.

        Section 5.02 Third Party Costs. Conviva shall, subject to the remainder of this Section
5.02, and as part of the Funding Amounts pay Service Providers all reasonable actual third-party
costs and expenses that are either (i) included in the Funding Statement, or (ii) not so included in
the Funding Statement (e.g., amounts to be incurred for Additional Services) but pre-approved by
Conviva which are incurred by Service Providers in connection with providing the Services (such
pre-approved costs, “Third Party Costs”). Service Providers shall (a) identify in each Funding
Statement the Third Party Costs so incurred since the prior Funding Statement, (b) provide with

                                                   8
            Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 196 of 565




each Funding Statement reasonable supporting details and documentation as reasonably necessary
for Conviva to verify the basis for the Third Party Costs that are included on that Funding
Statement, and (c) identify in each Funding Statement the Third Party Costs that Service Providers
expect to incur in the following month, for which Conviva must provide approval or disapproval
prior to the end of the month.

       Section 5.03 Terminated Services. Upon termination or expiration of any or all Services
pursuant to this Agreement, or upon the termination of this Agreement in its entirety, Service
Providers shall have no further obligation to provide the applicable terminated Services and
Conviva shall have no obligation to pay any future compensation relating to such terminated
Services, except as otherwise expressly set forth in this Agreement or the Purchase Agreement.

        Section 5.04 Taxes. Service Providers shall cooperate with Conviva in determining the
extent to which any Tax is due and owing with respect to the Services and, upon request, provide
Conviva any reasonably requested documents required for Tax or other regulatory purposes. Such
cooperation shall include Service Providers’ provision of such reasonable access to Conviva to
Service Providers’ personnel, records including Patient Records, data, customer information, and
other information as shall be reasonably necessary to so determine such Tax. Conviva shall pay
any sales, use, services, and any other similar Taxes assessed on the provision of independent
contractor services by Service Providers to Conviva pursuant to this Agreement (“Sales Taxes”)
provided that, for the avoidance of doubt and consistent with Section 3.02 hereof, Sales Taxes
shall not include, and Service Providers shall be responsible for and pay, any Taxes based upon or
measured by Service Providers’ net income or property and, except as otherwise provided herein
in connection with the Severance Payments, any other Taxes imposed by Law upon Service
Providers and Service Providers’ employees due to the employment relationship between Service
Providers and Service Providers’ employees. If Conviva is required to withhold or deduct any
Taxes from any payment in connection with or related to this Agreement, Conviva will not be
required to “gross up” the amount of such payment and shall pay to Service Providers the total
amount reflected on the invoice less the applicable withholding Taxes. Conviva and Service
Providers shall cooperate in good faith to minimize Taxes with respect to the Services to the extent
legally permissible. Each Party shall provide and make available to the other Party any resale
certificates, treaty certification, and other exemption information reasonably requested by the other
Party. The Parties acknowledge and agree that payment of the fees provided for in this Agreement
is intended to be the fair market value of the Services provided by Service Providers and is in no
way, directly or indirectly, conditioned on the referral or anticipated referral of patients, clinical
services or other business between Service Providers, Conviva or one of Conviva’s Affiliates.

        Section 5.05 Status of Employees. Except as provided in Section 5.06 and Section 5.07
of this Agreement, (a) whenever any Service Provider utilizes its employees to perform the
Services for Conviva pursuant to this Agreement, such employees shall at all times remain subject
to the direction and control of such Service Provider, and (b) such Service Provider shall have
complete discretion to supervise and manage such employees and any third party contractors
providing the Services on behalf of such Service Provider. Except as set forth herein, Conviva and
its Affiliates shall have no liability for the salaries, wages, fringe benefits, legally required
employer contributions and Tax obligations of the Service Provider Personnel by virtue of the
relationships established under this Agreement.


                                                  9
            Case 24-20576-CLC          Doc 29     Filed 10/13/24     Page 197 of 565




       Section 5.06 Employment of Transitional Employees

               (a)     Except as provided in Section 5.06(b), Service Providers shall continuously
employ each of the Transitional Employees, with the same title and job duties as were in effect for
such Transitional Employee on the day before the Closing Date, from the Closing Date through
the earlier of (i) the day before the applicable Transfer Date, (ii) the effective date of such
Transitional Employee’s voluntary resignation, if any and (iii) the effective date of termination for
Cause of any such Transitional Employee. Except as provided in Section 5.06(c) Service Providers
shall maintain for each Transitional Employee employed by Service Providers the same
compensation, benefits and other terms and conditions of employment that were in effect for such
Transitional Employee on the day before the Closing Date. In addition, Service Providers shall
continue to engage any independent contractors that are physicians, nurse practitioners, physician
assistants and other medical and/or health professionals who provide clinical services to patients
of the Business whose charts and whose records are Purchased Assets pursuant to the Purchase
Agreement until such date as the applicable Service provided hereunder is terminated in
accordance with the terms hereof.

                (b)    Notwithstanding anything to the contrary herein, Service Providers shall
not, without Cause or Conviva’s written consent, terminate the employment of any Transitional
Employee prior to the day before the applicable Transfer Date. Service Providers shall notify
Conviva promptly, and in no event more than three (3) Business Days, after a Transitional
Employee resigns, gives notice of resignation or is terminated by Service Providers for Cause.
Upon Conviva’s written request that a Transitional Employee be removed from service, Service
Providers shall, within three (3) Business Days, cause such Transitional Employee to cease
providing any Services to Conviva and, as of the date thereof, (i) such Transitional Employee shall
cease to be a Transitional Employee, and (ii) Service Providers shall be solely responsible for all
compensation, benefits or other costs associated with such Transitional Employee, except that
Conviva shall be responsible for the cost of sixty (60) days Severance Pay to be paid to each such
Transitional Employee if that individual’s employment with Service Providers is terminated as a
result of Conviva’s request for removal of that employee from service. Service Providers shall not
make any change to the title or job duties of any Transitional Employee without Conviva’s written
consent or written request. Upon Conviva’s written request, Service Providers shall promptly
change the title and/or job duties of any Transitional Employee.

               (c)     Service Providers shall not, without Conviva’s written consent or as
required by applicable Law or the terms of a written contract or Plan in effect on the Closing Date,
make any change to the compensation, benefits or other terms and conditions of employment of
any of the Transitional Employees prior to the applicable Transfer Date. Service Providers shall
not terminate any of the Plans prior to the Transfer Date of the last Transferred Employee, as
confirmed in writing by Conviva; provided, however, that Service Providers shall promptly
terminate any Plan upon Conviva’s written request.

              (d)     Service Providers shall not employ or engage any individual as a
Transitional Employee without Conviva’s written consent. Upon Conviva’s written request,
Service Providers shall promptly employ as a Transitional Employee, in such position and upon
such terms and conditions of employment as Conviva shall specify at its discretion, any individual
identified by Conviva. Upon Conviva’s written request in connection with a Transitional

                                                 10
            Case 24-20576-CLC          Doc 29     Filed 10/13/24     Page 198 of 565




Employee ceasing to be a Transitional Employee, Service Providers shall promptly use their
commercial best efforts, or make such greater or lesser effort as Conviva shall specify at its
discretion, to recruit and employ a qualified individual to replace such former Transitional
Employee as a Transitional Employee upon the same terms and conditions of employment or such
other terms and conditions as Conviva shall specify at its discretion. The cost of such recruiting
efforts shall be subject to Conviva’s prior approval and, to the extent approved by Conviva, shall
be included as “Business Expenses” (as defined in Schedule A). Notwithstanding the foregoing,
Service Providers shall not employ or engage any individual as a Transitional Employee whose
employment in such position would violate applicable law or regulatory requirements.

               (e)    As used herein, “Transitional Employees” shall mean (i) the employees of
the Service Providers who are identified on (or required to be identified on) Section [3.11(a)@ of
the Disclosure Schedules to the Purchase Agreement and who remain employees of a Service
Provider on the day before the Closing Date and (ii) those individuals who become Transitional
Employees as provided in subsection (d).

                (f)     As used herein, “Cause” shall mean a Transitional Employee’s (i)
conviction of (including plea of guilty or no-contest) to any felony, (ii) commission of any act
constituting a felony, or fraud or material dishonesty, in connection with employment, (iii) material
breach of any contract with a Service Provider that is not cured (if capable of cure) within ten (10)
days after written notice of such breach, or (iv) material violation of any applicable written policy
of a Service Provider or Conviva that is not cured (if capable of cure) within ten (10) days after
written notice of such violation.

              (g)    As used herein, the “Transfer Date” shall mean, for any Transitional
Employee, the date upon which that Transitional Employee becomes a Transferred Employee.

                (h)    Notwithstanding anything to the contrary herein, Service Providers are not
obligated to comply with Conviva’s requests as provided in this Section 5.06, and Service
Providers shall not be deemed in breach of this Agreement for failure or refusal to comply with
such requests, if compliance with those requests would cause Service Providers to breach any
applicable laws or regulations; or with respect to Additional Services requested by Conviva, if
providing such Additional Services would breach any pre-existing agreement of Service Providers;
provided that Service Providers shall use their commercially reasonably efforts to find an
alternative arrangement to comply with such request that does not cause Service Provider to breach
an applicable law or regulation (or agreement applicable to requested Additional Services).

               (i)     Offers of Employment by Conviva.

                       (i)      During the Term of this Agreement, Conviva or an Affiliate of
       Conviva may offer employment to those Transitional Employees as Conviva or its Affiliate
       may elect at its sole discretion. Conviva shall promptly provide notice to Service Providers
       of those Transitional Employees who have been offered employment.

                      (ii)   Not later than the day before the applicable Transfer Date, Service
       Providers shall terminate the employment of the applicable Transitional Employee if such
       employee has accepted an offer of employment from Conviva or an Affiliate of Conviva.

                                                 11
            Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 199 of 565




       Any Transitional Employee who accepts an offer of employment from Conviva or an
       Affiliate of Conviva and commences employment with Conviva or such Affiliate of
       Conviva shall be hereinafter referred to as a “Transferred Employee” effective as of the
       date such employee commences employment with Conviva or an Affiliate of Conviva.

                     (iii) Those Transitional Employees who fail to accept an offer of
       employment from Conviva or an Affiliate of Conviva, or who otherwise fail to commence
       employment with Conviva or an Affiliate of Conviva on the applicable Transfer Date, will
       not become employees of Conviva or an Affiliate of Conviva, and, for the avoidance of
       doubt, Conviva and Conviva’s Affiliates will have no obligations of any kind with respect
       to such employees. Except as expressly set forth herein or in the Purchase Agreement,
       Conviva and Conviva’s Affiliates will not assume or be obligated under any Contracts,
       commitments or undertakings between any Service Provider and the Transferred
       Employees.

                        (iv)  If any Transitional Employee who is on long-term disability or other
       long-term leave of absence as of the Hard Stop Date is able to return to active employment
       within thirty (30) days of the Hard Stop Date, Conviva or an Affiliate of Conviva may, at
       its sole discretion, make such Transitional Employee an offer of employment as provided
       above and, if accepted, such Transitional Employee will become a Transferred Employee
       from and after the date that his or her employment with Conviva or an Affiliate of Conviva
       commences as provided in such offer.

                     (v)     Service Providers shall cooperate with and provide any
       commercially reasonable assistance to Conviva, to the extent reasonably requested by
       Conviva, with respect to the transition of employment of the Transitional Employees to the
       Conviva on the applicable Transfer Date, including the making of offers of employment
       by Conviva to Transitional Employees.

                (j)     Following the applicable Transfer Date and during the Term, Conviva may
provide Service Providers access to certain of the Transferred Employees to assist in the provision
of certain of the Services pursuant to the terms of this Agreement. Service Providers and Conviva
will work in good faith to determine the scope, timing and nature of any such access, which shall
be provided by Conviva at no charge to the Service Providers. To the extent that Conviva provides
access to any such Transferred Employees, Service Providers shall not be entitled to claim Service
Providers’ Limitations with respect to the underlying Service solely by reason of the unavailability
of such Transferred Employees. In addition, Conviva shall have no liability under this Agreement
or otherwise to Service Providers with respect to the foregoing.

                 (k)      Nothing in this Agreement, whether express or implied, is intended to, or
shall, (i) constitute the establishment or adoption of or an amendment to any employee benefit plan
for purposes of ERISA or otherwise be treated as an amendment or modification of any Plan or
other benefit plan, agreement or arrangement of Conviva, (ii) limit the right of Conviva or its
Affiliates to amend, terminate or otherwise modify any benefit plan, agreement or arrangement of
Conviva for any Transferred Employee following the applicable Transfer Date, or (iii) create any
third party beneficiary or other right (x) in any Person, including any current or former employee
of the Service Providers or their Affiliates, any participant in any Plan or other benefit plan,

                                                12
            Case 24-20576-CLC          Doc 29      Filed 10/13/24     Page 200 of 565




agreement or arrangement (or any dependent or beneficiary thereof) of Conviva or (y) to continued
employment with Conviva or the Service Providers. Nothing in this Agreement shall be deemed
to prevent or restrict in any way the right of Conviva or their Affiliates to terminate, reassign,
promote or demote any of the Transferred Employees after the applicable Transfer Date or to
change adversely or favorably the title, powers, duties, responsibilities, functions, locations, or
terms or conditions of employment of such employees. For the avoidance of doubt, neither
Conviva nor its Affiliates shall assume sponsorship of, or any obligations under, or Liabilities with
respect to, or receive any right or interest in any trusts relating to, any assets of or any insurance,
administration or other contracts pertaining to any Plan.

                (l)     During the Term of this Agreement and if and as permitted by the
Bankruptcy Court, Service Providers shall utilize reasonable best efforts, at the request and
expense of Conviva, to enforce all existing covenants, obligations and agreements of the
Transitional Employees regarding the Business (“Covenants”), including but not limited to
Covenants relating to non-competition, non-solicitation, confidentiality and protection of
intellectual property, to the extent that such Covenants are not validly assigned to and enforceable
by Conviva, and shall not circumvent any Covenant or cause or assist any Transitional Employee
to violate any of his/her Covenants. In the event that a court or arbitrator of competent jurisdiction
determines that any Covenant purportedly assigned to Conviva has not been validly assigned to or
is otherwise unenforceable by Conviva, then during the Term of this Agreement and if and as
permitted by the Bankruptcy Court, Service Providers shall, upon Conviva’s request and at
Conviva’s expense (subject to any applicable duty of indemnification by Service Providers),
enforce such Covenant, including through litigation, in accordance with all lawful directions of
Conviva, and Conviva shall have full power and authority to direct and control the prosecution,
defense, settlement and resolution of any such litigation or other enforcement efforts.

               (m)    If the provision of Services may require Service Providers to enter into
contracts or agreement after the date hereof that do not, by their terms, end upon any Term of this
Agreement, Service Providers shall notify Conviva thereof, however, Service Providers shall be
under no obligation to enter into any such contract or agreement or provide Services that depend
upon obtaining any such contract or agreement.



       Section 5.07 Clinical Operations

                (a)     The performance of the Services includes utilizing Transitional Employees
or independent contractors that are physicians, nurse practitioners, physician assistants and other
medical and/or health professionals employed or engaged, as applicable, by Service Providers who
provide clinical services to patients of the Business whose charts and whose records are Purchased
Assets pursuant to the Purchase Agreement (“Clinical Transitional Personnel”). Service Providers
will ensure that all Clinical Transitional Personnel who provide clinical services to the Business
shall remain to the extent applicable to each Clinical Transitional Personnel’s profession and job
responsibilities: (a) duly licensed and in good standing under the laws of the State of Florida to
engage in an unrestricted professional practice of his, her, or their profession; (b) a participating
contractor in federal and/or state health care programs, including Medicare and/or Medicaid; (c)


                                                  13
            Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 201 of 565




appropriately trained and skilled in his, her, or their profession; (d) up to date with continuing
education requirements, as applicable; and (e) in compliance with all applicable Laws.

               (b)     Service Providers will be responsible for the credentialing, interviewing,
employing, and onboarding of individuals employed or engaged as Clinical Transitional Personnel
during the Term and with the coordination of services from other third parties for the operation of
the Business. Service Providers shall utilize reasonable best efforts to ensure that the Clinical
Transitional Personnel (i) cooperate with Conviva in the performance of the Services to the
Business and the other actions taken by Conviva, and (ii) comply with the terms of all agreements
entered into by Service Providers or by Conviva on behalf of the ongoing operations of the
Business. The Service Providers will use reasonable best efforts to ensure that all professional
actions and services of the Business are rendered in compliance with applicable Law and
professional standards of care and ethical standards applicable to the practice of medicine and
other healing arts professions; provided, however, that Service Providers shall not be responsible
for professional actions of the Business taken at the direction of Conviva or its Affiliates.

                 (c)     The Clinical Transitional Personnel shall, to the fullest extent permitted by
applicable Law, work under the direction and supervision of Conviva or its designated Affiliate
during the time that the Clinical Transitional Personnel spend performing clinical duties on
Conviva’s behalf to the Business and, following receipt of Conviva’s customary training with
respect to its policies generally, shall follow the policies, procedures and protocols of Conviva and
its Affiliates, provided that nothing in this Agreement will be interpreted to preclude or otherwise
restrict any Clinical Transitional Personnel’s ability to exercise independent professional judgment
over any qualitative or quantitative aspects of the delivery of medical care.

                                     ARTICLE VI
                              CONFIDENTIAL INFORMATION

       Section 6.01 Treatment of Confidential Information. The Receiving Party agrees:

              (a)     not to disclose or otherwise make available Confidential Information of the
Disclosing Party to any third party without the prior written consent of the Disclosing Party;
provided, however, that the Receiving Party may disclose the Confidential Information of the
Disclosing Party to its, and its Affiliates’ and their officers, employees, consultants, and legal
advisors who have a “need to know”, who have been apprised of this restriction, and who are
themselves bound by nondisclosure obligations at least as restrictive as those set forth in this
Section 6.01;

               (b)     to use the Confidential Information of the Disclosing Party only for the
purposes of performing its obligations under the Agreement or, in the case of Conviva, to make
use of the Services; and

                (c)     to promptly notify the Disclosing Party in the event it becomes aware of any
loss or disclosure of any of the Confidential Information of the Disclosing Party.

        Section 6.02 Limited Disclosure. If the Receiving Party becomes (or if it is reasonably
likely that the Receiving Party or its representatives shall become) required or compelled by
applicable Laws to disclose any Confidential Information, the Receiving Party shall provide:
                                                 14
            Case 24-20576-CLC          Doc 29     Filed 10/13/24     Page 202 of 565




               (a)     prompt written notice of such requirement to the Disclosing Party, to the
extent practicable and except as prohibited by Laws, so that the Disclosing Party may seek, at its
sole cost and expense, a protective order or other remedy or waive compliance with the terms of
this Agreement; and

              (b)    reasonable assistance, at the Disclosing Party’s sole cost and expense, in
opposing such disclosure or seeking a protective order or other limitations on disclosure.

               If, after providing such notice and assistance as required herein, the Receiving Party
remains required by Laws to disclose any Confidential Information, the Receiving Party shall
disclose no more than that portion of the Confidential Information which, on the advice of the
Receiving Party’s legal counsel, the Receiving Party is legally required to disclose and, upon the
Disclosing Party’s request, shall use commercially reasonable efforts to obtain assurances from
the applicable court or agency that such Confidential Information will be afforded confidential
treatment.

        Section 6.03 Destruction. Following a written request from the Disclosing Party, with
respect to its Confidential Information, the Receiving Party promptly (a) shall, and shall cause
each of its Affiliates and representatives to return to the Disclosing Party, or destroy, at the
Receiving Party’s option, all Confidential Information reduced to written form, whether so
obtained before or after the execution hereof and (b) provide the Disclosing Party with a certificate
of return or destruction that includes the dates and facts of the return or destruction and is signed
by an officer of the Receiving Party; provided that the Receiving Party and its representatives may
retain such documents and records as are stored in automated computer backup systems, as are
required to be maintained in order to satisfy any applicable legal or regulatory record retention
requirements, but all such documents and records remain subject to the confidentiality obligations
herein.

                                        ARTICLE VII
                                    FACILITIES MATTERS

         Section 7.01 Service Providers shall cause the tenant party (the “Tenant”) to each such
lease (“Overlease”) under which any Service Provider has the right to occupy an applicable facility
listed on Schedule B that is a Desired 365 Contract on the Effective Date but has not yet been
designated an Assumed Contract or Excluded Contract under the Purchase Agreement (each, a
“Facility”) to use commercially reasonable efforts, at the risk and expense of Conviva, to grant to
Conviva or its applicable Affiliates (including for clarity, HUM Provider Holdings, LLC), as
identified by Conviva, (a) an irrevocable license from the applicable Tenant to exclusively use,
occupy and access the premises demised under such Overlease at certain Facilities (or where such
a license is not permitted under the terms of the Overlease, Service Providers shall cause the tenant
party (until and unless the applicable landlord objects in writing) to otherwise permit such use,
occupation and access), together with (b) use of the furniture, fixtures, workstations, equipment,
and other personal property located therein (“Furniture”), and (c) access to and use of cafeterias,
breakrooms, restrooms, parking areas, entrances, walkways, and accessways, and other common
facilities available to Service Providers under the Overlease (“Common Areas”), each as of the
Effective Date through the Hard Stop Date (such period, the “Facility Term”). Service Providers
acknowledge that Conviva may at is discretion remove any Purchased Assets (including personal

                                                 15
            Case 24-20576-CLC          Doc 29      Filed 10/13/24     Page 203 of 565




health information but excluding Furniture) from the Facilities, and Service Providers shall not
interfere with Conviva’s moving and removing the Purchased Assets and otherwise transitioning
the Business to Conviva during the Facility Term. Service Providers shall cooperate, at no cost to
Service Providers, with Conviva in changing the locks and alarm security codes. Conviva shall
turn over all security codes, keys, badges and other security related property to Service Providers
at the end of the Facility Term for each Facility.

        Section 7.02 Conviva shall remove all of its assets prior to the last day of the Facility
Term. On the day that Conviva completes the removal of its assets from an applicable Facility, a
designated representative of Service Providers and a designated representative of Conviva shall
inspect the Facility to confirm that Conviva has (a) vacated the Facility and (b) removed Conviva’s
assets from the Facility. If Conviva has vacated the Facility in accordance with the foregoing
sentence, Service Providers shall provide Conviva with written confirmation of this determination.
If Conviva has not vacated the Facility in accordance therewith, Service Providers shall identify
in writing the failures of Conviva to comply therewith. Upon Conviva’s receipt of the written
notice described in the previous sentence, Service Providers will provide Conviva with reasonable
access to the Facility to complete Conviva ’s obligations, not to exceed ten (10) days, and in all
events prior to any expiration or termination of any Overlease. Notwithstanding anything to the
contrary, in the event that an Overlease is terminated, Conviva shall vacate the associated Facility
in accordance with the terms of such Overlease.

        Section 7.03 Each Party shall indemnify and hold harmless the other Party in accordance
with Article IX hereof, provided that the Parties mutually waive all rights and claims against each
other for all losses to the extent covered by their respective insurance policies, and waive all rights
of subrogation of their respective insurers. The Parties agree that their respective insurance policies
are now, or shall be, endorsed such that said waiver of subrogation shall not affect the right of the
insured to recover thereunder.

         Section 7.04 With respect to any utility service only currently paid for by Service
Providers (directly to a utility provider, or as a reimbursement to landlord), Service Providers will
not cease the current utility services and will use commercially reasonable efforts to continue all
utility services in substantially the same manner as provided as of the date of this Agreement and
Conviva will pay for such utility services in accordance with Section 5.01 above. Service
Providers shall use reasonable efforts at no cost to Service Providers to enforce any obligations of
the landlord under the Overlease applicable to the Facility.

       Section 7.05 During the Facility Term, Service Providers shall not breach or default
under the Overleases or terminate any Overlease other than at the express direction of Conviva.

        Section 7.06 The license rights to the extent granted pursuant to this Article VII shall be
in the nature of a license and shall not create a leasehold (or right to grant a sublicense or sub-
leasehold to any unaffiliated third party) or other estate or possessory rights in Conviva with
respect to the Facilities or Common Areas.

       Section 7.07 Any rights under this Article VII shall be subject and subordinate to the
applicable Overlease, all matters to which an Overlease is subject, including without limitation to
any mortgage or deed of trust thereon or on the fee simple interest in the building or the land on

                                                  16
            Case 24-20576-CLC          Doc 29      Filed 10/13/24     Page 204 of 565




which the Facilities are located. Each Party shall use commercially reasonable efforts to abide by
the other Party’s security, access, and confidentiality requirements (to the extent disclosed), shall
not disturb the business of the other.

                                     ARTICLE VIII
                          DATA AND INTELLECTUAL PROPERTY

        Section 8.01 Ownership of Data. Subject to the following sentence, Conviva shall own
all right, title, and interest in and to all Conviva Data. Excluding Conviva Data, the applicable
Service Provider shall be the sole and exclusive owner of all data of a technical or administrative
nature relating solely to (a) the operation of the Services infrastructure or (b) such Service Provider
and its Affiliates’ Intellectual Property rights to the extent same are not included in the “Purchased
Assets” acquired by Conviva pursuant to the Purchase Agreement.

        Section 8.02 Security Measures and Breaches. Service Providers shall (and shall
ensure that its representatives, including Transitional Employees and independent contractors) (a)
take all reasonable technical and organizational measures necessary to ensure that the Conviva
Data is protected against, and shall be liable for any and all loss, destruction, damage, and
unauthorized access, use, modification, disclosure, and other misuse of Conviva Data, including
such measures as logically separating Conviva Data from all other data and addressing any new
security-related issues, including compliance with applicable Laws related to security and issues
in connection with new technologies or threats, (b) ensure that only people with a specific need
have access to Conviva Data (and that no other third parties to whom Service Providers or any of
their Affiliates are providing services has access to any Conviva Data), and (c) not make any use
of or attempt to gain access to any part of Conviva’s business systems and communications
networks or to any Conviva Data not specifically made available to Service Providers under this
Agreement. Promptly upon discovery of an actual or suspected breach of the security of any
Conviva Data, including any loss, destruction, damage, or unauthorized activity or access, or any
violation of any Privacy and Security Laws (“Security Incident”), Service Providers shall (i)
provide prompt written notice to Conviva explaining the nature and scope of such Security
Incident, (ii) provide Conviva with reasonable assistance in connection with any investigation
Conviva deems reasonably necessary (including any forensic investigation) into such Security
Incident, and (iii) be responsible for all reasonable costs associated with such Security Incident
relating to breach notification, breach remediation, and identity protection services that are
required by applicable Law. Conviva shall control all communications and notifications regarding
any such Security Incident as it relates to Conviva Data; provided that nothing in this Agreement
shall be interpreted to prohibit Service Providers from complying with applicable Laws and their
own contractual or other legal obligations; provided further that Service Providers shall provide
notice to Conviva of any such inability to comply.

       Section 8.03 Treatment of Personal Information. Service Providers shall (and shall
ensure that their representatives, including Transitional Employees and independent contractors)
(a) Process Personal Information under this Agreement only at the direction of Conviva, (b)
perform the Services in compliance with all applicable Laws related to the privacy, security, or
Processing of any Personal Information (“Privacy and Security Laws”), (c) not do or omit to do
anything in connection with this Agreement that will (or could reasonably be expected to) cause
Conviva to be in breach of any applicable Privacy and Security Laws, and (d) not Process Personal

                                                  17
            Case 24-20576-CLC          Doc 29      Filed 10/13/24     Page 205 of 565




Information in any manner that violates this Agreement or any applicable Privacy and Security
Law, or for any purpose other than to the extent necessary to provide the Services, all of the above
provided that nothing in this Section 8.03 shall be interpreted to prohibit Service Providers from
complying with applicable Laws and their own contractual or other legal obligations; provided
further that Service Providers shall provide notice to Conviva of any such inability to comply.

        Section 8.04 Business Associate Agreement. Service Providers will, or are likely to,
create, maintain, receive and/or transmit certain Protected Health Information, as defined by the
Health Insurance Portability and Accountability Act of 1996, as amended (“HIPAA”), in
conjunction with the Services. In conformity with the regulations at 45 C.F.R. Parts 160-164
implementing the privacy and security requirements of HIPAA (the “Privacy and Security
Rules”), the Parties have entered into a written agreement that meets the applicable requirements
of the Privacy and Security Rules, and such written agreement is attached hereto and made a part
hereof as Exhibit 1 (the “Business Associate Agreement” or “BAA”). The BAA is in addition to
the terms and conditions of this Agreement, and to the extent that the terms and condition of the
BAA are stricter than, conflict with, or are otherwise inconsistent with this Agreement (except for
the BAA), the terms and conditions of the BAA shall prevail.

       Section 8.05 Ownership of Intellectual Property Rights.

                 (a)     Except for the Intellectual Property included as “Purchased Assets” and
acquired by Conviva pursuant to the Purchase Agreement, each of the Parties shall retain all right,
title and interest in and to their respective Intellectual Property in existence prior to the Effective
Date. Except as otherwise expressly agreed to in writing for any given Service, Conviva shall
exclusively own all right, title, and interest throughout the world in and to all Intellectual Property
developed, created, authored, or invented (“Developed”) by or on behalf of the Service Providers
through or in connection with performance of the Services or under this Agreement that relate
solely to the Business (collectively “Developed IP”), and Service Providers agree to and hereby
do irrevocably assign any and all right, title, or interest they may have in Developed IP to Conviva.
Service Providers shall promptly execute any documents and promptly take any other actions
reasonably requested by Conviva to effectuate the purposes of this Section 8.05(a). Service
Providers hereby grant to Conviva a royalty-free, worldwide, non-exclusive, perpetual,
irrevocable, freely transferable, and sublicensable license to use, copy, modify and/or apply to
register with any registry authorized under any Laws any (i) Service Provider Intellectual Property
incorporated into or necessary for the use or operation of any of the Developed IP, such Intellectual
Property in connection with the use or operation of any Services or exploiting the Developed IP
and (ii) other Intellectual Property that is Developed under this Agreement that does not constitute
Developed IP and that is incorporated into or necessary for the use or operation of any Services or
any other deliverable or work product delivered by Service Providers to Conviva.

               (b)     To the extent Intellectual Property is not included in the “Purchased Assets”
acquired by Conviva pursuant to the Purchase Agreement, during the Term of this Agreement,
each Party hereby grants on behalf of itself and its Affiliates to the other Part(y)(ies) and its or
their Affiliates, a limited, royalty-free, fully paid-up, worldwide, non-sublicensable, non-
exclusive, non-transferable license solely during the Term in, to and under all Intellectual Property,
software, technology and data owned or controlled by such Party or any of its Affiliates, solely to
the extent necessary for, as applicable, the Service Providers to provide the Services and Conviva

                                                  18
            Case 24-20576-CLC          Doc 29      Filed 10/13/24     Page 206 of 565




to receive and use the Services. Any and all goodwill arising from a Party’s use of another Party’s
Trademarks under such license shall inure solely to the Party that owns or controls such
Trademark. Following termination or expiration of this Agreement, each Party shall immediately
cease using, and for any physical items promptly destroy or return, any Intellectual Property,
software, technology or data owned or controlled by the other Party, except any Intellectual
Property subject to any right or license granted to such Party hereunder or under the Purchase
Agreement.

        Section 8.06 Ownership of Transferred Patient Records. In addition to the Patient
Records included as “Purchased Assets” and acquired by Conviva pursuant to the Purchase
Agreement and in no way limiting such acquisition and ownership of Patient Records, effective as
of the Effective Date or as generated by Service Providers on Conviva’s behalf on or after the
Effective Date during the Term of this Agreement, Service Providers hereby transfer custody,
possession, and control of the Transferred Patient Records to Conviva. Conviva shall act as the
“records owner” of the Transferred Patient Records for purposes of § 456.057 of the Florida
Statutes and under any other applicable Laws.

         Section 8.07 Access to Facilities. Conviva shall allow Service Providers and their
subsidiaries reasonable access to the facilities of Conviva necessary for Service Providers to fulfill
their obligations under this Agreement. Service Providers shall, and shall cause their subsidiaries
to, allow Conviva and its representatives reasonable access to the facilities of Service Providers to
the extent necessary for Conviva to fulfill its obligations, and receive the benefit of the Services,
under this Agreement. Notwithstanding the other rights of access of the Parties under this
Agreement, Service Providers shall afford Conviva, following not less than five (5) business days’
prior written notice from Conviva, reasonable access during normal business hours to the facilities,
information (including Business data), systems, infrastructure, and personnel of Service Providers
as reasonably necessary for Conviva (i) to verify the adequacy of internal controls over information
technology, reporting of financial data, and related processes employed in connection with the
Services, including in connection with verifying compliance with Section 404 of the Sarbanes-
Oxley Act of 2002, or (ii) to transition or migrate a Service provided under this Agreement from
Service Providers to Conviva or a service provider engaged for the Service by Conviva; provided,
however, such access shall not unreasonably interfere with any of the business or operations of
such Party or its Subsidiaries and shall not require Service Providers to disclose any information
that is protected by privilege, trade secret, or similar protection.

                                  ARTICLE IX
                    INDEMNIFICATION; LIMITATION OF LIABILITY

        Section 9.01 Service Providers Indemnification. Service Providers shall indemnify,
defend and hold harmless Conviva from and against any and all Losses in connection with a third
party claim relating to, arising out of or resulting from (a) the gross negligence, willful misconduct,
or fraud of any Service Provider, (b) any claim that the Services provided by any Service Provider
infringe or otherwise violate any Intellectual Property of any third party, (c) any Service Provider’s
material breach of this Agreement, or (d) any Service Provider’s employment or engagement, or
termination of employment or engagement, of employees or other service providers, except to the
extent that the Losses arise from Conviva’s gross negligence, willful misconduct, fraud, or breach
of this Agreement.

                                                  19
            Case 24-20576-CLC           Doc 29     Filed 10/13/24      Page 207 of 565




        Section 9.02 Conviva Indemnification. Conviva shall indemnify, defend, and hold
harmless Service Providers from and against any and all Losses in connection with a third party
claim relating to, arising out of or resulting from (a) the gross negligence, willful misconduct, or
fraud of Conviva, or (b) Conviva’s material breach of this Agreement, in each case, except to the
extent that the Losses arise from any Service Provider’s gross negligence, willful misconduct,
fraud, or breach of this Agreement.

         Section 9.03 Notice of Claims. A Party or Parties entitled to indemnification hereunder
(the “Indemnified Party”) will give the Party or Parties required to provide such indemnification
(the “Indemnifying Party”) prompt written notice of any legal proceeding, claim or demand
instituted by any third party (in each case, a “Claim”) in respect of which the Indemnified Party
or Parties are entitled to indemnification hereunder; provided that the failure to provide such notice
shall not affect the rights of the Indemnified Party or Parties hereunder except in the event and to
the extent that the Indemnifying Party or Parties are actually and materially prejudiced by such
failure.

         Section 9.04 Defense and Settlement. The Indemnifying Party or Parties shall have the
right, by giving written notice to the Indemnified Party or Parties, at its or their option and expense,
to defend against, negotiate, settle, or otherwise deal with any Claim with respect to which it or
they are the Indemnifying Party and to have the Indemnified Party or Parties represented by
counsel, reasonably satisfactory to the Indemnified Party or Parties, selected by the Indemnifying
Party or Parties; provided that the Indemnified Party or Parties may participate in any proceeding
with counsel of its or their choice and at its or their expense; and, provided further, that the
Indemnifying Party or Parties may not enter into a settlement of any such Claim without the
consent of the Indemnified Party or Parties unless such settlement requires no more than a
monetary payment for which the Indemnified Party or Parties are fully indemnified to the extent
required hereunder or involves other matters not binding upon or affecting the Indemnified Party
or Parties and the Indemnified Party or Parties receive or are otherwise entitled to the benefit of a
full release. The Indemnified Party or Parties shall not settle or compromise any Claim for which
it or they are entitled to indemnification hereunder without the prior written consent of the
Indemnifying Party or Parties, which shall not be unreasonably withheld or delayed. The Parties
will cooperate fully with each other in connection with the defense, negotiation or settlement of
any Claim.

       Section 9.05 Limitation of Liability.

                 (a)     Except for claims based on Fraud and the rights of the Parties to seek
injunctive relief or specific performance as provided in this Agreement, the Parties acknowledge
and agree that following the termination of the Term of this Agreement the indemnities provided
for in this Article IX are the sole and exclusive remedies of the Indemnified Parties for any breach
of this Agreement. In no event shall Service Providers have any obligation to indemnify the
Conviva for any Losses under this Agreement in an aggregate amount in excess of or any amount
other than the Holdback Amount.

              (b)    Without prejudice or limitation to any other remedies available to Conviva,
in the event that Conviva as an Indemnified Party is entitled to any amounts hereunder or
indemnification pursuant to this Agreement, Conviva may set-off such amount solely against the

                                                  20
            Case 24-20576-CLC          Doc 29     Filed 10/13/24     Page 208 of 565




Holdback Amount. In the event Conviva as an Indemnified Party has made a good faith claim for
indemnification hereunder and any Service Provider disputes its obligation to make such
indemnification, Conviva may nonetheless withhold the amount of such claimed indemnification
from the Holdback Amount until such dispute is resolved and such withholding shall not be
deemed a default by Conviva hereunder.

           (c)   EXCEPT WITH RESPECT TO LIABILITY FOR PAYMENTS IN
ACCORDANCE WITH Article V, A PARTY’S BREACH OF Article VI OR Article VIII, (A)
IN NO EVENT SHALL EITHER PARTY BE LIABLE, WHETHER IN CONTRACT, TORT
(INCLUDING NEGLIGENCE AND STRICT LIABILITY) OR OTHERWISE, FOR ANY
LOSSES ARISING FROM OR RELATED TO THIS AGREEMENT THAT ARE IN THE
NATURE OF LOST PROFITS OR INDIRECT, SPECIAL, CONSEQUENTIAL, PUNITIVE,
SPECULATIVE OR INCIDENTAL DAMAGES, REGARDLESS OF WHETHER SUCH
PARTY HAS BEEN ADVISED OF THE POSSIBILITY OF SUCH DAMAGES, AND (B) IN
NO EVENT SHALL CONVIVA’S LIABILITY OR THE SERVICE PROVIDERS’
COLLECTIVE LIABILITY HEREUNDER EXCEED THE AGGREGATE OF ALL AMOUNTS
PAID TO SERVICE PROVIDERS DURING THE TERM OF THIS AGREEMENT

                                   ARTICLE X
                       TERMINATION; EFFECT OF TERMINATION

         Section 10.01 Term. This Agreement shall become effective upon the Effective Date of
this Agreement and shall remain in effect until the earlier of (a) expiration or termination of all
Services, or (b) the Hard Stop Date (the “Term”). Conviva may terminate this Agreement, upon
at least thirty (30) days’ prior notice to Service Providers in writing, in which case the only fees
for which Conviva shall be liable with respect to this Agreement shall be any costs incurred by
Service Providers for provision of the Service(s) prior to the effective date of termination, as well
as Severance Pay as otherwise expressly set forth in this Agreement.

       Section 10.02 Breach. Service Providers may terminate this Agreement effective upon
written notice to Conviva, if Conviva fails to pay or cause to be paid, when due, any payment
required under this Agreement that is not subject of a good faith dispute, if such failure is not
remedied within ten (10) Business days after written notice of such failure is given by Service
Providers. Conviva may terminate this Agreement if any Service Provider materially breaches this
Agreement, and such breach is incapable of cure, or with respect to a breach capable of cure, the
applicable Service Provider does not cure such breach within thirty (30) days after receipt of
written notice from Conviva of such breach. Service Providers may terminate this Agreement
immediately upon written notice to Conviva if Conviva files, or has filed against it, a petition for
voluntary or involuntary bankruptcy or pursuant to any other insolvency law or makes or seeks to
make a general assignment for the benefit of its creditors or applies for or consents to the
appointment of a trustee, receiver or custodian for it or a substantial part of its property.

        Section 10.03 Effect of Termination. Upon termination of this Agreement all obligations
of the Parties hereto shall terminate, except for the provisions of Article VI, Article VIII, Article
IX, Article X, and Article XI, which will survive any such termination or expiration of this
Agreement.


                                                 21
            Case 24-20576-CLC          Doc 29     Filed 10/13/24     Page 209 of 565




        Section 10.04 Destruction Process; Attestation. No later than sixty (60) days following
the end of the Term, each Service Provider shall permanently and irretrievably delete or destroy
or return to Conviva (and shall cause its Affiliates and any of its or their subcontractors to
permanently and irretrievably delete or destroy or return to Conviva), as directed by Conviva, all
Conviva Data, including all copies thereof, in any form, format, or media, in its possession,
custody, or control (and in the possession, custody, or control of its Affiliates any of its or their
subcontractors) such that all such Conviva Data has been rendered unusable and inaccessible, in
all cases in compliance with all applicable Laws, including Healthcare Laws (the foregoing process
shall be referred to as the “Destruction Process”), and shall certify in writing to Conviva that all
Conviva Data has been so deleted or destroyed using the attestation form attached hereto as
Exhibit 2.

                                         ARTICLE XI
                                       MISCELLANEOUS

        Section 11.01 Further Assurances. The Parties shall execute and deliver such other
documents and instruments, and take such other actions, as any Party may reasonably request in
order to effectuate the transactions contemplated by this Agreement.

        Section 11.02 Independent Contractors. The relationship between the Parties is that of
independent contractors. Nothing contained in this Agreement shall be construed as creating any
agency, partnership, joint venture or other form of joint enterprise, employment or fiduciary
relationship between the Parties, and, except as set forth in this Agreement, neither Party shall
have authority to contract for or bind the other Party in any manner whatsoever. Conviva
acknowledges that Service Providers are not in the business of providing the Services to third
parties and that Service Providers are entering into this Agreement only in connection with the
transactions contemplated under the Purchase Agreement.

        Section 11.03 Notices. All notices, requests, demands, and other communications required
or permitted to be given hereunder shall be in writing and shall be deemed to have been duly given
when received if delivered personally; mailed by first class mail, postage prepaid, registered or
certified mail, return receipt requested; delivered by Federal Express or other overnight courier
service; or sent by facsimile, e-mail, or other online transmission system with written confirmation
of delivery, as follows:

If to Conviva:                 Conviva Medical Center Management, LLC
                               c/o Humana Inc.
                               500 West Main Street
                               Louisville, Kentucky 40202
                               Attention: Joseph M. Ruschell, Vice President, Associate General
                                    Counsel & Corporate Secretary
                               Email: JRuschell1@humana.com


If to Service Providers:        MB Medical Operations, LLC
                               1175 Peachtree St NE
                               Suite 1000

                                                 22
            Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 210 of 565




                               Atlanta, GA 30361
                               Attention: Nicholas Campbell
                               Email Address: nick@wearemeru.com


                               With a copy to:
                               Berger Singerman LLP
                               1450 Brickell Avenue
                               Suite 1900
                               Miami, FL 33131
                               Attention: Paul Singerman
                               Email Address: Singerman@bergersingerman.com


        Section 11.04 Governing Law. This Agreement, the negotiation, terms and performance
of this Agreement, the rights of the parties under this Agreement, and all actions arising in whole
or in part under or in connection with this Agreement, are to be governed by and construed in
accordance with the domestic substantive Laws of the State of Delaware, without giving effect to
any choice or conflict of law provision or rule that would cause the application of the Laws of any
other jurisdiction.

       Section 11.05 Submission to Jurisdiction and Venue; Waiver of Jury Trial.

                (a)     Any suit, action, or proceeding relating to, arising out of or based upon this
Agreement, shall be brought or otherwise commenced in the Bankruptcy Court provided that the
Bankruptcy Cases remain pending or the Bankruptcy Court has retained jurisdiction, and otherwise
in the state court of the state of Delaware located in the city of Wilmington and county of New
Castle. Each Party expressly and irrevocably submits to the exclusive jurisdiction of such court in
connection with any such suit, action or proceeding. Each Party agrees that service of all process
in any such proceeding or other legal action may be made by notice to the applicable Party at its
address provided in accordance with Section 11.03 is sufficient to convey personal jurisdiction
over the applicable Party in any such proceeding or other legal action, and otherwise constitutes
effective and binding service in every respect. The Parties irrevocably and unconditionally waive
any objection to personal jurisdiction and the laying of venue of any suit, action or any proceeding
in such court and irrevocably waive and agree not to plead or claim that any such suit, action or
proceeding brought in any such court has been brought in an inconvenient forum. EACH PARTY
HEREBY WAIVES, TO THE MAXIMUM EXTENT PERMITTED BY APPLICABLE LAW,
TRIAL BY JURY IN ANY PROCEEDING IN ANY COURT WITH RESPECT TO, IN
CONNECTION WITH OR ARISING OUT OF THIS AGREEMENT, OR THE VALIDITY,
PROTECTION, INTERPRETATION, COLLECTION OR ENFORCEMENT.

         Section 11.06 Interpretation; Section Headings. The section headings contained herein
are for purposes of convenience only and shall not be deemed to constitute a part of this Agreement
or to affect the meaning or interpretation of this Agreement in any way. The word “including”
shall mean including without limitation. Without limiting the generality of the foregoing, the mere
listing (or inclusion of a copy) of a document or other item shall not be deemed adequate to disclose
an exception to a representation or warranty made herein (unless the representation or warranty

                                                 23
            Case 24-20576-CLC          Doc 29      Filed 10/13/24     Page 211 of 565




pertains to the existence of the document or other item itself). Words of any gender used in this
Agreement shall be held and construed to include any other gender; words in the singular shall be
held to include the plural and words in the plural shall be held to include the singular, unless and
only to the extent the context indicates otherwise. “Hereunder,” “hereof,” “hereto,” “herein,” and
words of similar import shall be deemed references to this Agreement as a whole and not to any
particular Section or other provision hereof. References to documents, instruments or agreements
shall be deemed to refer as well to all addenda, appendices, Exhibits, Schedules or amendments
thereto. In the computation of periods of time from a specified date to a later specified date, the
word “from” means “from and including,” the words “to” and “until” mean “to but excluding” and
the word “through” means “to and including.”

        Section 11.07 Entire Agreement. This Agreement (including the Schedules and Exhibits
referred to herein) sets forth the entire agreement and understanding of the parties with respect to
the transactions contemplated hereby and supersedes all prior agreements, arrangements, and
understandings, whether written or oral, related to the subject matter hereof. No representation,
promise, inducement, or statement of intention related to the subject matter hereof has been made
by any party hereto which is not embodied in this Agreement, or in the Exhibits or Schedules
attached hereto or the written statements, certificates, or other documents delivered pursuant
hereto.

         Section 11.08 Amendment; No Waiver. This Agreement may be amended, modified,
superseded, or canceled, and any of the terms, provisions, covenants, representations, warranties,
or conditions hereof may be waived, only by a written instrument executed by all Parties hereto,
or, in the case of a waiver, by the Party waiving compliance. The failure of any party at any time
or times to require performance of any provision hereof shall in no manner affect the right to
enforce the same. No waiver by any Party of any condition, or of the breach of any term, provision,
covenant, representation, or warranty contained in this Agreement, in any one or more instances,
shall be deemed to be or construed as a further or continuing waiver of any such condition or
breach or a waiver of any other condition or of the breach of any other term, provision, covenant,
representation, or warranty.

        Section 11.09 Severability. In the event that any one or more of the provisions of this
Agreement shall be held or otherwise found to be invalid, illegal, or unenforceable, all other
provisions hereof shall be given effect separately therefrom and shall not be affected thereby. Any
provision of this Agreement held invalid or unenforceable only in part or degree shall remain in
full force and effect to the extent not held invalid or unenforceable. Any term or provision of this
Agreement that is invalid, illegal, or unenforceable in any jurisdiction shall not affect the validity
or enforceability of the validity or enforceability of the offending term or provision in any other
jurisdiction.

        Section 11.10 Assignment. None of the Parties may assign, delegate, or otherwise transfer
this Agreement or any of its rights or obligations hereunder without the prior written consent of
the other Party, except that either Party may, without the other Party’s prior written consent, assign,
delegate, or transfer any of its rights or obligations to one or more Affiliates or to one or more
successors-in-interest in connection with a sale of some or all of the Business.



                                                  24
            Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 212 of 565




         Section 11.11 Counterparts. Separate copies of this Agreement may be signed by the
Parties hereto, with the same effect as though all of the Parties had signed one copy of this
Agreement. Signatures sent by facsimile or electronic transmission shall be deemed to be originals
for all purposes of this Agreement.

                               >6,*1$785(3$*()2//2:6@




                                               25
           Case 24-20576-CLC      Doc 29    Filed 10/13/24   Page 213 of 565




        IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the date
first above written.

                                  MB MEDICAL OPERATIONS, LLC

                                  By:

                                  Name:

                                  Title:



                                  MB MEDICAL TRANSPORT, LLC

                                  By:

                                  Name:

                                  Title:



                                  CARE CENTER NETWORK, LLC

                                  By:

                                  Name:

                                  Title:



                                  CLINICAL CARE PHARMACY, LLC

                                  By:

                                  Name:

                                  Title:

                                  CLINICAL CARE MEDICAL GROUP, LLC

                                  By:

                                  Name:

                                  Title:

                                  FLORIDA FAMILY PRIMARY CARE CENTER, LLC
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 214 of 565




                    By:

                    Name:

                    Title:



                    FLORIDA FAMILY PRIMARY CARE CENTERS OF
                    PASCO, LLC

                    By:

                    Name:

                    Title:



                    FLORIDA FAMILY PRIMARY CARE CENTERS OF
                    TAMPA, LLC

                    By:

                    Name:

                    Title:



                    FLORIDA FAMILY PRIMARY CARE CENTERS OF
                    PINELLAS, LLC

                    By:

                    Name:

                    Title:



                    FLORIDA FAMILY PRIMARY CARE CENTERS OF
                    ORLANDO, LLC

                    By:

                    Name:

                    Title:
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 215 of 565




                    CCMC PHYSICIAN HOLDINGS, INC.

                    By:

                    Name:

                    Title:



                    MIAMI MEDICAL & WELLNESS CENTER LLC

                    By:

                    Name:

                    Title:



                    [RODOLFO DUMENIGO, M.D., P.A.]

                    By:

                    Name:

                    Title:



                    MIAMI BEACH MEDICAL CONSULTANTS, LLC

                    By:

                    Name:

                    Title:
           Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 216 of 565




                                  Schedule A

                           Services; Funding Amount

See attached.
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 217 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 218 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 219 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 220 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 221 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 222 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 223 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 224 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 225 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 226 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 227 of 565
                                                                      Schedule A
                                                                       Services


                        x Repairs & maintenance services
                        x Fire extinguisher/sprinkler & smoke detection services
                        x Plumbing services
                        x Signage
                        x Water treatment and filtration services
                        x Water dispenser services
                        x Utilities
                        x Medical device management and support, excluding AEDs
                        x Landscaping (if applicable)
                                                                                                                                                            Case 24-20576-CLC




                        x Fire alarm monitoring
                        x Parking agreements (if applicable)
                    Service Providers will maintain (and provide copies to Conviva of) all necessary licenses and permits for
                    the operation of the Business including, by way of example and not as an exhaustive list:
                                                                                                                                                            Doc 29




    Facility            x Biohazard waste permits
    Permits /           x Security (i.e. intrusion alarms and access control systems), sprinkler and fire/smoke detection            Until the Transition
5.2
    Training /              inspections and permits                                                                                  Date
    Monitoring          x Radiation safety/dosimeter monitoring for x-rays
                        x Health Care Clinic Establishment Permits
                        x CLIA Waivers
                                                                                                                                                            Filed 10/13/24




                    Service Providers will maintain all off-site storage facilities used by the Business to store medical records,
      Storage                                                                                                                        Until the Transition
5.3                 Business records and/or any other assets of the Business until such time Conviva is able to physically
      Facilities                                                                                                                     Date
                    relocate all such records and items.
                    Service Providers will grant Conviva the right to utilize Service Providers’ clinic licenses for purposes of     Until the Transition
5.4 Clinic Leases   operating                                                                                                        Date
    Regulatory
    inspections     Service Providers to promptly notify Humana Safety in the event of any regulatory inspections, letters,
5.5 (OSHA, EPA,     inquires, etc., including, AHCA, OSHA, EPA, Fire Marshal, Fire Dept. and Health Dept. Conviva will Until the Transition
                                                                                                                                                            Page 228 of 565




                    manage any and all such inspections, in coordination with the Service Providers.                        Date
    Fire Dept.,
    Health Dept)




                                                                             12
602797137.23
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 229 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 230 of 565
                                                                    Schedule A
                                                                     Services


                       Service Providers will support and enable local sales teams, in accordance with Conviva’s policies and
                       procedures and at the direction of Conviva, including:

                           x   Service Providers will provide sales operations and reporting to enable growth team
                               management and incentive calculation aligned to currently established reporting cadence,

7.3   Sales / Growth       x   Service Providers will continue to provide access to Salesforce, marketing collateral creation Until the Transfer Date
                               tools, and new patient paperwork completion tools, and

                           x   Service Providers will maintain sites in broker directories, and will take actions related to
                                                                                                                                                        Case 24-20576-CLC




                               promotion of centers in these platforms per Conviva’s request (i.e. winding down certain
                               relationships and activities).

      On-call/After-                                                                                                             Until the Transition
                                                                                                                                                        Doc 29




                       Service Providers will continue to support on-call & after-hours, services as supported by the Business
7.4
      hours support    prior to Closing, leveraging any providers or Vendors in place prior to Closing                           Date
      Care             Continued support of all care management/transitions programs via central support teams and               Until the Transition
7.5
      Management       telephonic based teams                                                                                    Date
                                                                                                                                                        Filed 10/13/24
                                                                                                                                                        Page 231 of 565




                                                                          15
602797137.23
                                                                      Schedule A
                                                                       Services


                           Service Providers shall provide Conviva with the following Key Performance Indicators (KPIs), as
                           requested by Conviva:
                               x NPS - net promoter score and sufficient detail to perform service recovery (score, survey
                                   comments a old patient data)
                               x 3rd Next Available app
                               x Clinic and provider Membership data by payer - incl. details sales and term data
                               x Phone queue performance (abandonment rates, answer rates, etc.)
       Key                     x Center Queues - data on unsigned notes, referrals, HIMS, etc.                                Until the Transition
7.6    Performance
                                                                                                                                                     Case 24-20576-CLC




                               x Documentation rates - redocumentation and suspect condition action data                      Date
       Indicators (KPIs)
                               x HCCT/Care Management reporting - case load, visit and call activity tracking
                               x Acute Admits per Thousand (APT)
                               x Emergency Room Visits per Thousand (EM VPT)
                                                                                                                                                     Doc 29




                               x Screening rates - reporting screening activity for example: EVHO, COPD, substance use/abuse,
                                   dementia
                               x Transition of care follow-up percentages
                               x Disease prevalence data
                                                                                                                                                     Filed 10/13/24
                                                                                                                                                     Page 232 of 565




                                                                            16
 602797137.23
                  Schedule A
                   Services


                   ANNEX 1


               VENDOR CONTRACTS
                  See attached
                                  Case 24-20576-CLC
                                  Doc 29
                                  Filed 10/13/24
                                  Page 233 of 565




                      17
602797137.23
           Clinical Care Medical Centers                                                                                                                                                   10/9/24
          Estimated TSA Costs Summary (Month 1)                                                                                                                        DRAFT - SUBJECT TO REVISION
          ($ in 000s)



                                                                                      Fcst.                       Fcst.                      Fcst.                       Fcst.                      Fcst.
                                                                                        1                           2                          3                           4                      Month 1
                                                                                      12/13                       12/20                      12/27                        1/3                    TSA Period

          Estimated TSA Costs
          Estimated Employee TSA Costs, Net of Discontinued Services                            2,467                          -                       2,467                          -                    4,934
          Estimated Specialist TSA Costs                                                           80                         80                          80                         80                      321
          Rent, Net of Rejected Clinic Leases (North Miami West and Orlando)                        -                          -                           -                        583                      583
          Utilities and Facilities Expenses                                                        50                         50                          50                         50                      200
          Transportation                                                                           62                         62                          62                        300                      485
          Software and Other Technology Fees                                                      119                        119                         119                        119                      477
          Business Process Outsourcing                                                             88                         88                          88                         88                      353
          Office Expenses                                                                          72                         72                          72                         72                      287
          Marketing and Advertising                                                                62                         62                          62                         62                      250
          MSO                                                                                      50                         50                          50                         50                      200
          Medical Supplies/Patient Service Costs                                                   36                         36                          36                         36                      144
                                                                                                                                                                                                                                   Case 24-20576-CLC




          Insurance                                                                                30                         30                          30                         30                      118
          CapEx                                                                                    33                         33                          33                         33                      133
          Est. UST Fees                                                                             -                          -                           -                          -                        -
            Total Estimated TSA Costs                                        $                  3,149    $                   682    $                  3,149    $                 1,503     $              8,485

          Estimated Discontinued Services
          Estimated Severance - Chiropractor                                                       35                           -                          -                           -                       35
                                                                                                                                                                                                                                   Doc 29




          Estimated Severance - Optometry                                                          14                           -                          -                           -                       14
          Estimated Severance - Massage Therapy                                                   259                           -                          -                           -                      259
          Estimated Severance - PRP                                                               219                           -                          -                           -                      219
            Total Estimated Discontinued Services (Severance)                $                    527    $                      -   $                      -    $                      -    $                 527

           Total Estimated Costs                                             $                  3,677    $                   682    $                  3,149    $                 1,503     $              9,012

          Beginning Book Cash Balance                                                                -                      8,323                       7,641                      4,491                        -
           (+/-) Operating Disbursements                                                       (3,677)                      (682)                     (3,149)                    (1,503)                  (9,012)
           (+) TSA Financing                                                                   12,000                           -                           -                          -                  12,000
             Ending Book Cash Balance                                        $                  8,323    $                  7,641   $                  4,491    $                 2,988     $              2,988
                                                                                                                                                                                                                                   Filed 10/13/24




          Notes
          1
            Assumes deal close of 12/6
          2
            Excludes revenue and receipts
          3
            Funding need assumes that ending cash balance remains at $2M or greater. Excess funds will carry over to fund subsequent TSA period
          4
            Severance amount shown includes 60 days of pay for 46 FTE who work in the Chiropractor (2), Optometry (2) , and Massage Therapy departments (32). Also includes 10 FTE in PRP who may be re-deployed to other a
          5
            Disbursements to specialists excludes 5 specialists in Optometry and Chiropractor areas
                                                                                                                                                                                                                                   Page 234 of 565




DRAFT - SUBJECT TO FRE 408 AND RELATED PRIVILEGES                                                            Page 1                                                                                                 CONFIDENTIAL
                                                    Clinical Care Medical Centers                                                                                                                                                                10/9/24
                                                    Estimated TSA Costs Assuming 12/6 Close and 90 Day TSA Period                                                                                                            DRAFT - SUBJECT TO REVISION
                                                    ($ in 000s)



                                                                                                                                  Fcst.                       Fcst.                      Fcst.                       Fcst.                          Fcst.
                                                                                                                                    1                           2                         3                            4                          Month 1
                                                                                                                                 12/13                       12/20                      12/27                         1/3                        TSA Period


                                                    Estimated Employee TSA Costs
                                                    Payroll TSA-0.0 General / 1.0 Employment of Transitional Employees                       283                           -                         283                            -                            565
                                                    Payroll TSA-2.0 Finance & Accounting                                                      78                           -                          78                            -                            156
                                                    Payroll TSA-3.0 Information Technology (It)                                               52                           -                          52                            -                            103
                                                    Payroll TSA-5.0 Site Management/Saftey/Security                                           51                           -                          51                            -                            102
                                                    Payroll TSA-6.0 Cooperation / Miscellaneous                                               38                           -                          38                            -                             76
                                                    Payroll TSA-7.0 Medical Coding                                                           114                           -                         114                            -                            228
                                                    Payroll TSA-8.X Operations (Acupuncture)                                                  11                           -                          11                            -                             21
                                                    Payroll TSA-8.X Operations (Clinical Staff)                                               10                           -                          10                            -                             21
                                                    Payroll TSA-8.X Operations (Clinical Support)                                            214                           -                         214                            -                            427
                                                    Payroll TSA-8.X Operations (Dental)                                                       85                           -                          85                            -                            171
                                                    Payroll TSA-8.X Operations (MSO)                                                          24                           -                          24                            -                             48
                                                    Payroll TSA-8.X Operations (Pediatrics)                                                   35                           -                          35                            -                             69
                                                    Payroll TSA-8.X Operations (Podiatry)                                                     22                           -                          22                            -                             43
                                                    Payroll TSA-8.X Operations (Providers)                                                   519                           -                         519                            -                          1,039
                                                    Payroll TSA-8.X Operations (Transportation)                                               99                           -                          99                            -                            198
                                                    Payroll TSA-8.2-Referrals, Hims                                                           54                           -                          54                            -                            108
                                                    Payroll TSA-8.3-Sales / Growth                                                            82                           -                          82                            -                            163
                                                    Payroll TSA-8.4-X-Ray                                                                     74                           -                          74                            -                            148
                                                    Payroll TSA-8.5-On-Call/After-Hours Support                                              158                           -                         158                            -                            316
                                                    Payroll TSA-8.6-Care Management                                                          275                           -                         275                            -                            549
                                                    Payroll TSA-8.X Operations (Optometry)                                                     -                           -                           -                            -                              -
                                                    Payroll TSA-8.X Operations (Massage Therapy)                                               -                           -                           -                            -                              -
                                                                                                                                                                                                                                                                                           Case 24-20576-CLC




                                                    Payroll TSA-8.X Operations (Chiropractor)                                                  -                           -                           -                            -                              -
                                                    Payroll TSA-8.X Operations (Cardiology)                                                   21                           -                          21                            -                             42
                                                    Payroll TSA-Estimated Self-Insurance Claims                                              170                           -                         170                            -                            340
                                                      Estimated Employee TSA Costs                                       $                 2,467    $                      -   $                   2,467   $                        -    $                     4,934

                                                    Estimated Specialist TSA Costs
                                                    8.X Operations (Specialists - Physician)                                                  34                          34                         34                           34                             135
                                                    8.X Operations (Specialists - Psychiatrist)                                                4                           4                          4                            4                              17
                                                    8.X Operations (Specialists - Dermatologist)                                               2                           2                          2                            2                               8
                                                    8.X Operations (Specialists - Podatrist)                                                   2                           2                          2                            2                               7
                                                                                                                                                                                                                                                                                           Doc 29




                                                    8.X Operations (Specialists - Acupuncturist)                                               2                           2                          2                            2                               9
                                                    8.X Operations (Specialists - APRN)                                                        4                           4                          4                            4                              16
                                                    8.X Operations (Specialists - RN/APRN)                                                     1                           1                          1                            1                               3
                                                    8.X Operations (Specialists - PCMH Consultant)                                             2                           2                          2                            2                               6
                                                    8.X Operations (Specialists - Radiology)                                                  27                          27                         27                           27                             109
                                                    8.X Operations (Specialists - Home Assistance)                                             0                           0                          0                            0                               0
                                                    8.X Operations (Specialists - Chiropractor)                                                -                           -                          -                            -                               -
                                                    8.X Operations (Specialists - Optometry)                                                   -                           -                          -                            -                               -
                                                    8.X Operations (Specialists - Misc.)                                                       3                           3                          3                            3                              10
                                                      Estimated Specialist TSA Costs                                     $                    80    $                     80   $                     80    $                      80     $                       321

                                                    Non-Employee Costs (Passthrough)
                                                    Rent, Net of Rejected Clinic Leases (North Miami West and Orlando)                         -                           -                          -                          583                             583
                                                    Utilities and Facilities Expenses                                                         50                          50                         50                           50                             200
                                                    Transportation                                                                            62                          62                         62                          300                             485
                                                    Software and Other Technology Fees                                                       119                         119                        119                          119                             477
                                                    Business Process Outsourcing                                                              88                          88                         88                           88                             353
                                                                                                                                                                                                                                                                                           Filed 10/13/24




                                                    Office Expenses                                                                           72                          72                         72                           72                             287
                                                    Marketing and Advertising                                                                 62                          62                         62                           62                             250
                                                    MSO                                                                                       50                          50                         50                           50                             200
                                                    Medical Supplies/Patient Service Costs                                                    36                          36                         36                           36                             144
                                                    Insurance                                                                                 30                          30                         30                           30                             118
                                                    CapEx                                                                                     33                          33                         33                           33                             133
                                                    Est. UST Fees                                                                              -                           -                          -                            -                               -
                                                      Estimated Non-Employee TSA Costs (Passthrough)                   $                     602    $                    602   $                    602    $                   1,423     $                     3,230

                                                    Estimated Discontinued Services
                                                    Estimated Severance - Chiropractor                                                        35                           -                           -                            -                             35
                                                    Estimated Severance - Optometry                                                           14                           -                           -                            -                             14
                                                    Estimated Severance - Massage Therapy                                                    259                           -                           -                            -                            259
                                                    Estimated Severance - PRP                                                                219                           -                           -                            -                            219
                                                      Total Estimated Discontinued Services (Severance)                  $                   527    $                      -   $                       -   $                        -    $                       527

                                                    Total Estimated TSA Costs                                            $                 3,677    $                    682   $                   3,149   $                   1,503     $                     9,012

                                                    Beginning Book Cash Balance                                          $                      -   $                  8,323   $                   7,641   $                    4,491    $                          -
                                                     (+/-) Operating Disbursements                                                        (3,677)                      (682)                     (3,149)                      (1,503)                         (9,012)
                                                                                                                                                                                                                                                                                           Page 235 of 565




                                                     (+) TSA Financing                                                                    12,000                           -                           -                            -                         12,000
                                                     (-) Return of Excess Funds to Humana                                                       -                          -                           -                            -                               -
                                                        Ending Book Cash Balance                                         $                  8,323   $                  7,641   $                   4,491   $                    2,988    $                      2,988


                                                    Notes
                                                    1
                                                      Assumes deal close of 12/6
                                                    2
                                                      Excludes revenue and receipts
                                                    3
                                                      Funding need assumes that ending cash balance remains at $2M or greater. Excess funds will carry over to fund subsequent TSA period
                                                    4
                                                      Severance amount shown includes 60 days of pay for 46 FTE who work in the Chiropractor (2), Optometry (2) , and Massage Therapy departments (32). Also includes 10 FTE in PRP who may be re-deployed to other areas
                                                    5
                                                      Disbursements to specialists excludes 5 specialists in Optometry and Chiropractor areas




DRAFT - SUBJECT TO FRE 408 AND RELATED PRIVILEGES                                                                                                       Page 2                                                                                                              CONFIDENTIAL
           Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 236 of 565




                                  Schedule B

                                   Facilities

See attached.
                Case 24-20576-CLC              Doc 29       Filed 10/13/24        Page 237 of 565




                                                  SCHEDULE B
                                                   FACILITIES

       1. 7495 N. University Drive (bays 26 & 27), Tamarac, FL
       2. 7455 N. University Drive (bay 7), Tamarac FL
       3. 7453 N. University Drive (bay 6), Tamarac FL
       4. 9855, 9861, 9863 E. Fern St., Palmetto Bay, FL
       5. 4980 W. 10th Ave., Hialeah, FL
       6. 9601 and 9611 SW 40th St., Miami, FL 1
       7. 7291 W. Atlantic Ave., Delray Beach, FL
       8. 12615/12625 W. Dixie Hwy., North Miami, FL
       9. 1303 South Semoran Blvd., Orlando FL
       10. 701-709 NW 27th Ave, Miami FL
       11. 9540 SW 39th Street, Miami FL
       12. 2417, 2419, 2449 & 2459 Hwy 98 N, Lakeland, FL
       13. 201 1st St. S, Winter Haven, FL




1
    Lease includes Sellers’ expansion into adjacent building, which is located at 9601 SW 40th St., Miami, FL.
           Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 238 of 565




                                   Exhibit 1

                          Business Associate Agreement

See attached.
             Case 24-20576-CLC          Doc 29      Filed 10/13/24      Page 239 of 565



                              BUSINESS ASSOCIATE AGREEMENT

         This Business Associate Agreement (this “Agreement”) is made and entered into as of [___],
2024 (the “Effective Date”), by and between MB Medical Operations, LLC, a Delaware limited liability
company (“MBMO”), MB Medical Transport, LLC, a Delaware limited liability company (“MBMT”),
Care Center Network, LLC, a Florida limited liability company (“CCN”), Clinical Care Pharmacy, LLC,
a Florida limited liability company (“CCP”), Care Center Medical Group, LLC, a Florida limited
liability company (“CCMG”), Florida Family Primary Care Center, LLC, a Florida limited liability
company (“FFPCC”), Florida Family Primary Care Centers of Tampa, LLC, a Florida limited liability
company (“FFPCCT”), Florida Family Primary Care Centers of Pasco, LLC, a Florida limited liability
company (“FFPCCP”), Florida Family Primary Care Centers of Pinellas, LLC, a Florida limited liability
company (“FFPCCPL”), Florida Family Primary Care Centers of Orlando, LLC, a Florida limited
liability company (“FFPCCO”), CCMC Physician Holdings, Inc., a Florida limited liability company
(“CCMC Holdings”), Miami Medical & Wellness Center LLC, a Florida limited liability company
(“MMWC”), Miami Beach Medical Centers, Inc. f/k/a Rodolfo Dumenigo, M.D., P.A., a Florida
professional association (“RD”), Miami Beach Medical Consultants, LLC d/b/a Clinical Care Medical
Centers, a Florida limited liability company (“MBMC” and collectively with MBMO, MBMT, CCN,
CCP, CCMG. FFPCC, FFCCT, FFPCCP, FFPCCPL, FFPCCO, CCMC Holdings, MMWC, and RD, the
“Sellers”, or the “Subcontractors”, and each, a “Subcontractor,” or the “Service Providers”, and each,
a “Service Provider”), and Conviva Medical Center Management, LLC, a Delaware limited liability
company (“Conviva,” the “Buyer,” or “Business Associate,” and together with Service Providers, the
“Parties”).

       WHEREAS, on the Effective Date, Buyer and Sellers entered into that certain Asset Purchase
Agreement (as amended, restated, modified, or supplemented from time to time, the “Purchase
Agreement”) pursuant to which the Buyer will acquire from Sellers certain assets of Sellers’ clinics and
medical practice (“Purchased Assets”);

        WHEREAS, under existing arrangements, Buyer provides services to the Covered Entities
(defined below) as a “business associate” as such term is defined under 45 C.F.R. § 160.103;

         WHEREAS, in connection with the Purchase Agreement, Buyer and Sellers entered into that
certain Transition Services Agreement (“TSA”) whereby Buyer desires Sellers to provide certain
transitional services (“Services”) to Buyer during which a Subcontractor may receive from, and/or create,
receive, maintain or transmit on behalf of, Business Associate or the Covered Entities information that
constitutes Protected Health Information subject to the terms and conditions of this Agreement; and

        WHEREAS, the Parties are committed to compliance with the Health Insurance Portability and
Accountability Act of 1996, the Health Information Technology for Economic and Clinical Health Act of
2009 (at Title XIII, D of the American Recovery and Reinvestment Act of 2009), and their implementing
regulations as in effect from time to time (collectively, the “HIPAA”).

        NOW, THEREFORE, in the context of the foregoing recitals and for good and valuable
consideration, the receipt and sufficiency of which is hereby acknowledged, the Parties hereby enter into
this Agreement and agree as follows:

I.       DEFINITIONS

       Capitalized terms not otherwise defined in this Agreement shall have the meanings given to them
in HIPAA.



13314554-2
              Case 24-20576-CLC           Doc 29      Filed 10/13/24      Page 240 of 565



         A.     “Breach” shall have the same meaning as the term “breach” in 45 C.F.R. §164.402.

         B.       “Covered Entities” shall mean the providers affiliated with Conviva, which are
recipients of services from one or more Service Provider(s) as a result of the TSA, and that are covered
entities that receive certain of the Purchased Assets and are continuing to serve patients, and any of their
respective subsidiaries, or affiliates or parents that are “covered entities,” as such term is defined by
HIPAA, and, in each case, that are parties to or beneficiaries of or receive the benefit of or participate in
the Services.

        C.      “Designated Record Set” shall mean a “designated record set” as such term is defined in
45 C.F.R. §164.501, containing Protected Health Information that is created, acquired, received, used,
maintained or accessed by a Business Associate, its employees, agents or representatives.

         D.      “Electronic Protected Health Information” shall have the same meaning as the term
“electronic protected health information” in 45 C.F.R. §160.103, limited to the information received from,
and/or created, received, maintained or transmitted on behalf of, Business Associate or the Covered
Entities, by Subcontractor.

        E.     “Individual” shall have the same meaning as the term “individual” in 45 C.F.R.
§160.103 and shall include a person who qualifies as a Personal Representative in accordance with 45
C.F.R. §164.502(g).

         F.     “Protected Health Information” shall have the same meaning as the term “protected
health information” in 45 C.F.R. §160.103, limited to information received from, and/or created, received,
maintained or transmitted on behalf of, Business Associate or the Covered Entities, by a Subcontractor.

        G.     “Required by Law” shall have the same meaning as the term “required by law” in 45
C.F.R. §160.103.

         H.      “Secretary” means the Secretary of the U.S. Department of Health and Human Services
or his/her designee.

        I.     “Security Incident” shall have the same meaning as the term “security incident” in 45
C.F.R. §164.304.

       J.      “Unsecured Protected Health Information” shall have the same meaning given to the
term “unsecured protected health information” in 45 C.F.R. §164.402.

II.      OBLIGATIONS OF THE SUBCONTRACTOR

        A.      The Subcontractors will not use or further disclose Protected Health Information, other
than as permitted or required by this Agreement or as Required by Law.

        B.      The Subcontractors will use appropriate safeguards, and comply with Subpart C of 45
C.F.R. Part 164 with respect to Electronic Protected Health Information, to prevent use or disclosure of
such Protected Health Information other than as provided for by this Agreement.

        C.      The Subcontractors agree to report to the Business Associate any use or disclosure of
Protected Health Information not provided for by this Agreement or any successful Security Incident of
which they become aware. This Section II.C shall be deemed to constitute notice of the ongoing
occurrence of any unsuccessful Security Incidents.


13314554-2
              Case 24-20576-CLC          Doc 29      Filed 10/13/24       Page 241 of 565




        D.      Without unreasonable delay and in no case later than fifteen (15) business days following
discovery, unless otherwise required under 45 C.F.R. §164.412, Subcontractors shall notify the Business
Associate in writing of any Breach of Unsecured Protected Health Information. Subcontractors shall
provide the Business Associate, to the extent known, the identity of each Individual whose Unsecured
Protected Health Information has, or is reasonably believed by Subcontractors to have been affected by
the Breach.

        E.       In accordance with 45 C.F.R. §§164.502(e)(1)(ii) and 164.308(b)(2), Subcontractors
agree to ensure that any other subcontractor that creates, receives, maintains or transmits Protected Health
Information on behalf of the Subcontractors agrees to the same restrictions and conditions that apply
through this Agreement to Subcontractors with respect to such information.

        F.     Subcontractors agree to provide access, at the request of the Business Associate, within a
reasonable timeframe requested by the Business Associate, to Protected Health Information in a
Designated Record Set in order that Business Associate may facilitate a Covered Entity to meet the
requirements under 45 C.F.R. §164.524 and any other applicable federal or state law.

        G.      If Subcontractors maintain Protected Health Information in a Designated Record Set,
Subcontractors shall within fifteen (15) business days of receipt forward any request to make
amendment(s) to Protected Health Information in a Designated Record Set to Business Associate as
required by 45 C.F.R. §164.526.

        H.      Subcontractors agree to document such disclosures of Protected Health Information and
information related to such disclosures as would be required for Business Associate to facilitate a
Covered Entity’s response to a request by an Individual for an accounting of disclosures of Protected
Health Information in accordance with 45 C.F.R. §164.528 and to provide such information to Business
Associate within the timeframe requested by Business Associate.

        I.       In the performance of services, Subcontractors will make reasonable efforts to use, to
disclose, and to request only the minimum amount of Protected Health Information reasonably necessary
to accomplish the intended purpose of the use, disclosure or request, as Required by Law.

        J.       Subcontractors agree to make internal practices, books, and records related to the use and
disclosure of Protected Health Information available to the Secretary, in a time and manner designated by
the Secretary, for purposes of the Secretary determining compliance with HIPAA.

        K.       To the extent Subcontractors are to carry out one of more of a Covered Entity’s
obligation(s) under Subpart E of 45 C.F.R. Part 164, Subcontractors shall comply with the requirements of
Subpart E that apply to the Covered Entity in the performance of such obligation(s).

III.     PERMITTED USES AND DISCLOSURES BY THE SUBCONTRACTOR

         A.     Except as otherwise limited in this Agreement, Subcontractors may:

                (1)      Use or disclose Protected Health Information for purposes of performing Services
         pursuant to the arrangement between the Parties, provided such use or disclosure of Protected
         Health Information would not violate Subpart E of 45 C.F.R. Part 164 if done by Business
         Associate, except for the specific uses and disclosures set forth below.




13314554-2
              Case 24-20576-CLC           Doc 29      Filed 10/13/24       Page 242 of 565



                 (2)     Use Protected Health Information for the proper management and administration
         of the Subcontractor or to fulfill any present or future legal responsibilities of the Subcontractor.

                 (3)      Disclose Protected Health Information for the proper management and
         administration of the Subcontractor or to fulfill any present or future legal responsibilities of the
         Subcontractor, provided that such disclosure is either Required by Law or the Subcontractor
         obtains reasonable assurances from any person to whom Protected Health Information is disclosed
         that such person will: (a) keep such information confidential; (b) use or further disclose such
         information only for the purpose for which it was disclosed to such person or as Required by Law;
         and (c) notify Business Associate of any instances of which it is aware in which the
         confidentiality of the information has been breached.

                 (4)     The Subcontractors may use Protected Health Information to report violations of
         law to appropriate federal and state authorities, consistent with 45 C.F.R. §164.502(j)(1).

IV.      OBLIGATIONS OF THE BUYER

        A.     The Business Associate will not request Subcontractors to use or disclose Protected
Health Information in any manner that would not be permissible under Subpart E of 45 C.F.R. Part 164 if
done by Business Associate or is not otherwise authorized or permitted under this Agreement.

        B.     Business Associate agrees that it shall only disclose the “minimum necessary” Protected
Health Information to Subcontractors as may be required for Subcontractors to perform the Services.

         C.     Business Associate shall require that each Covered Entity notify Subcontractors in
writing of any limitation(s) in its notice of privacy practices, if applicable, to the extent that such
limitation may affect Subcontractors’ use or disclosure of Protected Health Information.

         D.     Business Associate shall require that each Covered Entity promptly notify Subcontractors
in writing of any changes in, or revocation of, permission by an Individual to use or disclose Protected
Health Information, to the extent such changes may affect Subcontractors’ use or disclosure of Protected
Health Information.

         E.     Business Associate shall require that each Covered Entity promptly notify Subcontractors
in writing of any restriction on use or disclosure of Protected Health Information that the Covered Entity
has agreed to in accordance with 45 C.F.R. §164.522, to the extent that such restriction may affect
Subcontractors’ use or disclosure of Protected Health Information.

V.       TERMINATION

         A.     Term. The term of this Agreement shall be effective as of the Effective Date and shall
terminate on the expiration or termination of the TSA. Upon termination of this Agreement for any
reason, the Subcontractors shall:

                  (1)     Retain only that portion of the Protected Health Information which is necessary
         for Subcontractors to continue their proper management and administration or to carry out their
         legal responsibilities;

                 (2)     Within thirty (30) days of termination of this Agreement, destroy the remaining
         Protected Health Information that Subcontractors still maintain in any form. Subcontractors shall



13314554-2
              Case 24-20576-CLC           Doc 29      Filed 10/13/24       Page 243 of 565



         certify in writing to Business Associate and the Covered Entities that all Protected Health
         Information has been destroyed using the attestation form attached hereto as Appendix A;

                 (3)     Continue to use appropriate safeguards and comply with Subpart C of 45 CFR
         Part 164 with respect to Electronic Protected Health Information that is retained under Section
         V.A.(1) to prevent use or disclosure of the Protected Health Information for as long as
         Subcontractors retain the Protected Health Information;

                 (4)      Not use or disclose the Protected Health Information retained by Subcontractors
         other than for the purposes for which such Protected Health Information was retained and subject
         to the same conditions set out in Section III above under “Permitted Uses and Disclosures By
         Subcontractors” that apply prior to termination; and

                  (5)     Destroy the Protected Health Information retained by Subcontractors within
         thirty (30) days following a notification in writing from Business Associate that such Protected
         Health Information is no longer needed by Business Associate for its proper management and
         administration or to carry out its legal responsibilities. Subcontractors shall certify in writing to
         Business Associate and the Covered Entities that all Protected Health Information has been
         destroyed using the attestation form attached hereto as Appendix A.

        B.       Survival. The obligations of Subcontractors under this section shall survive the
termination of this Agreement.

VII.     MISCELLANEOUS

         A.       Regulatory References. A reference in this Agreement to a section in HIPAA means that
section as amended from time to time; provided that if future amendments change the designation to a
section referred to herein, or transfer a substantive regulatory provision referred to herein to a different
section, the section references herein will be deemed to be amended accordingly.

        B.      Amendment. The Parties agree to take such action as is reasonably necessary to amend
this Agreement from time to time as is necessary for the Business Associate, the Covered Entities, and the
Subcontractors to comply with the requirements of HIPAA.

       C.       Counterparts. This Agreement may be executed in one or more counterparts, each of
which shall be deemed to be an original but all of which together shall constitute one and the same
instrument. This Agreement or any counterpart may be executed and delivered by electronic copies, each
of which shall be deemed to be an original.

        D.      No Third-Party Beneficiaries. Nothing express or implied in this Agreement is intended
to confer, nor shall anything herein confer, upon any person other than the Parties, and their respective
successors and assigns, any rights, remedies, obligations or liabilities whatsoever.

         E.     Interpretation. The Parties agree that any ambiguity in this Agreement shall be resolved
in favor of a meaning that complies and is consistent with HIPAA.

        F.       Governing Law. This Agreement shall be governed by and construed in accordance with
the laws of the State of Delaware.

                                          [signature page follows]



13314554-2
              Case 24-20576-CLC     Doc 29      Filed 10/13/24       Page 244 of 565



        IN WITNESS WHEREOF, the Parties hereto have duly executed this Agreement as of the
Effective Date.

                                    CONVIVA MEDICAL CENTER MANAGEMENT,
                                    LLC

                                    By:

                                    Name:

                                    Title:



                                    MB MEDICAL OPERATIONS, LLC

                                    By:

                                    Name:

                                    Title:



                                    MB MEDICAL TRANSPORT, LLC

                                    By:

                                    Name:

                                    Title:



                                    CARE CENTER NETWORK, LLC

                                    By:

                                    Name:

                                    Title:




                         [Signature Page to Business Associate Agreement]
403442859.1
              Case 24-20576-CLC     Doc 29      Filed 10/13/24       Page 245 of 565




                                    CLINICAL CARE PHARMACY, LLC

                                    By:

                                    Name:

                                    Title:



                                    CLINICAL CARE MEDICAL GROUP, LLC

                                    By:

                                    Name:

                                    Title:



                                    FLORIDA FAMILY PRIMARY CARE CENTER,
                                    LLC

                                    By:

                                    Name:

                                    Title:



                                    FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                    PASCO, LLC

                                    By:

                                    Name:

                                    Title:




                         [Signature Page to Business Associate Agreement]
403442859.1
              Case 24-20576-CLC     Doc 29      Filed 10/13/24       Page 246 of 565




                                    FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                    TAMPA, LLC

                                    By:

                                    Name:

                                    Title:



                                    FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                    PINELLAS, LLC

                                    By:

                                    Name:

                                    Title:



                                    FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                    ORLANDO, LLC

                                    By:

                                    Name:

                                    Title:



                                    CCMC PHYSICIAN HOLDINGS, INC.

                                    By:

                                    Name:

                                    Title:




                         [Signature Page to Business Associate Agreement]
403442859.1
              Case 24-20576-CLC     Doc 29      Filed 10/13/24       Page 247 of 565




                                    MIAMI MEDICAL & WELLNESS CENTER LLC

                                    By:

                                    Name:

                                    Title:



                                    MIAMI BEACH MEDICAL CENTERS, INC. F/K/A
                                    RODOLFO DUMENIGO, M.D., P.A.

                                    By:

                                    Name:

                                    Title:



                                    MIAMI BEACH MEDICAL CONSULTANTS, LLC

                                    By:

                                    Name:

                                    Title:




                         [Signature Page to Business Associate Agreement]
403442859.1
              Case 24-20576-CLC          Doc 29      Filed 10/13/24      Page 248 of 565



                                              Appendix A
                                         Destruction Attestation

                 By signing below, [_________] hereby certifies and attests that:


                 Except for any Protected Health Information that [______] is required to retain and
         maintain under applicable law and/or as it is permitted to retain under this Agreement, it has
         destroyed all Protected Health Information of the Covered Entities (as defined in the Business
         Associate Agreement) in its possession or custody, including, without limitation, any and all
         originals and copies of Protected Health Information that may be maintained by [_______], its
         employees, or contractors, in hard copy or on or in any server, computer, device, EMR or EHR
         platform, web-based file sharing or transfer site, document management and storage system,
         database, electronic application, email, system and network log, telephone log, voicemails,
         internal and peripheral storage devices (e.g., removable media, thumb drives, flash drives,
         CDs/DVDs, audiotapes, and other memory storage devices)



[________]




By:
Name:
Title:




403442859.1
           Case 24-20576-CLC   Doc 29    Filed 10/13/24   Page 249 of 565




                                     Exhibit 2

                               Form of Certification

See attached.
              Case 24-20576-CLC   Doc 29   Filed 10/13/24      Page 250 of 565




                                      Exhibit C

                           Intellectual Property Assignments




13208185-58
            Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 251 of 565




                       TRADEMARK ASSIGNMENT AGREEMENT

This TRADEMARK ASSIGNMENT AGREEMENT (“Agreement”) is made and entered into
as of the [•] day of [•], 2024 by and between MB Medical Operations, LLC, a Delaware limited
liability company (“MBMO”), MB Medical Transport, LLC, a Delaware limited liability company
(“MBMT”), Care Center Network, LLC, a Florida limited liability company (“CCN”), Clinical
Care Pharmacy, LLC, a Florida limited liability company (“CCP”), Care Center Medical Group,
LLC, a Florida limited liability company (“CCMG”), Florida Family Primary Care Center, LLC,
a Florida limited liability company (“FFPCC”), Florida Family Primary Care Centers of Tampa,
LLC, a Florida limited liability company (“FFPCCT”), Florida Family Primary Care Centers of
Pasco, LLC, a Florida limited liability company (“FFPCCP”), Florida Family Primary Care
Centers of Pinellas, LLC, a Florida limited liability company (“FFPCCPL”), Florida Family
Primary Care Centers of Orlando, LLC, a Florida limited liability company (“FFPCCO”), CCMC
Physician Holdings, Inc., a Florida limited liability company (“CCMC Holdings”), Miami
Medical & Wellness Center LLC, a Florida limited liability company (“MMWC”), Miami Beach
Medical Centers, Inc., a Florida corporation f/k/a Rodolfo Dumenigo, M.D., P.A., a Florida
professional association (“RD”), Miami Beach Medical Consultants, LLC d/b/a Clinical Care
Medical Centers, a Florida limited liability company (“MBMC” and collectively with MBMO,
MBMT, CCN, CCP, CCMG, FFPCC, FFPCCT, FFPCCP, FFPCCPL, FFPCCO, CCMC Holdings,
MMWC, and RD, “Assignors”, and each, an “Assignor”), and Humana Inc., a Delaware
corporation ( “Assignee”).

Capitalized terms used but not otherwise defined in this Agreement shall have the meanings given
to them in that certain Asset Purchase Agreement, dated as of the [•] day of October, 2024, by and
among Assignors, Assignee, and MB Medical Operations, LLC, a Delaware limited liability
company, as the representative of Assignors (the “Purchase Agreement”).

                                          RECITALS

Pursuant to the Purchase Agreement, Assignors wish to assign to Assignee, and Assignee wishes
to acquire from Assignors, all Assigned Trademark Rights.

                                        AGREEMENT

NOW, THEREFORE, in consideration of the foregoing premises and other good and valuable
consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
hereby agree as follows:

1.      Assignment. Assignors hereby sell, assign, convey and transfer to Assignee, and Assignee
hereby purchases, acquires, accepts and assumes from Assignors, all worldwide right, title and
interest in, to and under the following (collectively, the “Assigned Trademark Rights”):

                (a)    The trademarks and service marks listed on Schedule 1 hereto, including
any and all listed applications, registrations and common law rights and all the goodwill of the
business connected with the use of and symbolized by the foregoing; and

                (b)    All rights to request, apply for, file and register the foregoing, and all
registrations and applications for any of the foregoing with or by any Governmental Authority in

615811525
            Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 252 of 565




any jurisdiction throughout the world, and all rights of action arising from any the foregoing,
including, without limitation, all claims for damages or equitable remedies by reason of present,
past and future infringement or violation of the foregoing, all defenses relating to or arising from
any of the foregoing, and all income, royalties and any other payments now and hereafter due
and/or payable to any Assignor, as the case may be in respect of the foregoing.

In each case of (a) – (b), to be held and enjoyed by Assignee for its own use and benefit and for its
successors and assigns as the same would have been held as fully and entirely by Assignors had
this assignment not been made.

2.      Authorization. Assignors hereby authorize the Commissioner of Patents and Trademarks
(and the equivalent authority in foreign trademark offices, as applicable) to record this Agreement
and transfer the Trademarks to Assignee as assignee of the entire right, title and interest therein or
otherwise as Assignee may direct, in accordance with this instrument of assignment.

3.      Governing Agreement. This Agreement is executed and delivered pursuant to the
Purchase Agreement. In the event of an irreconcilable conflict between the terms and provisions
of this Agreement and any term or provision of the Purchase Agreement, the conflicting term or
provision of the Purchase Agreement shall govern and control to the extent of such conflict.
Nothing contained in this Agreement shall alter, extend, diminish or amplify any of the
representations, warranties, covenants or obligations of any Party contained in the Purchase
Agreement or the survival thereof.

4.      Amendments. This Agreement may not be amended or modified except by an instrument
in writing signed by Assignors and Assignee.

5.      Further Assurances. From and after the date hereof but subject to the terms and
conditions hereof, Assignors and Assignee shall do all such acts and execute all such further
documents and instruments as may be reasonably required to memorialize and make effective the
transactions contemplated hereby.

6.     Governing Law. All matters relating to the interpretation, construction, validity and
enforcement of this Agreement shall be governed by and construed in accordance with the
domestic laws of the State of Delaware without giving effect to any choice or conflict of law
provision or rule (whether of the State of Delaware or any other jurisdiction) that would cause the
application of laws of any jurisdiction other than the State of Delaware.

7.      Counterparts. This Agreement may be executed in 2 or more original, facsimile or
electronic counterparts, each of which will be deemed an original, both of which when taken
together will constitute one and the same instrument.

                                     [Signature Pages Follow]




                                                  2
615811525
            Case 24-20576-CLC    Doc 29   Filed 10/13/24   Page 253 of 565




IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed as of
the date first set forth above.

                                 ASSIGNORS:

                                 MB MEDICAL OPERATIONS, LLC

                                 By:

                                 Name:

                                 Title:



                                 MB MEDICAL TRANSPORT, LLC

                                 By:

                                 Name:

                                 Title:



                                 CARE CENTER NETWORK, LLC

                                 By:

                                 Name:

                                 Title:



                                 CLINICAL CARE PHARMACY, LLC

                                 By:

                                 Name:

                                 Title:




                  [Signature Page to Trademark Assignment Agreement]
615811525
            Case 24-20576-CLC    Doc 29   Filed 10/13/24   Page 254 of 565




                                CLINICAL CARE MEDICAL GROUP, LLC

                                By:

                                Name:

                                Title:



                                FLORIDA FAMILY PRIMARY CARE CENTER, LLC

                                By:

                                Name:

                                Title:



                                FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                PASCO, LLC

                                By:

                                Name:

                                Title:



                                FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                TAMPA, LLC

                                By:

                                Name:

                                Title:




                  [Signature Page to Trademark Assignment Agreement]
615811525
            Case 24-20576-CLC    Doc 29   Filed 10/13/24   Page 255 of 565




                                FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                PINELLAS, LLC

                                By:

                                Name:

                                Title:



                                FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                ORLANDO, LLC

                                By:

                                Name:

                                Title:



                                CCMC PHYSICIAN HOLDINGS, INC.

                                By:

                                Name:

                                Title:



                                MIAMI MEDICAL & WELLNESS CENTER LLC

                                By:

                                Name:

                                Title:




                  [Signature Page to Trademark Assignment Agreement]
615811525
            Case 24-20576-CLC    Doc 29   Filed 10/13/24   Page 256 of 565




                                MIAMI BEACH MEDICAL CENTERS, INC.

                                By:

                                Name:

                                Title:



                                MIAMI BEACH MEDICAL CONSULTANTS, LLC

                                By:

                                Name:

                                Title:




                  [Signature Page to Trademark Assignment Agreement]
615811525
            Case 24-20576-CLC    Doc 29   Filed 10/13/24   Page 257 of 565




IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be executed as of
the date first set forth above.

                                 ASSIGNEE:

                                 HUMANA INC.

                                 By:

                                 Name:

                                 Title:




                  [Signature Page to Trademark Assignment Agreement]
615811525
            Case 24-20576-CLC    Doc 29     Filed 10/13/24       Page 258 of 565




                                    SCHEDULE 1

                                     Trademarks



            Trademark           Location     Serial      Registration    Registered    Owner of
                                            Number       Number and         or          Record
                                           and Date          Date       Unregistered
                                             Filed        Registered
                                 USA       88/381707       5890302       Registered       MB
                                            11-Apr-      22-Oct-2019                    Medical
                                             2019                                      Operations,
                                                                                         LLC

                                 USA       First used:                  Unregistered      MB
                                              2009                                      Medical
                                                                                       Operations,
                                                                                         LLC

                                 USA       First used:                  Unregistered      MB
                                              2017                                      Medical
                                                                                       Operations,
                                                                                         LLC

                                 USA       First used:                  Unregistered      MB
                                              2010                                      Medical
                                                                                       Operations,
                                                                                         LLC
                                 USA       First used:                  Unregistered      MB
                                              2017                                      Medical
                                                                                       Operations,
                                                                                         LLC
                                 USA       First used:                  Unregistered      MB
                                              2017                                      Medical
                                                                                       Operations,
                                                                                         LLC

                                 USA       First used:                  Unregistered      MB
                                              2015                                      Medical
                                                                                       Operations,
                                                                                         LLC

                                 USA       First used:                  Unregistered      MB
                                              2017                                      Medical
                                                                                       Operations,
                                                                                         LLC

                                 USA       First used:                  Unregistered      MB
                                              2017                                      Medical
                                                                                       Operations,
                                                                                         LLC

                                       Schedule 1

615811525
            Case 24-20576-CLC    Doc 29    Filed 10/13/24   Page 259 of 565



                                 USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
                                 USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
                                 USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
                                 USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
                                 USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
                                 USA      First used:           Unregistered      MB
                                             2017                               Medical
                                                                               Operations,
                                                                                 LLC

     Miami Beach Medical Group   USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
              MBMG               USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
                                 USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
                                 USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
                                 USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC
                                 USA                            Unregistered      MB
                                                                                Medical
                                                                               Operations,
                                                                                 LLC




                                       Schedule 1

615811525
            Case 24-20576-CLC   Doc 29    Filed 10/13/24   Page 260 of 565



                                USA                            Unregistered      MB
                                                                               Medical
                                                                              Operations,
                                                                                LLC




                                USA                            Unregistered      MB
                                                                               Medical
                                                                              Operations,
                                                                                LLC




                                      Schedule 1
615811525
              Case 24-20576-CLC    Doc 29   Filed 10/13/24   Page 261 of 565




                                        Exhibit D

                                  Employment Agreement




13208185-58
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 262 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 263 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 264 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 265 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 266 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 267 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 268 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 269 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 270 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 271 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 272 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 273 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 274 of 565




                             13
            Case 24-20576-CLC         Doc 29      Filed 10/13/24      Page 275 of 565



        IN WITNESS WHEREOF, the Parties have executed this Agreement as of the >Ɣ@day of >Ɣ@,
2024.



                                               EMPLOYER:

                                             Conviva Physician Group, LLC

                                               By: _______________________________________
                                               Name: Dr. William Russell, M.D.
                                               Title: Authorized Signatory


                                               EMPLOYEE:

                                              By: __________________________________________
                                                  [_________]




                  [Signature Page to Physician Employment Agreement ([__________])]
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 276 of 565
Case 24-20576-CLC    Doc 29     Filed 10/13/24    Page 277 of 565



                          Schedule 1

           Permitted Exceptions to Exclusive Practice

                              None.
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 278 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 279 of 565
            Case 24-20576-CLC        Doc 29    Filed 10/13/24   Page 280 of 565




                                         Schedule 1.2
                                            Names
    x   MB Medical Operations
    x   MB Medical Transport
    x   Care Center Network
    x   Clinical Care Pharmacy
    x   Care Center Medical Group
    x   Florida Family Primary Care Center
    x   Florida Family Primary Care Centers of Tampa
    x   Florida Family Primary Care Centers of Pasco
    x   Florida Family Primary Care Centers of Pinellas
    x   Florida Family Primary Care Centers of Orlando
    x   CCMC Physician Holdings
    x   Miami Medical & Wellness Center
    x   Miami Beach Medical Consultants
    x   Miami Beach Medical Centers
    x   Rodolfo Dumenigo, M.D., P.A.
    x   Clinical Care Medical Centers




615823381
            Case 24-20576-CLC   Doc 29     Filed 10/13/24     Page 281 of 565




                                 Schedule 2.1(a)(iii)
                         List of all Tangible Personal Property
See attached.




615823381
     2.1 (a) (iii) | List of Tangible Personal Property

     Category             Site / Location                 Asset                                                            Purchase Price    Accumulated Depreciation        NBV             Purchase Date Approx*        Valuation Method   Debtor Name
     Autos                7500 SW 8TH ST                  IN Motion Mobility- Chairlifts                                             $1,401                         -$1,401             $0                     3/31/2016 Straight-line       MB Medical Transport, LLC
     Autos                151 NW 11TH ST.                 IN Motion Mobility- Chairlifts                                              $1,327                         -$1,327            $0                       4/1/2016 Straight-line      MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes Van 2020 - VIN 24000                                             $66,808                        -$53,190        $13,618                     8/24/2020 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes Van 2020 - VIN 23469                                             $66,808                        -$53,190        $13,618                     8/24/2020 Straight-line       MB Medical Transport, LLC
     Autos                                                Miami Banners, In Motion Mobility (wrapping, lift)                        $34,421                        -$19,505        $14,916                    11/30/2021 Straight-line       MB Medical Transport, LLC
     Autos                                                Miami Banners & Signs                                                     $14,392                         -$7,915         $6,476                    12/31/2021 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes - VIN 075761 --Maintenance Van                                   $57,840                        -$31,812        $26,028                    12/31/2021 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  2020 Ford Transit - VIN 08733 - Huntington                                $55,967                        -$30,782        $25,185                    12/31/2021 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  2019 Ford Transit - VIN 74047 - Huntington                                $50,417                        -$27,730        $22,688                    12/31/2021 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes Vin T080583                                                      $88,227                        -$47,055        $41,173                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes Vin T081229                                                      $88,259                        -$47,072        $41,188                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes Vin T077729                                                      $88,213                        -$47,047        $41,166                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes Vin T079666                                                      $88,227                        -$47,055        $41,173                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes Vin T080183                                                      $88,227                        -$47,055        $41,173                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes Vin T080182                                                      $88,227                        -$47,055        $41,173                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  Mercedes Vin T079355                                                      $88,213                        -$47,047        $41,166                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                                                MIAMI BANNERS & SIGNS - VIN 4047 and VIN 8733                              $4,494                         -$2,322         $2,172                     2/10/2022 Straight-line       MB Medical Transport, LLC
     Autos                                                In Motion Mobility - wheel chair installations (received Jun 202          $10,165                         -$5,421         $4,744                     1/31/2022 Straight-line       MB Medical Transport, LLC
     Autos                                                In Motion Mobility - wheel chair installations                            $10,165                         -$4,574         $5,591                      6/1/2022 Straight-line       MB Medical Transport, LLC
     Autos                                                WDZPE8DC2FP121938 - 2015 Mercedes                                          $8,267                         -$8,267             $0                     9/11/2020 Straight-line       MB Medical Transport, LLC
     Autos                                                1GTW7AFF7H1907518 - 2017 GMC                                              $11,840                        -$11,840             $0                     9/11/2020 Straight-line       MB Medical Transport, LLC
     Autos                                                3N1AB7AP4HY331042 - 2017 Nissan                                            $5,630                         -$5,630             $0                     9/11/2020 Straight-line       MB Medical Transport, LLC
     Autos                                                In Motion Mobility - Lifts                                                $20,330                        -$11,520         $8,810                    11/30/2021 Straight-line       MB Medical Transport, LLC
     Autos                                                South Dade Kia VIN 22126 - KIA Soul for Pharmacy                          $24,836                        -$12,832        $12,004                     2/11/2022 Straight-line       MB Medical Transport, LLC
     Autos                                                VIN 1GAWGFFGXJ1205259 2018 Chevy Express 2500 Passenge                    $19,450                        -$19,450             $0                      6/1/2021 Straight-line       MB Medical Transport, LLC
     Autos                                                MIAMI BANNERS & SIGNS                                                      $4,173                         -$7,915        -$3,742                      2/1/2022 Straight-line       MB Medical Transport, LLC
     Autos                7500 SW 8th ST                  William Lehman RV                                                        $131,459                      -$131,459              $0                    10/31/2017 Straight-line       MB Medical Transport, LLC
     Autos                1200 ALTON RD                   LEXUS TRUCK                                                                     $0                              $0            $0                     11/5/2011 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   TOYOTA TRUCK                                                                    $0                              $0            $0                     11/9/2011 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   TOYOTA TRUCK                                                                    $0                              $0            $0                     4/30/2012 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   TOYOTA TRUCK                                                                    $0                              $0            $0                    12/19/2012 Straight-line       Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                                                               Case 24-20576-CLC




     Autos                1200 ALTON RD                   TOYOTA VAN                                                                      $0                              $0            $0                     2/21/2013 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   TOYOTA VAN                                                                      $0                              $0            $0                     8/22/2013 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   TOYOTA VAN -removed Dec 23                                                      $0                              $0            $0                     9/20/2013 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   TOYOTA TRUCK - removed Dec 23                                                   $0                              $0            $0                      2/6/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   TOYOTA TRUCK - removed Dec 23                                                   $0                              $0            $0                     2/10/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   TOYOTA TRUCK                                                                    $0                              $0            $0                     3/10/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   TOYOTA TRUCK                                                                    $0                              $0            $0                     3/10/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   WILLISM LEHMAN                                                                  $0                              $0            $0                      5/6/2014 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                1200 ALTON RD                   mobility works                                                                  $0                              $0            $0                     6/18/2015 Straight-line       Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                                                               Doc 29




     Autos                1200 ALTON RD                   mobility works                                                                  $0                              $0            $0                     7/31/2015 Straight-line       Rodolfo Dumenigo, M.D. P.A.
     Autos                7500 SW 8TH ST                  2013 FORD E-350 VAN VIN-1DDA34298                                               $0                              $0            $0                      4/16/2014 Straight-line      Miami Medical & Wellness Center, LLC
     Autos                551 E 49TH ST.                  2013 FORD E-350 VAN VIN-2DDA00855                                               $0                              $0            $0                      4/16/2014 Straight-line      Miami Medical & Wellness Center, LLC
     Computer Equipment   351 NW 42ND AVE                 LEJUENE CAMERS                                                             $2,844                         -$2,844             $0                     7/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION - PCs                                                        $7,074                         -$6,308          $766                      2/28/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment                                   SHI INTERNATIONAL CORP - Laptops                                           $7,551                         -$6,475         $1,077                     4/24/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION - COMPUTERS FOR UPGRADE & EXPANSION                         $12,567                        -$10,376         $2,191                     6/15/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  INSIGHT & PC CONNECTION - WESTCHESTER                                     $26,286                        -$20,928         $5,358                     8/26/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7291 West Atlantic Blvd.        PC CONNECTION - 20 COMP FOR DELRAY                                        $16,767                        -$13,349         $3,418                     8/24/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   2417 Hwy 98 N                   PC CONNECTION - PCs THINKCENTRE FOR LAKELAND                              $16,265                        -$12,503         $3,762                    10/20/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment                                   INSIGHT DIRECT USA, INC. - 10 LENOVO THINKCENTRE                          $10,544                         -$8,103         $2,441                     11/6/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment                                   CC ACQUISITION                                                            $15,748                        -$13,000         $2,747                     9/11/2020 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION SALES CORP - PCs for CC                                      $8,635                         -$6,332         $2,303                     1/21/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment                                   PC CONN, INSIGHT, CORP AMEX FEB 2-28, 2020                                $14,080                        -$10,091         $3,989                     2/28/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  INSIGHT DIRECT & PC CONNECTION - MARCH PURCHASES                          $98,043                        -$68,630        $29,413                     3/25/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION SALES CORP                                                  $25,674                        -$17,544         $8,130                     4/19/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION & INSIGHT DIRECT USA                                         $5,582                         -$3,815         $1,768                     4/30/2021 Straight-line       MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                               Filed 10/13/24




     Computer Equipment   7500 SW 8th St                  PC CONNECTION SALES CORP - Computers for CCN and Phar                     $27,371                        -$18,247         $9,124                     5/20/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION & INSIGHT DIRECT USA, DIVVY - (Jun Total)                   $48,174                        -$31,313        $16,861                     6/23/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment                                   INSIGHT DIRECT USA, INC. AND DIVVY                                        $16,577                        -$10,499         $6,078                     7/24/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION, DIVVY, IPOWER, INSIGHT DIRECT (AUG Total)                  $84,453                        -$52,079        $32,374                     8/31/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION SALES CORP                                                  $32,778                        -$19,667        $13,111                     9/22/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment                                   HP SWITCHES FFPCC LAPTOPS AND WIFI EQUIPMENT                              $20,501                        -$12,301         $8,200                     9/30/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  INSIGHT DIRECT, DIVVY, DELL, PC CONNECTIONS (Total Octobe                 $79,295                        -$46,256        $33,040                    10/29/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  INSIGHT DIRECT, DIVVY, PC CONNECTIONS (Total November)                    $83,479                        -$47,305        $36,174                    11/22/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION SALES CORP, DIVVY                                           $43,145                        -$23,730        $19,415                    12/30/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION SALES CORP                                                  $29,800                               $0       $29,800                     4/19/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   1200 ALTON RD                   TELESPHERE SOLUTIONS-SECURITY CAMERAS ALTON RD                                $241                           -$241            $0                     2/27/2017 Straight-line       MB Medical Operations, LLC
     Computer Equipment   12550 Biscayne Blvd             NORTH MIAMI ACTIVITY CENTER TECH EQUIPMENT                                 $1,505                         -$1,505             $0                     1/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   12550 Biscayne Blvd             NORTH MIAMI CENTER TECH EQUIPMENT                                          $6,573                         -$6,573             $0                     1/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  INSIGHT DIRECT USA, INC. - LENOVO THINKCENTRE - DORAL                     $10,337                         -$7,581         $2,757                     1/20/2021 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  QA DEPARTMENT COMPUTERS                                                    $1,922                         -$1,922             $0                    12/31/2017 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DORAL PHONES                                                               $1,247                         -$1,247             $0                     3/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DORAL EQUIPMENT                                                            $4,774                         -$4,774             $0                     3/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  LAPTOPS FOR NEW ADMINISTRATION                                             $1,833                         -$1,833             $0                     3/31/2018 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  INSIGHT DIRECT USA; DIVVY, DELL BUSINESS                                  $58,986                        -$30,476        $28,510                     2/13/2022 Straight-line       MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                               Page 282 of 565




     Computer Equipment   7500 SW 8th St                  INSIGHT DIRECT USA; DELL BUSINESS; PC CONNECTION                          $29,479                        -$14,740        $14,740                     3/15/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  INSIGHT DIRECT USA; DELL BUSINESS                                         $84,626                        -$40,903        $43,723                     4/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL, INSIGHT DIRECT, DIVVY                                               $51,963                        -$24,250        $27,714                     5/31/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  INSIGHT DIRECT USA, INC; PC CONNECTION SALES CORP; DELL                   $58,767                        -$26,445        $32,322                     6/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  PC CONNECTION, DELL, IPOWER                                               $37,242                        -$16,138        $21,104                     7/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS, PC CONNECTION                                             $103,195                        -$42,998        $60,197                     8/18/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS                                                              $3,020                         -$1,208         $1,812                     9/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS                                                              $3,083                         -$1,182         $1,901                    10/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS, PC CONNECTION                                              $15,341                         -$5,625         $9,716                    11/15/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS                                                              $2,934                         -$1,027         $1,907                    12/13/2022 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS                                                              $3,002                         -$1,001         $2,001                     1/13/2023 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS, PC CONNECTION                                              $38,880                        -$12,312        $26,568                     2/13/2023 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS, PC CONNECTION                                              $13,291                         -$3,987         $9,304                     3/13/2023 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS, PC CONNECTION, INSIGHT                                     $26,138                         -$7,406        $18,732                     4/13/2023 Straight-line       MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                  DELL BUSINESS                                                              $2,994                            -$798        $2,196                     5/13/2023 Straight-line       MB Medical Operations, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                           Page 1                                                                                                                                                        11.10.24
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,624       -$656    $1,968    6/13/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS, PC CONNECTION, INSIGHT                                  $48,600    -$11,340   $37,260    7/13/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS; JONAY ENTERPRISES (CONFERENCE ROOM IT UP                $33,217     -$7,197   $26,020    8/31/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS, INSIGHT, DIVVY                                          $20,595     -$4,119   $16,476    9/30/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS, INSIGHT                                                 $18,963     -$3,477   $15,486   10/13/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,614       -$436    $2,178   11/21/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              PC CONNECTION                                                          $33,061     -$4,959   $28,102   12/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,581       -$344    $2,237    1/13/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,603       -$217    $2,386    4/13/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,550        -$85    $2,465    9/13/2022 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS                                                           $2,612        -$44    $2,568   10/13/2022 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              pc connection                                                               $0          $0        $0   12/20/2023 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   2459 HIGHWAY 98 N                           LAKELAND COMPUTER EQUIP                                                 $4,772     -$4,772        $0    3/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Equipment   2459 HIGHWAY 98 N                           LAKELAND COMPUTER EQUIP                                                 $4,858     -$4,858        $0    3/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Equipment   2459 HIGHWAY 98 N                           LAKELAND TV'S                                                           $2,188     -$2,188        $0    3/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Equipment   351 NW 42ND AVE                             LEJUENE ACTIVITY CENTER EQUIPMENT                                       $1,823     -$1,823        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   201 1st St S.                               WINTERHAVEN START UP COMPUTER EQUIP                                     $4,864     -$4,864        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   201 1st St S.                               WINTERHAVEN SECURITY CAMERAS                                            $1,480     -$1,480        $0   11/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   201 1st St S.                               PC CONNECTION - WINTERHAVEN - live in AUG                              $39,464    -$24,336   $15,128    7/26/2021 Straight-line    MB Medical Operations, LLC
     Computer Equipment   201 1st St S.                               INSIGHT DIRECT USA, INC. - WINTERHAVEN LIVE IN AUG                     $26,526    -$16,358   $10,168    7/29/2021 Straight-line    MB Medical Operations, LLC
     Computer Equipment   551 E 49TH ST.                              TELESPHERE SOLUTIONS- SECURITY CAMERAS HIALEAH                           $722        -$722        $0    2/21/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7291 West Atlantic Blvd.                    DELRAY STARTUP TECHNOLOGY EQUIPMENT                                     $4,895     -$4,895        $0   11/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7444 E. Palm River Rd., Tampa, FL., 33619   INSIGHT DIRECT USA, INC; PC CONNECTION SALES CORP                      $95,711    -$51,046   $44,665    1/24/2022 Straight-line    MB Medical Operations, LLC
     Computer Equipment   750 SOUTH FEDERAL HWY.                      HOLLYWOOD SECURITY CAMERAS                                              $1,718     -$1,718        $0   11/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   750 SOUTH FEDERAL HWY.                      HOLLYWOOD STARTUP TECHNOLOGY EQUIPMENT                                  $3,906     -$3,906        $0   12/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   750 SOUTH FEDERAL HWY.                      MT.SINAI                                                                $7,790     -$7,790        $0     4/1/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              WESTCHESTER SUITE 306 COMPUTER EQUIP                                    $3,362     -$3,362        $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              WESTCHESTER SUITE 201 COMPUTER EQUIP                                    $1,537     -$1,537        $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              SUITE 101 WESTCHESTER THERAPY COMPUTERS                                  $975        -$975        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              ARUBA ACCESS POINTS FOR ALL LOCATIONS                                   $1,431     -$1,431        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              COMPUTERS FOR ROOM 207 WESTCHESTER                                      $1,383     -$1,383        $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              IT STAFF LAPTOPS                                                        $3,182     -$3,182        $0    11/8/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              ULTRASOUND DEPARTMENT COMPUTERS                                         $1,453     -$1,453        $0   12/31/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              INSIGHT DIRECT USA, INC. - LENOVO THINKCENTRE - WESTCTR                $10,233     -$7,505    $2,729     1/5/2021 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8TH ST                              PC CONNECTION - POWER EDGE SERVERS                                     $12,520    -$11,630     $891    12/15/2019 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                           Case 24-20576-CLC




     Computer Equipment   701 NW 27th Ave                             TRANSFER FROM WIP MIAMI 27TH PC CONNECTION                             $24,216    -$10,090   $14,126    8/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Equipment   9611 BIRD RD                                TELESPHERE SOLUTIONS-SECURITY CAMERAS BIRD RD                            $481        -$481        $0    2/27/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   9611 BIRD RD                                NEW BIRD ROAD ACTIVITY CENTER COMPUTER EQUIPMENT                        $2,140     -$2,140        $0    11/7/2017 Straight-line    MB Medical Operations, LLC
     Computer Equipment   9611 BIRD RD                                BIRD RD SECURITY CAMERAS                                                $3,143     -$3,143        $0    3/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Equipment   FFPCC Locations (Tampa)                     JE - GULF TRUE UP - 06/30/21                                           $78,913    -$51,293   $27,620    8/31/2021 Straight-line    MB Medical Operations, LLC
     Computer Equipment                                               Desktop, server, monitors                                               $8,406     -$6,623    $1,783    9/11/2020 Straight-line    Clinical Care Pharmacy, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS; DIVVY (IPADS)                                            $7,871       -$787    $7,084    3/31/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS; DIVVY (IPADS)                                            $9,247       -$616    $8,630    5/31/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   7500 SW 8th St                              DELL BUSINESS; DIVVY (IPADS)                                           $11,958       -$598   $11,361    6/30/2024 Straight-line    MB Medical Operations, LLC
     Computer Equipment   1200 ALTON RD                               MEDICAL SOFTWARE                                                        $7,132          $0        $0   10/18/2006 Straight-line    Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                           Doc 29




     Computer Equipment   1200 ALTON RD                               MEDICAL SOFTWARE                                                       $16,842          $0        $0    6/30/2008 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                           $5,558          $0        $0   12/31/2010 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                           $1,277          $0        $0    3/17/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                           $4,630          $0        $0    7/28/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                           $3,855          $0        $0    9/16/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL COMPUTER                                                            $578           $0        $0   11/30/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               COMPUTER EQUIPMENT                                                                      $0        $0     7/1/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               COMPUTER EQUIPMENT(TIGERDIRECT)                                         $1,434          $0        $0    2/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               COMPUTER EQUIPMENT(TIGERDIRECT)                                          $654           $0        $0    7/17/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   151 NW 11TH ST.                             PATTERSON DENTAL SOFTWARE                                               $2,410          $0        $0    10/3/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   151 NW 11TH ST.                             AUTOMATED BUSINESS MACHINES                                              $740           $0        $0   10/31/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               DELL                                                                    $1,038          $0        $0    1/24/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               SATURN WIRELESS                                                         $1,296          $0        $0     3/3/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               PAYCHEX(4 BIOMETRICS)                                                  $11,792          $0        $0    5/16/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               STAPLES                                                                 $1,043          $0        $0    6/13/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               STAPLES                                                                 $1,131          $0        $0    11/4/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   1200 ALTON RD                               staPLES                                                                 $2,193          $0        $0     3/2/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                           Filed 10/13/24




     Computer Equipment   1200 ALTON RD                               Jose Sanchez Computer                                                    $490        -$490        $0    9/15/2016 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Equipment   7500 SW 8TH ST                              TELESPHERE                                                                  $0          $0        $0     2/21/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   551 E 49TH ST.                              TELESPHERE                                                                  $0          $0        $0     2/21/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   551 E 49TH ST.                              STAPLES                                                                     $0          $0        $0      5/1/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   551 E 49TH ST.                              TELESPHERE                                                                  $0          $0        $0      5/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   7500 SW 8TH ST                              TELESPHERE                                                                  $0          $0        $0      5/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   7500 SW 8TH ST                              TELESPHERE                                                                  $0          $0        $0     11/1/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Equipment   551 E 49TH ST.                              TELESPHERE                                                                  $0          $0        $0     9/18/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Computer Software    7500 SW 8th St                              McKesson -Westchester Key Holter IQMark                                $16,453    -$16,453        $0    9/11/2020 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              PC CONNECTION SALES CORP (added to schedule in Aprl)                    $5,122     -$5,122        $0     1/1/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              Tranfer Nextgen from WIP to Software, system went live in April       $569,815   -$569,815        $0    4/30/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              IPOWER TECHNOLOGIES - Connectwise Downpymt (LIVE IN JU                $141,294   -$141,294        $0    4/23/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              IPOWER TECHNOLOGIES - May Total - (LIVE IN JUN)                        $39,428    -$39,428        $0     5/4/2021 Straight-line    MB Medical Operations, LLC
     Computer Software                                                PROPHECY AMERICAS INC                                                  $10,668    -$10,668        $0    5/13/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC (total June)                                   $869,036   -$869,036        $0     6/1/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              NEXTGEN HEALTHCARE INC and I POWER (total AUG)                        $405,199   -$405,199        $0    8/31/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              CareOptimize                                                          $729,589   -$689,056   $40,533   11/30/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th ST                              CareOptimize                                                           $38,203    -$35,019    $3,184   11/30/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                           Page 283 of 565




     Computer Software    7500 SW 8th St                              PC CONNECTION SALES CORP                                               $37,268     -$3,106   $34,162    4/19/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              PC CONNECTION SALES CORP                                               $23,220     -$1,290   $21,930    4/19/2021 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              CALL CENTER CALL SOFTWARE                                               $1,040     -$1,040        $0    1/31/2018 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              RSA Security Licensing                                                 $19,058    -$19,058        $0    1/13/2020 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                 $78,751    -$78,751        $0     8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                  $1,833     -$1,833        $0     8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                 $86,693    -$84,284    $2,408     8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              Intersoft                                                             $495,485   -$495,485        $0    1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              Intersoft                                                              $43,200    -$43,200        $0    1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              CareOptimize; PC CONNECTION SALES CORP                                 $91,132    -$81,006   $10,126    1/25/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                      $0          $0        $0     8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              INTERSOFT                                                             $123,200   -$123,200        $0    1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              INTERSOFT                                                              $40,000    -$40,000        $0    1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software    7500 SW 8th St                              NEXTGEN HEALTHCARE INC                                                      $0          $0        $0     8/2/2022 Straight-line    MB Medical Operations, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                        Page 2                                                                                                       11.10.24
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $87,360    -$87,360         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $85,200    -$85,200         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $87,360    -$87,360         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $91,520    -$91,520         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            AANEEL APR 2022 CONSULTING                                               $70,932    -$57,140    $13,792      6/1/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            AANEEL MAY 2022 CONSULTING                                               $56,254    -$45,003    $11,251      6/1/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC, IPOWER                                           $77,983    -$56,321    $21,662     7/24/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $87,360    -$87,360         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            AANEEL JUNE 2022 CONSULTING                                              $68,805    -$52,616    $16,189      7/1/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$20,833     $9,167      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                $91,520    -$91,520         $0     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                 $5,280          $0     $5,280     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$20,000    $10,000      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                 $4,560          $0     $4,560     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$19,167    $10,833      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$18,333    $11,667      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                 $5,040          $0     $5,040     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $30,000    -$17,500    $12,500      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            INTERSOFT                                                                 $5,280          $0     $5,280     1/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            AANEEL                                                                   $98,649    -$54,805    $43,844    12/31/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TECKPERT                                                                  $7,975     -$4,209     $3,766     2/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            NEXTGEN HEALTHCARE INC                                                   $50,500    -$25,250    $25,250      8/2/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TECKPERT                                                                  $3,816     -$1,590     $2,226     2/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TECKPERT                                                                 $17,819     -$5,445    $12,374     2/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TECKPERT                                                                  $6,500     -$1,806     $4,694     2/20/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th St                            TRANSFER FROM WIP AANEEL AND DATABRIDGE                                  $43,630    -$14,543    $29,087     9/30/2023 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8TH ST                            01/14/2020 Core Licensing                                                $15,917    -$15,917         $0      2/1/2020 Straight-line    MB Medical Operations, LLC
     Computer Software      9611 BIRD RD                              AANEEL CARE IMPLEMENTATION - ONE TIME                                    $50,000    -$40,278     $9,722      6/1/2022 Straight-line    MB Medical Operations, LLC
     Computer Software      7500 SW 8th ST                            Lightbeam                                                                $63,740          $0    $63,740                Straight-line   MB Medical Operations, LLC
     Computer Software      1200 ALTON RD                             goverlain                                                                     $0          $0         $0     3/15/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Software      9611 BIRD RD,                             scoPE                                                                      $963           $0         $0    10/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Computer Software      9611 BIRD RD,                             scOPE                                                                      $963           $0         $0     11/1/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Fitness Equipment      2459 HIGHWAY 98 N                         MASSAGE CHAIRS FOR LAKELAND                                               $2,056     -$2,056         $0     3/31/2018 Straight-line    MB Medical Operations, LLC
     Fitness equipment      1200 ALTON RD                             DEKOGARLEY GROUP(FITNESS EQUIPMENT)                                       $1,800          $0         $0      9/3/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Fitness Equipment      7500 SW 8TH ST                            FITNESS EQUIPMENT                                                             $0          $0         $0       3/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
                                                                                                                                                                                                                                                               Case 24-20576-CLC




     Fitness Equipment      7500 SW 8TH ST                            FITNESS EQUIPMENT                                                             $0          $0         $0      6/23/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                         $0          $0         $0      2/10/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                         $0          $0         $0      2/10/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            SCOPE                                                                         $0          $0         $0      2/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            SCOPE                                                                         $0          $0         $0      2/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                         $0          $0         $0      2/18/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            SCOPE                                                                         $0          $0         $0      2/28/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            OPTHALMIC EQUIPMENT                                                           $0          $0         $0       3/3/2014 Straight-line   Miami Medical & Wellness Center, LLC
                                                                                                                                                                                                                                                               Doc 29




     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                          $0          $0         $0      3/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            SCOPE                                                                          $0          $0         $0     3/10/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            OPTIMETRICS                                                                    $0          $0         $0     3/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           2005 TXR325 XRAY SYSTEM                                                        $0          $0         $0     3/18/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      151 NW 11TH ST.                           SCOPE                                                                          $0          $0         $0     4/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            PATTERSON                                                                      $0          $0         $0     4/23/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            DENTAL EQUIPMENT                                                               $0          $0         $0      5/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      551 E 49TH ST.                            TQ SOLO LASER                                                                  $0          $0         $0     8/28/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            MEDICAL EQUIPMENT                                                          $1,926          $0         $0     7/28/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            MEDICAL EQUIPMENT                                                          $1,386          $0         $0     8/26/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            McKesson Medical                                                             $185       -$185         $0      7/1/2016 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            Scope Group                                                                $1,907     -$1,907         $0     1/23/2017 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            Medline - holter digital recorder                                          $4,808     -$4,808         $0     9/18/2019 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            Exam Table                                                                 $2,122     -$1,892       $230     2/25/2020 Straight-line   Miami Medical & Wellness Center, LLC
     Fitness Equipment      7500 SW 8TH ST                            Samuell Medical (exam table, medical recliner,wall otoscp/ophtal)          $9,675     -$7,988     $1,687     6/19/2020 Straight-line   Miami Medical & Wellness Center, LLC
                                                                                                                                                                                                                                                               Filed 10/13/24




     Furniture & Fixtures                                             FURNITURE FOR ALL CENTERS                                                 $10,395    -$9,655       $739    12/31/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures                                             WATER FOUNTAINS FOR ALL NEW CENTER                                         $1,631    -$1,515       $116    12/31/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures                                             CC ACQUISITION                                                            $35,831   -$20,718     $15,113    9/11/2020 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   1214 ALTON RD                             ALTON RD CONFERENCE ROOM                                                   $2,736    -$2,651         $84   10/31/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            EXECUTIVES DESK (GLADYS, IRENE, JOSE)                                      $2,063    -$1,999         $63   10/31/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            CUBICULES FOR CALL CENTER                                                  $2,493    -$2,315       $178      1/4/2018 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            DIVVY - FURNITURE & FIXYURES FOR NEW PHARMACY                             $21,646          $0    $21,646    7/15/2021 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            OFFICE FURNITURE WAREHOUSE OF MIAMI (DORAL)                               $23,071    -$9,613     $13,458   10/21/2021 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8th St                            OFFICE FURNITURE WAREHOUSE OF MIAMI (DORAL)                               $13,871    -$5,614      $8,256   11/17/2021 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   2459 HIGHWAY 98 N                         FURNITURE FOR POLK COUNTY                                                  $5,615    -$4,909       $706     3/31/2018 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   201 1st St S.                             ACTIVITY CENTER CHAIRS FOR WINTERHAVEN                                     $1,464    -$1,419         $45    11/4/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   551 E 49TH ST.                            DIVVY - EXECUTIVE CHAIRS EAST HIALEAH, TRANSFER FROM WIP                  $28,388    -$8,787     $19,602    7/31/2022 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   6726-6726A Hanley Rd., Tampa FL., 33634   DIVVY - EXECUTIVE CHAIRS, DESKS                                           $15,134    -$4,865     $10,270    6/30/2022 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8TH ST                            WESTCHESTER WORKSTATION CABINETS                                           $2,986    -$2,986          $0    3/16/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8TH ST                            DES MEDICAL EQUIPMENT AND SERVICES-                                        $1,977    -$1,977          $0    3/16/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8TH ST                            HAYNEEDLE- CHAIRS FOR WESTCHESTER SUITE 201                                $1,262    -$1,262          $0    7/10/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   7500 SW 8TH ST                            CHAIRS FOR WESTCHESTER LOBBY                                               $1,667    -$1,667          $0    9/10/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   9611 BIRD RD                              BIRD ROAD ACTIVITY CENER CHAIRS                                            $2,051    -$1,946       $105    11/16/2017 Straight-line    MB Medical Operations, LLC
     Furniture & Fixtures   FFPCC LOCATIONS                           JE - GULF TRUE UP - 06/30/21                                              $44,241   -$20,540     $23,701    8/31/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                               Page 284 of 565




     Furniture & Fixtures                                             To record disposal of pharmacy F&F sold Aug 22                           -$21,646          $0   -$21,646               Straight-line   MB Medical Operations, LLC
     Furniture & Fixtures   1200 ALTON RD                             GALLERY INTERIORS                                                          $1,479          $0         $0    7/21/2010 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             DRAWINGS PAINTINGS                                                                         $0         $0   12/31/2010 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             UAS OFFICE FURNITURE                                                       $187            $0         $0     8/2/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             PATIO AND THINGS                                                          $4,206           $0         $0    8/22/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             PATIO AND THINGS                                                          $4,205           $0         $0    9/28/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             WALL UNIT                                                                  $637            $0         $0    6/18/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             USA OFFICE FURNITURE                                                      $1,804           $0         $0    9/19/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             2 DESKS AND 2 FILED CABINETS                                              $4,395           $0         $0    10/5/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             USA OFFICE FURNITURE                                                      $3,144           $0         $0   12/24/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             OFFICE DEPOT METAL CABINET                                                 $633            $0         $0     3/8/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             Y&T PLUMBING                                                              $3,120           $0         $0    3/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             OPTOMETRY RACKS                                                            $815            $0         $0     4/8/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures   1200 ALTON RD                             FDI SALON(FURNITURE FOR MED CENTER SALON)                                 $1,224           $0         $0    4/11/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                           Page 3                                                                                                        11.10.24
     Furniture & Fixtures 1200 ALTON RD               belson outdoors                                                          $159        -$159         $0    3/27/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 7500 SW 8TH ST              fuRNITURE & FIXTURES                                                     $170        -$170         $0    9/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 1200 ALTON RD               fuRNITURE & FIXTURES                                                     $245        -$245         $0    9/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 7500 SW 8TH ST              fuRNITURE & FIXTURES                                                     $245        -$245         $0    9/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 7500 SW 8TH ST              fuRNITURE & FIXTURES                                                     $186        -$186         $0   10/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 9611 BIRD RD,               fuRNITURE & FIXTURES                                                     $370        -$370         $0   10/10/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 1200 ALTON RD               SIGN                                                                    $4,500          $0         $0    3/17/2010 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Furniture & Fixtures 7500 SW 8TH ST              REFACE EXPERTS                                                            $227       -$227         $0     4/20/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Furniture & Fixtures 7500 SW 8TH ST              REFACE EXPERTS                                                            $232       -$232         $0      5/8/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Furniture & Fixtures 7500 SW 8TH ST              REFACE EXPERTS                                                            $235       -$235         $0    12/14/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Furniture & Fixtures 7500 SW 8TH ST              REFACE EXPERTS                                                            $189       -$189         $0     1/15/2016 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvemen 151 NW 11th St.             PURE AIR - THERAPY AREA RELOCATE EXSITING A/C                           $3,653     -$1,494     $2,159     2/4/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              PRONTO WASTE - WESTCTR 3RD FL RENOVATION                                $1,674       -$666     $1,007    4/28/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           FERGUSON ENTERPRISES (05/06/20)                                          $561        -$219      $341     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           FERGUSON ENTERPRISES (05/06/20)                                          $332        -$130      $202     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           H&M KITCHEN (05/06/20)                                                 $16,658     -$6,515    $10,144    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           PRONTO WASTE SERVICES (05/13/20)                                         $426        -$167      $259     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           FOREVER SIGNS (for bird rd Sculpture) - Cr in Sept 2020 - $1690         $7,649     -$3,019     $4,630    5/15/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           L&W SUPPLY #32181 (05/20/20)                                             $932        -$364      $567     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           BANNER SUPPLY #32181 (05/20/20)                                         $2,541       -$994     $1,547    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           F.P.G HOME DESIGN CENTER #32181 (05/20/20)                               $232         -$91      $141     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           Home Depot Tck#32181 (from April 20)                                    $1,049       -$410      $639     6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           Kilowatts & Contractor Electrical Tck#32181 (05/21/20)                  $3,079     -$1,204     $1,875    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           LEAD ENTERPRISES #32181 (05/20/20)                                      $1,784       -$698     $1,087    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           KITCHENSBATHS/ MASTER REN/ L&W/ MAIRATA/ ABOVE INT TCK#                 $9,409     -$3,680     $5,729    6/23/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7921 West Atlantic Ave      CMG PRODUCTIONS - SIGNAGE DELRAY                                        $7,079     -$2,720     $4,359    9/10/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.              FOREVERSIGNS - CHANNEL LETTERS HIALEAH & BIRD                          $14,232     -$5,268     $8,558    9/15/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd.        H&M KITCHEN - CABINETS FOR N. MIAMI WORKORDER 1132                      $8,329     -$3,173     $5,155    10/7/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 SW 40th St.            FOREVER SIGNS - MONUMENT SIGN FOR BIRD                                  $9,204     -$3,477     $5,726   10/20/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th ST              CC ACQUISITION                                                        $331,077   -$135,495   $195,583    9/11/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                           DRAGUISA LLC - MiaBeach front entrance renovation                      $11,337     -$4,580     $6,758    8/31/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 11200 West Flagler St.      H&M KITCHEN - ORDER 1526 FOR CC SWEETWATER                             $17,100     -$6,270    $10,830    1/18/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 11200 West Flagler St.      RICKY'S ELECTRICAL SYSTEMS, INC. - 14 CAMERA CATSE SWEETW               $5,902     -$2,164     $3,738    1/21/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 11200 West Flagler St.      GEK TIMBER & H&M KITCHEN - NM and Sweetwater                            $9,579     -$3,353     $6,226    3/22/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                            Case 24-20576-CLC




     Leasehold Improvemen 1200 ALTON RD               1214 ALTON RD CLINICAL SUITES                                          $47,052    -$26,554    $20,498    7/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1200 ALTON RD               PURE AIR & TWO BRO SECURITY SOLUTIONS (Total June)                     $38,479    -$12,506    $25,973    6/22/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               1214 ALTON RD SUITE 205 A/C UNIT                                        $8,880     -$4,948     $3,932    8/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               ALTON CONFERENCE ROOM                                                   $9,287     -$5,049     $4,238   10/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               H&M KITCHEN                                                             $1,500       -$213     $1,288    4/19/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               TRANSFER FROM WIP MIAMI BEACH - ALTON ROAD APTS                        $75,075    -$10,636    $64,439    4/30/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               MOWREY ELEVATOR - ALTON (TRANSFER FROM WIP)                            $10,340     -$1,120     $9,220    8/31/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               H&M KITCHEN                                                             $6,450       -$430     $6,020     1/3/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               ASAP FIRE SPRINKLER PROTECTION LLC and H&M KITCHEN                     $11,692       -$487    $11,205    4/24/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               INSTALL STRUCTURAL STEEL REINFORCED-DRAGUISA LLC                        $2,869     -$1,279     $1,590     5/7/2019 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                            Doc 29




     Leasehold Improvemen 1214 ALTON RD               ALTON SALON                                                             $2,263       -$970     $1,293    8/31/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              HERNANDEZ NATIONAL PAINTING, INC. - EXTERIOR PAINT                     $24,325    -$10,327    $13,998    10/7/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               ALTON SALON - FROM WIP 10/31/19                                         $1,035       -$444      $592     8/31/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1214 ALTON RD               HERNANDEZ NATIONAL PAINTING, INC. - EXTERIOR PAINT                     $15,721     -$6,550     $9,170   11/28/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         BISCAYNE CENTER SECOND FLOOR                                           $70,041    -$42,777    $27,264    1/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         NORTH MIAMI BUILDOUT                                                  $540,234   -$325,483   $214,751    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         NORHT MIAMI PARKING LOT                                                 $4,545     -$2,738     $1,807    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         PURE AIR, RICKY'S ELECTRICAL SYSTEMS, INC, H&M KITCHEN                 $46,300    -$13,118    $33,182   11/22/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         PURE AIR SERVICES INC - dental office TCK#22140                         $2,906     -$1,270     $1,636     7/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         PURE AIR SERVICES INC - activity center TCK#28241                       $3,248     -$1,420     $1,829     7/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         CONTRACTORS ELECTRICAL - TCK#22140                                      $1,368       -$592      $776     7/19/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd         CONTRACTORS ELECTRICAL - TCK#28241                                      $1,368       -$592      $776     7/19/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 12615/12625 W. Dixie Hwy.   PURE AIR, RICKY'S ELECTRICAL SYSTEMS, VICO CONTRACTORS,               $365,531   -$100,521   $265,010   12/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1303 S SEMORAN BLVD         TRANSFER FROM WIP ORLANDO                                             $283,903    -$63,878   $220,024    6/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1303 S SEMORAN BLVD         TRANSFER FROM WIP ORLANDO                                              $78,941    -$16,446    $62,495    6/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1303 S SEMORAN BLVD         TRANSFER FROM WIP ORLANDO                                              $15,200     -$3,800    $11,400    6/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 1303 S SEMORAN BLVD         TRANSFER FROM WIP ORLANDO                                             $135,354    -$28,199   $107,155    6/30/2022 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                            Filed 10/13/24




     Leasehold Improvemen 7500 SW 8th St              DORAL- 4TH FLOOR                                                       $30,183    -$15,468    $14,716    3/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              DORAL 5TH FLOOR EXECUTIVES & BACKOFFICE STRUCTURING                    $79,161    -$40,106    $39,056    4/30/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              RICKY'S ELECTRICAL; HUGO AWNINGS, HANLEY MED CENTER EX                 $37,773     -$7,869    $29,904    8/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              PURE AIR SERVICING                                                     $18,050     -$2,858    $15,192    2/25/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              PURE AIR SERVICING                                                      $9,800     -$1,307     $8,493    2/25/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              TRANSFER FROM WIP GATE AT CORPORATE VISITOR LOT                         $6,417     -$1,390     $5,027    7/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              UNIFIED AUTOMATION - CONFERENCE ROOM                                   $10,482     -$4,450     $6,032    10/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St              UNIFIED AUTOMATION - CONFERENCE ROOM                                     $461        -$192      $269     10/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42nd Ave.            GARCES METRO ZOO X-RAY ROOM BUILDOUT                                    $2,266     -$1,295      $971     6/30/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42nd Ave.            GARCES METRO ZOO X-RAY ROOM WALL PANELS                                 $2,357     -$1,347     $1,010    6/30/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42nd Ave.            GARCES METRO ZOO CEILING & LIGHTING FOR RECEPTION AR                    $2,543     -$1,435     $1,108    7/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 151 NW 11TH ST.             TWO BRO SECURITY & IT SOLUTIONS LLC                                     $5,390     -$1,842     $3,549    4/22/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 151 NW 11TH ST.             RICKY'S ELECTRICAL, TWO BRO SECURITY, HOME DEPOT, DIVVY                $26,840     -$7,157    $19,683    1/27/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 151 NW 11TH ST.             TRANSFER FROM WIP HOMESTEAD TILES                                      $27,545     -$1,377    $26,168    3/31/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 18590 NW 67TH AVE # 101     2BRO SECURITY & RICKY'S ELECTRICAL, PURE AIR, DIVVY, H&M K             $40,777    -$11,893    $28,884    10/8/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 18590 NW 67TH AVE # 101     TRANSFER FROM WIP MIAMI LAKES DENTAL                                   $27,676     -$4,382    $23,294    2/28/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               TRANSFER FROM WIP VICO STE 401 COMPLETED AUG 2021                       $7,608     -$2,346     $5,262    8/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               TRANSFER FROM WIP MAROCEF STE 420 COMPLETED OCT 2021                   $21,275     -$6,205    $15,070   10/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               RECLASSES FROM R&M TO LH IMPROVEMENTS (PHARMACY, WI                    $22,470     -$6,928    $15,541    8/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               TRANSFER FROM WIP WINTERHAVEN SUITE 102 BUILDOUT                       $75,493    -$20,761    $54,732   12/17/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                            Page 285 of 565




     Leasehold Improvemen 2417 Hwy 98 N               OLIVERA CONSTRUCTION INC - PREP sub lease                              $40,733    -$17,802    $22,931     7/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 2417 Hwy 98 N               OLIVERA CONSTRUCTION INC - PREP sub lease                              $17,746     -$7,756     $9,991     7/9/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 2455 N ROAD 98              ACTIVITY CENTER LAKELAND - FROM WIP 10/31/19                            $4,468     -$1,934     $2,534    7/31/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 2459 Hwy 98 N               LAKELAND                                                              $213,084   -$126,646    $86,438    3/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 2459 Hwy 98 N               SIGNAGE FOR LAKELAND BUILDING                                           $7,840     -$4,539     $3,300    5/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42ND AVE             GARCES LEJUENE X-RAY ROOM BUILDOUT/ WALL PANELS                         $3,889     -$2,194     $1,695    7/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42ND AVE             ACTIVITY CENTER LEJUENE SUITE 315                                      $61,266    -$33,305    $27,961   10/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42ND AVE             LEJUENE SUITE 503 BUILDOUT                                             $50,769    -$29,019    $21,750    6/30/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               WINTERHAVEN FACILITY UPDATES                                            $5,149     -$3,102     $2,047    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               WINTERHAVEN DENTAL ROOM STRUCTURE                                       $5,882     -$3,544     $2,338    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 201 1st St S.               CYPRESS SIGNS- CENTER SIGNAGE                                           $7,258     -$4,373     $2,885    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.              2BRO SECURITY & IT - CAMERA INSTALLATION                                $5,798     -$2,534     $3,264    6/25/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.              H & M KITCHEN - CABINETS ACTIVITY CENTER TCK#28149                      $6,407     -$2,773     $3,634    7/22/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49 st                 ABC AWNINGS - FOR HIALEAH                                              $12,805     -$5,543     $7,263    7/26/2019 Straight-line    MB Medical Operations, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                        Page 4                                                                                                        11.10.24
     Leasehold Improvemen 551 E 49 st                               New Elevator Cab @ Hialeah                                            $4,514     -$1,935        $2,579    8/20/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49 st                               ACTIVITY CENTER HIALEAH - FROM WIP 10/31/19                           $6,934     -$2,944        $3,990    9/30/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.                            CONTRACTORS ELECTRICAL SERVICES INC - CAMERAS                         $2,112        -$888       $1,223   10/15/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49 st                               CONTRACTORS ELECTRICAL SERVICES INC - CAMERAS                          $845         -$355        $489    10/15/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.                            H&M KITCHEN                                                           $5,110     -$2,129        $2,981   12/13/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49 st                               H&M KITCHEN                                                           $3,300           $0       $3,300   12/13/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49TH ST.                            HIALESH SUITE 9,10,11                                                $25,972    -$13,785       $12,187   12/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49TH ST.                            HIALEAH ELEVATOR                                                      $3,204     -$1,701        $1,503   12/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49TH ST.                            AIR UNIT HIALEAH                                                      $2,881     -$1,647        $1,235     7/1/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49TH ST.                            MOWREY ELEVATOR - HIALEAH DOOR OPERATOR                               $2,783     -$1,204        $1,578    7/29/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   TWO BROS SECURITY; HUGO AWNINGS; LILESMAR, YOTTA SKY; R            $299,449     -$77,358     $222,092     2/28/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   PURE AIR                                                              $6,800     -$1,587        $5,213     5/6/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   RICKY'S ELECTRICAL SYSTEMS, PURE AIR, LILESMAR, TRANSFER FR        $572,011    -$123,936     $448,075     7/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   PURE AIR                                                             $12,600     -$2,205       $10,395     5/6/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   PURE AIR                                                              $6,480        -$486       $5,994     5/6/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 6726-6726A Hanley Rd., Tampa FL., 33634   PURE AIR SERVICING, INC.                                              $5,400        -$180       $5,220     5/2/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7291 West Atlantic Blvd.                  DELRAY DENTAL ROOM STRUCTURING FOR EQUIPMENT                          $4,720     -$2,769        $1,951    4/30/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7291 West Atlantic Blvd.                  DL WALKER CONSTRUCTION GROUP INC - DELRAY RENOVATIO                   $9,255     -$3,471        $5,785   12/28/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7453, 7455, 7495 N. University Dr.        RECLASSES FROM R&M TO LH IMPROVEMENTS (TAMARAC)                      $19,610     -$5,556       $14,054   11/30/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7453, 7455, 7495 N. University Dr.        TRANSFER FROM WIP TAMARAC DENTAL/OPTICAL BUILDOUT                  $120,117     -$35,034       $85,083   10/21/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7463 State Road 52, Hudson, FL 34667      TRANSFER FROM WIP TO LH HUDSON DENTAL PROJECT                      $225,539     -$43,228     $182,311    10/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7463 State Road 52, Hudson, FL 34667      TRANSFER FROM WIP HUDSON MEDICAID                                    $20,708     -$2,416       $18,292    7/31/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7495 N. UNIVERSITY DR                     TWO BRO SECURITY & IT SOLUTIONS LLC                                  $15,869     -$5,025       $10,844    7/22/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7495 N. UNIVERSITY DR                     RICKY'S ELECTRICAL; TWO BROS SECURITY                                $18,410     -$4,602       $13,807    3/11/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7495 N. UNIVERSITY DR                     TRANSFER FROM WIP TAMARAC RENOVATIONS                                $13,495     -$1,912       $11,583    4/30/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 750 SOUTH FEDERAL HWY.                    HOLLYWOOD BUILDOUT                                                   $59,297    -$34,334       $24,963    5/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 750 SOUTH FEDERAL HWY.                    HOLLYWOOD MONUMENTAL SIGN                                            $12,157     -$6,861        $5,296    7/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 750 SOUTH FEDERAL HWY.                    RICKY'S ELECTRICAL SYSTEMS; LILESMAR, HOME DEPOT, DIVVY,          $1,746,895   -$393,051    $1,353,844    6/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            MIAMI FLOORING & DESIGN INC                                           $3,085     -$1,859        $1,226    2/27/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            DORAL TILES                                                           $3,951     -$2,349        $1,602    3/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER QA OFFICE                                                 $5,666     -$3,370        $2,296     4/1/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER HR OFFICE                                                 $7,465     -$4,322        $3,143    5/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER SUITE 201, ORTHOPEDIC, CARDIOLOGY, ULTRASO               $29,268    -$16,726       $12,541    6/30/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER SUITE 304 CALL CENTER & TELEMARKETING                    $24,559    -$13,685       $10,875    8/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESCHESTER SUITE 306-308 CLINICAL SPACE                              $91,408    -$50,305       $41,104    9/30/2017 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                 Case 24-20576-CLC




     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER PENTHOUSE                                              $144,393     -$88,187       $56,206    1/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER SUITE 303                                                $40,044    -$24,457       $15,588    1/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            TILING FOR ALL OF WESTCHESTER                                         $8,206     -$4,944        $3,262    2/28/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER FRONT DESK INSTALLATION                                   $2,664     -$1,584        $1,081    3/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            WESTCHESTER SUITE 206+208 DOUGLAD MOVE CLINCAL                     $109,914     -$64,479       $45,435    4/30/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            OTC BUILD                                                             $4,764     -$2,688        $2,075    7/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            ASAP FIRE SPRINKLER PROTECTION LLC - NEW PUMP -WESTR/ PA             $25,879     -$9,489       $16,390    1/19/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            2 BRO, PURE AIR, VICO (Total Sept)                                   $39,161    -$11,748       $27,413    9/28/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            ASAP FIRE SPRINKLER PROTECTION LLC - NEW PUMP -WESTR/ PA              $6,265     -$1,149        $5,116    1/19/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8TH ST                            TRANSFER FROM WIP WESTCHESTER FIRE SPRINKLER PROJECT                 $36,031     -$6,005       $30,025    1/31/2023 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                 Doc 29




     Leasehold Improvemen 7500 SW 8TH ST                            TRANSFER FROM WIP WESTCHESTER DENTAL                               $193,884     -$14,541     $179,342    12/31/2023 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            CONTRACTORS ELECTRICAL                                                $2,540     -$1,110        $1,430    6/19/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            AC Unit #1 for Hialeah Activity Center                                $2,969     -$1,285        $1,684     8/2/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            AC Unit #2 for Hialeah Activity Center                                $4,022     -$1,741        $2,282     8/2/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                                         Weschester Awning                                                     $3,233     -$1,386        $1,847    8/23/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            H&M KITCHEN - CABINETS ACTIVITY CENTER                                $7,479     -$3,175        $4,304    10/3/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            HERNANDEZ NATIONAL PAINTING, INC. - INTERIOR STAIRWELLS               $7,816     -$3,257        $4,559   11/28/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            FOREVER SIGNS - SCULPTURE                                            $23,028     -$9,684       $13,344    11/1/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 551 E 49th St.                            2 BRO SECURITY - CAMERAS                                              $1,674        -$697        $977     12/2/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 7500 SW 8th St                            2 BRO SECURITY - CAMERAS                                              $1,674        -$697        $977     12/2/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 701 NW 27th Ave                           TRANSFER FROM WIP MIAMI 27TH                                       $989,494    -$206,145     $783,349     8/31/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              BIRD ROAD 40 YR CERTIFICATION                                         $1,907     -$1,104         $803     5/31/2017 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              BIRD RD ACTIVITY CENTER                                              $49,082    -$29,976       $19,106    1/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              BIRD RD CAMERA INSTALLATION                                           $3,315     -$1,970        $1,344    3/31/2018 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              DIVVY,PURE AIR, H&M KITCHEN, WIP (Total Aug)                      $1,555,615   -$479,654    $1,075,961    8/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9611 BIRD RD                              FOREVER SIGNS TRANSFER FROM WIP, LILESMAR                          $222,806     -$44,561     $178,245     9/30/2022 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 9855,9861,9863 E Fern St.                 RICKY'S ELECTRICAL SYSTEMS, INC. - CAMERAS CC CORALWY &              $11,113     -$3,986        $7,127    2/23/2021 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                 Filed 10/13/24




     Leasehold Improvemen 9855,9861,9863 E Fern St.                 EASTERN AIR CONDITIONING - PALMETO BAY                                $6,603     -$2,091        $4,512     7/1/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen CCN locations                             2BRO SECURITY & IT SOLUTIONS LLC - CAMERAS FOR CC                    $29,300    -$10,975       $18,325    12/1/2020 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements CCN locations                           Eagle Wireless - 32 Cameras CCN                                      $15,616      -$5,856       $9,760    12/18/2020 Straight-line   MB Medical Transport, LLC
     Leasehold Improvements CCN locations                           VIDAR CUSTOMS LLC - 31 Cameras                                       $14,799      -$5,426       $9,373     1/14/2021 Straight-line   MB Medical Transport, LLC
     Leasehold Improvements CCN locations                           Eagle Wireless and Vidar Customs (total June)                        $13,944      -$4,532       $9,412     6/25/2021 Straight-line   MB Medical Transport, LLC
     Leasehold Improvemen FFPCC locations                           JE - GULF TRUE UP - 06/30/21                                       $257,413     -$83,659     $173,754     8/31/2021 Straight-line    MB Medical Operations, LLC
     Leasehold Improvemen 351 NW 42nd Ave.                          INSTALL 3 TON BRYANT SYSTEM - PURE AIR SERVICES INC                   $3,301     -$1,457        $1,844    6/11/2019 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                                         Transfer from WIP to LH from 2023 All Purpose Solutions               $8,566         -$71       $8,495    8/31/2024 Straight-line    MB Medical Operations, LLC
     Leasehold Improvements                                         360 DEGREES                                                           $1,541           $0       $1,541               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         360 Degrees Design Corp                                               $3,154           $0       $3,154               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         All Purpose Solutions LLC                                             $8,566           $0       $8,566               Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 12615 West Dixie Hwy                      ALLSTATE GENERAL CONTRACTORS                                       $979,895            $0    $979,895                Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         BRUCE & BRUCE INC                                                    $21,202           $0      $21,202               Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 12550 Biscayne Blvd.                      CITY OF NORTH MIAMI                                                  $15,377           $0      $15,377               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         CORP AMERICAN EXPRESS-21005                                          $30,050           $0      $30,050               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         DIVVY                                                                $34,211           $0      $34,211               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         Flood Risk America, Inc                                              $34,492           $0      $34,492               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         FOREVER SIGNS                                                        $31,298           $0      $31,298               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         Globe Engineering, Inc                                                $7,000           $0       $7,000               Straight-line   MB Medical Operations, LLC
                                                                                                                                                                                                                                                 Page 286 of 565




     Leasehold Improvements                                         GOLD STANDARD BUILDER - PERMIT                                         $101            $0        $101                Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         GOLD STANDARD BUILDER SERVICES LLC                                    $4,714           $0       $4,714               Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 6704 Hanley Rd.                           Hillsborough County FL                                                 $437            $0        $437                Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         KEVIN A BURNS                                                        $27,100           $0      $27,100               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         New Air systems                                                       $2,099           $0       $2,099               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         RED BEAM CONSTRUCTION GROUP                                           $1,957           $0       $1,957               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         RICKY'S ELECTRICAL SYSTEMS, INC.                                     $24,380           $0      $24,380               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         Royal Point Land Surveyors, Inc                                        $900            $0        $900                Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 12615 West Dixie Hwy                      THE ARCHITECTS GROUP                                                 $81,188           $0      $81,188               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         THE ARCHITECTS GROUP, GOLD STANDARD                                  $27,031           $0      $27,031               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         To reverse WIP allocated to Douglas Rd architect                    -$17,033           $0     -$17,033               Straight-line   MB Medical Operations, LLC
     Leasehold Improvements                                         Yotta Sky Group, Inc                                                  $3,371           $0       $3,371               Straight-line   MB Medical Operations, LLC
     Leasehold Improvemen 1200 ALTON RD                             IN Motion Mobility- Chairlifts                                        $5,497     -$3,063        $2,434    7/31/2015 Straight-line    MB Medical Transport, LLC
     Leasehold Improvemen 551 E 49TH ST.                            IN Motion Mobility- Chairlifts                                        $6,718     -$3,652        $3,066    3/31/2016 Straight-line    MB Medical Transport, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                  Page 5                                                                                                   11.10.24
     Leasehold Improvemen 201 1st St S.                                                              IN Motion Mobility- Chairlifts                                    $15,814     -$8,493     $7,321     4/1/2016 Straight-line    MB Medical Transport, LLC
     Leasehold Improvements                                                                          Eagle Wireless - Cameras - in service until May                   $25,638    -$23,154     $2,484    2/12/2020 Straight-line    MB Medical Transport, LLC
     Leasehold Improvements                                                                          Vidar Customs (Installation) - in service until May               $22,541    -$19,564     $2,978     4/1/2020 Straight-line    MB Medical Transport, LLC
     Leasehold Improvements                                                                          Vidar Customs (Installation) - in service until May                $1,922    -$19,564   -$17,641    5/22/2020 Straight-line    MB Medical Transport, LLC
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS                                              $1,208     -$1,208         $0    7/31/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS                                              $2,029     -$2,029         $0     7/1/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(ANCHOR FENCE)                                 $686        -$686         $0    3/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(SOUTHERN TECH)                                  $80        -$80         $0     6/5/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(SOUTHERN TECH)                                $558        -$558         $0     6/5/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(EDUARDO VAZQUEZ DRAWING)                      $382        -$382         $0     7/8/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(SOUTHERN TECH)                               $1,922     -$1,922         $0    8/23/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              CONRADO LEASEHOLD                                                  $1,215     -$1,215         $0    9/30/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 151 NW 11TH ST.                                                            LEASEHOLD IMPROVMENTS(ALVARO MARR)                                  $294        -$294         $0   10/14/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 151 NW 11TH ST.                                                            LEASEHOLD IMPROVMENTS(ALVARO MARR)                                  $294        -$294         $0   10/15/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(AMO)                                         $5,597     -$5,597         $0   10/15/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 12550 Biscayne Blvd                                                        LEASEHOLD IMPROVMENTS(DORAL TILE)                                   $559        -$559         $0   10/21/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 12550 Biscayne Blvd                                                        LEASEHOLD IMPROVMENTS(DORAL TILE)                                   $270        -$270         $0   10/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 12550 Biscayne Blvd                                                        LEASEHOLD IMPROVMENTS(YENER AGUILAR)                                $325        -$325         $0   10/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(AMO)                                         $8,645     -$8,645         $0    11/5/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LEASEHOLD IMPROVMENTS(AMO)                                         $8,895     -$8,895         $0   12/20/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              AMO RESTORATION                                                    $8,038     -$8,038         $0    3/10/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              AMO RESTORATION                                                   $10,555    -$10,555         $0    4/18/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              AMO RESTORATION                                                   $11,088    -$11,088         $0     6/5/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              BUSINESS ISLAND                                                   $11,395    -$11,045      $350    10/24/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              leASEHOLD IMPROVMENTS                                              $1,897     -$1,727      $171     1/16/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              leASEHOLD IMPROVMENTS                                              $8,430     -$7,515      $915     3/13/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              leASEHOLD IMPROVMENTS                                               $838        -$719      $120     4/15/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              leASEHOLD IMPROVMENTS                                              $4,632     -$3,754      $878      8/5/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 9611 BIRD RD,                                                              leASEHOLD IMPROVMENTS                                              $4,798     -$3,689     $1,110   10/15/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 9611 BIRD RD,                                                              LH Imp- Bosch Home Improve                                         $5,189     -$3,855     $1,334    1/12/2016 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 7500 SW 8TH ST                                                             LH Imp- Caymares Martin                                           $10,263     -$7,500     $2,764     2/1/2016 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvemen 1200 ALTON RD                                                              LH Imp- Andom Renovation                                           $8,118     -$5,244     $2,873   10/11/2016 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Leasehold Improvements 551 E 49TH ST.                                                           SCOPE                                                                 $87        -$87         $0      3/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 7500 SW 8TH ST                                                           SCOPE                                                                 $87        -$87         $0      3/5/2014 Straight-line   Miami Medical & Wellness Center, LLC
                                                                                                                                                                                                                                                                                      Case 24-20576-CLC




     Leasehold Improvements 551 E 49TH ST.                                                           ULTIMATE SHUTTERS                                                    $325       -$325         $0      4/2/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 551 E 49TH ST.                                                           ULTIMATE SHUTTERS                                                    $333       -$333         $0     5/15/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 7500 SW 8TH ST                                                           ULTIMATE SHUTTERS                                                    $693       -$693         $0     6/11/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 7500 SW 8TH ST                                                           ULTIMATE SHUTTERS                                                    $733       -$733         $0     7/30/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Leasehold Improvements 7500 SW 8TH ST                                                           LEASEHOLD IMPROVEMENTS                                               $930       -$813       $117     3/24/2015 Straight-line   Miami Medical & Wellness Center, LLC
     Medical Equipment                                                                                                                                                 $17,212    -$17,212         $0     1/0/1900 Straight-line    MB Medical Operations, LLC
     Medical Equipment                                                                                                                                                 $18,083    -$18,083         $0     1/0/1900 Straight-line    MB Medical Operations, LLC
     Medical Equipment      12550 Biscayne Blvd.                                                     PATTERSON DENTAL MACHINE - NORTH MIA                              $54,183    -$48,303     $5,880     3/9/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           PATTERSON DENTAL MACHINE - WESTCHESTER                            $53,112    -$47,360     $5,751    2/17/2020 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                      Doc 29




     Medical Equipment      12550 Biscayne Blvd.                                                     ALPINION USA - ECUBE ULTRASOUND MACHINE - N MIAMI                 $38,348    -$31,079     $7,269    7/17/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      12615 W Dixie Hwy & 1303 South Semoran Blvd                              ALPINION ECUBE - 2 PORTABLE ULTRASOUNDS                           $69,380    -$56,229    $13,151     8/5/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           MCKESSON WESTCHESTER - HOLTER                                     $24,688    -$19,651     $5,037    9/11/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7921 West Atlantic Ave                                                   SCOPE GRP - DELRAY - GENERATOR & FLAT PANNEL                      $30,876    -$24,151     $6,725    9/22/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           FOR A CARE INC - WEIGHT SCALE, PULSE OXIMETER, CELL               $52,027    -$40,695    $11,332    9/23/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7921 West Atlantic Ave                                                   PATTERSON DENTAL SUPPLY 967 - DELRAY                              $16,254    -$12,711     $3,543    10/9/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment                                                                               ALPINION USA, INC - E-CUBE I7 - CLINICAL CARE                     $29,548    -$22,714     $6,834   10/30/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7921 West Atlantic Ave                                                   ALPINION USA, INC - E CUBE 17 - DELRAY                            $30,062    -$22,717     $7,345   11/17/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           DIVVY - PHARMACY PILL COUNTER BY CAPSA HEALTHCARE                  $6,978     -$5,273     $1,705   11/17/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           FORA CARE INC - GATEWAY                                            $9,920     -$7,496     $2,424   11/19/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th ST                                                           PHILIPS HEALTHCARE-3579 - BILL RECVD 12/31/20                     $50,932    -$42,377     $8,555    9/18/2020 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th ST                                                           JE - GULF TRUE UP - 06/30/21                                     $354,847   -$230,651   $124,196    8/31/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      1200 ALTON RD                                                            ULTRASOUND MACHINE                                                $22,782    -$22,782         $0    1/31/2018 Straight-line    MB Medical Operations, LLC
     Medical equipment      1200 ALTON RD                                                            MMI LLC                                                            $4,971     -$4,971         $0    11/1/2021 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment      1200 ALTON RD                                                            ALPINION USA - NEW ULTRASOUND MACHINE                             $25,210    -$23,417     $1,793   12/31/2019 Straight-line    MB Medical Operations, LLC
     Medical Equipment      1214 ALTON RD                                                            ALTON DENTAL EQUIPMENT TRANSFER FROM WIP (in Service sinc         $80,464    -$37,550    $42,914    6/27/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      12550 Biscayne Blvd & 351 NW 42 Ave                                      GENERAL RADIOGRAPHIC & MEDICAL SUPPLY (NM & LEJEUNE)              $41,800    -$27,867    $13,933    4/16/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      12615 W Dixie Hwy & 1303 South Semoran Blvd                              GENERAL RADIOGRAPHIC; RXWORKZ; GOLD COAST OPTHALM                 $31,174     -$7,061    $24,113    3/18/2022 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                      Filed 10/13/24




     Medical Equipment      1303 S SEMORAN BLVD                                                      SAUMELL, ALPINION, MCKESSON, transfer from WIP                   $162,064    -$72,929    $89,135    6/30/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      1303 South Semoran Blvd. & 9855 E Fern St                                GENERAL RADIOGRAPHIC & MEDICAL SUPPLY (Total June)                $91,662    -$59,580    $32,082    6/22/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           Parata Max 2F - Pharmacy (new Pharmacy August)                   $201,438   -$124,220    $77,218    8/31/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           ERCHONIA CORPORATION                                              $61,507    -$28,703    $32,804    5/18/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7500 SW 8th St                                                           HENRY SCHEIN; PATTERSON; ALPINION (Dental chairs, compress       $301,654    -$80,441   $221,213    5/31/2023 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6245 66th St N. (Pinellas) and 7500 SW 8th St (New Corp HQ)              GENERAL RADIOGRAPHIC & MEDICAL SUPPLY, PARATA                     $68,798    -$40,132    $28,666   10/18/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42nd Ave.                                                         GARCES METRO ZOO X-RAY MACHINE                                     $3,745     -$3,745         $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42nd Ave.                                                         Garces-Metro Zoo-EXAM ROOM EQUIPMENT & SUPPLIES                     $385        -$385         $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42nd Ave.                                                         Garces-Metro Zoo-EXAM ROOM EQUIPMENT & SUPPLIES                    $1,285     -$1,285         $0    6/30/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      18590 NW 67TH AVE # 101                                                  TRANSFER FROM WIP MIAMI LAKES                                     $73,066    -$15,831    $57,235    8/31/2023 Straight-line    MB Medical Operations, LLC
     Medical Equipment      201 1st St S.                                                            GOLD COAST OPHTHALMIC INSTRUMENT SERV - Winterhaven liv           $29,410    -$18,136    $11,274    7/16/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      201 1st St S.                                                            PATTERSON DENTAL SUPPLY, INC (Total Aug)                          $90,353    -$55,717    $34,635    8/13/2021 Straight-line    MB Medical Operations, LLC
     Medical Equipment      2459 HIGHWAY 98 N                                                        MEDICAL EQUIPMENT FOR LAKELAND                                    $12,017     -$5,524         $0    4/30/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      2459 HIGHWAY 98 N                                                        DENTAL CHAIR FOR LAKELAND                                         $19,295    -$19,295         $0    5/31/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      2459 HIGHWAY 98 N                                                        ULTRASOUND EQUIPMENT LAKELAND                                     $15,230    -$15,230         $0    7/31/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42ND AVE                                                          GARCES LEJUENE X-RAY MACHINE                                       $9,089     -$9,089         $0    7/31/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42ND AVE                                                          MEDICAL ELECTRONICS LEJUEN START UP THERAPY TABLES                 $3,419     -$1,287         $0   10/31/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42ND AVE                                                          SPIROMETER FOR LEJUENE                                             $1,001     -$1,001         $0   12/19/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      351 NW 42ND AVE                                                          LEJUENE TRACTION SYSTEM                                            $3,099     -$3,099         $0    4/30/2018 Straight-line    MB Medical Operations, LLC
                                                                                                                                                                                                                                                                                      Page 287 of 565




     Medical Equipment      201 1st St S.                                                            WINTERHAVEN X RAY MACHINE                                         $12,384    -$12,384         $0    1/31/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      201 1st St S.                                                            WINTERHAVEN TRACTION SYSTEM                                        $3,099     -$3,099         $0    4/30/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      551 E 49TH ST.                                                           SPIROMETER FOR HIALEAH                                             $1,001     -$1,001         $0   12/19/2017 Straight-line    MB Medical Operations, LLC
     Medical Equipment      551 E 49TH ST.                                                           PATTERSON DENTAL MACHINE HIALEAH                                  $15,068    -$15,068         $0    8/31/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6245 66th Street North, Pinellas Park, FL., 33781                        GENERAL RADIOGRAPHIC & MEDICAL; MCKESSON MEDICAL S                 $7,007     -$3,737     $3,270    1/20/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  GENERAL RADIOGRAPHIC                                               $2,446       -$815     $1,631    10/4/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  MCKESSON MEDICAL SURGICAL                                         $26,749     -$9,808    $16,941   11/17/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  SAUMELL MEDICAL SUPPLIES                                          $15,515     -$5,430    $10,085    12/2/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  MCKESSON MEDICAL SURGICAL                                          $5,137     -$1,541     $3,596    3/22/2023 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634                                  GENERAL RADIOGRAPHIC                                              $17,616       -$587    $17,029    10/4/2022 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634, 7453 N University Dr            GENERAL RADIOGRAPHIC                                               $4,266       -$356     $3,911    4/23/2024 Straight-line    MB Medical Operations, LLC
     Medical Equipment      6726-6726A Hanley Rd., Tampa FL., 33634, 7500 SW 8th St, 2417 Hwy 98 N   GENERAL RADIOGRAPHIC                                             $130,988    -$15,282   $115,706    1/18/2024 Straight-line    MB Medical Operations, LLC
     Medical equipment      7291 West Atlantic Blvd.                                                 MEDICAL ELECTRONICS INC.                                           $8,248     -$5,773     $2,474     2/4/2021 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment      7291 West Atlantic Blvd.                                                 OPTHAMOLOGY EQUIPMENT FOR DELRAY                                   $3,411     -$3,411         $0    2/28/2018 Straight-line    MB Medical Operations, LLC
     Medical Equipment      7291 West Atlantic Blvd.                                                 DELRAY XRAY EQUIPMENT & ROOM                                      $14,273    -$14,273         $0    2/28/2018 Straight-line    MB Medical Operations, LLC




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                                                  Page 6                                                                                                        11.10.24
     Medical Equipment   7291 West Atlantic Blvd.                                    DELRAY DTRACTION SYSTEM                                            $3,099     -$3,099         $0    4/30/2018 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7455 -7463 SR-52; 7455 N University Dr, 18590 NW 67th Ave   GENERAL RADIOGRAPHIC                                             $130,993     -$8,733   $122,260     5/6/2024 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7463 State Road 52, Hudson, FL 34667                        MCKESSON                                                           $2,557       -$725     $1,833     4/3/2023 Straight-line   MB Medical Operations, LLC
     Medical equipment   7463 State Road 52, Hudson, FL 34667                        mckesson                                                           $2,557          $0         $0     4/3/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                $8,661     -$2,454     $6,207    4/12/2023 Straight-line   MB Medical Operations, LLC
     Medical equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       MEDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       medICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       meDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       meDICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7495 N. UNIVERSITY DR                                       medICAL ELECTRONICS                                                    $0          $0         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7291 West Atlantic Blvd.                                    MEDICAL ELECTRONICS                                                $1,887     -$1,887         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   750 SOUTH FEDERAL HWY.                                      MEDICAL ELECTRONICS                                                $1,427     -$1,427         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         MEDICAL ELECTRONICS                                                $2,365     -$2,365         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             MEDICAL ELECTRONICS                                                $1,733     -$1,733         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               MEDICAL ELECTRONICS                                                $1,733     -$1,733         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         MEDICAL ELECTRONICS                                                $1,774     -$1,774         $0    4/12/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      OPTOMETR EQUIPMENT FOR HOLLYWOOD                                   $2,868     -$2,868         $0    1/31/2018 Straight-line   MB Medical Operations, LLC
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      HOLLYWOOD DENTAL EQUIPMENT                                         $8,474     -$8,474         $0    3/31/2018 Straight-line   MB Medical Operations, LLC
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      HOLLYWOOD TRACTION SYSTEM                                          $3,099     -$3,099         $0    4/30/2018 Straight-line   MB Medical Operations, LLC
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      BACHELLI ENTRIES                                                   $9,742     -$9,742         $0   10/17/2017 Straight-line   MB Medical Operations, LLC
     Medical Equipment   750 SOUTH FEDERAL HWY.                                      BACHELLI ENTRIES                                                   $1,798     -$1,798         $0   10/17/2017 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              DES MEDICAL EQUIPMENT AND SERVICES-EXAM TABLE WEST                 $2,331     -$2,331         $0     8/7/2017 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              ALPINION USA, INC                                                 $15,410     -$9,760     $5,650     7/9/2021 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              ALPINION USA, INC                                                 $44,687    -$23,088    $21,599     2/2/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              GOLD COAST OPHTHALMIC INSTRUMENT SERV                             $11,347     -$4,917     $6,430     7/1/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              ALPINION USA, INC                                                 $45,223    -$20,351    $24,873   12/31/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              TRANSFER FROM WIP WESTCHESTER                                      $8,470     -$2,965     $5,506   11/30/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              ALPINION USA, INC                                                 $44,687          $0    $44,687     2/2/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST & 7453 N University Drive                    GENERAL RADIOGRAPHIC -DR'S TOY STORE MEDICAL - GOLD C             $26,503    -$15,902    $10,601    9/27/2021 Straight-line   MB Medical Operations, LLC
     Medical Equipment   701 NW 27th Ave                                             TRANSFER FROM WIP MIAMI 27TH                                     $106,620    -$44,425    $62,195    8/31/2022 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8TH ST                                              PATTERSON DENTAL, ALPINION, BALBOA                               $253,424   -$143,607   $109,817   11/30/2021 Straight-line   MB Medical Operations, LLC
     Medical Equipment   ALL CENTERS                                                 MCKESSON MEDICAL SURGICAL, DIVVY                                 $135,946    -$74,770    $61,176   12/23/2021 Straight-line   MB Medical Operations, LLC
                                                                                                                                                                                                                                                            Case 24-20576-CLC




     Medical equipment   Various                                                     MCKESSON MEDICAL SURGICAL (from July)                             $12,233     -$7,543     $4,689    8/31/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   Various                                                     MEDICAL ELECTRONICS, INC                                           $7,146     -$4,168     $2,977   10/20/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   Winterhaven                                                 MCKESSON MEDICAL SURGICAL - in service Aug                        $25,932    -$15,559    $10,373    7/26/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical Equipment   151 NW 11TH ST.                                             OneView Finance                                                  $127,140     -$2,119   $125,021    7/31/2024 Straight-line   MB Medical Operations, LLC
     Medical Equipment   7500 SW 8th ST                                              Patterson Dental                                                  $81,490          $0    $81,490              Straight-line   MB Medical Operations, LLC
     Medical equipment   7500 SW 8th ST                                              Choice Health - Dental Equipment                                  $67,872    -$59,321     $8,552    9/11/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment                                                               MEDICAL ELECTRONICS, INC - DENTAL LASER TQ TABLE                   $5,659     -$4,350     $1,309   10/27/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7500 SW 8th ST                                              Opening Balance Sheet - CC Aquisition                            $262,364   -$216,591    $45,773    9/11/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment                                                               Medical electronics, Inc - New TheraphY Equip                     $11,469     -$8,602     $2,867   12/28/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   551 E 49th St.                                              McKesson for Hialeah CC & Sweetwater CC- holters                  $18,615    -$13,961     $4,654   12/31/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                            Doc 29




     Medical equipment                                                               MEDICAL ELECTRONICS, INC                                          $11,275     -$7,516     $3,758    5/24/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment                                                               MEDICAL ELECTRONICS, INC - for Theraphy dept                      $16,936    -$10,726     $6,210    7/21/2021 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               EQUIMEDIX                                                          $1,498          $0         $0    3/17/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               DENTAL PATTERSON                                                  $20,108          $0         $0    6/24/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               DOCTORS TOY STORE                                                  $1,704          $0         $0     7/2/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               EQUIMEDIX                                                          $4,674          $0         $0    8/30/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               OPTIVISION                                                         $8,025          $0         $0    9/14/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               OPTIVISION                                                         $8,662          $0         $0    9/19/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               TRANSPHOTON                                                        $3,424          $0         $0   10/20/2011 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               MEDICAL EQUIPMENT                                                $118,353          $0         $0     7/1/2012 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               GE HEALTHCARE                                                      $2,545          $0         $0    1/13/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               US OPHTHALMIC                                                      $3,826          $0         $0    5/28/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             OPTIVISION                                                         $9,578          $0         $0    8/29/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             PATTERSON DENTAL                                                  $36,175          $0         $0    8/31/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             OPTIMETRICS                                                         $977           $0         $0    9/10/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             US OPHTHALMIC                                                      $3,826          $0         $0    9/12/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               CONRADO EQUIPMENT                                                 $17,375          $0         $0    9/30/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                            Filed 10/13/24




     Medical equipment   151 NW 11TH ST.                                             PATTERSON DENTAL                                                   $2,991          $0         $0    10/4/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               HENRY SCHEIN INC                                                   $2,033          $0         $0   10/15/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               HENRY SCHEIN INC                                                   $2,233          $0         $0   12/30/2013 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         AMERICAN MEDICAL SUPPLY                                            $1,055          $0         $0     2/7/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         SCOPE                                                             $10,990          $0         $0     5/8/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         SCOPE                                                              $4,240          $0         $0     5/8/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         SCOPE                                                              $4,240          $0         $0    5/30/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         SCOPE                                                             $10,990          $0         $0    5/30/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               HENRY SCHEIN INC                                                  $11,128          $0         $0    5/30/2014 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               henRY SCHEIN INC                                                   $2,271          $0         $0     6/2/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               OFFICE EQUIPMENT(choy)                                             $1,306          $0         $0     8/1/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               scOPE                                                              $2,400          $0         $0   10/10/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $5,083          $0         $0   10/10/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $9,110          $0         $0   10/10/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $2,400          $0         $0    11/1/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $5,083          $0         $0    11/1/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               SCOPE                                                              $9,110          $0         $0    11/1/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               MEDICAL EQUIPMENT                                                   $749           $0         $0   12/31/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               PATTERSON DENTAL                                                  $29,441          $0         $0   12/31/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                                                                                            Page 288 of 565




     Medical equipment   1200 ALTON RD                                               PHILLIPS                                                          $38,296          $0         $0   12/31/2015 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               Med Equip- Medical Electronics                                        $35        -$35         $0    1/13/2016 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               Med Equip- Patterson 205359                                        $1,553     -$1,553         $0    5/16/2016 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               PHILIPS - ULTRASOUND                                              $11,255    -$11,255         $0     2/1/2017 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               ROOT CANAL                                                         $1,076     -$1,076         $0    4/30/2017 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   1200 ALTON RD                                               NEUROTRONIZ                                                         $680        -$680         $0     5/8/2017 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   7291 West Atlantic Blvd.                                    DOCTORS EQUIPMENT SPECIALISTS                                      $1,118     -$1,118         $0   10/17/2017 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         OPTIMETRICS                                                        $1,768     -$1,609      $160     2/10/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   9611 BIRD RD,                                               CHAIR WITH FOOT CONTROL                                            $1,061       -$965        $96    2/12/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   151 NW 11TH ST.                                             DOCTOR'S EQUIPMENT SPECIALIST (2 EXAM TABLES)                      $1,472     -$1,262      $210     4/22/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         DOCTOR'S EQUIPMENT SPECIALIST (2 EXAM TABLES)                      $1,500     -$1,286      $214      5/6/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   12550 Biscayne Blvd                                         DOCTOR'S EQUIPMENT SPECIALIST (45 wall transformers Otosco         $1,125       -$965      $161      5/6/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Medical equipment   351 NW 42nd Ave #503                                        PATTERSON DENTAL SUPPLY                                            $5,130     -$3,854     $1,276   11/11/2020 Straight-line   Rodolfo Dumenigo, M.D. P.A.
     Office Equipment    7500 SW 8th St                                              pc connection                                                          $0          $0         $0   12/20/2023 Straight-line   Rodolfo Dumenigo, M.D. P.A.




USA.615773492.7/MYQ
2.1 (a) (i)                                                                                                                                  Page 7                                                                                              11.10.24
     Office Equipment   750 SOUTH FEDERAL HWY.   BACHELLI ENTRIES                          $913   -$913   $0   10/17/2017 Straight-line    MB Medical Operations, LLC
     Office Equipment   1200 ALTON RD            EXIMPORT INC                                $0      $0   $0    4/11/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            EXIMPORT INC                                $0      $0   $0    4/13/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TIMECLOCK                                   $0      $0   $0    7/28/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            BELL APPLIANCE                              $0      $0   $0    10/3/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            SECURITY CAMERAS                            $0      $0   $0   10/31/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            SECURITY CAMERAS                            $0      $0   $0    11/3/2011 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TWO LASER PRINTER                           $0      $0   $0    4/12/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TV FOR ALTON ROAD CONF ROOM                 $0      $0   $0    10/1/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0    10/4/2012 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   FLAGLER                  ADVANCED SECURITY SYSTEM                    $0      $0   $0     3/4/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            FLORIDA BUILDER APPLICANCES                 $0      $0   $0    3/19/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            CAMERA                                      $0      $0   $0    6/30/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            HI TECH SECURITY SYSTEMS                    $0      $0   $0    6/30/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0    8/22/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   151 NW 11TH ST.          HI TECH SECURITY SYSTEMS                    $0      $0   $0    9/10/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0    9/17/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   FLAGLER                  TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0   10/29/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   151 NW 11TH ST.          TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0   12/10/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   151 NW 11TH ST.          TELESPHERE TELEPHONE EQUIPMENT              $0      $0   $0   12/31/2013 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            HI TECH SECURITY SYSTEMS                    $0      $0   $0     3/7/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            SEARS                                       $0      $0   $0    4/11/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   151 NW 11TH ST.          MONICA VEGA                                 $0      $0   $0    7/29/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   1200 ALTON RD            home depot                                  $0      $0   $0   11/30/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Office Equipment   7500 SW 8TH ST           PBX PHONE SYSTEM                            $0      $0   $0      3/3/2014 Straight-line   Miami Medical & Wellness Center, LLC
     Transport          1200 ALTON RD            ULTIMATE HOME                               $0      $0   $0    1/14/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            FERNANDO IZAGUIRRE                          $0      $0   $0     2/6/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            FERNANDO IZAGUIRRE                          $0      $0   $0    2/13/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            GENESIS                                     $0      $0   $0    2/25/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          12550 Biscayne Blvd      SOUTHERN TECH                             $174   -$174   $0     5/6/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            ULTIMATE HOME                             $191   -$191   $0     5/9/2014 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            IN MOTION MOBILITY(MBMT)                    $2      $0   $2    8/20/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            IN MOTION MOBILITY(MBMT)                    $0      $0   $0    9/15/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            TELESPHEREM(MBMT)                           $8      $0   $8    9/17/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
     Transport          1200 ALTON RD            TELESPHERE(MBMT)                            $1      $0   $1    9/18/2015 Straight-line    Rodolfo Dumenigo, M.D. P.A.
                                                                                                                                                                                             Case 24-20576-CLC
                                                                                                                                                                                             Doc 29
                                                                                                                                                                                             Filed 10/13/24
                                                                                                                                                                                             Page 289 of 565




USA.615773492.7/MYQ
2.1 (a) (i)                                                                       Page 8                                                                                          11.10.24
            Case 24-20576-CLC    Doc 29    Filed 10/13/24     Page 290 of 565




                                  Schedule 2.1(a)(v)
                        Leasehold Interests in Personal Property
See attached.




615823381
                   Case 24-20576-CLC                  Doc 29       Filed 10/13/24               Page 291 of 565



2.1(a)(v) Leasehold Interests in Personal Property


Legal Entity                  Summary                             Name                                 Address
No contract                   Computer Equipment Financing        DELL BUSINESS CREDIT                 PO BOX 5275 Carol Stream, IL 60197-
                                                                                                       5275
No contract                   Dental Equipment Financing          Choice Health Finance                PO BOX 790448 St Louis, MO 63179-
                                                                                                       0448
No contract                   Dental Equipment Financing          Oneview Finance                      PO BOX 911608 Denver, CO 80291-
                                                                                                       1608
MB Medical Operations, LLC    Medical Equipment Financing         Balboa Capital                       575 Anton Blvd, 12th Floor Costa
                                                                                                       Mesa, CA 92626
MB Medical Operations, LLC    Medical Equipment Financing         HIGHLAND CAPITAL CORP                1 Passaic Ave., Fairfield NJ 07004

MB Medical Operations, LLC    Dental Equipment Financing          Prohealth Capital,                   1111 Old Eagle School Road,
                                                                                                       Wayne, Pennsylvania 19087
Rodolfo Dumenigo M.D., P.A.   Pharmacy Equipment Financing        CHG-Meridian USA Corp.               21800 Oxnard St. Suite 400,
                                                                                                       Woodland Hills, CA 91367
MB Medical Operations, LLC    Dental Equipment Financing          PATTERSON COMPANIES INC - 710354     1031 Mendota Heights Road Attn:
                                                                                                       Equip Finance St Paul MN 55120
MB Medical Operations, LLC    Dental Equipment Financing          PATTERSON DENTAL SUPPLY 4784         1031 Mendota Heights Road Attn:
                                                                                                       Equip Finance St Paul MN 55120
No contract                   Postal Machine Lease                PITNEY BOWES GLOBAL FINANCIAL        PO BOX 981022 Boston, MA 02298-
                                                                                                       1022
No contract                   Medication dispensing platform      Quiqmeds                             7 Great Valley Parkway, Suite 100,
                                                                                                       Malvern, PA 19355
No contract                   Equipment and Financing (Copiers)   TGI Office Automation
                                                                                                       PO BOX 41602, Philadelphia, PA
No contract                   Equipment and Financing (Copiers)   Wells Fargo Vendor Fin Serv          PO BOX 105743, Atlanta, GA 30348-
                                                                                                       5743
            Case 24-20576-CLC       Doc 29    Filed 10/13/24    Page 292 of 565




                                     Schedule 2.1(a)(vii)
                                     Assumed Contracts
1. Asset and Equity Purchase Agreement, dated August 20, 2020, by and among Clinical Care
   Associates Inc., Clinical Care Center, Clinical Care, Inc., Clinical Care Services, Inc.,
   Clinical Care Network, Inc., Clinical Care Pharmacy, LLC, Care Center Network, Care
   Center Medical Group, MB Medical Operations, LLC, Miami Beach Medical Centers, Inc.
   f/k/a Rodolfo Dumenigo, M.D., P.A., Miami Beach Medical Consultants, LLC d/b/a Clinical
   Care Medical Centers, MB Medical Transport, LLC, MBMG Holdings, LLC , MBMG, and
   the other parties thereto.
2. Membership Interest Purchase Agreement, dated April 26, 2021, by and among MB Medical
   Operations, LLC, Florida Family Primary Care Center, LLC, Octavio A. Bravo, James
   Eaton, Maria Isabel Gonzalez, Luis G. Venerio Salazar, as amended by that certain First
   Amendment to Membership Interest Purchase Agreement, dated May 25, 2021
3. Directed Stock Transfer Agreement, dated March 10, 2017, by and among MB Medical
   Operations, LLC, Viva Health, LLC, and Juan Garces, M.D.
4. Settlement Agreement, dated August 7, 2024, by and between One Plus Healthcare, LLC and
   CCN
5. Trademark Assignment Agreement, dated January 14, 2020, by and between MBMO and RD
   with respect to Trademark Registration 5890302.
6. Trademark License Agreement, dated January 17, 2020, by and among MBMO, RD, and
   MMWC with respect to Trademark Registration 5890302.
7. Any rights in favor of Sellers that may rise under the settlement agreement with respect to
   RD v. Jose G. Alvarez, M.D., P.A.
8. Any rights in favor of Sellers that may rise under the settlement agreement with respect to
   CCN v. Las Americas Medical Center, LLC and Leal Medical Center, LLC.




615823381
            Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 293 of 565




                                       Schedule 2.1(a)(xiii)
                                        Carved Out Claims
    1. Any claims against the current directors and officers of Sellers, in each case, solely with
       respect to such individual’s role as a director, officer, or member of the Special
       Committee.

    2. Any claims against the members of Special Committee, in each case, solely with respect
       to such individual’s role as a director, officer, or member of the Special Committee.




615823381
            Case 24-20576-CLC         Doc 29    Filed 10/13/24    Page 294 of 565




                                      Schedule 2.1(a)(xiv)
                Prepaid Expenses and Rights to Refunds Related to Purchased Assets
See attached.




615823381
                            Case 24-20576-CLC     Doc 29            Filed 10/13/24         Page 295 of 565



     CCMC
     Prepaids Schedule as of 8/31

     Category                              Vendor                                          Legal Entity   Sum of Prepaid Balance 08/31/24
     Prepaid Software                       SALESFORCE.COM INC                             MBMO                                      205,485.16
     Prepaid Insurance                      Southeast Series of Lockton Companies, LLC     MBMO                                      203,611.90
     Prepaid EMR                            NEXTGEN HEALTHCARE INC                         MBMO                                      108,897.86
     Prepaid - NNN Insurance (Rent Exp)     GABLES INSURANCE AGENCY CORP                   MBMO                                      107,228.96
     Prepaid Transport (registrations)      MARSH & MCLENNAN AGENCY LLC                    MBMT                                       82,475.50
     Prepaid Insurance                      MARSH & MCLENNAN AGENCY LLC                    MBMO                                       71,784.84
     Prepaid Transport (registrations)      Travelers                                      MBMT                                       69,926.35
     Prepaid Insurance                      AFCO                                           MBMO                                       46,326.96
     Prepaid Software                       IPOWER TECHNOLOGIES                            MBMO                                       36,800.34
     Prepaid Software                       PC CONNECTION SALES CORP                       MBMO                                       21,715.00
     Prepaid Software                       SIRIUS COMPUTER SOLUTIONS, INC                 MBMO                                       21,678.45
     Prepaid Insurance                     MARSH & MCLENNAN AGENCY LLC                     MDPA                                       20,443.33
     Prepaid Advertising                   CMG PRODUCTS                                    MBMO                                       20,000.00
     Prepaid Software                      VALIDITY INC.                                   MBMO                                       16,050.83
     Prepaid Software                      Uipath Inc                                      MBMO                                       13,200.00
     Prepaid Supplies                      MIDMARK CORPORATION                             MDPA                                       10,663.89
     Prepaid R&M                           HI TECH SECURITY &COMMUNICATIONS, INC           MBMO                                        9,085.73
     Prepaid Other                         CITY OF MIAMI BEACH                             MBMO                                        8,533.33
     Prepaid Software                      INTELLIGENT MEDICAL OBJECTS, INC                MBMO                                        6,201.56
     Prepaid - NNN Insurance (Rent Exp)    American Bankers Insurance Company of Florida   MBMO                                        4,069.33
     Prepaid Software                      INSIGHT DIRECT USA, INC.                        MBMO                                        4,000.81
     Prepaid Software                      NETGAIN SOLUTIONS, INC.                         MBMO                                        3,874.24
     Prepaid Insurance                     Miami Metro Medical LLC                         MBMO                                        3,840.70
     Prepaid Licenses/Permits              DADE COUNTY MEDICAL ASSOCIATION                 MDPA                                        2,000.00
     Prepaid Insurance                     HARTFORD INSURANCE COMPANY                      MBMO                                        1,711.00
     Prepaid Licenses/Permits              CIRA WELVAERT                                   MDPA                                        1,628.57
     Prepaid Software                      WOLTERS KLUWER HEALTH                           MBMO                                        1,538.08
     Prepaid R&M                           TK ELEVATOR CORPORATION                         MBMO                                        1,080.09
     Prepaid Other                          PITNEY BOWES GLOBAL FINANCIAL                  MBMO                                          962.83
     Prepaid Licenses/Permits               JORGE FERNANDEZ-NOVALES                        MDPA                                          756.58
     Prepaid Licenses/Permits               GERMAN SUAREZ MD                               MDPA                                          727.50
     Prepaid Licenses/Permits               FRANCISCO GARCIA RODRIGUEZ                     MDPA                                          698.67
     Prepaid Licenses/Permits               Manuel Silva                                   MDPA                                          592.00
     Prepaid R&M                            FLORIDA FIRE ALARM INC.                        MBMO                                          588.50
     Prepaid Licenses/Permits               JUAN ALVAREZ                                   MDPA                                          518.00
     Prepaid Software                       GOODSYNC                                       MBMO                                          424.95
     Prepaid Licenses/Permits               Alexis Bravo                                   MDPA                                          345.33
     Prepaid Licenses/Permits               Carlos Flores                                  MDPA                                          345.33
     Prepaid Licenses/Permits               Dr. Emma Alonso                                MDPA                                          326.28
     Prepaid Licenses/Permits              BEATRIZ URIBAZO                                 MDPA                                          274.17
     Prepaid Licenses/Permits              MARIA GARCIA                                    MDPA                                          266.72
     Prepaid Licenses/Permits              DAVID E RODRIGUEZ                               MDPA                                          259.00
     Prepaid Licenses/Permits              SALVADOR NUNEZ                                  MDPA                                          197.33
     Prepaid Licenses/Permits              ESDRAS LOPEZ-GARCIA                             MDPA                                          151.11
     Prepaid Transport (registrations)     Divvy                                           MBMT                                          149.05
     Prepaid Licenses/Permits              REYNALDO ARRIETA                                MDPA                                          148.00
     Prepaid R&M                           50 State Technology, Inc                        MBMO                                          134.39
     Prepaid Licenses/Permits              LUISA PADILLA                                   MDPA                                          123.33
     Prepaid Licenses/Permits              MARIA SOTO                                      MDPA                                          123.33
     Prepaid Licenses/Permits              OSMEL ALBA OLIVEROS                             MDPA                                          123.33
     Prepaid Licenses/Permits              FERNANDO DE ARMENDI                             MDPA                                          115.14
     Prepaid Insurance                     HARTFORD FIRE INSURANCE COMPANY                 MBMO                                          107.00
     Prepaid Licenses/Permits              YUNIOR SILVA BARRERO                            MDPA                                           98.67
     Prepaid Licenses/Permits              CITY OF HOMESTEAD - TR                          MBMO                                           81.67
     Prepaid Licenses/Permits              YANELIS VALDEZ                                  MDPA                                           74.00
     Prepaid Licenses/Permits              ABEL MORA                                       MDPA                                           55.50
     Prepaid Licenses/Permits               CITY OF MIAMI                                  MBMO                                           53.96
     Prepaid Licenses/Permits               DIVVY                                          MDPA                                           49.33
     Prepaid Licenses/Permits               CITY OF MIAMI BEACH - 1214 ALTON               MBMO                                           42.02
      Prepaid Other (Dormant entities)     Prepaid Other (Dormant entities)                CCMG,CCN,LHA                               36,185.11
     Total                                                                                                                            1,148,951




USA.615823435.2/MYQ
Prepaid Schedule                                                  Page 2                                                                    11.10.24
CCMC
Lease Schedule Including Security Deposits (based on Lease Agreements)
                                                                                                                                                                                                                              357,213
Center                      Landlord                                     Related   Address                        Suite #            City                County         State RSF   LCD       LED          CCMC       Est. Security     Type of Lease         Comments
                                                                         Party                                                                                                                             Monthly    Deposit
TAMARAC                      EVERGREEN 3, LLC                          N           7453, 7455, 7495 N. University Dr.                  Tamarac           Broward        FL     4,600 5/1/2019 3/31/2024      11,769            22,117 Commercial Property LeaseMonth to mont
PALM RIVER (Clinic, Therapy) Horus International Corp LLC              N           7444 & 7452 E Palm River Rd.                        Tampa             Hillsborough   FL     5,100           6/30/2024      5,716             5,000 Commercial Property LeaseMonth to mont
LAKELAND                     LAKELAND INVESTMENTS LLC                  N           2417 Hwy 98 N                                       Lakeland          Polk           FL     7,550 11/1/2017 7/31/2024     14,838             7,500 Commercial Property LeaseMonth to mont
HANLEY (Activity)            Aliva Properties, Inc                     N           6704 Hanley Rd.                                     Tampa             Hillsborough   FL     1,580           7/31/2024      2,187                -  Commercial Property Lease
PALMETTO BAY                 FERN STREET PROPERTIES, LLC               N           9855,9861,9863 E Fern St.                           Palmetto Bay      Dade           FL     5,021 4/1/2020 3/31/2025       6,531            10,294 Commercial Property Lease
FLAGLER                      TOWER SHOPPING PLAZA, INC                 N           11200 West Flagler St.           101-107, 110, 201-2Sweetwater        Dade           FL     9,000           7/31/2025     16,809            29,291 Commercial Property Lease
HANLEY (Therapy)             Aliva Properties, Inc                     N           6710A Hanley Rd.                                    Tampa             Hillsborough   FL     3,124           8/31/2025      3,989             4,000 Commercial Property Lease
HIALEAH WEST                 CCN Holding of Hialeah, LLC               N           4980 W 10th Ave.                                    Hialeah           Dade           FL      ### 9/10/2020 #######        23,139            42,408 Commercial Property Lease
HANLEY (Dental)              Aliva Properties, Inc                     N           6710B Hanley Rd.                                    Tampa             Hillsborough   FL     1,578           1/31/2026      2,101             2,059 Commercial Property Lease
HUDSON (Clinic, Therapy)     Peter Pan Developments, LLC               N           7455 -7463 SR-52                                    Hudson            Pasco          FL     5,035           4/30/2026      6,325             3,600 Commercial Property Lease
BIRD ROAD                    9611 BIRD ROAD LLC                        Y           9611 SW 40th St.                                    Miami             Dade           FL     7,508 8/1/2016 7/31/2026      20,435                -  Commercial Property Lease
FOWLER/TEMPLE TERRACE        Terrace Walk Plaza                        N           11531 N 56th St.                 103                Temple Terrace    Hillsborough   FL     3,573 4/16/2014 7/31/2026      8,187            33,510 Commercial Property Lease
HANLEY (Access)              Aliva Properties, Inc                     N           6712A Hanley Rd.                                    Tampa             Hillsborough   FL     1,385           7/31/2026      1,951             1,899 Commercial Property Lease
HANLEY (Clinic)              Aliva Properties, Inc                     N           6726 A & B Hanley Rd.                               Tampa             Hillsborough   FL     6,000           #######        8,774            33,000 Commercial Property Lease
MIAMI BEACH                  1200 ALTON ROAD, LLC                      Y           1200 Alton Rd.                                      Miami Beach       Dade           FL      ### 12/1/2016 #######        81,575                -  Commercial Property Lease
WESTCHESTER                  7500 SW 8 ST LLC                          Y           7500 SW 8th St.                                     Miami             Dade           FL      ###            12/5/2026     82,217                -  Commercial Property Lease
                                                                                                                                                                                                                                                                       Case 24-20576-CLC




HIALEAH EAST                 551 E 49 ST LLC                           Y           551 E 49th St.                                      Hialeah           Dade           FL     9,884 1/1/2017 #######        24,849            10,700 Commercial Property Lease
HOLLYWOOD                    750 SOUTH FEDERAL HIGHWAY LLC             Y           750 S. Federal Hwy.                                 Hollywood         Broward        FL     8,500 ###### #######          23,711                -  Commercial Property Lease
DELRAY                       ATLANTIC AVENUE REALTY ASSOCIATES, L.L.C. N           7291 W Atlantic Ave.             B190 -B210 - B220 Delray Beach       Palm Beach     FL     5,280 12/1/2017 #######       18,052             5,281 Commercial Property Lease
PLANT CITY (Clinic, Therapy) CITY PROPERTIES COMPANY, INC              N           1608 W Oak Ave.                                     Plant City        Hillsborough   FL     2,300 ###### 6/30/2028         2,047             3,816 Commercial Property Lease
MIAMI LAKES                  Gardens Office Complex, LLC               N           18590 Northwest 67th Ave.        101, 200, 200A, 23 Miami Lakes       Dade           FL     6,863 5/8/2015 9/30/2028      20,000            18,396 Commercial Property Lease
PINELLAS                     Prestige Park LLC                         N           6245 66th St N.                  104-107            Pinellas Park     Pinellas       FL     7,088 2/1/2014 3/31/2029      11,224            33,402 Commercial Property Lease
                                                                                                                                                                                                                                                                       Doc 29




WINTER HAVEN                 201-205 S 1st ST LLC                      Y           201 1st St S.                                       Winter Haven      Polk           FL      ### 4/20/2021 3/31/2031      18,291                -  Commercial Property Lease
NORTH MIAMI WEST             126 WEST DIXIE LLC                        Y           12615/12625 W. Dixie Hwy.                           North Miami       Dade           FL      ### 9/1/2021 8/30/2031       26,489                -  Commercial Property Lease
ORLANDO                      1303 SOUTH SEMORAN LLC                    Y           1303 South Semoran Blvd.                            Orlando           Orange         FL      ### 10/1/2021 9/30/2031      34,669                -  Commercial Property Lease
MIAMI 27th                   THE HUB RETAIL, LLC                       N           701 NW 27th Ave                                     Miami             Dade           FL     6,700 1/1/2022 7/31/2032      18,445            47,666 Commercial Property Lease
PALM RIVER (Activity, Access Palm River Square Associates, LLC         N           7867 Palm River Rd.                                 Tampa             Hillsborough   FL     7,500 10/1/2021 8/31/2032     12,471                -  Commercial Property Lease
NORTH MIAMI EAST             Miami Metro Medical LLC                   N           12550 Biscayne Blvd.             100-201            North Miami       Dade           FL     9,800 10/1/2017 5/31/2035     49,519            40,690 Commercial Property Lease
LE JEUNE                     Miami Metro Medical LLC                   N           351 NW 42nd Ave.                 315, 503, 504      Miami             Dade           FL     7,453 3/1/2017 5/31/2035      28,824                -  Commercial Property Lease
HOMESTEAD                    Miami Metro Medical LLC                   N           151 NW 11th St.                                     Homestead         Dade           FL     5,762 3/9/2017 5/31/2035      18,989                -  Commercial Property Lease
HUDSON (Access)              Counsel Square Office Park LLC            N           7621 Little Rd.                  100D               New Port Richey   Pasco          FL     1,588           MTM            2,205             2,084 Commercial Property Lease
PLANT CITY (Access)          Marion Simmons                            N           1302 S. Collins St.                                 Plant City        Hillsborough   FL     1,752 7/1/2018 MTM             2,134               500 Commercial Property LeaseMonth to mont
Bird Road Parking            EMILIO ALVAREZ                            N           9540 SW 39th Street                                 Miami             Dade           FL    n/a    7/1/2018 #######           700                -  Parking Lot Lease        Month to mont
Hialeah Parking              FIRST SPANISH CHURCH OF THE OPEN BIBLE    N           490 E 50 ST                                         Hialeah           Dade           FL    n/a    10/6/2014 MTM            2,000                -  Parking Lot Lease        Month to mont
                                                                                                                                                                                                                                                                       Filed 10/13/24
                                                                                                                                                                                                                                                                       Page 296 of 565
               Case 24-20576-CLC   Doc 29    Filed 10/13/24   Page 297 of 565




                                   Schedule 2.1(b)(xxiii)
                                     Excluded Devices


            Device Name                           Serial Number

            DESKTOP-0U8TU1M                       D5BKRF2

            AMELC ON-LT                           9LNMM33

            YELIU-LT                              PF1A9DYA

            DR-C C -C ODER                        MJ0DRDVK

            JSUAREZ-MBP                           C 02G53QXML85

            MSHIRAZI-LT                           5BSP9FNR900044W

            MARPEREZ-LT                           KPQF99YR9000YW




615823381
            Case 24-20576-CLC   Doc 29    Filed 10/13/24   Page 298 of 565




                                Schedule 2.1(b)(xxiv)
                                Other Excluded Assets
None.




615823381
            Case 24-20576-CLC   Doc 29    Filed 10/13/24   Page 299 of 565




                                  Schedule 2.3(a)
                                Desired 365 Contracts
See attached.




615823381
    CCMC                                                                                                                                                                                                        Subject to Revision
    Notes:
     * Executory Contracts as of 10.10.2024
     * Cure Amounts based on Accounts Payable balance as of 10/10/2024
     * Cure Amounts are not inclusive of Commercial Leases that have been exited by CCMC
                                                                                                                                                                                                   Total:                   1,704,438
    Index # Legal Entity                      Nature of the Debtor's Interest   Counterparty Name                Noticing Address                      Executory Contract Title                          Cure Costs
    1       MB Medical Operations, LLC        Commercial Lease                  1200 ALTON ROAD, LLC             4865 SW 80th St Miami, FL 33143       Lease by and between Alanar Investments LTD and                         $0.00
                                                                                                                                                       Rodolfo Dumenigo, M.D., P.A., and the Assignmenta
                                                                                                                                                       and Assumption of Lease Agreement by Alanar
                                                                                                                                                       Investments Ltd., to 1200 Alton Road, LLC


    2          MB Medical Operations, LLC     Commercial Lease                  126 WEST DIXIE LLC               4865 SW 80th St Miami, FL 33143       Lease by and between 126 West Dixie LLC, a Florida                      $0.00
                                                                                                                                                       llc and MB Medical Operations, LLC a Delaware llc


    3          MB Medical Operations, LLC     Commercial Lease                  1303 SOUTH SEMORAN LLC           4865 SW 80th St Miami, FL 33143       Lease by and between 1303 South Semoran LLC                             $0.00
                                                                                                                                                       and MB Medical Operations, LLC
    4          MB Medical Operations, LLC     Commercial Lease                  201-205 S 1st ST LLC             1400 NW 107th Ave., Suite 500, Miami, Lease by and between 201-205 S 1st ST LLC and                           $0.00
                                                                                                                 Florida 33172                         MB Medical Operations, LLC
                                                                                                                                                                                                                                                Case 24-20576-CLC




    5          MB Medical Operations, LLC     Commercial Lease                  551 E 49 ST LLC                  1200 Alton Road, Miami Beach, FL      Lease by and between 551 East 49 Street, LLC and                        $0.00
                                                                                                                 33139                                 MB Medical Operations, LLC
    6          MB Medical Operations, LLC     Commercial Lease                  750 SOUTH FEDERAL HIGHWAY LLC 1200 Alton Road, Miami Beach, FL         Lease by and between 750 Federal Highway, LLC                           $0.00
                                                                                                              33139                                    and MB Medical Operations, LLC
    7          MB Medical Operations, LLC     Commercial Lease                  7500 SW 8 ST LLC                 1200 Alton Road, Miami Beach, FL      Execution Version - Lease by and between 7500 SW                        $0.00
                                                                                                                 33139                                 8ST, LLC a Florida llc and MB Medical Operations,
                                                                                                                                                                                                                                                Doc 29




                                                                                                                                                       LLC a Delaware llc
    8          MB Medical Operations, LLC     Commercial Lease                  9611 BIRD ROAD LLC               1200 Alton Road, Miami Beach, FL      Lease by and between 9611 Bird Road LLC a Florida                       $0.00
                                                                                                                 33139                                 llc and MB Medical Operations, LLC a Delaware llc


    9          Miami Beach Medical            Payor contracts                   Aetna Better Health of Florida   Coventry Health Care of Florida, Inc.  Medicaid/Provier Group Agreement                                       $0.00
               Consultants, LLC                                                                                  Attn. Medicaid Network Management
                                                                                                                 1340 Concord Terrace Sunrise, FL 33323
                                                                                                                 and Aetna Law Dept, Medicaid, Mail
                                                                                                                 Code RE6A 151 Farmington Avenue
                                                                                                                 Hartford, CT 06156-0001
                                                                                                                                                                                                                                                Filed 10/13/24




    10         Miami Beach Medical            Payor contracts                   Aetna Network Services LLC       151 Farmington Avenue, Hartford, CT   Provider Agreement                                                      $0.00
               Consultants, LLC                                                                                  06156
    11         Miami Beach Medical            Payor contracts                   Aetna Network Services LLC       151 Farmington Avenue, Hartford, CT   Physician Group Agreement                                               $0.00
               Consultants, LLC                                                                                  06156
    12         MBMG Ultimate Holding, LP      Insurance                         AFCO Premium Credit LLC          150 N Field Drive, Suite 190, Lake    Premium Finance Agreement A joint venture of                            $0.00
                                                                                                                 Forest, IL 60045                      AFCO Credit Corporation and Marsh USA LLC
    13         Miami Medical & Wellness       Employment Agreement              Aguiar Alvarez, Gilberto         10512 sw 144 ct                       Employment Agreement by and between Gilberto                            $0.00
               Center, LLC / Rodolfo                                                                                                                   Aguiar Alvarez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                               Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                            (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
                                                                                                                                                                                                                                                Page 300 of 565




    14         Miami Medical & Wellness     Employment Agreement                Alba Oliveros, Osmel             8910 SW 200 St                        Employment Agreement by and between Osmel                               $0.00
               Center, LLC / Rodolfo                                                                                                                   Alba Oliveros, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                               Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                            (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    15         MB Medical Operations, LLC     Commercial Lease                  Aliva Properties, Inc            8405 N Edison Ave, Tampa Florida      Shopping Center Lease between Aliva Properties,                         $0.00
                                                                                                                 33604                                 Inc. and Florida Family Primary Care Centers of
                                                                                                                                                       Tampa, LLC




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                      1 of 17                                                                                                  CONFIDENTIAL
    16         Florida Family Primary Care    Commercial Lease                     Aliva Properties, Inc           8405 N Edison Ave, Tampa Florida       Shopping Center Lease between Aliva Properties,       $0.00
               Centers of Tampa, LLC                                                                               33604                                  Inc. and Florida Family Primary Care Centers of
                                                                                                                                                          Tampa, LLC
    17         Florida Family Primary Care    Commercial Lease                     Aliva Properties, Inc           8405 N Edison Ave, Tampa Florida       Shopping Center Lease between Aliva Properties,       $0.00
               Centers of Tampa, LLC                                                                               33604                                  Inc. and Florida Family Primary Care Centers of
                                                                                                                                                          Tampa, LLC
    18         Florida Family Primary Care    Commercial Lease                     Aliva Properties, Inc           8405 N Edison Ave, Tampa Florida       Shopping Center Lease between Aliva Properties,       $0.00
               Centers of Tampa, LLC                                                                               33604                                  Inc. and Florida Family Primary Care Centers of
                                                                                                                                                          Tampa, LLC
    20         Miami Medical & Wellness       Employment Agreement                 Alonso, Alberto                 4440 Sw 148 Terrace                    Employment Agreement by and between Miami             $0.00
               Center, LLC                                                                                                                                Medical & Wellness Center LLC and Alberto B.
                                                                                                                                                          Alonso, MD
    21         Care Center Network, LLC       Employment Agreement                 Alonso, Emma                    2501 SW 37th Ave                       EMPLOYMENT AGREEMENT by and between EMMA              $0.00
                                                                                                                                                          R. ALONSO, M.D.and CLINICAL CARE NETWORK,
                                                                                                                                                          INC.
    22         MB Medical Operations, LLC     Employment Agreement                 Altieri, Dalirma                10371 SW 60th St, Miami, FL 33173      Separation Agreement, Including General Release       $0.00
                                                                                                                                                          between Dalirma Altieri and MB Medical
                                                                                                                                                          Operations, LLC d/b/a Clinical Care Medical Centers


    23         Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                 Alvarez Pando, Yolanda          1291 Evergreen Park Cir.               Employment agreement by and between Yolanda           $0.00
                                                                                                                                                                                                                                Case 24-20576-CLC




               (now known as Miami Beach                                                                                                                  Alvarez Pando, MD and Rodolfo Dumenigo, M.D.,
               Medical Centers, Inc.)                                                                                                                     P.A. (now known as Miami Beach Medical Centers,
                                                                                                                                                          Inc.), d/b/a Miami Beach Medical Group
    24         Miami Medical & Wellness     Employment Agreement                   Alvarez, Juan                   14951 Belaire Drive S                  Employment Agreement by and between Juan              $0.00
               Center, LLC / Rodolfo                                                                                                                      Alvarez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                  Center / Rodolfo Dumenigo, M.D., P.A. (now known
                                                                                                                                                                                                                                Doc 29




               known as Miami Beach Medical                                                                                                               as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    25         Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Angel Batista, MD             16253 SW 102 Terr, Miami, FL 33196     INDEPENDENT CONTRACTOR AGREEMENT                      $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    27         Miami Medical & Wellness     Employment Agreement                   Arredondo Torres, Elsa Lisset   819 Southwest 6th Avenue               EMPLOYMENT AGREEMENT (this “Agreement”) is            $0.00
               Center, LLC / Rodolfo                                                                                                                      entered into as of the 24th day of April, 2023 (the
               Dumenigo, M.D., P.A. (now                                                                                                                  “Effective Date”), by and between Elsa Arredondo,
               known as Miami Beach Medical                                                                                                               APRN (“Employee”), and MIAMI MEDICAL &
               Centers, Inc.)                                                                                                                             WELLNESS CENTER/ Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                                                                                                Filed 10/13/24




                                                                                                                                                          (now known as Miami Beach Medical Centers, Inc.),
                                                                                                                                                          a Florida professional service corporation d/b/a
                                                                                                                                                          CLINICAL CARE MEDICAL CENTERS (“Employer”).


    28         Miami Medical & Wellness     Employment Agreement                   Arrieta, Reynaldo E.            10243 Oasis Palm Dr                    Employment Agreement by and between Reynaldo          $0.00
               Center, LLC / Rodolfo                                                                                                                      Arrietta, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                  Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                               as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    29         MB Medical Operations, LLC     Professional Fees                    Atlantix Partners               800 Corporate Dr # 320, Fort           Atlantix Statement of Work                            $0.00
                                                                                                                   Lauderdale, FL 33334
                                                                                                                                                                                                                                Page 301 of 565




    30         MB Medical Transport, LLC      Equipment and Financing (Vehicle PuAutonation CDJR Permbroke Pines   13601 Pines Blvd. Pembroke Pines, FL   Retail purchase agreement between MB Medical          $0.00
                                                                                                                   33027                                  Transport, LLC and Autonation CDJR Permbroke
                                                                                                                                                          Pines
    31         MB Medical Transport, LLC      Equipment and Financing (Vehicle PuAutonation CDJR Permbroke Pines   13601 Pines Blvd. Pembroke Pines, FL   Retail purchase agreement between MB Medical          $0.00
                                                                                                                   33027                                  Transport, LLC and Autonation CDJR Permbroke
                                                                                                                                                          Pines




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                        2 of 17                                                                                CONFIDENTIAL
    32         MB Medical Operations, LLC     Equipment and Financing            Balboa Capital                      575 Anton Blvd, 12th Floor Costa Mesa, Equipment Financing Agreement, Agreement                 $0.00
                                                                                                                     CA 92626                               #B379015-000 between Balboa Capital and MB
                                                                                                                                                            Medical Operations, LLC
    33         Miami Medical & Wellness       Employment Agreement               Balladares Ros, Daisel              14661 Southwest 99th Street          EMPLOYMENT AGREEMENT by and between Daisel                 $0.00
               Center, LLC / Rodolfo                                                                                                                      Balladares, APRN (“Employee”), and MIAMI
               Dumenigo, M.D., P.A. (now                                                                                                                  MEDICAL & WELLNESS CENTER/ Rodolfo
               known as Miami Beach Medical                                                                                                               Dumenigo, M.D., P.A. (now known as Miami Beach
               Centers, Inc.)                                                                                                                             Medical Centers, Inc.), a Florida professional service
                                                                                                                                                          corporation d/b/a CLINICAL CARE MEDICAL
                                                                                                                                                          CENTERS (“Employer”).
    34         Florida Family Primary Care    Employment Agreement               Batista, Moraima                    11328 Bloomington Drive              FIRST AMENDMENT TO EMPLOYMENT                              $0.00
               Center of Pasco, LLC / Florida                                                                                                             AGREEMENT by and
               Family Primary Care Centers of                                                                                                             between FLORIDA FAMILY PRIMARY CARE CENTER
               Pinellas, LLC / Florida Family                                                                                                             OF PASCO, LLC, FLORIDA FAMILY PRIMARY CARE
               Primary Care Centers of Tampa,                                                                                                             CENTERS OF PINELLAS, LLC, and FLORIDA FAMILY
               LLC                                                                                                                                        PRIMARY CARE CENTERS OF TAMPA, LLC
                                                                                                                                                          (collectively, the “Company”), and
                                                                                                                                                          MORAIMA BATISTA, M.D.
    35         MBMG Holding, LLC              Professional Fees                  BDO USA, P.C.                       100 SE 2nd Street 17th Floor Miami   Engagement Letter                                          $0.00
                                                                                                                     Tower Miami, FL 33131
                                                                                                                                                                                                                                      Case 24-20576-CLC




    36         Miami Medical & Wellness       Employment Agreement               Berrios, Rosa María                 128 Smiths Ford Road                 EMPLOYMENT AGREEMENT (this “Agreement”) by                 $0.00
               Center, LLC / Rodolfo                                                                                                                      and between Rosa Berrios, APRN (“Employee”), and
               Dumenigo, M.D., P.A. (now                                                                                                                  MIAMI MEDICAL & WELLNESS CENTER/ Rodolfo
               known as Miami Beach Medical                                                                                                               Dumenigo, M.D., P.A. (now known as Miami Beach
               Centers, Inc.)                                                                                                                             Medical Centers, Inc.), a Florida professional service
                                                                                                                                                          corporation d/b/a CLINICAL CARE MEDICAL
                                                                                                                                                                                                                                      Doc 29




                                                                                                                                                          CENTERS (“Employer”).
    37         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    38         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    39         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    40         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    41         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                                                                                                                                      Filed 10/13/24




                                                                                                                     33189 305/251 0345
    42         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    43         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    44         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    45         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    46         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
                                                                                                                                                                                                                                      Page 302 of 565




    47         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    48         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    49         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    50         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                          3 of 17                                                                                    CONFIDENTIAL
    51         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL     Lease Schedule                                      See #154
                                                                                                                     33189 305/251 0345
    52         MB Medical Operations, LLC     Commercial Lease                   BJ's Restaurants, inc               c/o Gregory S. Lynds-EVP & Chief      Access and Parking License Agreement by and            $0.00
                                                                                                                     Devlolpment Officer, 7755 Center      between BJ'sRestaurants, inc. a California
                                                                                                                     Avenue, Suite 300 Huntington Beach,   coporation and MB Medical Operations, LLC a
                                                                                                                     CA 92647                              Florida llc
    53         MB Medical Operations, LLC     Meals                              Blessed Kitchen LLC                 810 W Colonial Blvd, Orlando, FL      Purchase Agreement with Clinical Care Medical       $4,031.08
                                                                                                                                                           Centers and Blessed Kitchen, LLC
    54         MB Medical Operations, LLC     Meals                              Blessed Kitchen LLC                 810 W Colonial Blvd, Orlando, FL      Purchase Agreement with Clinical Care Medical         See #53
                                                                                                                                                           Centers and Blessed Kitchen, LLC
    55         Miami Medical & Wellness       Employment Agreement               Caceres Muskus, Juan                6120 Reese Road                       Employment agreement by and between Juan               $0.00
               Center, LLC                                                                                                                                 Cacares Muskus, M.D., and Miami Medical &
                                                                                                                                                           Wellness Center / Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                           (now known as Miami Beach Medical Centers, Inc.)
    56         Rodolfo Dumenigo, M.D., P.A.   Employment Agreement (Provider) Capote Sarmiento, Rafael               3810 Nw 183rd St                      Employment Agreement                                   $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    57         MB Medical Operations, LLC     Technology                         CareOptimize                        8700 W Flagler St #400, Miami, FL     Miami Beach Medical Centers Travel Proposal            $0.00
                                                                                                                     33174
    58         Miami Beach Medical            Payor contracts                    Careplus Health Plans, Inc.         8200 NW 41 Street, Suite 305 Doral,   Primary Care Agreement                                 $0.00
                                                                                                                                                                                                                                   Case 24-20576-CLC




               Consultants, LLC                                                                                      Florida 33166
    59         Miami Beach Medical            Payor contracts                    Careplus Health Plans, Inc.         8200 NW 41 Street, Suite 305 Doral,   Primary Care Agreement                                 $0.00
               Consultants, LLC                                                                                      Florida 33166
    60         Care Center Network, LLC       Payor contracts                    Careplus Health Plans, Inc.         11430 NW 20th Street. Suite 200 Doral, Primary Care Agreement                                $0.00
                                                                                                                     Florida 33172 Attn. Provider Operations
                                                                                                                     Department
                                                                                                                                                                                                                                   Doc 29




    61         Care Center Medical Group,     Payor contracts                    Careplus Health Plans, Inc.         11430 NW 20th Street. Suite 300 Doral, Primary Care Agreement                                $0.00
               LLC                                                                                                   Florida 33172 Attn. Provider Operations
                                                                                                                     Department
    62         Miami Medical & Wellness     Employment Agreement                 Carrate, Mariannee                  12740 Sw 101 Terrace                  Employment Agreement by and between                    $0.00
               Center, LLC / Rodolfo                                                                                                                       Mariannee Carrate, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    63         Miami Medical & Wellness     Employment Agreement                 Castaneda, Carlos D                 3183 Southwest 24th Street            EMPLOYMENT AGREEMENT by and between Carlos             $0.00
               Center, LLC / Rodolfo                                                                                                                       Castaneda, PA (“Employee”), and MIAMI MEDICAL
                                                                                                                                                                                                                                   Filed 10/13/24




               Dumenigo, M.D., P.A. (now                                                                                                                   & WELLNESS CENTER/ Rodolfo Dumenigo, M.D.,
               known as Miami Beach Medical                                                                                                                P.A. (now known as Miami Beach Medical Centers,
               Centers, Inc.)                                                                                                                              Inc.), a Florida professional service corporation
                                                                                                                                                           d/b/a CLINICAL CARE MEDICAL CENTERS


    64         Miami Medical & Wellness     Employment Agreement                 Castellanos Santos, Daili           1091 Southwest 131st Avenue           Employment Agreement by and between Daili              $0.00
               Center, LLC / Rodolfo                                                                                                                       Castellanos Santos, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    65         MB Medical Operations, LLC     Commercial Lease                   CCN Holding of Hialeah, LLC         7750 SW 117 Ave Suite 306 Miami, FL   Block Lease Agreement by and between CCN               $0.00
                                                                                                                                                                                                                                   Page 303 of 565




                                                                                                                     United States                         Holding of Hialeah, LLC and MB Medical
                                                                                                                                                           Operations, LLC
    66         Miami Medical & Wellness     Employment Agreement                 Celoge, Marie Yolette               19745 E St Andrews Dr                 Employment Agreement by and Between Marie              $0.00
               Center, LLC / Rodolfo                                                                                                                       Celoge, M.D., and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                   / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                Miami Beach Medical Centers, Inc.)
               Centers, Inc.)




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                          4 of 17                                                                                 CONFIDENTIAL
    67         Miami Medical & Wellness     Employment Agreement                  Cerra Villalobos, Indira          3355 W 68 Street                        Employment Agreement by and between Indira                $0.00
               Center, LLC / Rodolfo                                                                                                                        Cerra Villalobos, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                    Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                 (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    68         Miami Medical & Wellness     Employment Agreement                  Charles, Jean Philippe            15435 SW 175 Street                     Employment Agreement by and between Jean                  $0.00
               Center, LLC / Rodolfo                                                                                                                        Charles, PA, and Miami Medical & Wellness Center /
               Dumenigo, M.D., P.A. (now                                                                                                                    Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                 Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    69         Miami Beach Medical            Insurance                           Charter Oak Fire Insurance Company One Tower Square, Hartford, CT 06183 Auto Insurance Policy                                       $0.00
               Transport, LLC
    70         Miami Beach Medical            Insurance                           Charter Oak Fire Insurance Company One Tower Square, Hartford, CT 06183 Auto Insurance Policy                                       $0.00
               Transport, LLC
    71         Rodolfo Dumenigo, M.D., P.A.   Equipment and Financing             CHG-Meridian USA Corp.            21800 Oxnard St. Suite 400, Woodland Master lease agreement by and between CHG-                   $0.00
               (now known as Miami Beach                                                                            Hills, CA 91367                      Meridian USA Corp. and Rodolfo Dumenigo, M.D.,
               Medical Centers, Inc.)                                                                                                                    P.A. (now known as Miami Beach Medical Centers,
                                                                                                                                                         Inc.)
    72         MB Medical Operations, LLC     Employment Agreement                Chin, Sharon                      10607 SW 6 St Pembroke Pines, FL        Separation Agreement, Including General Release           $0.00
                                                                                                                    33025                                   between Sharon Chin and MB Medical Operations,
                                                                                                                                                                                                                                      Case 24-20576-CLC




                                                                                                                                                            LLC d/b/a Clinical Care Medical Centers


    73         MB Medical Operations, LLC     Commercial Lease                    CITY PROPERTIES COMPANY, INC      110 E. Reynolds Sreet suite 100-A Plant Lease by and between City Properties Co. and MB       $2,100.95
                                                                                                                    City, Florica 33563                     Medical Operations, LLC
    74         MB Medical Operations, LLC     Technology                          Clearwater Compliance LLC         40 Burton Hills Blvd #200, Nashville, TN Statement of Work No. 3 Clearwater                       $0.00
                                                                                                                    37215                                    ClearAdvantage® Protect Plus Program
                                                                                                                                                                                                                                      Doc 29




    75         MB Medical Operations, LLC     Marketing                           CMG Products Corp.                6071 NW 7 Street, Suite 175, Miami, FL Consulting Agreement between MBMG Medical                  $0.00
                                                                                                                    33126                                  Centers and CMG Products
    76         MB Medical Operations, LLC     Marketing                           CMG Products Corp. & ALBITA       6071 NW 7 Street, Suite 175, Miami, FL Endorsement Agreement between Clinical care                $0.00
                                                                                                                    33126                                  Medical Centers and ALBITA
    77         MB Medical Operations, LLC   Other (including Clinical Specialists) Coastal Building Maintenance     8651 NW 70TH ST, MIAMI, FL 33166        Janitorial Services Proposal                          $1,765.50
    78         MB Medical Operations, LLC   Other (including Clinical Specialists) Coastal Building Maintenance     8651 NW 70TH ST, MIAMI, FL 33166        Janitorial Services Proposal                            See #77
    79         Miami Medical & Wellness     Employment Agreement                   Condit, Alexis Deanna Bravo      1024 NW 9 TER                           Employment Agreement by and between Alexis                $0.00
               Center, LLC / Rodolfo                                                                                                                        Bravo, APRN, and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                    / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical
                                                                                                                                                                                                                                      Filed 10/13/24




               Centers, Inc.)
    80         Miami Medical & Wellness     Employment Agreement                  Conrado, Carlos                   1355 Sw 7 Street                        Employment Agreement by and between Carlos                $0.00
               Center, LLC / Rodolfo                                                                                                                        Conrado, M.D. and Miami Medical Wellness Center/
               Dumenigo, M.D., P.A. (now                                                                                                                    Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                 Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    81         Florida Family Primary Care    Commercial Lease                    Counsel Square Office Park LLC    c/o Woodside Capital Partners 4200 S.   Lease by and between Counsel Square Office Park           $0.00
               Center of Pasco, LLC                                                                                 Hulen St., Suite 410 Ft. Worth, Texas   LLC and Florida Family Priamry Care Center of
                                                                                                                    76109 Attn: Tim Larson                  Pasco, LLC
    82         MB Medical Operations, LLC     Marketing                           Creation Image LLC                7950 NW 53rd ST #221                    Services Agreement between MB Medical                $37,657.60
                                                                                                                    Miami, FL 33166                         Operations, LLC and Creation Financial DBA BKPO
                                                                                                                                                                                                                                      Page 304 of 565




    83         MB Medical Operations, LLC     Telecommunication License Agreem Crown Castle Fiber, LLC              PO Box 28730, New York, NY 10087-       Order Agreement                                           $0.00
                                                                                                                    8730
    84         Miami Medical & Wellness     Employment Agreement                  Cuan, Ailsa                       8414 North Paddock Avenue               Employment Agreement by and between Ailsa                 $0.00
               Center, LLC / Rodolfo                                                                                                                        Cuan, M.D., and Miami Medical & Wellness Center /
               Dumenigo, M.D., P.A. (now                                                                                                                    Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                 Miami Beach Medical Centers, Inc.)
               Centers, Inc.)




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                         5 of 17                                                                                     CONFIDENTIAL
    85         Miami Medical & Wellness     Employment Agreement                   Cuenca, Michael Steven                12284 Sw 27 Street                         EMPLOYMENT AGREEMENT (this “Agreement”) by              $0.00
               Center, LLC / Rodolfo                                                                                                                                and between Michael Cuenca, M.D. (“Physician”),
               Dumenigo, M.D., P.A. (now                                                                                                                            and MIAMI MEDICAL & WELLNESS CENTER/
               known as Miami Beach Medical                                                                                                                         Rodolfo Dumenigo, M.D., P.A. (now known as
               Centers, Inc.)                                                                                                                                       Miami Beach Medical Centers, Inc.), a Florida
                                                                                                                                                                    professional service corporation d/b/a CLINICAL
                                                                                                                                                                    CARE MEDICAL CENTERS
    86         Miami Medical & Wellness     Employment Agreement                   Diaz Cardelle, Tatiana                11620 Southwest 142nd Terrace              Employment Agreement by and between Tatiana             $0.00
               Center, LLC / Rodolfo                                                                                                                                Diaz Cardelle, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                            Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                         as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    87         Miami Beach Medical           Payor contracts                       Doctors Healthcare Plans, Inc.        2020 Ponce De Leon PH 1 Coral Gables, Primary Care Provider Agreement                              $0.00
               Consultants, LLC                                                                                          FL 33134-4477 Attn: Network
                                                                                                                         Development
    88         MB Medical Operations, LLC    Other (including Clinical Specialists) Emilio Alvarez                       6740 SW 78 Terra South Miami, FL           Amendment to Lease by and between Emilio                $0.00
                                                                                                                         33143                                      Alvarez and MB Medical operations, LLC
    89         Miami Medical & Wellness     Employment Agreement                   Enriquez Dominguez, Lorayne           11360 Southwest 160th Avenue               Employment Agreement by and between Lorayne             $0.00
               Center, LLC / Rodolfo                                                                                                                                Enriquez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                            Center / Rodolfo Dumenigo, M.D., P.A. (now known
                                                                                                                                                                                                                                             Case 24-20576-CLC




               known as Miami Beach Medical                                                                                                                         as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    90         MB Medical Transport, LLC     Transportation                        Enterprise Fleet Management, Inc      PO BOX 800089 KANSAS CITY, MO              Vehicle Sales Agreement Certificiate                    $0.00
                                                                                                                         United States
    91         MB Medical Transport, LLC     Transportation                        Enterprise Fleet Management, Inc      PO BOX 800089 KANSAS CITY, MO              Vehicle Sales Agreement Certificiate                    $0.00
                                                                                                                         United States
                                                                                                                                                                                                                                             Doc 29




    92         MB Medical Transport, LLC     Transportation                        Enterprise Fleet Management, Inc      PO BOX 800089 KANSAS CITY, MO              Vehicle Sales Agreement Certificiate                    $0.00
                                                                                                                         United States
    93         MB Medical Operations, LLC    Commercial Lease                      FERN STREET PROPERTIES, LLC           12961 Deva St. Coral Gables FL 33156       Commercial Lease Agreement by and between Fern          $0.00
                                                                                                                         c/o Walter L Lista                         Street Properties, LLC and MB Medical Operations,
                                                                                                                                                                    LLC
    94         Miami Medical & Wellness     Employment Agreement                   Fernandez Armas, Yaimy                13590 Southwest 98th Street                Employment Agreement by and between Yaimy               $0.00
               Center, LLC / Rodolfo                                                                                                                                Fernandez Armas, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                            Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                         (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
                                                                                                                                                                                                                                             Filed 10/13/24




    95         Miami Medical & Wellness     Employment Agreement                   Fernandez Novales, Jorge              2850 Sw 134 Ave                            Employment Agreement by and between Jorge               $0.00
               Center, LLC / Rodolfo                                                                                                                                Fernandez Novales, M.D., and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                            Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                         (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    96         Florida Family Primary Care   Employment Agreement                  Figueroa, Yolanda                     4955 Cypress Trace Drive, Tampa, FL        Employment Agreement by and Between Florida             $0.00
               Centers of Pinellas, LLC /                                                                                33624                                      Family Primary Care Center of Pasco, LLC, Florida
               Florida Family Primary Care                                                                                                                          Family Primary Care Centers of Pinellas, LLC, and
               Centers of Tampa, LLC                                                                                                                                Florida Family Primary Care Centers of Tampa, LLC,
                                                                                                                                                                    and Yolanda Figueroa, M.D.
    97         MB Medical Operations, LLC    Other (including Clinical Specialists) First Spanish Church of the Open Bibl 490 E. 50 Street Hialeah, Florida 33013   Contract for Parking Spaces between First Spanish    $2,000.00
                                                                                                                                                                                                                                             Page 305 of 565




                                                                                                                                                                    Church of the Open Bible, Inc. and Miami Beach
                                                                                                                                                                    Medical Group, Inc.
    98         Miami Medical & Wellness     Employment Agreement                   Flores Iglesias, Carlos               16269 Sw 44Th Street                       Employment Agreement by and between Carlos              $0.00
               Center, LLC / Rodolfo                                                                                                                                Flores Iglesias, PA, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                            Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                         as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                              6 of 17                                                                                       CONFIDENTIAL
    99         Miami Beach Medical            Other (including Clinical Specialists) Florida Behavioral Center, Inc. d/b/a FFlorida Behavioral Center Inc. d/b/a      Staffing Services Agreement between Florida          $0.00
               Consultants, LLC                                                                                             Florida Healthcare System 1905 NW         Behavioral Center, Inc and Miami Beach Medical
                                                                                                                            82nd Ave, Doral Florida 33126 8400        Consultants
                                                                                                                            NW 33 Street, Suite 201, Doral, Florida
                                                                                                                            33122


    101        Miami Medical & Wellness     Employment Agreement                    Fonseca, Sailin                        4010 Boatman ave                           Employment Agreement by and between Sailin           $0.00
               Center, LLC / Rodolfo                                                                                                                                  Fonseca, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                              Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                           as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    102        Miami Beach Medical            Vendor Agreements                     Foot & Ankle Network, Inc. d/b/a Aliv 5775 Blue Lagoon Drive, Ste. 450,           Alivi Podiatry Network Provider Agreement            $0.00
               Consultants, LLC                                                                                            Miami, FL 33125, Attn: President
    103        Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                  Franco, Manuel                         6301 Collins Avenue                        EMPLOYMENT AGREEMENT                                 $0.00
               (now known as Miami Beach                                                                                                                              BETWEEN Rodolfo Dumenigo, M.D., P.A. (now
               Medical Centers, Inc.)                                                                                                                                 known as Miami Beach Medical Centers, Inc.), d/b/a
                                                                                                                                                                      MIAMI BEACH MEDICAL GROUP, a Florida
                                                                                                                                                                      prolessional association
                                                                                                                                                                      AND MANUEL A. FRANCO, M.D.
    104        Miami Beach Medical            Payor contracts                       Freedom Health, Inc.                   Attn: Provider Relations 4200 West    Group Participant Agreement                               $0.00
                                                                                                                                                                                                                                           Case 24-20576-CLC




               Consultants, LLC                                                                                            Cyprus St. Suite 1000 Tampa, FL 33607


    105        Miami Medical & Wellness     Employment Agreement                    Garcia Rodriguez, Francisco            5316 Sw 152 Court                          Employment Agreement by and between Francisco        $0.00
               Center, LLC / Rodolfo                                                                                                                                  Garcia Rodriguez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                              Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                           (now known as Miami Beach Medical Centers, Inc.)
                                                                                                                                                                                                                                           Doc 29




               Centers, Inc.)
    106        Miami Medical & Wellness     Employment Agreement                    Garcia, Emelio                         8071 Sw 159Th Ct                           Employment Agreement by and between Emelio           $0.00
               Center, LLC / Rodolfo                                                                                                                                  Garcia, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                              Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                           as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    107        MB Medical Operations, LLC     Commercial Lease                      Gardens Office Complex, LLC            C/o Horizon Properties 7785 N.W.           Lease by and between Gardens Office Complex,         $0.00
                                                                                                                           146th Street Miami Lakes, FL 33016         LLC, and MB Medical Operations, LLC
    108        Miami Medical & Wellness     Employment Agreement                    Gomez, Julio Orlando                   5050 W 22 Ct                               Employment agreement by and between Julio            $0.00
               Center, LLC / Rodolfo                                                                                                                                  Gomez, M.D., and Miami Medical & Wellness
                                                                                                                                                                                                                                           Filed 10/13/24




               Dumenigo, M.D., P.A. (now                                                                                                                              Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                           as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    109        Rodolfo Dumenigo, M.D., P.A.   Technology                            Greenway Health, LLC                   4301 West Boy Scout Boulevard, Ste         LIST OF MIGRATED ASSETS PURCHASE SCHEDULE -          $0.00
               (now known as Miami Beach                                                                                   800 Tampa, FL 33607 Attention: Legal       SIGNATURE PAGE
               Medical Centers, Inc.)                                                                                      Department
    110        Miami Medical & Wellness     Employment Agreement                    Guerra, Rene                           6575 W 4th Ave                             Employment Agreement between Miami Medical &         $0.00
               Center, LLC / Rodolfo                                                                                                                                  Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               Dumenigo, M.D., P.A. (now                                                                                                                              (now known as Miami Beach Medical Centers,
               known as Miami Beach Medical                                                                                                                           Inc.)d/b/a Miami Beach Medical Group and Rene
               Centers, Inc.)                                                                                                                                         Guerra, MD
                                                                                                                                                                                                                                           Page 306 of 565




    111        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Gumenick Family Investments No. 2 L959 West Avenue, Miami Beach, Florida Monthly Parking Agreement between Gumenick                   $0.00
               (now known as Miami Beach                                                                                33139                                 Family Investments No. 2 Ltd. and Rodolfo
               Medical Centers, Inc.)                                                                                                                         Dumenigo MD PA




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                                7 of 17                                                                                   CONFIDENTIAL
    112        Miami Medical & Wellness     Employment Agreement                   Gutierrez Diaz, Adys I                3102 West Henry Avenue                   EMPLOYMENT AGREEMENT by and between Adys                 $0.00
               Center, LLC / Rodolfo                                                                                                                              Gutierrez, APRN (“Employee”), and MIAMI MEDICAL
               Dumenigo, M.D., P.A. (now                                                                                                                          & WELLNESS CENTER/ Rodolfo Dumenigo, M.D.,
               known as Miami Beach Medical                                                                                                                       P.A. (now known as Miami Beach Medical Centers,
               Centers, Inc.)                                                                                                                                     Inc.), a Florida professional service corporation
                                                                                                                                                                  d/b/a CLINICAL CARE MEDICAL CENTERS


    113        MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                         8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                         33166 Attention: Contract Administrator


    114        MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                         8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                         33166 Attention: Contract Administrator


    115        MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                         8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                         33166 Attention: Contract Administrator


    116        MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                                                                                                                                           Case 24-20576-CLC




                                                                                                                         8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                         33166 Attention: Contract Administrator


    117        Miami Beach Medical            Payor contracts                      HealthSun Physicians Network I, LLC HealthSun Physician Network I, LLC         Primary Care Physician Network Agreement                 $0.00
               Consultants, LLC                                                                                        3250 Mary Street, Suite 300 Coconut
                                                                                                                       Grove, Florida 33133 Attn: President
                                                                                                                                                                                                                                           Doc 29




    118        Miami Medical & Wellness     Employment Agreement                   Hernandez Perez, Javier               3105 Oakland Shores Drive                Employment Agreement by and between Javier               $0.00
               Center, LLC / Rodolfo                                                                                                                              Hernandez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                          Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                       as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    119        MB Medical Operations, LLC     Equipment and Financing              Highland Capital Corp                 1 Passaic Ave., Fairfield NJ 07004       Equipment Lease Agreement                                $0.00
    121        MB Medical Operations, LLC     Commercial Lease                     Horus International Corp LLC          13231 Byrd Legg Drive Odessa, Florida    Lease by and between Horus International             $5,826.61
                                                                                                                         33556                                    Coportaion, llc and Clinical Care Medial Centers
    122        MBMG Holding, LLC              Professional Fees                    Houlihan Lokey Financial Advisors, Inc3060 Peachtree Road NW, Ste 1500,        Engagement Letter (GWI, MIU)                             $0.00
                                                                                                                         15th Floor Atlanta, GA 30305
                                                                                                                                                                                                                                           Filed 10/13/24




    123        Rodolfo Dumenigo, M.D., P.A.   Payor contracts                      Humana Insurance Company, Human Humana Inc. PO Box 1438 Louisville,            Independent Practice Association Participation           $0.00
               (now known as Miami Beach                                                                           Kentucky 40201-1438 Attn: Law                  Agreement
               Medical Centers, Inc.)                                                                              Department
    124        Rodolfo Dumenigo, M.D., P.A.   Payor contracts                      Humana Insurance Company, Human Humana Inc. PO Box 1438 Louisville,            Physcian Participation Agreement                         $0.00
               (now known as Miami Beach                                                                           Kentucky 40201-1438 Attn: Law
               Medical Centers, Inc.)                                                                              Department
    125        Miami Beach Medical            Payor contracts                      Humana Insurance Company, Human 500 West Main Street Louisville,               Settlement and Release Agreement                         $0.00
               Consultants, LLC                                                                                    Kentucky 40202 Attn: Law Department
    126        Miami Beach Medical            Payor contracts                      Humana Pharmacy, Inc.                 500 West Main Street Louisville,         Master Over-the-Counter Product Ordering                 $0.00
               Consultants, LLC                                                                                          Kentucky 40202 Attn: Law Department      Agreement
    127        Miami Beach Medical            Vendor Agreements                    iCare Health Solutions, LLC           7600 Corporate Center Drive, Ste. 200,   Individual Provider Agreement                            $0.00
                                                                                                                                                                                                                                           Page 307 of 565




               Consultants, LLC                                                                                          Miami, FL 33126
    128        MB Medical Operations, LLC     Services Agreement                   j2 Cloud Services, LLC                6922 Hollywood Blvd., Suite 500 Los      Services Agreement                                       $0.00
                                                                                                                         Angeles, CA 90028 Attn: Legal
                                                                                                                         Department
    129        MB Medical Operations, LLC     Technology                           JAM INFOSYS, LLC d/b/a AANEEL         6650 Gunn Hwy Tampa, FL 33556            AANEEL HEALTH SERVICES AGREEMENT between            $46,806.08
                                                                                   HEALTH SERVICES                       United States of America                 Jam Infosys, LLC and Clincal Care Medical Centers
    130        MB Medical Operations, LLC     Employment Agreement                 JCL Advisory, LLC                     9341 SW 57 Ter, Miami, FL 33173          Independent Contractor Agreement                         $0.00




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                              8 of 17                                                                                     CONFIDENTIAL
    131        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) JMO Group, LLC.                  5120 Fallen Leaf Dr, Riverview, FL 33578 INDEPENDENT CONTRACTOR AGREEMENT                       $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    132        MB Medical Operations, LLC     Other (including Clinical Specialists) Joshua Manbor                    9595 Collins Ave Apt 408 Miami Beach, BUSINESS ASSOCIATE AGREEMENT                              $0.00
                                                                                                                      FL United States
    133        MB Medical Operations, LLC     Equipment and Financing               Konica Minolta Payment Services   Konica Minolta Healthcare Americas,    Master Subsciption Agreement between Customer            $0.00
                                                                                                                      Inc. 411 Newark Pompton Turnpike       and Konica Minolta Payment Services
                                                                                                                      Wayne, NJ 07470-0934
    134        Miami Medical & Wellness     Employment Agreement                    Labrada Viera, Osmel              585 West 25th Street                   Employment Agreement                                     $0.00
               Center, LLC / Rodolfo
               Dumenigo, M.D., P.A. (now
               known as Miami Beach Medical
               Centers, Inc.)
    135        MB Medical Operations, LLC     Commercial Lease                      LAKELAND INVESTMENTS LLC          222 Poinciana Dr. Sunny Isles Beach,   Lease agreement by and between Lakeland                  $0.00
                                                                                                                      Florida 33160                          Investments, LLC and MB Medical Operations, LLC
    136        MB Medical Operations, LLC     Dental Contracts (LHA)                LHA Smiles Design, Inc.           9460 SW 6th Lane Miami, FL 33174       Dental Services Participation and Management             $0.00
                                                                                                                                                             Agreement by and among MB Medical Operations,
                                                                                                                                                             LLC and its Subsidiaries ("MBMG") and LHA Smiles
                                                                                                                                                             Design, Inc.
    137        Florida Family Primary Care    Dental Contracts (LHA)                LHA Smiles Design, Inc.           9460 SW 6th Lane Miami, FL 33174       Dental Services Participation and Management             $0.00
                                                                                                                                                                                                                                      Case 24-20576-CLC




               Center, LLC                                                                                                                                   Agreement by and among MB Medical Operations,
                                                                                                                                                             LLC and its Subsidiaries ("MBMG") and LHA Smiles
                                                                                                                                                             Design, Inc.
    138        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Life Radiology                   3470 NW 82 AVE, STE 119 Doral, FL      Letter of Agreement for Radiology Services               $0.00
               (now known as Miami Beach                                                                              33122                                  between Clinical Care and Life Radiology
               Medical Centers, Inc.)
                                                                                                                                                                                                                                      Doc 29




    139        MB Medical Operations, LLC     Technology                            Lightbeam Health Solutions        222 W Las Colinas Blvd. #2200n, Irving, Lightbeam Health Solutions Order Form              $53,244.38
                                                                                                                      TX 75039
    140        MB Medical Operations, LLC     Commercial Lease                      Lillian Loeffler QTIP Trust       6 Cayuga Road, Fort Lauderdale, Florida Lease between MB Medical Operations llc and             $0.00
                                                                                                                      33308                                   Lillian Loeffler QTIP Trust
    141        MBMG Ultimate Holding, LP      Professional Fees                     LOCKTON COMPANIES                 4725 PIEDMONT ROW DR STE 510           PREMIUM FINANCE AGREEMENT (24000322)                     $0.00
                                                                                    LLC/CHARLOTTE                     CHARLOTTE,NC 28210
    142        MBMG Ultimate Holding, LP      Professional Fees                     LOCKTON COMPANIES                 4725 PIEDMONT ROW DR STE 510           PREMIUM FINANCE AGREEMENT (24000322)                     $0.00
                                                                                    LLC/CHARLOTTE                     CHARLOTTE,NC 28210
    143        Miami Medical & Wellness     Employment Agreement                    Lopez, Esdras                     9805 SW 77 Place                       Employment Agreement between Miami Medical &             $0.00
               Center, LLC / Rodolfo                                                                                                                         Wellness Center / Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                                                                                                      Filed 10/13/24




               Dumenigo, M.D., P.A. (now                                                                                                                     (now known as Miami Beach Medical Centers,
               known as Miami Beach Medical                                                                                                                  Inc.)and Esdras Lopez, MD
               Centers, Inc.)
    144        Miami Medical & Wellness     Employment Agreement                    Lugo Rodriguez, Randy             710 nw 14th ave                        Employment Agreement by and between Randy                $0.00
               Center, LLC / Rodolfo                                                                                                                         Lugo, APRN, and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                     / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                  Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    145        MB Medical Transport, LLC      Transportation                        Lyft Healthcare, Inc.             185 Berry Street, Suite 5000 San       Lyft business agreement by and between MB          $411,972.58
                                                                                                                      Francisco, CA 94107                    Medical Transport LLC and Lyft Healthcare Inc
    146        Miami Beach Medical            Vendor Agreements                     Magellan Healthcare, Inc.         14100 Magellan Plaza, Maryland         Network Provider Agreement                               $0.00
                                                                                                                                                                                                                                      Page 308 of 565




               Consultants, LLC                                                                                       Heights, MO 63043
    147        Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Maldonado, Lilliam Vazquez                    PO Box 772036 Orlando, FL 32877        Employment Agreement by and between Lilliam              $0.00
               Center, LLC / Rodolfo                                                                                                                         Vazquez Maldonado, M.D., and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                     Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                  (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    148        MB Medical Operations, LLC     Commercial Lease                      Marion Simmons                    507 Sandalwood Drive Plant City, FL    Commecial lease by and between Marion Simmons        $8,378.66
                                                                                                                      33563                                  and MB Medical Operations




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                           9 of 17                                                                                   CONFIDENTIAL
    149        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Marper, pllc                     7060 NW 75 St Parkland, FL 33067        INDEPENDENT CONTRACTOR AGREEMENT                           $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    150        Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                  Martinez-Negron, Melanie          7444 Palm River Rd Tampa, FL 33619      Employment Agreement by and between JMO                    $0.00
               (now known as Miami Beach                                                                                                                      Group, LLC, and Rodolfo Dumenigo, M.D., P.A. (now
               Medical Centers, Inc.)                                                                                                                         known as Miami Beach Medical Centers, Inc.)
    151        Miami Medical & Wellness     Employment Agreement                    Matos, Rafael                     4604 Netherwood Drive                   Employment Agreement by and between Rafael                 $0.00
               Center, LLC / Rodolfo                                                                                                                          Matos, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                      Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                   as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    152        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) McKesson Medical-Surgical Inc.   9954 Mayland Drive, Suite 4000,         Product Supply Agreement                             $170,880.34
               (now known as Miami Beach                                                                              Richmond, Virginia 23233
               Medical Centers, Inc.)
    153        Miami Beach Medical            Payor contracts                       Medica Healthcare Plans, Inc.     9100 S. Dadeland Blvd., Suite 1250      Network Risk Agreement                                     $0.00
               Consultants, LLC                                                                                       Miami, FL 33156-7838
    154        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE             $24,453.46
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    155        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                                                                                                                                         Case 24-20576-CLC




                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    156        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    157        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                                                                                                                                         Doc 29




                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    158        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    159        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    160        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                                                                                                         Filed 10/13/24




                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    161        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    162        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Mia Lab Inc.                     2129 West 76 St, Hialeah, FL 33016      CONTRACT                                              $25,916.52
               (now known as Miami Beach
               Medical Centers, Inc.)
    163        Rodolfo Dumenigo, M.D., P.A.   Vendor Agreements                     Miami Lab Inc.                    2916 N Miami Avenue Suite 10C Miami, Contract                                                      $0.00
               (now known as Miami Beach                                                                              FL 33127
               Medical Centers, Inc.)
    164        MB Medical Operations, LLC     Commercial Lease                      Miami Metro Medical LLC           1200 Alton Road, Miami Beach, FL        Lease by and between 12550 Biscayne, LLC a Florida         $0.00
                                                                                                                                                                                                                                         Page 309 of 565




                                                                                                                      33139                                   llc and MB Medical Operations, LLC a Delaware llc


    167        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Mobile Vision Doctors, LLC       1315 Silk Oak Dr. Hollywood, FL 33021 Professional Services Agreement between Clinical             $0.00
               (now known as Miami Beach                                                                                                                    Care Medical Centers and Mobile vision Doctors,
               Medical Centers, Inc.)                                                                                                                       LLC
    168        Rodolfo Dumenigo, M.D., P.A.   Vendor Agreements                     Mobile Vision Doctors, LLC        Attn: Dr. Ryan C. Verxagio, 1315 Silk   Professional Services Agreement between Clinical           $0.00
               (now known as Miami Beach                                                                              Oak Drive, Hollywood, FL 33021;         Care Medical Centers and Mobile vision Doctors,
               Medical Centers, Inc.)                                                                                 mobilevisiondoctors@gmail.com           LLC




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                          10 of 17                                                                                      CONFIDENTIAL
    169        Miami Beach Medical            Payor contracts                     Molina Healthcare of Florida, Inc.    Molina Healthcare of Florida, Inc. 8300   Group Services Agreement                                    $0.00
               Consultants, LLC                                                                                         NW 33rd Street, Ste. 400 Doral, FL
                                                                                                                        33122 Attention: President
    170        Miami Medical & Wellness       Employment Agreement                Mora, Abel                            8917 Northwest 146th Terrace              EMPLOYMENT AGREEMENT AND PROTOCOL                           $0.00
               Center, LLC / Rodolfo                                                                                                                              BETWEEN MIAMI MEDICAL &WELLNESS CENTER /
               Dumenigo, M.D., P.A. (now                                                                                                                          Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                       Miami Beach Medical Centers, Inc.), d/b/a MIAMI
               Centers, Inc.)                                                                                                                                     BEACH MEDICAL GROUP AND ABEL MORA, APRN


    171        Miami Beach Medical            Vendor Agreements                   NCH Management Systems, Inc.          11000 SW 104 St # 161092 Miami, FL        Provider Agreement                                          $0.00
               Consultants, LLC                                                                                         33116
    172        MB Medical Operations, LLC     Technology                          NextGen Healthcare Inc.               18111 Von Karman Ave, Suite 600           Supplemental Order Form (PG-2022-255291)              $749,891.64
                                                                                                                        Irvine, California 92612
    173        MB Medical Operations, LLC     Technology                          NextGen Healthcare Inc.               18111 Von Karman Ave, Suite 600           Supplemental Order Form (PG-2022-255291)                 See #172
                                                                                                                        Irvine, California 92612
    174        MB Medical Operations, LLC     Technology                          NextGen Healthcare Inc.               18111 Von Karman Ave, Suite 600           Supplemental Order Form (PG-2022-255291)                 See #172
                                                                                                                        Irvine, California 92612
    175        MB Medical Operations, LLC     Employment Agreement                Nunez, Salvador                       8035 Diamond Creek Ln Lakeland, FL        Separation Agreement, Including General Release             $0.00
                                                                                                                        33809                                     between Salvador Nunez and MB Medical
                                                                                                                                                                  Operations, LLC d/b/a Clinical Care Medical Centers
                                                                                                                                                                                                                                              Case 24-20576-CLC




    176        MB Medical Operations, LLC     Other (including Clinical Specialists) Olympia Heights Methodist Church   1400 NW 107 Ave, Suite 500 Doral, Fl      Contract for Parking Spaces between Olympia                 $0.00
                                                                                                                        33172                                     Heights Methodist Church and MB Medical
                                                                                                                                                                  Operations, LLC
    177        Miami Beach Medical            Payor contracts                     Optimum Healthcare, Inc.              Attn: Provider Relations 4200 West    Group Participant Agreement                                     $0.00
               Consultants, LLC                                                                                         Cyprus St. Suite 1000 Tampa, FL 33607
                                                                                                                                                                                                                                              Doc 29




    178        MB Medical Operations, LLC     Technology                          Oracle America, Inc.                  2300 Oracle Way Austin, TX 78741          Payment Schedule for MB Medical Operations, LLC             $0.00


    179        Miami Medical & Wellness     Employment Agreement                  Otano Ramon, Yanin                    549 Northeast 35th Avenue                 Employment Agreement by and between Yanin                   $0.00
               Center, LLC / Rodolfo                                                                                                                              Otano Sanchez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                          Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                       (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    180        Miami Medical & Wellness     Employment Agreement                  Padilla Ayala, Luisa                  13607 Fawn Ridge Blvd                     Employment Agreement by and between Luisa                   $0.00
               Center, LLC / Rodolfo                                                                                                                              Padilla Ayala, APRN, and Miami Medical & Wellness
                                                                                                                                                                                                                                              Filed 10/13/24




               Dumenigo, M.D., P.A. (now                                                                                                                          Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                       as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    181        MB Medical Operations, LLC     Commercial Lease                    Palm River Square Associates, LLC     7978 Cooper Creek Boulevard,              Lease by and between Palm River Square Asociates,           $0.00
                                                                                                                        University Park, Florida 34201            llc and MB Medical Operations, llc
    182        MB Medical Operations, LLC     Equipment and Financing             Patterson Dental Supply, Inc.         1031 Mendota Heights Road Attn:           Installment Sale Contract between Patterson Dental          $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120            Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                  Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                  Homestead, FL 33030-4360
    183        MB Medical Operations, LLC     Equipment and Financing             Patterson Dental Supply, Inc.         1031 Mendota Heights Road Attn:           Installment Sale Contract between Patterson Dental          $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120            Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                                                                                              Page 310 of 565




                                                                                                                                                                  Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                  Homestead, FL 33030-4360
    184        MB Medical Operations, LLC     Equipment and Financing             Patterson Dental Supply, Inc.         1031 Mendota Heights Road Attn:           Installment Sale Contract between Patterson Dental          $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120            Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                  Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                  Homestead, FL 33030-4360




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                              11 of 17                                                                                       CONFIDENTIAL
    185        MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                 Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                 Homestead, FL 33030-4360
    186        MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                 Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                 Homestead, FL 33030-4360
    187        MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                 Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                 Homestead, FL 33030-4360
    188        MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                 Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                 Homestead, FL 33030-4360
    189        Miami Medical & Wellness     Employment Agreement                   Pebe Florian, Claudia Esther         2400 sw 113 court                        Employment Agreement by and between Claudia            $0.00
               Center, LLC / Rodolfo                                                                                                                             Pebe Florian, M.D. (“Physician”), and MIAMI
               Dumenigo, M.D., P.A. (now                                                                                                                         MEDICAL & WELLNESS CENTER/ Rodolfo
               known as Miami Beach Medical                                                                                                                      Dumenigo, M.D., P.A. (now known as Miami Beach
                                                                                                                                                                                                                                        Case 24-20576-CLC




               Centers, Inc.)                                                                                                                                    Medical Centers, Inc.)
    190        Miami Medical & Wellness     Employment Agreement                   Perez, Reynaldo                      8440 Sw 8Th St                           Employment Agreement by and Between Reynaldo           $0.00
               Center, LLC / Rodolfo                                                                                                                             Perez, M.D., and Miami Medical & Wellness Center /
               Dumenigo, M.D., P.A. (now                                                                                                                         Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                      Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
                                                                                                                                                                                                                                        Doc 29




    191        Miami Medical & Wellness     Employment Agreement                   Pimentel, Haydee                     6726 Hanley Rd Tampa, FL 33634           Employment Agreement by and between Haydee             $0.00
               Center, LLC / Rodolfo                                                                                                                             Pimentel, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                         Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                      as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    192        Miami Beach Medical            Payor contracts                      Preferred Care Partners, INC         9100 S. Dadeland Blvd., Suite 1250       Network Risk Agreement                                 $0.00
               Consultants, LLC                                                                                         Miami, FL 33156-7838
    193        Florida Family Primary Care    Commercial Lease                     Prestige Park LLC                    3285 East Ruby Hill Drive, Pleasanton,   Business Lease between the Prestige Park LLC and       $0.00
               Centers of Pinellas, LLC                                                                                 California 94566                         Florida Family Primary Care Centers of Pinellas LLC
                                                                                                                                                                                                                                        Filed 10/13/24




    194        MB Medical Operations, LLC     Equipment and Financing              Prohealth Capital,                   1111 Old Eagle School Road, Wayne,       Finance Agreement by and between MB Medical            $0.00
                                                                                                                        Pennsylvania 19087                       Operations and ProHealth Capital
    195        Miami Beach Medical            Vendor Agreements                    QMHC d/b/a Alivi Health              2221 N University Dr Pembroke Pines,     Provider Agreement                                     $0.00
               Consultants, LLC                                                                                         FL 33024
    196        Miami Beach Medical            Vendor Agreements                    Quality Managed Health Care, Inc. d/ 5775 Blue Lagoon Drive, Ste. 450,        Alivi Chiro Network Provider Agreement                 $0.00
               Consultants, LLC                                                                                         Miami, FL 33125, Attn: President
    197        Miami Beach Medical            Vendor Agreements                    Quality Managed Health Care, Inc. d/ 5775 Blue Lagoon Drive, Ste. 450,        Alivi Chiro Network Provider Agreement                 $0.00
               Consultants, LLC                                                                                         Miami, FL 33125, Attn: President
    198        Miami Medical & Wellness     Employment Agreement                   Querol Matos, Wilfredo Andres        16134 Southwest 138th Court              Employment Agreement by and between Wilfredo           $0.00
               Center, LLC / Rodolfo                                                                                                                             Querol Matos, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                         Wellness Center / Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                                                                                                        Page 311 of 565




               known as Miami Beach Medical                                                                                                                      (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    199        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Rafael Capote, MD                  8812 NW 150 St Miami Lakes, FL 33018 INDEPENDENT CONTRACTOR AGREEMENT by and                    $0.00
               (now known as Miami Beach                                                                                                                         between Rodolfo Dumenigo, M.D., P.A. (now known
               Medical Centers, Inc.)                                                                                                                            as Miami Beach Medical Centers, Inc.)d//b/a Clinical
                                                                                                                                                                 Care Medical Centers and Rafael Capote, MD




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                            12 of 17                                                                                   CONFIDENTIAL
    200        Miami Medical & Wellness     Employment Agreement                  Ramos Ferreiro, Seidel Idailys    7542 Armand Circle                     Employment Agreement by and between Seidel               $0.00
               Center, LLC / Rodolfo                                                                                                                       Ramos Ferreiro, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    201        Miami Medical & Wellness     Other (including Clinical Specialists) Raul Falero MD LLC               6861 SW 147th Ave Apt ## Miami, FL     INDEPENDENT CONTRACTOR AGREEMENT by and                  $0.00
               Center, LLC / Rodolfo                                                                                33193                                  between Miami Medical & Wellness Center /
               Dumenigo, M.D., P.A. (now                                                                                                                   Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                Miami Beach Medical Centers, Inc.)d//b/a Clinical
               Centers, Inc.)                                                                                                                              Care Medical Centers and Raul Falero MD LLC
    202        Miami Medical & Wellness     Employment Agreement                  Reyes Leon, Aslien                11420 Southwest 143th Court            EMPLOYMENT AGREEMENT by and between Aslien               $0.00
               Center, LLC / Rodolfo                                                                                                                       Reyes Leon, APRN
               Dumenigo, M.D., P.A. (now                                                                                                                   (“Employee”), and MIAMI MEDICAL & WELLNESS
               known as Miami Beach Medical                                                                                                                CENTER/ RODOLFO DUMENIGO
               Centers, Inc.)                                                                                                                              M.D., P.A., a Florida professional service corporation
                                                                                                                                                           d/b/a CLINICAL CARE MEDICAL
                                                                                                                                                           CENTERS (“Employer”).
    203        Miami Medical & Wellness     Employment Agreement                  Reyes Ortega, Maritza             6910 Southwest 163rd Place             Employment Agreement by and between Maritza              $0.00
               Center, LLC / Rodolfo                                                                                                                       Reyes Ortega, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                                                                                                    Case 24-20576-CLC




               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    204        MB Medical Operations, LLC     Commercial Lease                    RLV Oriole Plaza LP               1500 Northwestern Highway, Suite 300, Lease by and between RLV Oriole Plaza LP a                $0.00
                                                                                                                    Farmington Hills, Michigan 48334      Delaware limited partnership, as Landlord, and MB
                                                                                                                                                          Medical Operations LLC d/b/a/ Delray Medical
                                                                                                                                                          Center by MBMG, a Delaware limited liability
                                                                                                                                                                                                                                    Doc 29




                                                                                                                                                          company, as Tenant, for space B-210 in the above
                                                                                                                                                          reference shopping center.
    205        MB Medical Operations, LLC     Employment Agreement                Robbins, Jackie S                 9030 Notchwood Court Orlando, FL       Separation Agreement, Including General Release          $0.00
                                                                                                                    32825                                  between Jackie S. Robbins and MB Medical
                                                                                                                                                           Operations, LLC d/b/a Clinical Care Medical Centers


    206        Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Rodriguez Abreu, Ernesto                    8798 Southwest 52nd Street             Employment Agreement by and between Ernesto              $0.00
               Center, LLC / Rodolfo                                                                                                                       Rodriguez Abreu, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
                                                                                                                                                                                                                                    Filed 10/13/24




               Centers, Inc.)
    207        Miami Medical & Wellness     Employment Agreement                  Rodriguez Martinez, Geysert       8899 Southwest 220th Lane              Employment Agreement by and between Geysert              $0.00
               Center, LLC / Rodolfo                                                                                                                       Rodriguez Martinez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    208        Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                Rodriguez Rivera, David Eduardo   23161 Pachino Way                      EMPLOYMENT AGREEMENT BETWEEN Rodolfo                     $0.00
               (now known as Miami Beach                                                                                                                   Dumenigo, M.D., P.A. (now known as Miami Beach
               Medical Centers, Inc.)                                                                                                                      Medical Centers, Inc.), d/b/a MIAMI BEACH
                                                                                                                                                           MEDICAL GROUP/
                                                                                                                                                           a Florida Professional Service Corporation AND
                                                                                                                                                                                                                                    Page 312 of 565




                                                                                                                                                           DAVID EDUARDO RODRIGUEZ RIVERA, MD
    209        Miami Medical & Wellness     Employment Agreement                  Rodriguez Rodriguez, Odarkys      2126 SW 16 Street                      Employment Agreement by and between Odarkys              $0.00
               Center, LLC / Rodolfo                                                                                                                       Rodriguez Rodriguez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                        13 of 17                                                                                   CONFIDENTIAL
    210        Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Rodriguez, Jorge Machin                   1608 W Oak Ave Plant City,FL 33563     Employment Agreement by and between Jorge                 $0.00
               Center, LLC / Rodolfo                                                                                                                     Machin Rodriguez, M.D., and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                 Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                              (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    211        Miami Medical & Wellness     Employment Agreement                  Rodriguez, Veronica             19274 NW 19th St                       EMPLOYMENT AGREEMENT (this “Agreement”) by                $0.00
               Center, LLC / Rodolfo                                                                                                                     and between Veronica Rodriguez, M.D.
               Dumenigo, M.D., P.A. (now                                                                                                                 (“Physician”), and MIAMI MEDICAL & WELLNESS
               known as Miami Beach Medical                                                                                                              CENTER/ Rodolfo Dumenigo, M.D., P.A. (now known
               Centers, Inc.)                                                                                                                            as Miami Beach Medical Centers, Inc.),
    212        Miami Medical & Wellness     Employment Agreement                  Rodriguez, Yoelquis             7681 W 34 Lane                         Employment Agreement by and between Yoelquis              $0.00
               Center, LLC / Rodolfo                                                                                                                     Rodriguez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                 Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                              as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    213        Care Center Network, LLC       Other (including Clinical Specialists) Romel Figueredo, MD P.A.     12854 SW 51 Street Miramar, FL 33027 INDEPENDENT CONTRACTOR AGREEMENT by and                     $0.00
                                                                                                                                                       among Clinical Care Network, Inc., Romel
                                                                                                                                                       Figueredo, M.D., PA and Romel Figueredo, M.D.
    214        Miami Medical & Wellness     Employment Agreement                  Saint Fleur, Samson             2216 Southwest 195th Avenue            Employment Agreement by and between Samson                $0.00
               Center, LLC / Rodolfo                                                                                                                     Saint Fleur, PA, and Miami Medical & Wellness
                                                                                                                                                                                                                                   Case 24-20576-CLC




               Dumenigo, M.D., P.A. (now                                                                                                                 Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                              as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    215        MB Medical Operations, LLC     Technology                          salesforce.com, inc.            Salesforce Tower 415 Mission Street,   Order Form (Q-04150927)                                   $0.00
                                                                                                                  3rd Floor San Francisco, CA 94105
    216        MB Medical Operations, LLC     Technology                          salesforce.com, inc.            Salesforce Tower 415 Mission Street,   Order Form (Q-04150927)                                   $0.00
                                                                                                                                                                                                                                   Doc 29




                                                                                                                  3rd Floor San Francisco, CA 94105
    217        Miami Medical & Wellness     Employment Agreement                  Sanchez Rodriguez, Yandris I    23813 Southwest 107th Place            Employment Agreement by and between Yandris               $0.00
               Center, LLC / Rodolfo                                                                                                                     Sanchez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                 Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                              as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    218        Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                Santiago, Mario A               5031 Down Court                        Employment Agreement by and Between Mario A.              $0.00
               (now known as Miami Beach                                                                                                                 Santiago Flores, M.D., and Rodolfo Dumenigo, M.D.,
               Medical Centers, Inc.)                                                                                                                    P.A. (now known as Miami Beach Medical Centers,
                                                                                                                                                         Inc.)d/b/a Miami Beach Medical Group
                                                                                                                                                                                                                                   Filed 10/13/24




    219        MB Medical Operations, LLC     Technology                          ScribeEMR Inc.                  500 West Cummings Park, Suite 2950     MEDICAL CODING SERVICE AGREEMENT                     $22,534.75
                                                                                                                  Woburn, MA 01801
    220        Miami Beach Medical            Technology                          Scrivas, LLC                    8720 N. Kendall Drive, Suite 204, Miami, ADDENDUM D Addition of Tiered Pricing Structure    $24,052.32
               Consultants, LLC                                                                                   FL 33176
    221        Miami Beach Medical            Dental Contracts (Senior Dental)    Senior Dental LLC               1321 SW 107th Ave Suite 216A Miami,    Participation Agreement by and between Miami              $0.00
               Consultants, LLC                                                                                   FL 33174                               Beach Medical Consultants, LLC, Rodolfo
                                                                                                                                                         Dumenigo, MD, PA and Senior Dental, LLC
    222        Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Silva Barrero, Yunior                     15527 Southwest 16th Street            Employment Agreement by and between Yunior                $0.00
               Center, LLC / Rodolfo                                                                                                                     Silva Barrero, M.D. and Miami Medical Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                 Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                              as Miami Beach Medical Centers, Inc.)
                                                                                                                                                                                                                                   Page 313 of 565




               Centers, Inc.)
    223        Miami Medical & Wellness     Employment Agreement                  Silva, Manuel                   1924 Southwest 151 Place               Employment Agreement by and between Manuel                $0.00
               Center, LLC / Rodolfo                                                                                                                     Silva, APRN, and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                 / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                              Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    224        Miami Beach Medical            Payor contracts                     Simply Healthcare Plans, Inc.   c/o Legal Department 9250 W. Flagler   Provider Agreement                                        $0.00
               Consultants, LLC                                                                                   St., Suite 600 Miami, FL 33174




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                      14 of 17                                                                                    CONFIDENTIAL
    225        Miami Beach Medical            Payor contracts                      Simply Healthcare Plans, Inc.         c/o Legal Department 9250 W. Flagler    Provider Agreement                                       $0.00
               Consultants, LLC                                                                                          St., Suite 600 Miami, FL 33174
    226        MBMG Ultimate Holding, LP      Employment Agreement                 Singh, Sanjeev                        19 Dougshire Court Burr Ridge, IL       Separation Agreement by and among MBMG                   $0.00
                                                                                                                         60527                                   Holding, LLC MBMG Ultimate Holding, and Sanjeev
                                                                                                                                                                 Singh
    227        Florida Family Primary Care    Payor contracts                      Solis Health Plans, Inc               9250 NW 36th Street, Suite 400 Doral,   Network Provider Agreement                               $0.00
               Centers of Tampa, LLC                                                                                     Florida 33178
    228        Miami Beach Medical            Payor contracts                      Solis Health Plans, Inc               9250 NW 36th Street, Suite 400 Doral,   Network Provider Agreement                               $0.00
               Consultants, LLC                                                                                          Florida 33178
    229        Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                 Soto, Maria                           1012 Ferndown CT Aiken, SC 29803        Employment Agreement by and between Maria                $0.00
               (now known as Miami Beach                                                                                                                         Soto, M.D., and Rodolfo Dumenigo, M.D., P.A. (now
               Medical Centers, Inc.)                                                                                                                            known as Miami Beach Medical Centers, Inc.)
    230        MB Medical Operations, LLC     Insurance                            Starline Group                        Chris Perrone StarLine 804 Main Street, Provider Exess Loss Insurance for MB Medical             $0.00
                                                                                                                         Suite 2A Osterville, MA 02655           operations, LLC
    231        MBMG Holding, LLC              Other (including Clinical Specialists) Suarez Professional Services Corp   At the address (or to the e-mail        Separation Agreement                                     $0.00
                                                                                                                         address) shown in the books and
                                                                                                                         records of the Company. With a copy
                                                                                                                         (which shall not serve as notice) to:
                                                                                                                         Johnson, Pope, Bokor, Ruppel & Burns,
                                                                                                                         LLP 490 1st Avenue South, Suite 700 St.
                                                                                                                                                                                                                                           Case 24-20576-CLC




                                                                                                                         Petersburg, FL 33701 Attention: Michael
                                                                                                                         D. Magidson (michaelm@jpfirm.com)


    232        Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                 Suarez, German                        2718 SW 143 PL                          Employment Agreement                                     $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
                                                                                                                                                                                                                                           Doc 29




    233        MBMG Ultimate Holding, LP      Employment Agreement                 Suarez, Jose David                    3755 SW 130 Ave Miami, FL United        Separation Agreement by and among MBMG                   $0.00
                                                                                                                         States                                  Holding, LLC MBMG Ultimate Holding, L.P. Suarez
                                                                                                                                                                 Professional Services Corp, Jose David Suarez, M.D.


    234        Miami Medical & Wellness     Employment Agreement                   Sueiro, Martin J                      6910 Southwest 163rd Place              Employment Agreement by and Between Martin               $0.00
               Center, LLC / Rodolfo                                                                                                                             Sueiro, M.D., and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                         / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                      Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    235        MB Medical Operations, LLC     Commercial Lease                     Summit Medical LLC                    c/o Commercial Asset Partners Realty    Assignment, Assumption, and First Amendment to           $0.00
                                                                                                                                                                                                                                           Filed 10/13/24




                                                                                                                         2511 Seven Springs Blvd. Trinity, FL    Lease Agreement by and between MB Medical
                                                                                                                         34655                                   Operations, LLC and Summit Medical LLC
    236        MB Medical Operations, LLC     Other (including Clinical Specialists) Sunshine Communication Services     159 MADEIRA AVE CORAL GABLES, FL Telephone Answering Services Subscriber Service                 $0.00
                                                                                                                         United States                    Agreement
    237        Florida Family Primary Care    Payor contracts                      Sunshine State Health Plan, Inc.      1299 NW 40 Ave Ste C Lauderhill, FL     Group Agreement                                          $0.00
               Centers of Tampa, LLC                                                                                     33313
    238        Florida Family Primary Care    Commercial Lease                     Terrace Walk Plaza                    11531 N. 56th Street Temple Terrace,    Lease by and between Terrace Walk Plaza an            $8,081.45
               Centers of Tampa, LLC                                                                                     Florida 33617                           dFlorida Family Primary Care Centers of Tampa, LLC


    239        MB Medical Operations, LLC     Commercial Lease                     THE HUB RETAIL, LLC                   Attn. Orin Black PO Box 611808 N.       Lease Agreement MB Medical Operations LLC and            $0.00
                                                                                                                         Miami, FL 33261-1808                    Hub Retail LLC
                                                                                                                                                                                                                                           Page 314 of 565




    240        Miami Beach Medical            Vendor Agreements                    Therapy Health Network LLC d/b/a Al5775 Blue Lagoon Drive, Ste. 450,          Alivi Therapy Network Provider Agreement                 $0.00
               Consultants, LLC                                                                                       Miami, FL 33125, Attn: President
    241        MB Medical Operations, LLC     Transportation                       Time Park, Inc                        P.O. Box 363 Ocoee, FL 34761-4910       Parking Valet Agreement by and between Clinical        $996.15
                                                                                                                                                                 Care Medical Operations LLC and Time Park Inc.
    242        MB Medical Operations, LLC     Technology                           T-Mobile Financial LLC                 EIP Program Customer Relations, P.O.   EQUIPMENT INSTALLMENT PLAN (EIP) CONTRACT                $0.00
                                                                                                                         Box 37380, Albuquerque, NM 87176-       AND DISCLOSURE (Plan ID 201905170124067610)
                                                                                                                         7380




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                             15 of 17                                                                                     CONFIDENTIAL
    243        MB Medical Operations, LLC       Commercial Lease       TOWER SHOPPING PLAZA, INC           11954 Narcoossee Rd. Suite 2. PMB       Lease by and between Tower Shopping Plaza, inc        $0.00
                                                                                                           #429 Orlando, FL 32832                  and MB Medical Operations, llc
    244        Florida Family Primary Care    Employment Agreement     Trinidad-Torres, Evelyn             16402 Egrey Crossing Ln Lithiam FL      FIRST AMENDMENT TO EMPLOYMENT                         $0.00
               Center of Pasco, LLC / Florida                                                              33547                                   AGREEMENT (this
               Family Primary Care Centers of                                                                                                      “Amendment”) by and
               Pinellas, LLC / Florida Family                                                                                                      between FLORIDA FAMILY PRIMARY CARE CENTER
               Primary Care Centers of Tampa,                                                                                                      OF PASCO, LLC, FLORIDA
               LLC                                                                                                                                 FAMILY PRIMARY CARE CENTERS OF PINELLAS,
                                                                                                                                                   LLC, and FLORIDA FAMILY
                                                                                                                                                   PRIMARY CARE CENTERS OF TAMPA, LLC
                                                                                                                                                   (collectively, the “Company”), and Evelyn Trinidad-
                                                                                                                                                   Torres, MD
    245        MB Medical Transport, LLC        Transportation         Trip2, LLC                          2766 NW 62nd Street, Miami, FL 33147 Trip2 Software License Agreement between Trip2,          $0.00
                                                                                                                                                LLC and MB Medical Transport, LLC
    246        Rodolfo Dumenigo, M.D., P.A.     Separation Agreement   Ugarte, Carolina                    17000 NW 67th Ave                       Employment Agreement                                  $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    247        Florida Family Primary Care    Payor contracts          UnitedHealthcare of Florida, Inc.   3000 Bayport Drive, Ste. 1170, Tampa,   Network Risk Agreement                                $0.00
               Center of Pasco, LLC / Florida                                                              FL 33607
               Family Primary Care Centers of
                                                                                                                                                                                                                         Case 24-20576-CLC




               Pinellas, LLC / Florida Family
               Primary Care Centers of Tampa,
               LLC
    248        Miami Beach Medical              Payor contracts        UnitedHealthcare of Florida, Inc.   2300 W Plano Pkwy #C1E105 Plano, TX Network Risk Agreement                                    $0.00
               Consultants, LLC                                                                            75075-8427
    249        Miami Beach Medical              Payor contracts        UnitedHealthcare of Florida, Inc.   495 N Keller Rd, Suite 200 Maitland, FL Network Risk Agreement                                $0.00
                                                                                                                                                                                                                         Doc 29




               Consultants, LLC                                                                            32751
    250        Miami Medical & Wellness     Employment Agreement       Urgell, Jorge                       3991 Sw 153Rd Ct                        Employment Agreement by and between Jorge             $0.00
               Center, LLC / Rodolfo                                                                                                               Urgell, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                           Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                        as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    251        Florida Family Primary Care    Employment Agreement     Uribazo, Beatriz                    1243 Evergreen Park Cir                 FIRST AMENDMENT TO EMPLOYMENT                         $0.00
               Center of Pasco, LLC / Florida                                                                                                      AGREEMENT (this
               Family Primary Care Centers of                                                                                                      “Amendment”) by and
               Pinellas, LLC / Florida Family                                                                                                      between FLORIDA FAMILY PRIMARY CARE CENTER
                                                                                                                                                                                                                         Filed 10/13/24




               Primary Care Centers of Tampa,                                                                                                      OF PASCO, LLC, FLORIDA
               LLC                                                                                                                                 FAMILY PRIMARY CARE CENTERS OF PINELLAS,
                                                                                                                                                   LLC, and FLORIDA FAMILY
                                                                                                                                                   PRIMARY CARE CENTERS OF TAMPA, LLC
                                                                                                                                                   (collectively, the “Company”), and BEATRIZ
                                                                                                                                                   URIBAZO, M.D.
    252        MB Medical Operations, LLC       Separation Agreement   Valdez, Yanelis                     6401 Golden Drive                       Employment Agreement                                  $0.00
    253        Florida Family Primary Care      Employment Agreement   Vejas, Eduardo                      7001 Interbay Blvd                      THIS FIRST AMENDMENT TO EMPLOYMENT                    $0.00
               Centers of Pinellas, LLC /                                                                                                          AGREEMENT by and
               Florida Family Primary Care                                                                                                         between FLORIDA FAMILY PRIMARY CARE
               Centers of Tampa, LLC                                                                                                               CENTERS OF PINELLAS, LLC, and
                                                                                                                                                                                                                         Page 315 of 565




                                                                                                                                                   FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                                                                                                                                   TAMPA, LLC (collectively, the
                                                                                                                                                   “Company”), and EDUARDO VEJAS CASTILLERO,
                                                                                                                                                   M.D.




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                               16 of 17                                                                                 CONFIDENTIAL
    254        Miami Medical & Wellness     Employment Agreement                   Verges Bonet, Enrique                5470 W 20th Ave                        EMPLOYMENT AGREEMENT                                      $0.00
               Center, LLC / Rodolfo                                                                                                                           BETWEEN MIAMI MEDICAL & WELLNESS CENTER/
               Dumenigo, M.D., P.A. (now                                                                                                                       Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                    Miami Beach Medical Centers, Inc.),
               Centers, Inc.)                                                                                                                                  d/b/a MIAMI BEACH MEDICAL GROUP/ a Florida
                                                                                                                                                               professional association AND ENRIQUE VERGES-
                                                                                                                                                               BONET, M-D.


    255        Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                 Vidal, Gretchen                      9020 NW 8 Street                       EMPLOYMENT AGREEMENT AND PROTOCOL                         $0.00
               (now known as Miami Beach                                                                                                                       BETWEEN Rodolfo Dumenigo, M.D., P.A. (now
               Medical Centers, Inc.)                                                                                                                          known as Miami Beach Medical Centers, Inc.), d/b/a
                                                                                                                                                               Miami Beach Medical Group and Gretchen Vidal,
                                                                                                                                                               MSN, FNP, RN-APRN
    256        MB Medical Operations, LLC     Parking Agreement                    Villaverde Properties                c/o Horizon Properties 18610 NW 87th Lease by and between Villaverde Properties and MB           $0.00
                                                                                                                        Avenue, Suite 204 Miami, FL 33015    Medical Operations, LLC


    257        MB Medical Operations, LLC     Technology                           Vonage Business Inc.                 23 Main St. Holmdel, NJ 07733          ADDENDUM TO VONAGE BUSINESS SERVICE                  $61,112.87
                                                                                                                                                               TERMS Sales Order # Q884954
    258        Miami Medical & Wellness     Employment Agreement                   Vydas, Hector                        6710 Hanley Rd Tampa, FL 33634         Employment Agreement by and between Hector                $0.00
               Center, LLC / Rodolfo                                                                                                                           Vydas, MD, and Miami Medical & Wellness Center /
                                                                                                                                                                                                                                         Case 24-20576-CLC




               Dumenigo, M.D., P.A. (now                                                                                                                       Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                    Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    259        MB Medical Operations, LLC     Other (including Clinical Specialists) Waste Management Inc. of Florida   8801 NW 91st Street Medley, FL 33178 Service Agreement between Rainbow Health Corp           $7,735.10
                                                                                                                                                             and Waste Management Inc. of Florida
    260        Miami Beach Medical            Payor contracts                      WellCare of Florida, Inc. and WellCare8735 Henderson Rd. Tampa, FL 33634    Participating Provider Agreement                          $0.00
                                                                                                                                                                                                                                         Doc 29




               Consultants, LLC                                                                                         Attn: Network Development
    261        Miami Medical & Wellness     Employment Agreement                   Welvaert, Cira                       2495 Southwest 21st Terrace            Employment Agreement by and between Cira                  $0.00
               Center, LLC / Rodolfo                                                                                                                           Welvaert, M.D. and Miami Medical Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                       / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                    Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    262        MB Medical Operations, LLC     Marketing                            WOW MKTG                             804 S. Douglas Road Executive Tower,   WOW MKTG CCMC SOW for marketing services             $35,000.00
                                                                                                                        5th Floor Coral Gables, FL 33134
    263        Rodolfo Dumenigo, M.D., P.A.   Professional Fees                    Whitney Actuarial Consulting, LLC    18805 Chaville Road, Lutz, FL 33558    Consulting Agreement by and between Whitney               $0.00
               (now known as Miami Beach                                                                                                                       Actuarial Consulting, LLC and Rodolfo Dumenigo,
                                                                                                                                                                                                                                         Filed 10/13/24




               Medical Centers, Inc.)                                                                                                                          M.D., P.A.
    264        Rodolfo Dumenigo, M.D., P.A.   Equipment and Financing              Qmeds, Inc.                          7 Great Valley Parkway, Suite 100,     Order Form for Clinical Care Medical Centers              $0.00
               (now known as Miami Beach                                                                                Malvern, PA 19355
               Medical Centers, Inc.)
    265        MB Medical Operations, LLC     Insurance                            IPFS Corporation                     401 E Jackson Street, Ste 1250, Tampa, Premium Financing Agreement                               $0.00
                                                                                                                        FL 33602
    266        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Rarfente, MD PA                    1461 SW 145 Ave, Miami, FL 33184       Independent Contractor Agreementby and between            $0.00
               (now known as Miami Beach                                                                                                                       Rodolfo Dumenigo, M.D., P.A. and Ramon
               Medical Centers, Inc.)                                                                                                                          Rodriguez, M.D.
                                                                                                                                                                                                                                         Page 316 of 565




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                            17 of 17                                                                                    CONFIDENTIAL
            Case 24-20576-CLC   Doc 29     Filed 10/13/24   Page 317 of 565




                                  Schedule 2.6(a)(ii)
                                Governmental Consents
None.




615823381
            Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 318 of 565




                                Schedule 2.6(a)(iii)
                                Third Party Consents
None.




615823381
            Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 319 of 565




                                Schedule 2.6(a)(ix)
                     Employees Entering Employment Agreements




615823381
            Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 320 of 565




615823381
            Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 321 of 565




615823381
            Case 24-20576-CLC         Doc 29    Filed 10/13/24     Page 322 of 565




                                          Schedule 5.1
                                      Conduct of Business
Sellers shall use commercially reasonable efforts to comply with Section 5.1(a) and Section
5.1(b) subject to any limitations imposed upon the Sellers as a result of the Bankruptcy Cases.




615823381
            Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 323 of 565




                                         Schedule 8.1(f)
                                       Special Indemnities
1.




2. Any Losses or Liabilities related to or arising out of the Pre-Closing Restructuring.




615823381
            Case 24-20576-CLC   Doc 29    Filed 10/13/24    Page 324 of 565




                                Schedule 10.1(c)(vii)
                      Physicians and Advanced Practice Providers




615823381
                  Case 24-20576-CLC   Doc 29    Filed 10/13/24   Page 325 of 565



                                 DISCLOSURE SCHEDULES

                                          TO THE

                              ASSET PURCHASE AGREEMENT

                                      BY AND AMONG

                              MB MEDICAL OPERATIONS, LLC,

                              MB MEDICAL TRANSPORT, LLC,

                              CARE CENTER NETWORK, LLC,

                           CARE CENTER MEDICAL GROUP, LLC,

                             CLINICAL CARE PHARMACY, LLC,

                      FLORIDA FAMILY PRIMARY CARE CENTER, LLC,

                FLORIDA FAMILY PRIMARY CARE CENTERS OF ORLANDO, LLC,

                 FLORIDA FAMILY PRIMARY CARE CENTERS OF TAMPA, LLC,

                 FLORIDA FAMILY PRIMARY CARE CENTERS OF PASCO, LLC,

                FLORIDA FAMILY PRIMARY CARE CENTERS OF PINELLAS, LLC,

                             CCMC PHYSICIAN HOLDINGS, INC.,

                        MIAMI MEDICAL & WELLNESS CENTER LLC,

    MIAMI BEACH MEDICAL CENTERS, INC. F/K/A RODOLFO DUMENIGO, M.D., P.A.,

                        MIAMI BEACH MEDICAL CONSULTANTS, LLC,

              MB MEDICAL OPERATIONS, LLC, AS THE SELLERS’ REPRESENTATIVE

                                               AND

                      CONVIVA MEDICAL CENTER MANAGEMENT, LLC

                                       October 12, 2024




13230494-20
13230494-25
                Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 326 of 565


                                      DISCLOSURE SCHEDULES

         These disclosure schedules (these “Disclosure Schedules”) are made and given pursuant to the
Asset Purchase Agreement, dated as of October 12, 2024 (the “Agreement”), by and among MB Medical
Operations, LLC, a Delaware limited liability company (“MBMO”), MB Medical Transport, LLC, a
Delaware limited liability company (“MBMT”), Care Center Network, LLC, a Florida limited liability
company (“CCN”), Clinical Care Pharmacy, LLC, a Florida limited liability company (“CCP”), Care
Center Medical Group, LLC, a Florida limited liability company (“CCMG”), Florida Family Primary Care
Center, LLC, a Florida limited liability company (“FFPCC”), Florida Family Primary Care Centers of
Tampa, LLC, a Florida limited liability company (“FFPCCT”), Florida Family Primary Care Centers of
Pasco, LLC, a Florida limited liability company (“FFPCCP”), Florida Family Primary Care Centers of
Pinellas, LLC, a Florida limited liability company (“FFPCCPL”), Florida Family Primary Care Centers
of Orlando, LLC, a Florida limited liability company (“FFPCCO”), CCMC Physician Holdings, Inc., a
Florida corporation (“CCMC Holdings”), Miami Medical & Wellness Center LLC, a Florida limited
liability company (“MMWC”), Miami Beach Medical Centers, Inc., a Florida corporation f/k/a Rodolfo
Dumenigo, M.D., P.A., a Florida professional association (“RD”), Miami Beach Medical Consultants,
LLC d/b/a Clinical Care Medical Centers, a Florida limited liability company (“MBMC”, and collectively
with MBMO, MBMT, CCN, CCP, CCMG, FFPCC, FFCCT, FFPCCP, FFPCCPL, FFPCCO, CCMC
Holdings, MMWC, and RD, the “Sellers”, and each, a “Seller”), MB Medical Operations, LLC, a
Delaware limited liability company, as the representative of the Sellers (the “Sellers’ Representative”),
and Conviva Medical Center Management, LLC, a Delaware limited liability company (“Buyer”). Sellers,
Sellers’ Representative, and Buyer are hereinafter collectively referred to as the “Parties” and each,
individually, as a “Party.” Sellers, Sellers’ Representative, and Buyer are hereinafter collectively referred
to as the “Parties” and each, individually, as a “Party.” All capitalized terms used but not defined herein
shall have the meanings as defined in the Agreement, unless otherwise provided.

The section numbers below correspond to the section numbers of the representations and warranties in the
Agreement. These Disclosure Schedules set forth certain information called for by the Agreement and, as
the case may be, qualify the representations and warranties of Sellers contained in the Agreement. These
Disclosure Schedules are not intended to constitute, and shall not be construed as constituting,
representations, warranties, covenants or agreements of the Sellers. Inclusion of any item in these
Disclosure Schedules (a) shall not be deemed an admission in and of itself including, without limitation,
an admission of any liability, (b) does not represent a determination that such item is material or establish
a standard of materiality, or constitutes or would result in a material adverse effect with respect to the
Sellers pursuant to the criteria set forth in the Agreement,, and (2) does not represent a determination that
such item did not arise in the ordinary course of the Sellers’ business consistent with past practice, or that
disclosure of any such information is required under any Applicable Law or by any Governmental
Authority.

The Disclosure Schedules have been arranged for purposes of convenience in separately numbered
sections corresponding to the sections of the Agreement; however, disclosure of any item in any section
of these Disclosure Schedules shall be deemed disclosed with respect to any other section in the
Agreement only if the relevance of such disclosure to such other section(s) is apparent on its face,
including by way of a reference or cross-reference thereto. Any item of information, matter or document
disclosed or referenced in, or attached to, the Disclosure Schedules shall not (a) be deemed or interpreted
to expand the scope of the representations and warranties, obligations, covenants, conditions or
agreements contained in the Agreement, or (b) constitute, or be deemed to constitute, an admission to any
third party concerning such item or matter. Disclosure in these Disclosure Schedules of any allegations
with respect to any alleged failure to perform, or alleged breach or alleged default of, a contractual or

13230494-25
               Case 24-20576-CLC       Doc 29     Filed 10/13/24    Page 327 of 565


other duty or obligation is not an admission that such has in fact occurred. The attachments to these
Disclosure Schedules form an integral part of these Disclosure Schedules and are incorporated by
reference for all purposes as if set forth fully herein.




13230494-25
                Case 24-20576-CLC       Doc 29    Filed 10/13/24    Page 328 of 565



                                            Section 3.1(a)
                                               Sellers

         1. MB Medical Operations, LLC
         2. MB Medical Transport, LLC
         3. Care Center Network, LLC
         4. Care Center Medical Group, LLC
         5. Clinical Care Pharmacy, LLC
         6. Florida Family Primary Care Center, LLC
         7. Florida Family Primary Care Centers of Orlando, LLC
         8. Florida Family Primary Care Centers of Pasco, LLC
         9. Florida Family Primary Care Centers of Pinellas, LLC
         10. Florida Family Primary Care Centers of Tampa, LLC
         11. CCMC Physician Holdings, Inc.
         12. Miami Medical & Wellness Center LLC
         13. Miami Beach Medical Centers, Inc. f/k/a Rodolfo Dumenigo, M.D., P.A.
         14. Miami Beach Medical Consultants, LLC d/b/a Clinical Care Medical Centers




13230494-25
                    Case 24-20576-CLC        Doc 29     Filed 10/13/24      Page 329 of 565


                                                 Section 3.3
                                    No Violation; Consents and Approvals


         (a)        None.

         (b)        None.

         (c)

         Contracts which result in default upon a sale of all or substantially all of a Seller’s assets

               1.   Master Lease Agreement, dated February 8, 2021, by and between RD and CHG-Meridian
                   USA Corp. (the “RD CHG Master Lease Agreement”).
               2. Master Subscription Agreement No. 011989, dated December 4, 2019, by and between
                   Miami Beach Medical Group and Konica Minolta Payment Services (the “Miami Beach
                   Konica Master Subscription Agreement”).
               3. Lease Agreement, dated September 30, 2020, by and between MBMT and Bill Ussery
                   Motors of Cutler Bay, LLC (“Ussery Motors”), including the New Vehicle Retail Lease
                   Order, dated September 30, 2020 (VIN #W1Z4EGHY2LT023487) (the “VIN
                   #W1Z4EGHY2LT023487 Lease”).
               4. Lease Agreement, dated October 30, 2020, by and between MBMT and Ussery Motors,
                   including the New Vehicle Retail Lease Order, dated October 30, 2020 (VIN
                   #W1Z4EGHY6LT023220).
               5. Lease Agreement, dated December 24, 2020, by and between MBMT and Ussery Motors,
                   including New Vehicle Retail Lease Order, dated December 24, 2020 (VIN
                   #W1Z4EGHY5LT022818).
               6. Lease Agreement, dated December 24, 2020, by and between MBMT and Ussery Motors,
                   including New Vehicle Retail Lease Order, dated December 24, 2020 (VIN
                   #W1Z4EGHY1LT022816).
               7. Lease Agreement, dated December 24, 2020, by and between MBMT and Ussery Motors,
                   including New Vehicle Retail Lease Order, dated December 24, 2020 (VIN
                   #W1Z4EGHY6LT023816).
               8. Lease Agreement, dated July 13, 2021, by and between MBMT and Ussery Motors,
                   including Retail Lease Order, dated July 13, 2021 (VIN # W1Z4DGHY8MT060502).
               9. Lease Agreement, dated July 13, 2021, by and between MBMT and Ussery Motors,
                   including Retail Lease Order, dated July 13, 2021 (VIN #W1Z4DGHY6MT060529).
               10. Lease Agreement, dated July 13, 2021, by and between MBMT and Ussery Motors,
                   including Retail Lease Order, dated July 13, 2021 (VIN #W1Z4DGHY7MT060376).
               11. Lease Agreement, dated July 13, 2021, by and between MBMT and Ussery Motors,
                   including Retail Lease Order, dated July 13, 2021 (VIN #W1Z4DGHY8MT060872).
               12. Lease Agreement, dated July 13, 2021, by and between MBMT and Ussery Motors,
                   including Retail Lease Order, dated July 13, 2021 (VIN #W1Z4DGHY0MT049803).
               13. Lease Agreement, dated October 31, 2021, by and between MBMT and Ussery Motors,
                   including Retail Lease Order, dated October 31, 2021 (VIN #W1Z4EGHY8MT073683).
               14. Lease Agreement, dated October 31, 2021, by and between MBMT and Ussery Motors,
                   including Retail Lease Order, dated October 31, 2021 (VIN #W1Z4EGHYXMT074463).
               15. Lease Agreement, dated June 30, 2020, by and between MBMT and Ussery Motors,
                   including Retail Lease Order, dated June 30, 2020 (VIN #W1Z4EGHY7LT023470).

13230494-25
                  Case 24-20576-CLC         Doc 29    Filed 10/13/24     Page 330 of 565


              16. Lease Agreement, dated June 30, 2020, by and between MBMT and Ussery Motors,
                  including Retail Lease Order, dated June 30, 2020 (VIN #W1Z4EGHY0LT023326).
              17. Lease Agreement, dated June 30, 2020, by and between MBMT and Ussery Motors,
                  including Retail Lease Order, dated June 30, 2020 (VIN #W1Z4EGHY6LT023217.
              18. The Application for Provider Excess Loss Insurance, dated June 4, 2024, by and between
                  MBMO and United States Fire Insurance Company (the “MBMO United States Fire
                  Application”).
              19. Enterprise Order Form, dated April 23, 2022, by and between MBMT and Lyft Healthcare,
                  Inc., as amended by that certain Amendment No. 1 to the 4/29/2022 Enterprise Order Form,
                  dated August 1, 2022 (the “Lyft Enterprise Order”).
              20. Primary Care Agreement, dated March 1, 2008, by and between MBMC, as assignee of
                  Miami Beach Medical Group, LLC and CarePlus Health Plans, Inc. (“CarePlus”), as
                  amended by those certain amendments dated: (i) July 1, 2010, (ii) January 1, 2016, (iii)
                  January 1, 2018, (iv) October 1, 2018, (v) January 1, 2019, and (vi) January 1, 2021 (the
                  “MBMC CarePlus Primary Care Agreement”).
              21. Physician Group Medical Services Agreement, dated January 22, 2015, by and between
                  RD and Blue Cross and Blue Shield of Florida, Inc. (the “RD BCBS Group Services
                  Agreement”).
              22. Participation Agreement, effective June 25, 2021, by and between MBMC and Devoted
                  Health, Inc, as amended by that certain First Amendment to Participation Agreement,
                  effective January 1, 2023 the “MBMC Devoted Participation Agreement”).
              23. Management Services Agreement, dated December 6, 2016, by and between MBMO and
                  RD (the “MBMO RD Management Services Agreement”)
              24. Management Services Agreement, dated December 6, 2016, by and between MBMO and
                  MMWC (the “MBMO MMWC Management Services Agreement”).
              25. Management Services Agreement, dated December 6, 2016, by and between MBMO and
                  MBMC (the “MBMO MBMC Management Services Agreement”).
              26. Transport Services Agreement, dated February 1, 2017, by and among MBMT, MBMC,
                  and RD (the “MBMC RD Transport Services Agreement”).

Contracts requiring consent to or notice of assignment of the Contract:
           1. Landlord consent is required for assignment of the following Real Property Leases
               a. Palm River 7444 Lease
               b. Lakeland Lease
               c. Hanley Lease
               d. Flagler 101-107 Lease
               e. Flagler 201-207 Lease
               f. Flagler 110 Lease
               g. Hanley Therapy Lease
               h. Hanley Dental Lease
               i. Hudson Clinic Lease
               j. Temple Terrace Lease
               k. Hanley Access Lease
               l. Hanley Clinic Lease
               m. Miami Beach Lease
               n. Plant City Lease
               o. Miami Lakes 101 Lease
               p. Miami Lakes 231 Lease
               q. Pinellas Lease

13230494-25
                  Case 24-20576-CLC        Doc 29    Filed 10/13/24     Page 331 of 565


                 r. Palm River Access Lease
                 s. Homestead Lease
                 t. Hudson Lease
                 u. Plant City Access Lease
              2. Prior notice to the applicable landlord is required for assignment of the following Real
                 Property Leases:
                 a. Miami Lakes 200 Lease
                 b. Miami Lakes 200A Lease

Intellectual Property Contracts with rights of termination of Intellectual Property licenses upon bankruptcy
proceedings:

              1. Trip2 Software License Agreement, dated November 1, 2020, by and between Trip2, LLC
                 and MBMT (“Trip 2 Software License Agreement”)

(d) None.




13230494-25
               Case 24-20576-CLC         Doc 29   Filed 10/13/24    Page 332 of 565


                                           Section 3.4(a)
                                    Financial Statements; Records

See Attachment 3.4(a) attached hereto.




13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 333 of 565
                     Case 24-20576-CLC     Doc 29    Filed 10/13/24     Page 334 of 565




      (ii)      None.

      (iii)     None.

(g)

      (i)       None.

      (ii)      None.

(h)

             None.
(i)

      1. Medicare Advantage Network Risk Agreement, dated January 1, 2024, by and between MBMC
         and UnitedHealthcare Insurance Company, UnitedHealthcare of Florida, and its other affiliates, as
         amended by that certain Amendment to the Network Risk Agreement, dated June 1, 2024 (the
         “MBMC United Network Risk Agreement”).
      2. Medicaid Provider/Group Agreement, dated December 18, 2018, by and among MBMC as
         assignee of FFPCCT, Florida Family Primary Care Centers of Pinellas, LLC, and Florida Family
         Primary Care Centers of Pasco, LLC, and Coventry Health Care of Florida, Inc., and Aetna
         company, on behalf of itself and its affiliates, as amended by that certain 1st Amendment to the
         Aetna Provider Agreement, dated April 1, 2023 and as further amended by that certain Second
         Amendment to the Medicaid Provider/Group Agreement, dated January 1, 2024 (the “FFPCCT
         Aetna Group Agreement”).
      3. Provider Agreement, effective July 1, 2021, by and between MBMC and Aetna Network Services,
         LLC, as amended by that certain Amendment, effective January 1, 2023, as further amended by
         that certain Amendment, effective January 1, 2023, and as further amended by that certain
         Amendment, dated May 1, 2024 (the “MBMC Aetna Provider Agreement”).

(j)

             None.

(k)

      (i)       None.

      (ii)      None.

      (iii)     None.


13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 335 of 565
               Case 24-20576-CLC      Doc 29   Filed 10/13/24   Page 336 of 565



                                         Section 3.6
                                          Litigation

See Attachment 3.6 attached hereto.




13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 337 of 565
               April 26, 2022
               (collectively, “Palm
               River 7444 Lease”)
               - Lease dated
               September 28, 2018
               - First Amendment to          Horus
               Lease Agreement dated         International                                                  6/30/2024    Included in
                                                                                                                                          Commercia
  PALM         September 1, 2019             Corporation,      7452 E Palm                                  (Month-to-   Monthly Rent
                                                                               Tampa      FL   9/28/2018                                  l Property
  RIVER        - Second Amendment            LLC / Clinical    River Rd.                                    Month        for Palm River
                                                                                                                                          Lease
               to Lease Agreement            Care Medical                                                   Holdover)    7444 Lease
               dated April 26, 2022          Centers
               (collectively, “Palm
               River 7452 Lease”)
               -Lease dated August 16,
               2017
                                                                                                                                                       Case 24-20576-CLC




               - 1st Amendment dated
                                             LAKELAND
               November 2, 2017                                                                                                           Commercia
                                             INVESTMENT
  LAKELAND     -2nd Amendment dated                            2417 Hwy 98 N   Lakeland   FL   11/1/2017    7/31/2024    $14,838.00       l Property
                                             S LLC /
               October 17, 2019                                                                                                           Lease
                                             MBMO
                                                                                                                                                       Doc 29




               - 3rd Amendment dated
               July 7, 2021 (collectively,
               the “Lakeland Lease”)
               - Shopping Center
               Lease dated November
               20, 2017
               - Lease Addendum
                                             Aliva
                                                                                                                                                       Filed 10/13/24




               dated July 31, 2018
                                             Properties, Inc
               - Email renewing lease
                                             / Florida                                                                                    Commercia
  HANLEY       dated March 2, 2021                             6704 Hanley
                                             Family                            Tampa      FL   11/20/2017   7/31/2027    $2,187.00        l Property
  (Activity)   - Email renewing lease                          Rd.
                                             Primary Care                                                                                 Lease
               dated April 22, 2022
                                             Centers of
               - Lease Renewal
                                             Tampa, LLC
               Addendum 2024-2027
               executed July 30, 2024
               (collectively, “Hanley
                                                                                                                                                       Page 338 of 565




               Lease”)
               - Commercial Lease
                                             FERN STREET                                                                                  Commercia
  PALMETTO     Agreement dated April                           9855,9861,986   Palmetto
                                             PROPERTIES,                                  FL   4/1/2020     3/31/2025    $6,531.00        l Property
  BAY          1, 2020, and executed                           3 E Fern St.    Bay
                                             LLC / MBMO                                                                                   Lease
               on August 8, 2020



13230494-25
              - Attachment 1 to
              Assignment and
              Assumption of lease
              and consent dated
              September 9, 2020
              (collectively, “Palmetto
              Bay Lease”)
              - Lease Agreement
              commencing August 1,
              2020
                                         TOWER                                                                            Included in
              - Assignment and                                                                                                           Commercia
                                         SHOPPING          11200 West            Sweetwat                                Monthly Rent
  FLAGLER     Assumption of Lease                                         110               FL   8/1/2017    7/31/2025                   l Property
                                         PLAZA, INC. /     Flagler St.           er                                      for Flagler
              and Consent dated                                                                                                          Lease
                                         MBMO                                                                            201-207 Lease
              September 10, 2020
              (collectively, “Flagler
                                                                                                                                                      Case 24-20576-CLC




              110 Lease”)
              - Lease Agreement
              commencing March 1,
              2017
                                                                                                                                                      Doc 29




              - Assignment and
              Assumption of Lease        TOWER
                                                                                                                                         Commercia
              and Consent dated          SHOPPING          11200 West     201-   Sweetwat
  FLAGLER                                                                                   FL   3/1/2017    7/31/2025   $16,809.00      l Property
              September 10, 2020         PLAZA, INC /      Flagler St.    207    er
                                                                                                                                         Lease
              -Addendum to Lease         MBMO
              Agreement on March
              24, 2022 (collectively,
              “Flagler 201-207
                                                                                                                                                      Filed 10/13/24




              Lease”)
              - Lease Agreement
              commencing August 1,
              2020
                                         TOWER                                                                            Included in
              - Assignment and                                                                                                           Commercia
                                         SHOPPING          11200 West     101-   Sweetwat                                Monthly Rent
  FLAGLER     Assumption of Lease                                                           FL   8/1/2020    7/31/2025                   l Property
                                         PLAZA, INC. /     Flagler St.    107,   er                                      for Flagler
              and Consent dated                                                                                                          Lease
                                         MBMO                                                                            201-207 Lease
              September 10, 2020
                                                                                                                                                      Page 339 of 565




               (collectively, “Flagler
              101-107 Lease”)
              - Shopping Center          Aliva
                                                                                                                                         Commercia
  HANLEY      Lease dated August 13,     Properties, Inc   6710A Hanley
                                                                                 Tampa      FL   8/13/2020   7/31/2025   $3,989.00       l Property
  (Therapy)   2020 (“Hanley Therapy      / Florida         Rd.
                                                                                                                                         Lease
              Lease”)                    Family


13230494-25
                                               Primary Care
                                               Centers of
                                               Tampa, LLC
                   - Lease Agreement,
                   dated as of November
                   10, 2019
                   - Amendment,
                                               CCN Holding                                                                                             Commercia
    HIALEAH        Assignment and                                4980 W 10th
                                               of Hialeah,                               Hialeah      FL         9/10/2020   9/9/2025     $23,139.00   l Property
    WEST           Assumption of Lease                           Ave.
                                               LLC / MBMO                                                                                              Lease
                   and Consent, dated as
                   of September 10, 2020
                   (collectively, “Hialeah
                   West Lease”)
                   - Shopping Center           Aliva
                   Lease dated January 15,     Properties, Inc
                                                                                                                                                                    Case 24-20576-CLC




                   2021 (“Hanley Dental        / Florida                                                                                               Commercia
    HANLEY                                                       6710B Hanley
                   Lease”)                     Family                                    Tampa        FL         1/15/2021   7/31/2026    $2,101.00    l Property
    (Dental)                                                     Rd.
                                               Primary Care                                                                                            Lease
                                               Centers of
                                                                                                                                                                    Doc 29




                                               Tampa, LLC
                   -Lease Agreement
                   signed December 22,
                   2015                        Summit
                   -Assignment,                Medical, LLC /
    HUDSON                                                                                                                                             Commercia
                   Assumption and First        Florida Family    7455 -7463 SR-
    (Clinic,                                                                             Hudson       FL         1/22/2015   4/30/2026    $6,325.00    l Property
                   Amendment to Lease          Primary Care      52
    Therapy)                                                                                                                                           Lease
                   Agreement dated             Center of
                                                                                                                                                                    Filed 10/13/24




                   October 12, 2021            Pasco, LLC
                   (collectively, “Hudson
                   Clinic Lease”)
                   - Lease (effective
                   August 1, 2016)
                   - Assignment and
                                               9611 BIRD                                                                                               Commercia
                   Assumption of Lease                           9601 + 9611
    BIRD ROAD                                  ROAD LLC /                                Miami       FL          8/1/2016    11/30/2026   $20,435.09   l Property
                   (effective December 6,                        SW 40th St. 1
                                               MBMO                                                                                                    Lease
                                                                                                                                                                    Page 340 of 565




                   2016)
                   - First Amendment to
                   the Lease (effective June



1
    Lease includes Sellers’ expansion into adjacent building, which is located at 9601 SW 40th St., Miami, FL.

13230494-25
              1, 2017) (collectively,
              “Bird Road Lease”)

              - Lease dated April 16,   J.Aprile
              2014                      Properties,
  FOWLER/TE   - Amendment to Lease      LLC, D. Aprile                                                                             Commercia
                                                         11531 N 56th         Temple
  MPLE        Agreement dated July      Properties,                     103             FL   4/16/2014   7/31/2026    $8,187.00    l Property
                                                         St.                  Terrace
  TERRACE     15, 2021 (collectively,   LLC, R. Aprile                                                                             Lease
              “Temple Terrace           Properties,
              Lease”)                   LLC/ MBMO
              - Shopping Center
                                        Aliva                                                                                      Commercia
  HANLEY      Lease dated September                      6712A Hanley
                                        Properties,                           Tampa     FL   9/30/2021   7/31/2026    $1,951.00    l Property
  (Access)    30, 2021 (“Hanley                          Rd.
                                        Inc. / MBMO                                                                                Lease
              Access Lease”)
              - Shopping Center
                                                                                                                                                Case 24-20576-CLC




              Lease dated September     Aliva                                                                                      Commercia
  HANLEY                                                 6726 A & B
              30, 2021, executed        Properties,                           Tampa     FL   9/30/2021   7/31/2027    $8,774.00    l Property
  (Clinic)                                               Hanley Rd.
              October 4, 2021           Inc. / MBMO                                                                                Lease
              (“Hanley Clinic Lease”)
                                                                                                                                                Doc 29




              - Lease, dated ___2016
              (stated to be effective
              August 1, 2016 in the
              first amendment)
              - First Amendment of
              Lease, dated December
              6, 2016
              - Assignment and
                                                                                                                                                Filed 10/13/24




              Assumption of Lease
              Agreement, dated as of
                                        1200 ALTON                                                                                 Commercia
  MIAMI       March 8, 2017                              1200, 1214           Miami
                                        ROAD, LLC /                                     FL   12/1/2016   11/30/2026   $81,575.06   l Property
  BEACH       - Second Amendment                         Alton Rd.            Beach
                                        MBMO                                                                                       Lease
              of Lease, dated May 1,
              2017
              - [Third Amendment to
              Lease, dated December
                                                                                                                                                Page 341 of 565




              14, 2020]
              - Fourth Amendment to
              Lease dated April 1,
              2024
              (collectively, “Miami
              Beach Lease”)


13230494-25
              - Lease (effective
              December 6, 2016)
              - First Amendment to
                                                                          101,
              Lease (effective March
                                                                         102,
              1, 2017)
                                                                         103,
              - Second Amendment
                                                                         104,
              to Lease (effective April
                                                                         106,
              1, 2017)
                                                                         201,
              - Third Amendment to
                                                                         206,
              Lease (effective July 1,
                                                                         207,                                                          Commercia
  WESTCHES    2017)                       7500 SW 8ST   7500 SW 8th
                                                                         208,    Miami     FL   1/6/2016   12/5/2026    $82,217.39     l Property
  TER         - Fourth Amendment to       LLC / MBMO    St.
                                                                         303,                                                          Lease
              Lease (effective August
                                                                         304,
              1, 2017)
                                                                         306,
              - Fifth Amendment to
                                                                         307,
                                                                                                                                                    Case 24-20576-CLC




              Lease (effective October
                                                                         308,
              1, 2017)
                                                                         309,
              - [Sixth Amendment]
                                                                         PH1,
              - Seventh Amendment
                                                                         PH2
                                                                                                                                                    Doc 29




              to Lease dated April 1,
              2024 (collectively,
              “Westchester Lease”)
              - Lease (effective                                                                                        Included in
              August 1, 2020)                                                                                           Monthly Rent   Commercia
  WESTCHES                                7500 SW 8ST   7500 SW 8th
              (“Westchester (204)                                        204     Miami     FL   8/1/2020   12/5/2026    for            l Property
  TER                                     LLC / MBMO    St.
              Lease”)                                                                                                   Westchester    Lease
                                                                                                                        Lease
                                                                                                                                                    Filed 10/13/24




              -Lease dated January 1,
              2017
              -First Amendment
              dated April 1, 2017
              -Second Amendment
              dated August 1, 2017                                                                                                     Commercia
  HIALEAH                                 551 E 49 ST
              -Third Amendment                          551 E 49th St.   1-16    Hialeah   FL   1/1/2017   12/31/2026   $24,848.96     l Property
  EAST                                    LLC / MBMO
              dated October 1, 2017                                                                                                    Lease
                                                                                                                                                    Page 342 of 565




              -Fourth Amendment
              dated July 1, 2018
              -Exclusive Parking
              Agreement dated April
              1, 2019



13230494-25
               -Sixth Amendment
               dated April 1, 2024
               (collectively, “Hialeah
               East Lease”)
               - Lease, dated as of
               October 19, 2017
               - First Amendment to
                                            750 SOUTH
               Lease dated December                                                                                                            Commercia
  HOLLYWO                                   FEDERAL         750 S. Federal           Hollywoo
               14, 2020                                                                           FL   10/19/2017    10/18/2027   $23,711.45   l Property
  OD                                        HIGHWAY         Hwy.                     d
               - Second Amendment                                                                                                              Lease
                                            LLC / MBMO
               to Lease dated April 1,
               2024 (collectively,
               “Hollywood Lease”)
               - Lease (dated
                                            ATLANTIC
               December 4, 2017)                                             B190
                                                                                                                                                            Case 24-20576-CLC




                                            AVENUE                                                                                             Commercia
               - First Amendment to                         7291 W           -B210   Delray
  DELRAY                                    REALTY                                                FL   12/1/2017     11/30/2027   $18,052.00   l Property
               Lease (dated September                       Atlantic Ave.    -       Beach
                                            ASSOCIATES,                                                                                        Lease
               1, 2020) (the “Delray                                         B220
                                            L.L.C. / MBMO
               Lease”)
                                                                                                                                                            Doc 29




               - Lease dated June 16,       CITY
               2018                         PROPERTIES
  PLANT CITY   - Lease renewal email        CO. / Florida                                                                                      Commercia
                                                            1608 W Oak
  (Clinic,     dated April 19, 2023         Family                                   Plant City   FL   6/16/2018     6/30/2028    $2,047.00    l Property
                                                            Ave.
  Therapy)     (collectively, “Plant City   Primary Care                                                                                       Lease
               Lease”)                      Centers of
                                            Tampa
               - Office Lease, dated as
                                                                                                                                                            Filed 10/13/24




               of May 8, 2015
               - First Amendment to
               Lease, dated as of June
               16, 2020
               - Assignment and             Gardens
                                                            18590                                                                              Commercia
MIAMI          Consent Agreement,           Office                                   Miami
                                                            Northwest        101                  FL   5/8/2015     9/30/2028     $20,000.00   l Property
LAKES          dated September 9,           Complex, LLC                             Lakes
                                                            67th Ave.                                                                          Lease
               2020                         / MBMO
                                                                                                                                                            Page 343 of 565




               -Second Amendment to
               Lease dated May 22,
               2023 (collectively,
               “Miami Lakes 101
               Lease”)



13230494-25
              - Office Lease, dated as
              of December 22, 2017
              - First Amendment to
              Lease, dated as of
              February 1, 2018
              - Assignment and
              Consent Agreement,                                                                                Included in
                                         Gardens
              dated September 9,                        18590                                                   Monthly Rent   Commercia
MIAMI                                    Office                            Miami
              2020                                      Northwest   200            FL   1/22/2017   9/30/2028   for Miami      l Property
LAKES                                    Complex, LLC                      Lakes
              - Second Amendment                        67th Ave.                                               Lakes 101      Lease
                                         / MBMO
              to Lease, dated as of                                                                             Lease
              March 23, 2021
              - Third Amendment to
              Lease, dated May 22,
              2023 (collectively,
                                                                                                                                            Case 24-20576-CLC




              “Miami Lakes 200
              Lease”)
              - Office Lease, dated as
              of April 22, 2021
                                                                                                                                            Doc 29




              - First Amendment to
                                                                                                                Included in
              Lease, dated as of April   Gardens
                                                        18590                                                   Monthly Rent   Commercia
MIAMI         29, 2021                   Office                            Miami
                                                        Northwest   200A           FL   4/22/2021   9/30/2028   for Miami      l Property
LAKES         - Second Amendment         Complex, LLC                      Lakes
                                                        67th Ave.                                               Lakes 101      Lease
              to Lease dated May 22,     / MBMO
                                                                                                                Lease
              2023 (collectively,
              “Miami Lakes 200A
              Lease”)
                                                                                                                                            Filed 10/13/24




              - Office Lease, dated as
              of December 1, 2015
              - Renewal Notice,
              dated as of September
                                                                                                                Included in
              27, 2018                   Gardens
                                                        18590                                                   Monthly Rent   Commercia
MIAMI         - Assignment and           Office                            Miami
                                                        Northwest   231            FL   12/1/2015   9/30/2028   for Miami      l Property
LAKES         Consent Agreement,         Complex, LLC                      Lakes
                                                        67th Ave.                                               Lakes 101      Lease
                                         / MBMO
                                                                                                                                            Page 344 of 565




              dated September 9,                                                                                Lease
              2020
              - First Amendment to
              Lease, dated as of
              January 20, 2022



13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 345 of 565
              (“Palm River Access
              Lease”)

              - Lease, dated as of
              September 29, 2017, by
              and between Landlord
              and Tenant (Triple Net
              Lease)
                                                                            100,
              - First Amendment to        Miami Metro                       101,                                                           Commercia
NORTH         Lease, dated as of June                      12550 Biscayne          North
                                          Medical LLC /                     102,              FL   10/1/2017   10/31/2037   $49,519.32     l Property
MIAMI EAST    1, 2020, by and                              Blvd.                   Miami
                                          MBMO                              200,                                                           Lease
              between landlord and                                          201
              Tenant
              - Notice to Tenant
                                                                                                                                                        Case 24-20576-CLC




              dated October 16, 2023
              (collectively, “North
              Miami East Lease”)
              - Lease (effective March
                                                                                                                                                        Doc 29




              1, 2017)
              - First Amendment to
              the Lease (effective
              March 1, 2017)
                                          Miami Metro                                                                                      Commercia
              - Second Amendment                           351 NW Le        503,
LE JEUNE                                  Medical, LLC /                           Miami      FL   3/1/2017    5/31/2035    $28,824.23     l Property
              to the Lease (effective                      Jeune Rd.        504
                                          MBMO                                                                                             Lease
              June 1, 2020)
              - Notice to Tenant
                                                                                                                                                        Filed 10/13/24




              dated October 16, 2023
              (collectively, “Le Jeune
              (503-504) Lease”)
              - Lease (effective March
              15, 2017)
              - First Amendment to                                                                                          Included in
              the Lease (effective June   Miami Metro                                                                       Monthly Rent   Commercia
                                                           351 NW Le
LE JEUNE      1, 2020)                    Medical, LLC /                    315    Maimi      FL   3/15/2017   5/31/2035    for Le Juene   l Property
                                                           Jeune Rd.
                                                                                                                                                        Page 346 of 565




              - Notice to Tenant          MBMO                                                                              (503-504)      Lease
              dated October 16, 2023                                                                                        Lease
              (collectively, “Le Jeune
              (315) Lease”)
              -Lease dated March 9,       Miami Metro                                                                                      Commercia
                                                           151 NW 11th      E102   Homestea
HOMESTEAD     2017                        Medical LLC /                                       FL   3/9/2017    5/31/2035    $18,988.66     l Property
                                                           St.              W103   d
                                          MBMO                                                                                             Lease

13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 347 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 348 of 565
              x   Last Development or Next Steps: No new developments as of 6.04.2024; estimated settlement cost around $450,000.

    2. Plaintiff: UNIVERSITY COLLECTIONS, LLC
           x Entity Concerned: MB Medical Operations
           x Address of Leased Premises: 2701 University Drive Square Suite 100-150 Tampa, FL
           x Date: 5.21.2024
           x Claim Number / Type: Case No. 24-CA-004029 / Breach of Contract
           x Summary of the Issue / Matter: Dispute over terminated lease agreement.
           x Legal and/or Equitable Remedies Sought: Equitable Remedies: $135,000.00
           x Last Development or Next Steps: Case pending court filing; legal fees as of 7.02.24 = $5,126.

(vi) MBMO broke its lease agreement with 107th and 14th LLC for its Miami Corporate HQ location in June 2024, which has not been settled.
                                                                                                                                            Case 24-20576-CLC




MBMO vacated the building in June 2024 and the lease expires on May 31, 2035. MBMO expects the matter to be adjudicated in bankruptcy
court.
                                                                                                                                            Doc 29
                                                                                                                                            Filed 10/13/24
                                                                                                                                            Page 349 of 565




13230494-25
                Case 24-20576-CLC        Doc 29    Filed 10/13/24     Page 350 of 565


                                            Section 3.9(b)
                                               Permits

Health Care Provider Licenses:
    o Each Medical Doctor listed on Section 3.11(a) hereto has a Medical Doctor License issued to each
      such Medical Doctor by the State of Florida Department of Health Division of Medical Quality
      Assurance.

    o Each Physician Assistant listed on Section 3.11(a) hereto has a Physician Assistant License issued
      to each such Physician Assistant by the State of Florida Department of Health Division of Medical
      Quality Assurance.

    o Each Advanced Practice Medical Nurse listed on Section 11(a) hereto has an Advanced Practice
      Medical Nurse License issued to each such Advanced Practice Medical Nurse by the State of
      Florida Department of Health Division of Medical Quality Assurance.
Medicaid Enrollment Exemptions:
Pursuant to Florida Statute 400.9905(4)(q), entities that are Medicaid providers are exempt from the
requirement of needing a Health Care Clinic License. Each facility has a Medicaid provider number and,
as such, is exempt from the requirement of needing a Health Care Clinic License.
Certificate of Occupancy

    x    Certificate of Occupancy Parcel ID # 03 25 16 0000 00200 0014 issued by Pasco County Building
         Inspection Division on November 9, 2022 for the location at 7455 State Road 52.
    x    Certificate of Occupancy Parcel Number 494104590010 issued by the City of Tamarac on
         December 1, 2021, for the location at 7453 N University Drive.
    x    Certificate of Occupancy Building Permit Number BBC00-2019-00064 issued on December 21,
         2021 by the City of North Miami, for the location at 12625 W Dixie Highway.

Certificate of Use

    x    Certificate of Use No: 2022-CU-0134 dated December 8, 2021 issued by the City of Hollywood
         Planning and Urban Design Division, for the location at 750 S Federal Highway, Hollywood, FL
         33020
    x    Certificate of Use No. 25-4006-001-0896 dated November 29, 2022 by the City of Sweetwater
         Building Department, for the location at 11200 W Flagler, Suite 110.
    x    Certificate of Use No. 25-4006-001-0896 dated December 20, 2022 by the City of Sweetwater
         Building Department, for the location at 11200 W Flagler, Suite 101-107.
    x    Certificate of Use No. 25-4006-001-0896 dated December 20, 2022 by the City of Sweetwater
         Building Department, for the location at 11200 W Flagler, Suite 201-207.
    x    Permanent Certificate of Use Cert No: 2017049366 issued June 12, 2017 by Miami-Dade County
         Department of Regulatory and Economic Resources for the location located at 9601 SW 40th ST,
         Miami, FL 33165
    x    Certificate of Use Cert No. 22095786MU for the location at 701 NW 27 Ave.



13230494-25
                 Case 24-20576-CLC        Doc 29    Filed 10/13/24    Page 351 of 565


Biomedical Waste

    x    Biomedical Waste Generator Permit No: 50-XX-XXXXXXX issued January 12, 2024 located at 7291
         W Atlantic Ave #48, Delray Beach, FL 33446
    x    Biomedical Waste Permit # 13-XX-XXXXXXX for the location at 151 NW 11th ST, Suite E102,
         Homestead, FL 33030
    x    Biomedical Waste Generator Permit # 52-XX-XXXXXXX for the location at 6245 66th Street N,
         Pinellas Park, FL 33781.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 7500 SW 8th ST, Suite
         206, Miami, FL 33144.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 9863 E Fern Street,
         Palmetto Bay, FL 33157.
    x    Biomedical Waste Generator Permit #13-642771052 for the location at 9863 E Fern Street,
         Palmetto Bay, FL 33157
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 7500 SW 8th ST, Suite
         101, Miami, FL 33144.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 7500 SW 8th ST, Suite
         306, Miami, FL 33144.
    x    Biomedical Waste Generator Permit # 13-64-13111 for the location at 1200 Alton Road, Miami
         Beach, FL 33139.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 9611 Bird Road, Miami,
         FL 33165.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 551 East 49th Street 1-8,
         Hialeah, FL 33013.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 4980 West 10th Ave,
         Hialeah, FL 33012.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 151 NW 11th Street, Suite
         E102, Homestead, FL 33030.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 351 NW 42nd Avenue,
         Suite 315, Miami, FL 33126.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 351 NW 42nd Avenue,
         Suite 503, Miami, FL 33126.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 701 NW 27th Ave, Miami,
         FL 33125.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 18590 NW 67th Ave,
         Suite 101, Miami Lakes, FL 33015.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 12550 Biscayne Blvd,
         Suite 500, North Miami, FL 33181.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 11200 W. Flagler Street,
         Suite 101-107, Miami, FL 33174.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 351 NW 42nd Ave, Suite
         503, Miami, FL 33126.
    x    Biomedical Waste Generator Permit # 13-XX-XXXXXXX for the location at 351 NW 42nd Ave, Suite
         315, Miami, FL 33126
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 7500 SW 8th ST, Suite
         206, Miami, FL 33144
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 1200 Alton Road, Miami
         Beach, FL 33139-3810
13230494-25
                Case 24-20576-CLC        Doc 29    Filed 10/13/24    Page 352 of 565


    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 9601 SW 40 Street,
         Miami, FL 33165-4030
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 9863 E Fern Street
         Palmetto Bay, FL 33157-5413
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 9611 Bird Road, Miami,
         FL 33165
    x    Biomedical Waste Generator Permit #29-XX-XXXXXXX for the location at 11531 N. 56 Street, #103
         Temple Terrace, FL 33617
    x    Biomedical Waste Generator Permit #29-XX-XXXXXXX for the location at 6710 Hanley Road
         Tampa, FL 33634
    x    Biomedical Waste Generator Permit #29-XX-XXXXXXX for the location at 6704 Hanley Road
         Tampa, FL 33634
    x    Biomedical Waste Generator Permit #29-XX-XXXXXXX for the location at 6726 Hanley RD Tampa,
         FL 33634
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 551 East 49th Street,
         Hialeah, FL 33013-2720
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 4980 West 10th Ave
         Hialeah, FL 33012-3437
    x    Biomedical Waste Generator Permit #06-XX-XXXXXXX for the location at 750 S. Federal Hwy
         Hollywood, FL 33020-5424
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 151 NW 11th Street Suite
         E102 Homestead, FL 33030-4350
    x    Biomedical Waste Generator Permit #51-XX-XXXXXXX for the location at 7455 State Road 52,
         Hudson, FL 34667
    x    Biomedical Waste Generator Permit #51-XX-XXXXXXX for the location at 7463 State Road 52
         Hudson, FL 34667
    x    Biomedical Waste Generator Permit #53-XX-XXXXXXX) for the location at 2417 Hwy. 98 N
         Lakeland, FL 33805-2410
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 351 NW 42nd Avenue
         Suite 504, Miami, FL 33126-5690
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 701 NW 27th Ave, Miami,
         FL 33125-3012
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 18590 NW 67th Ave Suite
         101 Miami Lakes, FL 33015-3540
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 12550 Biscayne Blvd.
         Suite 100 North Miami, FL 33181-2536
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 12625 W. Dixie Hwy
         North Miami, FL 33161-4806
    x    Biomedical Waste Generator Permit #48-XX-XXXXXXX for the location at 1303 S. Semoran Blvd
         Orlando, FL 32807
    x    Biomedical Waste Generator Permit #48-XX-XXXXXXX for the location at 1303 S. Semoran Blvd
         Orlando, FL 32807
    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 9863 E Fern Street
         Palmetto Bay, FL 33157-5413
    x    Biomedical Waste Generator Permit #29-XX-XXXXXXX for the location at 7444 Palm River Road
         Tampa, FL 33619
    x    Biomedical Waste Generator Permit #29-XX-XXXXXXX for the location at 1608 W. Oak Avenue
         Plant City, FL 33563
13230494-25
                Case 24-20576-CLC        Doc 29    Filed 10/13/24   Page 353 of 565


    x    Biomedical Waste Generator Permit #13-XX-XXXXXXX for the location at 11200 W. Flagler Street
         Suite 101-107 Miami, FL 33174-1182
    x    Biomedical Waste Generator Permit #06-XX-XXXXXXX for the location at 7495 N University Drive
         Tamarac, FL 33321-2971
    x    Biomedical Waste Generator Permit #53-XX-XXXXXXX for the location at 205 1st Street South
         Winter Haven, FL 33880-3504

CLIA

    x    CLIA Omission Letter (File Number 26994862; Application Number 296312) issued September
         21, 2023 for the location at 7291 W Atlantic Ave #48, Delray Beach.
    x    CLIA Omission Letter (File Number 27000129; Application Number 296320) issued November
         17, 2023 for the location at 551 E 49th ST, 1st Floor, Hialeah, FL.
    x    Certificate of Waiver CLIA ID No. 10D2132861 issued to RD by the State of Florida Agency for
         Health Care Admin, Laboratory Licensing Unit, effective 6/29/2023-6/28/2025.
    x    Confirmation of Change for CLIA 10D1009031 (File Number 26974901) issued November 29,
         2023 for the location at 750 S Federal Highway, Hollywood, FL 33020.
    x    Certificate of Waiver CLIA ID No. 10D1017757 issued to RD by the State of Florida Agency for
         Health Care Admin, Laboratory Licensing Unit, effective 10/3/2023-10/2/2025.
    x    CLIA Omission Letter (File Number 26975702; Application Number 296327) issued November
         17, 2023 for the location at 151 NW 11th ST, Suite E102, Homestead, FL.
    x    Certificate of Waiver CLIA ID No. 10D2279780 issued to MBMC for the location at 7455 State
         Road 52, Hudson, FL 34667, effective 4/7/23-4/6/25.
    x    CLIA Omission Letter (File Number 27003055; Application Number 296323) issued November
         30, 2023 for the location at 2417 US Highway 98 N, Lakeland, FL.
    x    Confirmation of Change for CLIA 10D2138178 (File Number 27002891) issued January 11, 2024,
         for the location at 205 1st St South, Winter Haven, FL 33880.
    x    Confirmation of Change for CLIA 10D2076947 (File Number 26999910) issued October 31, 2022,
         for the location at 115 N 56th Street, Unit 103, Temple Terrace, FL 33617.
    x    Confirmation of Change for CLIA 10D2134032 (File Number 27002753) issued January 11, 2024,
         for the location at 7444 Palm River Road, Tampa, FL 33619.
    x    Certificate of Waiver CLIA ID Number 10D2134032 issued to RD for the location at 7444 Palm
         River Drive, Tampa, FL 33619, effective 7/25/2023-7/24/2025.
    x    CLIA Omission Letter (File Number 27002753; Application Number 296338) issued October 3,
         2023 for the location at 7444 Palm River Drive, Tampa, FL.
    x    CLIA Omission Letter (File Number 26999911; Application Number 296317) issued October 3,
         2023 for the location at 6726 Hanley Road, Tampa, FL.
    x    CLIA Omission Letter (File Number 27010972; Application Number 296319) issued October 3,
         2023 for the location at 6710 Hanley Road, Tampa, FL.
    x    Certificate of Waiver CLIA ID Number 10D2101998 issued to RD for the location at 11200 W
         Flagler Street, Suites 101-107, Miami, FL 33174, effective 9/15/2023-9/14/2025.
    x    CLIA Omission Letter (File Number 26996120; Application Number 296345) issued October 3,
         2023 for the location at 1608 W. Oak Ave, Plant City, FL.
    x    CLIA Omission Letter (File Number 26999830; Application Number 296342) issued October 3,
         2023 for the location at 6245 66th Street N, Pinellas Park, FL.
    x    Certificate of Waiver CLIA ID Number 10D2105555 issued to RD for the location at 9861 E Fern
         ST, Palmetto Bay, FL 33157, effective 11/30/2023-11/29/2025.

13230494-25
                 Case 24-20576-CLC        Doc 29     Filed 10/13/24    Page 354 of 565


    x    CLIA Omission Letter (File Number 27010022; Application Number 296337) issued September
         20, 2023 for the location at 1303 S Semoran Blvd, Orlando, FL.
    x    Certificate of Waiver CLIA ID Number 10D2101999 issued to RD for the location at 12615 W
         Dixie Highway, Miami, FL 33161, effective 9/15/2023-9/14/2025.
    x    Certificate of Waiver CLIA ID Number 10D2294703 issued to MBMC for the location at 12625
         W Dixie Highway, North Miami, FL 33161 effective 11/29/2023-11/28/2025.
    x    CLIA Closure Letter for CLIA ID Number 10D1060253 issued to CCMC for the location at 12550
         Biscayne Blvd, Suite 500, North Miami, FL 33181
    x    Certificate of Waiver CLIA ID Number 10D2132863 issued to RD for the location at 18590 NW
         67th Ave, Suite 101, Hialeah, FL 33015 effective 6/29/2023-6/28/2025.
    x    Certificate of Waiver CLIA ID Number 10D2105797 issued to RD for the location at 9611 Bird
         Road, Miami, FL 33165 effective 12/3/2023-12/2/2025.
    x    Certificate of Waiver CLIA ID Number 10D2132862 issued to RD for the location at 701 NW 27th
         Ave, Miami, FL 33125 effective 6/29/2023-6/28/2025.
    x    Confirmation of Change for CLIA 10D2129579 (File Number 27002578) issued May 25, 2023,
         for the location at 351 NW 42nd Ave, Suite 503, Miami, FL 33126.
    x    CLIA Certificate of Waiver (#10D0940831) for 1200 Alton Road Miami Beach, FL 33139-3810
    x    CLIA Certificate of Waiver (#10D2203096) for 7291 W Atlantic Ave #48 Delray Beach, FL
         33446-1305
    x    CLIA Certificate of Waiver (#10D2270425) for 6710 Hanley RD, Tampa, FL 33634
    x    CLIA Certificate of Waiver (#10D2076951) for 6726 Hanley RD, Tampa, FL 33634
    x    CLIA Certificate of Waiver (#10D2081807) for 551 East 49th Street, Hialeah, FL 33013-2720
    x    CLIA Certificate of Waiver (#10D2107151) for 7463 State Road 52, Hudson, FL 34667
    x    CLIA Certificate of Waiver (#10D2142551) for 2417 Hwy. 98 N Lakeland, FL 33805-2410
    x    CLIA Certificate of Waiver (#10D2187389) for 12550 Biscayne Blvd. Suite 100, North Miami,
         FL 33181-2536
    x    CLIA Certificate of Waiver (#10D2263482) for 1303 S. Semoran Blvd Orlando, FL 32807
    x    CLIA Certificate of Waiver (#10D2074912) for 6245 66 Street N. Pinellas Park, FL 33781
    x    CLIA Certificate of Waiver (#10D2151272) for 1608 W. Oak Avenue Plant City, FL 33563
    x    CLIA Certificate of Waiver (#10D2143570) for 7495 N University Drive Tamarac, FL 33321-
         2971

Health Care Clinic Establishment Permits

    x    Health Care Clinic Establishment Permit Number 6026959 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 7291 W. Atlantic Ave,
         Delray Beach, FL 33446
    x    Health Care Clinic Establishment Permit Number 6026985 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 4980 West 10th Avenue,
         Hialeah, FL 33012.
    x    Health Care Clinic Establishment Permit Number 6026968 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 750 S. Federal
         Highway, Hollywood, FL 33020.
    x    Health Care Clinic Establishment Permit Number 6026177 issued by the Florida Department of
         Business & Professional Regulation on July 16, 2023 for the location at 7455 State Road 52,
         Hudson, FL 34667


13230494-25
                 Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 355 of 565


    x    Health Care Clinic Establishment Permit Number 6026979 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 2417 US Highway 98
         N, Lakeland, FL 33805
    x    Health Care Clinic Establishment Permit Number 6026952 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 205 1st Street South,
         Winter Haven, FL 33880.
    x    Health Care Clinic Establishment Permit Number 6025976 issued by the Florida Department of
         Business & Professional Regulation on June 23, 2023 for the location at 11531 N. 56th Street, Suite
         103, Temple Terrace, FL 33617.
    x    Health Care Clinic Establishment Permit Number 6026945 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 7444 E. Palm River
         Road, Tampa, FL 33619.
    x    Health Care Clinic Establishment Permit Number 6025972 issued by the Florida Department of
         Business & Professional Regulation on June 23, 2023 for the location at 7444 E. Palm River Road,
         Tampa, FL 33619.
    x    Health Care Clinic Establishment Permit Number 6025974 issued by the Florida Department of
         Business & Professional Regulation on June 23, 2023 for the location at 6710 Hanley Rd, Tampa,
         FL 33634.
    x    Health Care Clinic Establishment Permit Number 6025975 issued by the Florida Department of
         Business & Professional Regulation on June 23, 2023 for the location at 6726 Hanley Rd, Tampa,
         FL 33634.
    x    Health Care Clinic Establishment Permit Number 6026986 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 7495 N. University
         Drive, Tamarac, FL 33321.
    x    Health Care Clinic Establishment Permit Number 6026954 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 11200 West Flagler
         Street, Suite 101, Miami, FL 33174.
    x    Health Care Clinic Establishment Permit Number 6025979 issued by the Florida Department of
         Business & Professional Regulation on June 23, 2023 for the location at 1608 W. Oak Ave, Plant
         City, FL 33563.
    x    Health Care Clinic Establishment Permit Number 6025973 issued by the Florida Department of
         Business & Professional Regulation on June 23, 2023 for the location at 6245 66th Street N,
         Pinellas Park, FL 33781.
    x    Health Care Clinic Establishment Permit Number 6025974 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 6245 66th Street N,
         Pinellas Park, FL 33781.
    x    Health Care Clinic Establishment Permit Number 6026984 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 9861 E Fern Street,
         Palmetto Bay, FL 33157.
    x    Health Care Clinic Establishment Permit Number 6026948 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 1303 South Semoran
         Blvd, Orlando, FL 32807.
    x    Health Care Clinic Establishment Permit Number 6017244 issued by the Florida Department of
         Business & Professional Regulation on April 11, 2023 for the location at 12625 W Dixie Highway
         Bldg B, North Miami, FL 33161.
    x    Health Care Clinic Establishment Permit Number 6017242 issued by the Florida Department of
         Business & Professional Regulation on April 24, 2023 for the location at 18590 NW 67th Ave,
         Suite 101, Miami Lakes, FL 33015.

13230494-25
                 Case 24-20576-CLC        Doc 29     Filed 10/13/24    Page 356 of 565


    x    Health Care Clinic Establishment Permit Number 6026961 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 1200 Alton Road,
         Miami, FL 33139.
    x    Health Care Clinic Establishment Permit Number 6026957 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 9611 Bird Road, Miami,
         FL 33165.
    x    Health Care Clinic Establishment Permit Number 6018977 issued by the Florida Department of
         Business & Professional Regulation on June 12, 2023 for the location at 7500 SW 8th Street,
         Miami, FL 33144.
    x    Health Care Clinic Establishment Permit Number 6026949 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 7500 SW 8th Street,
         Miami, FL 33144.
    x    Health Care Clinic Establishment Permit Number 6026987 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 701 NW 27th Ave,
         Miami, FL 33125.
    x    Health Care Clinic Establishment Permit Number 6026983 issued by the Florida Department of
         Business & Professional Regulation on October 4, 2023 for the location at 351 NW 42nd Avenue,
         Suite 503, Miami, FL 33125.
    x    Health Care Clinic Establishment Permit Number 6028792 issued by the Florida Department of
         Business & Professional Regulation to LHA Smiles Design, Inc. for the location at 6704 Hanley
         Road Tampa, FL 6028792
    x    Health Care Clinic Establishment Permit Number 6026989 issued by the Florida Department of
         Business & Professional Regulation to Miami Beach Medical Consultants, LLC DBA Clinical
         Care Medical Centers for the location at 6710 Hanley RD Tampa, FL 33634
    x    Health Care Clinic Establishment Permit Number 6026992 issued by the Florida Department of
         Business & Professional Regulation to Miami Beach Medical Consultants, LLC DBA Clinical
         Care Medical Centers for the location at 6726 Hanley RD Tampa, FL 33634
    x    Health Care Clinic Establishment Permit Number6026991 issued by the Florida Department of
         Business & Professional Regulation to Miami Beach Medical Consultants, LLC for the location at
         551 East 49th Street (Suite 500) Hialeah, FL 33013-2720
    x    Health Care Clinic Establishment Permit Number 6026946 issued by the Florida Department of
         Business & Professional Regulation to Miami Beach Medical Consultants LLC DBA Clinical Care
         Medical Centers for the location at 7463 State Road 52 Hudson, FL 34667
    x    Health Care Clinic Establishment Permit Number 6026945 issued by the Florida Department of
         Business & Professional Regulation to Clinical Care Medical Centers for the location at 7444 Palm
         River Road, Tampa, FL 33619
    x    Health Care Clinic Establishment Permit Number 6026971 issued by the Florida Department of
         Business & Professional Regulation to Miami Beach Medical Consultants, LLC DBA Clinical
         Care Medical Centers for the location at 151 NW 11th Street Suite E102, Homestead, FL 33030-
         4350
    x    Health Care Clinic Establishment Permit Number 6026969 issued by the Florida Department of
         Business & Professional Regulation to Miami Beach Medical Consultants, LLC for the location at
         North Miami East – 100, 12550 Biscayne Blvd. Suite 100, North Miami, FL 33181-2536
    x    Health Care Clinic Establishment Permit Number 6026978 issued by the Florida Department of
         Business & Professional Regulation to Miami Beach Medical Consultants, LLC, 18590 NW 67th
         Ave Suite 101, Miami Lakes, FL 33015-3540



13230494-25
                 Case 24-20576-CLC        Doc 29     Filed 10/13/24    Page 357 of 565


    x    Health Care Clinic Establishment Permit Number 6026947 issued by the Florida Department of
         Business & Professional Regulation to Miami Beach Medical Consultants, LLC, DBA Clinical
         Care Medical Centers, 12615 W. Dixie Hwy, North Miami, FL 33161-4806

Radiation

    x    Radiation Permit # 51089000 issued to RD by the Department of Health Bureau of Radiation
         Control, Radiation Machine Section, for the location at 205 1st Street South, Winter Haven, FL
         33880
    x    Radiation Machine Registration No. JR 48556000 issued to CCMC by the State of Florida
         Department of Health Bureau of Radiation Control for the location at 12550 Biscayne Blvd #100,
         Miami, FL 33181.
    x    Radiation Machine Registration No. JR 23008000 issued to CCMC by the State of Florida
         Department of Health Bureau of Radiation Control for the location at 1200 Alton Road, Miami
         Beach, FL 33139.
    x    Radiation Machine Registration No. JR 49719000 issued to CCMC by the State of Florida
         Department of Health Bureau of Radiation Control for the location at 9611 SW 40th Street, Miami,
         FL 33165.
    x    Radiation Machine Registration No. JR 02978000 issued to MMWC by the State of Florida
         Department of Health Bureau of Radiation Control for the location at 7500 SW 8th ST, Suite 103,
         Miami, FL 33144.
    x    Radiation Machine Registration No. JR 54974000 issued to CCMC by the State of Florida
         Department of Health Bureau of Radiation Control for the location at 701 NW 27th Ave, Miami,
         FL 33125.
    x    Radiation Machine Registration No. JR 48302000 issued to CCMC by the State of Florida
         Department of Health Bureau of Radiation Control for the location at 1400 NW 107th Ave, Suite
         500, Miami, FL 33126.
    x    Radiation Machine Registration No. JR- 51080000 for the location at 7291 W Atlantic Ave #48,
         Delray Beach, FL 33446-1305
    x    Radiation Machine Registration No. JR- 45718000 for the location at 4980 West 10th Ave,
         Hialeah, FL 33012-3437
    x    Radiation Machine Registration No. JR- 45716000 for the location at 4980 West 10th Ave,
         Hialeah, FL 33012-3437
    x    Radiation Machine Registration No. JR- 52634000 for the location at 4980 West 10th Ave, 2nd
         Floor, Hialeah, FL 33012-3437
    x    Radiation Machine Registration No. JR- 39600000 for the location at 750 S. Federal Hwy,
         Hollywood, FL 33020-5424
    x    Radiation Machine Registration No. JR- 48524000 for the location at 151 NW 11th Street, Suite
         E102, Homestead, FL 33030-4350
    x    Radiation Machine Registration No. JR- 51378000 for the location at 2417 Hwy. 98 N, Lakeland,
         FL 33805-2410
    x    Radiation Machine Registration No. JR-52234000 for the location at 11200 W. Flagler street, Suite
         201-207, Miami, FL 33174-1182

FIRE

    x    Fire Permit # 23126-02188 issued to CCMC for the location at 151 NW 11 ST, Suite 102,
         Homestead, FL 33030 by the Miami-Dade Fire Rescue Department

13230494-25
                 Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 358 of 565


    x    Fire Permit # 22126-00551 for the location at 12550 Biscayne Blvd, North Miami, FL 33181
         issued by the Miam-Dade Fire Inspection and Permitting System.
    x    Annual Operating Permit No. 21126-02417 issued to CCMC by the Miami-Dade Fire Rescue
         Department for the location at 18590 NW 67 Ave, Suite 101, Miami, FL 33015.
    x    Fire Permit # 17126-01655 for the location at 9601 SW 40th ST, Miami, FL 33165 issued by the
         Miam-Dade Fire Inspection and Permitting System.

Elevator

    x    Certificate of Operation Application for 551 East 49th Street, Hialeah, FL 33013

Defaults/Violations of any Permits due to the transaction:
    1. Alarm Registration with Miami-Dade County
          x Notification of a change of information is required within 10 days of the change.

    2. Florida Biomedical Waste Permit
           x A change in ownership or control requires the facility to submit a new application and
              permit fee.

    3. Florida Business Tax Registration
           x Change of ownership requires a new DR-1 application to the Florida Department of
              Revenue, because if the business is a corporation, limited liability company, or trust, the
              application requires disclosure of information for each director, officer, managing member,
              grantor, personal representative, or trustee of the business entity.

    4. CLIA Waivers
          x All labs are CLIA waived facilities. For waived facilities, written notification must be
            submitted on letterhead signed by the laboratory director and must include the laboratory
            name and address, CLIA number, name of the Laboratory Director, and the effective date
            of the requested change for the following changes:
                  o Status Changes to Certificate of Waiver
                  o Demographic Changes to a Certificate of Waiver
                  o Name of the Laboratory
                  o Address of the Laboratory (Physical Location)
                  o Mailing Address
                  o Telephone and Fax Numbers
                  o Change of Ownership and/or Tax ID (FEIN)

    5. Health Care Clinic Establishment Permit
          x Health Care Clinic Establishment Permits are issued by the Florida Department of Business
              and Professional Regulation. A change in ownership with an associated change in the
              overseeing physician or other critical information on the application would necessitate the
              filing of an application noting the change.

    6. Local Business Tax Registration

13230494-25
                  Case 24-20576-CLC          Doc 29     Filed 10/13/24      Page 359 of 565


              x   Each facility will be required to obtain a new local business tax registration since this deal
                  is structured as an asset sale.

    7. Radiation Machine Facility Registration
          x Notice of a change to any circumstances or conditions stated in an application for a
              Radiation Machine Facility Registration, including an application for which such a
              registration has been issued (e.g., change in name of facility, responsible physician, billing
              info, etc.), must be provided to the Department of Health Bureau of Radiation Control,
              Radiation Machine Section.




13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 360 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 361 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 362 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 363 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 364 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 365 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 366 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 367 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 368 of 565




                                                                         10.10.24
                                                                         Page 3
                                                                USA.615809655.2/MYQ
                                                                Aetna MCR
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 369 of 565




                                                                         10.10.24
                                                                         Page 4
                                                                USA.615809655.2/MYQ
                                                                Aetna MCR
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 370 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 371 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 372 of 565




                                                                         10.10.24
                                                                         Page 7
                                                                USA.615809655.2/MYQ
                                                                CarePlus
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 373 of 565




                                                                         10.10.24
                                                                         Page 8
                                                                USA.615809655.2/MYQ
                                                                CarePlus
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 374 of 565




                                                                         10.10.24
                                                                         Page 9
                                                                USA.615809655.2/MYQ
                                                                CarePlus
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 375 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 376 of 565




                                                                         10.10.24
                                                                         Page 11
                                                                   .615809655.2/MYQ
                                                                Doctors Health
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 377 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 378 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 379 of 565




                                                                         10.10.24
                                                                         Page 14
                                                                USA.615809655.2/MYQ
                                                                HealthSun
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 380 of 565




                                                                         10.10.24
                                                                         Page 15
                                                                USA.615809655.2/MYQ
                                                                HealthSun
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 381 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 382 of 565




                                                                         10.10.24
                                                                         Page 17
                                                                USA.615809655.2/MYQ
                                                                Humana
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 383 of 565




                                                                         10.10.24
                                                                         Page 18
                                                                USA.615809655.2/MYQ
                                                                Humana
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 384 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 385 of 565




                                                                         10.10.24
                                                                         Page 20
                                                                USA.615809655.2/MYQ
                                                                Molina
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 386 of 565




                                                                         10.10.24
                                                                         Page 21
                                                                USA.615809655.2/MYQ
                                                                Molina
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 387 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 388 of 565




                                                                         10.10.24
                                                                         Page 23
                                                                USA.615809655.2/MYQ
                                                                PCP-PCN
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 389 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 390 of 565




                                                                         10.10.24
                                                                         Page 25
                                                                USA.615809655.2/MYQ
                                                                Simply
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 391 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 392 of 565




                                                                         10.10.24
                                                                         Page 27
                                                                USA.615809655.2/MYQ
                                                                Solis
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 393 of 565




                                                                                  10.10.24
                                                                                  Page 28
                                                                615809655.2/MYQ
                                                                                  Solis
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 394 of 565




                                                                                  10.10.24
                                                                                  Page 29
                                                                615809655.2/MYQ
                                                                                  Solis
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 395 of 565




                                                                         10.10.24
                                                                         Page 30
                                                                USA.615809655.2/MYQ
                                                                Solis
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 396 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 397 of 565




                                                                         10.10.24
                                                                         Page 32
                                                                USA.615809655.2/MYQ
                                                                Sunshine
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 398 of 565




                                                                         10.10.24
                                                                         Page 33
                                                                    615809655.2/MYQ
                                                                Sunshine
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 399 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 400 of 565




                                                                         10.10.24
                                                                         Page 35
                                                                USA.615809655.2/MYQ
                                                                UHC
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 401 of 565




                                                                         10.10.24
                                                                         Page 36
                                                                USA.615809655.2/MYQ
                                                                UHC
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 402 of 565
                Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 403 of 565


                                            Section 3.10(d)
                                          Health Care Licenses

Reference is hereby made to Section 3.9(b) as if fully stated herein.




13230494-25
                Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 404 of 565


                                             Section 3.10(f)
                                        Health Care Investigations

Reference is hereby made to Section 3.10(a) as if fully stated herein.




13230494-25
                Case 24-20576-CLC         Doc 29     Filed 10/13/24      Page 405 of 565


                                             Section 3.10(g)
                                           Health Care Actions

Reference is hereby made to Section 3.10(a) as if fully stated herein.




13230494-25
                Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 406 of 565


                                              Section 3.10(i)
                                                 Permits

Reference is hereby made to Section 3.9(b) as if fully stated herein.




13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 407 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 408 of 565
               Case 24-20576-CLC          Doc 29   Filed 10/13/24   Page 409 of 565


                                            Section 3.11(a)
                                           Employee Census

See Attachment 3.11(a) attached hereto.




13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 410 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 411 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 412 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 413 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 414 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 415 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 416 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 417 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 418 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 419 of 565
                        Case 24-20576-CLC            Doc 29    Filed 10/13/24      Page 420 of 565


                                                                    Aggregate: $10,781,355

                                                                    Sub-Limits
                                                                    Business Interruption: $4,300,000
                                                                    Civil or Military Authority: $1,000,000

                                                                    Terrorism and Sabotage Liability
                                                                    Each Claim $1,000,000
                                                                    Aggregate: $2,000,000

                                                                    Active Shooter and Malicious Attack
                                                                    Per Occurrence: $1,000,000
                                                                    Aggregate: $1,000,000
                                                                    Cyber
                                                                    Limit of Liability: $5,000,000
Crum & Forster
Specialty Insurance    Cyber                      CYB107004         Sub-Limits
Co                                                                  Ecrime Loss Sublimit of Liability: $100,000
                                                                    Depemdent Business Sublimit of Libility: $500,000
                                                                    Ransomeware/Malware Sublimit of Liability: $100,000
                                                                    Flood - (1200 Alton Road)
Hartford Insurance
                       Flood Insurance            6500428227        Building: $0
Co. of the Midwest
                                                                    Contents: $500,000
                                                                     Workers Compensation: Statutory

Charter Oak Fire                                                    Employers' Liability
                       Workers Compensation       UB9T6389042443V
Insurance Company                                                   Each Accident: $1,000,000
                                                                    Disease per Employee: $1,000,000
                                                                    Disease Policy Limit: $1,000,000
                                                                    ERP (6-Year for D&O/EPL/FID)
                                                                    Aggregate Limit: $3,000,000
                                                                    Continuity Date: 12/07/2016

                                                                    Employment Practices (Shared with DO & FID)
Markel American Ins.   ERP, Employment
                                                  MKLM2MML000350    Aggregate Limit: $3,000,000
Co.                    Practices, and Fiduciary
                                                                    Continuity Date: 12/07/2016

                                                                    Fiduciary (Shared with DO & EPLI)
                                                                    Aggregate Limit: $1,000,000
                                                                    Continuity Date: 12/07/2016
                                                                    ERP Run-Off (FFPCC)
Scottsdale Indemnity   Employment Practices
                                                  EKI3381688        Aggregate Limit: $1,000,000
Co.                    (FFPCC)
                                                                    Continuity Date: 6/1/2021
Chubb (Federal
Insurance)             Executive Risk             8264-3623          $5,000,000
Chubb (Federal
Insurance)             Crime                      8248-0958          $10,000,000
Chubb (Federal
Insurance)             Kidnap & Ransom            8248-0963          $10,000,000
RSUI (Landmark
American Insurance)    Special Committee Policy   LHP707478          $5,000,000
                                                                    Each member has an individual limit of $2 million per policy
                                                                    period above the applicable deductible subject to the 90%
                       Provider Excess Loss                         coinsurance clause. In the event that a member exhausts his
United States Fire     Schedule of Insurance                        or her limit, their coverage ceases, but all other members still
Insurance Company      (Stop Loss)                US2090467         have $2 million each.

     13230494-25
                        Case 24-20576-CLC       Doc 29    Filed 10/13/24       Page 421 of 565


Endurance American
Speciality Insurance
Company (Sompo         Fourth Director and
International)         Officer Policy        ADL30067232600    Full limit of $5 million is still available.




     13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 422 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 423 of 565
                    Case 24-20576-CLC          Doc 29    Filed 10/13/24    Page 424 of 565


                                                 Section 3.16(a)
                                                Material Contracts

         (i)
                   (A)
                         1. The Membership Interest Purchase Agreement, dated April 26, 2021, by and among
                            MBMO, Florida Family Primary Care Center, LLC, Octavio A. Bravo, James
                            Eaton, Maria Isabel Gonzalez, Luis G. Venerio Salazar, as amended by that certain
                            First Amendment to Membership Interest Purchase Agreement, dated May 25,
                            2021 (the “FFPCC Purchase Agreement”).

                   (B)      None.

         (ii)
                1. Schedule 3.16(a)(xix) is hereby incorporated herein by reference.

                2. Independent Contractor Agreement dated October 10, 2022, by and between RD d/b/a
                Clinical Care Medical Centers and JMO Group, LLC.

                3. Independent Contractor Agreement effective as of August 1, 2021, by and between RD and
                Rarfente, M.D., PA.

                4. Professional Services Agreement dated January 16, 2023, by and between Clinical Care
                Medical Centers and Mobile Vision Doctors, LLC.

                5. Separation Agreement by and between MBMG Holding, LLC, MBMG Ultimate Holding,
                L.P., Suarez Professional Services Corp., and Jose David Suarez, M.D.

                6. Agreement by and between MBMG Holding, LLC and former CFO Michael Sama for a
                one-time severance payment of $300,000.

                7. Letter of Agreement for Radiology Services dated July 6, 2022 by and between Clinical
                Care/RD and Life Radiology.

                8. Independent Contractor Agreement, dated November 14, 2022, by and between RD d/b/a
                Clinical Care Medical Centers and MARPER, PLLC.

         (iii)

                None.

         (iv)

                   1. Schedule 3.16(a)(xix) is hereby incorporated herein by reference.

         (v)
                None.

         (vi)

13230494-25
                 Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 425 of 565


                    1. See Attachment 3.16(a)(vi) attached hereto.

         (vii)
                 Primary Care Contracts

                    1. Medicare Advantage Network Risk Agreement, dated February 1, 2019, by and
                        between FFPCCT, FFPCCPL, and FFPCCP, and UnitedHealthcare of Florida, Inc.
                        (the “FFPCC United Network Risk Agreement”).
                    2. Network Provider Agreement, undated, by and between FFPCCT and Simply
                        Healthcare Plans, Inc. (the “FFPCCT Simply Network Provider Agreement”).
                    3. Primary Care Provider Agreement, effective July 1, 2018, by and between MBMC
                        as assignee of CCNI and MMM of Florida, Inc. f/k/a Health Advantage Florida,
                        Inc. (the “MMM Provider Agreement”).
                    4. Specialist Physician Participation Agreement, dated October 28, 2005, by and
                        among Rodolfo Dumenigo, M.D. (“Dr. Dumenigo”), Humana Medical Plan, Inc.,
                        PCA Health Plans of Florida, Inc., PCA Family Health Plan, Inc., Humana Health
                        Insurance Company of Florida, Inc., Humana Insurance Company, Employers
                        Health Insurance Company, and PCA Life Insurance Company, as amended by that
                        certain Amendment to Speciality Physician Agreement, dated October 28, 2005
                        (the “Dumenigo Humana Specialist Participation Agreement”).
                    5. Physician Participation Agreement, dated July 1, 2010, by and among Dr.
                        Dumenigo Humana Insurance Company, Humana Health Insurance Company of
                        Florida, Inc., and Humana Medical Plan, Inc. (the “Dumenigo Humana Physician
                        Participation Agreement”).
                    6. Physician Participation Agreement, dated February 1, 2011, by and among MBMC
                        as assignee of RD, Humana Insurance Company, Humana Health Insurance of
                        Florida, Inc., and Humana Medical Plan, Inc., as amended by that certain
                        Amendment to the Physician Participation Agreement, dated March 1, 2021 (the
                        “MBMC Humana Physician Participation Agreement”).
                    7. Physician Participation Agreement, dated on or around May 21, 2010, by and
                        among RD d/b/a Miami Beach Medical Group, Humana Insurance Company,
                        Humana Health Insurance Company of Florida, Inc., Humana Medical Plan, Inc.,
                        and their affiliates that underwrite or administer health plans (the “Miami Beach
                        Medical Group Humana Physician Participation Agreement”).
                    8. Independent Practice Association Agreement, effective November 1, 2020, by and
                        among RD, Humana Insurance Company, Humana Health Insurance Company of
                        Florida, Inc., Humana Medical Plan, Inc., and their affiliates who underwrite their
                        plans (the “RD Humana Independent Practice Association Agreement”).
                    9. Network Provider Agreement, undated, by and between MBMC and Solis Health
                        Plans, Inc. (“Solis”), as amended by that certain 1st Amendment to the 5/22/19
                        Participating Provider Agreement, dated February 1, 2023, as further amended by
                        that certain 2nd Amendment to the 1/1/19 Participating Provider Agreement, dated
                        June 1, 2020, as further amended by that certain 4th Amendment to the 1/1/19
                        Participating Provider Agreement, dated September 1, 2021, and as further
                        amended by that certain 1st Amendment to the 5/22/19 Participating Provider
                        Agreement, dated February 1, 2023 (the “MBMC Solis Network Provider
                        Agreement”).
                    10. Network Provider Agreement, undated, by and between FFPCCT and Solis (the
                        “Miami Beach Medical Group Solis Network Provider Agreement”).

13230494-25
              Case 24-20576-CLC       Doc 29    Filed 10/13/24    Page 426 of 565


                11. Network Provider Agreement, dated October 1, 2014, by and between CCN and
                    Solis, as amended by that certain 1st Amendment to Network Provider Agreement,
                    dated January 30, 2019 (the “CCN Solis Network Provider Agreement”).
                12. Medical Group Contract, undated, by and between Dr. Dumenigo and
                    UnitedHealthcare Insurance Company on behalf of itself, UnitedHealthcare of
                    Florida, Inc., and its other affiliates.
                13. Medical Group Contract, dated September 28, 2023, by and between MBMC and
                    UnitedHealthcare Insurance Company, UnitedHealthcare of Florida, Inc. and its
                    other affiliates.
                14. Network Risk Agreement, dated November 1, 2018, by and among FFPCCT,
                    FFPCCPL, and FFPCCP, and UnitedHealthcare of Florida, Inc., as amended by that
                    certain Amendment to the Network Risk Agreement, dated January 1, 2020, as
                    further amended by that certain Amendment to the Network Risk Agreement, dated
                    January 1, 2022, and as further amended by that certain Amendment to the Network
                    Risk Agreement, dated December 1, 2023 (the “FFPCCT United Network Risk
                    Agreement”).
                15. Medicare Advantage Network Risk Agreement, dated February 1, 2019, by and
                    among FFPCCT, FFPCCPL, FFPCCP and United Healthcare of Florida, Inc. (the
                    “FFPCC United MA Network Risk Agreement”).
                16. Medical Group Participation Agreement, effective September 1, 2020, by and
                    between FFPCCP and United Healthcare Insurance Company and its affiliates (the
                    “FFPCCP United Participation Agreement”).
                17. Medical Group Participation Agreement, effective September 1, 2020, by and
                    between FFPCCPL and United Healthcare Insurance Company and its affiliates
                    (the “FFPCCPL United Participation Agreement”).
                18. Medical Group Participation Agreement, effective September 1, 2020, by and
                    between FFPCC and United Healthcare Insurance Company and its affiliates (the
                    “FFPCC United Participation Agreement”)..
                19. The MBMC United Network Risk Agreement.
                20. Primary Care Provider Agreement, effective August 1, 2015, by and between
                    MBMC and Simply Healthcare Plans, Inc., as amended by that certain Amendment
                    to Provider Agreement, dated January 1, 2018, as further amended by that certain
                    Amendment to Provider Agreement, dated on or around December 19, 2018, as
                    further amended by that certain Amendment to Provider Agreement, dated January
                    10, 2019, as further amended by that certain Amendment to Provider Agreement,
                    dated July 5, 2019, as further amended by that certain Amendment to Provider
                    Agreement., dated June 10, 2020, as further amended by that certain Seventh
                    Amendment to Provider Agreement, dated June 18, 2020, and as further amended
                    by that certain Eighth Amendment to Provider Agreement, effective January 1,
                    2023 (the “MBMC Simply Provider Agreement”).
                21. Network Provider Agreement, undated, by and between FFPCCT and Simply
                    Healthcare Plans, Inc. (the “FFPCCT Simply Provider Agreement”)
                22. Participating Provider Agreement, undated, by and among MBMC, WellCare of
                    Florida, Inc. and WellCare Health Insurance of Arizona, Inc. (the “MBMC
                    WellCare Provider Agreement”).
                23. Medicare Advantage Network Risk Agreement, dated August 1, 2015, by and
                    MBMC and Medica Healthcare Plans, Inc. (“Medica”) (the “MBMC Medica
                    Network Risk Agreement”).


13230494-25
              Case 24-20576-CLC       Doc 29     Filed 10/13/24    Page 427 of 565


                24. Medicare Advantage Network Risk Agreement, dated August 1, 2018, by and
                    between CCN and Medica, as amended by that certain Amendment to Medicare
                    Advantage Network Risk Agreement, dated January 1, 2020, including that Offset
                    Agreement, dated August 1, 2018, by and among Medica and CCN and that Offset
                    Agreement, dated August 1, 2018, by and between Medica and CCN (the “CCN
                    Medica Network Risk Agreement”).
                25. Group Services Agreement, dated on or around October 9, 2020, by and between
                    MBMC and Molina Healthcare of Florida, Inc., as amended by that certain Second
                    Amendment to the Provider Services Agreement, dated September 1, 2023 (the
                    “MBMC Molina Group Services Agreement”).
                26. Medicare Advantage Network Risk Agreement, dated September 1, 2015, by and
                    between MBMC and Preferred Care Partners, Inc. (“Preferred”), as amended by
                    that certain Amendment to Medicare Advantage Network Risk Agreement, dated
                    July 1, 2019 (the “MBMC Preferred Network Risk Agreement”).
                27. Medicare Advantage Network Risk Agreement, dated August 1, 2018, by and
                    between CCN and Preferred, as amended by that certain Amendment to Network
                    Risk Agreement, dated January 1, 2020 (the “CCN Preferred Network Risk
                    Agreement”).
                28. Participating Provider Agreement, undated, by and between RD and Preferred (the
                    “RD Preferred Provider Agreement”).
                29. Group Agreement, dated August 21, 2014, by and between FFPCCT and Sunshine
                    State Health Plan, Inc., as amended by that certain Provider Agreement
                    Amendment, effective January 1, 2014, as further amended by that certain
                    Amendment Number Two, dated May 1, 2015, as further amended by that certain
                    Amendment to the Provider Agreement, effective January 21, 2016, as further
                    amended by that certain Amendment to Group Agreement, dated January 1, 2020,
                    as further amended by that certain Amendment to Participating Provider
                    Agreement, effective January 1, 2020, as further amended by that certain
                    Amendment to Participating Provider Agreement, dated January 1, 2021, and as
                    further amended by that certain Amendment to Participating Provider Agreement,
                    effective January 1, 2022 (the “FFPCCT Sunshine Group Agreement”).
                30. The FFPCCT Aetna Group Agreement.
                31. The MBMC Aetna Provider Agreement.
                32. Provider Agreement, effective June 1, 2017, by and between MBMC and Aetna
                    Network Services, LLC (the “2017 MBMC Aetna Provider Agreement”).
                33. Physician Group Agreement, dated October 7, 2009, by and between RD and Aetna
                    Health Inc. (the “RD Aetna Physician Group Agreement”).
                34. Network Agreement, dated May 1, 2009, by and between CCN and CarePlus, as
                    amended by those certain amendments dated: (i) May 1, 2015, (i) September 1,
                    2016, (ii) September 1, 2017, (iii) January 1, 2018, (iv) January 1, 2019, and (v)
                    September 1, 2021 (the “CCN CarePlus Network Agreement”).
                35. Network Agreement, dated February 1, 2018, by and between CCMG and CarePlus
                    Health Plans, Inc.
                36. The MBMC CarePlus Primary Care Agreement.
                37. Network Agreement, dated March 1, 2014, by and between MMWC and CarePlus,
                    as amended by those certain amendments dated: (i) March 1, 2014, (ii) January 1,
                    2016, (iii) January 1, 2017, and (iv) April 1, 2020 (the “MMWC CarePlus
                    Network Agreement”).


13230494-25
              Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 428 of 565


                 38. Network Participation Agreement, effective September 1, 2021, by and between
                     MBMC and Bright Health Management Inc., as amended by that certain
                     Amendment No. 1 to Network Participation Agreement, effective January 1, 2022.
                 39. The RD BCBS Group Services Agreement.
                 40. Provider Group Services Agreement, dated September 24, 2013, by and between
                     RD and Cigna HealthCare of Florida, Inc.
                 41. Primary Care Provider Services Agreement, dated June 1, 2009, by and among and
                     RD, Vista Healthplan, Inc., Vista Healthplan of South Florida, Vista Insurance Plan
                     (the “RD Vista Primary Care Provider Services Agreement”).
                 42. The MBMC Devoted Participation Agreement.
                 43. Physician Group Medical Services Agreement, dated January 22, 2015, by and
                     between RD and Health Options, Inc. (the “RD Health Options Physician Group
                     Medical Services Agreement”).
                 44. Primary Care Physician Network Agreement, dated August 1, 2016, by and
                     between MBMC and HealthSun Physicians Network I, LLC, as amended by that
                     certain Amendment to Agreement, dated December 15, 2015, and as further
                     amended by that certain Amendment to Primary Care Physician Network
                     Agreement, effective Aril 1, 2022 (the “MBMC HealthSun Primary Care
                     Physician Network Agreement”).
                 45. Primary Care Provider Agreement, dated September 1, 2023, by and between
                     MBMC and Doctors HealthCare Plans, Inc.
                 46. Group Participation Agreement, dated June 1, 2023, by and between MBMC and
                     Health, Inc. (the “MBMC Freedom Group Participation Agreement”).
                 47. Group Participation Agreement, dated June 1, 2023, by and between MBMC and
                     Optimum Healthcare, Inc. (the “MBMC Optimum Group Participation
                     Agreement”).
                 48. Alivi Chiro Network Provider Agreement, dated March 22, 2024, by and between
                     MBMC and Quality Managed Health Care, Inc., d/b/a Ailivi Chiro Network
                     (“Alivi”) (the “MBMC Alivi Network Provider Agreement”).
                 49. Network Provider Agreement, dated September 22, 2023, by and between MBMC
                     and Magellan Healthcare, Inc. (the “MBMC Magellan Network Provider
                     Agreement”).
                 50. Participation Agreement, dated March 10, 2017, by and between Viva Health, LLC
                     and Juan M. Garces, M.D., P.A. (the “Juan Viva Participation Agreement”).

              Dental Contracts

                 51. Dental Participating Practice Agreement, dated on or around December 16, 2022,
                     by and between LHA Smiles Design, Inc. (“LHA”) and DentaQuest of Florida, Inc.
                     (“DentaQuest”).
                 52. Dental Participating Practice Agreement, dated on or August 24, 2022, by and
                     between Senior Dental, LLC (“SD”) and DentaQuest.
                 53. Dental Participating Practice Agreement, dated on or around September 8, 2022,
                     by and between SD and DentaQuest (Provider: Jose Salguerio).
                 54. Dental Participating Practice Agreement, dated on or around September 8, 2022,
                     by and between SD and DentaQuest (Provider: Lourdes Arguelles).
                 55. Dental Participating Practice Agreement, dated on or around September 14, 2022,
                     by and between SD and DentaQuest.


13230494-25
              Case 24-20576-CLC        Doc 29     Filed 10/13/24     Page 429 of 565


                 56. Dental Participating Practice Agreement, dated on or around September 7, 2022,
                     by and between SD and DentaQuest.
                 57. Dental Participating Practice Agreement, dated on or around September 30, 2022,
                     by and between SD and DentaQuest.
                 58. Participating Provider Agreement, dated December 10, 2021, by and between LHA
                     and Envolve Dental of Florida, Inc. (“Envolve”) (the “LHA Envolve
                     Participating Provider Agreement”).
                 59. Participating Provider Agreement, dated July 14, 2023, by and between SD and
                     Envolve (the “SD Envolve Participating Provider Agreement”).
                 60. Provider Agreement, dated on or around August 10, 2022, by and between Luis
                     Hernandez Abreu and Liberty Dental Plan of Florida, Inc.
                 61. Provider Agreement, dated on or around November 12, 2021, by and between Luis
                     Hernandez Abreu and Liberty Dental Plan of Florida, Inc., including that certain
                     Medicare Advantage Program Requirements Addendum, dated on or around
                     November 12, 2021 by and between LHA and Liberty Dental Plan Corporation.
                 62. Medicare Advantage Program Requirements Addendum, dated on or around
                     November 17, 2022, by and between LHA and Liberty Dental Plan Corporation.
                 63. Provider Agreement, dated March 8, 2022, by and between Luis Hernandez Abreu
                     and Liberty Dental Plan of Florida, Inc., including that certain Medicare Advantage
                     Program Requirements Addendum, effective April 26, 2022, by and between LHA
                     and Liberty Dental Plan Corporation.
                 64. Master Dental Provider Agreement, dated December 3, 2021, by and between Luis
                     Hernandez Abreu and Managed Care of North America, Inc., including that certain
                     2018 Florida Addendum, dated on or around December 3, 2021, by and between
                     LHA and Managed Care of North America, Inc. (the “Abreu Managed Care
                     Master Dental Provider Agreement”).
                 65. Network Provider Agreement, dated on or around August 16, 2022, by and between
                     Greta Rubio Rios and the Florida Healthy Kids Corporation.
                 66. Participating Provider Agreement, effective April 26, 2022, by and between Greta
                     Barban Rodriguez and Solstice Benefits, Inc. (“Solstice”) (the “Rodriguez Solstice
                     Participating Provider Agreement”).
                 67. Participating Provider Agreement, effective February 23, 2022, by and between
                     Luis Hernandez Abreu and Solstice.
                 68. Participating Provider Agreement, effective August 22, 2022, by and between Zina
                     Haratz and Solstice (the “Haratz Solstice Participating Provider Agreement”).
                 69. Addendum to the Dentist Agreement, dated July 2, 2024, by and between Richard
                     C. Lage, DDS and Florida Dental Benefits, Inc. (“Florida Dental”) (the “Lage
                     Florida Dental Addendum to the Dentist Agreement”).
                 70. Addendum to the Dentist Agreement, dated July 2, 2024, by and between Luis
                     Hernandez Abreu and Florida Dental (the “Abreu Florida Dental Addendum to
                     the Dentist Agreement”).
                 71. Network Provider Agreement, dated on or around August 16, 2022, by and between
                     Greta Rubio Rios and the Florida Healthy Kids Corporation

              Vision Contracts

                 72. Individual Provider Agreement, dated February 29, 2024, by and between MBMC
                     and iCare Health Solutions, LLC (the “MBMC iCare Individual Provider
                     Agreement”).

13230494-25
                  Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 430 of 565


                     73. Professional Services Agreement, dated January 16, 2023, by and between CCMC
                         and Mobile Vision Doctors, LLC. (the “CCMC Mobile Vision Professional
                         Services Agreement”)

                  Acupuncture / Podiatry / Therapy Contracts

                     74. Alivi Chiro Network Provider Agreement, dated March 22, 2024, by and between
                         MBMC and Quality Managed Health Care, Inc., d/b/a Ailivi Chiro Network (the
                         “MBMC Alivi Chiro Network Provider Agreement”).
                     75. Alivi Podiatry Network Provider Agreement, dated March 22, 2024, by and
                         between MBMC and Foot & Ankle Network, Inc. d/b/a Alivi Podiatry Network
                         (the “MBMC Alivi Podiatry Network Provider Agreement”).
                     76. Alivi Therapy Network Provider Agreement, dated March 22, 2024, by and
                         between MBMC and Therapy Health Network, LLC, d/b/a Alivi Therapy Network
                         (the “MBMC Alivi Therapy Network Provider Agreement”).

                  Pharmacy Provider Contracts

                     77. Pharmacy Provider Agreement, dated on or around February 22, 2021, by and
                         between MBMC and Humana Pharmacy Solutions, Inc. (the “Miami Beach
                         Humana Pharmacy Provider Agreement”).

         (viii)
                     1. End User License Agreement, dated September 22, 2023, by and between MBMO
                        and Lightbeam Health Solutions.
                     2. Aaneel Health Services Agreement, effective as of March 1, 2023, by and between
                        CCMG and JAM Infosys, LLC d/b/a Aaneel Health Services (the “Aaneel Health
                        Services Agreement”).
                     3. General Terms and Conditions, by and between NextGen Healthcare Inc. and
                        Miami Beach Medical Group.
                     4. Order Form, by and between salesforce.com, Inc., and Miami Beach Medical
                        Group.
                     5. Vonage Business Cloud Quote Acceptance dated February 20, 2019 by and
                        between MBMG and Vonage Business, Inc.
                     6. ScribeEMR Coding Services Agreement.
                     7. Oral Arrangement with iPower Technologies (“iPower”), pursuant to which
                        iPower provides month to month invoices for products it resells to Sellers, including
                        Office 365 and if Sellers do not use iPower’s services, there are no such invoices.
                        YTD 2024 spend is approximately $200,000.

         (ix)
                     1. The KKR Credit Agreement.
                     2. The KKR 2nd A&R Security Agreement.
                     3. The KKR Unsecured Promissory Note.

         (x)

                  Primary Care Contracts with Non-Solicitation / Non-Interference Provisions

                     1. The MMM Provider Agreement.

13230494-25
              Case 24-20576-CLC        Doc 29     Filed 10/13/24    Page 431 of 565


                 2. The RD Humana Independent Practice Association Agreement.
                 3. The MBMC Solis Network Provider Agreement.
                 4. The Miami Beach Medical Group Solis Network Provider Agreement.
                 5. The CCN Solis Network Provider Agreement.
                 6. The FPCCT United Network Risk Agreement.
                 7. The MBMC United Network Risk Agreement.
                 8. The MBMC Simply Provider Agreement.
                 9. The MBMC WellCare Provider Agreement.
                 10. The MBMC Medica Network Risk Agreement.
                 11. The CCN Medica Network Risk Agreement.
                 12. The MBMC Molina Group Services Agreement.
                 13. The MBMC Preferred Network Risk Agreement.
                 14. The CCN Preferred Network Risk Agreement.
                 15. The FFPCCT Sunshine Group Agreement.
                 16. The RD Aetna Physician Group Agreement.
                 17. The MBMC Aetna Provider Agreement.
                 18. The 2017 MBMC Aetna Provider Agreement
                 19. The CCN CarePlus Network Agreement.
                 20. The MMWC CarePlus Network Agreement.
                 21. The RD BCBS Group Services Agreement.
                 22. The RD Vista Primary Care Provider Services Agreement.
                 23. The RD Health Options Physician Group Medical Services Agreement.
                 24. The MBMC HealthSun Primary Care Physician Network Agreement.
                 25. The MBMC Alivi Network Provider Agreemennt.
                 26. The Juan Viva Participation Agreement.
                 27. The FFPCC United MA Network Risk Agreement.
                 28. The FFPCCT Simply Provider Agreement.
                 29. The FFPCC United Network Risk Agreement.
                 30. The FFPCCT Simply Network Provider Agreement.

              Primary Care Contracts with Non-Competition Provisions

                 31. The RD Humana Independent Practice Association Agreement.
                 32. The MBMC Solis Network Provider Agreement.
                 33. The Miami Beach Medical Group Solis Network Provider Agreement.
                 34. The CCN Solis Network Provider Agreement.
                 35. The FPCCT United Network Risk Agreement.
                 36. The MBMC United Network Risk Agreement.
                 37. The MBMC Simply Provider Agreement.
                 38. The FFPCCT Simply Network Provider Agreement.

              Dental Contracts with Non-Solicitation / Non-Interference Provisions

                 39. The LHA Envolve Participating Provider Agreement.
                 40. The SD Envolve Participating Provider Agreement.
                 41. The Abreu Managed Care Master Dental Provider Agreement.
                 42. The Rodriguez Solstice Participating Provider Agreement.
                 43. The Haratz Solstice Participating Provider Agreement.
                 44. The “Lage Florida Dental Addendum to the Dentist Agreement.
                 45. The “Abreu Florida Dental Addendum to the Dentist Agreement.
13230494-25
              Case 24-20576-CLC        Doc 29     Filed 10/13/24    Page 432 of 565


              Vision Contracts with Non-Solicitation / Non-Interference Provisions

                 46. The MBMC iCare Individual Provider Agreement.
                 47. The CCMC Mobile Vision Professional Services Agreement.

              Acupuncture / Podiatry / Therapy Contracts with Non-Solicitation / Non-Interference and
              Non-Competition Provisions

                 48. The MBMC Alivi Chiro Network Provider Agreement.
                 49. The MBMC Alivi Podiatry Network Provider Agreement.
                 50. The MBMC Alivi Therapy Network Provider Agreement.

              Pharmacy Provider Contracts with Non-Solicitation Provisions

                 51. The Miami Beach Humana Pharmacy Provider Agreement.

              Medical Services Contracts with Employee Non-Solicitation Provisions

                 52. Participation Agreement, dated December 6, 2016, by and between RD and MBMC
                     (the “RD MBMC Participation Agreement”).
                 53. The MBMO RD Management Services Agreement.
                 54. The MBMO MMWC Management Services Agreement.
                 55. The MBMO MBMC Management Services Agreement.
                 56. The MBMC RD Transport Services Agreement.

              Medical Services Contracts with Non-Interference Provisions

                 57. The RD MBMC Participation Agreement.

              Medical Services Agreements with Non-Competition Provisions

                 58. The MBMO RD Management Services Agreement.
                 59. The MBMO MMWC Management Services Agreement.
                 60. The MBMO MBMC Management Services Agreement.
                 61. The MBMC RD Transport Services Agreement.

              Commercial Contracts with Employment Non-Solicitation Provisions

                 62. Services Agreement, dated July 12, 2022, by and between MBMO and Creation
                     Financial d/b/a BKPO (the “BKPO Services Agreement”).
                 63. Janitorial Services Proposal, dated February 22, 2022, by and between MBMO
                     d/b/a CCMC Medical Centers and Coastal Building Maintenance (“Coastal”).
                 64. Janitorial Services Proposal, dated October 21, 2021, by and between RD d/b/a MB
                     Medical Centers and Coastal.
                 65. Medical Coding Services Agreement, undated, by and between MBMO d/b/a
                     Clinical Care Medical Centers and ScribeEMR, Inc. (the “ScribeEMR Coding
                     Services Agreement”).
                 66. Valet Parking Agreement, dated October 11, 2022, by and between MBMO and
                     Time Park, Inc.



13230494-25
              Case 24-20576-CLC        Doc 29    Filed 10/13/24    Page 433 of 565


                 67. Standard Security Installation & Monitoring Agreement, dated March 30, 2023, by
                     and between MBMO d/b/a Clinical Care Medical Centers and Hi-Tech Security &
                     Communications, Inc.
                 68. Standard Security Installation & Monitoring Agreement, dated September 1, 2020,
                     by and between RD d/b/a Miami Beach Medical Group and Hi-Tech.
                 69. Master Service Agreement, dated on or around April 26, 2022, by and between
                     MBMO d/b/a Clinical Care Medical Centers and Ubiquity Global Services, Inc.
                     (the “Ubiquity Service Agreement”).
                 70. Master Services Agreement, dated August 17, 2022, by and between MBMO and
                     Balto Health, LLC (the “Balto Services Agreement”).
                 71. Cleaning Service Agreement, dated on or around September 28, 2020, by and
                     between RD d/b/a Miami Beach Medical Group and Vanguard Cleaning Systems
                     of South Florida.
                 72. Service Agreement, dated March 1, 2023, by and between MBMO and Medix
                     Staffing Solutions, LLC (the “Medix Service Agreement”).
                 73. The Aaneel Health Services Agreement.
                 74. Terms and Conditions to Accompany Order Form, dated September 22, 2023, by
                     and between MBMO and Lightbeam Health Solutions.
                 75. Master Agreement dated September 23, 2020, by and between RD d/b/a Miami
                     Beach Medical Group and NextGen Healthcare Inc.
                 76. Global Terms and Conditions, undated, by and between MBMO and QTS (the
                     “QTS Global Terms”).
                 77. Subscription Agreement, dated October 26, 2020, by and between MBMO and
                     Business Intelligence & Analytics, LLC (the “Business Intelligence Subscription
                     Agreement”).
                 78. Data Storage, Records Management, and Service Agreement, dated February 20,
                     2020, by and between RD d/b/a MBMG Medical Centers and International Data
                     Depository, Inc. (the “International Data Service Agreement”).

              Commercial Contracts with Customer Non-Solicitation Provisions

                 79. The BKPO Services Agreement.
                 80. The QTS Global Terms.
                 81. The Balto Services Agreement.

              Commercial Contracts with Non-Competition Provisions

                 82. The Program Services Agreement, undated, by and between MBMO and
                     SunFireMatrix, Inc.

              Commercial Contracts with Exclusivity Provisions

                 83. Biomedical Waste Service Agreement, dated May 21, 2022, by and between
                     Clinical Care Medical Centers (Semoran) and Healthcare Environmental Services,
                     LLC (“HES”) (the “2022 HES Service Agreement”).
                 84. Biomedical Waste Service Agreement, dated May 3, 2023, by and between MBMO
                     and HES.
                 85. Biomedical Waste Service Agreement, dated May 3, 2023, by and between MBMO
                     and HES.


13230494-25
                   Case 24-20576-CLC          Doc 29    Filed 10/13/24    Page 434 of 565


                         86. Biomedical Waste Service Agreement, dated May 8, 2023, by and between MBMO
                             and HES.
                         87. The Lyft Enterprise Order.
                         88. The Business Associate Agreement attached to the ScribeEMR Coding Services
                             Agreement.
                         89. Fuel Service Agreement, dated March 4, 2024, by and between Clinical Care
                             Medical Centers and American Fuel Services, Corp.


         (xi)

                None.

         (xii)
                         1. The KKR Credit Agreement.
                         2. The KKR 2nd A&R Security Agreement.
                         3. The KKR Unsecured Promissory Note.

         (xiii)

                   (A)
                         1. Provider Participation Agreement, dated October 1, 2021, by and between CCMG
                             and VIP Family Practice, LLC.
                         2. Provider Participation Agreement, dated October 1, 2021, by and between CCN
                             and Wellcare Medical Clinic.
                         3. Provider Participation Agreement, dated October 1, 2021, by and between CCN
                             and Mi Casa Medical Center, LLC
                         4. Provider Participation Agreement, dated October 1, 2022, by and between CCN
                             and Optimal Health Medical Center, Inc.
                         5. Provider Participation Agreement, dated October 1, 2021, by and between CCN
                             and Primary Medical Physicians, LLC
                         6. Provider Participation Agreement, dated September 20, 2021, by and between CCN
                             and Prime Health Medical Center, L.L.C.
                         7. Provider Participation Agreement, dated January 1, 2021, by and between CCN and
                             El Retiro Medical Center Corp.
                         8. Provider Participation Agreement, dated November 1, 2021, by and between CCN
                             and Gilda Maria de La Calle, MD, PA.
                         9. Provider Participation Agreement, dated October 1, 2021, by and between CCN
                             and St. Jude Medical Group Corp.
                         10. Provider Participation Agreement, dated April 1, 2021, by and between CCN and
                             Hilda M. Brito M.D. PA.
                         11. Provider Participation Agreement, dated February 1, 2024, by and between CCN
                             and Horizon Care Medical Center, Inc.
                         12. Provider Participation Agreement, dated February 1, 2022, by and between CCN
                             and John V. Williams, M.D., P.A.
                         13. Provider Participation Agreement, dated October 1, 2021, by and between CCN
                             and V&R Medical Group, Inc.
                         14. Provider Participation Agreement, dated October 1, 2021, by and between CCMG
                             and Managed Care Insurance Consultants, Inc.

13230494-25
                 Case 24-20576-CLC            Doc 29     Filed 10/13/24     Page 435 of 565


                       15. Provider Participation Agreement, dated October 1, 2021, by and between CCN
                           and Araceli Yapor, M.D., P.A.
                       16. Provider Participation Agreement, dated October 1, 2021, by and between CCN
                           and Homeland Health Solutions Inc. d/b/a CareCross Medical Center.
                       17. Provider Participation Agreement, dated October 1, 2022, by and between CCN
                           and Context Medical Group, Inc.
                       18. Provider Participation Agreement, dated October 1, 2021, by and between CCN
                           and Fardales Medical Center, Inc.
                       19. Provider Participation Agreement, dated June 1, 2021, by and between CCN and
                           Garcia Saez Medical Group Corp.
                       20. Provider Participation Agreement, dated October 1, 2021, by and between CCN
                           and Wisecare of Florida, P.A.
                       21. Provider Participation Agreement, dated March 17, 2021, by and between CCN and
                           United Medical Group, Inc.
                       22. Provider Participation Agreement, dated January 1, 2024, by and between CCN and
                           New Health MD of Hialeah LLC.

                 (B)
                       1. None.

         (xiv)
                       1. Valet Parking Agreement, dated October 11, 2022, by and between MBMO and
                          Time Park, Inc.
                       2. Lyft Business Enterprise Order Form, dated April 13, 2022, by and between Lyft
                          Healthcare, Inc. and MBMT.
                       3. Oral Arrangement with Chebere Appetite, Inc. 2024 Payment YTD: $605,282.
                          Chebere Appetite, Inc. is a meal vendor that delivers daily to South Florida
                          clinics.
                       4. Oral Arrangement with Best Office Coffee. 2024 Payment YTD: $478,993. Best
                          Office Coffee is a vendor that delivers coffee as needed, primarily on a weekly
                          basis, to various clinics.
                       5. Oral Arrangement with Holiday Bakery. 2024 Payment YTD: $304,103. Holiday
                          Bakery provides baked goods and delivers daily to select clinics in South Florida.
                       6. Oral Arrangement with Isla Multi Services. 2024 Payment YTD: $57,711. Isla
                          Multi Services is a Central Florida food vendor that delivers daily to clinics. This
                          relationship has been discontinued.
                       7. Oral Arrangement with Publix. 2024 Payment YTD: $13,848. This relationship
                          was historically used to purchase breakfast items and gift cards.
                       8. Oral Arrangement with Ramapi Corporation. 2024 Payment YTD: $147,992.
                          Ramapi Corporation is a Central Florida food vendor that delivers food daily to
                          clinics.
                       9. Oral Arrangement with Staples. 2024 Payment YTD: $108,035. CCMC has a
                          credit line with Staples for office supplies, which CCMC pays approximately
                          once a week.


         (xv)
                 (A)
                       1. None.

13230494-25
              Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 436 of 565



              (B)

              Primary Care Contracts that Require the Consent of the Other Party or May Be Terminated
              as a Result of a Change of Control of Seller or Sale of Substantially All of its Assets

                    1. The Dumenigo Humana Specialist Participation Agreement.
                    2. The Dumenigo Humana Physician Participation Agreement.
                    3. The MBMC Humana Physician Participation Agreement.
                    4. The Miami Beach Medical Group Humana Physician Participation Agreement.
                    5. The RD Humana Independent Practice Association Agreement.
                    6. The MBMC Solis Network Provider Agreement.
                    7. The Miami Beach Medical Group Solis Network Provider Agreement.
                    8. The FFPCCT United Network Risk Agreement.
                    9. The MBMC United Network Risk Agreement.
                    10. The MBMC WellCare Provider Agreement.
                    11. The MBMC Medica Network Risk Agreement.
                    12. The CCN Medica Network Risk Agreement.
                    13. The MBMC Preferred Network Risk Agreement.
                    14. The CCN Preferred Network Risk Agreement.
                    15. The RD Preferred Provider Agreement.
                    16. The FFPCCT Aetna Group Agreement.
                    17. The MBMC Aetna Provider Agreement.
                    18. The 2017 MBMC Aetna Provider Agreement.
                    19. The RD Aetna Physician Group Agreement.
                    20. The MBMC CarePlus Primary Care Agreement.
                    21. The RD BCBS Group Services Agreement.
                    22. The RD Vista Primary Care Provider Services Agreement.
                    23. The MBMC Devoted Participation Agreement.
                    24. The RD Health Options Physician Group Medical Services Agreement.
                    25. The MBMC Freedom Group Participation Agreement.
                    26. The MBMC Optimum Group Participation Agreement.
                    27. The FFPCC United MA Network Risk Agreement.
                    28. The FFPCCP United Participation Agreement.
                    29. The FFPCCPL United Participation Agreement.
                    30. The FFPCC United Participation Agreement.

              Pharmacy Provider Contracts that Require the Consent of the Other Party or May Be
              Terminated as a Result of a Change of Control of Seller or a Sale of Substantially All of
              its Assets

                    31. The Miami Beach Humana Pharmacy Provider Agreement.

              Medical Services Contracts that Require the Consent of the Other Party or May Be
              Terminated as a Result of a Change of Control of Seller or a Sale of Substantially All of
              its Assets

                    32. The MBMO RD Management Services Agreement.
                    33. The MBMO MMWC Management Services Agreement.
                    34. The MBMO MBMC Management Services Agreement.
13230494-25
                   Case 24-20576-CLC         Doc 29     Filed 10/13/24     Page 437 of 565


                      35. The MBMC RD Transport Services Agreement.

                   Commercial Contracts that Require the Consent of the Other Party or May Be
                   Terminated as a Result of a Change of Control of Seller or a Sale of Substantially All of
                   its Assets

                      36. The RD CHG Master Lease Agreement.
                      37. The Miami Beach Konica Master Subscription Agreement.
                      38. The MBMO Unites States Fire Application.
                      39. The Lyft Enterprise Order.

         (xvi)
                      1. FFPCC Purchase Agreement.
                      2. The Asset and Equity Purchase Agreement, dated August 20, 2020, by and among
                         Clinical Care Associates Inc., Clinical Care Center, Clinical Care, Inc., Clinical
                         Care Services, Inc., Clinical Care Network, Inc., Clinical Care Pharmacy, Inc.,
                         CCN, Care Center Medical Group, Inc., MB Medical Holdings, LLC, MBMO, RD,
                         MBMC, MBMT, Antonio Diaz, as the representative of the seller, The Diaz Family
                         Trust, dated September 27, 2018, and The Antonio Diaz Irrevocable Trust, dated
                         September 27, 2018 (the “Clinical Care Purchase Agreement”).
                      3. The Asset Purchase Agreement, effective March 1, 2017, and entered into March
                         10, 2017, by and among MBMO, and Juan M. Garces, M.D., P.A., Complete
                         Medical Dental Services of S. Fla, LLC, Health Professionals Associates, Inc.,
                         Professional Health Alliance LLC, Viva Health LLC, Latin Medical Associates,
                         LLC, and Juan M. Garces, M.D. (the “Viva Purchase Agreement”).
                      4. Directed Stock Transfer Agreement, dated October 2, 2023, by and among
                         MMWC, MBMO, CCMC Physician Holdings, Inc., and Jose Suarez, M.D. (the
                         “CCMC Physician Stock Transfer Agreement”).
                      5. Directed Transfer Agreement, dated March 10, 2017, effective March 1, 2017, by
                         and among Viva Health LLC, Juan Garces, M.D., and MBMO (the “Viva Directed
                         Transfer Agreement”).
                      6. US Fire Insurance Company Excess Loss Insurance Policy.

         (xvii)
                      1.   FFPCC Purchase Agreement.
                      2.   Clinical Care Purchase Agreement.
                      3.   Viva Purchase Agreement.
                      4.   The CCMC Physician Stock Transfer Agreement.
                      5.   The Viva Directed Transfer Agreement.
                      6.   US Fire Insurance Policy Excess Loss Insurance Policy.

         (xviii)
                      1. Direct Hire Services Agreement, dated on or around December 2, 2020, by and
                         between Miami Beach Medical Group and Howroyd-Wright Employment Agency,
                         Inc. dba AppleOne Employment Services.
                      2. MB Operation, LLC, dated on or around July 1, 2021, by and between MBMO and
                         Howroyd-Wright Employment Agency, Inc. dba AppleOne Employment Services.
                      3. Letter, dated November 17, 2022, by and between Clinical Care Medical Centers
                         and Greyhawk Search Partners.

13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 438 of 565
              Case 24-20576-CLC     Doc 29   Filed 10/13/24   Page 439 of 565


 FELIZOLA DENTAL LABORATORY INC                 $127,045                         $14,020
 Fox Rothschild LLP                             $563,201
 FPL                                            $342,352                        $209,145
 FRVC MUSIC INC                                  $60,670                         $39,410
 FTI CONSULTING INC                             $347,690
 GABLES INSURANCE AGENCY CORP                   $209,434                        $136,026
 Garcia Martinez Medical P.A.                    $58,060                         $44,040
 GAYLE ADAMS                                    $105,629                         $58,333
 GENERAL RADIOGRAPHIC & MEDICAL
 SUPPLY                                         -$69,515                        $283,863
 GOLD COAST MAINTENANCE, INC                    $136,909                         $90,835
 GR Dental Care LLC                             $184,875                        $156,750
 Greenberg Traurig                              $441,735                         $25,143
 Greta Barban D.D.S P.A                         $148,450                        $111,000
 HAPPY OR NOT AMERICAS INC                       $52,477                              $0
 HENRY SCHEIN INC                                $91,854                        $273,210
 Henry Schein One                                $84,216                         $44,172
 HI TECH SECURITY &COMMUNICATIONS, INC          $117,283                         $61,942
 HOME DEPOT                                     $130,209                         $82,609
 HOULIHAN LOKEY FINANCIAL ADVISORS,
 INC.                                             $57,185                        $42,200
 INSIGHT DIRECT USA, INC.                         $77,511                             $0
 IPOWER TECHNOLOGIES                            $266,503                        $196,530
 ISA Smiles LLC                                        $0                        $72,750
 J. MAYANS MD PA                                $191,400                        $143,100
 JMO GROUP, LLC                                 $272,309                        $177,066
 JOAQUIN R FERNANDEZ D.P.M.,PA                    $69,650                        $50,474
 JOE G. TEDDER, TAX COLLECTOR                     $61,167                       -$55,275
 Jose L. Salgueiro DDS, PA                      $173,100                        $132,800
 JOSE M CARDENTEY JR                              $66,640                        $20,219
 KAREN AMAR D.C. P.A.                             $54,994                        $44,051
 KING & SPALDING                                       $0                       $150,000
 KIRKLAND & ELLIS LLP                           $458,853                         $13,736
 KPMG LLP                                       $189,409                              $0
 KRCX WRJ Holdings, LLC                                $0                       $200,000
 LEGON FODIMAN & SUDDUTH, P.A.                         $0                       $175,000
 Lourdes Arguelles DMD                          $102,000                         $72,750
 MAR PER, PLLC                                  $258,551                        $167,500
 Marc Anthony Altieri                           $107,184                         $66,935
 MARSH & MCLENNAN AGENCY LLC                   $1,686,396                       $777,926
 McGovern Executive Search, LLC                   $64,500                             $0
 MEDICAL CARE TRANSPORTATION, INC                 $90,478                        $91,742
 MEDICAL ELECTRONICS, INC                         $78,818                        $32,874
 Meru LLC                                       $371,362                        $959,095
 Miami-Dade Tax Collector                      $1,154,910                        $31,814
 Miguel Fernandez Barreras                        $67,105                             $0
 MOBILE OFFICE MANAGEMENT SERVICES                $59,660                        $44,324
 MOBILE VISION DOCTORS LLC                      $451,107
 New Horizon Communications                       $52,210                        $36,587
 Oleva Marketing LLC                              $68,380                        $40,950
 Olga E. Presas DDS, PA                           $48,875                        $53,300

13230494-25
                Case 24-20576-CLC           Doc 29   Filed 10/13/24   Page 440 of 565


 Paulina Alonso PA                                            $0                         $70,350
 PC CONNECTION SALES CORP                               $130,551                        $125,633
 Perera Aleman, P.A.                                    $123,790                              $0
 POLINARIO'S PARTY & TENT RENTAL                         $65,744                         $25,518
 Premium Choice Media LLC                               $101,000                              $0
 Proskauer Rose LLP                                     $255,000                        $400,000
 PURE AIR SERVICING, INC                                 $81,875                         $15,015
 Quinn Emanuel Urquhart & Sullivan, LLP                  $54,309                              $0
 Rafael Capote MD LLC                                    $76,923                         $88,077
 RARFENTE, MD, P.A.                                     $261,345                        $178,600
 Raul Andres Perez Falero                                $82,650                        $157,200
 REMEDY REPACK                                           $84,414                         $76,732
 Richard C. Lage DDS, PA                                $130,185                         $93,357
 Rolando Velasco                                         $99,600                        $193,800
 Romel Figueredo, MD P.A.                               $295,274                        $208,213
 Rudish Health Solutions                                $250,000                              $0
 Science And Arts Of Tampa                              $103,560                         $12,732
 Scott Randolph Tax Collector                           $106,005                          $1,782
 SCRIVAS LLC                                            $220,513                        $198,728
 Scrivas, LLC                                           $220,513                        $198,728
 SEGRERA ASSOCIATES                                      $84,000                              $0
 Servi-Dent Inc.                                         $26,490                         $58,093
 SIRIUS COMPUTER SOLUTIONS, INC                          $66,764                         $66,725
 SKINMD - MIAMI GROUP, PLLC                              $97,840                         $84,480
 Sonam Bansal DDS LLC                                    $99,750                        $110,200
 Spruce Brook Partners, LLC                              $37,500                        $112,500
 SUN CAPITAL PARTNERS MANAGEMENT
 VII LLC                                                $589,412
 SunFire Matrix, Inc                                     $51,800                              $0
 SUNSHINE COMMUNICATION SERVICES                        $114,420                              $0
 TECO                                                    $92,633                         $61,509
 The Barton Partnership Inc                             $272,000
 TRAVELERS                                                    $0                        $164,665
 Treya Partners                                         $288,160                              $0
 Ttec Healthcare Solutions                              $254,588                        $264,281
 Ubiquity Global Services, Inc                          $624,452                              $0
 Valentus Medical Center                                $190,927                          $3,315
 VIP Family Practice LLC                                 $60,857                         $20,480
 VITERA                                                  $52,955                         $36,741
 WAKELY CONSULTING GROUP                                $202,669                         $62,656
 WASTE CONNECTIONS OF FLORIDA                            $76,507                         $55,162
 WASTE MANAGEMENT INC. OF FLORIDA                       $105,997                         $72,220
 Wells Fargo Equipment Finance, Inc.                     $67,037                         $32,151
 Westchester General Hospital, Inc. DBA Keralty
                                                         $52,500                             $0
 Hospital
 WEX ENTERPRISE EXXONMOBIL CARD                         $181,392                         $28,661
 WOW MKTG                                               $605,376                        $795,690
 ZH DMD PA                                                    $0                         $88,875
 Zina Haratz DDS PA                                     $156,750                         $15,750
 ZRG Partners Holdings Corp                             $252,880
 Zumpano Patricios, P.A.                                      $0                         $56,148

13230494-25
6FKHGXOH D YL 




Legal Entity                             Sub-Category                 Name                                Address
MB Medical Operations, LLC               Commercial Property Leases   107TH AND 14TH LLC                   1400 NW 107 AVE Miami FL 33172
MB Medical Operations, LLC               Commercial Property Leases   1200 ALTON ROAD, LLC                1200 ALTON ROAD MIAMI BEACH FL 33139
MB Medical Operations, LLC               Commercial Property Leases   126 WEST DIXIE LLC                  1400 NW 107 Ave Suite 500 Miami FL 33172
MB Medical Operations, LLC               Commercial Property Leases   1303 SOUTH SEMORAN LLC              4865 SW 80th St, Miami, FL 33143
MB Medical Operations, LLC               Commercial Property Leases   201-205 S 1st ST LLC                1400 NW 107 Ave Suite 500 Miami FL 33172
No contract                                                           27th Miami Holdings LLC             7750 SW 117 Ave Suite 306 Miami FL 33183
                                                                                                                                                               Case 24-20576-CLC




MB Medical Operations, LLC               Commercial Property Leases   551 E 49 ST LLC                     1200 ALTON ROAD MIAMI BEACH FL 33139
MB Medical Operations, LLC               Commercial Property Leases   750 SOUTH FEDERAL HIGHWAY LLC       1200 ALTON ROAD MIAMI BEACH FL 33139
MB Medical Operations, LLC               Commercial Property Leases   7500 SW 8 ST LLC                    351 NW 42 AVE SUITE 600 MIAMI FL 33126
MB Medical Operations, LLC               Commercial Property Leases   9611 BIRD ROAD LLC                  1200 ALTON ROAD MIAMI BEACH FL 33139
                                                                                                                                                               Doc 29




Florida Family Primary Care Centers of
Tampa, LLC                               Commercial Property Leases   Aliva Properties, Inc               8405 N Edison Ave Tampa FL 33604
MB Medical Operations, LLC               Commercial Property Leases   ATLANTIC AVENUE REALTY ASSOCIATES,
                                                                      L.L.C.                             17927 Lake Estates Drive Boca Raton FL 33496
No contract                                                           CCN Holding of Coral Way, LLC      7750 SW 117 Ave Suite 306 Miami FL 33183
MB Medical Operations, LLC               Commercial Property Leases   CCN Holding of Hialeah, LLC        7750 SW 117 Ave Suite 306 Miami FL 33183

MB Medical Transport, LLC                Patient Transportation       ENTERPRISE FLEET MANAGEMENT, INC    PO BOX 800089 KANSAS CITY MO 64180-0089
                                                                                                                                                               Filed 10/13/24




MB Medical Operations, LLC               Commercial Property Leases   EVERGREEN 3, LLC                    5340 N Federal Hwy Suite 110 Lighthouse Point FL
                                                                                                          33064
MB Medical Operations, LLC               Commercial Property Leases                                       12961 Deva St. Coral Gables FL 33156 c/o Walter L
                                                                      FERN STREET PROPERTIES, LLC         Lista

MB Medical Operations, LLC               Commercial Property Leases   Gardens Office Complex, LLC         18610 NW 87th Avenue, Suite 204 Hialeah FL 33015
MB Medical Operations, LLC               Equipment                    HIGHLAND CAPITAL CORP               1 Passaic Ave., Fairfield NJ 07004
MB Medical Operations, LLC               Commercial Property Leases   Horus International Corp LLC        13231 Byrd Legg Drive Odessa, Florida 33556
No contract                                                           KIMCO REALTY CORPORATION            PO Box 30344, Tampa, FL 33630
                                                                                                                                                               Page 441 of 565




No contract                                                           Kimco Realty OP, LLC                500 N Broadway Suite 201, Jericho, NY 11753
MB Medical Operations, LLC               Commercial Property Leases   LAKELAND INVESTMENTS LLC            2435 US HIGHWAY 98 N LAKELAND FL 33805

No contract                                                           LONG ISLAND APARTMENTS, LLC         3800 S. OCEAN DRIVE Suite 228, Hollywood, FL 33019

MB Medical Operations, LLC               Commercial Property Leases   Miami Metro Medical LLC             12191 W Linebaugh Ave Suite 789 Tampa FL 33626
MB Medical Operations, LLC               Commercial Property Leases   Palm River Square Associates, LLC   PO Box 713201 Philadelphia PA 19171-3201
MB Medical Operations, LLC               Equipment                                                        1031 Mendota Heights Road Attn: Equip Finance St
                                                                      PATTERSON COMPANIES INC - 710354    Paul MN 55120
MB Medical Operations, LLC               Equipment                                                        1031 Mendota Heights Road Attn: Equip Finance St
                                                                      PATTERSON DENTAL SUPPLY 4784        Paul MN 55120
                                                                                                          2701 Coltsgsate Road, Suite 300, Charlotte, NC
No contract                                                           Peter Pan Developments, LLC         28211
Florida Family Primary Care Centers of
Pinellas LLC                             Commercial Property Leases   Prestige Park LLC                   6245 66th St North Pinellas Park FL 33781
                                                                                                          7 Great Valley Parkway, Suite 100, Malvern, PA
No contract                                                           Quiqmeds                            19355
                                                                                                          Saul Holdings Limited Partnership PO Box 38042
MB Medical Operations, LLC               Commercial Property Leases   SEABREEZE PLAZA LLC                 Baltimore MD 21297-8042
No contract                                                           SNG 1115 INVESTMENTS LLC            708 SW 7 Ave, Ft Lauderdale, FL 33315
Florida Family Primary Care Centers of   Commercial Property Leases                                       11531 N. 56th Street Temple Terrace, Florida 33617
                                                                                                                                                               Case 24-20576-CLC




Tampa, LLC                                                            Terrace Walk Plaza


                                                                                                          PO BOX 41602, Philadelphia, PA 19101-1602
No contract                                                           TGI Office Automation
MB Medical Operations, LLC               Commercial Property Leases   THE HUB RETAIL, LLC                 341 NW South River Dr Miami FL 33128
                                                                                                                                                               Doc 29




MB Medical Operations, LLC               Commercial Property Leases   TOWER SHOPPING PLAZA, INC           PO Box 164734 Miami FL 33116
                                                                                                          PO Box 6112 Bldg ID FCF001 Hicksville NY 11802-
MB Medical Operations, LLC               Commercial Property Leases   UNIVERSITY COLLECTION               6112
MB Medical Operations, LLC                                                                                c/o Horizon Properties 18610 NW 87th Avenue, Suite
                                                                      Villaverde Properties LLC           204 Miami, FL 33015
                                                                                                          PO BOX 105743, Atlanta, GA 30348-5743
                                                                                                                                                               Filed 10/13/24




No contract                                                           Wells Fargo Vendor Fin Serv
                                                                                                                                                               Page 442 of 565
       Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 443 of 565




  3.16 (a)(xix) Employee contracts over $100k; Contracts that provide
                          severance benefits



Name                         Job Title Description               Annual Salary
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 444 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 445 of 565
              Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 446 of 565



                                    Section 3.16(b)
                                   Contract Defaults

None.




13230494-25
               Case 24-20576-CLC        Doc 29    Filed 10/13/24   Page 447 of 565


                                           Section 3.16(c)
                                             Cure Costs

    1. See Attachment 3.16(c) attached hereto.




13230494-25
    CCMC                                                                                                                                                                                                        Subject to Revision
    Notes:
     * Executory Contracts as of 10.10.2024
     * Cure Amounts based on Accounts Payable balance as of 10/10/2024
     * Cure Amounts are not inclusive of Commercial Leases that have been exited by CCMC
                                                                                                                                                                                                   Total:                   1,704,438
    Index # Legal Entity                      Nature of the Debtor's Interest   Counterparty Name                Noticing Address                      Executory Contract Title                          Cure Costs
    1       MB Medical Operations, LLC        Commercial Lease                  1200 ALTON ROAD, LLC             4865 SW 80th St Miami, FL 33143       Lease by and between Alanar Investments LTD and                         $0.00
                                                                                                                                                       Rodolfo Dumenigo, M.D., P.A., and the Assignmenta
                                                                                                                                                       and Assumption of Lease Agreement by Alanar
                                                                                                                                                       Investments Ltd., to 1200 Alton Road, LLC


    2          MB Medical Operations, LLC     Commercial Lease                  126 WEST DIXIE LLC               4865 SW 80th St Miami, FL 33143       Lease by and between 126 West Dixie LLC, a Florida                      $0.00
                                                                                                                                                       llc and MB Medical Operations, LLC a Delaware llc


    3          MB Medical Operations, LLC     Commercial Lease                  1303 SOUTH SEMORAN LLC           4865 SW 80th St Miami, FL 33143       Lease by and between 1303 South Semoran LLC                             $0.00
                                                                                                                                                       and MB Medical Operations, LLC
    4          MB Medical Operations, LLC     Commercial Lease                  201-205 S 1st ST LLC             1400 NW 107th Ave., Suite 500, Miami, Lease by and between 201-205 S 1st ST LLC and                           $0.00
                                                                                                                 Florida 33172                         MB Medical Operations, LLC
                                                                                                                                                                                                                                                Case 24-20576-CLC




    5          MB Medical Operations, LLC     Commercial Lease                  551 E 49 ST LLC                  1200 Alton Road, Miami Beach, FL      Lease by and between 551 East 49 Street, LLC and                        $0.00
                                                                                                                 33139                                 MB Medical Operations, LLC
    6          MB Medical Operations, LLC     Commercial Lease                  750 SOUTH FEDERAL HIGHWAY LLC 1200 Alton Road, Miami Beach, FL         Lease by and between 750 Federal Highway, LLC                           $0.00
                                                                                                              33139                                    and MB Medical Operations, LLC
    7          MB Medical Operations, LLC     Commercial Lease                  7500 SW 8 ST LLC                 1200 Alton Road, Miami Beach, FL      Execution Version - Lease by and between 7500 SW                        $0.00
                                                                                                                 33139                                 8ST, LLC a Florida llc and MB Medical Operations,
                                                                                                                                                                                                                                                Doc 29




                                                                                                                                                       LLC a Delaware llc
    8          MB Medical Operations, LLC     Commercial Lease                  9611 BIRD ROAD LLC               1200 Alton Road, Miami Beach, FL      Lease by and between 9611 Bird Road LLC a Florida                       $0.00
                                                                                                                 33139                                 llc and MB Medical Operations, LLC a Delaware llc


    9          Miami Beach Medical            Payor contracts                   Aetna Better Health of Florida   Coventry Health Care of Florida, Inc.  Medicaid/Provier Group Agreement                                       $0.00
               Consultants, LLC                                                                                  Attn. Medicaid Network Management
                                                                                                                 1340 Concord Terrace Sunrise, FL 33323
                                                                                                                 and Aetna Law Dept, Medicaid, Mail
                                                                                                                 Code RE6A 151 Farmington Avenue
                                                                                                                 Hartford, CT 06156-0001
                                                                                                                                                                                                                                                Filed 10/13/24




    10         Miami Beach Medical            Payor contracts                   Aetna Network Services LLC       151 Farmington Avenue, Hartford, CT   Provider Agreement                                                      $0.00
               Consultants, LLC                                                                                  06156
    11         Miami Beach Medical            Payor contracts                   Aetna Network Services LLC       151 Farmington Avenue, Hartford, CT   Physician Group Agreement                                               $0.00
               Consultants, LLC                                                                                  06156
    12         MBMG Ultimate Holding, LP      Insurance                         AFCO Premium Credit LLC          150 N Field Drive, Suite 190, Lake    Premium Finance Agreement A joint venture of                            $0.00
                                                                                                                 Forest, IL 60045                      AFCO Credit Corporation and Marsh USA LLC
    13         Miami Medical & Wellness       Employment Agreement              Aguiar Alvarez, Gilberto         10512 sw 144 ct                       Employment Agreement by and between Gilberto                            $0.00
               Center, LLC / Rodolfo                                                                                                                   Aguiar Alvarez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                               Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                            (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
                                                                                                                                                                                                                                                Page 448 of 565




    14         Miami Medical & Wellness     Employment Agreement                Alba Oliveros, Osmel             8910 SW 200 St                        Employment Agreement by and between Osmel                               $0.00
               Center, LLC / Rodolfo                                                                                                                   Alba Oliveros, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                               Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                            (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    15         MB Medical Operations, LLC     Commercial Lease                  Aliva Properties, Inc            8405 N Edison Ave, Tampa Florida      Shopping Center Lease between Aliva Properties,                         $0.00
                                                                                                                 33604                                 Inc. and Florida Family Primary Care Centers of
                                                                                                                                                       Tampa, LLC




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                      1 of 17                                                                                                  CONFIDENTIAL
    16         Florida Family Primary Care    Commercial Lease                     Aliva Properties, Inc           8405 N Edison Ave, Tampa Florida       Shopping Center Lease between Aliva Properties,       $0.00
               Centers of Tampa, LLC                                                                               33604                                  Inc. and Florida Family Primary Care Centers of
                                                                                                                                                          Tampa, LLC
    17         Florida Family Primary Care    Commercial Lease                     Aliva Properties, Inc           8405 N Edison Ave, Tampa Florida       Shopping Center Lease between Aliva Properties,       $0.00
               Centers of Tampa, LLC                                                                               33604                                  Inc. and Florida Family Primary Care Centers of
                                                                                                                                                          Tampa, LLC
    18         Florida Family Primary Care    Commercial Lease                     Aliva Properties, Inc           8405 N Edison Ave, Tampa Florida       Shopping Center Lease between Aliva Properties,       $0.00
               Centers of Tampa, LLC                                                                               33604                                  Inc. and Florida Family Primary Care Centers of
                                                                                                                                                          Tampa, LLC
    20         Miami Medical & Wellness       Employment Agreement                 Alonso, Alberto                 4440 Sw 148 Terrace                    Employment Agreement by and between Miami             $0.00
               Center, LLC                                                                                                                                Medical & Wellness Center LLC and Alberto B.
                                                                                                                                                          Alonso, MD
    21         Care Center Network, LLC       Employment Agreement                 Alonso, Emma                    2501 SW 37th Ave                       EMPLOYMENT AGREEMENT by and between EMMA              $0.00
                                                                                                                                                          R. ALONSO, M.D.and CLINICAL CARE NETWORK,
                                                                                                                                                          INC.
    22         MB Medical Operations, LLC     Employment Agreement                 Altieri, Dalirma                10371 SW 60th St, Miami, FL 33173      Separation Agreement, Including General Release       $0.00
                                                                                                                                                          between Dalirma Altieri and MB Medical
                                                                                                                                                          Operations, LLC d/b/a Clinical Care Medical Centers


    23         Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                 Alvarez Pando, Yolanda          1291 Evergreen Park Cir.               Employment agreement by and between Yolanda           $0.00
                                                                                                                                                                                                                                Case 24-20576-CLC




               (now known as Miami Beach                                                                                                                  Alvarez Pando, MD and Rodolfo Dumenigo, M.D.,
               Medical Centers, Inc.)                                                                                                                     P.A. (now known as Miami Beach Medical Centers,
                                                                                                                                                          Inc.), d/b/a Miami Beach Medical Group
    24         Miami Medical & Wellness     Employment Agreement                   Alvarez, Juan                   14951 Belaire Drive S                  Employment Agreement by and between Juan              $0.00
               Center, LLC / Rodolfo                                                                                                                      Alvarez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                  Center / Rodolfo Dumenigo, M.D., P.A. (now known
                                                                                                                                                                                                                                Doc 29




               known as Miami Beach Medical                                                                                                               as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    25         Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Angel Batista, MD             16253 SW 102 Terr, Miami, FL 33196     INDEPENDENT CONTRACTOR AGREEMENT                      $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    27         Miami Medical & Wellness     Employment Agreement                   Arredondo Torres, Elsa Lisset   819 Southwest 6th Avenue               EMPLOYMENT AGREEMENT (this “Agreement”) is            $0.00
               Center, LLC / Rodolfo                                                                                                                      entered into as of the 24th day of April, 2023 (the
               Dumenigo, M.D., P.A. (now                                                                                                                  “Effective Date”), by and between Elsa Arredondo,
               known as Miami Beach Medical                                                                                                               APRN (“Employee”), and MIAMI MEDICAL &
               Centers, Inc.)                                                                                                                             WELLNESS CENTER/ Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                                                                                                Filed 10/13/24




                                                                                                                                                          (now known as Miami Beach Medical Centers, Inc.),
                                                                                                                                                          a Florida professional service corporation d/b/a
                                                                                                                                                          CLINICAL CARE MEDICAL CENTERS (“Employer”).


    28         Miami Medical & Wellness     Employment Agreement                   Arrieta, Reynaldo E.            10243 Oasis Palm Dr                    Employment Agreement by and between Reynaldo          $0.00
               Center, LLC / Rodolfo                                                                                                                      Arrietta, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                  Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                               as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    29         MB Medical Operations, LLC     Professional Fees                    Atlantix Partners               800 Corporate Dr # 320, Fort           Atlantix Statement of Work                            $0.00
                                                                                                                   Lauderdale, FL 33334
                                                                                                                                                                                                                                Page 449 of 565




    30         MB Medical Transport, LLC      Equipment and Financing (Vehicle PuAutonation CDJR Permbroke Pines   13601 Pines Blvd. Pembroke Pines, FL   Retail purchase agreement between MB Medical          $0.00
                                                                                                                   33027                                  Transport, LLC and Autonation CDJR Permbroke
                                                                                                                                                          Pines
    31         MB Medical Transport, LLC      Equipment and Financing (Vehicle PuAutonation CDJR Permbroke Pines   13601 Pines Blvd. Pembroke Pines, FL   Retail purchase agreement between MB Medical          $0.00
                                                                                                                   33027                                  Transport, LLC and Autonation CDJR Permbroke
                                                                                                                                                          Pines




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                        2 of 17                                                                                CONFIDENTIAL
    32         MB Medical Operations, LLC     Equipment and Financing            Balboa Capital                      575 Anton Blvd, 12th Floor Costa Mesa, Equipment Financing Agreement, Agreement                 $0.00
                                                                                                                     CA 92626                               #B379015-000 between Balboa Capital and MB
                                                                                                                                                            Medical Operations, LLC
    33         Miami Medical & Wellness       Employment Agreement               Balladares Ros, Daisel              14661 Southwest 99th Street          EMPLOYMENT AGREEMENT by and between Daisel                 $0.00
               Center, LLC / Rodolfo                                                                                                                      Balladares, APRN (“Employee”), and MIAMI
               Dumenigo, M.D., P.A. (now                                                                                                                  MEDICAL & WELLNESS CENTER/ Rodolfo
               known as Miami Beach Medical                                                                                                               Dumenigo, M.D., P.A. (now known as Miami Beach
               Centers, Inc.)                                                                                                                             Medical Centers, Inc.), a Florida professional service
                                                                                                                                                          corporation d/b/a CLINICAL CARE MEDICAL
                                                                                                                                                          CENTERS (“Employer”).
    34         Florida Family Primary Care    Employment Agreement               Batista, Moraima                    11328 Bloomington Drive              FIRST AMENDMENT TO EMPLOYMENT                              $0.00
               Center of Pasco, LLC / Florida                                                                                                             AGREEMENT by and
               Family Primary Care Centers of                                                                                                             between FLORIDA FAMILY PRIMARY CARE CENTER
               Pinellas, LLC / Florida Family                                                                                                             OF PASCO, LLC, FLORIDA FAMILY PRIMARY CARE
               Primary Care Centers of Tampa,                                                                                                             CENTERS OF PINELLAS, LLC, and FLORIDA FAMILY
               LLC                                                                                                                                        PRIMARY CARE CENTERS OF TAMPA, LLC
                                                                                                                                                          (collectively, the “Company”), and
                                                                                                                                                          MORAIMA BATISTA, M.D.
    35         MBMG Holding, LLC              Professional Fees                  BDO USA, P.C.                       100 SE 2nd Street 17th Floor Miami   Engagement Letter                                          $0.00
                                                                                                                     Tower Miami, FL 33131
                                                                                                                                                                                                                                      Case 24-20576-CLC




    36         Miami Medical & Wellness       Employment Agreement               Berrios, Rosa María                 128 Smiths Ford Road                 EMPLOYMENT AGREEMENT (this “Agreement”) by                 $0.00
               Center, LLC / Rodolfo                                                                                                                      and between Rosa Berrios, APRN (“Employee”), and
               Dumenigo, M.D., P.A. (now                                                                                                                  MIAMI MEDICAL & WELLNESS CENTER/ Rodolfo
               known as Miami Beach Medical                                                                                                               Dumenigo, M.D., P.A. (now known as Miami Beach
               Centers, Inc.)                                                                                                                             Medical Centers, Inc.), a Florida professional service
                                                                                                                                                          corporation d/b/a CLINICAL CARE MEDICAL
                                                                                                                                                                                                                                      Doc 29




                                                                                                                                                          CENTERS (“Employer”).
    37         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    38         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    39         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    40         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    41         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                                                                                                                                      Filed 10/13/24




                                                                                                                     33189 305/251 0345
    42         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    43         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    44         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    45         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    46         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
                                                                                                                                                                                                                                      Page 450 of 565




    47         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    48         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    49         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345
    50         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL    Lease Schedule                                           See #154
                                                                                                                     33189 305/251 0345




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                          3 of 17                                                                                    CONFIDENTIAL
    51         MB Medical Transport, LLC      Equipment and Financing (MercedesBill Ussery Motors of Cutler Bay, LLC 10701 SW 211th St. Cutler Bay, FL     Lease Schedule                                      See #154
                                                                                                                     33189 305/251 0345
    52         MB Medical Operations, LLC     Commercial Lease                   BJ's Restaurants, inc               c/o Gregory S. Lynds-EVP & Chief      Access and Parking License Agreement by and            $0.00
                                                                                                                     Devlolpment Officer, 7755 Center      between BJ'sRestaurants, inc. a California
                                                                                                                     Avenue, Suite 300 Huntington Beach,   coporation and MB Medical Operations, LLC a
                                                                                                                     CA 92647                              Florida llc
    53         MB Medical Operations, LLC     Meals                              Blessed Kitchen LLC                 810 W Colonial Blvd, Orlando, FL      Purchase Agreement with Clinical Care Medical       $4,031.08
                                                                                                                                                           Centers and Blessed Kitchen, LLC
    54         MB Medical Operations, LLC     Meals                              Blessed Kitchen LLC                 810 W Colonial Blvd, Orlando, FL      Purchase Agreement with Clinical Care Medical         See #53
                                                                                                                                                           Centers and Blessed Kitchen, LLC
    55         Miami Medical & Wellness       Employment Agreement               Caceres Muskus, Juan                6120 Reese Road                       Employment agreement by and between Juan               $0.00
               Center, LLC                                                                                                                                 Cacares Muskus, M.D., and Miami Medical &
                                                                                                                                                           Wellness Center / Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                           (now known as Miami Beach Medical Centers, Inc.)
    56         Rodolfo Dumenigo, M.D., P.A.   Employment Agreement (Provider) Capote Sarmiento, Rafael               3810 Nw 183rd St                      Employment Agreement                                   $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    57         MB Medical Operations, LLC     Technology                         CareOptimize                        8700 W Flagler St #400, Miami, FL     Miami Beach Medical Centers Travel Proposal            $0.00
                                                                                                                     33174
    58         Miami Beach Medical            Payor contracts                    Careplus Health Plans, Inc.         8200 NW 41 Street, Suite 305 Doral,   Primary Care Agreement                                 $0.00
                                                                                                                                                                                                                                   Case 24-20576-CLC




               Consultants, LLC                                                                                      Florida 33166
    59         Miami Beach Medical            Payor contracts                    Careplus Health Plans, Inc.         8200 NW 41 Street, Suite 305 Doral,   Primary Care Agreement                                 $0.00
               Consultants, LLC                                                                                      Florida 33166
    60         Care Center Network, LLC       Payor contracts                    Careplus Health Plans, Inc.         11430 NW 20th Street. Suite 200 Doral, Primary Care Agreement                                $0.00
                                                                                                                     Florida 33172 Attn. Provider Operations
                                                                                                                     Department
                                                                                                                                                                                                                                   Doc 29




    61         Care Center Medical Group,     Payor contracts                    Careplus Health Plans, Inc.         11430 NW 20th Street. Suite 300 Doral, Primary Care Agreement                                $0.00
               LLC                                                                                                   Florida 33172 Attn. Provider Operations
                                                                                                                     Department
    62         Miami Medical & Wellness     Employment Agreement                 Carrate, Mariannee                  12740 Sw 101 Terrace                  Employment Agreement by and between                    $0.00
               Center, LLC / Rodolfo                                                                                                                       Mariannee Carrate, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    63         Miami Medical & Wellness     Employment Agreement                 Castaneda, Carlos D                 3183 Southwest 24th Street            EMPLOYMENT AGREEMENT by and between Carlos             $0.00
               Center, LLC / Rodolfo                                                                                                                       Castaneda, PA (“Employee”), and MIAMI MEDICAL
                                                                                                                                                                                                                                   Filed 10/13/24




               Dumenigo, M.D., P.A. (now                                                                                                                   & WELLNESS CENTER/ Rodolfo Dumenigo, M.D.,
               known as Miami Beach Medical                                                                                                                P.A. (now known as Miami Beach Medical Centers,
               Centers, Inc.)                                                                                                                              Inc.), a Florida professional service corporation
                                                                                                                                                           d/b/a CLINICAL CARE MEDICAL CENTERS


    64         Miami Medical & Wellness     Employment Agreement                 Castellanos Santos, Daili           1091 Southwest 131st Avenue           Employment Agreement by and between Daili              $0.00
               Center, LLC / Rodolfo                                                                                                                       Castellanos Santos, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    65         MB Medical Operations, LLC     Commercial Lease                   CCN Holding of Hialeah, LLC         7750 SW 117 Ave Suite 306 Miami, FL   Block Lease Agreement by and between CCN               $0.00
                                                                                                                                                                                                                                   Page 451 of 565




                                                                                                                     United States                         Holding of Hialeah, LLC and MB Medical
                                                                                                                                                           Operations, LLC
    66         Miami Medical & Wellness     Employment Agreement                 Celoge, Marie Yolette               19745 E St Andrews Dr                 Employment Agreement by and Between Marie              $0.00
               Center, LLC / Rodolfo                                                                                                                       Celoge, M.D., and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                   / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                Miami Beach Medical Centers, Inc.)
               Centers, Inc.)




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                          4 of 17                                                                                 CONFIDENTIAL
    67         Miami Medical & Wellness     Employment Agreement                  Cerra Villalobos, Indira          3355 W 68 Street                        Employment Agreement by and between Indira                $0.00
               Center, LLC / Rodolfo                                                                                                                        Cerra Villalobos, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                    Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                 (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    68         Miami Medical & Wellness     Employment Agreement                  Charles, Jean Philippe            15435 SW 175 Street                     Employment Agreement by and between Jean                  $0.00
               Center, LLC / Rodolfo                                                                                                                        Charles, PA, and Miami Medical & Wellness Center /
               Dumenigo, M.D., P.A. (now                                                                                                                    Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                 Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    69         Miami Beach Medical            Insurance                           Charter Oak Fire Insurance Company One Tower Square, Hartford, CT 06183 Auto Insurance Policy                                       $0.00
               Transport, LLC
    70         Miami Beach Medical            Insurance                           Charter Oak Fire Insurance Company One Tower Square, Hartford, CT 06183 Auto Insurance Policy                                       $0.00
               Transport, LLC
    71         Rodolfo Dumenigo, M.D., P.A.   Equipment and Financing             CHG-Meridian USA Corp.            21800 Oxnard St. Suite 400, Woodland Master lease agreement by and between CHG-                   $0.00
               (now known as Miami Beach                                                                            Hills, CA 91367                      Meridian USA Corp. and Rodolfo Dumenigo, M.D.,
               Medical Centers, Inc.)                                                                                                                    P.A. (now known as Miami Beach Medical Centers,
                                                                                                                                                         Inc.)
    72         MB Medical Operations, LLC     Employment Agreement                Chin, Sharon                      10607 SW 6 St Pembroke Pines, FL        Separation Agreement, Including General Release           $0.00
                                                                                                                    33025                                   between Sharon Chin and MB Medical Operations,
                                                                                                                                                                                                                                      Case 24-20576-CLC




                                                                                                                                                            LLC d/b/a Clinical Care Medical Centers


    73         MB Medical Operations, LLC     Commercial Lease                    CITY PROPERTIES COMPANY, INC      110 E. Reynolds Sreet suite 100-A Plant Lease by and between City Properties Co. and MB       $2,100.95
                                                                                                                    City, Florica 33563                     Medical Operations, LLC
    74         MB Medical Operations, LLC     Technology                          Clearwater Compliance LLC         40 Burton Hills Blvd #200, Nashville, TN Statement of Work No. 3 Clearwater                       $0.00
                                                                                                                    37215                                    ClearAdvantage® Protect Plus Program
                                                                                                                                                                                                                                      Doc 29




    75         MB Medical Operations, LLC     Marketing                           CMG Products Corp.                6071 NW 7 Street, Suite 175, Miami, FL Consulting Agreement between MBMG Medical                  $0.00
                                                                                                                    33126                                  Centers and CMG Products
    76         MB Medical Operations, LLC     Marketing                           CMG Products Corp. & ALBITA       6071 NW 7 Street, Suite 175, Miami, FL Endorsement Agreement between Clinical care                $0.00
                                                                                                                    33126                                  Medical Centers and ALBITA
    77         MB Medical Operations, LLC   Other (including Clinical Specialists) Coastal Building Maintenance     8651 NW 70TH ST, MIAMI, FL 33166        Janitorial Services Proposal                          $1,765.50
    78         MB Medical Operations, LLC   Other (including Clinical Specialists) Coastal Building Maintenance     8651 NW 70TH ST, MIAMI, FL 33166        Janitorial Services Proposal                            See #77
    79         Miami Medical & Wellness     Employment Agreement                   Condit, Alexis Deanna Bravo      1024 NW 9 TER                           Employment Agreement by and between Alexis                $0.00
               Center, LLC / Rodolfo                                                                                                                        Bravo, APRN, and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                    / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical
                                                                                                                                                                                                                                      Filed 10/13/24




               Centers, Inc.)
    80         Miami Medical & Wellness     Employment Agreement                  Conrado, Carlos                   1355 Sw 7 Street                        Employment Agreement by and between Carlos                $0.00
               Center, LLC / Rodolfo                                                                                                                        Conrado, M.D. and Miami Medical Wellness Center/
               Dumenigo, M.D., P.A. (now                                                                                                                    Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                 Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    81         Florida Family Primary Care    Commercial Lease                    Counsel Square Office Park LLC    c/o Woodside Capital Partners 4200 S.   Lease by and between Counsel Square Office Park           $0.00
               Center of Pasco, LLC                                                                                 Hulen St., Suite 410 Ft. Worth, Texas   LLC and Florida Family Priamry Care Center of
                                                                                                                    76109 Attn: Tim Larson                  Pasco, LLC
    82         MB Medical Operations, LLC     Marketing                           Creation Image LLC                7950 NW 53rd ST #221                    Services Agreement between MB Medical                $37,657.60
                                                                                                                    Miami, FL 33166                         Operations, LLC and Creation Financial DBA BKPO
                                                                                                                                                                                                                                      Page 452 of 565




    83         MB Medical Operations, LLC     Telecommunication License Agreem Crown Castle Fiber, LLC              PO Box 28730, New York, NY 10087-       Order Agreement                                           $0.00
                                                                                                                    8730
    84         Miami Medical & Wellness     Employment Agreement                  Cuan, Ailsa                       8414 North Paddock Avenue               Employment Agreement by and between Ailsa                 $0.00
               Center, LLC / Rodolfo                                                                                                                        Cuan, M.D., and Miami Medical & Wellness Center /
               Dumenigo, M.D., P.A. (now                                                                                                                    Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                 Miami Beach Medical Centers, Inc.)
               Centers, Inc.)




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                         5 of 17                                                                                     CONFIDENTIAL
    85         Miami Medical & Wellness     Employment Agreement                   Cuenca, Michael Steven                12284 Sw 27 Street                         EMPLOYMENT AGREEMENT (this “Agreement”) by              $0.00
               Center, LLC / Rodolfo                                                                                                                                and between Michael Cuenca, M.D. (“Physician”),
               Dumenigo, M.D., P.A. (now                                                                                                                            and MIAMI MEDICAL & WELLNESS CENTER/
               known as Miami Beach Medical                                                                                                                         Rodolfo Dumenigo, M.D., P.A. (now known as
               Centers, Inc.)                                                                                                                                       Miami Beach Medical Centers, Inc.), a Florida
                                                                                                                                                                    professional service corporation d/b/a CLINICAL
                                                                                                                                                                    CARE MEDICAL CENTERS
    86         Miami Medical & Wellness     Employment Agreement                   Diaz Cardelle, Tatiana                11620 Southwest 142nd Terrace              Employment Agreement by and between Tatiana             $0.00
               Center, LLC / Rodolfo                                                                                                                                Diaz Cardelle, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                            Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                         as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    87         Miami Beach Medical           Payor contracts                       Doctors Healthcare Plans, Inc.        2020 Ponce De Leon PH 1 Coral Gables, Primary Care Provider Agreement                              $0.00
               Consultants, LLC                                                                                          FL 33134-4477 Attn: Network
                                                                                                                         Development
    88         MB Medical Operations, LLC    Other (including Clinical Specialists) Emilio Alvarez                       6740 SW 78 Terra South Miami, FL           Amendment to Lease by and between Emilio                $0.00
                                                                                                                         33143                                      Alvarez and MB Medical operations, LLC
    89         Miami Medical & Wellness     Employment Agreement                   Enriquez Dominguez, Lorayne           11360 Southwest 160th Avenue               Employment Agreement by and between Lorayne             $0.00
               Center, LLC / Rodolfo                                                                                                                                Enriquez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                            Center / Rodolfo Dumenigo, M.D., P.A. (now known
                                                                                                                                                                                                                                             Case 24-20576-CLC




               known as Miami Beach Medical                                                                                                                         as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    90         MB Medical Transport, LLC     Transportation                        Enterprise Fleet Management, Inc      PO BOX 800089 KANSAS CITY, MO              Vehicle Sales Agreement Certificiate                    $0.00
                                                                                                                         United States
    91         MB Medical Transport, LLC     Transportation                        Enterprise Fleet Management, Inc      PO BOX 800089 KANSAS CITY, MO              Vehicle Sales Agreement Certificiate                    $0.00
                                                                                                                         United States
                                                                                                                                                                                                                                             Doc 29




    92         MB Medical Transport, LLC     Transportation                        Enterprise Fleet Management, Inc      PO BOX 800089 KANSAS CITY, MO              Vehicle Sales Agreement Certificiate                    $0.00
                                                                                                                         United States
    93         MB Medical Operations, LLC    Commercial Lease                      FERN STREET PROPERTIES, LLC           12961 Deva St. Coral Gables FL 33156       Commercial Lease Agreement by and between Fern          $0.00
                                                                                                                         c/o Walter L Lista                         Street Properties, LLC and MB Medical Operations,
                                                                                                                                                                    LLC
    94         Miami Medical & Wellness     Employment Agreement                   Fernandez Armas, Yaimy                13590 Southwest 98th Street                Employment Agreement by and between Yaimy               $0.00
               Center, LLC / Rodolfo                                                                                                                                Fernandez Armas, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                            Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                         (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
                                                                                                                                                                                                                                             Filed 10/13/24




    95         Miami Medical & Wellness     Employment Agreement                   Fernandez Novales, Jorge              2850 Sw 134 Ave                            Employment Agreement by and between Jorge               $0.00
               Center, LLC / Rodolfo                                                                                                                                Fernandez Novales, M.D., and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                            Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                         (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    96         Florida Family Primary Care   Employment Agreement                  Figueroa, Yolanda                     4955 Cypress Trace Drive, Tampa, FL        Employment Agreement by and Between Florida             $0.00
               Centers of Pinellas, LLC /                                                                                33624                                      Family Primary Care Center of Pasco, LLC, Florida
               Florida Family Primary Care                                                                                                                          Family Primary Care Centers of Pinellas, LLC, and
               Centers of Tampa, LLC                                                                                                                                Florida Family Primary Care Centers of Tampa, LLC,
                                                                                                                                                                    and Yolanda Figueroa, M.D.
    97         MB Medical Operations, LLC    Other (including Clinical Specialists) First Spanish Church of the Open Bibl 490 E. 50 Street Hialeah, Florida 33013   Contract for Parking Spaces between First Spanish    $2,000.00
                                                                                                                                                                                                                                             Page 453 of 565




                                                                                                                                                                    Church of the Open Bible, Inc. and Miami Beach
                                                                                                                                                                    Medical Group, Inc.
    98         Miami Medical & Wellness     Employment Agreement                   Flores Iglesias, Carlos               16269 Sw 44Th Street                       Employment Agreement by and between Carlos              $0.00
               Center, LLC / Rodolfo                                                                                                                                Flores Iglesias, PA, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                            Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                         as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                              6 of 17                                                                                       CONFIDENTIAL
    99         Miami Beach Medical            Other (including Clinical Specialists) Florida Behavioral Center, Inc. d/b/a FFlorida Behavioral Center Inc. d/b/a      Staffing Services Agreement between Florida          $0.00
               Consultants, LLC                                                                                             Florida Healthcare System 1905 NW         Behavioral Center, Inc and Miami Beach Medical
                                                                                                                            82nd Ave, Doral Florida 33126 8400        Consultants
                                                                                                                            NW 33 Street, Suite 201, Doral, Florida
                                                                                                                            33122


    101        Miami Medical & Wellness     Employment Agreement                    Fonseca, Sailin                        4010 Boatman ave                           Employment Agreement by and between Sailin           $0.00
               Center, LLC / Rodolfo                                                                                                                                  Fonseca, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                              Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                           as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    102        Miami Beach Medical            Vendor Agreements                     Foot & Ankle Network, Inc. d/b/a Aliv 5775 Blue Lagoon Drive, Ste. 450,           Alivi Podiatry Network Provider Agreement            $0.00
               Consultants, LLC                                                                                            Miami, FL 33125, Attn: President
    103        Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                  Franco, Manuel                         6301 Collins Avenue                        EMPLOYMENT AGREEMENT                                 $0.00
               (now known as Miami Beach                                                                                                                              BETWEEN Rodolfo Dumenigo, M.D., P.A. (now
               Medical Centers, Inc.)                                                                                                                                 known as Miami Beach Medical Centers, Inc.), d/b/a
                                                                                                                                                                      MIAMI BEACH MEDICAL GROUP, a Florida
                                                                                                                                                                      prolessional association
                                                                                                                                                                      AND MANUEL A. FRANCO, M.D.
    104        Miami Beach Medical            Payor contracts                       Freedom Health, Inc.                   Attn: Provider Relations 4200 West    Group Participant Agreement                               $0.00
                                                                                                                                                                                                                                           Case 24-20576-CLC




               Consultants, LLC                                                                                            Cyprus St. Suite 1000 Tampa, FL 33607


    105        Miami Medical & Wellness     Employment Agreement                    Garcia Rodriguez, Francisco            5316 Sw 152 Court                          Employment Agreement by and between Francisco        $0.00
               Center, LLC / Rodolfo                                                                                                                                  Garcia Rodriguez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                              Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                           (now known as Miami Beach Medical Centers, Inc.)
                                                                                                                                                                                                                                           Doc 29




               Centers, Inc.)
    106        Miami Medical & Wellness     Employment Agreement                    Garcia, Emelio                         8071 Sw 159Th Ct                           Employment Agreement by and between Emelio           $0.00
               Center, LLC / Rodolfo                                                                                                                                  Garcia, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                              Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                           as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    107        MB Medical Operations, LLC     Commercial Lease                      Gardens Office Complex, LLC            C/o Horizon Properties 7785 N.W.           Lease by and between Gardens Office Complex,         $0.00
                                                                                                                           146th Street Miami Lakes, FL 33016         LLC, and MB Medical Operations, LLC
    108        Miami Medical & Wellness     Employment Agreement                    Gomez, Julio Orlando                   5050 W 22 Ct                               Employment agreement by and between Julio            $0.00
               Center, LLC / Rodolfo                                                                                                                                  Gomez, M.D., and Miami Medical & Wellness
                                                                                                                                                                                                                                           Filed 10/13/24




               Dumenigo, M.D., P.A. (now                                                                                                                              Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                           as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    109        Rodolfo Dumenigo, M.D., P.A.   Technology                            Greenway Health, LLC                   4301 West Boy Scout Boulevard, Ste         LIST OF MIGRATED ASSETS PURCHASE SCHEDULE -          $0.00
               (now known as Miami Beach                                                                                   800 Tampa, FL 33607 Attention: Legal       SIGNATURE PAGE
               Medical Centers, Inc.)                                                                                      Department
    110        Miami Medical & Wellness     Employment Agreement                    Guerra, Rene                           6575 W 4th Ave                             Employment Agreement between Miami Medical &         $0.00
               Center, LLC / Rodolfo                                                                                                                                  Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               Dumenigo, M.D., P.A. (now                                                                                                                              (now known as Miami Beach Medical Centers,
               known as Miami Beach Medical                                                                                                                           Inc.)d/b/a Miami Beach Medical Group and Rene
               Centers, Inc.)                                                                                                                                         Guerra, MD
                                                                                                                                                                                                                                           Page 454 of 565




    111        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Gumenick Family Investments No. 2 L959 West Avenue, Miami Beach, Florida Monthly Parking Agreement between Gumenick                   $0.00
               (now known as Miami Beach                                                                                33139                                 Family Investments No. 2 Ltd. and Rodolfo
               Medical Centers, Inc.)                                                                                                                         Dumenigo MD PA




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                                7 of 17                                                                                   CONFIDENTIAL
    112        Miami Medical & Wellness     Employment Agreement                   Gutierrez Diaz, Adys I                3102 West Henry Avenue                   EMPLOYMENT AGREEMENT by and between Adys                 $0.00
               Center, LLC / Rodolfo                                                                                                                              Gutierrez, APRN (“Employee”), and MIAMI MEDICAL
               Dumenigo, M.D., P.A. (now                                                                                                                          & WELLNESS CENTER/ Rodolfo Dumenigo, M.D.,
               known as Miami Beach Medical                                                                                                                       P.A. (now known as Miami Beach Medical Centers,
               Centers, Inc.)                                                                                                                                     Inc.), a Florida professional service corporation
                                                                                                                                                                  d/b/a CLINICAL CARE MEDICAL CENTERS


    113        MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                         8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                         33166 Attention: Contract Administrator


    114        MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                         8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                         33166 Attention: Contract Administrator


    115        MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                         8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                         33166 Attention: Contract Administrator


    116        MB Medical Operations, LLC     Other (including Clinical Specialists) Healthcare Environmental Services   Healthcare Environmental Services, LLC HEALTHCARE ENVIRONMENTAL SERVICES                          $0.00
                                                                                                                                                                                                                                           Case 24-20576-CLC




                                                                                                                         8496 NW 61 Street, Miami, Florida       DOCUMENT DESTRUCTION SERVICES AGREEMENT
                                                                                                                         33166 Attention: Contract Administrator


    117        Miami Beach Medical            Payor contracts                      HealthSun Physicians Network I, LLC HealthSun Physician Network I, LLC         Primary Care Physician Network Agreement                 $0.00
               Consultants, LLC                                                                                        3250 Mary Street, Suite 300 Coconut
                                                                                                                       Grove, Florida 33133 Attn: President
                                                                                                                                                                                                                                           Doc 29




    118        Miami Medical & Wellness     Employment Agreement                   Hernandez Perez, Javier               3105 Oakland Shores Drive                Employment Agreement by and between Javier               $0.00
               Center, LLC / Rodolfo                                                                                                                              Hernandez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                          Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                       as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    119        MB Medical Operations, LLC     Equipment and Financing              Highland Capital Corp                 1 Passaic Ave., Fairfield NJ 07004       Equipment Lease Agreement                                $0.00
    121        MB Medical Operations, LLC     Commercial Lease                     Horus International Corp LLC          13231 Byrd Legg Drive Odessa, Florida    Lease by and between Horus International             $5,826.61
                                                                                                                         33556                                    Coportaion, llc and Clinical Care Medial Centers
    122        MBMG Holding, LLC              Professional Fees                    Houlihan Lokey Financial Advisors, Inc3060 Peachtree Road NW, Ste 1500,        Engagement Letter (GWI, MIU)                             $0.00
                                                                                                                         15th Floor Atlanta, GA 30305
                                                                                                                                                                                                                                           Filed 10/13/24




    123        Rodolfo Dumenigo, M.D., P.A.   Payor contracts                      Humana Insurance Company, Human Humana Inc. PO Box 1438 Louisville,            Independent Practice Association Participation           $0.00
               (now known as Miami Beach                                                                           Kentucky 40201-1438 Attn: Law                  Agreement
               Medical Centers, Inc.)                                                                              Department
    124        Rodolfo Dumenigo, M.D., P.A.   Payor contracts                      Humana Insurance Company, Human Humana Inc. PO Box 1438 Louisville,            Physcian Participation Agreement                         $0.00
               (now known as Miami Beach                                                                           Kentucky 40201-1438 Attn: Law
               Medical Centers, Inc.)                                                                              Department
    125        Miami Beach Medical            Payor contracts                      Humana Insurance Company, Human 500 West Main Street Louisville,               Settlement and Release Agreement                         $0.00
               Consultants, LLC                                                                                    Kentucky 40202 Attn: Law Department
    126        Miami Beach Medical            Payor contracts                      Humana Pharmacy, Inc.                 500 West Main Street Louisville,         Master Over-the-Counter Product Ordering                 $0.00
               Consultants, LLC                                                                                          Kentucky 40202 Attn: Law Department      Agreement
    127        Miami Beach Medical            Vendor Agreements                    iCare Health Solutions, LLC           7600 Corporate Center Drive, Ste. 200,   Individual Provider Agreement                            $0.00
                                                                                                                                                                                                                                           Page 455 of 565




               Consultants, LLC                                                                                          Miami, FL 33126
    128        MB Medical Operations, LLC     Services Agreement                   j2 Cloud Services, LLC                6922 Hollywood Blvd., Suite 500 Los      Services Agreement                                       $0.00
                                                                                                                         Angeles, CA 90028 Attn: Legal
                                                                                                                         Department
    129        MB Medical Operations, LLC     Technology                           JAM INFOSYS, LLC d/b/a AANEEL         6650 Gunn Hwy Tampa, FL 33556            AANEEL HEALTH SERVICES AGREEMENT between            $46,806.08
                                                                                   HEALTH SERVICES                       United States of America                 Jam Infosys, LLC and Clincal Care Medical Centers
    130        MB Medical Operations, LLC     Employment Agreement                 JCL Advisory, LLC                     9341 SW 57 Ter, Miami, FL 33173          Independent Contractor Agreement                         $0.00




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                              8 of 17                                                                                     CONFIDENTIAL
    131        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) JMO Group, LLC.                  5120 Fallen Leaf Dr, Riverview, FL 33578 INDEPENDENT CONTRACTOR AGREEMENT                       $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    132        MB Medical Operations, LLC     Other (including Clinical Specialists) Joshua Manbor                    9595 Collins Ave Apt 408 Miami Beach, BUSINESS ASSOCIATE AGREEMENT                              $0.00
                                                                                                                      FL United States
    133        MB Medical Operations, LLC     Equipment and Financing               Konica Minolta Payment Services   Konica Minolta Healthcare Americas,    Master Subsciption Agreement between Customer            $0.00
                                                                                                                      Inc. 411 Newark Pompton Turnpike       and Konica Minolta Payment Services
                                                                                                                      Wayne, NJ 07470-0934
    134        Miami Medical & Wellness     Employment Agreement                    Labrada Viera, Osmel              585 West 25th Street                   Employment Agreement                                     $0.00
               Center, LLC / Rodolfo
               Dumenigo, M.D., P.A. (now
               known as Miami Beach Medical
               Centers, Inc.)
    135        MB Medical Operations, LLC     Commercial Lease                      LAKELAND INVESTMENTS LLC          222 Poinciana Dr. Sunny Isles Beach,   Lease agreement by and between Lakeland                  $0.00
                                                                                                                      Florida 33160                          Investments, LLC and MB Medical Operations, LLC
    136        MB Medical Operations, LLC     Dental Contracts (LHA)                LHA Smiles Design, Inc.           9460 SW 6th Lane Miami, FL 33174       Dental Services Participation and Management             $0.00
                                                                                                                                                             Agreement by and among MB Medical Operations,
                                                                                                                                                             LLC and its Subsidiaries ("MBMG") and LHA Smiles
                                                                                                                                                             Design, Inc.
    137        Florida Family Primary Care    Dental Contracts (LHA)                LHA Smiles Design, Inc.           9460 SW 6th Lane Miami, FL 33174       Dental Services Participation and Management             $0.00
                                                                                                                                                                                                                                      Case 24-20576-CLC




               Center, LLC                                                                                                                                   Agreement by and among MB Medical Operations,
                                                                                                                                                             LLC and its Subsidiaries ("MBMG") and LHA Smiles
                                                                                                                                                             Design, Inc.
    138        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Life Radiology                   3470 NW 82 AVE, STE 119 Doral, FL      Letter of Agreement for Radiology Services               $0.00
               (now known as Miami Beach                                                                              33122                                  between Clinical Care and Life Radiology
               Medical Centers, Inc.)
                                                                                                                                                                                                                                      Doc 29




    139        MB Medical Operations, LLC     Technology                            Lightbeam Health Solutions        222 W Las Colinas Blvd. #2200n, Irving, Lightbeam Health Solutions Order Form              $53,244.38
                                                                                                                      TX 75039
    140        MB Medical Operations, LLC     Commercial Lease                      Lillian Loeffler QTIP Trust       6 Cayuga Road, Fort Lauderdale, Florida Lease between MB Medical Operations llc and             $0.00
                                                                                                                      33308                                   Lillian Loeffler QTIP Trust
    141        MBMG Ultimate Holding, LP      Professional Fees                     LOCKTON COMPANIES                 4725 PIEDMONT ROW DR STE 510           PREMIUM FINANCE AGREEMENT (24000322)                     $0.00
                                                                                    LLC/CHARLOTTE                     CHARLOTTE,NC 28210
    142        MBMG Ultimate Holding, LP      Professional Fees                     LOCKTON COMPANIES                 4725 PIEDMONT ROW DR STE 510           PREMIUM FINANCE AGREEMENT (24000322)                     $0.00
                                                                                    LLC/CHARLOTTE                     CHARLOTTE,NC 28210
    143        Miami Medical & Wellness     Employment Agreement                    Lopez, Esdras                     9805 SW 77 Place                       Employment Agreement between Miami Medical &             $0.00
               Center, LLC / Rodolfo                                                                                                                         Wellness Center / Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                                                                                                      Filed 10/13/24




               Dumenigo, M.D., P.A. (now                                                                                                                     (now known as Miami Beach Medical Centers,
               known as Miami Beach Medical                                                                                                                  Inc.)and Esdras Lopez, MD
               Centers, Inc.)
    144        Miami Medical & Wellness     Employment Agreement                    Lugo Rodriguez, Randy             710 nw 14th ave                        Employment Agreement by and between Randy                $0.00
               Center, LLC / Rodolfo                                                                                                                         Lugo, APRN, and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                     / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                  Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    145        MB Medical Transport, LLC      Transportation                        Lyft Healthcare, Inc.             185 Berry Street, Suite 5000 San       Lyft business agreement by and between MB          $411,972.58
                                                                                                                      Francisco, CA 94107                    Medical Transport LLC and Lyft Healthcare Inc
    146        Miami Beach Medical            Vendor Agreements                     Magellan Healthcare, Inc.         14100 Magellan Plaza, Maryland         Network Provider Agreement                               $0.00
                                                                                                                                                                                                                                      Page 456 of 565




               Consultants, LLC                                                                                       Heights, MO 63043
    147        Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Maldonado, Lilliam Vazquez                    PO Box 772036 Orlando, FL 32877        Employment Agreement by and between Lilliam              $0.00
               Center, LLC / Rodolfo                                                                                                                         Vazquez Maldonado, M.D., and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                     Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                  (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    148        MB Medical Operations, LLC     Commercial Lease                      Marion Simmons                    507 Sandalwood Drive Plant City, FL    Commecial lease by and between Marion Simmons        $8,378.66
                                                                                                                      33563                                  and MB Medical Operations




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                           9 of 17                                                                                   CONFIDENTIAL
    149        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Marper, pllc                     7060 NW 75 St Parkland, FL 33067        INDEPENDENT CONTRACTOR AGREEMENT                           $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    150        Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                  Martinez-Negron, Melanie          7444 Palm River Rd Tampa, FL 33619      Employment Agreement by and between JMO                    $0.00
               (now known as Miami Beach                                                                                                                      Group, LLC, and Rodolfo Dumenigo, M.D., P.A. (now
               Medical Centers, Inc.)                                                                                                                         known as Miami Beach Medical Centers, Inc.)
    151        Miami Medical & Wellness     Employment Agreement                    Matos, Rafael                     4604 Netherwood Drive                   Employment Agreement by and between Rafael                 $0.00
               Center, LLC / Rodolfo                                                                                                                          Matos, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                      Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                   as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    152        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) McKesson Medical-Surgical Inc.   9954 Mayland Drive, Suite 4000,         Product Supply Agreement                             $170,880.34
               (now known as Miami Beach                                                                              Richmond, Virginia 23233
               Medical Centers, Inc.)
    153        Miami Beach Medical            Payor contracts                       Medica Healthcare Plans, Inc.     9100 S. Dadeland Blvd., Suite 1250      Network Risk Agreement                                     $0.00
               Consultants, LLC                                                                                       Miami, FL 33156-7838
    154        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE             $24,453.46
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    155        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                                                                                                                                         Case 24-20576-CLC




                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    156        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    157        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                                                                                                                                         Doc 29




                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    158        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    159        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    160        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                                                                                                         Filed 10/13/24




                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    161        MB Medical Transport, LLC      Equipment and Financing (MercedesMercedez Benz of Cutler Bay            10701 SW 211th St. Cutler Bay, FL       RETAIL INSTALLMENT SALE CONTRACT - SIMPLE               See #154
                                                                                                                      33189 305/251 0345                      FINANCE CHARGE (WITH ARBITRATION
                                                                                                                                                              PROVISION) (VIN W1Z4EGHY1MT080183)
    162        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Mia Lab Inc.                     2129 West 76 St, Hialeah, FL 33016      CONTRACT                                              $25,916.52
               (now known as Miami Beach
               Medical Centers, Inc.)
    163        Rodolfo Dumenigo, M.D., P.A.   Vendor Agreements                     Miami Lab Inc.                    2916 N Miami Avenue Suite 10C Miami, Contract                                                      $0.00
               (now known as Miami Beach                                                                              FL 33127
               Medical Centers, Inc.)
    164        MB Medical Operations, LLC     Commercial Lease                      Miami Metro Medical LLC           1200 Alton Road, Miami Beach, FL        Lease by and between 12550 Biscayne, LLC a Florida         $0.00
                                                                                                                                                                                                                                         Page 457 of 565




                                                                                                                      33139                                   llc and MB Medical Operations, LLC a Delaware llc


    167        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Mobile Vision Doctors, LLC       1315 Silk Oak Dr. Hollywood, FL 33021 Professional Services Agreement between Clinical             $0.00
               (now known as Miami Beach                                                                                                                    Care Medical Centers and Mobile vision Doctors,
               Medical Centers, Inc.)                                                                                                                       LLC
    168        Rodolfo Dumenigo, M.D., P.A.   Vendor Agreements                     Mobile Vision Doctors, LLC        Attn: Dr. Ryan C. Verxagio, 1315 Silk   Professional Services Agreement between Clinical           $0.00
               (now known as Miami Beach                                                                              Oak Drive, Hollywood, FL 33021;         Care Medical Centers and Mobile vision Doctors,
               Medical Centers, Inc.)                                                                                 mobilevisiondoctors@gmail.com           LLC




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                          10 of 17                                                                                      CONFIDENTIAL
    169        Miami Beach Medical            Payor contracts                     Molina Healthcare of Florida, Inc.    Molina Healthcare of Florida, Inc. 8300   Group Services Agreement                                    $0.00
               Consultants, LLC                                                                                         NW 33rd Street, Ste. 400 Doral, FL
                                                                                                                        33122 Attention: President
    170        Miami Medical & Wellness       Employment Agreement                Mora, Abel                            8917 Northwest 146th Terrace              EMPLOYMENT AGREEMENT AND PROTOCOL                           $0.00
               Center, LLC / Rodolfo                                                                                                                              BETWEEN MIAMI MEDICAL &WELLNESS CENTER /
               Dumenigo, M.D., P.A. (now                                                                                                                          Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                       Miami Beach Medical Centers, Inc.), d/b/a MIAMI
               Centers, Inc.)                                                                                                                                     BEACH MEDICAL GROUP AND ABEL MORA, APRN


    171        Miami Beach Medical            Vendor Agreements                   NCH Management Systems, Inc.          11000 SW 104 St # 161092 Miami, FL        Provider Agreement                                          $0.00
               Consultants, LLC                                                                                         33116
    172        MB Medical Operations, LLC     Technology                          NextGen Healthcare Inc.               18111 Von Karman Ave, Suite 600           Supplemental Order Form (PG-2022-255291)              $749,891.64
                                                                                                                        Irvine, California 92612
    173        MB Medical Operations, LLC     Technology                          NextGen Healthcare Inc.               18111 Von Karman Ave, Suite 600           Supplemental Order Form (PG-2022-255291)                 See #172
                                                                                                                        Irvine, California 92612
    174        MB Medical Operations, LLC     Technology                          NextGen Healthcare Inc.               18111 Von Karman Ave, Suite 600           Supplemental Order Form (PG-2022-255291)                 See #172
                                                                                                                        Irvine, California 92612
    175        MB Medical Operations, LLC     Employment Agreement                Nunez, Salvador                       8035 Diamond Creek Ln Lakeland, FL        Separation Agreement, Including General Release             $0.00
                                                                                                                        33809                                     between Salvador Nunez and MB Medical
                                                                                                                                                                  Operations, LLC d/b/a Clinical Care Medical Centers
                                                                                                                                                                                                                                              Case 24-20576-CLC




    176        MB Medical Operations, LLC     Other (including Clinical Specialists) Olympia Heights Methodist Church   1400 NW 107 Ave, Suite 500 Doral, Fl      Contract for Parking Spaces between Olympia                 $0.00
                                                                                                                        33172                                     Heights Methodist Church and MB Medical
                                                                                                                                                                  Operations, LLC
    177        Miami Beach Medical            Payor contracts                     Optimum Healthcare, Inc.              Attn: Provider Relations 4200 West    Group Participant Agreement                                     $0.00
               Consultants, LLC                                                                                         Cyprus St. Suite 1000 Tampa, FL 33607
                                                                                                                                                                                                                                              Doc 29




    178        MB Medical Operations, LLC     Technology                          Oracle America, Inc.                  2300 Oracle Way Austin, TX 78741          Payment Schedule for MB Medical Operations, LLC             $0.00


    179        Miami Medical & Wellness     Employment Agreement                  Otano Ramon, Yanin                    549 Northeast 35th Avenue                 Employment Agreement by and between Yanin                   $0.00
               Center, LLC / Rodolfo                                                                                                                              Otano Sanchez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                          Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                       (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    180        Miami Medical & Wellness     Employment Agreement                  Padilla Ayala, Luisa                  13607 Fawn Ridge Blvd                     Employment Agreement by and between Luisa                   $0.00
               Center, LLC / Rodolfo                                                                                                                              Padilla Ayala, APRN, and Miami Medical & Wellness
                                                                                                                                                                                                                                              Filed 10/13/24




               Dumenigo, M.D., P.A. (now                                                                                                                          Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                       as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    181        MB Medical Operations, LLC     Commercial Lease                    Palm River Square Associates, LLC     7978 Cooper Creek Boulevard,              Lease by and between Palm River Square Asociates,           $0.00
                                                                                                                        University Park, Florida 34201            llc and MB Medical Operations, llc
    182        MB Medical Operations, LLC     Equipment and Financing             Patterson Dental Supply, Inc.         1031 Mendota Heights Road Attn:           Installment Sale Contract between Patterson Dental          $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120            Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                  Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                  Homestead, FL 33030-4360
    183        MB Medical Operations, LLC     Equipment and Financing             Patterson Dental Supply, Inc.         1031 Mendota Heights Road Attn:           Installment Sale Contract between Patterson Dental          $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120            Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                                                                                              Page 458 of 565




                                                                                                                                                                  Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                  Homestead, FL 33030-4360
    184        MB Medical Operations, LLC     Equipment and Financing             Patterson Dental Supply, Inc.         1031 Mendota Heights Road Attn:           Installment Sale Contract between Patterson Dental          $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120            Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                  Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                  Homestead, FL 33030-4360




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                              11 of 17                                                                                       CONFIDENTIAL
    185        MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                 Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                 Homestead, FL 33030-4360
    186        MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                 Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                 Homestead, FL 33030-4360
    187        MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                 Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                 Homestead, FL 33030-4360
    188        MB Medical Operations, LLC     Equipment and Financing              Patterson Dental Supply, Inc.        1031 Mendota Heights Road Attn:          Installment Sale Contract between Patterson Dental     $0.00
                                              (Patterson Dental Supply)                                                 Equip Finance St Paul MN 55120           Supply, Inc and Richard Charles Lage/MB Medical
                                                                                                                                                                 Operations, LLC for delivery to 151 NW 11 St.
                                                                                                                                                                 Homestead, FL 33030-4360
    189        Miami Medical & Wellness     Employment Agreement                   Pebe Florian, Claudia Esther         2400 sw 113 court                        Employment Agreement by and between Claudia            $0.00
               Center, LLC / Rodolfo                                                                                                                             Pebe Florian, M.D. (“Physician”), and MIAMI
               Dumenigo, M.D., P.A. (now                                                                                                                         MEDICAL & WELLNESS CENTER/ Rodolfo
               known as Miami Beach Medical                                                                                                                      Dumenigo, M.D., P.A. (now known as Miami Beach
                                                                                                                                                                                                                                        Case 24-20576-CLC




               Centers, Inc.)                                                                                                                                    Medical Centers, Inc.)
    190        Miami Medical & Wellness     Employment Agreement                   Perez, Reynaldo                      8440 Sw 8Th St                           Employment Agreement by and Between Reynaldo           $0.00
               Center, LLC / Rodolfo                                                                                                                             Perez, M.D., and Miami Medical & Wellness Center /
               Dumenigo, M.D., P.A. (now                                                                                                                         Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                      Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
                                                                                                                                                                                                                                        Doc 29




    191        Miami Medical & Wellness     Employment Agreement                   Pimentel, Haydee                     6726 Hanley Rd Tampa, FL 33634           Employment Agreement by and between Haydee             $0.00
               Center, LLC / Rodolfo                                                                                                                             Pimentel, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                         Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                                      as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    192        Miami Beach Medical            Payor contracts                      Preferred Care Partners, INC         9100 S. Dadeland Blvd., Suite 1250       Network Risk Agreement                                 $0.00
               Consultants, LLC                                                                                         Miami, FL 33156-7838
    193        Florida Family Primary Care    Commercial Lease                     Prestige Park LLC                    3285 East Ruby Hill Drive, Pleasanton,   Business Lease between the Prestige Park LLC and       $0.00
               Centers of Pinellas, LLC                                                                                 California 94566                         Florida Family Primary Care Centers of Pinellas LLC
                                                                                                                                                                                                                                        Filed 10/13/24




    194        MB Medical Operations, LLC     Equipment and Financing              Prohealth Capital,                   1111 Old Eagle School Road, Wayne,       Finance Agreement by and between MB Medical            $0.00
                                                                                                                        Pennsylvania 19087                       Operations and ProHealth Capital
    195        Miami Beach Medical            Vendor Agreements                    QMHC d/b/a Alivi Health              2221 N University Dr Pembroke Pines,     Provider Agreement                                     $0.00
               Consultants, LLC                                                                                         FL 33024
    196        Miami Beach Medical            Vendor Agreements                    Quality Managed Health Care, Inc. d/ 5775 Blue Lagoon Drive, Ste. 450,        Alivi Chiro Network Provider Agreement                 $0.00
               Consultants, LLC                                                                                         Miami, FL 33125, Attn: President
    197        Miami Beach Medical            Vendor Agreements                    Quality Managed Health Care, Inc. d/ 5775 Blue Lagoon Drive, Ste. 450,        Alivi Chiro Network Provider Agreement                 $0.00
               Consultants, LLC                                                                                         Miami, FL 33125, Attn: President
    198        Miami Medical & Wellness     Employment Agreement                   Querol Matos, Wilfredo Andres        16134 Southwest 138th Court              Employment Agreement by and between Wilfredo           $0.00
               Center, LLC / Rodolfo                                                                                                                             Querol Matos, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                         Wellness Center / Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                                                                                                        Page 459 of 565




               known as Miami Beach Medical                                                                                                                      (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    199        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Rafael Capote, MD                  8812 NW 150 St Miami Lakes, FL 33018 INDEPENDENT CONTRACTOR AGREEMENT by and                    $0.00
               (now known as Miami Beach                                                                                                                         between Rodolfo Dumenigo, M.D., P.A. (now known
               Medical Centers, Inc.)                                                                                                                            as Miami Beach Medical Centers, Inc.)d//b/a Clinical
                                                                                                                                                                 Care Medical Centers and Rafael Capote, MD




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                            12 of 17                                                                                   CONFIDENTIAL
    200        Miami Medical & Wellness     Employment Agreement                  Ramos Ferreiro, Seidel Idailys    7542 Armand Circle                     Employment Agreement by and between Seidel               $0.00
               Center, LLC / Rodolfo                                                                                                                       Ramos Ferreiro, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    201        Miami Medical & Wellness     Other (including Clinical Specialists) Raul Falero MD LLC               6861 SW 147th Ave Apt ## Miami, FL     INDEPENDENT CONTRACTOR AGREEMENT by and                  $0.00
               Center, LLC / Rodolfo                                                                                33193                                  between Miami Medical & Wellness Center /
               Dumenigo, M.D., P.A. (now                                                                                                                   Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                Miami Beach Medical Centers, Inc.)d//b/a Clinical
               Centers, Inc.)                                                                                                                              Care Medical Centers and Raul Falero MD LLC
    202        Miami Medical & Wellness     Employment Agreement                  Reyes Leon, Aslien                11420 Southwest 143th Court            EMPLOYMENT AGREEMENT by and between Aslien               $0.00
               Center, LLC / Rodolfo                                                                                                                       Reyes Leon, APRN
               Dumenigo, M.D., P.A. (now                                                                                                                   (“Employee”), and MIAMI MEDICAL & WELLNESS
               known as Miami Beach Medical                                                                                                                CENTER/ RODOLFO DUMENIGO
               Centers, Inc.)                                                                                                                              M.D., P.A., a Florida professional service corporation
                                                                                                                                                           d/b/a CLINICAL CARE MEDICAL
                                                                                                                                                           CENTERS (“Employer”).
    203        Miami Medical & Wellness     Employment Agreement                  Reyes Ortega, Maritza             6910 Southwest 163rd Place             Employment Agreement by and between Maritza              $0.00
               Center, LLC / Rodolfo                                                                                                                       Reyes Ortega, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
                                                                                                                                                                                                                                    Case 24-20576-CLC




               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    204        MB Medical Operations, LLC     Commercial Lease                    RLV Oriole Plaza LP               1500 Northwestern Highway, Suite 300, Lease by and between RLV Oriole Plaza LP a                $0.00
                                                                                                                    Farmington Hills, Michigan 48334      Delaware limited partnership, as Landlord, and MB
                                                                                                                                                          Medical Operations LLC d/b/a/ Delray Medical
                                                                                                                                                          Center by MBMG, a Delaware limited liability
                                                                                                                                                                                                                                    Doc 29




                                                                                                                                                          company, as Tenant, for space B-210 in the above
                                                                                                                                                          reference shopping center.
    205        MB Medical Operations, LLC     Employment Agreement                Robbins, Jackie S                 9030 Notchwood Court Orlando, FL       Separation Agreement, Including General Release          $0.00
                                                                                                                    32825                                  between Jackie S. Robbins and MB Medical
                                                                                                                                                           Operations, LLC d/b/a Clinical Care Medical Centers


    206        Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Rodriguez Abreu, Ernesto                    8798 Southwest 52nd Street             Employment Agreement by and between Ernesto              $0.00
               Center, LLC / Rodolfo                                                                                                                       Rodriguez Abreu, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
                                                                                                                                                                                                                                    Filed 10/13/24




               Centers, Inc.)
    207        Miami Medical & Wellness     Employment Agreement                  Rodriguez Martinez, Geysert       8899 Southwest 220th Lane              Employment Agreement by and between Geysert              $0.00
               Center, LLC / Rodolfo                                                                                                                       Rodriguez Martinez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    208        Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                Rodriguez Rivera, David Eduardo   23161 Pachino Way                      EMPLOYMENT AGREEMENT BETWEEN Rodolfo                     $0.00
               (now known as Miami Beach                                                                                                                   Dumenigo, M.D., P.A. (now known as Miami Beach
               Medical Centers, Inc.)                                                                                                                      Medical Centers, Inc.), d/b/a MIAMI BEACH
                                                                                                                                                           MEDICAL GROUP/
                                                                                                                                                           a Florida Professional Service Corporation AND
                                                                                                                                                                                                                                    Page 460 of 565




                                                                                                                                                           DAVID EDUARDO RODRIGUEZ RIVERA, MD
    209        Miami Medical & Wellness     Employment Agreement                  Rodriguez Rodriguez, Odarkys      2126 SW 16 Street                      Employment Agreement by and between Odarkys              $0.00
               Center, LLC / Rodolfo                                                                                                                       Rodriguez Rodriguez, APRN, and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                   Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                                (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                        13 of 17                                                                                   CONFIDENTIAL
    210        Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Rodriguez, Jorge Machin                   1608 W Oak Ave Plant City,FL 33563     Employment Agreement by and between Jorge                 $0.00
               Center, LLC / Rodolfo                                                                                                                     Machin Rodriguez, M.D., and Miami Medical &
               Dumenigo, M.D., P.A. (now                                                                                                                 Wellness Center / Rodolfo Dumenigo, M.D., P.A.
               known as Miami Beach Medical                                                                                                              (now known as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    211        Miami Medical & Wellness     Employment Agreement                  Rodriguez, Veronica             19274 NW 19th St                       EMPLOYMENT AGREEMENT (this “Agreement”) by                $0.00
               Center, LLC / Rodolfo                                                                                                                     and between Veronica Rodriguez, M.D.
               Dumenigo, M.D., P.A. (now                                                                                                                 (“Physician”), and MIAMI MEDICAL & WELLNESS
               known as Miami Beach Medical                                                                                                              CENTER/ Rodolfo Dumenigo, M.D., P.A. (now known
               Centers, Inc.)                                                                                                                            as Miami Beach Medical Centers, Inc.),
    212        Miami Medical & Wellness     Employment Agreement                  Rodriguez, Yoelquis             7681 W 34 Lane                         Employment Agreement by and between Yoelquis              $0.00
               Center, LLC / Rodolfo                                                                                                                     Rodriguez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                 Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                              as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    213        Care Center Network, LLC       Other (including Clinical Specialists) Romel Figueredo, MD P.A.     12854 SW 51 Street Miramar, FL 33027 INDEPENDENT CONTRACTOR AGREEMENT by and                     $0.00
                                                                                                                                                       among Clinical Care Network, Inc., Romel
                                                                                                                                                       Figueredo, M.D., PA and Romel Figueredo, M.D.
    214        Miami Medical & Wellness     Employment Agreement                  Saint Fleur, Samson             2216 Southwest 195th Avenue            Employment Agreement by and between Samson                $0.00
               Center, LLC / Rodolfo                                                                                                                     Saint Fleur, PA, and Miami Medical & Wellness
                                                                                                                                                                                                                                   Case 24-20576-CLC




               Dumenigo, M.D., P.A. (now                                                                                                                 Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                              as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    215        MB Medical Operations, LLC     Technology                          salesforce.com, inc.            Salesforce Tower 415 Mission Street,   Order Form (Q-04150927)                                   $0.00
                                                                                                                  3rd Floor San Francisco, CA 94105
    216        MB Medical Operations, LLC     Technology                          salesforce.com, inc.            Salesforce Tower 415 Mission Street,   Order Form (Q-04150927)                                   $0.00
                                                                                                                                                                                                                                   Doc 29




                                                                                                                  3rd Floor San Francisco, CA 94105
    217        Miami Medical & Wellness     Employment Agreement                  Sanchez Rodriguez, Yandris I    23813 Southwest 107th Place            Employment Agreement by and between Yandris               $0.00
               Center, LLC / Rodolfo                                                                                                                     Sanchez, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                 Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                              as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    218        Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                Santiago, Mario A               5031 Down Court                        Employment Agreement by and Between Mario A.              $0.00
               (now known as Miami Beach                                                                                                                 Santiago Flores, M.D., and Rodolfo Dumenigo, M.D.,
               Medical Centers, Inc.)                                                                                                                    P.A. (now known as Miami Beach Medical Centers,
                                                                                                                                                         Inc.)d/b/a Miami Beach Medical Group
                                                                                                                                                                                                                                   Filed 10/13/24




    219        MB Medical Operations, LLC     Technology                          ScribeEMR Inc.                  500 West Cummings Park, Suite 2950     MEDICAL CODING SERVICE AGREEMENT                     $22,534.75
                                                                                                                  Woburn, MA 01801
    220        Miami Beach Medical            Technology                          Scrivas, LLC                    8720 N. Kendall Drive, Suite 204, Miami, ADDENDUM D Addition of Tiered Pricing Structure    $24,052.32
               Consultants, LLC                                                                                   FL 33176
    221        Miami Beach Medical            Dental Contracts (Senior Dental)    Senior Dental LLC               1321 SW 107th Ave Suite 216A Miami,    Participation Agreement by and between Miami              $0.00
               Consultants, LLC                                                                                   FL 33174                               Beach Medical Consultants, LLC, Rodolfo
                                                                                                                                                         Dumenigo, MD, PA and Senior Dental, LLC
    222        Miami Medical & Wellness     FIRST AMENDMENT TO EMPLOYME Silva Barrero, Yunior                     15527 Southwest 16th Street            Employment Agreement by and between Yunior                $0.00
               Center, LLC / Rodolfo                                                                                                                     Silva Barrero, M.D. and Miami Medical Wellness
               Dumenigo, M.D., P.A. (now                                                                                                                 Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                              as Miami Beach Medical Centers, Inc.)
                                                                                                                                                                                                                                   Page 461 of 565




               Centers, Inc.)
    223        Miami Medical & Wellness     Employment Agreement                  Silva, Manuel                   1924 Southwest 151 Place               Employment Agreement by and between Manuel                $0.00
               Center, LLC / Rodolfo                                                                                                                     Silva, APRN, and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                 / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                              Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    224        Miami Beach Medical            Payor contracts                     Simply Healthcare Plans, Inc.   c/o Legal Department 9250 W. Flagler   Provider Agreement                                        $0.00
               Consultants, LLC                                                                                   St., Suite 600 Miami, FL 33174




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                      14 of 17                                                                                    CONFIDENTIAL
    225        Miami Beach Medical            Payor contracts                      Simply Healthcare Plans, Inc.         c/o Legal Department 9250 W. Flagler    Provider Agreement                                       $0.00
               Consultants, LLC                                                                                          St., Suite 600 Miami, FL 33174
    226        MBMG Ultimate Holding, LP      Employment Agreement                 Singh, Sanjeev                        19 Dougshire Court Burr Ridge, IL       Separation Agreement by and among MBMG                   $0.00
                                                                                                                         60527                                   Holding, LLC MBMG Ultimate Holding, and Sanjeev
                                                                                                                                                                 Singh
    227        Florida Family Primary Care    Payor contracts                      Solis Health Plans, Inc               9250 NW 36th Street, Suite 400 Doral,   Network Provider Agreement                               $0.00
               Centers of Tampa, LLC                                                                                     Florida 33178
    228        Miami Beach Medical            Payor contracts                      Solis Health Plans, Inc               9250 NW 36th Street, Suite 400 Doral,   Network Provider Agreement                               $0.00
               Consultants, LLC                                                                                          Florida 33178
    229        Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                 Soto, Maria                           1012 Ferndown CT Aiken, SC 29803        Employment Agreement by and between Maria                $0.00
               (now known as Miami Beach                                                                                                                         Soto, M.D., and Rodolfo Dumenigo, M.D., P.A. (now
               Medical Centers, Inc.)                                                                                                                            known as Miami Beach Medical Centers, Inc.)
    230        MB Medical Operations, LLC     Insurance                            Starline Group                        Chris Perrone StarLine 804 Main Street, Provider Exess Loss Insurance for MB Medical             $0.00
                                                                                                                         Suite 2A Osterville, MA 02655           operations, LLC
    231        MBMG Holding, LLC              Other (including Clinical Specialists) Suarez Professional Services Corp   At the address (or to the e-mail        Separation Agreement                                     $0.00
                                                                                                                         address) shown in the books and
                                                                                                                         records of the Company. With a copy
                                                                                                                         (which shall not serve as notice) to:
                                                                                                                         Johnson, Pope, Bokor, Ruppel & Burns,
                                                                                                                         LLP 490 1st Avenue South, Suite 700 St.
                                                                                                                                                                                                                                           Case 24-20576-CLC




                                                                                                                         Petersburg, FL 33701 Attention: Michael
                                                                                                                         D. Magidson (michaelm@jpfirm.com)


    232        Rodolfo Dumenigo, M.D., P.A.   Separation Agreement                 Suarez, German                        2718 SW 143 PL                          Employment Agreement                                     $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
                                                                                                                                                                                                                                           Doc 29




    233        MBMG Ultimate Holding, LP      Employment Agreement                 Suarez, Jose David                    3755 SW 130 Ave Miami, FL United        Separation Agreement by and among MBMG                   $0.00
                                                                                                                         States                                  Holding, LLC MBMG Ultimate Holding, L.P. Suarez
                                                                                                                                                                 Professional Services Corp, Jose David Suarez, M.D.


    234        Miami Medical & Wellness     Employment Agreement                   Sueiro, Martin J                      6910 Southwest 163rd Place              Employment Agreement by and Between Martin               $0.00
               Center, LLC / Rodolfo                                                                                                                             Sueiro, M.D., and Miami Medical & Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                         / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                      Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    235        MB Medical Operations, LLC     Commercial Lease                     Summit Medical LLC                    c/o Commercial Asset Partners Realty    Assignment, Assumption, and First Amendment to           $0.00
                                                                                                                                                                                                                                           Filed 10/13/24




                                                                                                                         2511 Seven Springs Blvd. Trinity, FL    Lease Agreement by and between MB Medical
                                                                                                                         34655                                   Operations, LLC and Summit Medical LLC
    236        MB Medical Operations, LLC     Other (including Clinical Specialists) Sunshine Communication Services     159 MADEIRA AVE CORAL GABLES, FL Telephone Answering Services Subscriber Service                 $0.00
                                                                                                                         United States                    Agreement
    237        Florida Family Primary Care    Payor contracts                      Sunshine State Health Plan, Inc.      1299 NW 40 Ave Ste C Lauderhill, FL     Group Agreement                                          $0.00
               Centers of Tampa, LLC                                                                                     33313
    238        Florida Family Primary Care    Commercial Lease                     Terrace Walk Plaza                    11531 N. 56th Street Temple Terrace,    Lease by and between Terrace Walk Plaza an            $8,081.45
               Centers of Tampa, LLC                                                                                     Florida 33617                           dFlorida Family Primary Care Centers of Tampa, LLC


    239        MB Medical Operations, LLC     Commercial Lease                     THE HUB RETAIL, LLC                   Attn. Orin Black PO Box 611808 N.       Lease Agreement MB Medical Operations LLC and            $0.00
                                                                                                                         Miami, FL 33261-1808                    Hub Retail LLC
                                                                                                                                                                                                                                           Page 462 of 565




    240        Miami Beach Medical            Vendor Agreements                    Therapy Health Network LLC d/b/a Al5775 Blue Lagoon Drive, Ste. 450,          Alivi Therapy Network Provider Agreement                 $0.00
               Consultants, LLC                                                                                       Miami, FL 33125, Attn: President
    241        MB Medical Operations, LLC     Transportation                       Time Park, Inc                        P.O. Box 363 Ocoee, FL 34761-4910       Parking Valet Agreement by and between Clinical        $996.15
                                                                                                                                                                 Care Medical Operations LLC and Time Park Inc.
    242        MB Medical Operations, LLC     Technology                           T-Mobile Financial LLC                 EIP Program Customer Relations, P.O.   EQUIPMENT INSTALLMENT PLAN (EIP) CONTRACT                $0.00
                                                                                                                         Box 37380, Albuquerque, NM 87176-       AND DISCLOSURE (Plan ID 201905170124067610)
                                                                                                                         7380




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                             15 of 17                                                                                     CONFIDENTIAL
    243        MB Medical Operations, LLC       Commercial Lease       TOWER SHOPPING PLAZA, INC           11954 Narcoossee Rd. Suite 2. PMB       Lease by and between Tower Shopping Plaza, inc        $0.00
                                                                                                           #429 Orlando, FL 32832                  and MB Medical Operations, llc
    244        Florida Family Primary Care    Employment Agreement     Trinidad-Torres, Evelyn             16402 Egrey Crossing Ln Lithiam FL      FIRST AMENDMENT TO EMPLOYMENT                         $0.00
               Center of Pasco, LLC / Florida                                                              33547                                   AGREEMENT (this
               Family Primary Care Centers of                                                                                                      “Amendment”) by and
               Pinellas, LLC / Florida Family                                                                                                      between FLORIDA FAMILY PRIMARY CARE CENTER
               Primary Care Centers of Tampa,                                                                                                      OF PASCO, LLC, FLORIDA
               LLC                                                                                                                                 FAMILY PRIMARY CARE CENTERS OF PINELLAS,
                                                                                                                                                   LLC, and FLORIDA FAMILY
                                                                                                                                                   PRIMARY CARE CENTERS OF TAMPA, LLC
                                                                                                                                                   (collectively, the “Company”), and Evelyn Trinidad-
                                                                                                                                                   Torres, MD
    245        MB Medical Transport, LLC        Transportation         Trip2, LLC                          2766 NW 62nd Street, Miami, FL 33147 Trip2 Software License Agreement between Trip2,          $0.00
                                                                                                                                                LLC and MB Medical Transport, LLC
    246        Rodolfo Dumenigo, M.D., P.A.     Separation Agreement   Ugarte, Carolina                    17000 NW 67th Ave                       Employment Agreement                                  $0.00
               (now known as Miami Beach
               Medical Centers, Inc.)
    247        Florida Family Primary Care    Payor contracts          UnitedHealthcare of Florida, Inc.   3000 Bayport Drive, Ste. 1170, Tampa,   Network Risk Agreement                                $0.00
               Center of Pasco, LLC / Florida                                                              FL 33607
               Family Primary Care Centers of
                                                                                                                                                                                                                         Case 24-20576-CLC




               Pinellas, LLC / Florida Family
               Primary Care Centers of Tampa,
               LLC
    248        Miami Beach Medical              Payor contracts        UnitedHealthcare of Florida, Inc.   2300 W Plano Pkwy #C1E105 Plano, TX Network Risk Agreement                                    $0.00
               Consultants, LLC                                                                            75075-8427
    249        Miami Beach Medical              Payor contracts        UnitedHealthcare of Florida, Inc.   495 N Keller Rd, Suite 200 Maitland, FL Network Risk Agreement                                $0.00
                                                                                                                                                                                                                         Doc 29




               Consultants, LLC                                                                            32751
    250        Miami Medical & Wellness     Employment Agreement       Urgell, Jorge                       3991 Sw 153Rd Ct                        Employment Agreement by and between Jorge             $0.00
               Center, LLC / Rodolfo                                                                                                               Urgell, APRN, and Miami Medical & Wellness
               Dumenigo, M.D., P.A. (now                                                                                                           Center / Rodolfo Dumenigo, M.D., P.A. (now known
               known as Miami Beach Medical                                                                                                        as Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    251        Florida Family Primary Care    Employment Agreement     Uribazo, Beatriz                    1243 Evergreen Park Cir                 FIRST AMENDMENT TO EMPLOYMENT                         $0.00
               Center of Pasco, LLC / Florida                                                                                                      AGREEMENT (this
               Family Primary Care Centers of                                                                                                      “Amendment”) by and
               Pinellas, LLC / Florida Family                                                                                                      between FLORIDA FAMILY PRIMARY CARE CENTER
                                                                                                                                                                                                                         Filed 10/13/24




               Primary Care Centers of Tampa,                                                                                                      OF PASCO, LLC, FLORIDA
               LLC                                                                                                                                 FAMILY PRIMARY CARE CENTERS OF PINELLAS,
                                                                                                                                                   LLC, and FLORIDA FAMILY
                                                                                                                                                   PRIMARY CARE CENTERS OF TAMPA, LLC
                                                                                                                                                   (collectively, the “Company”), and BEATRIZ
                                                                                                                                                   URIBAZO, M.D.
    252        MB Medical Operations, LLC       Separation Agreement   Valdez, Yanelis                     6401 Golden Drive                       Employment Agreement                                  $0.00
    253        Florida Family Primary Care      Employment Agreement   Vejas, Eduardo                      7001 Interbay Blvd                      THIS FIRST AMENDMENT TO EMPLOYMENT                    $0.00
               Centers of Pinellas, LLC /                                                                                                          AGREEMENT by and
               Florida Family Primary Care                                                                                                         between FLORIDA FAMILY PRIMARY CARE
               Centers of Tampa, LLC                                                                                                               CENTERS OF PINELLAS, LLC, and
                                                                                                                                                                                                                         Page 463 of 565




                                                                                                                                                   FLORIDA FAMILY PRIMARY CARE CENTERS OF
                                                                                                                                                   TAMPA, LLC (collectively, the
                                                                                                                                                   “Company”), and EDUARDO VEJAS CASTILLERO,
                                                                                                                                                   M.D.




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                               16 of 17                                                                                 CONFIDENTIAL
    254        Miami Medical & Wellness     Employment Agreement                   Verges Bonet, Enrique                5470 W 20th Ave                        EMPLOYMENT AGREEMENT                                      $0.00
               Center, LLC / Rodolfo                                                                                                                           BETWEEN MIAMI MEDICAL & WELLNESS CENTER/
               Dumenigo, M.D., P.A. (now                                                                                                                       Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                    Miami Beach Medical Centers, Inc.),
               Centers, Inc.)                                                                                                                                  d/b/a MIAMI BEACH MEDICAL GROUP/ a Florida
                                                                                                                                                               professional association AND ENRIQUE VERGES-
                                                                                                                                                               BONET, M-D.


    255        Rodolfo Dumenigo, M.D., P.A.   Employment Agreement                 Vidal, Gretchen                      9020 NW 8 Street                       EMPLOYMENT AGREEMENT AND PROTOCOL                         $0.00
               (now known as Miami Beach                                                                                                                       BETWEEN Rodolfo Dumenigo, M.D., P.A. (now
               Medical Centers, Inc.)                                                                                                                          known as Miami Beach Medical Centers, Inc.), d/b/a
                                                                                                                                                               Miami Beach Medical Group and Gretchen Vidal,
                                                                                                                                                               MSN, FNP, RN-APRN
    256        MB Medical Operations, LLC     Parking Agreement                    Villaverde Properties                c/o Horizon Properties 18610 NW 87th Lease by and between Villaverde Properties and MB           $0.00
                                                                                                                        Avenue, Suite 204 Miami, FL 33015    Medical Operations, LLC


    257        MB Medical Operations, LLC     Technology                           Vonage Business Inc.                 23 Main St. Holmdel, NJ 07733          ADDENDUM TO VONAGE BUSINESS SERVICE                  $61,112.87
                                                                                                                                                               TERMS Sales Order # Q884954
    258        Miami Medical & Wellness     Employment Agreement                   Vydas, Hector                        6710 Hanley Rd Tampa, FL 33634         Employment Agreement by and between Hector                $0.00
               Center, LLC / Rodolfo                                                                                                                           Vydas, MD, and Miami Medical & Wellness Center /
                                                                                                                                                                                                                                         Case 24-20576-CLC




               Dumenigo, M.D., P.A. (now                                                                                                                       Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                    Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    259        MB Medical Operations, LLC     Other (including Clinical Specialists) Waste Management Inc. of Florida   8801 NW 91st Street Medley, FL 33178 Service Agreement between Rainbow Health Corp           $7,735.10
                                                                                                                                                             and Waste Management Inc. of Florida
    260        Miami Beach Medical            Payor contracts                      WellCare of Florida, Inc. and WellCare8735 Henderson Rd. Tampa, FL 33634    Participating Provider Agreement                          $0.00
                                                                                                                                                                                                                                         Doc 29




               Consultants, LLC                                                                                         Attn: Network Development
    261        Miami Medical & Wellness     Employment Agreement                   Welvaert, Cira                       2495 Southwest 21st Terrace            Employment Agreement by and between Cira                  $0.00
               Center, LLC / Rodolfo                                                                                                                           Welvaert, M.D. and Miami Medical Wellness Center
               Dumenigo, M.D., P.A. (now                                                                                                                       / Rodolfo Dumenigo, M.D., P.A. (now known as
               known as Miami Beach Medical                                                                                                                    Miami Beach Medical Centers, Inc.)
               Centers, Inc.)
    262        MB Medical Operations, LLC     Marketing                            WOW MKTG                             804 S. Douglas Road Executive Tower,   WOW MKTG CCMC SOW for marketing services             $35,000.00
                                                                                                                        5th Floor Coral Gables, FL 33134
    263        Rodolfo Dumenigo, M.D., P.A.   Professional Fees                    Whitney Actuarial Consulting, LLC    18805 Chaville Road, Lutz, FL 33558    Consulting Agreement by and between Whitney               $0.00
               (now known as Miami Beach                                                                                                                       Actuarial Consulting, LLC and Rodolfo Dumenigo,
                                                                                                                                                                                                                                         Filed 10/13/24




               Medical Centers, Inc.)                                                                                                                          M.D., P.A.
    264        Rodolfo Dumenigo, M.D., P.A.   Equipment and Financing              Qmeds, Inc.                          7 Great Valley Parkway, Suite 100,     Order Form for Clinical Care Medical Centers              $0.00
               (now known as Miami Beach                                                                                Malvern, PA 19355
               Medical Centers, Inc.)
    265        MB Medical Operations, LLC     Insurance                            IPFS Corporation                     401 E Jackson Street, Ste 1250, Tampa, Premium Financing Agreement                               $0.00
                                                                                                                        FL 33602
    266        Rodolfo Dumenigo, M.D., P.A.   Other (including Clinical Specialists) Rarfente, MD PA                    1461 SW 145 Ave, Miami, FL 33184       Independent Contractor Agreementby and between            $0.00
               (now known as Miami Beach                                                                                                                       Rodolfo Dumenigo, M.D., P.A. and Ramon
               Medical Centers, Inc.)                                                                                                                          Rodriguez, M.D.
                                                                                                                                                                                                                                         Page 464 of 565




DRAFT - SUBJECT TO MATERIAL CHANGE                                                                                            17 of 17                                                                                    CONFIDENTIAL
                                                  Section 3.17(a)
                                                Intellectual Property

(i) None.

(ii)

              Design            Location   Serial Number and Registration Number               Owner
                                           Date Filed        and Date Registered

                                    USA        88/381707                   5890302          MB Medical
                                              11-Apr-2019                22-Oct-2019       Operations, LLC
                                                                                                                   Case 24-20576-CLC
                                                                                                                   Doc 29




(iii)


                       Design                  Location        Serial Number and Date Filed          Owner

                                                   USA                  First used: 2009          MB Medical
                                                                                                 Operations, LLC
                                                                                                                   Filed 10/13/24




                                                   USA                    First used:             MB Medical
                                                                             2017                Operations, LLC


                                                   USA                    First used:             MB Medical
                                                                             2010                Operations, LLC
                                                                                                                   Page 465 of 565




                                                   USA                  First used: 2017          MB Medical
                                                                                                 Operations, LLC



13230494-25
              USA   First used: 2017    MB Medical
                                       Operations, LLC


              USA   First used: 2015    MB Medical
                                       Operations, LLC


              USA   First used: 2017    MB Medical
                                       Operations, LLC
                                                         Case 24-20576-CLC




              USA   First used: 2017    MB Medical
                                       Operations, LLC

              USA                       MB Medical
                                                         Doc 29




                                       Operations, LLC


              USA                       MB Medical
                                       Operations, LLC
                                                         Filed 10/13/24




              USA                       MB Medical
                                       Operations, LLC

              USA                       MB Medical
                                       Operations, LLC

              USA                       MB Medical
                                                         Page 466 of 565




                                       Operations, LLC




13230494-25
                                          USA   First used: 2017    MB Medical
                                                                   Operations, LLC



              Miami Beach Medical Group   USA                       MB Medical
                                                                   Operations, LLC

                       MBMG               USA                       MB Medical
                                                                   Operations, LLC

                                          USA                       MB Medical
                                                                   Operations, LLC
                                                                                     Case 24-20576-CLC




                                          USA                       MB Medical
                                                                   Operations, LLC
                                                                                     Doc 29




                                          USA                       MB Medical
                                                                   Operations, LLC

                                          USA                       MB Medical
                                                                   Operations, LLC
                                                                                     Filed 10/13/24




                                          USA                       MB Medical
                                                                   Operations, LLC
                                                                                     Page 467 of 565




13230494-25
                                                          USA                       MB Medical
                                                                                   Operations, LLC




                       clinicalcare                       USA   Unregistered     MB Medical Operations,
                                                                               LLC registered this username
                                                                                      on Instagram
                                                                                                              Case 24-20576-CLC




                    clinicalcarevideos                    USA   Unregistered     MB Medical Operations,
                                                                               LLC registered this username
                                                                                      on YouTube
                                                                                                              Doc 29




 https://www.facebook.com/profile.php?id=61552550222628   USA   Unregistered    MB Medical Operations,
                                                                               LLC manages content on the
                                                                                 Account at this URL on
                                                                                      Facebook

                clinicalcaremedicalcenters                USA   Unregistered     MB Medical Operations,
                                                                               LLC registered this username
                                                                                      on LinkedIn
                                                                                                              Filed 10/13/24




                     clinicalcare.mc                      USA   Unregistered     MB Medical Operations,
                                                                               LLC registered this username
                                                                                      on Instagram
                                                                                                              Page 468 of 565




13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 469 of 565
 miamedwellness.com              33450436    2/14/2026   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 miami-mso.com                   33450436    7/21/2025   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 miamibeachhealthanalytics.com   33450436    10/1/2025   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 miamibeachhealthnews.com        33450436    8/21/2025   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 miamibeachhealthnews.org        33450436    8/21/2025   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 miamibeachmedicalgroup.com      33450436    11/8/2027   TRUE   On    MB MEDICAL OPERATIONS, LLC   Off
 miamibeachmedicalgroup.info     33450436    4/21/2025   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 miamibeachmedicalgroup.net      33450436     6/6/2025   TRUE   On    MB MEDICAL OPERATIONS, LLC   Off
 sradvocates.com                 33450436    3/18/2026   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 sradvocates.info                33450436    3/18/2026   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 sradvocates.net                 33450436    3/18/2026   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 sradvocates.org                 33450436    3/18/2026   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
                                                                                                         Case 24-20576-CLC




 tuprimero.org                   33450436    7/17/2026   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
 winterhavenmedicalcenters.com   33450436   11/20/2024   TRUE   Off   MB MEDICAL OPERATIONS, LLC   Off
                                                                                                         Doc 29




(v) None.
                                                                                                         Filed 10/13/24
                                                                                                         Page 470 of 565




13230494-25
              Case 24-20576-CLC   Doc 29    Filed 10/13/24     Page 471 of 565



                                     Section 3.17(c)
                             Intellectual Property Contracts


None.




13230494-25
                    Case 24-20576-CLC    Doc 29     Filed 10/13/24     Page 472 of 565


                                            Schedule 3.17(h)

                                               AI Matters

Generally available, standard, unmodified AI features in the following listed programs, extensions and
apps may have been used by Sellers from time to time to edit, find, archive and scan documents; in
connection with photography and videography; patient schedule management; test result reviews;
transcription and accessibility features; grammar and spelling support in drafting/editing text documents;
as well as text in visual/video/photography documents, and related technical actions. In each case no
protected health information (PHI) or other personally identifiable information was uploaded or provided
to or stored or processed by any such programs, extensions and apps.

    x    Electronic Health Record (EHR) system transcriptions of healthcare providers and patients’
         dictation

    x    Vonage

    x    Zoom

    x    MS Authenticator

    x    MS Teams

    x    MS Office including Excel, MS Word, Outlook and MS Copilot

    x    ESET Endpoint Protection

    x    Absolute

    x    NextGen Mobile (Ambient Assist)

    x    Imagen

    x    Rappid

    x    Persivia

    x    ActivTrak

    x    Terminal Works

    x    Acrobat

    x    iPhone (iOS)

    x    Android phones and tablets

    x    Google Image/Magic Eraser




13230494-25
              Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 473 of 565


                                     Section 3.19
                                     No Brokers

Oppenheimer & Co. Inc.




13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 474 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 475 of 565
               Case 24-20576-CLC       Doc 29   Filed 10/13/24   Page 476 of 565



                                          Section 3.22
                                            Devices

See Attachment 3.22 attached hereto.




13230494-25
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 477 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 478 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 479 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 480 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 481 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 482 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 483 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 484 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 485 of 565
                                           Case 24-20576-CLC                                                Doc 29       Filed 10/13/24                    Page 486 of 565


Alton Road                   Updated By:                                                                                   Date:                          Calibration Completed:
     Specialty               Equipment                  Portable or Permement Brand                                       Series #       Age of Machine    Working Condition                        Comments
                     Nail Treatment Laser Machine             Portable       LunulaLaser by Erchonia                      FFS-01113           2022                Good             Share with N.M. East, Hialeah East & Hollywood.
                     Nail Treatment Laser Machine             Portable
     Podiatrist
                                  Drill
                       Electrical Podiatry chair              Permanent
                               Centrifuges                    Permanent
       Ortho
                               Centrifuges                    Permanent
                                  None                                       N/A
       Psych

   Dermatologist          Hyfrecator AARON                                   Aaron 940                                      N/A                                   Good
                        Manual Refractor EZER                 Permanent                                                                                            New                       No serial number or brand
                               Proropter                      Permanent      ViewLight                                  VL060311065                               Good
                             Slit lamp gilras                 Permanent      Topcon                                      102880109
                               Tonometer                      Permanent      Topcon                                      102880109                                Good
                              Lensometer                      Permanent                                                    106538            5+ years             Good
    Optometry
                                  Chair                       Permanent      Equimedix                                                      10+ years               OK
                        Humphrey Field Analyzer               Permanent      Zeiss                                        72016454          10+ years
                   Binocular Indirect Ophthalmoscopes         Permanent      Allpupil/Keeler                              1013081           10+ years               OK
                               Projector                      Permanent      Topcon                                        867751           10+ years               OK
                            Frame Warmer                      Permanent      ViewLight                                      N/A
                                 Bed                                         In Lane Tables                                                                       Good
       Chiro
                              Foam Roller                                    N/A                                                                                  Good
                              Dental Chair                    Permanent      M9 ULTRA CLAVE (MIDMARK)                     4939497           10+ years             Good
                              Dental Stool                    Permanent      PA4 ULTRASONIC (PATTERSON)                    3021822           3 years              Good
                             Assitant Stool                   Permanent      PLANMECA PROMAX                             PTIJ203455          1 year               Good
                           Ultrasonic Cleaner                 Permanent      ADEC (CHAIR)                                  H068640          10+ years             Good
                         Sterilization Autoclave              Permanent      PROGENY DENTAL                               OF26024           10+ years             Good
      Dental               Spix Digital Sensor                Permanent      ADEC (CHAIR)                                  E139171          10+ years             Good
                                                                             PROGENY DENTAL                               T5270427           1 year               Good
                                                                             ENGLE DENTAL SYSTEMS (CHAIR)              70-920 - 65794        1 year               Good
                                                                             AIR TECHNIQUES                             810-002267          10+ years             Good
                                                                             VACSTAR DENTAL VACUUM SYSTEM               1104365418          10+ years             Good
                                                                             SYCLONE AMALGAM SEPARATOR (CROSSTEX)         - AMLSYS          10+ years             Good
                          Ultrasound Machine                  Permanent      Philips Affiniti 50                        US820D1773
     Radiology
                             X-Ray Machine                    Permanent      GE                                                            8/1/1997               Good
                           3-Massage tables                                  FRIDGE                                   MFR:34HL411966          2011                OK
                              1-Water bed                                    BICYCLE                                      CA.91766            2018              FAULTY                                Wobbly
                        1-Decompresion machine                               MASSAGE CHAIRS                                  S/N              2005                OK
                           1 Shoulder wheel                                  VXPOWER                                       VX1000             2015                OK
                           2-Paraffin warmer                                 HYDROCOLLATOR                                 T1556C             2017                OK
                           2-EMS\Ultrasound                                  TRACTION BED                                   T3288             2014                OK
                                  4-Tens                                     PARAFIN                                         S/N              2021                OK
                            1-Stationary bike                                PARAFIN                                         S/N              2021                OK
      Therapy             1-Vibration machine                                LASER                                       K-811-300K           2021                OK
                                 2-Laser                                     LASER                                       K-813-300K           2021                OK
                                1-Freezer                                    WATER BED                               222854225Q-35 3DP        2022                OK
                             1-Hydrocollator                                 HEATER                                         61736             2007                OK
                             1-Finger ladder                                 HEATER                                        118088             2007                OK
                                 1-Pulley                                    MICROWAVE                                    3032588             2013                OK
                              2-Gel warmer                                   SHOULDER WHELS                                  N/A               N/A                OK
                                4-Bolster                                    MASSAGE BED                                 851105216            2021                OK
                                20-Towels                                    MASSAGE BED                                 851105215            2021                OK
                                                                             MASSAGE BED                                 851105209            2021                OK
                                                                             PC                                           MJ77P4C             2018                OK
                                                                             PC                                         UM IV 6AC01           2018                OK
                                                                             PRINTER                                     JJ-368753            2021                OK
                                                                             PRINTER                                     JJ-368753            2021                OK
                                                                             ULTRASOUND                                 SZ-61200034           2009            KEY AFFECT
                                                                             ULTRASOUND                                 41210000059           2009            KEY AFFECT
                                                                             PRINTER LASER                              PHBQG24356            2018                OK
                            2-Infrared Lamp                    Portable      Lhasa                                      18050007043                                 OK
    Acupuncture
                                 2-EMS                         Portable      Tens Plus Industrial Company             9253252/9243096                               OK
      Nuclear                     EKG                          Portable      Contec                                      2.01202E+11          2012                                                     Broken
                                  EKG                          Portable      Contec                                     20120200114           2012                                                     Broken
                        Pressure Cuff Machince                 Portable      Grahamfield                                 7.17076E+11                                                                   Broken
                        Pressure Cuff Machince                 Portable      Grahamfield                                 7.17076E+11                                                                   Broken
                                Treadmil                      Permanent      Marquette                                      N/A
                                  DVD                          Portable      RainFord                                     60720555
                            Upright Camera                    Permanent      Pnocon                                     CD802017D90
                            Patient Monitor                   Permanent      Biomedical Systme Inc                       940612615
                      Pressure Cuff Machince Wall             Permanent      WelchAllyn                                 18100515835                                                                    Broken
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 487 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 488 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 489 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 490 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 491 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 492 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 493 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 494 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 495 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 496 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 497 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 498 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 499 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 500 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 501 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 502 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 503 of 565
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 504 of 565
                Case 24-20576-CLC             Doc 29           Filed 10/13/24     Page 505 of 565



         Location       Optometry      Portable or Pernament      Brand    Series #   Age of Machine   Working Condition
                    Optometry Chair   Permanent                                                        Good
                    Phoropter         Permanent                                                        Good
Alton Road          Slit Lamp         Permanent                                                        Good
                    Tonometer


                    Optometry Chair   Permanent                                                        Good
                    Phoropter         Permanent                                                        Good
Bird Road
                    Slit Lamp         Permanent                                                        Good
                    Tonometer         Permanent

                    Optometry Chair   Permanent                                                        Good
                    Phoropter         Permanent                                                        Good
Delray Beach        Slit Lamp         Permanent                                                        Good
                    Tonometer         Permanent                                                        Good

                    Optometry Chair   Permanent                                                        Good
Hialeah East        Phoropter         Permanent                                                        Good
                    Slit Lamp         Permanent                                                        Good
                    Tonometer         Permanent                                                        Good
Fowler


Hanley

                    Optometry Chair   Permanent                                                        Good
                    Phoropter         Permanent                                                        Good
                    Slit Lamp         Permanent                                                        Good
Hollywood
                    Tonometer         Permanent                                                        Good


                    Optometry Chair   Permanent                                                        Good
                    Phoropter         Permanent                                                        Good
Homestead           Slit Lamp         Permanent                                                        Good
                    Tonometer         Permanent                                                        Good


Lakeland            None

                    Optometry Chair   Permanent                                                        Good
Lejeune
                    Phoropter         Permanent                                                        Good
                    Slit Lamp         Permanent                                                        Good
                    Tonometer         Permanent                                                        Good


Miami

Miami Lakes         Optometry Chair   Permanent                                                        Good
                    Phoropter         Permanent                                                        Good
                    Slit Lamp         Permanent                                                        Good
                    Tonometer         Permanent                                                        Good

                    Optometry Chair   Permanent                                                        Good
North Miami East
                    Phoropter         Permanent                                                        Good
                    Slit Lamp         Permanent                                                        Good
                    Tonometer         Permanent                                                        Good


                    None
North Miami West
Orlando

Palm River
Palmetto Bay

Hudson
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 506 of 565
                             Case 24-20576-CLC                               Doc 29           Filed 10/13/24   Page 507 of 565


Item #                                 Description                                   Mfr #            UOM            Price
                                860737 ECG, CARDIOCARE 2000 12CHNL 10LEAD            ECG-2000(N)      EA                  $1,051.10 Orlando               7/19/2023
                                       Scale for Delray                                                                         399         8/21/2023
                                       EKG for Miami Lakes                                                                                  1/15/2023 Jorge




Xray in Westchester 1st floor Removed   Spare: Xray Tubes, control and transformer
Jorge lent us for Alron Xray            CR- Part that processes the casette
                Case 24-20576-CLC                    Doc 29      Filed 10/13/24      Page 508 of 565



Location           Dental                     Portable or Permement   Brand   Series #   Age of Machine   Working Condition
                   Dental Chair


Alton Road         Ultrasonic Cleaner                                                                     Good
                   Sterilization Autoclaves                                                               Good
                   Spix Digital Sensor

                   Ultrasonic Cleaner                                                                     Good
                   Sterilization Autoclaves                                                               Good
Bird Road


                   Ultrasonic Cleaner                                                                     Good
                   Sterilization Autoclaves
Delray Beach



Hialeah East


Fowler
                   Ultrasonic Cleaner
Hanley             Sterilization Autoclaves

                   Ultrasonic Cleaner
                   Sterilization Autoclaves
Hollywood


                   Ultrasonic Cleaner
Homestead          Sterilization Autoclaves

                   Ultrasonic Cleaner         None
Lakeland           Sterilization Autoclaves   None

                   Ultrasonic Cleaner
Lejeune
                   Sterilization Autoclaves

Miami

Miami Lakes

                   Ultrasonic Cleaner
North Miami East
                   Sterilization Autoclaves
                   Kavo OP3D 9X11 FOV
North Miami West
Orlando            Ultrasonic Cleaner         Permanent                                                   Good
                   Sterilization Autoclaves   Permanent                                                   Good
Palm River
Palmetto Bay       Ultrasonic Cleaner
                   Sterilization Autoclaves
Hudson
Pinellas Park
Plant City
Sweetwater
                   Ultrasonic Cleaner
Tamarac            Sterilization Autoclaves

                   Ultrasonic Cleaner
West Hialeah       Sterilization Autoclaves

                   Ultrasonic Cleaner
                   Sterilization Autoclaves
Westchester        Kavo OP3D 9X11 FOV



                   Ultrasonic Cleaner
Winter Haven       Sterilization Autoclaves
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 509 of 565
                             Case 24-20576-CLC              Doc 29             Filed 10/13/24                    Page 510 of 565


Name                                   Model                     Tags                                                              OS            Phone #
A0000261                               iPad (6th Gen., Cellular) iPad                                                              iPadOS 17.4.1
A0000262                               iPad (6th Gen., Cellular) iPad                                                              iPadOS 17.5.1
A0000263                               iPad (9th Gen.)           iPad                                                              iPadOS 17.5.1
A0000264                               iPad (9th Gen.)           Miami NO-iCloud NextGen iPad                                      iPadOS 17.5.1 -
A0000265                               iPad (6th Gen., Cellular) iPad                                                              iPadOS 17.4 -
A0000266                               iPad mini 2               iPad                                                              iOS 12.5.7    -
A0000268                               iPhone 11                 Available SUPERVISED iCloud_Locked                                iOS 16.7.2
A0000269                               iPad (9th Gen.)           Miami NextGen SUPERVISED iPad                                     iPadOS 17.4.1
A0000597                               iPhone 11                 Available SUPERVISED                                              iOS 17.4.1
A0000637                               iPhone 11                 Available SUPERVISED                                              iOS 17.5.1
A0001044                               iPhone 13                 Available SUPERVISED                                              iOS 17.4.1    -
A0001045                               iPhone 11                 Available SUPERVISED                                              iOS 17.4.1
A0001046                               iPhone 13                 Technology                                                        iOS 17.6
A0001048                               iPhone 11                 Available SUPERVISED                                              iOS 17.4.1
A0001049                               iPhone 11                 SUPERVISED                                                        iOS 17.4.1
A0001056                               iPhone 13                 recently-added                                                    iOS 17.5.1    -
A0001057                               iPhone 13                 ATT Corporate Executive                                           iOS 17.4.1
A0001102                               iPhone 13                 ATT Director SUPERVISED Transportation Westchester                iOS 17.5.1
Ada Iris Berenguer Almeida             SM-A146U                  Driver T-Mobile Transportation Westchester                        Android 14
Adonis Botas Ferrera                   SM-A146U                  Driver Miami_Beach T-Mobile Transportation                        Android 14
Adys Gutierrez Diaz                    iPhone 11                 ATT Palm_River Provider                                           iOS 17.5.1
Ailin Garate Acosta                    iPhone 11                 ATT Center_Manager Operations Tamarac                             iOS 17.5.1
Ailsa Cuan                             iPhone 13                 ATT East_Hialeah Provider                                         iOS 16.1.2
Ained Collazo Romero                   iPhone 11                 ATT Center_Manager Le_Jeune                                       iOS 17.5.1
Aisha Beltran Perez                    iPhone 13                 ATT Center_Manager NextGen Plant_City SUPERVISED                  iOS 17.5.1
Alberto De La Torre                    SM-A146U                  Driver T-Mobile Transportation Westchester                        Android 14
Alejandro Jerez                        iPhone 11                 Corporate Remote SUPERVISED                                       iOS 17.0.3
Alejandro Torres                       SM-A146U                  Driver Miami T-Mobile Transportation                              Android 14
Alex Alayon                            iPhone 13                 ATT Administrative Technology Westchester                         iOS 17.5
Alexis Bravo                           iPhone 11                 ATT Provider Tamarac                                              iOS 16.1.1
Alexis Castellanos Veloz               SM-A146U                  Driver T-Mobile Transportation Westchester                        Android 14
Alexis Orozco Avila                    iPhone 13                 ATT NextGen Remote Support Technology                             iOS 17.5.1
Alfredo Calvo Piloto                   SM-A146U                  Coordinator Hanley_Medicare T-Mobile Transportation Westchester   Android 14
Alianys Hernandez - Care Coordinator   iPhone 11                 ATT Care_Coordinator Corporate                                    iOS 15.3.1
Alina Borroto                          SM-A146U                  Driver Sweetwater T-Mobile Transportation                         Android 14
Alma Velazquez                         iPhone 13                 ATT Center_Manager Dental Hanley                                  iOS 17.5.1
Amaili Moore                           iPhone 13                 ATT MA_Hotline Medical_Assistant Tamarac                          iOS 17.5.1
Amaury Rodriguez Diaz                  SM-A146U                  Driver Le_Jeune T-Mobile Transportation                           Android 14
Aminta Menjivar                        iPhone 13                 ATT Lead_MA MA_Hotline Miami_Lakes                                iOS 17.5.1
Amuni "Amy" Beck                       iPhone 11                 ATT Administrative Compliance WaH                                 iOS 16.3
Amuni "Amy" Beck                       iPad Pro 11 (Cellular)    Compliance T-Mobile WaH iPad                                      iPadOS 16.3.1
Ana Maria Bolivar                      iPhone 13                 ATT Center_Manager Sweetwater                                     iOS 17.5.1
Ana Maria Miranda Darriba              iPhone 11                 ATT Miami_Lakes Patient_Concierge                                 iOS 17.5.1
Angela Ortiz Espinosa                  iPhone 13                 ATT Lead_MA MA_Hotline North_Miami_East                           iOS 17.5.1
Angel Batista                          iPhone 13                 ATT Bird_Road Provider SUPERVISED                                 iOS 17.5.1
Antonio Martinez                       SM-A146U                  Driver North_Miami_East T-Mobile Transportation                   Android 14
Ariana Martinez                        iPhone 13                 ATT Care_Coordinator West_Hialeah                                 iOS 17.5.1
Ariel Martinez                         iPhone 11                 Technology                                                        iOS 16.3.1
Aris Herrera Jr                        iPhone 13                 ATT Center_Manager Hollywood                                      iOS 16.1.2
Aslien Reyes Leon                      iPhone 13                 ATT Fowler Provider                                               iOS 17.5.1
Barbara Monzon Orta                    iPhone 13                 ATT Corporate Marketing Outreach                                  iOS 16.1.2
Barbaro Navarro                        SM-A146U                  Driver T-Mobile Transportation Westchester                        Android 14
Beatriz Espino                         iPhone 13                 ATT Case_Manager Hanley_Medicare                                  iOS 16.1.2
Beatriz Uribazo                        iPhone 11                 ATT Clinical_Ops Lakeland Regional_Manager                        iOS 16.3.1
Belkis Bermudez                        iPhone 13                 ATT Marketing Outreach Patient_Concierge Sweetwater               iOS 17.5.1
Brenda Lezama                          iPhone 13                 ATT Compliance Remote                                             iOS 17.5.1
Bryan Ulloa                            iPhone 13                 ATT Corporate Dental Regional_Manager                             iOS 17.4.1
Carla Daniela McCool                   iPhone 13                 ATT Administrative Corporate HR                                   iOS 16.1.2
Carlos CastaÃ±eda                      iPhone 11                 ATT Clinical_Ops Miami_Beach Provider SUPERVISED                  iOS 17.3.1
Carlos Conrado                         iPhone 11                 ATT Clinical_Ops Homestead Provider                               iOS 15.3.1
Carlos Flores Iglesias                 iPhone 13                 ATT Clinical_Ops Provider Westchester                             iOS 16.1.2
Carlos Paez Rodriguez                  SM-A146U                  Driver East_Hialeah T-Mobile Transportation                       Android 14
Carmen Maria Gonzalez Alonso           SM-A146U                  Driver Homestead T-Mobile Transportation                          Android 14
Carolina Motino                        iPhone 13                 ATT Clinical_Ops Medical_Assistant Pinellas_Park                  iOS 16.1.2
Carolina Ugarte                        iPhone 11                 ATT Clinical_Ops Homestead Provider                               iOS 15.3.1
Chad Costello                          iPhone 13                 ATT Administrative Executive Real_Estate VP                       iOS 17.5.1
Cindy Baumhardt-Rivera                 iPhone 13                 ATT Administrative Corporate Executive Medical_Management VP      iOS 17.5.1
Cira Welvaert                          iPhone 11                 ATT Miami_Beach Provider SUPERVISED                               iOS 17.5.1
Claudelina Rodriguez Rojas             SM-A146U                  Driver Homestead T-Mobile Transportation                          Android 14
Claudia Alvare Serrano                 iPhone 11                 ATT Care_Coordinator Westchester                                  iOS 17.5.1
Claudion Calixte                       SM-A146U                  Driver North_Miami_West T-Mobile Transportation                   Android 14
Clemente Baez Rivera                   iPhone 13                 ATT Marketing Orlando Outreach                                    iOS 17.5.1
Corina Tosta                           iPhone 13                 ATT Center_Manager Miami_Beach                                    iOS 16.1.2
Cristina Doria                         iPhone 13                 ATT Administrative Director Medical_Management                    iOS 17.5.1
Cynthia Bell                           iPhone 13                 ATT Homestead MA_Hotline                                          iOS 17.5.1
                            Case 24-20576-CLC              Doc 29             Filed 10/13/24                   Page 511 of 565


Dairys Arias                          iPhone 11                 ATT Pinellas_Park                                                iOS 15.3.1
Daisel Balladares                     iPhone 13                 ATT Clinical_Ops Provider                                        iOS 17.5.1
Daniela Morales                       iPhone 11                 Homestead Operations SUPERVISED Social_Services                  iOS 17.5.1
David Barba Perez                     iPhone 11                 ATT Care_Coordinator Le_Jeune                                    iOS 17.5.1
David Rodriguez Rivera                iPhone 11                 ATT Clinical_Ops Hanley_Medicare Provider                        iOS 17.5.1
Dayana Perozo                         SM-A146U                  Driver T-Mobile Tamarac Transportation                           Android 14
Deborah Ivette Negron                 iPhone 13                 ATT Center_Manager Hudson Operations Tampa                       iOS 16.1.2
Debora Melendez                       iPhone 11                 ATT Center_Manager Palm_River TERMINATED                         iOS 16.2
Delmy BriceÃ±o                        iPhone 11                 ATT Administrative Compliance Corporate Remote                   iOS 16.3.1
Delmy BriceÃ±o                        iPad Pro 11 (Cellular)    ATT Administrative Compliance Corporate Remote iPad              iPadOS 17.5.1
Douglas Johnson                       iPhone 13                 ATT Administrative Corporate Executive                           iOS 17.5.1
Douglas Johnson LOST PHONE            iPhone 13                 ATT Administrative Executive LOST                                iOS 16.1.2
Dr Santiago                           iPhone 13                 Orlando recently-added                                           iOS 16.1.2
Eduardo Sanchez                       SM-A146U                  Driver T-Mobile Transportation Westchester                       Android 14
Eduardo Vejas                         iPhone 11                 ATT Palm_River Provider                                          iOS 15.3.1
Elsa Arredondo                        iPhone 11                 ATT Clinical_Ops Provider Tamarac                                iOS 15.3.1
Emelio Garcia                         iPhone 11                 ATT Bird_Road Clinical_Ops Provider SUPERVISED                   iOS 17.5.1
Emma Alonso-Barrueco                  iPhone 11                 ATT Miami Provider SUPERVISED                                    iOS 17.4.1
Enma Benitez Acosta                   iPhone 11                 ATT Care_Coordinator North_Miami_East                            iOS 17.5.1
Enrique Silva Cazanas                 SM-A146U                  Driver Le_Jeune T-Mobile Transportation                          Android 14
Enrique Verges Bonet                  iPhone 13                 ATT Clinical_Ops Provider                                        iOS 16.1.2
Erick MuÃ±oz Delgado                  iPhone 11                 ATT Administrative Tampa Technology                              iOS 15.3.1
Eric Santiago                         iPhone 13                 ATT Administrative Corporate Executive SUPERVISED Technology     iOS 17.5.1
Esteban Scull                         SM-A146U                  Driver Miami_Beach T-Mobile Transportation                       Android 14
Evan Cooper                           iPhone 13                 ATT Clinical_Ops Delray_Beach Medical_Assistant                  iOS 16.6.1
Evelyn Arroyo                         iPhone 13                 ATT Corporate MSO                                                iOS 17.5.1
Evelyn Trinidad                       iPhone 11                 ATT Fowler Provider                                              iOS 16.1.1
Fabricio Cubillo                      iPhone 13                 ATT MA_Hotline Sweetwater                                        iOS 16.1.2
Fernando Barrueta                     SM-A146U                  Driver East_Hialeah T-Mobile Transportation                      Android 14
Fernando Ramos Ceballos               SM-A146U                  Driver Miami_Beach T-Mobile Transportation                       Android 14
Flavio Correa                         iPhone 11                 ATT Bird_Road Care_Coordinator SUPERVISED                        iOS 16.1.1
Flor Jimenez                          iPhone 13                 Marketing Outreach Patient_Concierge                             iOS 17.5.1
Frances Gonzalez                      iPhone 11                 ATT Lakeland Medical_Assistant                                   iOS 17.5.1
Francisco Freeman De La Cuevas        SM-A146U                  Driver T-Mobile Transportation Westchester                       Android 14
Freddy Torres Alarcon                 SM-A146U                  Coordinator T-Mobile Transportation Westchester                  Android 14
Galaxy A13 5G                         SM-A136U                  recently-added                                                   Android 13    -
Gerald Knouf                          iPhone 11                 ATT Clinical_Ops Provider Tampa Temple_Terrace                   iOS 16.6
Geysert Rodriguez Martinez            iPhone 11                 ATT Clinical_Ops Provider SUPERVISED                             iOS 17.5.1
Gonzalo Vigo Rivero                   SM-A146U                  Driver T-Mobile Transportation Westchester                       Android 14
Gretchen Vidal                        iPhone 11                 ATT Clinical_Ops Delray_Beach Provider                           iOS 15.3.1
Gretel Rubio Rios                     iPhone 13                 ATT Dental Hanley                                                iOS 16.1.2
Greter Pacios - Recursive Nurse       iPhone 13                 ATT                                                              iOS 17.5.1
Gustavo Martinez                      SM-A146U                  Driver T-Mobile Transportation Westchester                       Android 14
Hany Perez                            iPhone 13                 ATT Corporate                                                    iOS 16.1.2
Heidi Perez                           iPhone 13                 ATT Credentialing                                                iOS 16.1.2
Henry Rivera                          SM-A146U                  Driver Miami_Beach T-Mobile Transportation                       Android 14
Heriberto Pino Correa                 SM-A146U                  Driver T-Mobile Transportation Westchester                       Android 14
Hotline Plant City                    iPhone 13                 ATT Clinical_Ops Medical_Assistant NextGen Plant_City SUPERVISED iOS 17.5.1
Ileana Morcillo                       iPhone 13                 1099 ATT Clinical_Ops Miami_Beach Provider                       iOS 17.1.2
Iliana Carrion Rodriguez              iPhone 13                 ATT Activity_Center Operations Tamarac                           iOS 17.5.1
Imerio Tellez Zulueta                 SM-A146U                  Driver T-Mobile Transportation Westchester                       Android 14
Ina Molina                            iPhone 11                 Corporate recently-added                                         iOS 17.5.1
Indira Cerra Villalobos               iPhone 11                 ATT Clinical_Ops Provider West_Hialeah                           iOS 17.5.1
iPad Alton                            iPad (9th Gen.)           Miami_Beach NextGen iPad recently-added                          iPadOS 17.5.1
iPad Alton-02                         iPad (9th Gen.)           Miami_Beach NextGen iPad recently-added                          iPadOS 17.5.1
iPad Alton-03                         iPad (9th Gen.)           Miami_Beach NextGen iPad recently-added                          iPadOS 17.5.1
iPad Alton-04                         iPad (9th Gen.)           Miami_Beach NextGen iPad recently-added                          iPadOS 17.4 -
iPad Alton-05                         iPad (9th Gen.)           Miami_Beach NextGen iPad recently-added                          iPadOS 17.4.1
iPad BIRD-RD_1                        iPad (8th Gen.)           Bird_Road NextGen iPad                                           iPadOS 17.5.1 -
iPad BIRD-RD_2                        iPad (9th Gen.)           NextGen iPad                                                     iPadOS 17.5.1 -
iPad BIRD-RD_3                        iPad (8th Gen.)           ATT Bird_Road iPad                                               iPadOS 17.5.1 -
iPad Bird Road                        iPad (8th Gen.)           iPad recently-added                                              iPadOS 16.5 -
iPad - CM - 01                        iPad (9th Gen.)           NextGen iPad recently-added                                      iPadOS 17.5.1
iPad - CM -02                         iPad (6th Gen., Cellular) NextGen iPad recently-added                                      iPadOS 16.4.1
iPad-FW-01                            iPad (9th Gen.)           Fowler iPad recently-added                                       iPadOS 17.5.1 -
iPad-FW-02                            iPad (9th Gen.)           Fowler iPad recently-added                                       iPadOS 17.5.1 -
iPad-FW-03                            iPad (9th Gen.)           Fowler iPad recently-added                                       iPadOS 17.5.1 -
iPad-FW-04                            iPad (9th Gen.)           Fowler iPad recently-added                                       iPadOS 17.5.1 -
iPad Hialeah East                     iPad (9th Gen.)           iPad recently-added                                              iPadOS 16.5 -
iPad Hialeah West                     iPad (9th Gen.)           iPad recently-added                                              iPadOS 16.5 -
iPad - HLE - 02                       iPad (9th Gen.)           East_Hialeah iPad recently-added                                 iPadOS 17.5.1 -
iPad - HLE - 03                       iPad (9th Gen.)           East_Hialeah iPad recently-added                                 iPadOS 17.5.1 -
iPad - HLE - 04                       iPad (9th Gen.)           East_Hialeah iPad recently-added                                 iPadOS 17.5.1 -
iPad - HLE - 05                       iPad (9th Gen.)           East_Hialeah iPad recently-added                                 iPadOS 17.5.1 -
iPad - HLE - 06                       iPad (9th Gen.)           East_Hialeah iPad recently-added                                 iPadOS 17.5.1 -
iPad - HLW - 02                       iPad (9th Gen.)           West_Hialeah iPad recently-added                                 iPadOS 17.2 -
                        Case 24-20576-CLC           Doc 29          Filed 10/13/24                 Page 512 of 565


iPad - HLW - 03                   iPad (9th Gen.)    West_Hialeah iPad recently-added                     iPadOS 17.4.1 -
iPad - HLW - 04                   iPad (9th Gen.)    West_Hialeah iPad recently-added                     iPadOS 17.5.1 -
iPad - HLW - 05                   iPad (9th Gen.)    West_Hialeah iPad recently-added                     iPadOS 17.5.1 -
iPad - HLW - 06                   iPad (9th Gen.)    West_Hialeah iPad recently-added                     iPadOS 17.5.1 -
iPad Hollywood 01                 iPad (9th Gen.)    Hollywood NextGen iPad                               iPadOS 17.5.1 -
iPad Hollywood 02                 iPad (9th Gen.)    ATT Hollywood NextGen iPad                           iPadOS 17.2 -
iPad Hollywood 03                 iPad (9th Gen.)    ATT Hollywood NextGen iPad                           iPadOS 17.5.1 -
iPad Hollywood 04                 iPad (8th Gen.)    Hollywood NextGen T-Mobile iPad                      iPadOS 17.5.1
iPad Homestead-01                 iPad (8th Gen.)    Homestead NextGen recently-added                     iPadOS 17.5.1 -
iPad Homestead-02                 iPad (9th Gen.)    Homestead NextGen recently-added                     iPadOS 17.5.1 -
iPad Homestead-03                 iPad (9th Gen.)    Homestead NextGen recently-added                     iPadOS 17.5.1 -
iPad Homestead-04                 iPad (9th Gen.)    Homestead NextGen recently-added                     iPadOS 17.5.1 -
iPad Homestead-05                 iPad (9th Gen.)    Homestead NextGen recently-added                     iPadOS 17.5.1 -
iPad-HY-CAID-01                   iPad (9th Gen.)    Hanley_Medicaid iPad recently-added                  iPadOS 17.5.1 -
iPad-HY-CAID-02                   iPad (9th Gen.)    Hanley_Medicaid iPad recently-added                  iPadOS 17.5.1 -
iPad-HY-CAID-03                   iPad (9th Gen.)    Hanley_Medicaid iPad recently-added                  iPadOS 17.5.1 -
iPad-HY-CARE-01                   iPad (9th Gen.)    Hanley_Medicare iPad recently-added                  iPadOS 17.5.1 -
iPad-HY-CARE-02                   iPad (9th Gen.)    Hanley_Medicare NextGen iPad recently-added          iPadOS 17.5.1 -
iPad-HY-CARE-03                   iPad (9th Gen.)    Hanley_Medicare NextGen iPad recently-added          iPadOS 17.5.1 -
iPad-HY-CARE-04                   iPad (9th Gen.)    Hanley_Medicare NextGen iPad recently-added          iPadOS 17.3 -
iPad-HY-CARE-05                   iPad (9th Gen.)    Hanley_Medicare NextGen iPad recently-added          iPadOS 17.5.1 -
iPad Lakeland                     iPad (9th Gen.)    Lakeland NextGen iPad recently-added                 iPadOS 17.5.1 -
iPad Lejeune-01                   iPad (9th Gen.)    Le_Jeune NextGen iPad recently-added                 iPadOS 16.5 -
iPad Lejeune-02                   iPad (9th Gen.)    Le_Jeune NextGen iPad recently-added                 iPadOS 17.5.1 -
iPad Lejeune-03                   iPad (9th Gen.)    Le_Jeune NextGen iPad recently-added                 iPadOS 17.2 -
iPad Lejeune-04                   iPad (9th Gen.)    Le_Jeune NextGen iPad recently-added                 iPadOS 17.5.1 -
iPad Lejeune-05                   iPad (9th Gen.)    Le_Jeune NextGen iPad recently-added                 iPadOS 17.5.1 -
iPad-LL-01                        iPad (9th Gen.)    Lakeland NextGen iPad recently-added                 iPadOS 16.3.1 -
iPad-LL-02                        iPad (9th Gen.)    Lakeland NextGen iPad recently-added                 iPadOS 16.3.1 -
iPad-LL-03                        iPad (9th Gen.)    Lakeland NextGen iPad recently-added                 iPadOS 17.5.1 -
iPad-LL-04                        iPad (9th Gen.)    Lakeland Nextgen iPad recently-added                 iPadOS 17.5.1 -
iPad MIami Lakes-01               iPad (9th Gen.)    ATT Miami_Lakes NextGen iPad                         iPadOS 17.5.1
iPad MIami Lakes-02               iPad (9th Gen.)    ATT Miami_Lakes NextGen iPad                         iPadOS 17.5.1 -
iPad-ML-XRAY                      iPad (9th Gen.)    Miami_Lakes NextGen iPad recently-added              iPadOS 17.5.1 -
iPad NME-01                       iPad (9th Gen.)    NextGen North_Miami_East iPad                        iPadOS 17.5.1 -
iPad NME-02                       iPad (9th Gen.)    NextGen North_Miami_East iPad                        iPadOS 17.5.1 -
iPad NME-03                       iPad (9th Gen.)    NextGen North_Miami_East iPad                        iPadOS 17.5.1 -
iPad NME-04                       iPad (9th Gen.)    NextGen North_Miami_East iPad                        iPadOS 17.5.1 -
iPad - NMW- 02                    iPad (9th Gen.)    North_Miami_West iPad recently-added                 iPadOS 17.5.1 -
iPad - NMW - 03                   iPad (9th Gen.)    North_Miami_West iPad recently-added                 iPadOS 17.5.1 -
iPad North Miami West             iPad (9th Gen.)    iPad recently-added                                  iPadOS 16.5 -
iPad-ORL-01                       iPad (9th Gen.)    NextGen Orlando iPad recently-added                  iPadOS 16.3.1 -
iPad-ORL-02                       iPad (9th Gen.)    NextGen Orlando iPad recently-added                  iPadOS 16.3.1 -
iPad-ORL-03                       iPad (9th Gen.)    NextGen Orlando iPad recently-added                  iPadOS 16.3.1 -
iPad Orlando                      iPad (9th Gen.)    iPad recently-added                                  iPadOS 16.5
iPad Palmetto Bay                 iPad (9th Gen.)    NextGen Palmetto_Bay iPad                            iPadOS 17.5.1
iPad Palmetto Bay-02              iPad (9th Gen.)    NextGen Palmetto_Bay iPad recently-added             iPadOS 17.5.1 -
iPad Palmetto Bay-03              iPad (9th Gen.)    NextGen Palmetto_Bay iPad recently-added             iPadOS 17.5.1 -
iPad Palm River                   iPad (9th Gen.)    iPad recently-added                                  iPadOS 17.5.1 -
iPad-PL-01                        iPad (9th Gen.)    NextGen Plant_City iPad recently-added               iPadOS 17.5.1 -
iPad-PL-02                        iPad (9th Gen.)    NextGen Plant_City iPad recently-added               iPadOS 17.5.1 -
iPad-PN-01                        iPad (9th Gen.)    NextGen Pinellas_Park iPad recently-added            iPadOS 16.3.1 -
iPad-PN-02                        iPad (9th Gen.)    NextGen Pinellas_Park iPad recently-added            iPadOS 16.3.1 -
iPad-PN-03                        iPad (9th Gen.)    NextGen Pinellas_Park iPad recently-added            iPadOS 16.3.1 -
iPad-PR-01                        iPad (9th Gen.)    NextGen Palm_River iPad recently-added               iPadOS 16.3.1 -
iPad-PR-02                        iPad (9th Gen.)    NextGen Palm_River iPad recently-added               iPadOS 16.3.1 -
iPad-PR-03                        iPad (9th Gen.)    NextGen Palm_River iPad recently-added               iPadOS 16.3.1 -
iPad-PR-04                        iPad (9th Gen.)    NextGen Palm_River iPad recently-added               iPadOS 16.3.1 -
iPad-PR-05                        iPad (9th Gen.)    NextGen Palm_River iPad recently-added               iPadOS 16.3.1 -
iPad-PS-CAID-01                   iPad (9th Gen.)    Hudson NextGen iPad recently-added                   iPadOS 16.3.1 -
iPad-PS-CARE-01                   iPad (9th Gen.)    Hudson NextGen iPad recently-added                   iPadOS 16.3.1 -
iPad-PS-CARE-02                   iPad (9th Gen.)    Hudson NextGen iPad recently-added                   iPadOS 16.3.1 -
iPad-PS-CARE-03                   iPad (9th Gen.)    Hudson NextGen iPad recently-added                   iPadOS 16.3.1 -
iPad Sweetwater                   iPad (9th Gen.)    Sweetwater iPad                                      iPadOS 17.5.1 -
iPad Sweetwater - 01              iPad (9th Gen.)    NextGen Sweetwater iPad recently-added               iPadOS 17.5.1
iPad Sweetwater - 02              iPad (9th Gen.)    ATT Winter_Haven iPad                                iPadOS 17.5.1 -
iPad Sweetwater - 03              iPad (9th Gen.)    ATT Temple_Terrace iPad                              iPadOS 17.5.1
iPad-TM-04                        iPad (9th Gen.)    NextGen Tamarac iPad recently-added                  iPadOS 17.2 -
iPad-TM-XRAY                      iPad (9th Gen.)    NextGen Tamarac iPad recently-added                  iPadOS 17.3 -
iPad Westchester-01               iPad (9th Gen.)    NextGen Westchester iPad recently-added              iPadOS 17.5.1
iPad Westchester-02               iPad (9th Gen.)    NextGen Westchester iPad recently-added              iPadOS 17.4 -
iPad Westchester-03               iPad (9th Gen.)    NextGen Westchester iPad recently-added              iPadOS 17.5.1
iPad Westchester-04               iPad (9th Gen.)    NextGen Westchester iPad recently-added              iPadOS 17.5.1
iPad Westchester-05               iPad (9th Gen.)    NextGen Westchester iPad recently-added              iPadOS 17.3 -
iPad Westchester-06               iPad (9th Gen.)    NextGen Westchester iPad recently-added              iPadOS 17.5.1 -
iPad Westchester 07               iPad (9th Gen.)    iPad recently-added                                  iPadOS 17.3 -
                             Case 24-20576-CLC              Doc 29             Filed 10/13/24                   Page 513 of 565


iPad Westchester 08                    iPad (9th Gen.)           Westchester iPad recently-added                                 iPadOS 17.3 -
iPad Westchester 09                    iPad (9th Gen.)           Westchester iPad recently-added                                 iPadOS 17.3 -
iPad Westchester 10                    iPad (9th Gen.)           Westchester iPad recently-added                                 iPadOS 17.3 -
iPad-WH-01                             iPad (9th Gen.)           NextGen Winter_Haven iPad recently-added                        iPadOS 16.3.1 -
iPad-WH-02                             iPad (9th Gen.)           NextGen Winter_Haven iPad recently-added                        iPadOS 16.3.1 -
iPad-WH-03                             iPad (9th Gen.)           NextGen Winter_Haven iPad recently-added                        iPadOS 16.3.1 -
iPhone                                 iPhone 11                 recently-added                                                  iOS 17.3      -
iPhone                                 iPhone 11                 recently-added                                                  iOS 17.3      -
iPhone                                 iPhone 11                 recently-added                                                  iOS 17.3      -
iPhone                                 iPhone 11                 recently-added                                                  iOS 17.3      -
iPhone                                 iPhone 11                 recently-added                                                  iOS 16.1.1
iPhone                                 iPhone 11                 recently-added                                                  iOS 17.3      -
iPhone                                 iPhone 11                 recently-added                                                  iOS 17.4      -
iPhone                                 iPhone 11                 recently-added                                                  iOS 15.3.1
iPhone                                 iPhone 11                 recently-added                                                  iOS 15.3.1
iPhone                                 iPhone 11                 recently-added                                                  iOS 17.5.1
Iris Acevedo                           iPhone 13                 ATT Case_Manager                                                iOS 17.5.1
Iris Tamarez                           iPhone 13                 ATT Center_Manager Operations Orlando SUPERVISED                iOS 16.3
Janice Caban                           iPhone 13                 ATT Corporate MSO                                               iOS 16.1.2
Jan Paul Maldonado De Jesus            iPhone 11                 ATT Center_Manager Palm_River Tampa                             iOS 17.4.1
Javier Hernandez Perez                 iPhone 13                 ATT Clinical_Ops Provider Winter_Haven                          iOS 16.1.2
Jazmina Salcedo                        iPhone 11                 ATT Administrative Medical_Management                           iOS 15.3.1
JD Suarez                              iPhone 12                 Corporate Executive T-Mobile                                    iOS 17.4.1
Jean Philippe Charles                  iPhone 11                 ATT Clinical_Ops Homestead Provider                             iOS 16.3.1
Jean Saint Hilaire                     SM-A146U                  Driver North_Miami_East T-Mobile Transportation                 Android 14
Jennifer Botas Palomares               iPhone 11                 Miami_Beach Operations SUPERVISED Social_Services               iOS 17.5.1
Jessica Melo                           iPhone 11                 ATT Center_Manager Operations SUPERVISED Westchester            iOS 17.5.1
Jesus Arevalo                          SM-A146U                  Bird_Road Driver T-Mobile Transportation                        Android 14
Jorge Fernandez Novales                iPhone 11                 ATT Clinical_Ops Le_Jeune Provider                              iOS 16.3.1
Jorge Machin Rodriguez                 iPhone 13                 ATT Clinical_Ops NextGen Plant_City Provider SUPERVISED Tampa   iOS 17.5.1
Jorge Reina                            iPhone 11                 ATT Care_Coordinator SUPERVISED Westchester                     iOS 17.4.1
Jorge Urgell                           iPhone 11                 ATT Clinical_Ops Provider                                       iOS 17.5.1
Jose Antonio Bonilla                   iPhone 11                 ATT Center_Manager West_Hialeah                                 iOS 17.5.1
Joseph Ricardeau                       iPhone 11                 ATT North_Miami_West Operations Social_Services                 iOS 15.3.1
Jose Roque Farinas                     SM-A146U                  Driver North_Miami_East T-Mobile Transportation                 Android 14
Juan Alberto Costafreda Izaguirre      SM-A146U                  Driver T-Mobile Transportation Westchester                      Android 14
Juan Arroyo                            iPhone 11                 ATT Clinical_Ops Hanley_Medicaid Provider                       iOS 17.6
Juan Carlos Alonso                     SM-A146U                  Dispatcher T-Mobile Transportation Westchester                  Android 14
Juan Carlos Hernandez                  SM-A146U                  Driver T-Mobile Transportation Westchester recently-added       Android 14
Juan Felipe Moya Polania               iPhone 13                 ATT Clinical_Ops Fowler Provider Tampa                          iOS 16.1.2
Judith Pena                            SM-A146U                  Driver T-Mobile Transportation Westchester                      Android 14
Julibeth Arellano Osorio               iPhone 13                 ATT Homestead Marketing Outreach SUPERVISED                     iOS 17.6
Julie Borges                           iPhone 11                 ATT Operations Social_Services Westchester                      iOS 16.3
Julio Orlando Gomez                    iPhone 11                 ATT Miami Provider SUPERVISED                                   iOS 17.5.1
Karen Gerena                           iPhone 11                 ATT Center_Manager Fowler Tampa                                 iOS 16.6
Karla Castillo                         iPhone 13                 ATT Clinical_Ops Medical_Assistant SUPERVISED Westchester       iOS 17.5.1
Katerine Rosendo Alvarez               iPhone 13                 ATT Corporate HR                                                iOS 16.1.2
Kenneth Ortiz                          iPhone 13                 ATT Center_Manager Palmetto_Bay                                 iOS 17.5.1
Keyla Rios Aguayo                      iPhone 13                 ATT Hanley_Medicaid Operations Tampa                            iOS 16.1.2
Laura Alvarez                          iPhone 13                 ATT Center_Manager                                              iOS 17.5.1
Leidys Mesa Corzo                      iPad (8th Gen.)           Miami NO-iCloud NextGen iPad                                    iPadOS 17.5.1 -
Leilani Edouazin                       iPhone 13                 ATT Corporate HR                                                iOS 16.1.2
Leonel Castro                          SM-A146U                  Driver T-Mobile Transportation West_Hialeah                     Android 14
Liesys Gonzalez                        iPhone 13                 ATT Center_Manager Miami SUPERVISED                             iOS 17.5.1
Liliam Vasquez                         iPhone 13                 ATT Clinical_Ops NextGen Plant_City Provider SUPERVISED         iOS 16.3
Lilibet Alvarez Morfi                  iPhone 13                 ATT East_Hialeah MA_Hotline                                     iOS 17.5.1
Lorayne Enriquez Dominguez             iPhone 13                 ATT Provider                                                    iOS 16.1.2
Luisa Padilla Ayala                    iPhone 11                 ATT Clinical_Ops Hanley_Medicaid Provider Tampa                 iOS 15.3.1
Luis Hernandez Abreu                   iPhone 11                 ATT Clinical_Ops Dental                                         iOS 17.5.1
Luis Rios Andino                       SM-A146U                  Driver East_Hialeah T-Mobile Transportation                     Android 14
Lukas Miranda                          iPhone 13                 ATT Administrative Corporate Salesforce Technology              iOS 16.3.1
Luz Pacheco                            iPhone 13                 ATT Clinical_Ops Hanley_Medicare Medical_Assistant              iOS 16.1.2
MA Hotline Alton Rd                    iPhone 13                 ATT MA_Hotline Miami_Beach                                      iOS 16.1.2
Manuela Zanetti                        iPhone 11                 ATT Case_Manager Corporate Medical_Management                   iOS 16.1.1
Manuel Silva                           iPhone 11                 ATT Clinical_Ops Hollywood Provider                             iOS 15.3.1
Marcel Garcia                          iPhone 13                 Manager SUPERVISED Transportation Westchester                   iOS 17.5.1
Marco Julio Banzo                      SM-A146U                  Driver T-Mobile Transportation West_Hialeah                     Android 13
Mardielys Fernandez                    iPhone 11                 ATT Clinical_Ops Hanley_Medicare Medical_Assistant Tampa        iOS 17.5.1
Maria Ailane Perez                     iPhone 13                 ATT Administrative Compliance                                   iOS 17.5.1
Maria Ailane Perez- Compliance iPad    iPad (6th Gen., Cellular) Compliance WaH iPad                                             iPadOS 16.3
Maria Delgado                          iPhone 13                 ATT Hudson Medical_Assistant Tampa                              iOS 16.5.1
Marianela Lopez                        iPhone 11                 ATT Bird_Road Case_Manager SUPERVISED                           iOS 17.5.1
Marianne Carrate                       iPhone 11                 NextGen Provider Sweetwater recently-added                      iOS 16.3.1
Maria Patricia Acevedo                 iPhone 11                 ATT Center_Manager Miami_Lakes                                  iOS 17.5.1
Maria Rozas                            iPhone 11                 ATT Care_Coordinator East_Hialeah                               iOS 17.5.1
Maria Soto                             iPhone 13                 ATT Hudson Provider                                             iOS 16.1.2
                              Case 24-20576-CLC                       Doc 29          Filed 10/13/24                   Page 514 of 565


Maribel Rivero Formoso                                    SM-A146U     Driver T-Mobile Transportation West_Hialeah                       Android 14
Mariela Sarduy Perez                                      iPhone 11    ATT Care_Coordinator                                              iOS 17.5.1
Marie Yolette Celoge                                      iPhone 13    ATT Clinical_Ops North_Miami_West Provider                        iOS 16.1.2
Mariluz Melendez Martir                                   iPhone 13    ATT Operations Orlando Social_Services                            iOS 16.1.2
Marilyn Valle                                             iPhone 11    ATT Clinical_Ops Fowler Medical_Assistant Tampa                   iOS 17.5.1
Mario Capote Veras                                        iPhone 11    ATT Case_Manager Medical_Management Westchester                   iOS 17.5.1
Maritza Reyes Ortega                                      iPhone 13    ATT Clinical_Ops Palmetto_Bay Provider                            iOS 17.5.1
Maritza Ruiz                                              iPhone 13    ATT Case_Manager                                                  iOS 17.5.1
Mari Vidal                                                iPhone 13    ATT Corporate HR                                                  iOS 16.1.2
Marley Ramirez                                            iPhone 13    ATT Access North_Miami_East                                       iOS 16.1.2
Martha Suarez Vargas                                      iPhone 11    ATT MA_Hotline Orlando                                            iOS 15.3.1
Martin Jesus Sueiro                                       iPhone 13    ATT Clinical_Ops Provider SUPERVISED Sweetwater                   iOS 16.3
Maureen Diaz                                              iPhone 13    Fowler Medical_Management SUPERVISED                              iOS 16.1.2
Melissa Cifuentes                                         iPhone 13    ATT Corporate HR                                                  iOS 16.1.2
Meyzel Cartaya Alegre                                     SM-A146U     Coordinator Hanley_Medicare T-Mobile Transportation Westchester   Android 14
Michael Cuenca                                            iPhone 11    ATT Clinical_Ops Hollywood Provider                               iOS 17.5.1
Mike Pilger                                               iPhone 13    ATT Dental VP                                                     iOS 16.1.2
Minette Gomez                                             iPhone 13    ATT Administrative Corporate HR                                   iOS 16.1.2
Mo Jalloh - Strategy And Operations Manager               iPhone 13    recently-added                                                    iOS 16.1.2
Moraima Batista                                           iPhone 13    ATT Hanley_Medicare Provider Tampa                                iOS 16.1.2
Mori Diaz                                                 iPhone 13    ATT Administrative Corporate HR                                   iOS 17.5.1
Munir Khatri                                              iPhone 13    ATT Administrative Corporate Executive                            iOS 16.1.2
Natalia Ryaboshapka                                       iPhone 13    ATT Hollywood MA_Hotline                                          iOS 17.5.1
Nathalie Ortiz                                            iPhone 13    ATT MA_Hotline North_Miami_West                                   iOS 17.5.1
Nayade Delgado                                            iPhone 11    ATT Corporate Regional_Manager SUPERVISED                         iOS 17.5.1
Nehal Gheewala - Senior Vice President, Clinical Strategy iPhone 11    ATT Administrative Corporate                                      iOS 16.6.1
Nelvis Benitez                                            iPhone 13    ATT Care_Coordinator Miami_Beach                                  iOS 16.1.2
Nicholas Bowman                                           iPhone 13    ATT Administrative Corporate Finance                              iOS 17.5.1
Niurka Hernandez                                          iPhone 11    ATT Miami_Lakes Operations Social_Services                        iOS 15.3.1
Octavio Uribe                                             SM-A146U     Driver Miami_Beach T-Mobile Transportation                        Android 14
Odalmys Rodriguez                                         iPhone 13    ATT Case_Manager                                                  iOS 17.2.1
Oliver Driggs                                             iPhone 13    ATT Administrative Orlando SUPERVISED Technology                  iOS 16.1.2
Oscar Hernandez                                           SM-A146U     Driver Miami_Lakes T-Mobile Transportation                        Android 14
Osmel Labrada                                             iPhone 13    APRN Lakeland NextGen Provider SUPERVISED                         iOS 17.5.1
Paola Picone                                              iPhone 11    ATT Credentialing WaH                                             iOS 17.5.1
Pedro Cabrera Arias                                       SM-A146U     Bird_Road Driver T-Mobile Transportation                          Android 14
Rachel Perez                                              iPhone 13    ATT Center_Manager East_Hialeah                                   iOS 16.1.2
Rafaela Guilarte                                          SM-A146U     Driver T-Mobile Transportation Westchester                        Android 14
Rafael Capote                                             iPhone 13    ATT Clinical_Ops Provider                                         iOS 17.5.1
Rafael Matos                                              iPhone 11    ATT Hanley_Medicaid Provider                                      iOS 15.3.1
Rafael Menendez                                           SM-A146U     Driver T-Mobile Transportation West_Hialeah                       Android 14
Ramon Antonio Rodriguez                                   iPhone 11    1099 ATT Miami_Lakes Provider                                     iOS 17.5.1
Ramon Hernandez Ortega                                    SM-A146U     Driver North_Miami_West T-Mobile Transportation                   Android 14
Rene Guerra                                               iPhone 11    ATT Clinical_Ops Miami_Beach Provider SUPERVISED                  iOS 15.3.1
Rennier Crespo Suarez                                     iPhone 11    ATT Care_Coordinator                                              iOS 17.5.1
Reynaldo Arrieta                                          iPhone 13    ATT Pinellas_Park Provider                                        iOS 16.1.2
Reynaldo Perez de La Cruz                                 iPhone 11    ATT Clinical_Ops Provider Westchester                             iOS 17.5.1
Roberto Reyes                                             SM-A146U     Coordinator Hanley_Medicare T-Mobile Transportation Westchester   Android 14
Robexy Rodriguez Becerra                                  SM-A146U     Driver East_Hialeah T-Mobile Transportation                       Android 14
Rogertâ€™s Iphone                                         iPhone 13    recently-added                                                    iOS 17.5.1
Romel Figueredo                                           iPhone 13    1099 ATT Clinical_Ops Provider West_Hialeah                       iOS 17.5.1
Romulo Chacon                                             T790W        Administrative Corporate T-Mobile Technology                      Android 11
Rosa Berrios                                              iPhone 11    ATT Clinical_Ops Orlando Provider SUPERVISED                      iOS 17.5.1
Rosa Molina                                               iPhone 13    ATT Hudson Patient_Concierge Tampa                                iOS 17.5.1
Rosa Thais Alvarez                                        iPhone 11    Lakeland                                                          iOS 17.4.1
Rossana Jaen                                              iPhone 11    ATT Marketing Outreach                                            iOS 17.5.1
Samson Saint Fleur                                        iPhone 11    ATT North_Miami_East Provider                                     iOS 16.3.1
Sandra Patricia Casas                                     iPhone 13    ATT Miami Patient_Concierge SUPERVISED                            iOS 17.5.1
Sandy Luciano                                             iPhone 11    ATT MA_Hotline West_Hialeah                                       iOS 17.5.1
Saylys Toledo Canete                                      SM-A146U     Driver T-Mobile Transportation Westchester                        Android 14
Sindy Simon                                               SM-A146U     Dispatcher T-Mobile Transportation Westchester                    Android 14
Sujeily Morales                                           iPhone 11    ATT Medical_Assistant Winter_Haven                                iOS 17.5.1
Surema Canete Sabina                                      SM-A146U     Driver Sweetwater T-Mobile Transportation                         Android 14
Talia Martinez                                            iPhone 13    ATT Marketing Outreach Palm_River                                 iOS 16.1.2
Tamara Tania Veliz                                        SM-A146U     Dispatcher T-Mobile Transportation Westchester                    Android 14
Tania Cepero                                              iPhone 13    ATT MA_Hotline Palmetto_Bay                                       iOS 16.1.2
TaraÂ Walls                                               iPhone 13    ATT Center_Manager Delray_Beach NextGen                           iOS 16.1.2
Tatiana Diaz Cardelle                                     iPhone 13    ATT Clinical_Ops Miami_Lakes Provider                             iOS 16.1.2
TERMINATED: Jorge Luis Garcia                             iPhone 13    1099 ATT Provider SUSPENDED Tamarac                               iOS 17.5.1
TERMINATED: Josley Ferrer                                 iPhone 11    ATT Care_Coordinator Hollywood TERMINATED                         iOS 16.6.1
Tomas Guanche Mantilla                                    SM-A146U     Driver T-Mobile Transportation West_Hialeah                       Android 14
Tomas Santana Velazquez                                   SM-A146U     Driver North_Miami_East T-Mobile Transportation                   Android 14
Vanessa Barreiro                                          iPhone 11    Center_Manager Winter_Haven                                       iOS 17.5.1
Veronica Rodriguez                                        iPhone 11    Delray_Beach NextGen Provider SUPERVISED                          iOS 17.5.1
Vladimir Cardenas                                         SM-A146U     Driver T-Mobile Transportation Westchester                        Android 14
Yaima Martinez                                            iPhone 13    ATT Bird_Road MA_Hotline Medical_Assistant SUPERVISED             iOS 17.5.1
                            Case 24-20576-CLC     Doc 29          Filed 10/13/24                 Page 515 of 565


Yaimy Fernandez                       iPhone 11    NextGen Provider Westchester recently-added                   iOS 15.3.1
Yakelin Blanco                        iPhone 11    Operations SUPERVISED Social_Services West_Hialeah            iOS 17.5
Yandris Sanchez Rodriguez             iPhone 11    ATT Clinical_Ops Le_Jeune Provider                            iOS 17.5.1
Yanela Diaz                           iPhone 11    Outreach SUPERVISED Tamarac                                   iOS 17.4.1
Yanelis Valdez                        iPhone 13    ATT Provider Tampa                                            iOS 16.1.2
Yanhira Castellano                    iPhone 11    ATT Lakeland                                                  iOS 15.3.1
Yanin Otero Ramon                     iPhone 11    ATT Clinical_Ops Provider Tampa                               iOS 17.5.1
Yanoska Villa                         iPhone 11    ATT Hanley_Medicare Marketing Outreach                        iOS 17.4.1
Yasmina Peron Buelgas                 iPhone 13    ATT Operations SUPERVISED Social_Services Sweetwater          iOS 16.1.2
Yessenia Navarro                      iPhone 11    recently-added                                                iOS 15.3.1
Yisel Reyes                           iPhone 13    ATT Center_Manager Clinical_Ops North_Miami_East SUPERVISED   iOS 16.1.2
Yoelquis Rodriguez                    iPhone 13    APRN ATT Clinical_Ops Corporate Provider                      iOS 16.7
Yoisy Elder                           iPhone 11    NextGen Remote Technology                                     iOS 16.6.1
Yolanda Alvarez                       iPhone 11    NextGen Plant_City Provider SUPERVISED                        iOS 17.5.1
Yunior Silva Barrero                  iPhone 11    ATT North_Miami_East Provider                                 iOS 16.1.2
Yvonne Sanchez                        iPhone 11    ATT Care_Coordinator Lakeland                                 iOS 15.3.1
                                          Case 24-20576-CLC                                                      Doc 29                         Filed 10/13/24                                         Page 516 of 565

          Computers                    Laptops            Tablets                  Monitors               Scanners                    Printers             Desk Phones       Cell Phones   AP Wifi's                 Firewalls           Network Switches    TVs         NVR       NVR Cameras
THINKCENTRE M600             THINKPAD E570           iPad (9th Gen.)   ASUS VP228                     CANON R40          Brother MFC-L2700DW series    YEALINK W60B         iPhone 11    UAP-AC-HD     MX100 - Serial: Q2JN-CYZA-XCA5   HPE1920           Insignia ALI-NVR3316P   ALI-NS2036R
THINKCENTRE M700             THINKBOOK 15 G2 ITL     iPad (9th Gen.)   ACER KA220HQ                   CANON DR-C225 II   HP LaserJet E40040            Polycom - VVX 450    iPhone 11    UAP-AC-HD                                      HPE1920           FireTV ALI-NR161F-2     ALI-NS2036R
THINKCENTRE M600             THINKPAD E14            iPad (9th Gen.)   Dell E2016HB 20"               CANON DR-C225 II   HP LaserJet M402n             Polycom - VVX 450                 UAP-AC-HD                                                        Philips                 ALI-NS2036R
THINKBOOK 15 G2 ITL          HP 250 G8 NOTEBOOK PC                     ACER V226HQL                   CANON R40          HP LaserJet Pro M404-M405     Polycom - VVX 450                                                                                  Insignia                ALI-NS2036R
THINKCENTRE M720Q            IDEAPAD 3 15ITL6                          Lenovo ThinkCentre TIO24Gen3   CANON R40          HP LaserJet Pro M428f-M429f   Polycom - VVX 450                                                                                                          ALI-NS2036R
THINKCENTRE M720Q            THINKBOOK 15 G2 ITL                       Dell E2016HB 20"               CANON R40          Ricoh IM C3500                Polycom - VVX 450                                                                                                          ALI-NS2036R
THINKCENTRE M720Q                                                      Dell E2016HB 20"               CANON R40                                        Polycom - VVX 450                                                                                                          ALI-NS2036R
THINKCENTRE M720Q                                                      LG FLATRON E235QV              CANON DR-C225 II                                 Yealink - SIP-T46S                                                                                                         ALI-FT41-UA
THINKCENTRE M720Q                                                      ASUS VP248                     CANON DR-C225 II                                 Polycom - VVX 450                                                                                                          ALI-FT41-UA
OPTIPLEX 3030 AIO                                                      HP P22V G4                                                                      Polycom - VVX 411                                                                                                          ALI-FT41-UA
THINKCENTRE M70Q                                                       Lenovo ThinkCentre TIO24Gen3                                                    Polycom - VVX 450                                                                                                          ALI-FT41-UA
THINKCENTRE M920S                                                      ACER V226HQL                                                                    Polycom - VVX 450                                                                                                          ALI-FT41-UA
HP ELITEDESK 800 G3 DM 35W                                             Dell E2016HB 20"                                                                Polycom - VVX 450                                                                                                          ALI-FT41-UA
HP ELITEDESK 800 G3 DM 35W                                             OPTIPLEX 3030 AIO                                                               Polycom - VVX 450                                                                                                          ALI-FT41-UA
HP ELITEDESK 800 G3 DM PC                                              ACER V226HQL                                                                    Polycom - VVX 450
HP ELITEDESK 800 G3 DM 35W                                             SAMSUNG S24A336NHN                                                              Polycom - VVX 450
HP ELITEDESK 800 G3 DM 35W                                             SAMSUNG S24A336NHN                                                              Polycom - VVX 400
HP ELITEDESK 800 G3 DM 35W                                             ACER - V196WL                                                                   Polycom - VVX 450
THINKCENTRE M70Q GEN 2                                                 AOC                                                                             Yealink - SIP-T29G
HP ELITEDESK 800 G3 DM 35W                                             ACER V206HQL
                                                                       Dell E2016HB 20"
                                                                       ACER V226HQL
                                                                       Dell E2016HB 20"
                                                                       Dell E2016HB 20"
                                                                       Dell E2016HB 20"
                                                                       ASUS VP248
                                                                       HP P22V G4
                                                                       AOC
                                                                       ACER V226HQL
                                                    Case 24-20576-CLC                                                                      Doc 29                             Filed 10/13/24                                                  Page 517 of 565

          Computers                             Laptops                Tablets                Monitors                  Scanners                       Printers              Desk Phones      Cell Phones AP Wifi's              Firewalls                          Network Switches                   TVs        NVR        NVR Cameras
THINKCENTRE M600             750XDA                                              Asus VE248                     Canon Scanner DR-C225 II   HP LaserJet E40040            Polycom - VVX 411   iPhone 11    Aruba     MX100 - Serial:Q2JN-UA74-932F   HPE OfficeConnect Switch 1920S 48G 4SFP PPoE+   Insignia ALI-NVR3316P   ALI-NS2036VR
THINKCENTRE M720Q            HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC             AOC 22E1H                      Canon Scanner DR-C225 II   HP LaserJet Pro M404dn        Polycom-VVX 411     iPhone 11                                                                                              Insignia                ALI-NS2036VR
THINKCENTRE M720Q                                                                Asus VE248                     Canon Scanner DR-C225 II   HP LaserJet Pro M404dn        Polycom-VVX 411     iPhone 13                                                                                              Insignia                ALI-NS2036VR
THINKCENTRE M720Q                                                                Lenovo ThinkCentre TIO24Gen3   Canon Scanner DR-C225 II   HPLaserJet Pro M404dn         Polycom-VVX 411     iPhone 13                                                                                              Toshiba                 ALI-NS2036VR
THINKCENTRE M720Q                                                                Lenovo ThinkCentre TIO24Gen3   Canon Scanner DR-C225 II   HPLaserJet Pro M404dn         Polycom-VVX 411                                                                                                            TCL                     ALI-NS2036VR
THINKCENTRE M720Q                                                                Asus VE248                     Canon Scanner DR-C225 II   HP LaserJet Pro MFP M428fdn   Polycom-VVX 411                                                                                                                                    ALI-NS2036VR
THINKCENTRE M720Q                                                                Asus VP228                     Canon Scanner DR-C225 II   RICOH IM C3500                Polycom-VVX 411                                                                                                                                    ALI-NS2036VR
THINKCENTRE M720Q                                                                ACER V226HQL                   CANON R40                                                Polycom-VVX 411                                                                                                                                    ALI-NS2036VR
THINKCENTRE M720Q                                                                Asus VE248                                                                              Polycom-VVX 411
THINKCENTRE M720Q                                                                Asus VE248                                                                              Polycom-VVX 411
THINKCENTRE M720Q                                                                Lenovo ThinkCentre TIO24Gen3                                                            Polycom-VVX 411
THINKCENTRE M720Q                                                                Lenovo ThinkCentre TIO24Gen3                                                            Polycom-VVX 411
THINKCENTRE M720Q                                                                Sceptre IPS 24-In                                                                       Polycom - VVX 450
THINKCENTRE M720Q                                                                Asus VP228                                                                              Polycom-VVX 411
THINKCENTRE M720Q                                                                Asus VE248                                                                              Polycom-VVX 411
THINKCENTRE M720Q                                                                Asus VE248                                                                              Polycom-VVX 411
THINKCENTRE M720Q                                                                Dell E2420h                                                                             Polycom-VVX 411
THINKCENTRE M720Q                                                                Asus VE248
THINKCENTRE M70Q                                                                 Asus VE248
THINKCENTRE M70Q                                                                 Asus VE248
THINKCENTRE M720Q                                                                Asus VE248
HP ELITEDESK 800 G3 DM 35W                                                       Asus VP228
                                                                                 Asus VE248
                                                                                 ACER V226HQL
                                                                                 Asus VE248
                                                                                 Asus VE248
                                                                                 Asus VE248
                                                                                 Sceptre IPS 24-In
                                                                                 Asus VP228
                                                Case 24-20576-CLC                                                   Doc 29                           Filed 10/13/24                                 Page 518 of 565

             Computers                   Laptops             Tablets                        Monitors               Scanners                      Printers                        Desk Phones    Cell Phones   AP Wifi's             Firewalls           Network Switches    TVs   NVR NVR Cameras
THINKCENTRE M600                  THINKPAD E15          iPad (9th Gen.)   ASUS - VP228                   Canon Scanner DR-C225 II   HP LaserJet E40040            Polycom - VVX 411            iPhone 11    UAP-AC-HD MX100 - Serial: Q2JN-NXK2-U9JV   HPE 1920 48G      TCL      ALI-NVALI-NS2015VR
THINKCENTRE M710Q                 THINKBOOK 14 G2 ITL   iPad (9th Gen.)   Acer - V206HQL                 Canon - R40                HP LaserJet Pro M402dn        Polycom - VVX 411            iPhone 11    UAP-AC-HD                                  HPE 1920 48G      TCL            ALI-NS2015VR
THINKCENTRE M73                   SURFACE PRO 8         iPad (9th Gen.)   Acer - V206HQL                 Canon Scanner DR-C225      HP LaserJet Pro M402n         Yealink - SIP-T46S           iPhone 11                                               HPE 1920 48G      Insignia       ALI-NS2015VR
THINKCENTRE M600                  750XDA                                  Acer - V206HQL                 Canon Scanner DR-C225      HP LaserJet Pro M402n         Yealink - SIP-T46S           iPhone 13                                                                                ALI-NS2015VR
THINKCENTRE M73                                                           Acer - V206HQL                 Canon - R40                HP LaserJet Pro M402n         Polycom - VVX 411            iPhone 13                                                                                ALI-NS2015VR
THINKCENTRE M73                                                           ACER - V196WL                  Canon Scanner DR-C225      HP LaserJet Pro M404dn        Yealink SIP-T23P                                                                                                      ALI-NS2015VR
THINKCENTRE M715Q                                                         Acer - V206HQL                 Canon Scanner DR-C225      HP LaserJet Pro MFP M428fdn   Yealink SIP-T23P                                                                                                      ALI-NS2015VR
THINKCENTRE M720Q                                                         Acer - V206HQL                 Canon Scanner DR-C225 II   Ricoh IM 4000                 Yealink SIP-T23P                                                                                                      ALI-NS2015VR
THINKCENTRE M720Q                                                         Lenovo ThinkCentre TIO24Gen3   Canon Scanner DR-C225                                    Yealink SIP-T23P                                                                                                      ALI-NS2015VR
THINKCENTRE M720Q                                                         Acer - V206HQL                 Canon R40                                                Yealink SIP-T23P                                                                                                      ALI-NS2015VR
THINKCENTRE M720Q                                                         HP - LV1911                    Canon Scanner DR-C225                                    Yealink SIP-T46S
THINKCENTRE M720Q                                                         Acer - V206HQL                                                                          Polycom - VVX 401
THINKCENTRE M70Q                                                          Acer - V206HQL                                                                          Yealink SIP-T27P
THINKCENTRE M73                                                           Acer - KA220HQ                                                                          Yealink SIP-T28P
THINKCENTRE M70Q                                                          Acer - KA220HQ                                                                          Yealink - SIP-T46S
THINKCENTRE M70Q                                                          Lenovo ThinkCentre TIO24Gen3                                                            Polycom - VVX 411
HP ELITEDESK 800 G3 DM 35W                                                Dell E1909Wc 19"                                                                        Yealink SIP-T23P
HP ELITEDESK 800 G3 DM 35W                                                Dell S1909WXf                                                                           Yealink SIP-T23P
HP ELITEDESK 800 G3 DM 35W                                                Acer - KA220HQ
HP ELITEDESK 800 G3 DM 35W                                                ASUS - VP228
HP ELITEDESK 800 G3 DM 35W                                                Acer - V206HQL
HP ELITEDESK 800 G3 DM 35W                                                ACER - V196WL
HP ELITEDESK 800 G3 DM 35W                                                Acer - V227Q
HP ELITEDESK 800 G3 DM 35W                                                Acer - V206HQL
HP ELITEDESK 800 G3 DM 35W                                                Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                                Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                                Sceptre IPS 24-In
HP ELITEDESK 800 G3 DM 35W                                                Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                                HP - LV1911
OPTIPLEX 5090                                                             Acer - V206HQL
OPTIPLEX 5090                                                             Dell E1909Wc 19"
HP ELITE MINI 800 G9 DESKTOP PC                                           Dell E1909Wc 19"
                                                                          ASUS - VE248
                                                                          Acer - V206HQL
                                                                          Acer - V206HQL
                                                                          Acer - V206HQL
                                                                          Acer - V206HQL
                                                                          ACER - V196WL
                                                                          Acer - KA220HQ
                                                                          Acer - V206HQL
                                                                          Acer - V206HQL
                                                                          Acer - V226HQL
                                                                          Acer - KA220HQ
                                                                          Acer - KA220HQ
                                                                          Acer - V206HQL
                                                                          ACER - V196WL
                                                                          Acer - V227Q
                                                                          Acer - V206HQL
                                                                          ASUS - VE248
                                                                          Acer - V206HQL
                                          Case 24-20576-CLC                                                  Doc 29                       Filed 10/13/24                                   Page 519 of 565

          Computers           Laptops           Tablets                       Monitors               Scanners                   Printers             Desk Phones       Cell Phones AP Wifi's              Firewalls           Network Switches    TVs   NVR NVR Cameras
THINKCENTRE M720Q            750XDA iPad (6th Gen., Cellular)     AOC                            CANON DR-C225 II   HP LaserJet M402n             Polycom - VVX 410   iPhone 11    UAP-AC-LRMX100 - Serial: Q2JN-FZTM-MHY9   HPE 1950 48G      Fire TV ALI-N ALI-NS2036R
THINKCENTRE M720Q                     iPad (9th Gen.)             ACER V227Q                     CANON R40          HP LaserJet Pro M404-M405     Polycom - VVX 411   iPhone 11    UAP-AC-LR                                                   Insignia      ALI-NS2036R
THINKCENTRE M70Q                      iPad (6th Gen., Cellular)   ACER V226HQL                   CANON R40          HP LaserJet Pro M404-M405     Polycom - VVX 450   iPhone 13                                                                Insignia      ALI-NS2036R
THINKCENTRE M720Q                                                 HP V222VB                      CANON R40          HP LaserJet Pro M428f-M429f   Polycom - VVX 401   iPhone 11                                                                              ALI-NS2036R
THINKCENTRE M70Q                                                  Dell E2016H 20"                CANON R40          HP LaserJet Pro MFP 4101      Polycom - VVX 450                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 65W                                        ACER V196WL                    CANON R40          RICOH IM C3500                Polycom - VVX 411                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                        ASUS VE248                     CANON R40                                        Polycom - VVX 401
HP ELITEDESK 800 G3 DM 35W                                        ASUS VP228                     CANON R40                                        Polycom - VVX 400
HP ELITEDESK 800 G3 DM 35W                                        HP V222VB                      CANON R40                                        Polycom - VVX 450
HP ELITEDESK 800 G3 DM 35W                                        ACER V227Q                     CANON DR-C225 II                                 Polycom - VVX 411
                                                                  ACER V206HQL                                                                    Polycom - VVX 400
                                                                  DELL P2018H                                                                     Polycom - VVX 450
                                                                  DELL P2018H                                                                     Polycom - VVX 450
                                                                  SAMSUNG S24A338NHN                                                              Polycom - VVX 450
                                                                  SAMSUNG S24A338NHN                                                              Polycom - VVX 450
                                                                  ASUS VP228                                                                      Polycom - VVX 411
                                                                  DELL P2018H                                                                     Yealink SIP-T23G
                                                                  ThinkCentre Monitor 24 in
                                                                  DELL P2018H
                                                                  AOC 22E1H
                                                                  Acer - V206HQL
                                                                  ACER V227Q
                                                                  ASUS VE248
                                                                  ASUS VP228
                                                                  HP V222VB
                                                                  ACER V206HQL
                                                                  DELL P2018H
                                                                  DELL P2018H
                                                                  SAMSUNG S24A338NHN
                                                                  SAMSUNG S24A338NHN
                                                                  Lenovo ThinkCentre TIO24Gen3
                                                                  DELL P2018H
                                                                  DELL P2018H
                                                                  AOC 22E1H
                                                                  Acer - V206HQL
                               Case 24-20576-CLC                      Doc 29              Filed 10/13/24                     Page 520 of 565


           Computers                     Laptops        Tablets Monitors   Scanners Printers   Desk Phones   Cell Phones   AP Wifi's Firewalls    Network Switches   TVs NVR NVR Cameras
HP ELITEDESK 800 G3 DM 35W      HP 250 G8 NOTEBOOK PC                                                                                            HPE 1920 24G            ALI-N ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W      HP 250 G7 NOTEBOOK PC                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                     ALI-NS2036R
OPTIPLEX 5090                                                                                                                                                                  ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                     ALI-NS2036R
HP ELITEDESK 800 G3 DM 65W                                                                                                                                                     ALI-NS2036R
OPTIPLEX 5090                                                                                                                                                                  ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                     ALI-NS2036R
HP ELITEDESK 800 G3 MINI 35W
                                             Case 24-20576-CLC                                                           Doc 29                          Filed 10/13/24                                        Page 521 of 565

          Computers                   Laptops            Tablets                    Monitors              Scanners                       Printers                Desk Phones      Cell Phones   AP Wifi's            Firewalls           Network Switches   TVs       NVR        NVR Cameras
THINKCENTRE M600             HP 250 G8 NOTEBOOK PC   iPad (9th Gen.)   Acer - V206HQL                 CANON R40          Brother MFC-J5930DW                 Yealink SIP-T23G    iPhone 13    UAP-AC-Pro MX100- Serial:Q2JN-5NAV-RE3R   HPE 1950 poE 48G Fire TV ALI-NVR3316P   ALI-NS2015VR
THINKCENTRE M600             750XDA                  iPad (9th Gen.)   Dell E2211Hb                   CANON DR-C225      HP Color LaserJet Pro MFP M479fdw   Yealink SIP-T27P    SM-A146U     Aruba                                     HPE 1950 poE 48G LG                     ALI-NS2015VR
THINKCENTRE M600             THINKPAD L15 GEN 2      iPad (9th Gen.)   Lenovo ThinkCentre TIO24Gen3   CANON R40          HP LaserJet E40040                  Yealink SIP-T26P    iPhone 13                                              HPE 1950 poE 48G Insignia               ALI-NS2015VR
THINKCENTRE M700             THINKBOOK 15 G2 ITL     iPad (9th Gen.)   Acer - V226HQL                 CANON DR-C225 II   HP LaserJet Pro M402n               Yealink SIP-T23G    iPhone 11                                                                                      ALI-NS2015VR
THINKCENTRE M600             750XDA                  iPad (9th Gen.)   Acer - V206HQL                 CANON DR-C225 II   HP LaserJet Pro M402n               Yealink SIP-T23G    iPhone 11                                                                                      ALI-NS2015VR
THINKCENTRE M720Q                                                      Acer - V206HQL                 CANON DR-C225      HP LaserJet Pro M402n               Yealink SIP-T23G                                                                                                   ALI-NS2015VR
THINKCENTRE M720Q                                                      Acer - V226HQL                 CANON DR-C225 II   HP LaserJet Pro M404dn              Polycom - VVX 450                                                                                                  ALI-NS2015VR
THINKCENTRE M720Q                                                      Acer - V226HQL                 CANON R40          HP LaserJet Pro M404dn              Polycom - VVX 411                                                                                                  ALI-NS2015VR
THINKCENTRE M720Q                                                      Sceptre IPS 24-In              CANON DR-C225      HP LaserJet Pro M404dn              Polycom - VVX 411                                                                                                  ALI-NS2015VR
THINKCENTRE M70Q                                                       Lenovo ThinkCentre TIO24Gen3   CANON DR-C225      HP LaserJet Pro MFP M426fdn         Polycom - VVX 411                                                                                                  ALI-NS2015VR
THINKCENTRE M70Q                                                       Lenovo ThinkCentre TIO24Gen3   CANON DR-C225      HP LaserJet Pro MFP M428fdn         Yealink SIP-T23G                                                                                                   ALI-NS2015VR
THINKCENTRE M70Q                                                       Acer - V206HQL                 CANON DR-C225 II   Ricoh IM 4000                       Polycom - VVX 450                                                                                                  ALI-NS2015VR
THINKCENTRE M70Q                                                       Acer - V206HQL                 CANON R40          Ricoh IM 4000                       Polycom - VVX 411                                                                                                  ALI-NS2015VR
THINKCENTRE M70Q                                                       Acer - V206HQL                                    Ricoh IM C3000                      Polycom - VVX 411                                                                                                  ALI-NS2015VR
THINKCENTRE M70Q                                                       Lenovo ThinkCentre TIO24Gen3                                                          Yealink SIP-T23G
HP ELITEDESK 800 G3 DM 35W                                             Acer - V206HQL                                                                        Yealink SIP-T23G
HP ELITEDESK 800 G3 DM 35W                                             Acer - V206HQL                                                                        Yealink SIP-T27P
HP ELITEDESK 800 G3 DM 35W                                             Acer - V206HQL                                                                        Yealink W60B
HP ELITEDESK 800 G3 DM 35W                                             Lenovo ThinkCentre TIO24Gen3                                                          Polycom - VVX 411
HP ELITEDESK 800 G3 DM 35W                                             ViwSonic
HP ELITEDESK 800 G3 DM 35W                                             Acer - V206HQL
HP ELITEDESK 800 G3 DM 35W                                             Acer - V206HQL
HP ELITEDESK 800 G3 DM 35W                                             HP V222VB
HP ELITEDESK 800 G3 DM 35W                                             Acer KA220HQ
HP ELITEDESK 800 G3 DM 35W                                             Acer - V206HQL
HP ELITEDESK 800 G3 DM 35W                                             Acer - V206HQL
HP ELITEDESK 800 G3 DM 35W                                             ASUS VP248
HP ELITEDESK 800 G3 DM 35W                                             Acer - V206HQL
HP ELITEDESK 800 G3 DM 35W                                             Acer - V206HQL
                                                                       Acer - V226HQL
                                                                       Acer - V226HQL
                                                                       Sceptre IPS 24-In
                                                                       ASUS VP248
                                                                       Acer - V206HQL
                                                                       Acer - V206HQL
                                                                       Acer - V206HQL
                                                                       ASUS VP248
                                                                       Acer - V206HQL
                                                                       Dell
                                                                       Acer - V206HQL
                                                                       Acer V227Q
                                                                       Acer - V206HQL
                                                                       Lenovo ThinkCentre TIO24Gen3
                                                                       AOC 22E1H
                                                                       Acer - V206HQL
                                                                       ASUS VP248
                                                                       Acer - V206HQL
                                          Case 24-20576-CLC                                                       Doc 29                            Filed 10/13/24                                  Page 522 of 565

          Computers                Laptops            Tablets                    Monitors              Scanners                   Printers             Desk Phones       Cell Phones   AP Wifi's             Firewalls           Network Switches       TVs         NVR      NVR Cameras
THINKCENTRE M73              THINKPAD L15 GEN 2   iPad (9th Gen.)   Acer - V226HQL                 CANON DR-C225      HP LaserJet 400 M401n         Polycom - VVX 450   iPhone 13    UAP-AC-Pro MX100 - Serial:Q2JN-UVMU-5J2W   HPE               Fire TV      ALI-NR160F-2 ALI-PT60-UA
THINKCENTRE M720Q            750XDA               iPad (9th Gen.)   Acer - V206HQL                 CANON DR-C225 II   HP LaserJet M402n             Yealink SIP-T23P                 UAP-AC-Pro                                 HPE               Insignia                  ALI-PT60-UA
THINKCENTRE M70Q                                  iPad (9th Gen.)   HP V222VB                      CANON DR-C225 II   HP LaserJet MFP M426fdn       Polycom - VVX 450                UAP-AC-Pro                                                   Fire TV                   ALI-PT60-UA
THINKCENTRE M70Q                                  iPad (9th Gen.)   Acer - V206HQL                 CANON R40          HP LaserJet Pro M428f-M429f   Polycom - VVX 411                UAP-AC-Pro                                                   Fire TV                   ALI-PT60-UA
THINKCENTRE M720Q                                 iPad (9th Gen.)   ASUS VP248                                        Ricoh IM C3500                YEALINK W60B                     UAP-AC-Pro                                                   Sceptre                   ALI-PT60-UA
HP ELITEBOOK 840 G3                                                 HP V222VB                                                                       Polycom - VVX 450                                                                             TCL - Camera              ALI-PT60-UA
HP ELITEDESK 800 G3 DM 35W                                          Sceptre IPS 24-In                                                               Polycom - VVX 450                                                                                                       ALI-PT60-UA
HP ELITEDESK 800 G3 DM 35W                                          Acer KA220HQ                                                                    Polycom - VVX 411                                                                                                       ALI-PT60-UA
OPTIPLEX 5090                                                       HP V222VB                                                                       Polycom - VVX 450
OPTIPLEX 5090                                                       HP V222VB                                                                       Yealink SIP-T26P
OPTIPLEX 5090                                                       Acer - V226HQL                                                                  Yealink SIP-T23G
OPTIPLEX 5090                                                       HP V222VB                                                                       Yealink SIP-T23G
OPTIPLEX 5090                                                       Acer - V206HQL                                                                  Polycom - VVX 450
OPTIPLEX 5090                                                       Acer V196WL                                                                     Polycom - VVX 411
OPTIPLEX 5090                                                       Acer - V206HQL                                                                  Polycom - VVX 450
HP ELITEDESK 800 G3 DM 65W                                          AOC 22E1H                                                                       Polycom - VVX 450
HP ELITEDESK 800 G3 DM 35W                                          Sceptre IPS 24-In                                                               Yealink SIP-T23G
HP ELITEDESK 800 G3 DM 35W                                          Sceptre IPS 24-In                                                               Polycom - VVX 450
HP ELITEDESK 800 G3 DM 35W                                          HP V222VB                                                                       Polycom - VVX 450
HP ELITEDESK 800 G3 DM 35W                                          Samsung S24A336NHN                                                              Polycom - VVX 411
HP ELITEDESK 800 G3 DM 35W                                          Lenovo ThinkCentre TIO24Gen3                                                    Polycom - VVX 450
HP ELITEDESK 800 G3 DM 35W                                          Sceptre IPS 24-In                                                               Polycom - VVX 411
                                                                    HP V222VB                                                                       Yealink SIP-T31P
                                                                    Lenovo ThinkCentre TIO24Gen3                                                    Polycom - VVX 411
                                                                    Sceptre IPS 24-In                                                               Polycom - VVX 411
                                                                    Samsung S24A336NHN
                                                                    Acer KA220HQ
                                                                    Acer - V226HQL
                                                                    HP V222VB
                                                                    Sceptre IPS 24-In
                                                                    Acer KA220HQ
                                                                    HP V222VB
                                                                    HP V222VB
                                                                    Lenovo ThinkCentre TIO24Gen3
                                                                    HP V222VB
                                                                    Acer - V206HQL
                                                                    Acer V196WL
                                                                    Acer - V206HQL
                                                                    Sceptre IPS 24-In
                                                                    Sceptre IPS 24-In
                                                                    Samsung S24A336NHN
                                                                    HP V222VB
                                                                    Sceptre IPS 24-In
                                                                    HP V222VB
                                                                    Sceptre IPS 24-In
                                                                    Samsung S24A336NHN
                                                                    Acer KA220HQ
                                                Case 24-20576-CLC                                                           Doc 29                         Filed 10/13/24                                              Page 523 of 565

          Computers                              Laptops                      Tablets                 Monitors                    Scanners                     Printers             Desk Phones        Cell Phones   AP Wifi's             Firewalls           Network Switches            TVs        NVR        NVR Cameras
THINKCENTRE M600             SURFACE PRO 7                              iPad (9th Gen.)   ACER - V196WL                  imageFORMULA P-215II      Brother MFC-L2700DW series    Yealink - SIP-T46S   iPhone 11    UAP-AC-HD MX100 - Serial: Q2JN-99GS-SXMM   HPE 1920S 48G PPoE Insignia 42''   ALI-NVR3316P   ALI-NS2016VR
THINKCENTRE M600             750XDA                                     iPad (9th Gen.)   ACER - V196WL                  imageFORMULA DR-C225 II   HP LaserJet Pro M402n         Yealink - SIP-T46S   iPhone 11    UAP-AC-HD                                  HPE 1920S 48G PPoE+                               ALI-NS2016VR
THINKCENTRE M600             HP PROBOOK 450 15.6 INCH G10 NOTEBOOK PC   iPad (9th Gen.)   ACER - V196WL                  imageFORMULA DR-C225 II   HP LaserJet Pro M402n         Yealink - SIP-T46S   iPhone 13    UAP-AC-HD                                                                                    ALI-NS2016VR
THINKCENTRE M73                                                         iPad (9th Gen.)   ACER - V196WL                  imageFORMULA DR-C225 II   HP LaserJet Pro M404dn        Yealink - SIP-T46S   iPhone 11                                                                                                 ALI-NS2016VR
THINKCENTRE M73                                                         iPad (9th Gen.)   ACER - V196WL                  imageFORMULA DR-C225 II   HP LaserJet Pro M404dn        Yealink - SIP-T46S   iPhone 13                                                                                                 ALI-NS2016VR
THINKCENTRE M600                                                                          ACER - V196WL                  imageFORMULA DR-C225 II   HP LaserJet Pro MFP M426fdn   Polycom-VVX 411      iPhone 11                                                                                                 ALI-NS2016VR
THINKCENTRE M73                                                                           ASUS - VE248                   imageFORMULA DR-C225 II   HP LaserJet Pro MFP M428fdn   Polycom-VVX 411      iPhone 11
THINKCENTRE M715Q                                                                         ASUS - VE248                                             Ricoh IM C3500                Polycom-VVX 411
THINKCENTRE M720Q                                                                         ASUS - VE248                                                                           Polycom-VVX 411
THINKCENTRE M720Q                                                                         ASUS - VE248                                                                           Polycom-VVX 411
THINKCENTRE M920Q                                                                         ASUS - VE248                                                                           Polycom-VVX 411
THINKCENTRE M920Q                                                                         ASUS - VE248                                                                           Polycom-VVX 411
THINKCENTRE M720Q                                                                         ASUS - VE248                                                                           Polycom-VVX 411
THINKCENTRE M720Q                                                                         ASUS - VE248                                                                           Polycom-VVX 411
THINKCENTRE M720Q                                                                         Lenovo ThinkCentre TIO24Gen3                                                           Polycom-VVX 411
HP ELITEDESK 800 G3 DM 35W                                                                Lenovo ThinkCentre TIO24Gen3                                                           Polycom-VVX 411
HP ELITEDESK 800 G3 DM 35W                                                                Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 65W                                                                Lenovo ThinkCentre TIO24Gen3
OPTIPLEX 5090                                                                             Acer - V206HQL
OPTIPLEX 5090                                                                             Acer - V206HQL
OPTIPLEX 5090                                                                             Acer - V206HQL
OPTIPLEX 5090                                                                             Acer - V206HQL
OPTIPLEX 5090                                                                             Acer - V206HQL
THINKCENTRE M70Q GEN 2                                                                    Acer - V206HQL
THINKCENTRE M70Q GEN 2                                                                    Acer - V206HQL
THINKCENTRE M70Q GEN 2                                                                    Acer - V206HQL
THINKCENTRE M70Q GEN 2                                                                    Acer - V206HQL
OPTIPLEX 5090                                                                             Acer - V206HQL
HP ELITEDESK 800 G3 DM 35W                                                                Acer - V206HQL
                                                                                          Acer - V206HQL
                                                                                          ASUS - VE248
                                                    Case 24-20576-CLC                                                                 Doc 29                        Filed 10/13/24                                    Page 524 of 565

          Computers                              Laptops                   Tablets          Monitors                       Scanners                Printers                     Desk Phones      Cell Phones  AP Wifi's               Firewalls         Network Switches              TVs        NVR      NVR Cameras
THINKCENTRE M73              THINKCENTRE M720Q                         iPad (9th Gen.)   ACER V226HQL   CANON DR-C225                   HP LaserJet M402dn          XIAMEN YEALINK Network...   iPhone 11    UAP-AC-HD MX95 - Serial: Q2XN-4TFB-7W2P   HPE 48            Samsung 32''       ALI-NR160F-2 ALI-NS2036R
THINKCENTRE M600             THINKPAD E15                              iPad (9th Gen.)   ACER V226HQL   CANON DR-C225 II                HP LaserJet M402n           Polycom                     iPhone 11                                              HPE 48            Insignia 42''      ALI-NR160F-2 ALI-NS2036R
LENOVO PRODUCT               THINKPAD E15                              iPad (9th Gen.)   ACER V226HQL   CANON DR-C225 II                HP LaserJet M402n           Polycom                     iPhone 13                                                                Insignia 60''                   ALI-NS2036R
THINKCENTRE M600             HP 250 G8 NOTEBOOK PC                     iPad (9th Gen.)   ACER V226HQL   CANON R40                       HP LaserJet M402n           Polycom                     iPhone 11                                                                Free TV 62''                    ALI-NS2036R
THINKCENTRE M600             THINKBOOK 15 G2 ITL                       iPad (9th Gen.)   ACER V226HQL   CANON DR-C225                   HP LaserJet M402n           Polycom                                                                                                                              ALI-NS2036R
THINKCENTRE M600             750XDA                                                      ACER V226HQL   CANON DR-C225 II                HP LaserJet M402n           Polycom                                                                                                                              ALI-NS2036R
THINKCENTRE M73              SURFACE PRO 8                                               ACER V226HQL   CANON DR-C225 II                HP LaserJet M402n           XIAMEN YEALINK Network...                                                                                                            ALI-NS2036R
THINKCENTRE M73              750XDA                                                      ACER V226HQL   CANON DR-C225                   HP LaserJet Pro M404-M405   Polycom                                                                                                                              ALI-NS2036R
THINKCENTRE M715Q            SURFACE PRO 8                                               ACER V226HQL   CANON DR-C225 II                HP LaserJet Pro M404-M405   XIAMEN YEALINK Network...                                                                                                            ALI-NS2036R
THINKCENTRE M715Q            SURFACE PRO 8                                               ACER V226HQL   CANON DR-C225 II                HP LaserJet Pro M404-M405   Polycom
THINKCENTRE M720Q            HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC                     ACER V226HQL   CANON DR-C225                   Ricoh IM C3500              Polycom
THINKCENTRE M720Q            750XFG                                                      ACER V226HQL   CANON DR-C225                                               Polycom
THINKCENTRE M720Q                                                                        ACER V226HQL                                                               XIAMEN YEALINK Network...
THINKCENTRE M720Q                                                                        ACER V226HQL                                                               Polycom
THINKCENTRE M720Q                                                                        ACER V226HQL                                                               Polycom
THINKCENTRE M720Q                                                                        ACER V226HQL                                                               Polycom
THINKCENTRE M720Q                                                                        ACER V226HQL                                                               XIAMEN YEALINK Network...                        11
THINKCENTRE M720Q                                                                        ACER V226HQL                                                               Polycom
THINKCENTRE M70Q                                                                         ACER V226HQL                                                               Polycom
THINKCENTRE M720Q                                                                        ACER V226HQL                                                               Polycom
THINKCENTRE M70Q                                                                         ACER V226HQL                                                               XIAMEN YEALINK Network...
HP ELITEDESK 800 G3 DM 35W                                                               ACER V226HQL                                                               Polycom
HP ELITEDESK 800 G3 DM 35W                                                               ACER V226HQL                                                               Polycom
OPTIPLEX 5090                                                                            ACER V226HQL                                                               XIAMEN YEALINK Network...
HP ELITEDESK 800 G3 DM 65W                                                               ACER V226HQL                                                               XIAMEN YEALINK Network...
HP ELITEDESK 800 G3 DM 65W                                                               ACER V226HQL
HP ELITEDESK 800 G3 DM 35W                                                               ACER V226HQL
HP ELITEDESK 800 G3 DM 35W                                                               ACER V226HQL
THINKCENTRE M70Q GEN 2                                                                   ACER V226HQL
THINKCENTRE M70Q GEN 2                                                                   ACER V226HQL
THINKCENTRE M70Q GEN 2                                                                   ACER V226HQL
OPTIPLEX 5090                                                                            ACER V226HQL
THINKCENTRE M70Q GEN 2                                                                   ACER V226HQL
THINKCENTRE M70Q GEN 2                                                                   ACER V226HQL
HP ELITEDESK 800 G3 DM 35W                                                               ACER V226HQL
HP ELITEDESK 800 G3 DM 35W                                                               ACER V226HQL
                                                                                         ACER V226HQL
                                                                                         ACER V226HQL
                                                                                         ACER V226HQL
                                                                                         ACER V226HQL
                                                                  Case 24-20576-CLC                                                                    Doc 29                        Filed 10/13/24                                                          Page 525 of 565

          Computers              Laptops        Tablets                    Monitors                           Scanners                Printers                         Desk Phones           Cell Phones       AP Wifi's                  Firewalls                       Network Switches                          TVs      NVR    NVR Cameras
THINKCENTRE M73              THINKPAD E15   iPad (8th Gen.)   Lenovo ThinkCentre TIO24Gen3   imageFORMULA DR-C225 II     BROTHER MFC-J6945DW            Polycom-VVX 411              iPhone 13             AP-AC-Pro-Gen2   MX100 - Serial: Q2JN-C9ZL-HBMH   HPE OfficeConnect Switch 1820 24G PoE+   Vizio 45'           ALI-NVR33 ALI-NS2015VR
THINKCENTRE M73              THINKPAD E15   iPad (8th Gen.)   Lenovo ThinkCentre TIO24Gen3   imageFORMULA DR-C225 II     HP LaserJet Pro M402dn         Polycom-VVX 411              iPhone 11             AP-AC-Pro-Gen2                                    HP 1820-24G-PoE+                         Fire TV 45'                   ALI-NS1014VR
THINKCENTRE M600             750XDA         iPad (8th Gen.)   Lenovo ThinkCentre TIO24Gen3   imageFORMULA DR-C225 II     HP LaserJet Pro M402dn         Polycom-VVX 411              iPad (8th Gen.)       AP-AC-Pro-Gen2                                    HP 1820-24G-PoE+                         Samsung 40'                   ALI-NS2015VR
THINKCENTRE M73                             iPad (9th Gen.)   Lenovo ThinkCentre TIO24Gen3   imageFORMULA DR-C225 II     HP LaserJet Pro M402n          Polycom-VVX 411              iPhone 13                                                                                                        Samsung 44'                   ALI-NS2015VR
THINKCENTRE M73                                               Lenovo ThinkCentre TIO24Gen3   imageFORMULA R40            HP LaserJet Pro M402n          Yealink SIP-T23P             SM-A146U                                                                                                         TCL 55"                       ALI-NS2015VR
THINKCENTRE M715Q                                             Acer - V206HQL                 imageFORMULA P-215II        HP LaserJet Pro M402n          Yealink SIP-T23P             iPhone 13                                                                                                                                      ALI-NS2015VR
THINKCENTRE M73                                               Acer - V206HQL                 imageFORMULA DR-C225 II     HP LaserJet Pro M402n          Yealink SIP-T23P             iPhone 13                                                                                                                                      ALI-NS2015VR
THINKCENTRE M600                                              Acer - V206HQL                 imageFORMULA DR-C225 II     HP LaserJet Pro M404dn         Polycom - VVX 450                                                                                                                                                           ALI-NS2015VR
HP ELITEDESK 800 G3 DM 35W                                    Acer - V206HQL                 imageFORMULA DR-C225 II     HP LaserJet Pro MFP M426fdn    Polycom - VVX 450                                                                                                                                                           ALI-NS2015VR
HP ELITEDESK 800 G3 DM 35W                                    Acer - V206HQL                                             RICOH IM 4000                  Polycom - VVX 450                                                                                                                                                           ALI-NS2015VR
HP ELITEDESK 800 G3 DM 35W                                    HP - LV1911                                                                               Polycom - VVX 450                                                                                                                                                           ALI-NS2015VR
HP ELITEDESK 800 G3 DM 35W                                    HP - LV1911                                                                               Polycom - VVX 450                                                                                                                                                           ALI-NS2015VR
HP ELITEDESK 800 G3 DM 35W                                    HP - LV1911
HP ELITEDESK 800 G3 DM 35W                                    HP - LV1911
OPTIPLEX 5090                                                 HP - LV1911
THINKCENTRE M70Q GEN 2                                        HP - LV1911
HP ELITEDESK 800 G3 DM 35W                                    Dell E2016HB 20"
HP ELITEDESK 800 G3 DM 35W                                    Dell E2016HB 20"
HP ELITEDESK 800 G3 DM 35W                                    Dell E2016HB 20"
THINKCENTRE M70Q GEN 2                                        Lenovo ThinkCentre TIO24Gen3
THINKCENTRE M70Q GEN 2                                        Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                    HP - LV1911
THINKCENTRE M70Q GEN 2                                        Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                    ACER - V196WL
THINKCENTRE M70Q GEN 2                                        Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                    ACER - V196WL
HP ELITEDESK 800 G3 DM 35W                                    ACER - V196WL
HP ELITEDESK 800 G3 DM 35W                                    Acer - KA220HQ
                                                              Acer - KA220HQ
                                                              Acer - KA220HQ
                                                              Acer - KA220HQ
                                                              Acer - KA220HQ
                                                              Acer - KA220HQ
                                                              Acer - KA220HQ
                                                              ASUS - VE248
                                                              ASUS - VE248
                                                              ASUS - VE248
                                                              ASUS - VE248
                                                              Acer - V206HQL
                                                              Acer - V206HQL
                                                              Acer - V206HQL
                                                              Acer - V206HQL
                                                              Acer - V206HQL
                                                              Acer - V206HQL
                                                              Acer - V206HQL
                                                              Acer - V206HQL
                                                              Acer - V206HQL




Computer Workstation                        DELL                                                                         A0001530                       Bird Road                    Exam Room 5
                                            Case 24-20576-CLC                                   Doc 29                           Filed 10/13/24                                        Page 526 of 565

            Computers               Laptops             Tablets     Monitors            Scanners                     Printers             Desk Phones           Cell Phones     AP Wifi's             Firewalls            Network Switches      TVs          NVR        NVR Cameras
THINKCENTRE M600             THINKPAD E15         iPad (9th Gen.)   Sceptre    imageFORMULA DR-C225 II   HP LaserJet M402n             Polycom-VVX 411   iPhone 13            UAP-AC-Pro MX100 - Serial: Q2JN-795D-ZTU6   HPE 48G           Fire TV 60'' ALI-NVR3316P   ALI-NS2036R
THINKCENTRE M720Q            THINKPAD E14         iPad (9th Gen.)    DELL      imageFORMULA DR-C225 II   HP LaserJet Pro M428f-M429f   Polycom-VVX 411   iPhone 13                                                        HPE 24G           Fire TV 45''                ALI-NS2036R
THINKCENTRE M720Q            THINKPAD E15 GEN 2   iPad (9th Gen.)    Acer      imageFORMULA DR-C225 II   Ricoh IM C3500                Polycom-VVX 411   iPhone 13                                                                          TCL 42''                    ALI-NS2036R
THINKCENTRE M70Q             750XDA                                  DELL      imageFORMULA DR-C225 II   HP LaserJet M402n             Polycom-VVX 411                                                                                                                  ALI-NS2036R
THINKCENTRE M720Q            750XDA                                  DELL      imageFORMULA DR-C225 II                                 Polycom-VVX 411                                                                                                                  ALI-NS2036R
THINKCENTRE M720Q            SURFACE PRO 8                           DELL      imageFORMULA DR-C225 II                                 Polycom-VVX 411                                                                                                                  ALI-NS2036R
THINKCENTRE M720Q            750XDA                                  Acer      imageFORMULA DR-C225 II                                 Polycom-VVX 411                                                                                                                  ALI-NS2036R
THINKCENTRE M720Q            750XDA                                  Acer      imageFORMULA R40                                        Polycom-VVX 411                                                                                                                  ALI-NS2036R
OPTIPLEX 3050                                                        Acer      imageFORMULA R40                                        Polycom-VVX 411                                                                                                                  ALI-NS2036R
VOSTRO 3671                                                          Acer                                                              Polycom-VVX 411                                                                                                                  ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                           Acer                                                              Polycom-VVX 411                                                                                                                  ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                           Acer                                                              Polycom-VVX 411                                                                                                                  ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                           Acer                                                              Polycom-VVX 411                                                                                                                  ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                           Acer                                                                                                                                                                                               ALI-NS2036R
OPTIPLEX 5090                                                        Acer
OPTIPLEX 5090                                                        Acer
OPTIPLEX 5090                                                        Acer
HP ELITEDESK 800 G3 DM 35W                                           Acer
HP ELITEDESK 800 G3 DM 35W                                           Acer
HP ELITEDESK 800 G3 DM 35W                                           Acer
                                                                     Acer
                                                                     Acer
                            Case 24-20576-CLC                                  Doc 29                Filed 10/13/24                    Page 527 of 565


     Computers         Laptops    Tablets Monitors   Scanners Printers            Desk Phones         Cell Phones   AP Wifi's             Firewalls          Network Switches   TVs NVR NVR Cameras
THINKCENTRE M70Q   THINKPAD E15                                          XIAMEN YEALINK Network...   iPhone 11    UAP-AC-Pro MX67 - Serial:Q2FY-F96Z-MSSJ   HPE                     DS-76HIKVISIONCAM
OPTIPLEX 5090                                                            Ubiquiti                                 UAP-AC-Pro                                                             HIKVISIONCAM
OPTIPLEX 5090                                                            XIAMEN YEALINK Network...                                                                                       HIKVISIONCAM
                                                                         Polycom                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                                                                                                                                         HIKVISIONCAM
                                                                       Case 24-20576-CLC                                                                                        Doc 29                                          Filed 10/13/24                                                                  Page 528 of 565

          Computers                                   Laptops                              Tablets                           Monitors                             Scanners                         Printers                     Desk Phones           Cell Phones   AP Wifi's             Firewalls                              Network Switches                                               TVs                              NVR        NVR Cameras
THINKCENTRE M600             THINKPAD E15                                        iPad (9th Gen.)     Sceptre Monitor 24''                                Canon Scanner R40          HPColor LaserJet Pro MFP M479fdn    XIAMEN YEALINK Network...    SM-A136U     UAP-AC-Pro MX100 - Serial: Q2JN-FCL4-GVP4   Netgear ProSAFE GS105v5 Gigabit Unmanaged Switch   Samsung TV                                                 ALI-NVR5032P   ALIBICAM
THINKCENTRE M600             SURFACE PRO 6                                       iPad (9th Gen.)     Sceptre Monitor 24''                                Canon Scanner R40          HP Color LaserJet Pro MFP M479fdn   Polycom                      iPhone 11    Aruba                                       TP-Link TL-SG105PE 5-Port Gigabit Switch PoE+      Vizio TV                                                   ALI-NVR5216P   ALIBICAM
THINKCENTRE M73              SURFACE PRO 7                                       iPad (9th Gen.)     Acer Monitor V206HQL 19.5"                          Canon Scanner R40          HP LaserJet E40040                  Polycom                      iPhone 11    Aruba                                       HPE OfficeConnect 1920S Series Switch              Insignia - 50" Class F30 Series LED 4K UHD Smart Fire TV   ALI-NVR3316P   ALIBICAM
THINKCENTRE M73              THINKPAD E15                                        iPad (9th Gen.)     ASUS Monitor VE248H 24"                             Canon Scanner DR-C225      HP LaserJet Pro M402dn              Polycom                      iPhone 11    Aruba                                                                                          Insignia - 50" Class F30 Series LED 4K UHD Smart Fire TV                  ALIBICAM
THINKCENTRE M73              LENOVO THINKBOOK 15-IIL                             iPad (9th Gen.)     ASUS Monitor VE248H 24"                             Canon Scanner DR-C225 II   HP LaserJet Pro M402dn              XIAMEN YEALINK Network...    iPhone 13                                                                                                   TCL TV                                                                    ALIBICAM
THINKCENTRE M73              THINKPAD E15                                        iPad (9th Gen.)     Lenovo ThinkCentre TIO24Gen3                        Canon Scanner P-215II      HP LaserJet Pro M402n               YEALINK(XIAMEN) Network...   SM-A146U                                                                                                    TCL TV                                                                    ALIBICAM
THINKCENTRE M73              THINKPAD E14                                        iPad (9th Gen.)     ASUS Monitor VE248H 24"                             Canon Scanner R40          HP LaserJet Pro M402n               Polycom                      iPhone 11                                                                                                   Samsung TV                                                                ALIBICAM
THINKCENTRE M600             SURFACE PRO 7                                       iPad (9th Gen.)     ASUS Monitor VE248H 24"                             Canon Scanner DR-C225 II   HP LaserJet Pro M402n               XIAMEN YEALINK Network...    iPhone 11                                                                                                   Vizio TV                                                                  ALIBICAM
THINKCENTRE M73              SURFACE PRO 8                                       iPad (9th Gen.)     Acer Monitor V226HQL 21.5"                          Canon Scanner R40          HP LaserJet Pro M402n               Polycom                      iPhone 13                                                                                                   TCL TV                                                                    ALIBICAM
THINKCENTRE M73              750XDA                                              iPad (9th Gen.)     Acer Monitor V226HQL 21.5"                          Canon Scanner DR-C225      HP LaserJet Pro M402n               YEALINK(XIAMEN) Network...   iPhone 13                                                                                                   VIZIO D39HN-E0 LED 720p 60 Hz Smart TV, 39"                               ALIBICAM
THINKCENTRE M73              SURFACE PRO 8                                                           HP P22v G4 FHD Monitor 21.5"                        Canon Scanner DR-C225      HP LaserJet Pro M402n               XIAMEN YEALINK Network...    SM-A146U                                                                                                    TCL TV                                                                    ALIBICAM
THINKCENTRE M715Q            SURFACE PRO 8                                                           HP P22v G4 FHD Monitor 21.5"                        Brother ADS-1500W          HP LaserJet Pro M402n               Polycom                      iPhone 11                                                                                                   Hisense TV                                                                ALI-NS2018VR
THINKCENTRE M715Q            750XDA                                                                  ASUS Monitor VA24EHE 24"                            Canon Scanner DR-C225      HP LaserJet Pro M404dn              Polycom                      SM-A146U                                                                                                    VIZIO D39HN-E0 LED 720p 60 Hz Smart TV, 39"                               ALI-NS1014VR
THINKCENTRE M715Q            SURFACE PRO 8                                                           ASUS Monitor VA24EHE 24"                            Canon Scanner DR-C225      HP LaserJet Pro M404dn              Polycom                      SM-A146U                                                                                                    TCL TV                                                                    ALI-NS1014VR
THINKCENTRE M715Q            SURFACE PRO 8                                                           ASUS Monitor VA24EHE 24"                            Canon Scanner DR-C225      HP LaserJet Pro M404dn              XIAMEN YEALINK Network...    SM-A146U                                                                                                    VIZIO D39HN-E0 LED 720p 60 Hz Smart TV, 39"                               ALI-NS2016VR
THINKCENTRE M720Q            750XDA                                                                  ASUS Monitor VA24EHE 24"                            Canon Scanner P-215II      HP LaserJet Pro MFP M426fdn         Polycom                      SM-A146U                                                                                                    Amazon Fire TV 50" 4-Series 4K UHD smart TV                               ALI-NS2015VR
THINKCENTRE M715Q            750XFG                                                                  ASUS Monitor VA24EHE 24"                            Canon Scanner R40          HP LaserJet Pro MFP M426fdn         Polycom                                                                                                                                                                                                            ALI-NS2018VR
THINKCENTRE M720Q            THINKPAD P50                                                            ASUS Monitor VA24EHE 24"                            Canon Scanner R40          HP LaserJet Pro MFP M428fdn         XIAMEN YEALINK Network...                                                                                                                                                                                          ALI-NS2036VR
THINKCENTRE M720Q            THINKPAD YOGA 460                                                       ASUS Monitor VA24EHE 24"                            Canon Scanner R40          HP LaserJet Pro MFP M428fdn         Polycom                                                                                                                                                                                                            ALI-NS2036VR
THINKCENTRE M720Q            SURFACE PRO                                                             ASUS Monitor VE248H 24"                             Canon Scanner DR-C225      HP LaserJet Pro MFP M428fdn         XIAMEN YEALINK Network...                                                                                                                                                                                          ALI-NS2036VR
THINKCENTRE M920Q            THINKPAD E15                                                            ASUS Monitor VE248H 24"                             Canon Scanner R40          RICOH IM 4000                       Polycom                                                                                                                                                                                                            ALI-NP3012RH
THINKCENTRE M920Q            THINKPAD E15                                                            ASUS Monitor VP228HE 22"                            Canon Scanner P-215II      RICOH IM 4000                       XIAMEN YEALINK Network...                                                                                                                                                                                          ALI-NP3012RH
THINKCENTRE M920Q            THINKPAD E15                                                            ASUS Monitor VP228HE 22"                            Canon Scanner DR-C225      RICOH IM 4000                       Polycom                                                                                                                                                                                                            ALI-NS2018VR
THINKCENTRE M920Q            THINKPAD E15                                                            ASUS Monitor VE248H 24"                             Canon Scanner R40          RICOH IM 4000                       XIAMEN YEALINK Network...                                                                                                                                                                                          ALI-NP3012RH
THINKCENTRE M720Q            THINKPAD E15                                                            ASUS Monitor VE248H 24"                             Canon Scanner DR-C225      RICOH IM C3500                      XIAMEN YEALINK Network...                                                                                                                                                                                          ALI-NP3012RH
THINKCENTRE M720Q            THINKPAD E15                                                            ASUS Monitor VE248H 24"                             Canon Scanner DR-C225      RICOH IM C3500                      XIAMEN YEALINK Network...                                                                                                                                                                                          ALI-NS2018VR
THINKCENTRE M70Q             THINKPAD E14                                                            ASUS Monitor VE248H 24"                             Canon Scanner DR-C225 II   RICOH MP 5055                       Polycom
HP ELITEDESK 800 G3 DM 35W   750XDA                                                                  ASUS Monitor VE248H 24"                             Canon Scanner DR-C225 II                                       Polycom
HP ELITEDESK 800 G3 DM 35W   750XDA                                                                  ASUS Monitor VE248H 24"                             Canon Scanner DR-C225                                          Polycom
HP ELITEDESK 800 G3 DM 35W   SURFACE PRO 8                                                           ASUS Monitor VE248H 24"                             Canon Scanner DR-C225                                          Polycom
HP ELITEDESK 800 G3 DM 35W   SURFACE PRO 8                                                           ASUS Monitor VE248H 24"                             Canon Scanner DR-C225                                          XIAMEN YEALINK Network...
HP ELITEDESK 800 G3 DM 35W   HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC                                 ASUS Monitor VE248H 24"                             Canon Scanner R40                                              Polycom
HP ELITEDESK 800 G3 DM 35W   HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC                                 ASUS Monitor VE248H 24"                             Canon Scanner R40                                              Polycom
HP ELITEDESK 800 G3 DM 35W   HP ELITE X360 1040 14 INCH G10 2-IN-1 NOTEBOOK PC                       Acer LCD Monitor KA220HQ 21.5"                      Canon Scanner R40                                              Polycom
OPTIPLEX 5090                HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC                                 Acer Monitor V206HQL 19.5"                          Canon Scanner DR-C225                                          Polycom
OPTIPLEX 5090                                                                                        Acer Monitor V196WL 19"                             Canon Scanner DR-C225                                          XIAMEN YEALINK Network...
OPTIPLEX 5090                                                                                        Acer Monitor V196WL 19"                             Canon Scanner R40                                              Polycom
HP ELITEDESK 800 G3 DM 65W                                                                           Acer Monitor V196WL 19"                             Canon Scanner DR-C225                                          Polycom
HP ELITEDESK 800 G3 DM 65W                                                                           Lenovo ThinkCentre TIO24Gen3                        Canon Scanner R40                                              XIAMEN YEALINK Network...
HP ELITEDESK 800 G3 DM 35W                                                                           ASUS Monitor VP228HE 22"                            Canon Scanner R40                                              Polycom
HP ELITEDESK 800 G3 DM 35W                                                                           ASUS Monitor VP228HE 22"                            Canon Scanner DR-C225                                          Polycom
OPTIPLEX 5090                                                                                        ASUS Monitor VS248H 24"                             Canon Scanner DR-C225                                          Polycom
THINKCENTRE M70Q GEN 2                                                                               ASUS Monitor VS248H 24"                             Brother ADS-1500W                                              Polycom
SURFACE PRO 8                                                                                        Acer Monitor KA241Y bix 23.8"                       Canon Scanner DR-C225 II                                       Polycom
THINKCENTRE M70Q GEN 2                                                                               Acer Monitor KA241Y bix 23.8"                       Canon Scanner DR-C225                                          XIAMEN YEALINK Network...
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor KA220HQ 21.5"                          Canon Scanner DR-C225 II                                       Polycom
THINKCENTRE M70Q GEN 2                                                                               Acer Monitor V206HQL 19.5"                          Canon Scanner DR-C225                                          Polycom
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor V226HQL 21.5"                          Canon Scanner DR-C225                                          Polycom
THINKCENTRE M900                                                                                     Acer Monitor V226HQL 21.5"                          Canon Scanner DR-C225                                          XIAMEN YEALINK Network...
THINKCENTRE M900                                                                                     Acer Monitor V206HQL 19.5"                                                                                         Polycom
THINKCENTRE M900                                                                                     Acer Monitor V226HQL 21.5"                                                                                         XIAMEN YEALINK Network...
THINKCENTRE M900                                                                                     Acer Monitor V226HQL 21.5"                                                                                         XIAMEN YEALINK Network...
THINKCENTRE M900                                                                                     Acer Monitor V226HQL 21.5"                                                                                         XIAMEN YEALINK Network...
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor R221Q Bbix 21.5" Full HD                                                                              XIAMEN YEALINK Network...
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor R221Q Bbix 21.5" Full HD                                                                              XIAMEN YEALINK Network...
THINKCENTRE M73                                                                                      Acer Monitor V206HQL 19.5"                                                                                         Polycom
THINKCENTRE M700                                                                                     Acer Monitor V206HQL 19.5"                                                                                         Polycom
THINKCENTRE M600                                                                                     Acer Monitor V226HQL 21.5"
THINKCENTRE M73                                                                                      Acer Monitor KA220HQ 21.5"
THINKCENTRE M73                                                                                      Acer Monitor V206HQL 19.5"
OPTIPLEX 7060                                                                                        Acer Monitor V226HQL 21.5"
THINKCENTRE M720Q                                                                                    Acer Monitor V196WL 19"
THINKCENTRE M720Q                                                                                    Acer Monitor V196WL 19"
THINKCENTRE M720Q                                                                                    Acer Monitor V206HQL 19.5"
THINKCENTRE M720Q                                                                                    Acer Monitor V206HQL 19.5"
THINKCENTRE M920Q                                                                                    Acer Monitor V206HQL 19.5"
THINKCENTRE M920Q                                                                                    Acer Monitor V206HQL 19.5"
THINKCENTRE M715Q                                                                                    Acer Monitor V206HQL 19.5"
THINKCENTRE M720Q                                                                                    Acer Monitor KA220HQ 21.5"
THINKCENTRE M720Q                                                                                    Acer Monitor KA220HQ 21.5"
THINKCENTRE M920S                                                                                    Acer Monitor V196WL 19"
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor V196WL 19"
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor V226HQL 21.5"
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor V226HQL 21.5"
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor V206HQL 19.5"
HP ELITEDESK 800 G3 DM 35W                                                                           Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                                                           Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                                                           Lenovo ThinkVision S24e-20 23.8" Full HD WLED LCD
HP ELITEDESK 800 G3 DM 35W                                                                           Lenovo ThinkCentre TIO24Gen3
OPTIPLEX 5090                                                                                        Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                                                           HP Monitor V222vb 21.5"
THINKCENTRE M70Q GEN 2                                                                               HP Monitor V222vb 21.5"
HP ELITEDESK 800 G3 DM 35W                                                                           Lenovo ThinkCentre TIO24Gen3
HP ELITEDESK 800 G3 DM 35W                                                                           ViewSonic Monitor VX2452MH 24"
HP ELITEDESK 800 G3 DM 35W                                                                           ASUS Monitor VA24EHE 24"
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor V226HQL 21.5"
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor V206HQL 19.5"
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor V196WL 19"
THINKCENTRE M900                                                                                     Acer Monitor V226HQL 21.5"
HP ELITEDESK 800 G3 DM 35W                                                                           ASUS Monitor VE248H 24"
HP ELITEDESK 800 G3 DM 35W                                                                           Acer Monitor V206HQL 19.5"
HP ELITEDESK 800 G3 DM 35W                                                                           Dell E2221HN
HP ELITEDESK 800 G3 DM 35W                                                                           Dell E2221HN
HP ELITEDESK 800 G3 DM 35W                                                                           Dell E2221HN
HP ELITEDESK 800 G3 DM 35W                                                                           Dell E2221HN
HP ELITEDESK 800 G3 DM 35W                                                                           Dell E2221HN
                                                                                                     Acer Monitor V206HQL 19.5"
                                                                                                     Acer Monitor V206HQL 19.5"
                                                                                                     Dell Monitor E2016H
                                                                                                     AOC LCD Monitor 22E1H
                                                                                                     AOC LCD Monitor 22E1H
                                                                                                     ASUS Monitor VA24EHE 24"
                                                                                                     AOC LCD Monitor 22E1H
                                                                                                     BenQ Monitor GW2270-T 21.5"
                                                                                                     BenQ Monitor GW2270-T 21.5"
                                                                                                     AOC LCD Monitor 22E1H
                                                                                                     AOC LCD Monitor 22E1H
                                                                                                     Dell Monitor P2018H 20"
                                                                                                     Dell Monitor P2018H 20"
                                                                                                     BenQ Monitor GW2270-T 21.5"
                                                                                                     BenQ Monitor GW2270-T 21.5"
                                                                                                     AOC LCD Monitor 22E1H
                                                                                                     AOC LCD Monitor 22E1H
                                                                                                     Dell E2221HN
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     Acer Monitor V206HQL 19.5"
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     Dell E2221HN
                                                                                                     HP Monitor V222vb 21.5"
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     HP Monitor V244h 23.8"
                                                                                                     Dell E2221HN
                                                                                                     HP P22v G4 FHD Monitor 21.5"
                                                                                                     HP P22v G4 FHD Monitor 21.5"
                                                                                                     Acer Monitor V196WL 19"
                                                                                                     Acer Monitor KA220HQ 21.5"
                                                                                                     AOC LCD Monitor 22E1H
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     BenQ Monitor GW2270-T 21.5"
                                                                                                     Acer Monitor V206HQL 19.5"
                                                                                                     Acer Monitor V206HQL 19.5"
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     Acer Monitor V196WL 19"
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                                                                                                     ASUS Monitor VE248H 24"
                                                                                                     Acer Monitor V226HQL 21.5"
                                                                                                     Lenovo ThinkCentre TIO24Gen3
                      Case 24-20576-CLC                     Doc 29         Filed 10/13/24             Page 529 of 565


Computers Laptops   Tablets   Monitors Scanners Printers Desk PhoneCell Phones AP Wifi's Firewalls work Switc   TVs   NVR   VR Cameras
                                                Case 24-20576-CLC                                                             Doc 29                              Filed 10/13/24                                          Page 530 of 565

          Computers                                       Laptops                    Tablets        Monitors        Scanners                       Printers              Desk Phones Cell Phones      AP Wifi's                Firewalls                           Network Switches                    TVs  NVR NVR Cameras
THINKCENTRE M710Q            SURFACE PRO                                                       Acer KA220HQ     Cannon R40          BROTHER MFC-J5930DW                 Polycom      iPhone 13   AP-AC-Pro-Gen2   MX100 - Serial: Q2JN-C7Z2-Z9YJ   HPE OfficeConnect Switch 1920S 48G 4SFP PPoE+   TCL      ALI-N ALI-NS2036R
THINKCENTRE M73              THINKPAD E580                                                     Acer QG22        Cannon dr-c225      HP Color LaserJet M554              Yealink      iPhone 11   AP-AC-Pro-Gen2                                    HPE 1950 48G 2SFP+ 2XGT PoE+                    Insignia       ALI-NS2036R
THINKCENTRE M73              THINKPAD E15                                                      Acer V196WL      Cannon dr-c225 II   HP Color LaserJet M554                           iPhone 11   UAP-HD                                            HPE 1950 48G 2SFP+ 2XGT PoE+                    Samsung        ALI-NS2036R
THINKCENTRE M720Q            LATITUDE 9520                                                     Acer V206HQL                         HP Color LaserJet Pro MFP M479fdn                iPhone 11   UAP-HD                                            HPE OfficeConnect Switch 1920S 48G 4SFP PPoE+   Vizio          ALI-NS2036R
THINKCENTRE M720Q            THINKPAD E15                                                      Acer KC24                            HP Color LaserJet Pro MFP M479fdn                            UAP-HD                                            HPE OfficeConnect Switch 1920S 48G 4SFP PPoE+   LG             ALI-NS2036R
THINKPAD T470 W10DG          750XDA                                                            Acer R221Q                           HP Color LaserJet Pro MFP M479fdw                            UAP-HD                                            HPE OfficeConnect Switch 1920S 48G 4SFP PPoE+   Sceptre        ALI-NS2036R
THINKCENTRE M720Q            THINKPAD P15S GEN 2I                                              Acer V226HQ                          HP Color LaserJet Pro MFP M479fdw                            UAP-HD                                                                                                           ALI-NS2036R
THINKCENTRE M720Q            THINKPAD L15 GEN 2                                                AOC 221E                             HP LaserJet E60155                                           UniFi6 AP-Pro                                                                                                    ALI-NS2036R
THINKCENTRE M720Q            THINKBOOK 15 G2 ITL                                               Asus VP22                            HP LaserJet M406                                             UniFi6 AP-Pro
THINKCENTRE M720Q            THINKBOOK 15 G2 ITL                                               Asus 24                              HP LaserJet Pro 200 color M251nw                             UniFi6 AP-Pro
THINKCENTRE M720Q            750XDA                                                            Dell E2221HN                         HP LaserJet Pro M402n
THINKSTATION P340            750XDA                                                            Dell 2018H                           HP LaserJet Pro M402n
THINKCENTRE M70Q             750XDA                                                            Dell 24                              HP LaserJet Pro M404dn
THINKCENTRE M70Q             THINKBOOK 15 G2 ITL                                               HP P22                               HP LaserJet Pro M404dn
THINKCENTRE M715Q            THINKPAD P15 GEN 2I                                               LenovoTI022                          HP LaserJet Pro M404dn
HP ELITEDESK 800 G3 DM 35W   750XDA                                                            Samsung S24                          HP LaserJet Pro MFP M426fdn
HP ELITEDESK 800 G3 DM 35W   THINKBOOK 15 G2 ITL                                               Sceptre 24                           HP LaserJet Pro MFP M426fdn
THINKCENTRE M920S            750XDA                                                            Viewsonic VA24                       HP LaserJet Pro MFP M426fdw
HP ELITEDESK 800 G3 DM 35W   SURFACE PRO 8                                                     LenovoL23                            HP LaserJet Pro MFP M426fdw
HP ELITEDESK 800 G3 DM 35W   SURFACE PRO 8                                                     Hp 27                                HP LaserJet Pro MFP M428fdn
THINKCENTRE M920S            750XDA                                                            HP pavilon 27                        HP LaserJet Pro MFP M428fdn
HP ELITEDESK 800 G3 DM 35W   HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC                           Samsung 35                           Ricoh IM 4000
HP ELITEDESK 800 G3 DM 35W   HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC                           Lg 35BN                              Ricoh IM 4000
HP ELITEDESK 800 G3 DM 35W   HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC                                                                Ricoh IM 4000
HP ELITEDESK 800 G3 DM 35W   750XFG                                                                                                 Ricoh IM 4000
HP ELITEDESK 800 G3 DM 35W   750XFG                                                                                                 Ricoh IM 5000
HP ELITEDESK 800 G3 DM 35W   750XFG                                                                                                 Ricoh IM C4500
HP ELITEDESK 800 G3 DM 35W   750XFG                                                                                                 Ricoh IM C6000
HP ELITEDESK 800 G3 DM 35W   HP ELITE X360 1040 14 INCH G10 2-IN-1 NOTEBOOK PC                                                      Ricoh MP 5055
HP ELITEDESK 800 G3 DM 35W   HP ELITE X360 1040 14 INCH G10 2-IN-1 NOTEBOOK PC                                                      Ricoh MP 5055
HP ELITEDESK 800 G3 DM 35W   THINKPAD P51S
HP ELITEDESK 800 G3 DM 35W   SURFACE PRO
HP ELITEDESK 800 G3 DM 35W   THINKPAD E580
HP ELITEDESK 800 G3 DM 35W   THINKPAD E15
HP ELITEDESK 800 G3 DM 35W   THINKPAD P53
HP ELITEDESK 800 G3 DM 35W   THINKPAD P53
HP ELITEDESK 800 G3 DM 35W   THINKPAD P51S
THINKCENTRE M720Q            THINKPAD E15
THINKCENTRE M73              THINKPAD E15
THINKCENTRE M73              THINKPAD E15
OPTIPLEX 7060                THINKPAD E15
THINKCENTRE M715Q            THINKBOOK 14 G2 ITL
THINKCENTRE M700             THINKPAD E14
THINKCENTRE M720Q            THINKPAD E14
THINKCENTRE M720Q            THINKPAD E14
THINKCENTRE M720Q            LENOVO THINKBOOK 15P
THINKCENTRE M720Q            MACBOOK PRO (16-INCH, 2019)
THINKCENTRE M920Q            750XDA
THINKCENTRE M70Q             INSPIRON 3501
THINKCENTRE M720Q            INSPIRON 3501
THINKCENTRE M70Q             THINKBOOK 15 G2 ITL
THINKCENTRE M720Q            750XDA
THINKCENTRE M70Q             750XDA
THINKSTATION P340            750XDA
THINKCENTRE M70Q             MACBOOK PRO (13-INCH, 2020, FOUR THUNDERBOLT 3 PORTS)
HP ELITEDESK 800 G3 DM 35W   750XDA
HP ELITEDESK 800 G3 DM 35W   750XDA
HP ELITEDESK 800 G3 DM 35W   750XDA
HP ELITEDESK 800 G3 DM 35W   750XDA
THINKCENTRE M920S            750XDA
THINKCENTRE M920S            750XFG
THINKCENTRE M920S            750XFG
HP ELITEDESK 800 G3 DM 35W   750XFG
HP ELITEDESK 800 G3 DM 35W   750XFG
HP ELITEDESK 800 G3 DM 35W   HP ELITE X360 1040 14 INCH G10 2-IN-1 NOTEBOOK PC
HP ELITEDESK 800 G3 DM 35W   HP ELITE X360 1040 14 INCH G10 2-IN-1 NOTEBOOK PC
HP ELITEDESK 800 G3 DM 35W   HP PROBOOK 450 15.6 INCH G10 NOTEBOOK PC
HP ELITEDESK 800 G3 DM 35W   MACBOOK PRO (13-INCH, 2020, FOUR THUNDERBOLT 3 PORTS)
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
THINKCENTRE M920S
HP ELITEDESK 800 G3 DM 35W
OPTIPLEX 5090
HP ELITEDESK 800 G3 DM 65W
HP ELITEDESK 800 G3 DM 65W
HP ELITEDESK 800 G3 DM 35W
OPTIPLEX 5090
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
THINKCENTRE M720Q
THINKCENTRE M720Q
                             Case 24-20576-CLC               Doc 29             Filed 10/13/24                       Page 531 of 565


Computers                     Laptops/Computers    Tablets Monitors Scanners Printers   Desk Phones    Cell Phones   AP Wifi's Firewalls   Network Switches   TVs NVR NVR Cameras
            THINKCENTRE M73                       iPad (9th Gen.)                                     SM-A146U
            OPTIPLEX 390                          iPad (9th Gen.)                                     SM-A146U
            LATITUDE 5480                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E570                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E570                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E570                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E570                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E590                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E590                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E590                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E590                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E590                         iPad (9th Gen.)                                     SM-A146U
            THINKPAD E15                          iPad (9th Gen.)                                     SM-A146U
            THINKPAD E15                          iPad (9th Gen.)                                     SM-A146U
            THINKPAD E15                          iPad (9th Gen.)                                     SM-A146U
            THINKPAD E15                          iPad (9th Gen.)                                     SM-A146U
            THINKPAD E15                          iPad (9th Gen.)                                     SM-A146U
            THINKPAD E15                          iPad (9th Gen.)                                     SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKCENTRE M920Q                                                                         SM-A146U
            THINKPAD E15                                                                              SM-A136U
            THINKCENTRE M920Q                                                                         SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKPAD E15                                                                              SM-A146U
            XPS 15 9500                                                                               SM-A146U
            THINKPAD P15S GEN 1                                                                       SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKCENTRE M73                                                                           SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKBOOK 14 G2 ITL                                                                       SM-A146U
            THINKPAD E14                                                                              SM-A146U
            THINKPAD E14                                                                              SM-A146U
            THINKPAD E14                                                                              SM-A146U
            THINKPAD E14                                                                              SM-A146U
            THINKPAD E14                                                                              SM-A146U
            HP ELITEDESK 800 G3 DM 35W                                                                SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKPAD E15                                                                              SM-A146U
            THINKPAD E15                                                                              SM-A146U
            MACBOOK PRO (16-INCH, 2019)                                                               SM-A146U
            HP ELITEDESK 800 G3 DM 35W                                                                SM-A146U
            THINKPAD E15                                                                              SM-A146U
            HP ELITEDESK 800 G3 DM 35W                                                                SM-A146U
            HP 250 G8 NOTEBOOK PC                                                                     SM-A146U
            HP 250 G8 NOTEBOOK PC                                                                     SM-A146U
            HP 250 G8 NOTEBOOK PC                                                                     SM-A146U
            HP 250 G8 NOTEBOOK PC                                                                     SM-A146U
            HP 250 G8 NOTEBOOK PC                                                                     SM-A146U
            750XDA                                                                                    SM-A146U
            750XDA                                                                                    SM-A146U
            750XDA                                                                                    SM-A146U
            HP ELITEDESK 800 G3 DM 35W                                                                T790W
            HP 250 G8 NOTEBOOK PC
            THINKPAD L15 GEN 2
            THINKPAD L15 GEN 2
            750XDA
            750XDA
            THINKBOOK 15 G2 ITL
            THINKBOOK 15 G2 ITL
            THINKPAD L15 GEN 2
            THINKPAD L15 GEN 2
            THINKPAD L15 GEN 2
            THINKBOOK 15 G2 ITL
            THINKBOOK 15 G2 ITL
            THINKBOOK 15 G2 ITL
            750XDA
            750XDA
            THINKBOOK 15 G2 ITL
            THINKBOOK 15 G2 ITL
            THINKBOOK 15 G2 ITL
            HP ELITEDESK 800 G3 DM 65W
            HP ELITEDESK 800 G3 DM 35W
            HP ELITEDESK 800 G3 DM 35W
            THINKBOOK 15 G2 ITL
            THINKBOOK 15 G2 ITL
            HP ELITEDESK 800 G3 DM 35W
            750XDA
            750XDA
            750XDA
            750XDA
            750XDA
            750XDA
            750XDA
            THINKBOOK 15 G2 ITL
                  Case 24-20576-CLC                 Doc 29   Filed 10/13/24   Page 532 of 565


THINKBOOK 15 G2 ITL
750XDA
750XDA
750XDA
950XDB/951XDB/950XDY
750XDA
750XDA
HP ELITEDESK 800 G3 DM 35W
750XDA
750XDA
750XDA
750XDA
SURFACE PRO 8
THINKBOOK 15 G2 ITL
THINKBOOK 15 G2 ITL
750XDA
750XDA
750XDA
750XDA
YOGA 7 16IAP7
PRECISION 5570
750XDA
750XDA
750XDA
HP ELITEDESK 800 G3 DM 35W
750XDA
750XDA
750XDA
750XDA
750XDA
750XDA
HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC
HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC
750XFG
HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC
HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC
750XFG
750XDA
HP ELITE X360 1040 14 INCH G10 2-IN-1 NOTEBOOK PC
HP ELITE X360 1040 14 INCH G10 2-IN-1 NOTEBOOK PC
HP 250 G7 NOTEBOOK PC
HP PROBOOK 450 15.6 INCH G10 NOTEBOOK PC
HP PROBOOK 450 15.6 INCH G10 NOTEBOOK PC
HP PROBOOK 450 15.6 INCH G10 NOTEBOOK PC
HP ELITE X360 1040 14 INCH G10 2-IN-1 NOTEBOOK PC
HP PROBOOK 450 15.6 INCH G10 NOTEBOOK PC
950XDB/951XDB/950XDY
HP COMPAQ 6005 PRO SFF
THINKCENTRE M73
THINKPAD E570
SURFACE PRO
SURFACE PRO
THINKPAD E590
THINKBOOK 14 G2 ITL
THINKPAD E14
THINKPAD E15
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
750XDA
THINKBOOK 15 G2 ITL
750XDA
THINKBOOK 15 G2 ITL
HP ELITEDESK 800 G3 DM 35W
950XDB/951XDB/950XDY
750XDA
750XDA
THINKBOOK 15 G2 ITL
750XDA
750XDA
750XDA
750XDA
SURFACE PRO 8
750XDA
PRECISION 5570
750XDA
HP ELITEDESK 800 G3 DM 35W
750XDA
750XDA
HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC
HP PROBOOK 450 15.6 INCH G10 NOTEBOOK PC
HP PROBOOK 450 15.6 INCH G10 NOTEBOOK PC
XPS 15 7590
                                                          Case 24-20576-CLC                                                                                Doc 29                                  Filed 10/13/24                                                        Page 533 of 565

       Computers                 Laptops           Tablets       Monitor Brand         Scanners                              Printers                          Desk Phones          Cell Phones     AP Wifi's             Firewalls               Network Switches                                      TVs                                        NVR    NVR Cameras
THINKCENTRE M70Q         THINKPAD E15          iPad (9th Gen.)     Acer 21"    Canon Scanner DR-C225 II   HP LaserJet Pro M404dn                       Polycom VVX 450 IP Phone   iPhone 11       UAP-AC-LR MX100 - Serial: Q2JN-QQSD-L9VR   Aruba Instant On 1960 48G   Insignia - 75" Class F30 Series LED 4K UHD Smart Fire TV   ALI-NR160F-2         ALI-PT60-UA
THINKCENTRE M70Q         HP ELITEBOOK 840 G3   iPad (9th Gen.)     Acer 21"    Canon Scanner DR-C225 II   HP LaserJet Pro MFP M428fdn                  Polycom VVX 450 IP Phone   iPhone 11       UAP-AC-LR                                                              Insignia - 50" Class F30 Series LED 4K UHD Smart Fire TV   ALI-NR160F-2         ALI-PT60-UA
THINKCENTRE M920S        THINKPAD E15          iPad (8th Gen.)     Acer 21"    Canon Scanner DR-C225 II   HP LaserJet Pro MFP M428fdn                  Polycom VVX 450 IP Phone   iPhone 13       UAP-AC-Pro                                                             Insignia - 50" Class F30 Series LED 4K UHD Smart Fire TV                        ALI-PT60-UA
THINKCENTRE M70Q GEN 2   THINKBOOK 15 G2 ITL                       Acer 21"    Canon Scanner R40          HP LaserJet Pro 400 M401n                    Polycom VVX 450 IP Phone   iPhone 11       UAP-AC-HD                                                                                                                                              ALI-PT60-UA
THINKCENTRE M70Q GEN 2   750XDA                                    Acer 21"    Canon Scanner DR-C225 II   HP LaserJet Pro MFP M428fdn                  Polycom VVX 450 IP Phone   iPhone 13                                                                                                                                                              ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"    Canon Scanner DR-C225 II   IM C3500 Color Laser Multifunction Printer   Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"    Canon Scanner R40                                                       Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"    Canon Scanner R40                                                       Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"    Canon Scanner DR-C225 II                                                Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone                                                                                                                                                                          ALI-PT60-UA
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Polycom VVX 450 IP Phone
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Grandstream DP750
THINKCENTRE M70Q GEN 2                                             Acer 21"                                                                            Poly VoIP VVX 401
                                                                   Acer 21"
                                                                   Acer 21"
                                                                   Acer 21"
                                                                   Acer 21"
                                                                   Acer 21"
                                                                   Acer 21"
                                                                   Acer 21"
                          Case 24-20576-CLC                           Doc 29            Filed 10/13/24                 Page 534 of 565


     Computers       Laptops Tablets Monitors Scanners            Printers            Desk Phones Cell Phones AP Wifi's Firewalls Network Switches   TVs   NVR NVR Cameras
THINKCENTRE M600    THINKPAD E15     Planar            HP Color LaserJet MFP M283fdw Yealink                  UBN                 HPe 1820         Vizio
THINKCENTRE M720Q                                      RICOH IM 4000
                          Case 24-20576-CLC                       Doc 29           Filed 10/13/24                   Page 535 of 565


              Computers             Laptops Tablets Monitors Scanners Printers Desk Phones   Cell Phones   AP Wifi's Firewalls Network Switches   TVs NVR NVR Cameras
HP ELITEDESK 800 G3 DM 35W          750XDA           HP                        Yeakink                     UBN       MX67      HPE 1920
HP PRODESK 400 G6 DESKTOP MINI PC   750XDA           HP                        Yeakink
HP ELITEDESK 800 G3 DM 35W          750XDA           Acer                      Yeakink
HP ELITEDESK 800 G3 DM 35W          750XFG
HP ELITEDESK 800 G3 MINI            THINKPAD E590
HP ELITEDESK 800 G3 DM 35W          HP ELITEBOOK 850 G5
                                     Case 24-20576-CLC                                               Doc 29                    Filed 10/13/24                               Page 536 of 565

          Computers                   Laptops            Tablets        Monitors     Scanners              Printers         Desk Phones Cell Phones   AP Wifi's              Firewalls            Network Switches        TVs   NVR NVR Cameras
HP ELITEDESK 800 G3 DM 35W   SURFACE PRO             iPad (9th Gen.)   HP        CANON DR C225II   HP LaserJet Pro M402n   YEALINK      iPhone 13   UAP-AC-Lite MX100 - Serial: Q2JN-RFCK-5DZ8   HPE 1920 48G      Insignia     ALI-N ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W   THINKPAD E15                              HP        CANON DR C225II   HP Officejet Pro 8710   YEALINK      iPhone 13   UAP-AC-Lite                                                    Sanyo              ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W   HP 250 G8 NOTEBOOK PC                     HP        CANON R40         Ricoh IM 4000           YEALINK                                                                                                    ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W   HP 250 G8 NOTEBOOK PC                     HP                                                  YEALINK                                                                                                    ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W   750XDA                                    HP                                                  YEALINK                                                                                                    ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W   750XDA                                    HP                                                  YEALINK                                                                                                    ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W   750XDA                                    SPECTRE                                             YEALINK                                                                                                    ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W   750XDA                                    SPECTRE                                             POLYCOM                                                                                                    ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W   750XFG                                    SPECTRE                                                                                                                                                        ALI-NS2038R
THINKCENTRE M70Q GEN 2                                                 SPECTRE                                                                                                                                                        ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                             LG
                                                                       ASUS
                                                                       DELL
                                                                       DELL
                                                                       ACER
                                   Case 24-20576-CLC                                  Doc 29              Filed 10/13/24                         Page 537 of 565


             Computers              Laptops Tablets Monitors Scanners     Printers     Desk Phones Cell Phones AP Wifi's             Firewalls           Network Switches    TVs        NVR        NVR Cameras
HP PRODESK 600 G3 DM                                HP                Ricoh IM 4000   Yealink                  UAPv2     MX67 - Serial:Q2FY-YUKE-ZNJL   HPE 1820          Insignia ALI-NR160F-2   ALI-NS2036R
HP ELITEDESK 800 G5 DESKTOP MINI                    HP                                Yealink                                                                                                     ALI-NS2036R
                                                                                                                                                                                                  ALI-NS2036R
                                                                                                                                                                                                  ALI-NS2036R
                                                                                                                                                                                                  ALI-NS2036R
                                                                                                                                                                                                  ALI-NS2036R
                                                                                                                                                                                                  ALI-NS2036R
                                                                                                                                                                                                  ALI-NS2036R
                                                                                                                                                                                                  ALI-NS2036R
                                                                                                                                                                                                  ALI-NS2036R
                                    Case 24-20576-CLC                                          Doc 29                  Filed 10/13/24                            Page 538 of 565


              Computers                      Laptops            Tablets        Monitors   Scanners              Printers          Desk Phones Cell Phones AP Wifi's              Firewalls            Network Switches   TVs NVR NVR Cameras
HP ELITEDESK 800 G3 DM 35W          THINKPAD E580           iPad (9th Gen.)   Samsung     Canon    HP LaserJet Pro 400 M401n     Polycom      iPhone 11   UAP       MX100 - Serial: Q2JN-SJGP-AVT7   HPE 1950 48G            ALI-N ALI-NS2036R
HP PRODESK 600 G6 DESKTOP MINI PC   THINKBOOK 14 G2 ITL     iPad (9th Gen.)   Samsung     Canon    HP LaserJet Pro M404dn        Polycom      iPhone 13   UAP                                                                      ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W          HP 250 G8 NOTEBOOK PC   iPad (9th Gen.)   Samsung     Canon    HP LaserJet Pro MFP M428fdw   Polycom                                                                                           ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W          THINKBOOK 15 G2 ITL                       Samsung     Canon    HP Officejet Pro 9010         Polycom                                                                                           ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W          THINKBOOK 15 G2 ITL                       Samsung     Canon    Ricoh IM 4000                 Polycom                                                                                           ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                    Samsung     Canon                                  Polycom                                                                                           ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                    Samsung     Canon                                  Polycom                                                                                           ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                    HP                                                 Polycom                                                                                           ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                    HP                                                 Polycom                                                                                           ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                    HP                                                 Polycom                                                                                           ALI-NS2036R
THINKCENTRE M70Q GEN 2                                                        HP                                                 Yealink                                                                                           ALI-NS2036R
                                                                              HP                                                 Yealink                                                                                           ALI-NS2036R
                                                                              HP                                                                                                                                                   ALI-NS2036R
                                                                              HP                                                                                                                                                   ALI-NS2036R
                                                                              Lenovo                                                                                                                                               ALI-NS2036R
                                                                              LG                                                                                                                                                   ALI-NS2036R
                                                                              ViewSonic
                                                   Case 24-20576-CLC                                                                       Doc 29                                     Filed 10/13/24                                             Page 539 of 565

              Computers                      Laptops                Tablets                    Monitors                  Scanners                          Printers                            Desk Phones         Cell Phones  AP Wifi's             Firewalls                      Network Switches                 TVs        NVR      NVR Cameras
THINKCENTRE M73                     THINKPAD P51S           iPad (9th Generation)   ASUS Monitor VP228HE 22"     Canon Scanner R40       IM C3500 Color Laser Multifunction Printer    Polycom VVX 400 IP Phone   iPhone 13    UAP-AC-HD MX100 - Serial: Q2JN-93PU-VHRY   HPE OfficeConnect 1950 Series Switch   Insignia   ALI-NR160F-2 ALI-NS2036R
THINKCENTRE M73                     HP 250 G8 NOTEBOOK PC   iPad (9th Generation)   Dell Monitor E2220H          Canon Scanner R40       HP LaserJet Pro M404dn                        Polycom VVX 400 IP Phone                UAP-AC-HD                                                                                                 ALI-NS2036R
THINKCENTRE M73                     HP 250 G8 NOTEBOOK PC   iPad (9th Generation)   Acer Monitor V226HQL 21.5"   Canon Scanner DR-C225                                                 Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
THINKCENTRE M73                     750XDA                  iPad (9th Generation)   Dell Monitor E22221HN        Canon Scanner R40                                                     Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W          THINKBOOK 15 G2 ITL     iPad (9th Generation)   HP Monitor V222vb 21.5"      Canon Scanner DR-C225                                                 Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W          HP 250 G7 NOTEBOOK PC                           Acer Monitor V226HQL 21.5"   Canon Scanner R40                                                     Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W          THINKBOOK 15 G2 ITL                             Acer Monitor V226HQL 21.5"   Canon Scanner R40                                                     Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W          THINKBOOK 15 G2 ITL                             Acer Monitor V226HQL 21.5"   Canon Scanner R40                                                     Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
HP 250 G8 NOTEBOOK PC               THINKBOOK 15 G2 ITL                             Acer Monitor V226HQL 21.5"   Canon Scanner R40                                                     Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
HP PRODESK 600 G6 DESKTOP MINI PC   THINKBOOK 15 G2 ITL                             Acer Monitor V226HQL 21.5"   Canon Scanner R40                                                     Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W          THINKBOOK 15 G2 ITL                             Acer Monitor V226HQL 21.5"   Canon Scanner R40                                                     Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W          THINKBOOK 15 G2 ITL                             Acer Monitor V226HQL 21.5"   Canon Scanner R40                                                     Polycom VVX 400 IP Phone                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G5 DESKTOP MINI    750XDA                                          Acer Monitor V226HQL 21.5"                                                                         Polycom VVX 400 IP Phone
HP ELITEDESK 800 G3 DM 35W          THINKBOOK 15 G2 ITL                             Acer Monitor V226HQL 21.5"                                                                         Polycom VVX 400 IP Phone
HP ELITEDESK 800 G3 DM 35W          750XFG                                          Acer Monitor V226HQL 21.5"                                                                         Poly VoIP VVX 401
HP ELITEDESK 800 G3 DM 35W                                                          Acer Monitor V226HQL 21.5"
HP ELITEDESK 800 G3 DM 35W                                                          Acer Monitor V226HQL 21.5"
HP ELITEDESK 800 G3 DM 35W                                                          Acer Monitor V226HQL 21.5"
HP ELITEDESK 800 G3 DM 35W                                                          LG Monitor 24LF454B 24â€
HP PRODESK 400 G6 DESKTOP MINI PC                                                   Acer Monitor V226HQL 21.5"
HP ELITEDESK 800 G3 DM 35W                                                          Acer Monitor V226HQL 21.5"
THINKCENTRE M70Q GEN 2                                                              Acer Monitor V226HQL 21.5"
HP ELITEDESK 800 G3 DM 35W                                                          Acer Monitor V226HQL 21.5"
                                                                                    HP Monitor 24f 23.8"
                                                                                    Acer Monitor K242HQL 23.6"
                                                                                    Acer Monitor K242HQL 23.6"
                                                                                    Acer Monitor V226HQL 21.5"
                                                                                    Acer Monitor V226HQL 21.5"
                                                                                    Acer Monitor V226HQL 21.5"
                           Case 24-20576-CLC                        Doc 29            Filed 10/13/24                 Page 540 of 565


Computers         Laptops         Tablets Monitors Scanners Printers Desk Phones   Cell Phones AP Wifi's Firewalls Network Switches          TVs   NVR NVR Cameras
            THINKPAD E570                 Dell                       Yealink                   UBN       MX67      HPE 1820         Insignia       ALI-N ALI-PT50-UAI
            THINKPAD E15                  Dell                       Yealink                                                                             ALI-PT50-UAI
            THINKPAD E15                  Dell                       Yealink                                                                             ALI-PT50-UAI
            SURFACE PRO 8                 Dell                       Yealink                                                                             ALI-PT50-UAI
            THINKBOOK 15 G2 ITL                                      Yealink                                                                             ALI-PT50-UAI
                                       Case 24-20576-CLC                                                Doc 29                       Filed 10/13/24                             Page 541 of 565

       Computers                  Laptops            Tablets       Monitors Scanners              Printers             Desk Phones    Cell Phones AP Wifi's             Firewalls                Network Switches            TVs              NVR       NVR Cameras
THINKCENTRE M70Q GEN 2   THINKPAD E15            iPad (9th Gen.)   Asus      Canon   BROTHER MFC-L8610CDW series   Polycom           iPhone 11   UAP-AC-HD MX67 - Serial: Q2FY-FB8Y-EMMR   Cisco CBS250-24P-4G Switch   Insignia - 50   ALI-NR160F-2   ALI-FT81-UA
THINKCENTRE M70Q GEN 2   HP 250 G8 NOTEBOOK PC   iPad (9th Gen.)   Asus      Canon   HP LaserJet E40040            Polycom                                                                                                                             '2/6*'/
THINKCENTRE M70Q GEN 2   HP 250 G8 NOTEBOOK PC   iPad (9th Gen.)   Acer      Canon   HP LaserJet E40040            Polycom                                                                                                                             '2/6*'/
THINKCENTRE M70Q GEN 2   750XDA                                    Acer      Canon   HP LaserJet Pro M402n         Polycom                                                                                                                             ALI-FT81-UA
THINKCENTRE M70Q GEN 2   THINKBOOK 15 G2 ITL                       Acer      Canon   HP LaserJet Pro M404dn        Polycom                                                                                                                             '2/6*'/
THINKCENTRE M70Q GEN 2   THINKBOOK 15 G2 ITL                       HP        Canon   HP LaserJet Pro M404dn        Polycom                                                                                                                             ALI-FT81-UA
THINKCENTRE M70Q GEN 2   750XDA                                    HP        Canon   HP LaserJet Pro M404dn        Polycom                                                                                                                             ALI-FT81-UA
THINKCENTRE M70Q GEN 2                                             HP        Canon   HP LaserJet Pro MFP M428fdn   Polycom                                                                                                                             ALI-FT81-UA
THINKCENTRE M70Q GEN 2                                             HP        Canon   RICOH IM C3500                Polycom                                                                                                                             ALI-FT81-UA
THINKCENTRE M70Q GEN 2                                             HP        Canon   RICOH IM C3500                Polycom                                                                                                                             ALI-FT81-UA
THINKCENTRE M70Q GEN 2                                             HP        Canon                                 Polycom
THINKCENTRE M70Q GEN 2                                             HP        Canon                                 Polycom
THINKCENTRE M70Q GEN 2                                             HP                                              Polycom
THINKCENTRE M70Q GEN 2                                             HP                                              Yealink
THINKCENTRE M70Q GEN 2                                             HP                                              Yealink
THINKCENTRE M70Q GEN 2                                             HP                                              Yealink
THINKCENTRE M70Q GEN 2                                             HP                                              Yealink
THINKCENTRE M70Q GEN 2                                             HP
                                                                   HP
                                                                   HP
                                                                   HP
                                                                   HP
                                                                   Dell
                                                                   Spectre
                                                                   Spectre
                                                                   Spectre
                                                                   Spectre
                                                                   Spectre
                                                                   Samsung
                                                                   Samsung
                                                                   ViewSonic
                                                         Case 24-20576-CLC                                                                             Doc 29                                  Filed 10/13/24                                                    Page 542 of 565

              Computers              Laptops   Tablets                      Monitors                  Scanners                   Printers                  Desk Phones          Cell Phones   AP Wifi's             Firewalls          Network Switches                             TVs                                       NVR    NVR Cameras
HP PRODESK 400 G6 DESKTOP MINI PC   750XDA iPad (9th Gen.)   Acer Monitor V227Q 21.5"            Canon Scanner R40   HP LaserJet Pro MFP M428fdn   Yealink SIP-T46S IP Phone   iPhone 13    UAP-AC-HD MX67 - Serial: Q2FY-YNKX-BUEF   CBS250-24P-4G     TCL 32â€CLASS 3-Series HD LED SMART ROKU TV          DS-7608NI-Q2 / 8P     HIKVISIONCAM
HP PRODESK 400 G6 DESKTOP MINI PC   750XFG iPad (9th Gen.)   Acer Monitor V227Q 21.5"            Canon Scanner R40   HP LaserJet Pro MFP M428fdn   Yealink SIP-T46S IP Phone   iPhone 13                                                                TCL 32â€CLASS 3-Series HD LED SMART ROKU TV                                HIKVISIONCAM
HP PRODESK 400 G6 DESKTOP MINI PC                            HP Monitor 24fw 23.8"               Canon Scanner R40   HP LaserJet Pro MFP M428fdn   Yealink SIP-T46S IP Phone                                                                            TCL 32â€CLASS 3-Series HD LED SMART ROKU TV                                HIKVISIONCAM
HP PRODESK 400 G6 DESKTOP MINI PC                            ViewSonic Monitor VA2246M-LED 22"                                                     Polycom VVX 400 IP Phone                                                                             TCL 32â€CLASS 3-Series HD LED SMART ROKU TV
HP PRODESK 400 G6 DESKTOP MINI PC                            Acer Monitor V227Q 21.5"                                                                                                                                                                   TCL 43" CLASS 4-Series 4K UHD HDR LED SMART ROKU TV
HP ELITEDESK 800 G3 DM 35W                                   Acer Monitor V227Q 21.5"
HP ELITEDESK 800 G3 DM 35W                                   HP Monitor 24fw 23.8"
THINKCENTRE M70Q GEN 2                                       HP Monitor 24fw 23.8"
THINKCENTRE M70Q GEN 2                                       HP Monitor 24fw 23.8"
                                                             HP Monitor 24fw 23.8"
                               Case 24-20576-CLC                                    Doc 29               Filed 10/13/24                       Page 543 of 565


        Computers                 Laptops             Tablets       Monitors Scanners Printers Desk Phones Cell Phones   AP Wifi's              Firewalls         Network Switches   TVs       NVR      NVR Cameras
THINKCENTRE M70Q GEN 2   THINKPAD E15            iPad (9th Gen.)   Dell      Canon             Yealink     iPhone 13   UAP-AC-Pro MX67 - Serial:Q2FY-4W7D-WEB6   HPE 48G           Insignia ALIBINVR   ALIBICAM
THINKCENTRE M70Q GEN 2   HP 250 G8 NOTEBOOK PC                     Dell      Canon             Yealink                                                                                                 ALIBICAM
THINKCENTRE M70Q GEN 2   THINKBOOK 15 G2 ITL                       Dell      Canon             Yealink                                                                                                 ALIBICAM
THINKCENTRE M70Q GEN 2   750XDA                                    Dell      Canon             Yealink                                                                                                 ALIBICAM
THINKCENTRE M70Q GEN 2                                             Dell      Canon             Polycom                                                                                                 ALIBICAM
                                                                   Samsung                     Polycom
                                                                   Samsung                     Polycom
                                                                   Samsung                     Polycom
                                                                   Samsung                     Polycom
                                                                   Samsung
                                   Case 24-20576-CLC                                             Doc 29                      Filed 10/13/24                          Page 544 of 565


          Computers                   Laptops             Tablets       Monitors    Scanners               Printers            Desk Phones Cell Phones AP Wifi's                Firewalls          Network Switches     TVs    NVR NVR Cameras
THINKCENTRE M720Q            THINKPAD E580           iPad (9th Gen.)   HP          Canon     HP Color LaserJet MFP M283fdw    Yealink      iPhone 13   UAP       MX100 - Serial: Q2JN-XH3H-27GK   HPE 48G PoE       Insignia   ALI-NVALI-NS2036R
HP ELITEDESK 800 G3 DM 35W   THINKPAD E15            iPad (9th Gen.)   HP          Canon     HP LaserJet Pro M404dn           Yealink                  UAP                                                                           ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W   HP 250 G8 NOTEBOOK PC   iPad (9th Gen.)   HP          Canon     RICOH IM 4000                    Yealink                                                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W   750XDA                  iPad (9th Gen.)   HP          Canon                                      Yealink                                                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                             HP          Canon                                      Yealink                                                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                             HP          Canon                                      Yealink                                                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                             HP          Canon                                      Yealink                                                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                             HP          Canon                                      Yealink                                                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                             Lenovo                                                 Yealink                                                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                             Acer                                                   Yealink                                                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                             Acer                                                   Yealink                                                                                                ALI-NS2036R
THINKCENTRE M70Q GEN 2                                                 Acer                                                   Yealink                                                                                                ALI-NS2036R
THINKCENTRE M70Q GEN 2                                                 Acer                                                   Yealink
OPTIPLEX 5090                                                          Acer
                                                                       Acer
                                                                       Acer
                                                                       Acer
                                                                       ViewSonic
                                                                       ViewSonic
                                                                       ViewSonic
                                                                       ViewSonic
                                                                       ViewSonic
                                                                       LG
                                                                       Asus
                                 Case 24-20576-CLC                                  Doc 29                   Filed 10/13/24                       Page 545 of 565


         Computers                    Laptops        Tablets Monitors Scanners             Printers            Desk Phones   Cell Phones AP Wifi's Firewalls Network Switches     TVs         NVR      NVR Cameras
HP ELITEDESK 800 G3 DM 35W   HP 250 G8 NOTEBOOK PC           HP                HP LaserJet Pro MFP M428fdw    Yealink                    UBNT      MX67      HPE1820          Insignia   ALI-NR160F-2 ALI-PT50-UAI
HP PRODESK 600 G3 DM                                         HP                RICOH IM 4000                  Yealink                                                                                 ALI-PT50-UAI
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                            ALI-PT50-UAI
HP ELITEDESK 800 G3 DM 35W
                                      Case 24-20576-CLC                                              Doc 29                    Filed 10/13/24                               Page 546 of 565

             Computers                      Laptops            Tablets        Monitors Scanners            Printers            Desk Phones Cell Phones AP Wifi's              Firewalls            Network Switches       TVs   NVR NVR Cameras
HP ELITEDESK 800 G3 DM 35W         HP 250 G8 NOTEBOOK PC   iPad (9th Gen.)   HP        Canon    HP Color LaserJet MFP M283fdw Yealink      iPhone 11   UAP       MX100 - Serial: Q2JN-5XD6-HYXB   HPE 1950 48G PoE Insignia     ALI-NVALI-NS2036R
HP ELITEDESK 800 G3 DM 35W         HP 250 G8 NOTEBOOK PC   iPad (9th Gen.)   HP        Canon    RICOH IM 4000                 Yealink      iPhone 11   UAP                                                          JVC               ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W         THINKBOOK 15 G2 ITL                       HP        Canon                                  Yealink      iPhone 13                                                                                  ALI-NS2036R
HP PRODESK 600 G5 DESKTOP MINI     THINKBOOK 15 G2 ITL                       HP        Canon                                  Yealink                                                                                                 ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W         THINKBOOK 15 G2 ITL                       HP        Canon                                  Yealink                                                                                                 ALI-NS2036R
HP ELITEDESK 800 G5 DESKTOP MINI   750XDA                                    HP        Canon                                  Yealink                                                                                                 ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W         THINKBOOK 15 G2 ITL                       HP        Canon                                  Yealink                                                                                                 ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W         750XDA                                    DELL                                             Yealink                                                                                                 ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W         750XDA                                    DELL                                             Yealink                                                                                                 ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W         750XDA                                    DELL                                             Yealink                                                                                                 ALI-NS2036R
HP PRODESK 600 G5 DESKTOP MINI                                               DELL                                             Yealink
THINKBOOK 15 G2 ITL                                                          ACER                                             Yealink
THINKBOOK 15 G2 ITL                                                          ACER                                             Yealink
THINKBOOK 15 G2 ITL                                                          ACER                                             Yealink
THINKBOOK 15 G2 ITL                                                          LG                                               Yealink
THINKCENTRE M70Q GEN 2                                                       LG                                               Yealink
THINKCENTRE M70Q GEN 2
                                     Case 24-20576-CLC                                             Doc 29                    Filed 10/13/24                             Page 547 of 565

            Computers                         Laptops                 Tablets        Monitors Scanners              Printers          Desk Phones Cell Phones   AP Wifi's             Firewalls            Network Switches   TVs NVR NVR Cameras
HP ELITEDESK 800 G3 DM 35W       THINKPAD E15                     iPad (9th Gen.)   HP        Canon    HP LaserJet Pro MFP M428fdw   Yealink      iPhone 11   UAP-AC-Pro MX100 - Serial: Q2JN-FC5Z-YPZH   HPE1950 48G             ALI-NVALI-NS2036R
HP ELITEDESK 800 G3 DM 35W       HP 250 G8 NOTEBOOK PC            iPad (9th Gen.)   HP        Canon    Ricoh IM 4000                 Yealink      iPhone 11   UAP-AC-Pro                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W       HP 250 G8 NOTEBOOK PC            iPad (9th Gen.)   HP        Canon    HP Officejet Pro 8620         Yealink      iPhone 11   UAP-AC-Pro                                                                ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W       HP 250 G8 NOTEBOOK PC            iPad (9th Gen.)   HP        Canon    Ricoh IM 4000                 Yealink                                                                                            ALI-NS2036R
HP PRODESK 600 G5 DESKTOP MINI   HP PRODESK 600 G5 DESKTOP MINI   iPad (9th Gen.)   HP        Canon                                  Yealink                                                                                            ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W       HP PROBOOK 450 G6                                  HP        Canon                                  Yealink                                                                                            ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W       750XDA                                             HP        Canon                                  Yealink                                                                                            ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W       THINKBOOK 15 G2 ITL                                HP        Canon                                  Polycom
THINKBOOK 15 G2 ITL              THINKBOOK 15 G2 ITL                                HP        Canon                                  Grandstream
THINKCENTRE M70Q GEN 2           THINKBOOK 15 G2 ITL                                HP
THINKCENTRE M70Q GEN 2           750XDA                                             HP
THINKCENTRE M70Q GEN 2           750XDA                                             HP
THINKCENTRE M70Q GEN 2                                                              HP
                                                                                    LG
                                                                                    LG
                                                                                    LG
                                                                                    LG
                                                                                    Acer
                                                                                    Acer
                                                                                    Acer
                                                                                    Acer
                                                                                    Samsung
                                                                                    Samsung
                                        Case 24-20576-CLC                                                Doc 29                  Filed 10/13/24                             Page 548 of 565

  Computers            Laptops            Tablets       Monitors Scanners                 Printers             Desk Phones Cell Phones   AP Wifi's              Firewalls                Network Switches            TVs         NVR      NVR Cameras
OPTIPLEX 5090   THINKPAD E14          iPad (9th Gen.)   Dell     Canon    HP Color LaserJet Pro MFP M479fdn   Yealink      iPhone 13   UAP-AC-Pro MX95 - Serial: Q2XN-NQ5D-SXYC   HPE 1950 48G 2SFP+ 2XGT PoE+   Insignia   ALI-NR160F-2 ALI-NS2036R
OPTIPLEX 5090   THINKBOOK 15 G2 ITL   iPad (9th Gen.)   Dell     Canon    HP LaserJet Pro M402n               Yealink      iPhone 11   UAP-AC-Pro                                 HPE 1950 48G 2SFP+ 2XGT PoE+   Insignia   ALI-NR160F-2 ALI-NS2036R
OPTIPLEX 5090   THINKBOOK 15 G2 ITL   iPad (9th Gen.)   Dell     Canon    HP LaserJet Pro M404dn              Yealink      iPhone 11   UAP-AC-Pro                                 HPE 1950 48G 2SFP+ 2XGT PoE+                           ALI-NS2036R
OPTIPLEX 5090   THINKBOOK 15 G2 ITL                     Dell     Canon    HP LaserJet Pro M404dn              Yealink                  UAP-AC-Pro                                                                                        ALI-NS2036R
OPTIPLEX 5090   750XFG                                  Dell     Canon    HP LaserJet Pro M404dn              Yealink                  UAP-AC-Pro                                                                                        ALI-NS2036R
OPTIPLEX 5090                                           Dell     Canon    HP LaserJet Pro M404dn              Yealink                                                                                                                    ALI-NS2036R
OPTIPLEX 5090                                           Dell              HP LaserJet Pro MFP 4101            Yealink                                                                                                                    ALI-NS2036R
OPTIPLEX 5090                                           Dell              Lanier IM 4000                      Yealink                                                                                                                    ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                  Yealink                                                                                                                    ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                  Yealink                                                                                                                    ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                  Yealink                                                                                                                    ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                  Yealink                                                                                                                    ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell                                                                                                                                                                             ALI-NS2036R
OPTIPLEX 5090                                           Dell
OPTIPLEX 5090                                           Dell
OPTIPLEX 5090                                           Dell
OPTIPLEX 5090                                           Dell
OPTIPLEX 5090                                           Dell
OPTIPLEX 5090                                           Dell
OPTIPLEX 5090                                           Dell
                                                        Dell
                                                        Dell
                                                        Dell
                                                        Dell
                                                        Dell
                                                        Dell
                                                        Dell
                                                        Dell
                                      Case 24-20576-CLC                                                Doc 29                   Filed 10/13/24                             Page 549 of 565

          Computers                 Laptops            Tablets        Monitors Scanners             Printers           Desk Phones Cell Phones   AP Wifi's            Firewalls            Network Switches            TVs   NVR NVR Cameras
THINKCENTRE M720Q            THINKPAD E15          iPad (9th Gen.)   Asus      Canon    HP LaserJet Pro M404dn        Polycom      iPhone 13   UAP-AC-HD MX100 - Serial: Q2JN-NNQP-J2P2   HPE 1950 PoE 48G Insignia          ALI-N ALI-NS2038R
THINKCENTRE M920Q            THINKBOOK 15 G2 ITL   iPad (9th Gen.)   Asus      Canon    HP LaserJet Pro M404dn        Polycom      iPhone 11   UAP-AC-HD                                  HPE 1950 PoE 48G Insignia          ALI-N ALI-NS2038R
THINKCENTRE M920Q            750XFG                iPad (9th Gen.)   Asus      Canon    HP LaserJet Pro M404dn        Polycom      iPhone 11   UAP-AC-HD                                  HPE 1950 PoE 48G Insignia                ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon    HP LaserJet Pro M404dn        Polycom                  UAP-AC-HD                                                    Insignia               ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon    HP LaserJet Pro M404dn        Polycom                  UAP-AC-HD                                                    Insignia               ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon    HP LaserJet Pro M404dn        Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon    HP LaserJet Pro M404dn        Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon    HP LaserJet Pro M404dn        Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon    HP LaserJet Pro M404dn        Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon    HP LaserJet Pro MFP M428fdn   Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon    Ricoh IM C3000                Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon                                  Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon                                  Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon                                  Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon                                  Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon                                  Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus      Canon                                  Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom                                                                                                      ALI-NS2038R
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom
HP ELITEDESK 800 G3 DM 35W                                           Asus                                             Polycom
                                                                     Asus                                             Polycom
                                                                     Asus                                             Polycom
                                                                     Asus                                             Polycom
                                                                     Asus
                                                                     Asus
                                                                     Asus
                                                                     Acer
                                                                     Acer
                                                                     Acer
                                                                     Acer
                                                                     Acer
                                                                     Acer
                                                                     Acer
                                                                     Planar
                                                                     Planar
                                                                     Lenovo
                                                                     Lenovo
                                                                     Dell
                                                                     Dell
                                                                     Dell
                                       Case 24-20576-CLC                                               Doc 29                   Filed 10/13/24                             Page 550 of 565

         Computers                 Laptops             Tablets       Monitors Scanners             Printers           Desk Phones Cell Phones AP Wifi's             Firewalls            Network Switches       TVs        NVR      NVR Cameras
THINKCENTRE M600             THINKPAD E590         iPad (9th Gen.)   HP       Canon    HP LaserJet Pro M402dn        Yealink      iPhone 11  UAP-AC-HD MX100 - Serial: Q2JN-BFY6-2PF6   HPE 24Port        Vizio       ALI-NVR3316P ALI-NS2015VR
THINKCENTRE M600             THINKBOOK 15 G2 ITL   iPad (9th Gen.)   HP       Canon    HP LaserJet Pro M402dn        Yealink      iPhone 11  UBB                                        HPE 48Port        Vizio       ALI-NVR3316P ALI-NS2015VR
THINKCENTRE M600             750XDA                iPad (9th Gen.)   HP       Canon    HP LaserJet Pro M402dn        Yealink      iPhone 11                                                               Vizio                    ALI-NS2015VR
THINKCENTRE M73                                    iPad (9th Gen.)   HP       Canon    HP LaserJet Pro M402dn        Yealink      iPhone 11                                                               Vizio                    ALI-NS2015VR
THINKCENTRE M600                                                     HP       Canon    HP LaserJet Pro M402dn        Yealink      iPhone 11                                                                                        ALI-NS2015VR
THINKCENTRE M600                                                     HP       Canon    HP LaserJet Pro M402dn        Yealink      iPhone 13                                                                                        ALI-NS2018VR
THINKCENTRE M720Q                                                    HP       Canon    HP LaserJet Pro M402n         Yealink                                                                                                       ALI-NS2018VR
THINKCENTRE M920Q                                                    HP                HP LaserJet Pro M402n         Yealink                                                                                                       ALI-NS2018VR
THINKCENTRE M920Q                                                    HP                HP LaserJet Pro M402n         Yealink                                                                                                       ALI-NS2018VR
THINKCENTRE M920Q                                                    HP                HP LaserJet Pro M404dn        Yealink                                                                                                       ALI-NS2018VR
THINKCENTRE M720Q                                                    HP                HP LaserJet Pro MFP M428fdw   Yealink                                                                                                       ALI-NS2018VR
THINKCENTRE M920Q                                                    HP                RIOCH IM C3000                                                                                                                              ALI-NS2018VR
HP ELITEDESK 800 G3 DM 35W                                           HP                                                                                                                                                            ALI-NS2018VR
HP ELITEDESK 800 G3 DM 35W                                           HP                                                                                                                                                            ALI-NS2018VR
OPTIPLEX 5090                                                        HP                                                                                                                                                            ALI-NS2018VR
HP ELITEDESK 800 G3 DM 35W                                           HP
OPTIPLEX 5090                                                        HP
THINKCENTRE M70Q GEN 2                                               HP
THINKCENTRE M715Q                                                    HP
                                          Case 24-20576-CLC                                                    Doc 29                        Filed 10/13/24                                    Page 551 of 565

          Computers                              Laptops                   Tablets       Monitors Scanners               Printers                  Desk Phones           Cell Phones  AP Wifi's             Firewalls           Network Switches   TVs        NVR      NVR Cameras
THINKCENTRE M73              THINKPAD E15                              iPad (9th Gen.)                       HP LaserJet 400 M401n         XIAMEN YEALINK Network...    iPhone 11    UAP-AC-HD MX100 - Serial:Q2JN-7FE8-RSU8   HP1820                    ALI-NVR5332P ALI-NS2015VR
THINKCENTRE M73              THINKPAD E15                              iPad (9th Gen.)                       HP LaserJet E40040            Polycom                                   UAP-AC-HD                                 HP1920                    ALI-NR160F-2 ALI-NS2015VR
THINKCENTRE M73              THINKPAD E15                              iPad (9th Gen.)                       HP LaserJet E40040            YEALINK(XIAMEN) Network...                UAP-AC-HD                                 HP1910                                 ALI-NS2015VR
THINKCENTRE M73              THINKBOOK 14 G2 ITL                       iPad (9th Gen.)                       HP LaserJet E60055            XIAMEN YEALINK Network...                 UAP-AC-HD                                 HP1820                                 ALI-NS2015VR
THINKCENTRE M73              THINKPAD E14                              iPad (9th Gen.)                       HP LaserJet M402dn            Polycom                                   UAP-AC-HD                                 HP1820                                 ALI-NS2015VR
THINKCENTRE M600             750XDA                                                                          HP LaserJet M402n             Polycom                                   UAP-AC-HD                                                                        ALI-NS2015VR
THINKCENTRE M600             SURFACE PRO 8                                                                   HP LaserJet M402n             Polycom                                                                                                                    ALI-NS2015VR
THINKCENTRE M73              750XDA                                                                          HP LaserJet M402n             XIAMEN YEALINK Network...                                                                                                  ALI-NS2018VR
THINKCENTRE M73              HP PROBOOK 450 15.6 INCH G9 NOTEBOOK PC                                         HP LaserJet M402n             Polycom                                                                                                                    ALI-NS2018VR
THINKCENTRE M700             750XFG                                                                          HP LaserJet MFP M426fdn       XIAMEN YEALINK Network...                                                                                                  ALI-NS2018VR
THINKCENTRE M715Q                                                                                            HP LaserJet Pro M404-M405     XIAMEN YEALINK Network...                                                                                                  ALI-NS2018VR
THINKCENTRE M73                                                                                              HP LaserJet Pro M428f-M429f   YEALINK(XIAMEN) Network...                                                                                                 ALI-NS2018VR
THINKCENTRE M600                                                                                             Ricoh IM C3500                Polycom                                                                                                                    ALI-NS2018VR
THINKCENTRE M715Q                                                                                            Ricoh IM C3500                YEALINK(XIAMEN) Network...                                                                                                 ALI-NS2036R
THINKCENTRE M715Q                                                                                            Ricoh IM C3500                Polycom                                                                                                                    ALI-PT60-UA
THINKCENTRE M600                                                                                                                           XIAMEN YEALINK Network...                                                                                                  ALI-PT60-UA
THINKCENTRE M715Q                                                                                                                          Polycom                                                                                                                    ALI-PT60-UA
THINKCENTRE M73                                                                                                                            XIAMEN YEALINK Network...                                                                                                  ALI-PT60-UA
THINKCENTRE M720Q                                                                                                                          YEALINK(XIAMEN) Network...                                                                                                 ALI-PT60-UA
THINKCENTRE M720Q                                                                                                                          Polycom                                                                                                                    ALI-PT60-UA
THINKCENTRE M715Q                                                                                                                          Polycom                                                                                                                    ALI-PT60-UA
THINKCENTRE M920Q                                                                                                                          Polycom                                                                                                                    ALI-PT60-UA
THINKCENTRE M73                                                                                                                            Polycom                                                                                                                    ALI-PT60-UA
THINKCENTRE M715Q                                                                                                                          XIAMEN YEALINK Network...                                                                                                  ALI-PT60-UA
THINKCENTRE M720Q                                                                                                                          Polycom                                                                                                                    ALI-PB40-VLUAI
THINKCENTRE M720Q                                                                                                                          YEALINK(XIAMEN) Network...                                                                                                 ALI-PB40-VLUAI
THINKCENTRE M720Q                                                                                                                          Polycom
THINKCENTRE M720Q                                                                                                                          Polycom
THINKCENTRE M720Q                                                                                                                          Polycom
THINKCENTRE M720Q                                                                                                                          XIAMEN YEALINK Network...
THINKCENTRE M720Q
THINKCENTRE M73
THINKCENTRE M70Q
THINKCENTRE M73
THINKCENTRE M73
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
THINKCENTRE M715Q
OPTIPLEX 5090
THINKCENTRE M70Q GEN 2
THINKCENTRE M70Q GEN 2
THINKCENTRE M70Q GEN 2
LENOVO PRODUCT
HP ELITEDESK 800 G3 DM 35W
THINKCENTRE M70Q GEN 2
THINKCENTRE M70Q GEN 2
                                       Case 24-20576-CLC                                                 Doc 29                   Filed 10/13/24                               Page 552 of 565

         Computers                 Laptops             Tablets       Monitors Scanners                  Printers             Desk Phones    Cell Phones AP Wifi's             Firewalls           Network Switches TVs       NVR       NVR Cameras
THINKCENTRE M73              THINKBOOK 15 G2 ITL   iPad (9th Gen.)                       HP Color LaserJet Pro MFP M479fdn                 iPhone 13   UAP-AC-HD MX95 - Serial: Q2XN-8XXK-9LSP   Aruba 1960 48G        ALI-NVR5216P   ALI-NS2015VR
THINKCENTRE M600             THINKBOOK 15 G2 ITL   iPad (9th Gen.)                       HP LaserJet Pro M402dn                            SM-A146U    UAP-AC-HD                                 HP 1820-24G           ALI-NVR3316P   ALI-NS2015VR
THINKCENTRE M710Q            750XDA                                                      HP LaserJet Pro M402dn                            iPhone 11   UAP-AC-HD                                                                      ALI-NS2015VR
THINKCENTRE M73                                                                          HP LaserJet Pro M402dn                            iPhone 13                                                                                  ALI-NS2015VR
THINKCENTRE M600                                                                         HP LaserJet Pro M402n                             iPhone 11                                                                                  ALI-NS2015VR
THINKCENTRE M600                                                                         HP LaserJet Pro M402n                                                                                                                        ALI-NS2015VR
THINKCENTRE M73                                                                          HP LaserJet Pro M402n                                                                                                                        ALI-NS2036VR
THINKCENTRE M600                                                                         HP LaserJet Pro M402n                                                                                                                        ALI-NS2036VR
THINKCENTRE M720Q                                                                        HP LaserJet Pro MFP M428fdn                                                                                                                  ALI-NS2036VR
THINKCENTRE M920Q                                                                        HP LaserJet Pro MFP M428fdn                                                                                                                  ALI-NS2036VR
THINKCENTRE M720Q                                                                        RICOH IM 4000                                                                                                                                ALI-NS2036VR
THINKCENTRE M720Q                                                                                                                                                                                                                     ALI-NS2036VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NP3012RH
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS1014VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS1014VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS1014VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS1014VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS1014VR
OPTIPLEX 5090                                                                                                                                                                                                                         ALI-NS1014VR
OPTIPLEX 5090                                                                                                                                                                                                                         ALI-NS1014VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS1014VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS2036VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS2036VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS2036VR
THINKCENTRE M70Q GEN 2                                                                                                                                                                                                                ALI-NS2036VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS2036VR
THINKCENTRE M70Q GEN 2                                                                                                                                                                                                                ALI-NS2036VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS2036VR
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                            ALI-NS2036VR
THINKCENTRE M900
THINKCENTRE M900
THINKCENTRE M900
THINKCENTRE M900
THINKCENTRE M720Q
                                    Case 24-20576-CLC                                              Doc 29                   Filed 10/13/24                           Page 553 of 565


         Computers               Laptops             Tablets          Monitors Scanners             Printers          Desk Phones        Cell Phones    AP Wifi's              Firewalls           Network Switches TVs   NVR      NVR Cameras
THINKCENTRE M600             THINKPAD P51S   iPad (9th Gen.)                              BROTHER MFC-L8610CDW series               iPhone 13          UAP-AC-LR MX100 - Serial: Q2JN-CQLF-WDNY   Cisco 24P             DS-7616NI HIKVISIONCAM
THINKCENTRE M600             THINKPAD E15    iPad (9th Gen.)                              HP LaserJet E40040                        iPhone 13          UAP-AC-LR                                  Cisco 24P                       HIKVISIONCAM
THINKCENTRE M73              VOSTRO 3471     iPad (9th Gen.)                              HP LaserJet E40040                        iPhone 13                                                                                     HIKVISIONCAM
THINKCENTRE M600             750XDA          iPad (9th Gen.)                              HP LaserJet Pro M402n                     iPhone 13                                                                                     HIKVISIONCAM
THINKCENTRE M715Q                            iPad Pro 11 (Cellular)                       HP LaserJet Pro M404dn                    iPhone 11                                                                                     HIKVISIONCAM
THINKCENTRE M720Q                                                                         HP LaserJet Pro M404dn                    iPhone 13                                                                                     HIKVISIONCAM
THINKCENTRE M720Q                                                                         HP LaserJet Pro MFP M428fdn               iPhone 11                                                                                     HIKVISIONCAM
THINKCENTRE M70Q                                                                          HP LaserJet Pro MFP M428fdn               iPhone 13                                                                                     HIKVISIONCAM
THINKCENTRE M70Q                                                                          HP LaserJet Pro MFP M521dn                iPhone 13                                                                                     HIKVISIONCAM
THINKCENTRE M720Q                                                                         RICOH IM C3500                                                                                                                          HIKVISIONCAM
THINKCENTRE M70Q                                                                                                                                                                                                                  HIKVISIONCAM
THINKCENTRE M70Q                                                                                                                                                                                                                  HIKVISIONCAM
THINKCENTRE M70Q                                                                                                                                                                                                                  HIKVISIONCAM
THINKCENTRE M600                                                                                                                                                                                                                  HIKVISIONCAM
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                        HIKVISIONCAM
HP ELITEDESK 800 G3 DM 35W                                                                                                                                                                                                        HIKVISIONCAM
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 65W
HP ELITEDESK 800 G3 DM 65W
THINKCENTRE M70Q GEN 2
HP ELITEDESK 800 G3 DM 35W
THINKCENTRE M70Q GEN 2
HP ELITEDESK 800 G3 DM 35W
HP ELITEDESK 800 G3 DM 35W
                                    Case 24-20576-CLC                                                Doc 29                   Filed 10/13/24                              Page 554 of 565


          Computers           Laptops      Tablets      Monitors   Scanners                Printers                  Desk Phones           Cell Phones  AP Wifi's                 Firewalls           Network Switches   TVs         NVR       NVR Cameras
THINKCENTRE M700             750XFG iPad (9th Gen.)                           DELL MFP E515dw                Polycom                      iPhone 13    UAP-AC-LR    MX100 - Serial: Q2JN-8ZAL-SVD6   Cisco 48G                 ALI-NVR3316P   ALI-NS2036R
THINKCENTRE M600                      iPad (9th Gen.)                         HP Color LaserJet MFP E47528   Polycom                      iPhone 11                                                  Cisco 48G                 ALI-NVR3316P   ALI-NS2036R
THINKCENTRE M920Q                     iPad (9th Gen.)                         HP LaserJet Pro M402n          Polycom                      iPhone 13                                                  HPE 24G                                  ALI-NS2036R
THINKCENTRE M73                                                               HP LaserJet Pro MFP M428fdn    Polycom                                                                                                                          ALI-NS2036R
THINKCENTRE M720Q                                                             HP LaserJet Pro MFP 4101       Polycom                                                                                                                          ALI-NS2036R
THINKCENTRE M73                                                               RICOH IM C3500                 Polycom                                                                                                                          ALI-NS2036R
OPTIPLEX 3060                                                                                                Polycom                                                                                                                          ALI-NS2036R
THINKCENTRE M720Q                                                                                            Polycom                                                                                                                          ALI-NS2036R
THINKCENTRE M720Q                                                                                            Polycom                                                                                                                          ALI-NS2036R
THINKCENTRE M70Q                                                                                             zte                                                                                                                              ALI-NS2036R
THINKCENTRE M720Q                                                                                            Polycom                                                                                                                          ALI-NS2036R
THINKCENTRE M720Q                                                                                            Polycom                                                                                                                          ALI-NS2036R
THINKCENTRE M70Q                                                                                             Polycom                                                                                                                          ALI-NS2036R
OPTIPLEX 3030 AIO                                                                                            Polycom                                                                                                                          ALI-NS2036R
THINKCENTRE M73                                                                                              Polycom                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                                                   Polycom                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                                                   Polycom                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                                                   Polycom                                                                                                                          ALI-NS2036R
HP ELITEDESK 800 G3 DM 35W                                                                                   YEALINK(XIAMEN) Network...
HP ELITEDESK 800 G3 DM 35W                                                                                   Polycom
THINKCENTRE M70Q GEN 2                                                                                       Polycom
HP ELITEDESK 800 G3 DM 35W                                                                                   Polycom
HP ELITEDESK 800 G3 DM 35W                                                                                   Polycom
                                                                                                             Polycom
                                                                                                             Polycom
Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 555 of 565
               Case 24-20576-CLC       Doc 29   Filed 10/13/24    Page 556 of 565



                                           Section 3.24
                                            COVID-19

    1. RD received a Provider Relief Fund Payment in the amounts of $2,810 and made the required
       attestation as to the appropriate use of the funds.
    2. Deferral of employer social security tax for MBMO, LLC, which has been fully paid off as of
       December 31, 2022.
    3. Schedule 3.23 is hereby incorporated herein by reference.




13230494-25
              Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 557 of 565


                                    Section 3.25
                                   CHOPD Incident

None.




13230494-25
              Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 558 of 565


                                      Section 4.5
                                    Brokers (Buyer)

None.




13230494-25
               Case 24-20576-CLC   Doc 29   Filed 10/13/24   Page 559 of 565




         

                                      (;+,%,7&

                               )RUPRI$VVXPSWLRQ1RWLFH

         





              Case 24-20576-CLC              Doc 29       Filed 10/13/24         Page 560 of 565




                              81,7('67$7(6%$1.5837&<&2857                                          
                                6287+(51',675,&72))/25,'$
                                        0,$0,',9,6,21
                                       ZZZIOVEXVFRXUWVJRY

     ,QUH
                                                            &KDSWHU&DVHV
     
                                                            
     0%0*+2/',1*//&et al.
                                                            &DVH1RBBBBBBBBBB
     
                                                            
             'HEWRUV
                                                              -RLQW$GPLQLVWUDWLRQ3HQGLQJ 
             

            127,&(2)$668037,21$1'&85(&2676:,7+5(63(&7
     72(;(&8725<&2175$&762581(;3,5('/($6(6327(17,$//<72%(
     $6680('$1'$66,*1(',1&211(&7,21:,7+6$/(2)'(%7256¶$66(76
                                    
               <28$5(5(&(,9,1*7+,6127,&(%(&$86(<28
             2521(2)<285$)),/,$7(6,6$&2817(53$57<72
         $1(;(&8725<&2175$&72581(;3,5('/($6(:,7+21(25
     025(2)7+('(%7256$66(7)257+21(;+,%,7$$77$&+('+(5(72

3/($6(7$.(127,&(7+$7

             2Q 2FWREHU >@  0%0* +ROGLQJ //& DQG LWV DIILOLDWHG GHEWRUV
 FROOHFWLYHO\WKH³'HEWRUV´ ILOHGWKHDebtors’ Motion for Entry of an Order (I) Approving Asset
Purchase Agreement and Authorizing the Private Sale of Substantially All of the Assets of the
Debtors Outside the Ordinary Course of Business, (II) Authorizing the Sale of Assets Free and
Clear of All Liens and Interests Except for Permitted Liens and Assumed Liabilities, (III)
Authorizing the Assumption and Assignment of Certain Executory Contracts and Unexpired
Leases, and (IV) Granting Related Relief >(&)1R>@@ WKH³6DOH0RWLRQ´ ZLWKWKH8QLWHG6WDWHV
%DQNUXSWF\ &RXUW IRU WKH 6RXWKHUQ 'LVWULFW RI )ORULGD WKH ³&RXUW´  LQ WKH DERYHUHIHUHQFHG
MRLQWO\DGPLQLVWHUHGFKDSWHUEDQNUXSWF\FDVHV WKH³&KDSWHU&DVHV´ 

                                   

                                    

 7KHDGGUHVVRIWKH'HEWRUVLV6:WK6WUHHW6WH0LDPL)ORULGD7KHODVWIRXUGLJLWVRIWKH
'HEWRUV¶IHGHUDOWD[LGHQWLILFDWLRQQXPEHUVDUH L &DUH&HQWHU0HGLFDO*URXS//&   LL &DUH&HQWHU1HWZRUN
//&   LLL  &&0& 3K\VLFLDQ +ROGLQJV ,QF   LY  &OLQLFDO &DUH 3KDUPDF\ //&   Y  )ORULGD
)DPLO\3ULPDU\&DUH&HQWHU//&   YL )ORULGD)DPLO\3ULPDU\&DUH&HQWHURI3DVFR//&   YLL )ORULGD
)DPLO\3ULPDU\&DUH&HQWHUVRI2UODQGR//&   YLLL )ORULGD)DPLO\3ULPDU\&DUH&HQWHUVRI3LQHOODV//&
   L[ )ORULGD)DPLO\3ULPDU\&DUH&HQWHUVRI7DPSD//&   [ 0%0HGLFDO2SHUDWLRQV//&  
 [L 0%0HGLFDO7UDQVSRUW//&   [LL 0%0*+ROGLQJ//&   [LLL 0%0*,QWHUPHGLDWH+ROGLQJ
//&   [LY 0LDPL%HDFK0HGLFDO&HQWHUV,QF   [Y 0LDPL%HDFK0HGLFDO&RQVXOWDQWV//&  
DQG [YL 0LDPL0HGLFDO :HOOQHVV&HQWHU//&  

 $OOFDSLWDOL]HGWHUPVXVHGEXWQRWRWKHUZLVHGHILQHGKHUHLQVKDOOKDYHWKHPHDQLQJDVFULEHGWRWKHPDVDSSOLFDEOH
LQWKH6DOH0RWLRQRUWKH3XUFKDVH$JUHHPHQW DVVXFKWHUPLVGHILQHGLQWKH6DOH0RWLRQ 
             Case 24-20576-CLC            Doc 29      Filed 10/13/24       Page 561 of 565




             7KH 6DOH 0RWLRQ UHTXHVWV WKH &RXUW¶V DXWKRUL]DWLRQ IRU DPRQJ RWKHU UHOLHI WKH
'HEWRUVWRHQWHULQWRDQGFRQVXPPDWHDFHUWDLQAsset Purchase AgreementGDWHGDVRI2FWREHU
  WKH ³3XUFKDVH $JUHHPHQW´  ZLWK &RQYLYD 0HGLFDO &HQWHU 0DQDJHPHQW //& WKH
³%X\HU´  IRU WKH VDOH WKH ³6DOH´  RI VXEVWDQWLDOO\ DOO RI WKH 'HEWRUV¶ DVVHWV WKH ³3XUFKDVHG
$VVHWV´ 

               &RSLHVRI L WKH6DOH0RWLRQ LL WKHSURSRVHG3XUFKDVH$JUHHPHQWDQG LLL WKH
SURSRVHGRUGHUDSSURYLQJWKH6DOH WKH³6DOH2UGHU´ FDQEHREWDLQHGE\FRQWDFWLQJ  WKH'HEWRUV
DW HLWKHU D  the Chief Restructuring Officer for the Debtors FR &KLHI 5HVWUXFWXULQJ 2IILFHU
0(58//&3HDFKWUHH6W1(%XLOGLQJ6XLWH$WODQWD*$ $WWQ1LFKRODV
. &DPSEHOO QLFN#ZHDUHPHUXFRP  RU E the proposed bankruptcy counsel for the Debtors
%HUJHU 6LQJHUPDQ //3  %ULFNHOO $YHQXH 6XLWH  0LDPL )ORULGD  $WWQ 3DXO
6WHYHQ 6LQJHUPDQ (VT             VLQJHUPDQ#EHUJHUVLQJHUPDQFRP  -RUGL *XVR (VT
 MJXVR#EHUJHUVLQJHUPDQFRP  &KULVWRSKHU $QGUHZ -DUYLQHQ (VT FMDUYLQHQ#EHUJHUVLQJHUPDQFRP 
DQG 6DPXHO &DSXDQR (VT VFDSXDQR#EHUJHUVLQJHUPDQFRP  RU   REWDLQHG ZLWKRXW FKDUJH
IURPWKHFDVHZHEVLWHPDLQWDLQHGE\(SLT&RUSRUDWH5HVWUXFWXULQJ//&WKH'HEWRUV¶QRWLFLQJ
FODLPV DQG VROLFLWDWLRQ DJHQW LQ FRQQHFWLRQ ZLWK WKH &KDSWHU  &DVHV DW
KWWSVGPHSLTFRP&&0&

            7KH'HEWRUVKHUHE\SURYLGHQRWLFHRIWKHLULQWHQWWRSRWHQWLDOO\DVVXPHDQGDVVLJQ
WKHSUHSHWLWLRQH[HFXWRU\FRQWUDFWVRUXQH[SLUHGOHDVHVOLVWHGRQ([KLELW$KHUHWR DVGHILQHGLQ
WKH 3XUFKDVH $JUHHPHQW WKH ³'HVLUHG  &RQWUDFWV´  WR WKH %X\HU  7KH LQFOXVLRQ RI DQ\
H[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHRQ([KLELW$KHUHWRGRHVQRWUHTXLUHRUJXDUDQWHHWKDWVXFK
H[HFXWRU\FRQWUDFWRUXQH[SLUHGOHDVHZLOODFWXDOO\EHDVVXPHGRUDVVLJQHG i.eEHDQ$VVXPHG
&RQWUDFWXQGHUWKH3XUFKDVH$JUHHPHQW 

              3XUVXDQWWRWKHWHUPVRIWKH3XUFKDVH$JUHHPHQWDQG%X\HU¶VULJKWWRDGGDQGRU
UHPRYHIURP([KLELW$'HVLUHG&RQWUDFWVSULRUWRDQGDIWHUWKH&ORVLQJ'DWH GHILQHGEHORZ 
WKH'HEWRUVPD\VHHNWRDVVXPHDQGDVVLJQRQHRUPRUHRIWKH'HVLUHG&RQWUDFWVWRWKH%X\HU
VXEMHFW WR DSSURYDO DW WKH KHDULQJ WR EH KHOG EHIRUH WKH &RXUW RQ 1RYHPEHU >@  DW >@
>DPSP@ (7  DW WKH 8QLWHG 6WDWHV %DQNUXSWF\ &RXUW & &O\GH $WNLQV 8QLWHG 6WDWHV
&RXUWKRXVH  1RUWK 0LDPL $YHQXH &RXUWURRP BB 0LDPL )ORULGD  WKH ³6DOH
+HDULQJ´  7KH 6DOH +HDULQJ PD\ EH DGMRXUQHG ZLWKRXW QRWLFH RWKHU WKDQ DGMRXUQPHQW LQ RSHQ
FRXUWRUDVLGHQWLILHGRQWKHDJHQGDDQGIRUWKHDYRLGDQFHRIDQ\GRXEWWKH6DOH+HDULQJLVVXEMHFW
WRWKHULJKWRIWKH'HEWRUVLQWKHUHDVRQDEOHH[HUFLVHRIWKHLUEXVLQHVVMXGJPHQWWRDGMRXUQWKH
6DOH+HDULQJWRDODWHUGDWHVXEMHFWWRWKHDYDLODELOLW\RIWKH&RXUW2QWKHGDWHRIWKHFORVLQJRI
WKH WUDQVDFWLRQV FRQWHPSODWHG E\ WKH 3XUFKDVH $JUHHPHQW WKH ³&ORVLQJ 'DWH´  RU DV VRRQ
WKHUHDIWHUDVLVUHDVRQDEO\SUDFWLFDEOHDQGLQDFFRUGDQFHZLWKWKHWHUPVRIWKH3XUFKDVH$JUHHPHQW
DQG WKH 6DOH 2UGHU WKH 'HEWRUV RU WKH %X\HU DV DSSOLFDEOH ZLOO SD\ WKH DPRXQW WKH 'HEWRUV¶
UHFRUGVUHIOHFWLVRZLQJIRUSUHSHWLWLRQDUUHDUDJHVLIDQ\DVVHWIRUWKRQ([KLELW$KHUHWR WKH
³&XUH&RVWV´ 7KH'HEWRUV¶UHFRUGVUHIOHFWWKDWDOOSRVWSHWLWLRQDPRXQWVRZLQJXQGHUWKH'HVLUHG
&RQWUDFWVKDYHEHHQSDLGDQGZLOOFRQWLQXHWREHSDLGXQWLODQDVVXPSWLRQDQGDVVLJQPHQWLI
DQ\RID'HVLUHG&RQWUDFWDQGWKDWRWKHUWKDQWKH&XUH&RVWVWKHUHDUHQRRWKHUGHIDXOWV
XQGHUDQ\RIWKH'HVLUHG&RQWUDFWV

                                

                                                     
             Case 24-20576-CLC           Doc 29     Filed 10/13/24       Page 562 of 565




             2EMHFWLRQVLIDQ\WRWKH&XUH&RVWVRUWRWKHDVVXPSWLRQDQGDVVLJQPHQWRID
'HVLUHG&RQWUDFWWRWKH%X\HULQFOXGLQJZLWKUHVSHFWWRDGHTXDWHDVVXUDQFHRIIXWXUH
SHUIRUPDQFHRIWKH%X\HU FROOHFWLYHO\D³&RQWUDFW2EMHFWLRQ´ PXVW D EHLQZULWLQJ E 
VWDWH WKH EDVLV RI VXFK REMHFWLRQ ZLWK VSHFLILFLW\ LQFOXGLQJ LI DSSOLFDEOH WKH &XUH &RVWV
DVVHUWHGWREHUHTXLUHG F LQFOXGHDSSURSULDWHGRFXPHQWDWLRQWKHUHRI G FRPSO\ZLWKWKH
%DQNUXSWF\&RGHWKH%DQNUXSWF\5XOHVDQGWKH/RFDO5XOHV H EHILOHGZLWKWKH&RXUWRQ
RU EHIRUH  SP SUHYDLOLQJ (DVWHUQ 7LPH  RQ B1RYHPEHU >@  WKH ³&RQWUDFW
2EMHFWLRQ'HDGOLQH´ DQG H EHVHUYHGVRDVWREHUHFHLYHGWKHVDPHGD\DVWKHREMHFWLRQLV
ILOHGXSRQ  the DebtorsFR L WKH&KLHI5HVWUXFWXULQJ2IILFHU0(58//&3HDFKWUHH
6W 1( %XLOGLQJ  6XLWH  $WODQWD *$  $WWQ  1LFKRODV . &DPSEHOO
QLFN#ZHDUHPHUXFRP DQG LL proposed bankruptcy counsel for the Debtors%HUJHU6LQJHUPDQ
//3%ULFNHOO$YHQXH6XLWH0LDPL)ORULGD $WWQ3DXO6WHYHQ6LQJHUPDQ(VT
 VLQJHUPDQ#EHUJHUVLQJHUPDQFRP  -RUGL *XVR (VT MJXVR#EHUJHUVLQJHUPDQFRP  &KULVWRSKHU
$QGUHZ -DUYLQHQ (VT FMDUYLQHQ#EHUJHUVLQJHUPDQFRP  DQG 6DPXHO &DSXDQR (VT
 VFDSXDQR#EHUJHUVLQJHUPDQFRP    counsel for the Buyer /DXUHQFH )UD]HQ (VT
 ODUU\IUD]HQ#EFOSODZFRP DQG0LFKDHO*ROGEHUJ(VT PLFKDHOJROGEHUJ#DNHUPDQFRP   
counsel for the DIP Agent and DIP Lenders D  3URVNDXHU 5RVH //3 2QH ,QWHUQDWLRQDO 3ODFH
%RVWRQ0DVVDFKXVHWWV $WWQ&KDUOHV$'DOH(VTFGDOH#SURVNDXHUFRP DQG3URVNDXHU
5RVH//3(OHYHQ7LPHV6TXDUH1HZ<RUN1HZ<RUN $WWQ9LQFHQW,QGHOLFDWR(VT
YLQGHOLFDWR#SURVNDXHUFRPDQG0DWWKHZ5.RFK(VTPNRFK#SURVNDXHUFRP DQG E 7UHQDP
/DZ(.HQQHG\%RXOHYDUG6XLWH7DPSD)/ $WWQ/DUD5RHVNH)HUQDQGH]
(VT/)HUQDQGH]#WUHQDPFRP   the Office of the United States Trustee6:)LUVW$YHQXH
5RRP  0LDPL )ORULGD  $WWQ BBBBBBBBBBBB DQG   FRXQVHO WR DQ\ RIILFLDO
FRPPLWWHHDSSRLQWHGLQWKH&KDSWHU&DVHV FROOHFWLYHO\WKH³2EMHFWLRQ1RWLFH3DUWLHV´ 

              ,I D &RQWUDFW 2EMHFWLRQ LV WLPHO\ VXEPLWWHG LQ DFFRUGDQFH ZLWK SDUDJUDSK  D
KHDULQJZLWKUHVSHFWWRWKH&RQWUDFW2EMHFWLRQZLOOEHKHOGEHIRUHWKH&RXUWDWWKH6DOH+HDULQJ
RUDVPD\EHFRQWLQXHGE\WKH'HEWRUVDQGQRWLFHGRQWKHDJHQGDILOHGRQWKHGRFNHWRUVXFKGDWH
DQG WLPH DV WKH &RXUW PD\ VFKHGXOH  ,I QR REMHFWLRQ LV WLPHO\ UHFHLYHG HDFK QRQ'HEWRU
FRXQWHUSDUW\WRD'HVLUHG&RQWUDFWZLOOEHGHHPHGWRKDYHFRQVHQWHGWRWKHDVVXPSWLRQ
DQGDVVLJQPHQWRIWKH'HVLUHG&RQWUDFW ZLWKWKH&XUH&RVWVVHWIRUWKKHUHLQDQGWKH
QRQ'HEWRUFRXQWHUSDUW\ZLOOIRUHYHUZLOOEHEDUUHGIURPDVVHUWLQJDQ\RWKHUFODLPVUHODWHG
WRWKH'HVLUHG&RQWDFWDJDLQVWWKH'HEWRUVRUWKH%X\HURUWKHSURSHUW\RIDQ\RIWKHP
LQFOXGLQJEXWQRWOLPLWHGWRDFODLPUHODWHGWRWKHSURSULHW\RUHIIHFWLYHQHVVRIWKHDVVXPSWLRQ
DQGDVVLJQPHQWRIWKH'HVLUHG&RQWUDFW

             3XUVXDQW WR VHFWLRQ  RI WKH %DQNUXSWF\ &RGH WKH 'HEWRUV EHOLHYH WKHUH LV
DGHTXDWHDVVXUDQFHRIIXWXUHSHUIRUPDQFHWKDWWKH&XUH&RVWVVHWIRUWKRQ([KLELW$KHUHWRZLOO
EHSDLGLQDFFRUGDQFHZLWKWKHWHUPVRIWKH3XUFKDVH$JUHHPHQWDQGWKH6DOH2UGHU7KHUHLVDOVR
DGHTXDWHDVVXUDQFHRIWKH%X\HU¶VIXWXUHSHUIRUPDQFHXQGHUWKHH[HFXWRU\FRQWUDFWRUXQH[SLUHG
OHDVHWREHDVVXPHGDQGDVVLJQHGEHFDXVHRIWKHVLJQLILFDQWUHVRXUFHVRIWKH%X\HU,IQHFHVVDU\
WKH 'HEWRUV ZLOO DGGXFH IDFWV DW WKH KHDULQJ RQ DQ\ REMHFWLRQ GHPRQVWUDWLQJ WKH ILQDQFLDO
ZKHUHZLWKDORIWKH%X\HUDQGLWVZLOOLQJQHVVDQGDELOLW\WRSHUIRUPXQGHUWKH'HVLUHG&RQWUDFW
WREHDVVXPHGDQGDVVLJQHGWRLW i.eWKH$VVXPHG&RQWUDFWV 

                               

                                                    
             Case 24-20576-CLC            Doc 29      Filed 10/13/24       Page 563 of 565




             ,IDQREMHFWLRQWRWKH&XUH&RVWVLVWLPHO\ILOHGDQGUHFHLYHGDQGWKHSDUWLHVDUH
XQDEOH WR FRQVHQVXDOO\ UHVROYH WKH GLVSXWH WKH DPRXQW WR EH SDLG XQGHU VHFWLRQ  RI WKH
%DQNUXSWF\ &RGH LI DQ\ ZLWK UHVSHFW WR VXFK REMHFWLRQ ZLOO EH GHWHUPLQHG DW D KHDULQJ WR EH
UHTXHVWHGE\WKH'HEWRUV$WWKH%X\HU¶VGLVFUHWLRQDQGSURYLGHGWKH'HEWRUVHVFURZWKHGLVSXWHG
SRUWLRQRIWKH&XUH&RVWVWKHKHDULQJUHJDUGLQJWKH&XUH&RVWVPD\EHFRQWLQXHGXQWLODIWHUWKH
&ORVLQJ'DWHDQGWKH'HVLUHG&RQWUDFW V VXEMHFWHGWRVXFK&XUH&RVWVVKDOOZLWKWKHFRQVHQW
RIWKH%X\HUEHDVVXPHGDQGDVVLJQHGWRWKH%X\HUDWRUIROORZLQJWKHFORVLQJRIWKH6DOHSHUWKH
SURFHGXUHVVHWIRUWKLQWKH3XUFKDVH$JUHHPHQWDQGWKH6DOH2UGHU

          ,IQRREMHFWLRQLVWLPHO\UHFHLYHGWKH&XUH&RVWVVHWIRUWKLQ([KLELW$KHUHWR
ZLOOEHFRQWUROOLQJQRWZLWKVWDQGLQJDQ\WKLQJWRWKHFRQWUDU\LQDQ\'HVLUHG&RQWUDFWRU
DQ\RWKHUUHODWHGGRFXPHQWDQGHDFKQRQ'HEWRUFRXQWHUSDUW\WRWKH'HVLUHG&RQWUDFWV
ZLOOEHGHHPHGWRKDYHFRQVHQWHGWRWKH&XUH&RVWVIRUWKHSXUSRVHVRIWKH6DOHDQGZLOOEH
IRUHYHUEDUUHGIURPDVVHUWLQJDQ\RWKHUFODLPVLQUHVSHFWRIVXFK'HVLUHG&RQWUDFWRU
WKH&XUH&RVWVDJDLQVWWKH'HEWRUVWKH%X\HURUWKHSURSHUW\RIDQ\RIWKHP7KHIDLOXUH
RIDQ\REMHFWLQJSHUVRQRUHQWLW\WRWLPHO\ILOHLWVREMHFWLRQZLOOEHDEDUWRWKHDVVHUWLRQDW
WKH6DOH+HDULQJRUWKHUHDIWHURIDQ\REMHFWLRQWRWKH6DOH0RWLRQWKH6DOHRUWKH'HEWRUV¶
FRQVXPPDWLRQRIDQGSHUIRUPDQFHXQGHUWKH3XUFKDVH$JUHHPHQW LQFOXGLQJWKHWUDQVIHU
RI WKH 3XUFKDVHG $VVHWV DQG WKH $VVXPHG &RQWUDFWV IUHH DQG FOHDU RI DOO FODLPV OLHQV
HQFXPEUDQFHVDQGLQWHUHVWV LIDXWKRUL]HGE\WKH&RXUW

         8QOHVVDQRQ'HEWRUFRXQWHUSDUW\WRDQ\'HVLUHG&RQWUDFWILOHVDWLPHO\
&RQWUDFW2EMHFWLRQWRWKHDVVXPSWLRQDQGDVVLJQPHQWRIWKHDSSOLFDEOH'HVLUHG&RQWUDFW
E\WKH%X\HUWKHQVXFKQRQ'HEWRUFRXQWHUSDUW\VKDOOEHGHHPHGWRKDYH L FRQVHQWHGWR
WKHDVVXPSWLRQDQGDVVLJQPHQWRIWKHDSSOLFDEOH'HVLUHG&RQWUDFWWRWKH%X\HUZLWKWKH
&XUH&RVWVVHWIRUWKLQWKH$VVXPSWLRQ1RWLFHDQG LL ZDLYHGDQGUHOHDVHGDQ\DQGDOORWKHU
ULJKWV WR REMHFW WR WKH &XUH &RVWV RU WKH DVVXPSWLRQ DQG DVVLJQPHQW RI WKH 'HVLUHG 
&RQWUDFWWRWKH%X\HU
        
         3ULRUWRDQGDIWHUWKH&ORVLQJ'DWHWKH'HEWRUVRUWKH%X\HUPD\ L DPHQGWKHLU
GHFLVLRQZLWKUHVSHFWWRWKHSRWHQWLDODVVXPSWLRQDQGDVVLJQPHQWRIDQ\'HVLUHG&RQWUDFWWKDW
KDV QRW DOUHDG\ EHHQ DVVXPHG DQG DVVLJQHG E\ WKH 'HEWRUV WR WKH %X\HU DV D SDUW RI WKH 6DOH
LQFOXGLQJ DPHQGLQJ WKH &XUH &RVWV DQG LL  SURYLGH D QHZ QRWLFH DPHQGLQJ WKH LQIRUPDWLRQ
SURYLGHGLQWKLVQRWLFHLQFOXGLQJZLWKRXWOLPLWDWLRQDGHWHUPLQDWLRQE\WKH'HEWRUVQRWWRDVVXPH
DQGDVVLJQWRWKH%X\HUFHUWDLQRIWKHSUHSHWLWLRQH[HFXWRU\FRQWUDFWVRUOHDVHV



                             >5HPDLQGHURI3DJH/HIW,QWHQWLRQDOO\%ODQN@
                               




                                                      
            Case 24-20576-CLC    Doc 29   Filed 10/13/24     Page 564 of 565




'DWHG2FWREHUBB                  5HVSHFWIXOO\VXEPLWWHG

                                        %(5*(56,1*(50$1//3
                                        Proposed Counsel for the Debtors and
                                               Debtors-in-Possession
                                               %ULFNHOO$YHQXH6WH
                                        0LDPL)/ 
                                        7HOHSKRQH  
                                        )DFVLPLOH  

                                        %\/s/ Christopher Andrew Jarvinen
                                                3DXO6WHYHQ6LQJHUPDQ
                                                )ORULGD%DU1R
                                                VLQJHUPDQ#EHUJHUVLQJHUPDQFRP
                                                &KULVWRSKHU$QGUHZ-DUYLQHQ
                                                )ORULGD%DU1R
                                                FMDUYLQHQ#EHUJHUVLQJHUPDQFRP
                                                        6DPXHO-&DSXDQR
                                                )ORULGD%DU1R
                                                VFDSXDQR#EHUJHUVLQJHUPDQFRP




                                          
    Case 24-20576-CLC     Doc 29     Filed 10/13/24    Page 565 of 565




                               ([KLELW³$´

                 'HVLUHG&RQWUDFWVDQG&XUH&RVWV

                                     

       [Schedule 2.3(a) to the Purchase Agreement to be placed here]

















































